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                                                   UNITED STATES
                                       SECURITIES AND EXCHANGE COMMISSION
                                                               Washington, D.C. 20549

                                                                SCHEDULE 14A
                                               Proxy Statement Pursuant to Section 14(a) of
                                         the Securities Exchange Act of 1934 (Amendment No.                           )
                          Filed by the Registrant ☒
                          Filed by a Party other than the Registrant ☐
                          Check the appropriate box:
                          ☒   Preliminary Proxy Statement
                          ☐   Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
                          ☐   Definitive Proxy Statement
                          ☐   Definitive Additional Materials
                          ☐   Soliciting Material under §240.14a-12

                                                                   TESLA, INC.
                                                       (Name of Registrant as Specified In Its Charter)



                                           (Name of Person(s) Filing Proxy Statement, if other than the Registrant)

                          Payment of Filing Fee (Check all boxes that apply):
                          ☒   No fee required.
                          ☐   Fee paid previously with preliminary materials.
                          ☐   Fee computed on table in exhibit required by Item 25(b) per Exchange Act Rules
                              14a6(i)(1) and 0-11




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             Company Highlights




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             Letter to
             Stockholders

                                     Dear Fellow Stockholders,
                                     We could call 2023 a watershed year for Tesla, with many
                                     defining moments. However, for Tesla — in light of our past
                                     accomplishments — 2023 could also be called just a typical
                                     year of triumphs and achievements. In 2023, the Model Y
                                     became the best-selling vehicle in the world, we launched our
                                     new Model 3 lineup, saw tremendous strides in our quest for
                                     FSD and we began deliveries of our innovative and highly
                                     anticipated Cybertruck. We also witnessed the beginning of the
                                     significant growth of our Energy Storage and Services and
                                     Other businesses. We believe these types of triumphs and
                                     achievements are normal course for Tesla because Tesla is a
                                     nimble organization with an unmatched pace of innovation that
                                     has resulted in products and services that surpass all
                                     expectations driven by visionary leadership and most
                                     importantly the best and most dedicated employees in the
                                     world. We want to thank all of our employees for their
                                     outstanding efforts.
                                     Of course, a key part of this nimble organization requires
                                     careful management of our resources. We recently announced a
                                     company-wide restructuring that reduces our headcount by
                                     more than 10% globally. Over the years, we have grown rapidly
                                     with multiple factories scaling around the globe. With this rapid
                                     growth, there has been a duplication of roles and job functions
                                     in certain areas. We believe it is extremely important to look at
                                     every aspect of our business for cost reductions and increasing
                                     productivity. This action will prepare us for our next phase of
                                     growth, as we are developing some of the most revolutionary
                                     technologies in auto, energy and artificial intelligence.
                                     With Your Vote in the 2024 Annual Meeting, Tesla Will Thrive.
                                     Our stockholders drive Tesla. Your votes and your voices make
                                     critical decisions for the future of our company, and we have
                                     and want to continue to listen to you. That is why we are asking
                                     for your support for all of our management proposals including
                                     re-election of two of our hardworking and dedicated directors,
                                     Kimbal Musk and James Murdoch. However, there are two
                                     important proposals that I want to touch on here, that we
                                     believe are critical to the future success of Tesla, both of which
                                     were recommended following a rigorous and thoughtful analysis
                                     by an independent Special Committee, comprised of another
                                     one of our hardworking and dedicated directors in Kathleen
                                     Wilson-Thompson:
                                         1.   Approving moving Tesla’s state of incorporation from
                                              Delaware to Texas (Proposal Three); and
                                         2.   Ratifying Elon Musk’s compensation under the CEO pay
                                              package that our stockholders previously approved at
                                              our 2018 special meeting (Proposal Four).
                                     Texas Is Tesla’s Home.
                                     2024 is the year that Tesla should move home to Texas. We are
                                     asking for your vote to approve Tesla’s move from Delaware,
                                     our current state of incorporation, to a new legal home in Texas.
                                     Texas is already our business home, and we are committed to
                                     it. Gigafactory Texas is one of the largest factories in the United




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                                     States, covering 2,500 acres along the Colorado River. The
                                     Gigafactory is the manufacturing hub for our most innovative
                                     vehicles, including the Cybertruck and the Model Y. We have a
                                     significant number of manufacturing, operations, and
                                     engineering employees in Texas, and our executives are based
                                     there. Texas is where we should continue working towards our
                                     mission of accelerating the world’s transition to sustainable
                                     energy, as we lay the foundation for our growth with our ramp
                                     and build of factories for our future vehicles and to help meet
                                     the demand for energy storage as well as with our progress in
                                     artificial intelligence via full self-driving and Optimus.
                                     We have received letters from thousands of Tesla stockholders
                                     — large and small — supporting a move home to Texas. We
                                     have heard you, and now we formally ask that you speak in a
                                     meaningful way: and vote in favor of taking Tesla to our
                                     business home of Texas.

                                     Ratification Will Restore Tesla’s Stockholder Democracy.
                                     Corporate democracy and stockholder rights are at the heart of
                                     Tesla’s values. Earlier this year, a Delaware Court ruling in
                                     Tornetta v. Musk (which can be found as Annex I to this Proxy
                                     Statement) struck down one of your votes and rescinded the
                                     pay package that an overwhelming majority of you voted to
                                     grant to our CEO, Elon Musk, in 2018. The Tornetta Court
                                     decided, years later, that the CEO pay package was not
                                     “entirely fair” to the very same stockholders who voted to
                                     approve it — even though approximately 73% of all votes cast
                                     by our disinterested stockholders voted to approve it in 2018.
                                     Because the Delaware Court second-guessed your decision,
                                     Elon has not been paid for any of his work for Tesla for the past
                                     six years that has helped to generate significant growth and
                                     stockholder value. That strikes us — and the many stockholders
                                     from whom we already have heard — as fundamentally unfair,
                                     and inconsistent with the will of the stockholders who voted for
                                     it.
                                     The 2018 CEO pay package required Elon to deliver
                                     transformative and unprecedented growth to earn any
                                     compensation. It was a big risk, and many thought that the
                                     plan’s targets for benefits to stockholders were simply
                                     unachievable. But our company and our leaders have always
                                     had big dreams and it is fundamental to the entrepreneurial
                                     spirit of Tesla to take big risks for the chance at big rewards.
                                     This has led to the incredible innovation and progress — and
                                     economic gains — that we have achieved at Tesla. In 2018, we
                                     asked for unbelievable growth and accomplishments. Elon
                                     delivered: Tesla’s stockholders have benefited from
                                     unprecedented growth under Elon’s leadership and Tesla has
                                     met every single one of the 2018 CEO pay package’s targets.
                                     And — most importantly for the future of Tesla — the 2018 CEO
                                     pay package built in further incentives to benefit Tesla
                                     stockholders by requiring that Elon hold onto any shares he
                                     receives when he exercises his options for five years — which
                                     means he will continue to be driven to innovate and drive
                                     growth at Tesla because the value of his shares will depend on
                                     it!




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                                     The Board stands behind this pay package. We believed in it in
                                     2018, as we asked Elon to pursue remarkable goals to grow the
                                     company. You, as stockholders, also believed in it in 2018 when
                                     you overwhelmingly approved it. Time and results have only
                                     shown the wisdom of our judgment.
                                     We do not agree with what the Delaware Court decided, and we
                                     do not think that what the Delaware Court said is how corporate
                                     law should or does work. So we are coming to you now so you
                                     can help fix this issue — which is a matter of fundamental
                                     fairness and respect to our CEO. You have the chance to
                                     reinstate your vote and make it count. We are asking you to
                                     make your voice heard — once again — by voting to approve
                                     ratification of Elon’s 2018 compensation plan.
                                     Thank you for your continued support of Tesla, and, together
                                     with my fellow Board members, I hope you can join us for our
                                     2024 annual meeting on June 13, 2024 at 3:30 p.m. Central
                                     Time.


                                     Very truly yours,




                                     Robyn Denholm
                                     Chairperson of the Board




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             Notice of 2024 Annual Meeting of Stockholders
             TO BE HELD ON JUNE 13, 2024
             Dear Tesla Stockholders:
             Tesla, Inc. (the “ Company ,” “ Tesla ,” “ we ,” “ us ” or “ our ”) are pleased to inform you that our
             2024 Annual Meeting of Stockholders (the “ 2024 Annual Meeting ”) will be held on June 13,
             2024, at 3:30 p.m. Central Time, both virtually via the Internet at
             http://www.virtualshareholdermeeting.com/TSLA2024 and in person for a limited number of
             stockholders at Tesla’s Gigafactory Texas located at 1 Tesla Road, Austin, Texas 78725. For
             your convenience, we will also webcast the 2024 Annual Meeting live via the Internet at
             www.tesla.com/2024shareholdermeeting. The agenda of the 2024 Annual Meeting will be the
             following items of business, which are more fully described in this proxy statement:




                    June 13, 2024,                Gigafactory Texas             virtually:
                    3:30 p.m. Central Time        1 Tesla Road                  http://www.virtualshareholdermeeting.com/
                                                  Austin, Texas 78725           TSLA2024




                    Agenda Item                         Tesla Proposals                       Board Vote Recommendation

                    1.    A Tesla proposal to elect two Class II directors to serve
                          for a term of three years, or until their respective                “FOR EACH COMPANY
                          successors are duly elected and qualified (“Proposal                     NOMINEE”
                          One”).
                    2.    A Tesla proposal to approve executive compensation on                        “FOR”
                          a non-binding advisory basis (“Proposal Two”).
                    3.    A Tesla proposal to approve the redomestication of
                          Tesla from Delaware to Texas by conversion (“Proposal                        “FOR”
                          Three”).
                    4.    A Tesla proposal to ratify the 100% performance-based
                          stock option award to Elon Musk that was proposed to                         “FOR”
                          and approved by our stockholders in 2018 (“Proposal
                          Four”).
                    5.    A Tesla proposal to ratify the appointment of
                          PricewaterhouseCoopers LLP as Tesla’s independent                            “FOR”
                          registered public accounting firm for the fiscal year
                          ending December 31, 2024 (“Proposal Five”).

                                                        Stockholder Proposals

                    6.    A stockholder proposal regarding reduction of director
                          terms to one year, if properly presented (“Proposal Six”).                “AGAINST”

                    7.    A stockholder proposal regarding simple majority voting
                          provisions in our governing documents, if properly                        “AGAINST”
                          presented (“Proposal Seven”).
                    8.    A stockholder proposal regarding annual reporting on
                          anti-harassment and discrimination efforts, if properly
                          presented (“Proposal Eight”).                                             “AGAINST”




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                    Agenda Item                       Tesla Proposals                 Board Vote Recommendation

                    9.    A stockholder proposal regarding adoption of a freedom
                          of association and collective bargaining policy, if               “AGAINST”
                          properly presented (“Proposal Nine”).
                    10. A stockholder proposal regarding reporting on effects
                        and risks associated with electromagnetic radiation and             “AGAINST”
                        wireless technologies, if properly presented (“Proposal
                        Ten”).
                    11. A stockholder proposal regarding adopting targets and
                        reporting on metrics to assess the feasibility of
                        integrating sustainability metrics into senior executive            “AGAINST”
                        compensation plans, if properly presented (“Proposal
                        Eleven”).
                    12. A stockholder proposal regarding committing to a
                        moratorium on sourcing minerals from deep sea mining,
                        if properly presented (“Proposal Twelve”).                          “AGAINST”




             All stockholders as of the close of business on April 15, 2024 are cordially invited to attend the
             2024 Annual Meeting virtually via the Internet at http://virtualshareholdermeeting.com
             /TSLA2024. We will also accommodate a limited number of stockholders in person at
             Gigafactory Texas.
             We are providing our proxy materials to our stockholders over the Internet. This reduces our
             environmental impact and our costs while ensuring our stockholders have timely access to this
             important information. Accordingly, stockholders of record at the close of business on April 15,
             2024 will receive a Notice of Internet Availability of Proxy Materials (the “ Notice of Internet
             Availability ”) with details on accessing these materials. Beneficial owners of Tesla common
             stock at the close of business on April 15, 2024 will receive separate notices on behalf of their
             brokers, banks or other intermediaries through which they hold shares.
             Proposal Four Notice: For purposes of Section 204 of the DGCL (as defined below), at a
             meeting on April 16, 2024, the Board determined that the 2018 CEO Performance Award (as
             defined below) may be deemed to be a “defective corporate act” as defined in Section 204 of
             the DGCL to be ratified. The date of such “defective corporate act” is March 21, 2018. The
             Board concluded that the nature of the “failure of authorization” as defined in Section 204 of the
             DGCL in respect of the 2018 CEO Performance Award was the failure of the 2018 CEO
             Performance Award to have obtained the necessary stockholder approval due to certain defects
             in the disclosures in the Company's proxy statement for the 2018 Special Meeting. The Board
             has approved the ratification of the defective corporate act. Pursuant to Section 204 of the
             DGCL, any claim that the defective corporate act ratified hereunder is void or voidable due to
             the failure of authorization, or that the Delaware Court of Chancery should declare in its
             discretion that a ratification in accordance with this section not be effective or be effective only
             on certain conditions must be brought within 120 days from the applicable validation effective
             time. The information contained in this section of the notice is being provided solely for
             purposes of any ratification pursuant to Section 204 of the DGCL and not for any other purpose.

               Your vote is very important. Whether or not you plan to attend the 2024 Annual Meeting, we
               encourage you to read the proxy statement and vote as soon as possible. For specific
               instructions on how to vote your shares, please refer to the section entitled “ Questions and
               Answers About the 2024 Annual Meeting and Procedural Matters ” and the instructions on
               the Notice of Internet Availability or the notice you receive from your broker, bank or other
               intermediary.

             Thank you for your ongoing support of Tesla.



             Elon Musk                                              Robyn Denholm




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                                                                                                     TESLA, INC.
                                                                                                    1 Tesla Road
                                                                                            Austin, Texas 78725

             Proxy Statement
             For 2024 Annual Meeting of Stockholders
             Important Notice Regarding the Availability of Proxy
             Materials for the Stockholder Meeting to be Held on
             June 13, 2024
             The proxy statement and annual report are available at www.proxyvote.com.
             In accordance with U.S. Securities and Exchange Commission (the “ SEC ”) rules, we are
             providing access to our proxy materials over the Internet to our stockholders rather than in
             paper form, which reduces the environmental impact of our annual meeting and our costs.
             Accordingly, if you are a stockholder of record, a one-page Notice of Internet Availability of
             Proxy Materials has been mailed to you on or about                 , 2024. Stockholders of record
             may access the proxy materials on the website listed above or request a printed set of the proxy
             materials be sent to them by following the instructions in the Notice of Internet Availability. The
             Notice of Internet Availability also explains how you may request that we send future proxy
             materials to you by e-mail or in printed form by mail. If you choose the e-mail option, you will
             receive an e-mail next year with links to those materials and to the proxy voting site. We
             encourage you to choose this e-mail option, which will allow us to provide you with the
             information you need in a timelier manner, save us the cost of printing and mailing documents to
             you and conserve natural resources. Your election to receive proxy materials by e-mail or in
             printed form by mail will remain in effect until you terminate it.
             If you are a beneficial owner, you will not receive a Notice of Internet Availability directly from
             us, but your broker, bank or other intermediary will forward you a notice with instructions on
             accessing our proxy materials and directing that organization how to vote your shares, as well
             as other options that may be available to you for receiving our proxy materials.
             Please refer to the question entitled “What is the difference between holding shares as a
             stockholder of record or as a beneficial owner?” below for important details regarding
             different forms of stock ownership.

             Forward-Looking Statements
             The discussions in this Proxy Statement contain forward-looking statements within the meaning
             of the Private Securities Litigation Reform Act of 1995 reflecting our current expectations that
             involve risks and uncertainties. These forward-looking statements include, but are not limited to,
             statements concerning our goals, commitments, and strategies, our plans and expectations
             regarding our goals, commitments, strategies and mission, our plans and expectations regarding
             the Texas Redomestication (as defined herein) and the Ratification (as defined herein),
             expectations regarding the future of litigation in Texas, including the expectations and timing
             related to the Texas business court, expectations regarding the continued CEO innovation and
             incentivization under the Ratification, potential benefits, implications, risks or costs or tax
             effects, costs savings or other related implications associated with the Texas Redomestication
             or the Ratification, expectations about stockholder intentions, views and reactions, the
             avoidance of uncertainty regarding CEO compensation through the Ratification, the ability to
             avoid future judicial or other criticism through the Ratification, our future financial position,
             expected cost or charge reductions, our executive compensation program, expectations
             regarding demand and acceptance for our technologies, growth opportunities and trends in the
             markets in which we operate, prospects and plans and objectives of management. The words
             “anticipates,” “believes,” “continues,” “could,” “design,” “drive,” “estimates,” “expects,” “future,”
             “goals,” “intends,” “likely,” “may,” “plans,” “potential,” “seek,” “sets,”


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             “shall,” “should,” “spearheads,” “spurring,” “will,” “would,” and similar expressions are intended
             to identify forward-looking statements, although not all forward-looking statements contain these
             identifying words. We may not actually achieve the plans, intentions or expectations disclosed in
             our forward-looking statements and you should not place undue reliance on our forward-looking
             statements. Actual results or events could differ materially from the plans, intentions and
             expectations disclosed in the forward-looking statements that we make. These forward-looking
             statements involve risks and uncertainties that could cause our actual results to differ materially
             from those in the forward-looking statements, including, without limitation, risks related to the
             Texas Redomestication and the Ratification and the risks set forth in Part I, Item 1A, “Risk
             Factors” of the Annual Report on Form 10-K for the fiscal year ended December 31, 2023 and
             that are otherwise described or updated from time to time in our other filings with the Securities
             and Exchange Commission (the “SEC”). The discussion of such risks is not an indication that
             any such risks have occurred at the time of this filing. We do not assume any obligation to
             update any forward-looking statements.




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             Investor Outreach and Engagement
             Our Approach
                 Our unique business requires a unique approach to corporate governance, and our mission
                 requires a long-term focus that we believe will ultimately maximize value to our employees
                 and our stockholders. Our corporate governance structure has facilitated several key
                 decisions which have set Tesla up to achieve long-term success and our mission to accelerate
                 the world’s transition to sustainable energy.

             Some examples include our decisions to:
             • Manufacture all-electric vehicles from the ground up rather than being a mere supplier of EV
               components;
             • Establish an international network of our stores, service centers and Supercharger stations
               despite regulatory hurdles and the significant capital outlay required to do so;
             • Build Gigafactory Nevada, the largest lithium-ion battery factory in the world, so that we can
               scale most effectively;
             • Expand into energy generation and storage through the acquisition of SolarCity Corporation (“
               SolarCity ”) in 2016 to create a vertically integrated sustainable energy company and empower
               individual consumers to be their own utility;
             • Deploy FSD (Supervised) incrementally, resulting in over one billion cumulative miles driven
               with FSD (Supervised) to date; and
             • Compensate our CEO only if other stockholders realize tremendous value.
             These and other similar decisions were made due to our corporate governance structure and,
             ultimately, decisions like these are what differentiate Tesla from other companies.

             Year-Round Engagement
             Our Board of Directors (the “ Board ”) continuously evaluates our corporate governance
             structure, practices and policies, and weighs stakeholder feedback.
             It is important to our Board that the Company speaks with our stockholders and is responsive to
             engagement and believes that stockholder and stakeholder perspectives are important to our
             Company’s success. The Board maintains an active, year-round dialogue with our largest
             stockholders to ensure that Tesla’s Board and management understand and consider the issues
             that matter most to our stockholders. This includes focused one-on-one meetings between our
             Board and stockholders throughout the year that are designed to give institutional stockholders
             an opportunity to better understand our strategy and governance and raise any concerns, and
             allow our directors to become better informed about our stockholders’ views and concerns. We
             pursue multiple avenues for stockholder engagement, including video and teleconference
             meetings with our stockholders, participating at various conferences, engaging with proxy and
             other advisory firms, issuing periodic reports on our activities, and receiving feedback from our
             retail holders.

             Board Responsiveness
             Through the Board’s engagement program discussed above, we have received, and continue to
             periodically receive, helpful input regarding a number of stockholder-related matters. Moreover,
             members of the Board and management from time to time seek input from our investors when
             considering important corporate actions, including our consideration of, and responses to,
             stockholder proposals that involve corporate governance and alignment with stockholder
             interests. As a result, we have adopted a number of significant changes, including, but not
             limited to:
             • Progressively adding directors who are independent under the requirements of The Nasdaq
               Stock Market LLC (“ Nasdaq ”) and bring additional viewpoints and key skills in different areas
               as


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                 we evolve, including Kathleen Wilson-Thompson in 2018, Hiromichi Mizuno in 2020, Joe
                 Gebbia in 2022 and JB Straubel in 2023;
             • Following the passing proposal at the Annual Meeting of Stockholders in 2022 (the “ 2022
               Annual Meeting ”) relating to proxy access, meeting with key stockholders to discuss their
               views and formulate a framework to address the proposal, after which the Board voted to
               amend the bylaws of the Company to enable proxy access, in such a manner as to reflect
               such stockholder views;
             • Hosting Investor Day in March 2023, in which Tesla leaders presented on key areas important
               to our success, affording stockholders more detailed assessments of the performance,
               achievements, growth opportunities and areas of focus for our businesses, and addressing
               stockholder feedback requesting greater visibility into our business leaders and roadmap;
             • Amending our pledging policy to (i) cap the aggregate loan or investment amount that can be
               collateralized by the pledged stock of our CEO to the lesser of $3.5 billion or
               twenty-five percent (25%) of the total value of the pledged stock, and (ii) lower the percentage
               used to calculate the maximum loan or investment amount borrowable by directors and
               officers (other than our CEO) based on the total value of such director or officer’s pledged
               stock from 25% to 15%;
             • Enhancing our proxy statement disclosures, including with respect to our corporate
               governance approach, succession planning, risk oversight, Committee engagement and
               director skills;
             • Publishing an annual Impact Report, and providing disclosures including those aligned with
               the Task Force on Climate-Related Financial Disclosures (TCFD) and Sustainability
               Accounting Standards Board recommendations, as well as EEO-1 data; and
             • Recommending management proposals in prior years, including at the 2022 Annual Meeting,
               to reduce director terms and eliminate applicable supermajority voting requirements.
             This year, we will be publishing our sixth annual Impact Report with enhanced disclosures
             across people, environment, product and supply chain. In response to stockholder engagement,
             in 2023 we began expanding Scope 3 emissions disclosures and continued our alignment with
             the TCFD’s recommended climate related disclosures. We will expand our environmental
             disclosures, as well as disclosures on the culture we continue to build and enhance at Tesla,
             how we engage and aim to retain our employees, progress we are making on displacing fossil
             fuels, the efficiency and safety of our products and how we manage risks in the supply chain,
             among many other topics. For further information, please navigate to the “Impact” page of the
             Investor Relations section on our website. We intend to publish our 2023 Report by the end of
             May 2024. Information contained on, or accessible through, our website and in our Impact
             Report, is not incorporated in, and is not part of, this proxy statement or any other report or
             filing we make with the SEC.

             Our Board’s Commitment to Governance
             Our Board believes in maintaining stockholder confidence through, among other things,
             demonstrating its responsiveness to stockholder feedback and its commitment to corporate
             governance. Accordingly, to provide an enhanced voice to our stockholders in approving
             fundamental corporate matters, the Board is committed to enabling the elimination of certain
             supermajority voting requirements in our charter and bylaws through the process outlined below.
             In recent years, our Board repeatedly proposed amendments to our certificate of incorporation
             and bylaws to reduce director terms and/or to eliminate certain supermajority voting. However,
             such amendments failed to pass each time that the Board proposed them. Because the
             affirmative vote of at least 66 2 ⁄ 3 % of the total outstanding shares entitled to vote is required to
             approve such amendments, similar proposals cannot pass unless we achieve such a stockholder
             participation rate.
             In response to not reaching the required stockholder participation rate, beginning in 2022, we
             took active steps in an effort to further increase the participation rate of our retail investors
             through the development of our Shareholder Platform (discussed below), outreach campaigns,
             direct mailings, one-on-one engagements and through social media channels. This resulted in
             achieving, in 2022, our highest stockholder participation rate in the last five years of over 63%,
             though still short of the required 66 2 ⁄ 3 % participation rate.



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             We will continue to marshal our resources and continue our efforts to further increase retail
             investor participation rates as rapidly as possible, including through an active communications
             campaign via our Shareholder Platform and social media channels encouraging retail
             stockholders to vote their shares.
             Once we have achieved a total stockholder participation rate of at least 65% at a stockholder
             meeting, the Board will again propose charter and bylaw amendments to eliminate supermajority
             voting requirements. To the extent that this proposal to eliminate supermajority voting
             requirements achieves the required threshold to pass, this will unlock a gateway for our Board
             and stockholders to adopt further stockholder-driven governance actions, including, without
             limitation, the right for stockholders to act by written consent or to call a special meeting, and
             the declassification of the Board, as may be appropriate in accordance with law. Furthermore,
             as previously discussed, the Board is consistently listening and receptive to taking further
             governance actions when appropriate.

             Shareholder Platform
             In 2022, building on our efforts to enhance engagement among our retail stockholder base,
             Tesla launched our Shareholder Platform. Any Tesla stockholder, regardless of holdings size,
             can sign up to stay informed about investor-related topics such as quarterly filings and event
             announcements, and are eligible for selection to participate in in-person Tesla events such as
             the Tesla Semi launch event, AI Day 2, Investor Day and the Cybertruck delivery event. Tesla
             has one of the largest retail stockholder bases of any public company. Our retail stockholders
             are incredibly engaged and tend to have a very strong understanding of the Company, and are
             an important base of support and feedback for management and the Board. We will continue to
             build the system to maximize depth of engagement and reach. Our goal is for every retail
             stockholder who wants to engage with the Company to have a meaningful framework for
             interaction through the Shareholder Platform.

             Hybrid Annual Stockholder Meetings
             Beginning in 2020, we have conducted our annual meetings both in-person and online through a
             live webcast and online stockholder tools. Our online format opens up engagement to all
             stockholders, regardless of the amount of stock owned and geography, and allows our
             substantial retail stockholder population to hear directly from our Board and management, as
             well as to submit questions online. At the same time, due to investor feedback and interest, we
             continue to also host our meetings in-person so stockholders have the opportunity to engage
             with our Board and management in-person.




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             Management Proposals
             Proposal One
             Tesla Proposal for Election of Directors
             General
             Tesla’s Board currently consists of eight members who are divided into three classes with
             staggered three-year terms. Our bylaws permit the Board to establish by resolution the
             authorized number of directors, and eight directors are currently authorized. Any increase or
             decrease in the number of directors will be distributed among the three classes so that, as
             nearly as possible, each class will consist of an equal number of directors. The Board and the
             Nominating and Corporate Governance Committee will continue to frequently evaluate the
             optimal size and composition of the Board to allow it to operate nimbly and efficiently, while
             maintaining new ideas, expertise and experience among its membership.

             Nominees for Class II Directors
             Two candidates have been nominated for election as Class II directors at the 2024 Annual
             Meeting for a three-year term expiring in 2027.
             Upon recommendation of the Nominating and Corporate Governance Committee, the Board has
             nominated James Murdoch and Kimbal Musk for election as Class II directors. Biographical
             information about each of the nominees is contained in the following section. A discussion of the
             qualifications, attributes and skills of each nominee that led the Board and the Nominating and
             Corporate Governance Committee to the conclusion that he should be elected or continue to
             serve as a director follows each of the director and nominee biographies.
             If you are a stockholder of record and you sign your proxy card or vote by telephone or over the
             Internet but do not give instructions with respect to the voting of directors, your shares will be
             voted “ FOR ” the election of Messrs. Murdoch and Musk. Each of Messrs. Murdoch and Musk
             has accepted such nomination; however, in the event that a nominee is unable or declines to
             serve as a director at the time of the 2024 Annual Meeting, the proxies will be voted for any
             nominee who shall be designated by the Board to fill such vacancy. If you wish to give specific
             instructions with respect to the voting of directors, you may do so by indicating your instructions
             on your proxy card or when you vote by telephone or over the Internet. If you are a beneficial
             owner holding your shares in street name and you do not give voting instructions to your broker,
             bank or other intermediary, that organization will leave your shares unvoted on this matter.




                              The Board recommends a vote FOR the Tesla proposal for the
                              election of Kimbal Musk and James Murdoch.




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             Information Regarding the Board and Director Nominees
             The names of the members of the Board and Tesla’s director nominees, their respective ages,
             their positions with Tesla and other biographical information as of April 16, 2024, are set forth
             below. Except for Messrs. Elon Musk (“ Mr. Musk ”), our Chief Executive Officer and a director,
             and Kimbal Musk, a director, who are brothers, there are no other family relationships among
             any of our directors or executive officers.




                                                                                             Nominating
                                                                                                and
                                                                                              Corporate     Disclosure
                                                          Chair of the   Audit  Compensation Governance      Controls
                    Name                                    Board      Committee Committee   Committee      Committee


                            Elon Musk



                            Robyn Denholm



                            Ira Ehrenpreis



                            Joe Gebbia



                            James Murdoch



                            Kimbal Musk



                            JB Straubel



                            Kathleen Wilson-Thompson




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             Director Bios


                                    Career Highlights
                                    Elon Musk has served as our Chief Executive Officer since
                                    October 2008. Mr. Musk has also served as Chief Executive
                                    Officer, Chief Technology Officer and Chairman of Space
                                    Exploration Technologies Corporation, a company which
                                    develops and launches advanced rockets and spacecraft (“
             ELON MUSK              SpaceX ”), since May 2002, served as Chairman of the Board of
                                    SolarCity Corporation, a solar installation company, from
             Age: 52                July 2006 until its acquisition by us in November 2016, served
             Director Since: 2004   as Chief Technology Officer of X Corp, a social media company
                                    (“ X ”), since October 2022 and served as the Chief Executive
                                    Officer of x.AI Corp, an artificial intelligence company, since
                                    March 2023. Mr. Musk is also a founder of The Boring Company
                                    (“ TBC ”), an infrastructure company, and Neuralink Corporation,
                                    a company focused on developing brain-machine interfaces.
                                    Prior to SpaceX, Mr. Musk co-founded PayPal, an electronic
                                    payment system, which was acquired by eBay in October 2002,
                                    and Zip2 Corporation, a provider of Internet enterprise software
                                    and services, which was acquired by Compaq in March 1999.
                                    Mr. Musk also served on the board of directors of Endeavor
                                    Group Holdings, Inc. from April 2021 to June 2022.
                                    Mr. Musk holds a B.A. in physics from the University of
                                    Pennsylvania and a B.S. in business from the Wharton School of
                                    the University of Pennsylvania.
                                    Impact
                                    As our Chief Executive Officer, one of our founders and our
                                    largest stockholder, Mr. Musk brings historical knowledge,
                                    operational and technical expertise and continuity to the Board.
                                    Mr. Musk guided Tesla from an early-stage startup, through its
                                    IPO in 2010, to transformative growth into one of the most
                                    valuable companies in the world. Mr. Musk’s leadership and
                                    unique vision has played a key role in our mission to accelerate
                                    the world’s transition to sustainable energy.




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                                     Career Highlights
                                     Ms. Denholm has been Chair of the Board since
                                     November 2018. Since January 2021, Ms. Denholm has been an
                                     operating partner of Blackbird Ventures, a venture capital firm.
                                     She is also the Inaugural Chair of the Technology Council of
                                     Australia. From January 2017 through June 2019, Ms. Denholm
                                     was with Telstra Corporation Limited, a telecommunications
             ROBYN DENHOLM
                                     company (“ Telstra ”), where she served as Chief Financial
             Age: 60                 Officer and Head of Strategy from October 2018 through
                                     June 2019, and Chief Operations Officer from January 2017 to
             Director Since: 2014
                                     October 2018. Prior to Telstra, from August 2007 to July 2016,
                                     Ms. Denholm was with Juniper Networks, Inc., a manufacturer of
                                     networking equipment, serving in executive roles including
             Committee               Executive Vice President, Chief Financial Officer and Chief
             Membership              Operations Officer. Prior to joining Juniper Networks,
             • Audit (Chair)         Ms. Denholm served in various executive roles at Sun
                                     Microsystems, Inc. from January 1996 to August 2007.
             • Compensation
                                     Ms. Denholm also served at Toyota Motor Corporation Australia
             • Nominating and        for seven years and at Arthur Andersen & Company for
               Corporate             five years in various finance assignments. Ms. Denholm
               Governance            previously served as a director of ABB Ltd. from 2016 to 2017.
             • Disclosure Controls   Ms. Denholm is a Fellow of the Institute of Chartered
               (Chair)               Accountants of Australia/New Zealand, a member of the
                                     Australian Institute of Company Directors, and holds a
                                     Bachelor’s degree in Economics from the University of Sydney,
                                     and a Master’s degree in Commerce and a Doctor of Business
                                     Administration (honoris causa) from the University of New South
                                     Wales.
                                     Impact
                                     Ms. Denholm brings nearly 30 years of executive leadership
                                     experience at both NYSE and Nasdaq listed companies,
                                     including significant risk management, financial and accounting
                                     expertise, as well as technology leadership experience.
                                     Ms. Denholm has extensive knowledge of both the automotive
                                     and technology industries, including serving as the Chief
                                     Financial Officer and Chief Operations Officer of two technology
                                     companies.




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                                    Career Highlights
                                    Mr. Ehrenpreis has been a venture capitalist since 1996. He is a
                                    founder and managing member of DBL Partners, a leading
                                    impact investing venture capital firm formed in 2015. Previously,
                                    he led the Energy Innovation practice at Technology Partners.
                                    Mr. Ehrenpreis has served on the board and Executive
             IRA EHRENPREIS         Committee, including as Annual Meeting Chairman, of the
                                    National Venture Capital Association (NVCA). Mr. Ehrenpreis
             Age: 55                currently serves as the Chairman of the VCNetwork, the largest
             Director Since: 2007   and most active California venture capital organization, and as
                                    the President of the Western Association of Venture Capitalists
                                    (WAVC), the oldest venture capital organization in California.
                                    Mr. Ehrenpreis is also deeply involved in the energy technology
             Committee              sector. He currently serves on the National Renewable Energy
             Membership             Laboratory (NREL) Advisory Council, the University of Texas at
             • Compensation         Austin Energy Institute Advisory Board, and the Stanford
               (Chair)              Precourt Institute for Energy Advisory Council, and has served
                                    on the advisory boards of many industry groups, including the
             • Nominating and
               Corporate            American Council on Renewable Energy, the Cleantech Venture
                                    Network (Past Chairman of Advisory Board) and the Stanford
               Governance (Chair)
                                    Global Climate and Energy Project (GCEP). He was also
                                    Chairman of the Clean-Tech Investor Summit for nine years.
                                    Mr. Ehrenpreis served for years as the Chairman of the Silicon
                                    Valley Innovation & Entrepreneurship Forum (SVIEF) and on the
                                    Advisory Board of the Forum for Women Entrepreneurs (FWE).
                                    Mr. Ehrenpreis is an inductee of the International Green Industry
                                    Hall of Fame. In 2018, the National Venture Capital Association
                                    awarded Mr. Ehrenpreis with the industry’s “Outstanding Service
                                    Award” for career contributions to the venture capital industry. In
                                    2023, the Japan Society of Northern California honored
                                    Mr. Ehrenpreis with its 2023 Visionary Award for his “Pioneering
                                    Leadership in Impact Investing and the Global Sustainability
                                    Community.” Mr. Ehrenpreis was awarded the 2018 NACD
                                    Directorship 100 for his influential leadership in the boardroom
                                    and corporate governance community. Mr. Ehrenpreis holds a
                                    B.A. from the University of California, Los Angeles and a J.D.
                                    and M.B.A. from Stanford University.
                                    Impact
                                    Mr. Ehrenpreis is an acknowledged leader in the energy,
                                    technology, impact and venture capital industries, where he
                                    serves on several industry boards, and brings valuable insights
                                    in corporate governance, strategic growth and stockholder
                                    values. Mr. Ehrenpreis’ long tenure on Tesla’s Board also
                                    provides the Company with stability and experience as it
                                    navigates through different challenges.




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                                     Career Highlights
                                     Mr. Gebbia co-founded Airbnb, Inc. in 2008 and has served on
                                     Airbnb’s board of directors since 2009. In 2022, Mr. Gebbia
                                     launched Samara, which produces fully customized,
                                     factory-made homes designed to create rental income, house
                                     family, support work from home, or bundled together, to form
                                     new types of housing communities. Mr. Gebbia received dual
             JOE GEBBIA
                                     degrees in Graphic Design and Industrial Design from the Rhode
             Age: 42                 Island School of Design, where he currently serves on the
                                     institution’s Board of Trustees. Mr. Gebbia is the Chairman of
             Director Since: 2022    Airbnb.org, and also serves on the Olympic Refuge Foundation
                                     and leadership councils for UNHCR, Tent.org and Malala Fund.
                                     Mr. Gebbia is a sought-after speaker on design and
             Committee               entrepreneurship, and has been named in BusinessWeek’s Top
             Membership              20 Best Young Tech Entrepreneurs, Inc. Magazine’s Thirty-
                                     under-Thirty, Fortune’s Forty-under-Forty, and one of Fast
             • Audit                 Company’s Most Creative People.
                                     Impact
                                     Mr. Gebbia has valuable experience derived from founding and
                                     leading a global public company. The Board benefits from his
                                     entrepreneurial background, as well as his experience in design,
                                     innovation, brand development and management of complex
                                     regulatory environments.




                                     Career Highlights
                                     Mr. Murdoch has been the Chief Executive Officer of Lupa
                                     Systems, a private holding company that he founded, since
                                     March 2019. Previously, Mr. Murdoch held a number of
                                     leadership roles at Twenty-First Century Fox, Inc., a media
                                     company (“ 21CF ”), over two decades, including its Chief
                                     Executive Officer from 2015 to March 2019, its Co-Chief
             JAMES MURDOCH
                                     Operating Officer from 2014 to 2015, its Deputy Chief Operating
             Age: 51                 Officer and Chairman and Chief Executive Officer, International
                                     from 2011 to 2014 and its Chairman and Chief Executive,
             Director Since: 2017    Europe and Asia from 2007 to 2011. Previously, he served as
                                     the Chief Executive Officer of Sky plc from 2003 to 2007, and as
                                     the Chairman and Chief Executive Officer of STAR Group
             Committee               Limited, a subsidiary of 21CF, from 2000 to 2003. Mr. Murdoch
             Membership              formerly served on the boards of News Corporation from 2013 to
                                     2020, of 21CF from 2007 to 2019, and of Sky plc from 2003 to
             • Audit
                                     2018. In addition, he has served on the boards of
             • Nominating and        GlaxoSmithKline plc and of Sotheby’s.
               Corporate
               Governance            Impact

             • Disclosure Controls   Mr. Murdoch brings to the Board his decades of executive and
                                     board experience across numerous companies. Tesla’s Board
                                     benefits from his extensive knowledge of international markets
                                     and strategies and experience with the adoption of new
                                     technologies.




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                                    Career Highlights
                                    Mr. Musk is co-founder and Executive Chairman of The Kitchen
                                    Restaurant Group, a growing family of businesses with the goal
                                    of providing all Americans with access to real food that was
                                    founded in 2004. In 2010, Mr. Musk became the Executive
                                    Director of Big Green (formerly The Kitchen Community), a
             KIMBAL MUSK            non-profit organization that creates learning gardens in schools
                                    across the United States. Mr. Musk also co-founded Square
             Age: 51
                                    Roots, an urban farming company growing fresh, local greens in
             Director Since: 2004   climate-controlled, AI equipped shipping containers, in 2016,
                                    and serves as its Chairman. In 2022, Mr. Musk founded Nova
                                    Sky Stories, with a mission to empower producers and artists to
                                    bring art to the skies with drone light shows, and serves as its
                                    Chief Executive Officer. Previously, Mr. Musk was a co-founder
                                    of Zip2 Corporation, a provider of Internet enterprise software
                                    and services, which was acquired by Compaq in March 1999. In
                                    2006, Mr. Musk became CEO of OneRiot, a realtime search
                                    engine that was acquired by Walmart in 2011. Mr. Musk was a
                                    director of SpaceX since its founding in 2002 until January 2022,
                                    and was a director of Chipotle Mexican Grill, Inc. from 2013 to
                                    2019. Mr. Musk holds a B. Comm. in business from Queen’s
                                    University and is a graduate of The French Culinary Institute in
                                    New York City.
                                    Impact
                                    Mr. Musk has extensive senior leadership business experience
                                    in the technology, retail and consumer markets, and a robust
                                    understanding of mission-driven ventures. Mr. Musk also
                                    provides valuable expertise based on his experience on the
                                    Tesla Board and is able to apply his unique understanding of the
                                    business to the strategy and execution of the Company.




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                                    Career Highlights
                                    Mr. Straubel is the Founder and Chief Executive Officer of
                                    Redwood Materials Inc., a Nevada-based company (“ Redwood
                                    ”) working to drive down the costs and environmental footprint of
                                    lithium-ion batteries by offering large-scale sources of domestic
                                    anode and cathode materials produced from recycled batteries.
             JB STRAUBEL            Mr. Straubel also co-founded and served as the Chief
                                    Technology Officer of Tesla from May 2005 to July 2019.
             Age: 48
                                    Mr. Straubel previously served on the board of SolarCity and as
             Director Since: 2023   a member of its Nominating and Corporate Governance
                                    Committee from August 2006 until its acquisition by Tesla in
                                    November 2016. Mr. Straubel has served on the board of
                                    directors of QuantumScape since November 2020. Mr. Straubel
                                    holds a B.S. in Energy Systems Engineering and a M.S. in
                                    Engineering, with an emphasis on energy conversion, from
                                    Stanford University.
                                    Impact
                                    As a co-founder and one of the key members of Tesla’s
                                    leadership team for over a decade, Mr. Straubel brings extensive
                                    operational experience and in-house knowledge of Tesla’s
                                    technology, research and development and business
                                    management. Mr. Straubel also provides valuable expertise in
                                    the areas of cleantech and batteries.




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                                         Career Highlights
                                         Ms. Wilson-Thompson served as Executive Vice President and
                                         Global Chief Human Resources Officer of Walgreens Boots
                                         Alliance, Inc., a global pharmacy and wellbeing company, from
                                         December 2014 until her retirement in January 2021, and
                                         previously served as Senior Vice President and Chief Human
             KATHLEEN WILSON-            Resources Officer from January 2010 to December 2014. Prior
             THOMPSON                    to Walgreens, Ms. Wilson-Thompson held various legal and
                                         operational roles at The Kellogg Company, a food manufacturing
             Age: 66                     company, from January 1991 to December 2009, including most
             Director Since: 2018        recently as its Senior Vice President, Global Human Resources.
                                         Ms. Wilson-Thompson has served on the board of directors of
                                         Wolverine World Wide, Inc. since May 2021 and McKesson
                                         Corporation since January 2022. She previously served on the
             Committee                   board of directors of Ashland Global Holdings Inc. from
             Membership                  2017-2020 and on the board of directors of Vulcan Materials
             • Compensation              Company from 2009-2018.
               Committee
                                         Impact
             • Nominating and
                                         Ms. Wilson-Thompson brings extensive executive and board
               Corporate
                                         experience at both consumer-focused and industrial companies.
               Governance
                                         In addition, her expertise in managing human resources,
             • Disclosure Controls       employment law and other operations at mature companies with
                                         large workforces provides the Board with valuable insight and
                                         advice for workforce management and relations as Tesla
                                         continues to expand.


             Additional Information
             On October 16, 2018, the U.S. District Court for the Southern District of New York entered a
             final judgment approving the terms of a settlement filed with the court on September 29, 2018,
             in connection with the actions taken by the SEC relating to Elon Musk’s August 7, 2018 Twitter
             post that he was considering taking Tesla private. On April 26, 2019, this settlement was
             amended to clarify certain of its terms, which was subsequently approved by the Court.
             Mr. Musk did not admit or deny any of the SEC’s allegations, and there is no restriction on Mr.
             Musk’s ability to serve as an officer or director on the Board.
             See “ Corporate Governance ” and “ Executive Compensation — Compensation of Directors ”
             below for additional information regarding the Board.




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             Proposal Two
             Tesla Proposal for Non-Binding Advisory Vote on Executive
             Compensation
             General
             Pursuant to Schedule 14A of the Exchange Act, we are asking our stockholders to vote to
             approve, on a non-binding advisory basis, the compensation of our “named executive officers”
             as disclosed in accordance with the SEC’s rules in the “ Executive Compensation ” section of
             this proxy statement beginning on page 122 below. This proposal, commonly known as a
             “say-on-pay” proposal, gives our stockholders the opportunity to weigh in on our named
             executive officers’ compensation as a whole. This vote is not intended to address any specific
             item of compensation or any specific named executive officer, but rather the overall
             compensation of all of our named executive officers and the philosophy, policies and practices
             described in this proxy statement.
             The say-on-pay vote is advisory, and therefore not binding on the Company, the Compensation
             Committee or the Board. The say-on-pay vote will, however, provide information to us regarding
             investor sentiment about our executive compensation philosophy, policies and practices, which
             the Compensation Committee will be able to consider when determining executive compensation
             for the remainder of the current fiscal year and beyond. The Board and the Compensation
             Committee value the opinions of our stockholders and to the extent there is any significant vote
             against our named executive officer compensation as disclosed in this proxy statement, we will
             consider our stockholders’ concerns and the Compensation Committee will evaluate whether any
             actions are necessary to address those concerns.

             Summary of the 2023 Executive Compensation Program
             The following is a summary of some of the key points of our 2023 executive compensation
             program:
             • Tesla continues to emphasize structuring compensation incentives to reward our named
               executive officers based on performance.
             • Equity awards weigh heavily in our named executive officers’ total compensation, including
               awards that vest upon the achievement of clear and measurable milestones. Since these
               awards increase in value as our stock price increases (and in the case of stock option awards,
               have no value unless our stock price increases following their grant), our named executive
               officers’ incentives are closely aligned with the long-term interests of our stockholders. Since
               2020, the last year any of our named executive officers received equity awards, except for
               Xiaotong (Tom) Zhu, our Senior Vice President, Automotive, who received stock option awards
               upon his promotion to such role, all awards that were granted to our named executive officers
               have been in the form of stock options. As a result, a significant portion of our named
               executive officers’ total compensation is entirely at risk, depending on long-term stock price
               performance.
             • Tesla has no cash bonus program for any of our named executive officers and generally does
               not provide any perquisites or tax reimbursements to our named executive officers that are not
               available to other employees. No named executive officer currently has any severance or
               change of control arrangement.
             • Each named executive officer is employed at will and is expected to demonstrate exceptional
               personal performance in order to continue serving as a member of the executive team.
             • Elon Musk, our Chief Executive Officer, historically earned a base salary that reflected the
               applicable minimum wage requirements under California law, and he was subject to income
               taxes based on such base salary. However, he has never accepted his salary. Commencing in
               May 2019 at Mr. Musk’s request, we eliminated altogether the earning and accrual of this base
               salary. Consequently, 100% of Mr. Musk’s future compensation was at-risk in the form of the
               remaining unvested stock options under the 10-year performance-based stock option award
               granted to Mr. Musk in January 2018 (the “ 2018 CEO Performance Award ”).


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             • In particular, the 2018 CEO Performance Award consisted of 12 equal tranches, each which
               vested upon the achievement of a market capitalization milestone matched to one of eight
               revenue-based operational milestones or eight Adjusted EBITDA-based operational
               milestones, all of which were viewed as difficult hurdles at the time of grant. While our
               stockholders benefit from each incremental increase in Tesla’s performance and stock price,
               aligning their interests with Mr. Musk’s incentives, the tranches under the 2018 CEO
               Performance Award vested only upon the full achievement of specific milestones, making it
               even more challenging for Mr. Musk to realize value from such increases. As of the date of
               this proxy statement, all of the tranches have vested and become exercisable, subject to
               Mr. Musk’s payment of the exercise price of $23.34 per share, as adjusted to give effect to the
               three-for-one stock split effected in the form of a stock dividend in August 2022 (the “ 2022
               Stock Split ”) and the five-for-one stock split effected in the form of a stock dividend in
               August 2020 (the “ 2020 Stock Split ”), and the minimum five-year holding period generally
               applicable to any shares he acquires upon exercise. See “ Executive Compensation —
               Compensation Discussion and Analysis — Chief Executive Officer Compensation ” below for
               more details.
             For detailed information about Tesla’s executive compensation program, see the “ Executive
             Compensation ” section beginning on page 122 below.
             Tesla believes that the information provided above and within the “ Executive Compensation ”
             section of this proxy statement demonstrates that Tesla’s executive compensation program was
             designed appropriately and is working to ensure management’s interests are aligned with our
             stockholders’ interests to support long-term value creation.

             Proposed Resolution
             Accordingly, we ask our stockholders to vote “FOR” the following resolution at the 2024 Annual
             Meeting:
             “RESOLVED, that the Company’s stockholders approve, on a non-binding advisory basis, the
             compensation of the named executive officers, as disclosed in the Company’s Proxy Statement
             for the Annual Meeting of Stockholders pursuant to the compensation disclosure rules of the
             SEC, including the Compensation Discussion and Analysis, the compensation tables and the
             other related disclosure.”




                              The Board recommends a vote FOR the Tesla proposal for a
                              non-binding advisory vote approving executive compensation.




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             Background and Process of the Special Committee
             Proposal Three and Proposal Four are being presented for votes of the Company’s stockholders
             following the recommendations of a special committee of the Board (the “ Special Committee ”)
             and the Board. The findings and recommendations of the Special Committee and the Board are
             presented in Proposal Three and Proposal Four, which follow this summary.
             This is only a summary of the background and process of the Special Committee. The
             background and process of the Special Committee’s review is set forth in Part 2 of its report
             (the “ Special Committee Report ”), which is attached hereto as Annex E and incorporated by
             reference herein. This summary is qualified in its entirety by reference to the Special Committee
             Report. Our stockholders are encouraged to read the entirety of the Special Committee Report
             for further information regarding the background and process of the Special Committee.
             Kathleen Wilson-Thompson is the sole member of the Special Committee. Ms. Wilson-Thompson
             is an outside director who joined Tesla’s Board in December 2018. She has served in senior
             management and director roles at public companies for three decades, rising through the ranks
             to the C-Suite at two Fortune 500 public companies. Among other positions, she served as the
             Executive Vice President and Global Chief Human Resources Officer of Walgreens Boots
             Alliance, Inc., and she is currently a director of McKesson Corporation and Wolverine World
             Wide, Inc. She was a practicing lawyer before pivoting to management.
             Proposal Three relates to the proposed redomestication of the Company from Delaware to
             Texas. The Board discussed the question of redomestication at two special meetings in early
             February 2024. On February 4, 2024, the Board, including Mr. Musk, met and discussed the
             matter. The Board addressed the public narrative that Mr. Musk had already decided the issue
             for the Company and that Mr. Musk’s post on the social media platform X, which says “Tesla will
             move immediately to hold a shareholder vote to transfer state of incorporation to Texas,” was a
             reflexive reaction to the ruling in Tornetta v. Elon Musk, et al., No. 2018-0408-KSJM (the “
             Tornetta Opinion ”). The discussion reflected the fact that outside directors as well as
             management had previously explored the possibility of a redomestication (though without
             coming to a decision one way or the other). At this meeting, the Board determined that,
             regardless of Mr. Musk’s post, the Board would only consider redomestication at this time after
             an appropriate process and timeline, and based on an evaluation of the best interests of the
             Company and all of its stockholders.
             The Board met again on February 10, 2024, without Mr. Musk and Kimbal Musk. The five
             directors present were Robyn Denholm, Ira Ehrenpreis, Joe Gebbia, JB Straubel and Kathleen
             Wilson-Thompson. These directors concluded that a majority of the Board was independent and
             disinterested with respect to redomestication. They nevertheless decided to create a Special
             Committee to consider the redomestication issue out of an abundance of caution, in light of the
             Tornetta Opinion and the high degree of public attention. Accordingly, these five directors
             unanimously voted to form the Special Committee and to appoint Kathleen Wilson-Thompson
             and Joe Gebbia as members.
             The Board charged the Committee with considering whether it would be in the best interests of
             the Company and its stockholders to change its corporate domicile, and if so, to which
             jurisdiction. Among other things, the Special Committee had the authority to: determine the
             Company’s decision on the redomestication issue; consider all alternatives, including whether to
             remain in Delaware or redomesticate to any other jurisdiction; determine whether to condition
             any redomestication on a particular stockholder vote standard; determine its own timing without
             any deadline; select and retain advisors at the Company’s expense; and obtain information from
             and direct the Company’s officers, employees, and advisors as it deemed necessary and
             appropriate. In the Special Committee’s judgment, it was fully empowered to discharge its
             mandate.
             The Special Committee began its work and analysis shortly thereafter. As the Special Committee
             considered the redomestication question, it concluded that if it made a determination to
             redomesticate, Mr. Musk’s compensation should also be addressed in some way at the same
             time. Otherwise, a potential redomestication could be wrongly perceived as being made in
             response to the Tornetta Opinion and with the intent to award Mr. Musk compensation in a
             different jurisdiction


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             that he could not get in Delaware. And, if stockholders were not told of any then-existing plans
             for Mr. Musk’s compensation, the stockholder vote on redomestication could be subject to attack
             as not fully informed.
             Accordingly, the Special Committee discussed how Mr. Musk’s compensation might be
             addressed if there were a decision to redomesticate. According to the Special Committee
             Report, Ms. Wilson-Thompson, as a member of the Compensation Committee, was aware that
             Mr. Musk had made it clear that he believes it is unfair to not be paid for his work as agreed.
             She was also aware that the Company was evaluating options regarding Mr. Musk’s
             compensation, and that the Compensation Committee had not taken any steps to prepare or
             negotiate a new, forward-looking compensation plan. The Special Committee noted that it then
             instructed its counsel to inquire about the Company’s current plans, if any, regarding Mr. Musk’s
             compensation. They learned that an appeal of the Tornetta Opinion was being planned, and the
             Company also was evaluating seeking ratification of Mr. Musk’s 2018 compensation plan via a
             new stockholder vote. In light of this information, the Special Committee determined to request
             that the Board expand the Special Committee’s authority.
             The Board did so on March 5, 2024, as requested. Specifically, the Board delegated additional
             authority to the Special Committee to decide whether, if there is a stockholder vote on
             redomestication, Mr. Musk’s 2018 CEO Performance Award should be ratified at the same time,
             as well as potential disclosures about Mr. Musk’s compensation that might need to be made to
             ensure stockholders were informed in voting on redomestication. The Special Committee
             concluded it was again fully empowered. In addition to the powers it already had, the Special
             Committee gained the authority to: determine the Company’s decision on the ratification
             question; consider all alternatives, including not seeking ratification of the 2018 CEO
             Performance Award; and determine whether to condition any ratification on a particular
             stockholder vote standard.
             The Special Committee noted that on March 6, 2024, after the Board expanded the Special
             Committee’s mandate, Mr. Gebbia withdrew from the Special Committee. Mr. Gebbia explained
             that he was stepping down from the Special Committee out of an abundance of caution because
             of the potential for unfair attacks based on perceived conflicts of interest. He stepped down
             entirely of his own accord, and not because of any concern by the Special Committee regarding
             his independence.
             After Mr. Gebbia stepped down, Ms. Wilson-Thompson became a committee of one. According
             to the Special Committee Report, the Special Committee discussed with the Chair of the Board,
             the Chair of the Nominating and Corporate Governance Committee, and management the
             possibility of accelerating the in-process search for new independent directors, and adding any
             new director(s) to the Special Committee. The Special Committee reported that the timing of the
             ongoing director search ultimately did not fit with the Special Committee’s work, and the Special
             Committee determined there was no reason to delay its work based on the possibility that
             additional directors would be added to the Board at some point in the future.
             According to the Special Committee Report, in order to assist the Special Committee in its work,
             the Special Committee retained multiple advisors. After the Special Committee conducted
             interviews with multiple law firms, the Special Committee retained Kristen Seeger and John
             Skakun of Sidley Austin LLP (“ Sidley ”) as its counsel. The Special Committee also determined
             that it would benefit from being advised by Delaware counsel, a corporate law and governance
             expert and an investment bank. For each role, Sidley assessed multiple leading candidates, with
             a focus on both quality and independence. Sidley recommended and the Special Committee
             retained the following additional advisors: (i) A. Thompson Bayliss of Abrams & Bayliss LLP, as
             its Delaware counsel, (ii) Professor Anthony Casey of the University of Chicago Law School, as
             its corporate law and governance expert, and (iii) Houlihan Lokey Capital, Inc. (“ Houlihan ”), as
             its financial advisor. The Special Committee determined that each of its advisors is independent.
             According to the Special Committee Report, the Special Committee concluded that it is
             independent and disinterested with respect to all aspects of its mandate. This conclusion rested
             on an evaluation of the Special Committee by its counsel, as well as the Special Committee’s
             evaluation of the independence and disinterestedness of its counsel and other advisors both
             before and after retention.


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             The Special Committee reported that since its formation on February 10, 2024, the Special
             Committee met 16 times (prior to its final approval meeting on April 16, 2024) for more than 26
             total hours. Outside of meetings, the Special Committee spent more than 200 hours working on
             this matter, including reviewing a significant amount of written materials and communicating with
             its counsel. The Special Committee and its counsel had extraordinary access to and assistance
             from the Company. Every request for information or resources was fully granted. All seven other
             directors and five members of management were interviewed. At the Special Committee’s
             request, its counsel visited the Company’s headquarters. Furthermore, the Special Committee
             spoke with the Company’s external auditor, instructed its counsel to request relevant information
             from the Company, and reviewed documents including Professor Anthony Casey’s report,
             Houlihan’s report, numerous legal decisions, letters from stockholders, and academic articles.
             The Special Committee reported that it took the time it needed. At the outset, the Special
             Committee worked with its counsel to assess the time necessary to conduct a thorough,
             well-designed process. The Special Committee decided that, if it determined that any matter
             should be voted on by stockholders, the vote should be at Tesla’s annual meeting because that
             would give the greatest number of stockholders an opportunity to voice their views. So the
             Special Committee’s counsel sought to have the previously-selected date for the annual meeting
             pushed back by more than a month, in order to give the Special Committee the time that it
             deemed appropriate to complete its process. Following a negotiation over various potential
             dates, the Company agreed to the Special Committee’s request and moved the date of the
             annual meeting from May 8, 2024 to June 13, 2024.
             The Special Committee always reserved the right to take additional time if necessary, and
             expressly stated that to the Company. The Special Committee reported that it reached its final
             decisions on redomestication and on ratification on its own timeline, and would have taken
             additional time for either question if it believed that was necessary.




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             Proposal Three
             Tesla Proposal to Approve the Redomestication of Tesla from
             Delaware to Texas by Conversion
             Following the recommendations of the Special Committee, the Board, with Mr. Musk and Kimbal
             Musk recusing themselves, has determined to recommend that our stockholders approve the
             conversion of the Company from a corporation organized under the laws of the State of
             Delaware (the “ Delaware Corporation ”) to a corporation organized under the laws of the State
             of Texas (the “ Texas Corporation ”) and adopt the resolutions of the Board approving the
             redomestication attached as Annex D to this Proxy Statement, as more fully described in this
             Proposal Three, and has determined that the redomestication is in the best interests of the
             Company and its stockholders. We call the proposed redomestication of the Delaware
             Corporation in the form of a conversion into the Texas Corporation the “ Texas Redomestication
             ”.

             Principal Terms of the Texas Redomestication
             The Texas Redomestication, if approved by our stockholders, will be effected through a
             conversion pursuant to Section 266 of the Delaware General Corporation Law (“ DGCL ”) and
             Title 1, Chapter 10, Subchapter C of the Texas Business Organizations Code (“ TBOC ”), as set
             forth in the plan of conversion (the “ Plan of Conversion ”), included as Annex A to this Proxy
             Statement. Approval of this Proposal Three (the “ Texas Redomestication Proposal ”) will
             constitute approval of the Plan of Conversion.
             Through the adoption of the Plan of Conversion, upon the Texas Redomestication:
                    • The Company will continue in existence as a Texas corporation and will continue to
                      operate our business under the current name, “Tesla, Inc.”
                    • The affairs of the Company will cease to be governed by Delaware law at the time the
                      Plan of Conversion is effective and will be subject to Texas law. See “ Comparison of
                      Stockholder Rights under Delaware and Texas Law ” below.
                    • The Company will cease to be governed by our existing charter and bylaws and will be
                      instead subject to the provisions of the proposed Texas Certificate of Formation (the “
                      Texas Charter ”) and the proposed Texas Bylaws (the “ Texas Bylaws ”), forms of which
                      are included as Annex B and Annex C , respectively, to this Proxy Statement. See “
                      Certain Differences Between Delaware Charter and Bylaws and Texas Charter and Bylaws
                      ” below.
                    • The Texas Redomestication will not result in any change in headquarters, business, jobs,
                      management, properties, location of any of our offices or facilities, number of employees,
                      obligations, assets, liabilities or net worth (other than as a result of the costs related to
                      the Texas Redomestication).
                    • Each outstanding share of our common stock, par value $0.001 per share (“ Delaware
                      Corporation Common Stock ”), will automatically become one outstanding share of
                      common stock, par value $0.001 per share, of the Texas Corporation (“ Texas Corporation
                      Common Stock ”) pursuant to the Plan of Conversion.
                    • Stockholders will not need to exchange their existing stock certificates for new stock
                      certificates.
                    • Each outstanding restricted stock unit, option or right to acquire shares of Delaware
                      Corporation Common Stock will continue in existence and automatically become a
                      restricted stock unit, option or right to acquire an equal number of shares of the Texas
                      Corporation Common Stock under the same terms and conditions.
                    • Our common stock will continue to be traded on The Nasdaq Global Select Market under
                      the symbol “TSLA.” We do not expect any interruption in the trading of our common stock
                      as a result of the Texas Redomestication.


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             If our stockholders approve the Texas Redomestication, we anticipate that the Texas
             Redomestication will become effective as soon as practicable following the 2024 Annual Meeting
             (the “ Effective Time ”).
             In connection with the Texas Redomestication, the Company intends to make filings with the
             Secretary of State of Texas and the Secretary of State of Delaware, and does not anticipate
             making any other filings to effect the Texas Redomestication. Nonetheless, we may face legal
             challenges to the Texas Redomestication, including, among others, stockholder challenges
             under Delaware law, seeking to prevent the Texas Redomestication.
             The Texas Redomestication may be delayed by the Board or the Plan of Conversion may be
             terminated and abandoned by action of the Board at any time prior to the Effective Time of the
             Texas Redomestication, whether before or after the approval by our stockholders, if the Board
             determines for any reason that such delay or abandonment would be in the best interests of the
             Company and all of its stockholders, as the case may be.

             Background of the Proposal
             General
             As part of their ongoing oversight, direction, and management of the Company’s business,
             certain outside directors of the Company and management have, from time to time, considered
             and explored the issue of the Company’s jurisdiction of incorporation without reaching a
             decision. These discussions were in response to a number of factors including the relocation of
             the Company’s corporate headquarters and certain operations from California to Texas in 2021
             and views that the legal landscape in Delaware is evolving (including, without limitation,
             uncertainty expressed by certain directors and management on how Delaware law will be
             applied to the Company in certain circumstances).
             Then, on January 30, 2024, the Delaware Court of Chancery (the “ Delaware Court ”) issued the
             Tornetta Opinion, the post-trial opinion finding that, among other things, the Board breached its
             fiduciary duties in approving the 2018 CEO Performance Award for our Chief Executive Officer,
             Mr. Musk, which had been unanimously approved by our independent directors and approved by
             approximately 73% of all votes cast by our disinterested stockholders in 2018 and that
             rescission of the 2018 CEO Performance Award was the appropriate remedy. Following the
             Tornetta Opinion, on January 30, 2024, Mr. Musk ran a poll on X asking whether Tesla should
             “change its state of incorporation to Texas, home of its physical headquarters?” Of 1,102,554
             votes on X, 87.1% were in favor. The following day, Mr. Musk posted on X that “Tesla will move
             immediately to hold a shareholder vote to transfer state of incorporation to Texas.” Mr. Musk
             made other posts on X regarding the same subject in the days following the Tornetta Opinion.
             Notwithstanding these communications, redomestication is a Board decision, not a decision for a
             chief executive officer. And on February 4, 2024, the Board met to discuss these issues, among
             others, including the multi-year history of Company discussions regarding a potential
             redomestication.
             On February 10, 2024, the Board met again, without Mr. Musk or Kimbal Musk participating, to
             further discuss these issues. At that meeting, the Board determined to evaluate more formally a
             redomestication.
             In order to evaluate whether to redomesticate Tesla, as described further under the section
             entitled “ Background and Process of the Special Committee ”, the Board formed the Special
             Committee, which ultimately was comprised of Kathleen Wilson-Thompson, as described under
             the section entitled “ Background and Process of the Special Committee .” The Board delegated
             to the Special Committee the full authority and power of the Board to consider, evaluate, and
             determine whether it would be in the best interests of the Company and all of its stockholders to
             change its corporate domicile, and if so, to which jurisdiction, and if so, in what manner
             (including, without limitation, the manner of the stockholder vote), and authorized and
             empowered the Special Committee to prepare such analysis and make such conclusions as it
             deemed appropriate and in the best interests of the Company and all of its stockholders with
             respect to a potential redomestication, and the Board resolved not to recommend, authorize,
             approve, or otherwise endorse any redomestication proposal without the prior favorable
             recommendation of the Special Committee.


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             The Special Committee’s Evaluation of the Texas Redomestication
             Evaluation of Jurisdictions: Narrowing the Focus
             The Special Committee considered a precise question: where should this Company be
             incorporated at this time . The Special Committee initially considered all U.S. states as well as
             the possibility of incorporating outside of the U.S. It narrowed its focus in stages, first to 10
             states, then 5, and finally to a binary choice between remaining incorporated in Delaware and
             reincorporating in one alternative jurisdiction.
             At each stage, the Special Committee conducted an increasingly in-depth analysis of factors it
             believed were relevant to Tesla. The Special Committee narrowed its focus to US jurisdictions
             because Tesla is an American company. It selected 10 states for further consideration —
             California, Delaware, Florida, Maryland, Nevada, New York, Ohio, Pennsylvania, Texas, and
             Virginia — because each has a significant number of major public companies incorporated in
             them, and because Tesla’s most significant US operations are in California, Nevada, New York,
             and Texas.
             For this group of 10, the Special Committee reviewed each state’s corporate laws at a high level
             and concluded they were substantially similar. The Special Committee therefore saw no reason
             to move to a jurisdiction Tesla has no current significant connection to, and narrowed its focus
             to 5 states: California, which has two factories; Delaware, the current state of incorporation;
             New York, which has a Gigafactory; Nevada, which also has a Gigafactory; and Texas, which is
             Tesla’s corporate headquarters and has a Gigafactory.
             The Special Committee then conducted further analysis, including of academic scholarship on
             the development of corporate law in the US and on companies’ incorporation decisions. The
             Special Committee continued to find no reason to pick one jurisdiction based on its corporate
             law. This was not surprising, as each state’s law operates under the same federal constitutional
             framework, draws on a common law heritage, and evolved in light of — and in competition with
             — each other. The differentiator at this stage therefore became Tesla’s home state. Academic
             research shows that more than 90% of companies are incorporated either in Delaware or in their
             home state, and identifies a range of reasons for this. So the Special Committee determined
             that the best potential alternative to Delaware was Texas, and resolved to choose between
             those two states.
             Evaluation of Texas and Delaware
             The final stage of the Special Committee’s redomestication decision was an in-depth comparison
             of remaining incorporated in Delaware or reincorporating in Texas. As explained further below,
             the Special Committee concluded that Delaware and Texas provide substantially equivalent
             bundles of economic, governance, and litigation rights for stockholders, at least on net (i.e.,
             balancing relevant considerations against one another) and as relevant to Tesla. This left three
             differentiating factors in the Special Committee’s view: Texas is Tesla’s home state; Texas
             statutory law on corporate constituencies would better align with Tesla’s mission-driven culture;
             and Delaware has an established and respected business court and the largest body of
             corporate case law in the country, whereas Texas just created a business court. The Special
             Committee balanced these considerations and concluded that, in its business judgment, it is in
             the best interests of Tesla and all of its stockholders for the Company to reincorporate in Texas.
             The Special Committee, in this evaluation, included an examination of the effect of the
             reincorporation on the economic, governance, and litigation rights of stockholders:
                    Economic Rights. The Special Committee considered whether there was any reason to
                    believe that Tesla shares would be economically less valuable under Texas law than under
                    Delaware law. The Special Committee concluded, based on the advice of its financial and
                    academic advisors, that there was no convincing evidence that reincorporating in Texas
                    would affect Tesla’s market value. In reaching this conclusion, the Special Committee and its
                    advisors considered, among other things, related to market practices, that a company’s U.S.
                    state of incorporation is not a factor commonly used in valuation methodologies. The Special
                    Committee’s financial advisor also considered whether there was evidence of a “Delaware
                    premium” through three quantitative analyses. First, they evaluated four market-implied
                    valuation multiples from 2019 through 2023 for Fortune 500 companies: enterprise
                    value/revenue;


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                    enterprise value/EBITDA; market capitalization/earnings; and market capitalization/book
                    value. They did not find any observable valuation premium attributable to Delaware
                    incorporation. Second, the Special Committee’s financial advisor also analyzed market
                    return metrics for Fortune 500 companies from 2014 through 2023, and similarly found no
                    observable premium attributable to Delaware incorporation. Finally, the Special Committee’s
                    financial advisor reviewed four case studies of redomestications from Delaware to Texas
                    over the last decade. They reported no observable pattern between redomestication and
                    total stockholder return over the periods studied. In addition, the Special Committee
                    considered conclusions from its academic advisor that existing academic literature strongly
                    suggests that a “Delaware premium” is non-existent or unknowable.
                    The Special Committee concluded, based on the advice of its financial and academic
                    advisors, that there is no reason to believe that being incorporated in Delaware increases
                    Tesla’s market value. Of the S&P 500, approximately 35% are domiciled outside of
                    Delaware. Seven of the top 20 by market capitalization are incorporated in their home state:
                    Apple, Costco, Eli Lilly, Johnson & Johnson, Merck, Microsoft, and Proctor & Gamble. Tesla
                    would make eight. Notably, the Special Committee saw no indication that Microsoft’s earlier
                    reincorporation from Delaware to its home state of Washington had a negative effect on
                    Microsoft.
                    In addition, the Special Committee evaluated whether and confirmed that the Texas
                    Redomestication would not materially alter any other economic rights of Tesla stockholders.
                    For example, Texas law would not alter the Company’s ability to pay dividends or buyback
                    stock. As discussed below, at the Special Committee’s request, the Company confirmed that
                    the Texas Redomestication will not have any materially adverse accounting, tax, or other
                    financial implications, and will not affect the public trading of the Company’s shares.
                    Further, the Texas Redomestication will result in the Company saving $250,000 per year in
                    franchise tax payments to Delaware.
                    Governance Rights.      The Special Committee concluded that governance rights are
                    effectively the same in both states. For example, both Delaware and Texas have similar
                    rules on classified boards, the removal of directors, charter and bylaw amendments, blank
                    check preferred stock, stock buybacks, dividends, and appraisal. Where there may appear to
                    be distinctions, the Special Committee concluded that: most were differences in default rules
                    that could be resolved in a Texas charter and bylaws (see the section “ Certain Differences
                    Between Delaware Charter and Bylaws and Texas Charter and Bylaws ” below for the
                    Company’s summary of certain differences between the Delaware Charter (as defined
                    below) and Delaware Bylaws (as defined below) and the proposed Texas Charter and Texas
                    Bylaws); some made no difference at least to Tesla (see the section “ Comparison of
                    Stockholder Rights under Delaware and Texas Law ” below for the Company’s summary of
                    certain differences between Delaware and Texas law); and one — Texas’s constituency
                    statute — did not substantially alter stockholders’ rights but does matter to Tesla (see the
                    section “ Certain Differences Between Delaware and Texas Law ” below for the Company’s
                    summary of certain differences between Delaware and Texas law).
                    Litigation Rights. The Special Committee and its advisors engaged deeply with a wide
                    range of litigation topics and identified no areas in which Texas and Delaware law
                    meaningfully diverged on matters of substance. In most areas the Special Committee
                    examined, Texas and Delaware law apply essentially the same substantive rule, though
                    Texas sometimes articulates it a bit differently. These include fiduciary duties owed to the
                    corporation and the stockholders collectively, the corporate opportunities doctrine, director
                    exculpation, indemnification, advancement, the business judgment rule, and the entire
                    fairness standard of judicial review. In addition, the Special Committee considered that
                    Delaware law has addressed a number of issues impacting public companies that Texas law
                    has not (yet), including Caremark oversight claims, public company conflicted controller
                    transactions, and intermediate scrutiny of defensive tactics. However, Texas’s silence in
                    these areas does not mean that Texas law is or will be meaningfully different from Delaware
                    law. Texas courts often look to Delaware law to fill gaps in Texas law, and the Special
                    Committee and its advisors concluded that there was no reason to believe that Texas law
                    would provide substantially lesser litigation rights than Delaware in areas where it is
                    currently silent. The Special Committee and its advisors identified two important


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                    areas with differences between Texas and Delaware stockholder litigation: procedural
                    approaches to stockholder derivative claims and the fact that Texas recently created a
                    specialized business court system, which is set to open on September 1, 2024. The Special
                    Committee and its Delaware, Texas, and academic advisors concluded that these
                    differences were procedural. In addition to its own analysis with its advisors, the Special
                    Committee took note of commentary comparing Delaware and Texas law, including of ISS’s
                    prior statement that “reincorporation from Delaware to Texas would appear to have a neutral
                    impact on shareholders’ rights,” and Glass Lewis’ prior statement that “in most respects, the
                    corporate statutes in Delaware and Texas are comparable.” Both have previously
                    recommended voting in favor of multiple Delaware-to-Texas reincorporations.

             Recommendation of the Special Committee
             At a meeting of the Special Committee held on April 16, 2024, after reviewing and considering
             the factors and considerations deemed relevant by the Special Committee, and after
             investigating and considering the benefits and detriments, for the reasons set forth in the
             Special Committee Report and summarized below under the caption “ Reasons for the Texas
             Redomestication ”, the Special Committee adopted resolutions determining that the Texas
             Redomestication is in the best interests of the Company and all of its stockholders, and that the
             Board should submit reincorporation for approval and adoption by the stockholders of the
             Company at the 2024 Annual Meeting of stockholders. The Special Committee also
             recommended that (1) the Board and management take all necessary and appropriate steps to
             implement the Special Committee’s determination consistent with legal obligations; (2) Mr. Musk
             and Kimbal Musk be recused from the Board’s deliberations and vote on this matter because of
             Mr. Musk’s prior posts on X about reincorporation; (3) the stockholder vote on reincorporation be
             conditioned on approval by a majority of votes cast by non-Musk-affiliated stockholders, for the
             same reasons; and (4) the Board recommend that stockholders vote for the Texas
             Redomestication based on the Special Committee’s determination that reincorporating in Texas
             is in the best interests of the Company and all of its stockholders. The resolution of the Board
             approving the Texas Redomestication through the adoption of the Plan of Conversion is included
             as Annex D to this Proxy Statement (the “ Texas Redomestication Resolution ”). In support of its
             recommendation, the Special Committee delivered the Special Committee Report to the Board,
             dated April 12, 2024, which is included as Annex
             E to this Proxy Statement. The summary of the Special Committee Report, included in this
             proposal is only a summary and is qualified in its entirety by reference to the full Special
             Committee Report, which is incorporated by reference herein. The Special Committee
             considered the factors discussed in the Special Committee Report, which are summarized above
             in the section “ The Special Committee’s Evaluation of the Redomestication ”.
             The Special Committee considered, among other things, a number of factors relating to the
             procedural safeguards that it believes were and are present to permit the Special Committee to
             represent effectively the interests of all of the Company’s stockholders, including stockholders
             other than Mr. Musk and Kimbal Musk. The Special Committee believes these factors support its
             determinations and recommendations regarding the Texas Redomestication. The following
             procedural safeguards are listed in no particular order:
                    • Independence and Disinterestedness: The Special Committee examined its own
                      independence and concluded that it consisted of an independent (for purposes of serving
                      on the Special Committee) and disinterested director.
                    • Procedural Safeguards: The Special Committee was empowered to freely select its own
                      independent legal and financial advisors and to consider the potential redomestication of
                      the Company in another jurisdiction (including the ability to choose to remain in
                      Delaware).
                    • Prior Special Committee Approval: The Board in establishing the Special Committee had
                      decided and resolved not to approve any redomestication transaction without the prior
                      favorable recommendation by the Special Committee.
                    • Active Involvement and Oversight:  The numerous formal and informal meetings and
                      communications held by the Special Committee over an approximately eight-week period


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                      (with its legal advisors present and with other advisors regularly present) to discuss and
                      evaluate, among other things, the process for exploring a potential redomestication, and
                      the Special Committee’s active oversight of the process and negotiations with the
                      Company. The Special Committee was actively engaged in this process on a regular basis
                      and was provided with access to Tesla management and its advisors, as and when
                      requested, in connection with the evaluation process.
                    • Independent Advice: The Special Committee selected and engaged its own independent
                      legal and other advisors throughout its review and evaluation of a potential
                      redomestication.
                    • Consideration of Relevant Facts and Information: The Special Committee made its
                      evaluation of a potential redomestication based upon the factors discussed in the Special
                      Committee Report, which is summarized in this Proxy Statement.
                    • No Obligation to Recommend that the Board Should Approve: The Special Committee
                      had no obligation to recommend that the Board should approve the Texas Redomestication
                      (or any redomestication).
                    • Approval by Majority of Non-Musk Affiliated Stockholders: The Special Committee
                      recommended that the Texas Redomestication requires the affirmative vote of at least a
                      majority of the votes cast at the 2024 Annual Meeting by non-Musk affiliated stockholders.
             Further, the Special Committee ultimately determined that the uncertainties, risks, and
             potentially negative factors relevant to the Texas Redomestication were outweighed by the
             potential benefits of the Texas Redomestication, as explained in the Special Committee Report.
             It therefore recommended that the Board should approve the Texas Redomestication.

             Recommendation of the Board
             Following the determination of the Special Committee that the Texas Redomestication is in the
             best interests of the Company and all of its stockholders and the recommendations of the
             Special Committee, and after considering the Special Committee’s determination and the
             Special Committee Report, the Board met on April 9, 2024, April 13, 2024 and April 16, 2024,
             with Mr. Musk and Kimbal Musk recusing themselves. On April 16, 2024, the Board determined
             that the Texas Redomestication is in the best interests of the Company and all of its
             stockholders, approved the Texas Redomestication, directed that the Texas Redomestication be
             submitted for consideration by our stockholders at the 2024 Annual Meeting and recommended
             that our stockholders approve the Texas Redomestication and adopt the Texas Redomestication
             Resolution and the Plan of Conversion. In particular, the Board (with Mr. Musk and Kimbal Musk
             recusing themselves) adopted the Texas Redomestication Resolution and recommended that the
             stockholders of the Company approve the Texas Redomestication Resolution, adopt the Plan of
             Conversion and approve the conversion of the Company from a Delaware Corporation to a
             Texas Corporation. Pursuant to Section 266 of the DGCL, the Redomestication Resolution is
             hereby submitted for adoption by the stockholders of the Company, with the Board’s
             recommendation that stockholders vote for the Redomestication Resolution.

             Reasons for the Texas Redomestication
             The determination of the Special Committee and the determination of our Board that the Texas
             Redomestication is in the best interest of the Company and all of its stockholders, and the
             decision of the Special Committee to recommend to the Board that it recommend that the
             Company’s stockholders vote to approve the Texas Redomestication, were the result of
             deliberation and consideration. The Special Committee Report explains the Special Committee’s
             reasoning for its determination and is summarized herein. The following summary of the key
             considerations of the Special Committee and the Board is not intended to be exhaustive, and is
             qualified in its entirety by reference to the Special Committee Report attached to this Proxy
             Statement. Stockholders are encouraged to read the full text of the Special Committee Report
             for additional detail regarding the analysis of the Special Committee on the proposed Texas
             Redomestication.


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             Tesla’s Home and Future Are in Texas
             Tesla is All-In on Texas. The Board believes that our corporate identity is intertwined with our
             Texas corporate headquarters and that redomiciling in Texas would be consistent with this
             trajectory.
             In 2021, we relocated our corporate headquarters from California to Austin, Texas. Since this
             relocation, Texas has increasingly become a focal point for Tesla’s corporate identity. Executive
             management is based in Texas, as are manufacturing, operations and engineering employees.
             Our corporate headquarters and principal manufacturing facility — Gigafactory Texas — covers
             over 10 million square feet of factory floor. We continue to invest in the expansion of our
             campus, which we believe is the second-largest building by volume in the world.
             Gigafactory Texas is also the manufacturing hub for our new products. It is the manufacturing
             hub for the Model Y, which, as of January 24, 2024, was the best-selling car in the world, and is
             home to the Cybertruck.
             Our corporate identity is becoming inextricably tied to our Texas corporate headquarters, and we
             believe that a change in our state of incorporation would be consistent with this trajectory. Texas
             is our home state, and we are committed to Texas. Reincorporating in Texas also builds on
             Tesla’s relationships with the state and local communities. These relationships — with
             government actors, with employees and with other stakeholders — are critical to Tesla.
             Academic research reviewed by the Special Committee recognizes that “there is value inherent
             in home-state incorporation” because it can strengthen such relationships. Fully becoming a
             Texas company would send a strong signal of Tesla’s commitment to the state and local
             community that have done so much for it already, and that are so important to Tesla’s future.
             By comparison, we have no material operations in Delaware. Our executives and management
             do not operate out of Delaware. We do not have our Board meetings in Delaware, and the Board
             does not otherwise visit Delaware as part of their site visits. It was chosen as our state of
             incorporation solely because of its legal framework. As discussed above, the Special Committee
             and the Board found no advantage to remaining incorporated in Delaware that justifies a split
             between the Company’s legal home and its physical home.
             There is Value in Local Decision-Making. Another advantage of home-state incorporation is
             that the legislators and judges making corporate law — and the juries deciding fact disputes in
             corporate cases — are drawn from the community in which the company operates. Corporate law
             and litigation often overlap with and impact business, employment, and operational matters. And
             Tesla is not a cookie-cutter public company. The Special Committee and the Board believe that
             local decision-makers have a deeper understanding of our business, and therefore are best
             situated to make decisions about our corporate governance.
             Home-State Incorporation is Common and Intuitively Makes Sense. Successful companies are
             incorporated in many U.S. states and other jurisdictions outside of the United States.
             Approximately 35% of S&P 500 companies are not incorporated in Delaware, instead choosing
             to incorporate in a variety of other jurisdictions. Some of the most successful consumer-facing
             companies in the United States are headquartered and incorporated in the same state,
             demonstrating identification with their home state, including, among others, Apple and Microsoft.
             The following map illustrates the geographic diversity of some of these companies.




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             We are not the first to consider redomiciling from Delaware to another jurisdiction. Southwest
             Airlines Co. is also incorporated in Texas. Some companies, including Microsoft, have
             reincorporated from Delaware to their home state in order to reunite their legal and physical
             homes. One of the reasons given by Microsoft when it left Delaware was that Washington was
             “the location of the Company’s world headquarters and the location of its primary research and
             development efforts.” Similarly, the Special Committee and the Board believe there is value in
             unifying Tesla’s legal and physical homes.
             Tesla is a Mission-Driven Company
             We are driven by our mission to accelerate the world’s transition to sustainable energy, and our
             mission is a cornerstone of our culture. It is critical to recruitment, motivation and retention,
             from the factory floor to the boardroom. For some of our directors, our mission is a major reason
             why they choose to serve on the Board.
             The Special Committee and the Board considered that Texas, unlike Delaware, has an express
             statutory provision that would allow (though not require) Tesla’s directors and officers to
             consider the Company’s mission in exercising their fiduciary duties. The Special Committee and
             the Board do not expect this would change the way Tesla operates, but considered the symbolic
             value in aligning Tesla’s mission-driven culture with Texas’ law.

             Litigation Forum Considerations Do Not Alter the Balance
             The Special Committee and the Board considered the likely relative predictability of Delaware
             and Texas law based on differences in their judicial systems. Delaware has the most respected
             corporate judicial system in the country and has an extensive body of corporate case law. In
             contrast, Texas is in the process of forming a specialized business court system (which is set to
             open in September 2024) and has a smaller body of corporate case law. This factor did not alter
             the balance in the Special Committee’s evaluation of Delaware and Texas.
             In making this determination, the Special Committee and the Board were persuaded by the
             broadly held academic view — echoed by at least three former Delaware Supreme Court
             Justices and one former Chancellor on the Delaware Court of Chancery — that Delaware law
             can be indeterminate because of its use of broad, flexible standards that are applied to
             individual cases in a highly fact-specific way. As described in the Special Committee Report,
             scholarship demonstrates a high level of reversal rate for decisions of the Delaware Court of
             Chancery. This focus on precise facts and circumstances means Delaware decisions may be
             less predictable for an innovative company like Tesla. Although Texas has less corporate case
             law, as the Special Committee’s corporate law and governance expert pointed out, Texas “has a
             more code-based corporate governance regime,” and so does not depend on cases to set out
             the law as much as Delaware.


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             Moreover, the Special Committee and the Board do not think that the Texas business courts
             should be avoided simply because they are new. Doing new things is part of Tesla’s DNA, and
             how it has become one of the most valuable companies in the world.

             Certain Risks Associated with the Texas Redomestication
             Although the Special Committee and the Board believe that the Texas Redomestication is in the
             best interests of the Company and all of its stockholders, there can be no assurance that the
             Texas Redomestication will result in all or any of the benefits described in this Proxy Statement,
             including the benefits of or resulting from incorporation under Texas or the application of Texas
             law to the internal affairs of the Company.
             For the Company’s comparison of stockholders’ rights and the material substantive provisions
             that apply to the Board and executive officers under Delaware and Texas law, see “ Comparison
             of Stockholder Rights under Delaware and Texas Law ” below.
             Extensive Delaware Case Law and Established Court System
             The Delaware Court of Chancery and Supreme Court are highly respected and experienced
             business courts. They have an extensive body of case law. Trials are before judges who are
             experts in corporate law and appointed for 12 year terms. Delaware statutory law is regularly
             updated by the legislature. The Delaware system has long and widely been lauded for its
             expertise.
             On the other side of the ledger, Texas’s business courts were just created and will not start
             hearing cases until September 2024. They will, at least initially, have less existing corporate
             case law to draw on. Business court judges will be appointed for two-year terms, but there is no
             track record of their qualifications or experience. Plus, dispositive motion practice is more
             limited in Texas, and even corporate governance cases will be tried to juries rather than judges.
             How the Texas business court system will function cannot be known for certain.
             Notwithstanding the conclusions of the Special Committee and the Board, it is nevertheless
             possible that familiarity with Delaware and perceptions regarding the breadth and stability of
             Delaware corporate law may impact the views of certain investors or certain members of the
             financial services industry, as well as potential director and officer candidates. It is possible that
             these external perceptions regarding Delaware law may impact the behaviors of such third
             parties, which could have an adverse effect on our business.
             Certain Differences Between Delaware and Texas Law
             Although the Special Committee and the Board have determined that the rights of stockholders
             under the DGCL and the TBOC are substantially equivalent, at least on net (i.e., balancing
             relevant considerations against one another) and as relevant to the Company, the DGCL and
             Delaware case law collectively are different in certain respects than the TBOC and existing
             Texas case law in ways that may affect the rights of our stockholders. Please see the
             Company’s summary of certain differences in the section entitled “ Comparison of Stockholder
             Rights under Delaware and Texas Law. ” For instance, as further explained in the Company’s
             summary below, under the TBOC, a shareholder may inspect a Texas corporation’s books and
             records, subject to certain limitations, if such shareholder holds at least 5% of the outstanding
             shares of stock of the Texas corporation or has been a holder of shares for at least six months.
             The DGCL, on the other hand, does not require that a stockholder hold a certain number of
             shares or hold such shares for a stated period of time prior to exercising their books and
             records inspection rights. Thus, it is possible that some of our stockholders entitled to make a
             books and records demand today (as stockholders in a Delaware corporation) will not be able to
             make a similar demand following the Texas Redomestication.
             Further, the TBOC expressly provides that it does not prohibit directors or officers from
             considering, approving or taking an action that promotes or has the effect of promoting a social,
             charitable or environmental purpose. Under Delaware law, on the other hand, there is no
             express statutory authority to consider such purposes, and fiduciary duties in most
             circumstances merely require directors to seek to maximize the value of the corporation for the
             long-term benefit of the stockholders unless the corporation is specifically incorporated as a
             public benefit corporation. As a result, as a Texas corporation, it is possible that our directors
             may consider the interests of other constituents.


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             The Special Committee identified a handful of areas where the rule in Texas differed in some
             respect from the rule in Delaware. These were generally procedural and not relevant to Tesla in
             the view of the Special Committee and its advisors. The most potentially important area is
             related to antitakeover protections. Both Delaware and Texas permit a range of antitakeover
             defenses, including poison pills. Both have business combination provisions, though they apply
             at different ownership thresholds: 20% in Texas and 15% in Delaware. Both allow boards of
             directors to create new vacancies and to fill them, though Texas limits the number of such
             vacancies that can be filled without a stockholder vote to 2. Another potential area of difference
             involved cash-out transactions and “ Revlon duties”: Texas statutes allow directors to take into
             account “the long-term and short-term interests of the corporation and the stockholders of the
             corporation, including the possibility that those interests may be best served by the continued
             independence of the corporation.” Delaware law, at least in certain circumstances, requires
             directors to accept the highest price reasonably available, though in many circumstances they
             are allowed to also “just say no” to a potential transaction and take into account long-term
             interests.
             Transaction Costs
             We will also incur certain non-recurring costs in connection with the Texas Redomestication,
             including certain filing fees and legal and other transaction costs. As noted above, we may face
             legal challenges in connection with the Texas Redomestication, and we may also face additional
             media scrutiny. We believe a majority of these costs have already been incurred or will be
             incurred by the submission of the Texas Redomestication Proposal to stockholders regardless of
             whether the Texas Redomestication is ultimately completed, except for any litigation related
             expenses that may arise, which we cannot predict. Many of the expenses that will be incurred
             and other potential transaction costs are difficult to accurately estimate at the present time, and
             additional unanticipated costs may be incurred in connection with the Texas Redomestication.
             It is also possible that the Texas Redomestication results in additional litigation, with additional
             expense, distraction and time, or that it does not diminish the expenses, distraction and time the
             Company currently spends in litigious disputes. Further, if a court determines that such litigation
             has merit, we may be required to pay substantial monetary damages..
             Risks Relating to the Special Committee
             Certain stockholders may file litigation against Tesla in connection with the Texas
             Redomestication. If such litigation is filed, a court may find that the Texas Redomestication is
             not fair to stockholders, even if stockholders approve the Texas Redomestication Proposal, and
             it may find that the process employed by the Special Committee was not adequate or fair.
             A court may also find that Ms. Wilson-Thompson was not independent with respect to the Texas
             Redomestication and this proposal notwithstanding the Special Committee’s determination.
             Litigation relating to the Texas Redomestication, regardless of merit, may cause us to incur
             significant expense, distraction and time. Further, if a court determines that claims brought in
             such litigation are meritorious, we may be required to pay substantial monetary damages.

             What Changes After Texas Redomestication?
             The Texas Redomestication will effect a change in the legal domicile of the Company and other
             changes, the most significant of which are described below. Following the Texas
             Redomestication, we will be governed by the TBOC instead of the DGCL, and we will be
             governed by the Texas Charter and Texas Bylaws. Approval of this Proposal will constitute
             approval of the Texas Charter and Texas Bylaws. Our current Amended and Restated Certificate
             of Incorporation (as amended, the “ Delaware Charter ”) and our current Amended and Restated
             Bylaws (as amended, the “ Delaware Bylaws ”) will no longer be in effect following completion of
             the Texas Redomestication. Copies of the Delaware Charter and Delaware Bylaws are included
             as Annex F and Annex G , respectively, to this Proxy Statement.


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             Certain Differences Between Delaware Charter and Bylaws and Texas Charter and Bylaws
             The Texas Charter and Texas Bylaws have been drafted with an intent to reflect the Delaware
             Charter and Delaware Bylaws to the extent legally possible. Nonetheless, because of
             differences between the TBOC and the DGCL, certain differences will be in effect. Certain
             differences between the Texas Charter and the Delaware Charter are summarized below:
             Issue                          Delaware Charter                            Texas Charter
             Shareholder         Under the DGCL, certain matters           Under the TBOC, certain matters
             Voting Threshold    subject to a stockholder vote,            subject to a shareholder vote,
                                 including certain business                including “fundamental business
                                 transactions including, without           transactions” such as mergers,
                                 limitation, mergers, conversions,         sales of substantially all assets, and
                                 sales of substantially all assets,        other transactions, require a default
                                 require a default vote of the holders     vote of 2/3 of the shareholders of
                                 of a majority of the outstanding          each class, unless the charter
                                 shares entitled to vote thereon,          specifies a lower voting threshold.
                                 unless the charter specifies a higher     Accordingly, the proposed Texas
                                 voting threshold. The current             Charter contains language setting
                                 Delaware Charter does not include         the default voting thresholds at a
                                 a higher voting threshold so the          majority standard unless a different
                                 default voting standard for such          standard is specified elsewhere.
                                 business transactions applies.
             Board of            The current Delaware Charter              The TBOC provides that director
             Directors           provides that vacancies on the            vacancies may be filled (1) by a
             Vacancies           Board can only be filled by vote of a     vote of a majority of the remaining
                                 majority of the remaining members         members of the board of directors,
                                 of the Board or by a sole remaining       (2) by a sole remaining director, or
                                 director, and not by the                  (3) by a vote of holders of a
                                 stockholders.                             majority of the outstanding shares
                                                                           of stock. Additionally, the TBOC
                                                                           prevents a board of directors from
                                                                           filling more than two vacancies
                                                                           caused by an increase in the size of
                                                                           the board of directors between any
                                                                           two annual meetings of
                                                                           shareholders, and any directors
                                                                           appointed or elected by the board of
                                                                           directors or shareholders to fill a
                                                                           vacancy can only serve until the
                                                                           next annual meeting of the
                                                                           shareholders (or special meeting
                                                                           called to elect directors).
                                                                           The proposed Texas Charter
                                                                           provides that director vacancies
                                                                           may be filled in any manner
                                                                           permitted by the TBOC, in each
                                                                           case to the extent permitted by the
                                                                           TBOC.
             Action by Written   The current Delaware Charter              Under the TBOC, shareholders are
             Consent             prohibits stockholder action by           required to have the option to act by
                                 written consent.                          written consent in lieu of a meeting,
                                                                           and so the proposed Texas Charter
                                                                           provides that shareholders may act
                                                                           by unanimous written consent in
                                                                           lieu of a meeting. This option most
                                                                           closely aligns with the terms of the
                                                                           current Delaware Charter, which
                                                                           prohibits shareholder action by



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             Issue                           Delaware Charter                            Texas Charter
                                                                            written consent. In particular, in
                                                                            light of our widely held shareholder
                                                                            base, we do not believe that action
                                                                            by unanimous written consent is
                                                                            likely.
             Calling of Special   The current Delaware Charter              The proposed Texas Charter
             Shareholder          provides that special stockholder         provides that special shareholder
             Meetings             meetings may be called only by the        meetings may be called by the
                                  Board, the chairperson of the             Board of Directors, the chairperson
                                  Board, the chief executive officer, or    of the Board of Directors, the chief
                                  the president (in the absence of a        executive officer, the president, or
                                  chief executive officer), and may not     by shareholders holding 50% of the
                                  be called by stockholders.                shares entitled to vote on the
                                                                            proposed action of such meeting.
                                                                            Under the TBOC, the president of a
                                                                            corporation is required to have the
                                                                            right to call a shareholder meeting
                                                                            as are shareholders holding a
                                                                            specified percentage of the shares
                                                                            entitled to vote at such meeting. We
                                                                            have acknowledged that statutory
                                                                            right in the proposed Texas Charter.
             Cancellation of      The current Delaware Charter              Because the TBOC requires that
             Special              provides that the Board may cancel,       shareholders holding 50% of the
             Shareholder          postpone, or reschedule a special         shares entitled to vote thereat to be
             Meetings             stockholder meeting.                      able to call a special meeting of
                                                                            shareholders, the proposed Texas
                                                                            Charter does not provide that the
                                                                            Board of Directors has the right to
                                                                            cancel a special shareholder
                                                                            meeting, although the Board of
                                                                            Directors retains the right to
                                                                            postpone and reschedule
                                                                            shareholder meetings. The
                                                                            proposed Texas Bylaws, however,
                                                                            permit the Board to cancel a special
                                                                            shareholder meeting not called by
                                                                            shareholders.
             Indemnification      The current Delaware Bylaws               The proposed Texas Charter
                                  authorize indemnification of              authorizes the indemnification of
                                  directors and officers to the fullest     directors and officers to the fullest
                                  extent permitted by Delaware law as       extent permitted by Texas law as it
                                  it exists or may be amended from          exists or may be amended from time
                                  time to time.                             to time.
                                  Under Delaware law, a corporation         Under the TBOC, a corporation may
                                  may indemnify a director or officer       indemnify a director or officer
                                  against expenses and judgments            against judgments and expenses
                                  reasonably incurred by the person         reasonably incurred by the director
                                  in connection with a legal                or officer in connection with a legal
                                  proceeding, other than an action by       proceeding if the director or officer:
                                  or in the right of the corporation,       (1) acted in good faith,
                                  provided such a director or officer       (2) reasonably believed, in the case
                                  acted in good faith and reasonably        of conduct in the person’s official
                                  believed: (1) in the case of a civil,     capacity, that the person’s conduct
                                  administrative or investigative           was in the corporation’s best
                                  proceeding, that such person’s            interests, and otherwise, that the
                                  conduct was in or not opposed to          person’s conduct was not opposed


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             Issue                           Delaware Charter                            Texas Charter
                                  the best interests of the corporation,    to the corporation’s best interests,
                                  or (2) in the case of a criminal          and (3) in the case of a criminal
                                  proceeding, that such person had          proceeding, did not have
                                  no reasonable cause to believe their      reasonable cause to believe the
                                  conduct was unlawful.                     person’s conduct was unlawful.
                                  In connection with an action by or in     If, however, the director or officer is
                                  the right of the corporation against      found liable to the corporation or is
                                  a director or officer, the corporation    found liable on the basis that such
                                  may indemnify such director or            director or officer received an
                                  officer for expenses actually and         improper personal benefit, then
                                  reasonably incurred in connection         indemnification is limited to the
                                  with such suit: (1) if such person        reimbursement of reasonable
                                  acted in good faith and a manner          expenses actually incurred.
                                  the person reasonably believed to         Additionally, no indemnification will
                                  be in or not opposed to the best          be available if a director or officer is
                                  interests of the corporation, and         found liable for: (1) willful or
                                  (2) if such person is found liable to     intentional misconduct, (2) breach
                                  the corporation, only if ordered by a     of the duty of loyalty, or (3) an act
                                  court of law.                             or omission not committed in good
                                                                            faith that constitutes a breach of a
                                                                            duty owed to the corporation.

             Certain differences between the Texas Bylaws and the Delaware Bylaws are as follows:
             Issue                               Delaware                                    Texas
             Board of             The current Delaware Bylaws               The proposed Texas Bylaws provide
             Directors            provide that vacancies on the Board       that director vacancies may be filled
             Vacancies            can only be filled by vote of a           in any manner permitted by the
                                  majority of the remaining members         TBOC, in each case to the extent
                                  of the Board or by a sole remaining       permitted by the TBOC, the effect of
                                  director, and not by stockholders.        which is described in the above
                                                                            comparison summary of the
                                                                            Delaware Charter and the proposed
                                                                            Texas Charter under “Board of
                                                                            Directors Vacancies.”
             Action by Written    The current Delaware Bylaws               Under the TBOC, shareholders are
             Consent              prohibit stockholder action by            required to have the option to act by
                                  written consent.                          written consent in lieu of a meeting.
                                                                            The proposed Texas Bylaws set this
                                                                            at the highest standard permitted
                                                                            under the TBOC, which is
                                                                            unanimous written consent.
             Calling of Special   The current Delaware Bylaws               Under the TBOC, shareholders that
             Shareholder          provide that special stockholder          own a certain percentage of shares
             Meetings             meetings may be called only by the        having the right to vote thereat, as
                                  Board, the chairperson of the             specified in the certificate of
                                  Board, the chief executive officer, or    formation, but not to exceed 50%,
                                  the president (in the absence of a        are required to have the right to call
                                  chief executive officer), and may not     special shareholder meetings, and
                                  be called by stockholders.                the proposed Texas Bylaws provide
                                                                            that holders of not less than 50% of
                                                                            our shares of stock entitled to vote
                                                                            thereat may call a special meeting
                                                                            of shareholders.


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             Issue                            Delaware                                   Texas
             Cancellation of    The current Delaware Bylaws             The proposed Texas Bylaws provide
             Special            provide that the Board may cancel,      that the Board may not cancel a
             Shareholder        postpone, or reschedule a special       special shareholder meeting called
             Meetings           stockholder meeting.                    by shareholders, although the Board
                                                                        retains the right to postpone and
                                                                        reschedule shareholder meetings.
                                                                        The Board may cancel a meeting
                                                                        that is not called by shareholders,
                                                                        to the extent permitted under the
                                                                        TBOC.
             Proxies            The current Delaware Bylaws             Under the TBOC, a proxy is not
                                provide that no proxy authorized by     valid for more than eleven months
                                a stockholder is valid after            after the date the proxy is executed,
                                three years from the date of its        unless otherwise provided by the
                                execution, unless the proxy             proxy, and so the proposed Texas
                                provides for a longer period.           Bylaws provide that no proxy shall
                                                                        be voted or acted upon after
                                                                        eleven months from its date, unless
                                                                        the proxy provides for a longer
                                                                        period.
             Board of           The current Delaware Bylaws             The proposed Texas Bylaws provide
             Directors          provide that no committee of            that committees shall not have the
             Committees         directors shall have the power or       power or authority to (i) approve or
                                authority to (1) approve or adopt, or   adopt, or recommend to the
                                recommend to the stockholders, any      shareholders any action or matter
                                action or matter (other than the        (other than the election or removal
                                election or removal of directors)       of directors) expressly required by
                                expressly required by the DGCL to       the TBOC to be submitted to
                                be submitted to stockholders for        shareholders for approval or which
                                approval, or (2) adopt, amend, or       otherwise may not be delegated to
                                repeal bylaws.                          a committee, or (ii) adopt, amend or
                                                                        repeal any bylaw of the corporation.
                                                                        The proposed Texas Bylaws, by
                                                                        reference to the TBOC,
                                                                        acknowledge that, under the TBOC,
                                                                        a committee of directors is
                                                                        prohibited from taking certain
                                                                        actions. The TBOC provides that a
                                                                        committee of the board of directors
                                                                        may not:

                                                                        (1)   amend the certificate of
                                                                              formation, except to:
                                                                              (A) establish a series of
                                                                              shares; (B) increase or
                                                                              decrease the number of shares
                                                                              in a series; or (C) eliminate a
                                                                              series of shares established by
                                                                              the board of directors;
                                                                        (2)   propose a reduction of stated
                                                                              capital;
                                                                        (3)   approve a plan of merger,
                                                                              share exchange, or conversion
                                                                              of the


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             Issue                             Delaware                                  Texas
                                                                              corporation;

                                                                        (4)   recommend to shareholders the
                                                                              sale, lease, or exchange of all
                                                                              or substantially all of the
                                                                              property and assets of the
                                                                              corporation not made in the
                                                                              usual and regular course of its
                                                                              business;
                                                                        (5)   recommend to the shareholders
                                                                              a voluntary winding up and
                                                                              termination or revocation of a
                                                                              voluntary winding up and
                                                                              termination;
                                                                        (6)   amend, alter, or repeal the
                                                                              bylaws or adopt new bylaws;
                                                                        (7)   fill vacancies on the board of
                                                                              directors;

                                                                        (8)   fill vacancies on or designate
                                                                              alternate members of a
                                                                              committee of the board of
                                                                              directors;

                                                                        (9)   fill a vacancy to be filled
                                                                              because of an increase in the
                                                                              number of directors;
                                                                        (10) elect or remove officers of the
                                                                             corporation or members or
                                                                             alternate members of a
                                                                             committee of the board of
                                                                             directors;

                                                                        (11) set the compensation of the
                                                                             members or alternate members
                                                                             of a committee of the board of
                                                                             directors; or
                                                                        (12) alter or repeal a resolution of
                                                                             the board of directors that
                                                                             states that it may not be
                                                                             amended or repealed by a
                                                                             committee of the board of
                                                                             directors.
             Partly Paid Stock   The current Delaware Bylaws permit     Under the TBOC, partly paid stock
                                 the corporation to issue partly paid   is prohibited due to the TBOC’s
                                 stock.                                 requirement that full consideration
                                                                        for shares be paid before issuance,
                                                                        and so the proposed Texas Bylaws
                                                                        do not provide for the issuance of
                                                                        partly paid stock.




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             Issue                              Delaware                                    Texas
             Notice to          The current Delaware Bylaws permit         The TBOC does not currently
             Shareholders       the corporation to deliver a single        contain provisions allowing for a
                                written notice to stockholders who         single notice to be delivered to
                                share an address (unless a                 multiple shareholders at the same
                                stockholder objects) and permit the        address, and so the right of the
                                corporation not to give notice where       corporation to so deliver notice is
                                notice would be unlawful.                  limited by the TBOC. The TBOC
                                                                           does not have provisions
                                                                           specifically allowing the corporation
                                                                           not to deliver notice where such
                                                                           notice would be unlawful, and so
                                                                           the Texas Bylaws do not contain
                                                                           such provisions.
             Advancement of     The current Delaware Bylaws                Under the TBOC, before a
             Expenses           provide that expenses incurred by          corporation can advance expenses
                                an officer or director in connection       incurred by a director or officer in
                                with any legal proceedings will be         connection with any legal
                                advanced by the corporation upon           proceedings, a director or officer is
                                the corporation’s receipt of a written     also required to provide, in addition
                                request and an undertaking by the          to an undertaking to repay any
                                person to repay such amounts if it         expenses advanced if such director
                                is ultimately determined that the          or officer is ultimately not entitled to
                                person is not entitled to                  indemnification, a written affirmation
                                indemnification.                           attesting in good faith to such
                                                                           director’s or officer’s compliance
                                                                           with the standard of conduct
                                                                           necessary for indemnification, which
                                                                           requirement is included in the
                                                                           proposed Texas Bylaws.
             Exclusive Forum    The current Delaware Bylaws                The proposed Texas Bylaws provide
                                provide that a state court within the      that the sole and exclusive forum
                                State of Delaware (or, if no               for certain matters relating to the
                                Delaware state court has                   internal affairs of the corporation
                                jurisdiction, the federal district court   shall be, first, the Business Court in
                                for the District of Delaware) shall        the Third Business Court Division of
                                serve as the sole and exclusive            the State of Texas (which Division
                                forum for certain matters relating to      includes the county of our Texas
                                the internal affairs of the                corporate headquarters), unless
                                corporation.                               such court is not then accepting
                                                                           filings or lacks jurisdiction, in which
                                The exclusive forum provision in the
                                                                           case the exclusive forum shall be
                                Delaware Bylaws does not apply to
                                                                           either the federal district court for
                                any direct claims under the
                                                                           the Western District of Texas,
                                Securities Act of 1933, as amended
                                                                           Austin Division, or if there is not
                                (the “ Securities Act ”) or the
                                                                           federal jurisdiction then the state
                                Securities Exchange Act of 1934, as
                                                                           district court of Travis County,
                                amended (the “ Exchange Act ”).
                                                                           Texas.
                                                                           The exclusive forum provision in the
                                                                           proposed Texas Bylaws explicitly
                                                                           states that it shall not apply to any
                                                                           direct claims under the Securities
                                                                           Act or the Exchange Act.



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             Comparison of Stockholder Rights under Delaware and Texas Law
             The rights of our stockholders are currently governed by the DGCL, Delaware case law, the
             Delaware Charter and the Delaware Bylaws. Following completion of the Texas
             Redomestication, the rights of our shareholders will be governed by the TBOC, Texas case law,
             the Texas Charter and the Texas Bylaws.
             The Special Committee has found that the corporate laws of Texas and of Delaware are
             substantially equivalent, at least on net (i.e., balancing relevant considerations against one
             another) and as relevant to the Company.
             The statutory corporate laws of Texas, as governed by the TBOC, are similar in many respects
             to those of Delaware, as governed by the DGCL. However, there are certain individual
             differences that may relate to your rights as a stockholder, as well as the corporate governance
             of the Company. The following are brief summaries of certain legal considerations relating to the
             current rights of stockholders of a Delaware corporation and the shareholders of a Texas
             corporation and the corporate governance of a company in Delaware and in Texas.
             The following discussion does not provide a complete description of the differences that may
             affect you. This summary is qualified in its entirety by reference to the TBOC and DGCL, the
             Delaware Charter and Delaware Bylaws, the Texas Charter and Texas Bylaws, and the body of
             case law in both jurisdictions, and some of the differences in the legal considerations below may
             not affect you in light of the provisions of the Texas Charter and Texas Bylaws, which opt in to
             certain determinations as permitted under the TBOC.
             ISSUE                             DELAWARE                                   TEXAS
             Increasing or      The DGCL has no provision for             Under the TBOC, once stock has
             Decreasing         increasing or decreasing authorized       been issued, the board cannot
             Authorized         capital stock by unilateral board         unilaterally increase or decrease the
             Capital Stock,     action without stockholder approval,      authorized capital stock without
             Including          although if the increase in the           shareholder approval, and there is no
             Number of          number of authorized shares is in         express exception for forward stock
             Unissued           connection with a forward stock split     splits.
             Shares of a        (up to an amount proportionate to the
                                                                          With respect to a series of shares of
             Series of          subdivision), no stockholder approval
                                                                          preferred stock established by the
             Preferred Stock    is required provided that the
                                                                          board of directors if authorized by
                                corporation only has one class of
                                                                          the corporation’s certificate of
                                stock outstanding and such class is
                                                                          formation (and subject thereto),
                                not divided into series (unless
                                                                          unless the certificate of formation
                                stockholder approval is expressly
                                                                          expressly restricts the board of
                                required by the certificate of
                                                                          directors from increasing or
                                incorporation). See “Charter
                                                                          decreasing the number of unissued
                                Amendments” below.
                                                                          shares of a series to be established
                                                                          by the board of directors, the board
                                                                          of directors may increase or
                                                                          decrease the number of shares in
                                                                          each series to be established, except
                                                                          that the board of directors may not
                                                                          decrease the number of shares in a
                                                                          particular series to a number that is
                                                                          less than the number of shares in
                                                                          that series that are issued at the time
                                                                          of the decrease.
             Number of          Under the DGCL, the number of             Under the TBOC, the number of
             Directors          directors shall be fixed by, or in the    directors shall be set by, or in the
                                manner provided in, the bylaws,           manner provided by, the certificate of
                                unless the certificate of incorporation   formation or bylaws, except that the
                                fixes the number of directors. If the     number of directors on the initial
                                certificate of incorporation fixes the    board of directors must be set by the



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             ISSUE                          DELAWARE                                     TEXAS
                              number of directors, then a change in     certificate of formation.
                              the number of directors shall be
                                                                        The number of directors may be
                              made only by amendment of the
                                                                        increased or decreased by
                              certificate of incorporation.
                                                                        amendment to, or as provided by, the
                                                                        certificate of formation or bylaws.
                                                                        If the certificate of formation or
                                                                        bylaws do not set the number
                                                                        constituting the board of directors or
                                                                        provide for the manner in which the
                                                                        number of directors must be
                                                                        determined, the number of directors
                                                                        is the same as the number
                                                                        constituting the initial board of
                                                                        directors as set by the certificate of
                                                                        formation.
             Procedures for   Under the DGCL, unless otherwise          Under the TBOC, except as provided
             Filling Vacant   provided in the certificate of            below with respect to class voting,
             Directorships    incorporation or bylaws:                  vacancies may be filled by the
                              (1) vacancies and newly created           affirmative vote of the majority of the
                              directorships resulting from any          remaining directors, even if less than
                              increase in the authorized number of      a quorum, or by the election at an
                              directors elected by all of the           annual or special meeting of
                              stockholders having the right to vote     shareholders called for that purpose.
                              as a single class may be filled by a
                                                                        The term of a director elected to fill a
                              majority of the directors then in
                                                                        vacancy occurring in the board of
                              office, although less than a quorum,
                                                                        directors is the unexpired term of the
                              or by a sole remaining director; and
                                                                        director’s predecessor in office.
                              (2) whenever the holders of any
                              class or classes of stock or series       Except as provided below with
                              thereof are entitled to elect 1 or more   respect to class voting, a directorship
                              directors by the certificate of           to be filled because of an increase in
                              incorporation, vacancies and newly        the number of directors may be filled
                              created directorships of such class or    by the shareholders or by the board
                              classes or series may be filled by a      of directors for a term of office
                              majority of the directors elected by      continuing only until the next election
                              such class or classes or series           of one or more directors by the
                              thereof then in office, or by a sole      shareholders. The board of directors
                              remaining director so elected.            may not fill more than two such
                                                                        directorships during the period
                              In the case of a Delaware
                                                                        between any two successive annual
                              corporation the directors of which are
                                                                        meetings of shareholders.
                              divided into classes, any directors
                              chosen by (1) or (2) of the above         Unless otherwise authorized by a
                              shall hold office until the next          corporation’s certificate of formation,
                              election of the class for which such      a vacancy or a newly created
                              directors shall have been chosen,         vacancy in a director position that
                              and until their successors shall be       the certificate of formation entitles
                              elected and qualified.                    the holders of a class or series of
                                                                        shares or group of classes or series
                                                                        of shares to elect may be filled only:
                                                                        (1) by the affirmative vote of the
                                                                        majority of the directors then in office
                                                                        elected by the class, series, or
                                                                        group; (2) by the sole



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             ISSUE                         DELAWARE                                    TEXAS
                                                                       remaining director elected in that
                                                                       manner; or (3) by the affirmative vote
                                                                       of the holders of the outstanding
                                                                       shares of the class, series, or group.
             Removal of      Under the DGCL, subject to the            Under the TBOC, subject to the
             Directors       exceptions discussed below, holders       exceptions discussed below or as
                             of a majority of shares then entitled     otherwise provided by the certificate
                             to vote at an election of directors       of formation or bylaws of a
                             may remove a director or the entire       corporation, the holders of a majority
                             board of directors with or without        of shares then entitled to vote at an
                             cause.                                    election of directors may remove a
                                                                       director or the entire board of
                             Unless the certificate of incorporation
                                                                       directors with or without cause.
                             provides otherwise, if the board of
                             directors of a Delaware corporation       Unless the certificate of formation
                             is classified (i.e., elected for          provides otherwise, if a Texas
                             staggered terms), a director may only     corporation’s directors serve
                             be removed by stockholders for            staggered terms, a director may only
                             cause.                                    be removed for cause.
                             If a Delaware corporation uses            If the certificate of formation permits
                             cumulative voting and less than the       cumulative voting and less than the
                             entire board is to be removed, a          entire board is to be removed, a
                             director may not be removed without       director may not be removed if the
                             cause if the votes cast against his or    votes cast against the removal would
                             her removal would be sufficient to        be sufficient to elect him or her if
                             elect him or her if then cumulatively     cumulatively voted at an election of
                             voted at an election of the entire        the entire board of directors, or if
                             board of directors or, if the board of    there are classes of directors, at an
                             directors is classified, at an election   election of the class of directors of
                             of the class of directors of which        which the director is a part. Where
                             such director is a part.                  the certificate of formation provides
                                                                       that separate classes or series of
                             Where the certificate of incorporation
                                                                       shareholders are entitled, as such a
                             provides that separate classes or
                                                                       class or series, to elect separate
                             series of stockholders are entitled,
                                                                       directors, in calculating the
                             as such a class or series, to elect
                                                                       sufficiency of votes for removal of
                             separate directors, in calculating the
                                                                       such a director, only the votes of the
                             sufficiency of votes for removal
                                                                       holders of such a class or series are
                             without cause of such a director, only
                                                                       considered.
                             the votes of the holders of such a
                             class or series are considered.
             Action by       Under the DGCL, unless otherwise          Under the TBOC, unless otherwise
             Written         restricted by the certificate of          provided by the certificate of
             Consent of      incorporation or bylaws, the board of     formation or bylaws, a written
             Directors       directors of a Delaware corporation       consent stating the action taken and
                             may act without a meeting if all of       signed by all members of the board
                             the directors consent in writing.         of directors of a Texas corporation is
                                                                       also an act of the board of directors.
             Action by       Under the DGCL, unless otherwise          Under the TBOC, shareholders may
             Written         provided in the certificate of            act without a meeting, without prior
             Consent of      incorporation, stockholders may act       notice and without a vote, with the
             Stockholders    without a meeting, without prior          written consent of (1) all
                             notice and without a vote, with the       shareholders or (2) if authorized by
                             written consent of the stockholders       the certificate of formation, the
                             having not less than the minimum          shareholders having at least the
                                                                       minimum number of votes


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             ISSUE                           DELAWARE                                    TEXAS
                               number of votes that would be             that would be necessary to take the
                               necessary to authorize or take such       action that is the subject of the
                               action at a meeting at which all          consent at a meeting, in which each
                               shares entitled to vote thereon were      owner or member entitled to vote on
                               present and voted. If less than           the action is present and votes. If
                               unanimous written consent is given,       less than unanimous written consent
                               the corporation must give prompt          is given, the corporation must give
                               notice of the action taken to the         prompt notice of the action taken to
                               non-consenting stockholders.              the non-consenting shareholders.
             Special           Under the DGCL, the board of              Special meetings of the shareholders
             Meetings of the   directors, or any other one or more       of a corporation may be called by:
             Stockholders      persons authorized in the certificate     (1) the president, the board of
                               of incorporation or bylaws, may call a    directors, or any other person
                               special meeting. Stockholders do not      authorized to call special meetings
                               have a statutory right to call a          by the certificate of formation or
                               special meeting, but the certificate of   bylaws of the corporation; or (2) the
                               incorporation or bylaws for the           holders of the percentage of shares
                               corporation may provide for such          specified in the certificate of
                               right.                                    formation, not to exceed 50 % of the
                                                                         shares entitled to vote or, if
                                                                         no percentage is specified, at least
                                                                         10 % of all of the shares of the
                                                                         corporation entitled to vote at the
                                                                         proposed special meeting.
                                                                         Under the TBOC, a corporation
                                                                         cannot prohibit its shareholders from
                                                                         calling a special meeting of
                                                                         shareholders.
             Adjournment of    Under the DGCL, unless the bylaws         Under the TBOC, unless the
             Stockholder       provide otherwise, a meeting of           certificate of formation or bylaws
             Meetings          stockholders may be adjourned to          provide otherwise, a meeting of
                               another time or place without notice      shareholders may be adjourned due
                               if the time, place, if any, and the       to lack of quorum until the time and
                               means of remote communications, if        to the place as may be determined
                               any, by which stockholders and proxy      by a vote of the holders of the
                               holders may be deemed to be               majority of the shares who are
                               present in person and vote at such        present or represented by proxy at
                               adjourned meeting are:                    the meeting.
                               (1) announced at the meeting at
                                                                         The TBOC does not have a specific
                               which the adjournment is taken;
                                                                         provision on the notice for an
                               (2) displayed, during the time
                                                                         adjourned meeting or the business
                               scheduled for the meeting, on the
                                                                         that may be transacted at an
                               same electronic network used to
                                                                         adjourned meeting.
                               enable stockholders and proxy
                               holders to participate in the meeting     Generally, under the TBOC, the only
                               by means of remote communication;         business that may be conducted at a
                               or (3) set forth in the notice of         special meeting of the shareholders
                               meeting.                                  is business that is within the
                                                                         purposes described in the notice.
                               Under the DGCL, if a meeting of
                               stockholders is adjourned for more
                               than 30 days, or if after the
                               adjournment a new record date for
                               stockholders entitled to vote is fixed
                               for the adjourned meeting, notice of



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                               the adjourned meeting must be given
                               to each stockholder of record entitled
                               to vote at the meeting, or each
                               stockholder of record entitled to vote
                               at the adjourned meeting as of the
                               new record date set for notice of the
                               adjourned meeting, respectively.
                               At the adjourned meeting the
                               corporation may transact any
                               business that might have been
                               transacted at the original meeting.
             Voting by Proxy   Under the DGCL, a stockholder may        Under the TBOC, a shareholder may
                               authorize another person or persons      authorize another person or persons
                               to act for such stockholder by proxy.    to act for such shareholder by proxy.
                               A proxy is valid for three years from    A proxy is valid for eleven months
                               its date unless a longer period is       from its date of execution unless
                               provided in the proxy.                   otherwise provided in the proxy.
             Quorum and        Under the DGCL, the certificate of       Under the TBOC, subject to the
             Required Vote     incorporation or bylaws of a             following sentence, the holders of the
             for Stock         Delaware corporation may specify         majority of the shares entitled to vote
             Corporations      the number of shares and/or the          at a meeting of the shareholders of a
                               amount of other securities having        Texas corporation that are present or
                               voting power the holders of which        represented by proxy at the meeting
                               must be present or represented by        are a quorum for the consideration of
                               proxy at any meeting in order to         a matter to be presented at that
                               constitute a quorum for, and the         meeting. The certificate of formation
                               votes that shall be necessary for, the   of a corporation may provide that a
                               transaction of any business, but in no   quorum is present only if: (1) the
                               event shall a quorum consist of less     holders of a specified portion of the
                               than one-third of the shares entitled    shares that is greater than the
                               to vote at the meeting, except that,     majority of the shares entitled to vote
                               where a separate vote by a class or      are represented at the meeting in
                               series or classes or series is           person or by proxy; or (2) the holders
                               required, a quorum shall consist of      of a specified portion of the shares
                               no less than one-third of the shares     that is less than the majority but not
                               of such class or series or classes or    less than one-third of the shares
                               series.                                  entitled to vote are represented at
                                                                        the meeting in person or by proxy.
                               In the absence of such specification
                               in the certificate of incorporation or   Subject to the following sentence,
                               bylaws of the corporation: (1) a         directors of a corporation shall be
                               majority of the shares entitled to       elected by a plurality of the votes
                               vote, present in person or               cast by the holders of shares entitled
                               represented by proxy, shall constitute   to vote in the election of directors at
                               a quorum at a meeting of                 a meeting of shareholders at which a
                               stockholders; (2) in all matters other   quorum is present. The certificate of
                               than the election of directors, the      formation or bylaws of a corporation
                               affirmative vote of the majority of      may provide that a director of a
                               shares present in person or              corporation shall be elected only if
                               represented by proxy at the meeting      the director receives: (1) the vote of
                               and entitled to vote on the subject      the holders of a specified portion, but
                               matter shall be the act of the           not less than the majority, of the
                               stockholders; (3) directors shall be     shares entitled to vote in the election
                               elected by a plurality of the votes of   of
                               the shares present in person or


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                             represented by proxy at the meeting       directors; (2) the vote of the holders
                             and entitled to vote on the election of   of a specified portion, but not less
                             directors; and (4) where a separate       than the majority, of the shares
                             vote by a class or series or classes      entitled to vote in the election of
                             or series is required, a majority of      directors and represented in person
                             the outstanding shares of such class      or by proxy at a meeting of
                             or series or classes or series,           shareholders at which a quorum is
                             present in person or represented by       present; or (3) the vote of the holders
                             proxy, shall constitute a quorum          of a specified portion, but not less
                             entitled to take action with respect to   than the majority, of the votes cast
                             that vote on that matter and, in all      by the holders of shares entitled to
                             matters other than the election of        vote in the election of directors at a
                             directors, the affirmative vote of the    meeting of shareholders at which a
                             majority of shares of such class or       quorum is present.
                             series or classes or series present in
                                                                       Subject to the following sentence,
                             person or represented by proxy at
                                                                       with respect to a matter other than
                             the meeting shall be the act of such
                                                                       the election of directors or a matter
                             class or series or classes or series.
                                                                       for which the affirmative vote of the
                             A bylaw amendment adopted by              holders of a specified portion of the
                             stockholders which specifies the          shares entitled to vote is required by
                             votes that shall be necessary for the     the TBOC, the affirmative vote of the
                             election of directors shall not be        holders of the majority of the shares
                             further amended or repealed by the        entitled to vote on, and who voted
                             board of directors.                       for, against, or expressly abstained
                                                                       with respect to, the matter at a
                                                                       shareholders’ meeting of a
                                                                       corporation at which a quorum is
                                                                       present is the act of the
                                                                       shareholders. With respect to a
                                                                       matter other than the election of
                                                                       directors or a matter for which the
                                                                       affirmative vote of the holders of a
                                                                       specified portion of the shares
                                                                       entitled to vote is required by this
                                                                       code, the certificate of formation or
                                                                       bylaws of a corporation may provide
                                                                       that the act of the shareholders of
                                                                       the corporation is: (1) the affirmative
                                                                       vote of the holders of a specified
                                                                       portion, but not less than the
                                                                       majority, of the shares entitled to
                                                                       vote on that matter; (2) the
                                                                       affirmative vote of the holders of a
                                                                       specified portion, but not less than
                                                                       the majority, of the shares entitled to
                                                                       vote on that matter and represented
                                                                       in person or by proxy at a
                                                                       shareholders’ meeting at which a
                                                                       quorum is present; (3) the affirmative
                                                                       vote of the holders of a specified
                                                                       portion, but not less than the
                                                                       majority, of the shares entitled to
                                                                       vote on, and who voted for or
                                                                       against, the matter at a shareholders’
                                                                       meeting at which a



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                                                                          quorum is present; or (4) the
                                                                          affirmative vote of the holders of a
                                                                          specified portion, but not less than
                                                                          the majority, of the shares entitled to
                                                                          vote on, and who voted for, against,
                                                                          or expressly abstained with respect
                                                                          to, the matter at a shareholders’
                                                                          meeting at which a quorum is
                                                                          present.
             Stockholder       Under the DGCL, a majority of the          Under the TBOC, unless otherwise
             Vote for          outstanding stock of the corporation       provided for in the TBOC or the
             Fundamental       entitled to vote thereon generally         certificate of formation of a
             Business          must approve fundamental changes,          corporation, shareholders holding at
             Transactions      such as: (1) certain mergers or            least two-thirds of the outstanding
                               consolidations; (2) a sale, lease, or      shares of a class entitled to vote on
                               exchange of all or substantially all of    the matter must typically approve
                               the corporation’s assets (provided         fundamental business transactions
                               that no stockholder authorization or       such as: (1) a merger; (2) an interest
                               consent is required (A) to mortgage        exchange; (3) a conversion; or (4) a
                               or pledge the corporation’s property       sale of all or substantially all of the
                               and assets unless the certificate of       corporation’s assets that is not made
                               incorporation so requires or               in the usual and regular course of the
                               (B) where the property or assets in        corporation’s business. The
                               the sale, lease or exchange is             certificate of formation can provide
                               collateral that secures a mortgage or      for a different threshold of approval,
                               is pledged to a secured party and          but not less than a majority of the
                               certain additional conditions are          shares entitled to vote.
                               met); (3) dissolution; (4) conversion
                               of a domestic corporation to other
                               entities; and (5) transfer,
                               domestication or continuance of a
                               domestic corporation to a foreign
                               jurisdiction. The certificate of
                               incorporation may contain provisions
                               requiring for any corporate action the
                               vote of a larger portion of the stock
                               or of any class or series thereof than
                               is required by the DGCL.
             Stockholder       Under the DGCL, a Delaware                 Under the TBOC, generally the sale,
             Vote for Sales,   corporation may sell, lease or             lease, exchange or other disposition
             Leases,           exchange all or substantially all of its   of all, or substantially all, of the
             Exchanges or      property and assets when and as            property and assets of a Texas
             Other             authorized by a majority of the            corporation requires the approval of
             Dispositions      outstanding stock of the corporation       the holders of at least two-thirds of
                               entitled to vote thereon.                  the outstanding shares of the
                                                                          corporation entitled to vote, unless
                               No such approval is required,
                                                                          the corporation’s certificate of
                               however, if the assets being sold,
                                                                          formation sets a lower threshold
                               leased or exchanged are not all or
                                                                          (which may not be less than a
                               substantially all of the corporation’s
                                                                          majority of the voting shares).
                               assets. There is no necessary
                               quantifying percentage for                 No such approval is required,
                               determining whether assets                 however, if the transaction is made in
                               constitute substantially all of a          the usual and regular course of a
                               Delaware corporation’s assets. Only        Texas corporation’s business. Under
                               if                                         Texas


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                             the sale is of assets quantitatively        law, even the transfer of substantially
                             and qualitatively vital to the business     all of a corporation’s assets in such a
                             of the corporation is stockholder           manner that the corporation
                             authorization mandated.                     continues directly or indirectly to
                                                                         engage in one or more businesses is
                                                                         deemed not to be a transaction
                                                                         requiring shareholder approval under
                                                                         the TBOC.
             Business        Under the DGCL, unless a Delaware           Under the TBOC, a Texas “issuing
             Combinations    corporation’s certificate of                public corporation” is generally
             Statute         incorporation or bylaws (original, or       prohibited from, directly or indirectly,
                             approved by stockholders) provide           entering into (i) mergers, share
                             otherwise, Delaware corporations            exchanges or conversions with an
                             that have a class of voting stock           affiliated shareholder or other entity
                             listed on a national securities             that after such transaction would be
                             exchange or held of record by 2,000         an affiliate or associate of an
                             or more persons are prohibited from         affiliated shareholder, and certain
                             entering into any “business                 other entities, (ii) sales, leases,
                             combination” with any “interested           exchanges, mortgages, pledges,
                             stockholder” for a period of                transfers or other dispositions of
                             three years following the time that         assets having an aggregate market
                             such stockholder became an                  value of 10% or more of (a) the
                             interested stockholder. The DGCL            aggregate market value of the
                             generally defines a “business               consolidated assets of such Texas
                             combination” as (i) certain mergers         public corporation, (b) the aggregate
                             and consolidations; (ii) sales leases,      market value of the outstanding
                             exchanges, mortgages, pledges,              voting stock of such Texas public
                             transfers or other dispositions of          corporation or (c) the earning power
                             assets having an aggregate market           or net income of such Texas public
                             value of 10% or more of either the          corporation on a consolidated basis,
                             consolidated assets or the                  (iii) certain transactions that would
                             outstanding stock of a company;             result in the issuance or transfer of
                             (iii) certain transactions that would       shares of such Texas public
                             result in the issuance or transfer of       corporation to an affiliated
                             stock of the corporation to an              shareholder or an affiliate or
                             interested stockholder; (iv) certain        associate, (iv) liquidation or
                             transactions that have the effect,          dissolution plans or proposals with
                             directly or indirectly, of increasing the   an affiliated shareholder or an
                             proportionate share of stock of the         associate or an affiliate of an
                             corporation which is owned by the           associate of an affiliated shareholder,
                             interested stockholder, subject to          (v) certain transactions, including
                             exceptions; and (v) any receipt by          reclassifications of securities or other
                             the interested stockholder of the           share distributions or
                             benefit, directly or indirectly, of any     recapitalizations, that have the
                             loans, advances, guarantees,                effect, directly or indirectly, of
                             pledges or other financial benefits         increasing the proportionate
                             provided by or through the                  ownership percentage of the
                             corporation, subject to certain             outstanding shares of a class or
                             exceptions.                                 series of voting shares or securities
                                                                         convertible into voting shares of the
                             “Interested stockholder” is generally
                                                                         issuing public corporation that is
                             defined as a person (including the
                                                                         beneficially owned by the affiliated
                             affiliates and associates of such
                                                                         shareholder or an affiliate or
                             person) that is directly or indirectly a
                                                                         associate of the affiliated
                             beneficial owner of 15% or more of
                                                                         shareholder, except as a result of
                                                                         immaterial changes due to


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                             the outstanding voting stock of a         fractional share adjustments or
                             Delaware corporation or is an affiliate   (vi) loans, advances, guarantees,
                             or associate of the corporation and       pledges, or other financial assistance
                             was the owner of 15% or more of the       or a tax credit or other tax
                             outstanding voting stock of the           advantages the recipient of which is
                             corporation at any time within the        an affiliated shareholder or an
                             3-year period before the date on          affiliate or associate of an affiliated
                             which it is sought to be determined       shareholder, in each case, with an
                             whether such person is an interested      “affiliated shareholder” or any
                             stockholder, and the affiliates and       affiliate or associate of the “affiliated
                             associates of such person, in each        shareholder” for a period of
                             case subject to certain exceptions.       three years after the date the
                                                                       shareholder obtained “affiliated
                             The DGCL provides an exception to
                                                                       shareholder” status.
                             this prohibition if: (i) the
                             corporation’s board of directors          “Affiliated shareholder” is generally
                             approved either the business              broadly defined as a person who
                             combination or the transaction in         beneficially owns (or has owned
                             which the stockholder became an           within the preceding three-year
                             interested stockholder prior to the       period) 20% or more of the
                             date the interested stockholder           outstanding voting stock of a Texas
                             became an interested stockholder;         public corporation.
                             (ii) the interested stockholder
                                                                       “Issuing public corporation” means a
                             acquired at least 85% of the voting
                                                                       Texas corporation that has: (i) 100 or
                             stock of that company (excluding
                                                                       more shareholders of record as
                             shares owned by persons who are
                                                                       shown by the share transfer records
                             directors and also officers, and
                                                                       of the corporation; (ii) a class or
                             employee stock plans in which
                                                                       series of the corporation’s voting
                             participants do not have the right to
                                                                       shares registered under the
                             determine whether shares will be
                                                                       Securities Exchange Act of 1934 (15
                             tendered in a tender or exchange
                                                                       U.S.C. Section 77b et seq.), as
                             offer) in the transaction in which it
                                                                       amended; or (iii) a class or series of
                             became an interested stockholder; or
                                                                       the corporation’s voting shares
                             (iii) the business combination is
                                                                       qualified for trading on a national
                             approved by the board of directors
                                                                       securities exchange.
                             and the affirmative vote of at least
                             two-thirds of the votes entitled to be    The TBOC provides an exception to
                             cast by disinterested stockholders at     this prohibition if: (i) the board of
                             an annual or special meeting (and         directors of the corporation approves
                             not by written consent).                  the transaction or the acquisition of
                                                                       shares by the affiliated shareholder
                                                                       prior to the affiliated shareholder
                                                                       becoming an affiliated shareholder;
                                                                       or (ii) the holders of at least
                                                                       two-thirds of the outstanding voting
                                                                       shares not beneficially owned by the
                                                                       affiliated shareholder or an affiliate
                                                                       or associate of the affiliated
                                                                       shareholder approve the transaction
                                                                       at a meeting held no earlier than
                                                                       six months after the shareholder
                                                                       acquires such ownership. The TBOC
                                                                       expressly provides that the foregoing
                                                                       shareholder approval may not be by
                                                                       written consent.



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             Charter         Under the DGCL, subject to limited        Under the TBOC, subject to limited
             Amendments      exceptions, an amendment to the           exceptions, an amendment to the
                             certificate of incorporation must be      certificate of formation requires the
                             approved by (i) the board of directors    approval of (i) the board of directors
                             and (ii) the holders of a majority of a   and (ii) the holders of at least
                             Delaware corporation’s outstanding        two-thirds of the outstanding shares
                             stock entitled to vote thereon, unless    of a Texas corporation, unless a
                             the certificate of incorporation          different threshold, not less than a
                             provides for a greater number.            majority, is specified in the certificate
                                                                       of formation.
                             In addition, unless otherwise
                             expressly required by the certificate
                             of incorporation: (1) no meeting or
                             vote of stockholders is required to
                             adopt an amendment that reclassifies
                             by subdividing the issued shares of a
                             class of stock into a greater number
                             of issued shares of the same class of
                             stock (and, in connection therewith,
                             such amendment may increase the
                             number of authorized shares of such
                             class of stock up to an amount
                             proportionate to the subdivision),
                             provided the corporation has only
                             one class of stock outstanding and
                             such class is not divided into series;
                             and (2) an amendment to increase or
                             decrease the authorized number of
                             shares of a class of capital stock or
                             an amendment to reclassify by
                             combining the issued shares of a
                             class of capital stock into a lesser
                             number of issued shares of the same
                             class of stock may be made and
                             effected, without obtaining the vote
                             or votes of stockholders otherwise
                             required if: (A) the shares of such
                             class are listed on a national
                             securities exchange immediately
                             before such amendment becomes
                             effective and meet the listing
                             requirements of such national
                             securities exchange relating to the
                             minimum number of holders
                             immediately after such amendment
                             becomes effective, (B) at a properly
                             called meeting, a vote of the
                             stockholders entitled to vote thereon,
                             voting as a single class, is taken for
                             and against the proposed
                             amendment, and the votes cast for
                             the amendment exceed the votes
                             cast against the amendment, and
                             (C) if the amendment increases or
                             decreases the authorized number of
                             shares of a



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                             class of capital stock for which no
                             provision in the certificate of
                             incorporation has been made in
                             accordance with the DGCL, the votes
                             cast for the amendment by the
                             holders of such class exceed the
                             votes cast against the amendment by
                             the holders of such class.
             Bylaw           Under the DGCL, stockholders of a           Generally, under the TBOC, the
             Amendments      Delaware corporation entitled to vote       board of directors may amend, repeal
                             have the right to amend, repeal or          or adopt a Texas corporation’s
                             adopt the bylaws. If a Delaware             bylaws. However, (i) the
                             corporation’s certificate of                shareholders may amend, repeal or
                             incorporation so provides, the              adopt bylaws even if the directors
                             Delaware corporation’s board of             also have that power and (ii) a Texas
                             directors may also have the right to        corporation’s certificate of formation
                             amend, repeal or adopt the bylaws.          may wholly or partly reserve the
                                                                         power to amend, repeal or adopt
                                                                         bylaws exclusively to the
                                                                         shareholders. Similarly, the
                                                                         shareholders, in amending, repealing
                                                                         or adopting a particular bylaw, may
                                                                         expressly provide that the board of
                                                                         directors may not amend, readopt or
                                                                         repeal that bylaw.
             Dividends and   Under the DGCL, a Delaware                  Under the TBOC, a distribution is
             Distributions   corporation may, subject to any             defined as a transfer of cash or other
                             restrictions contained in its certificate   property (except a corporation’s own
                             of incorporation, pay dividends out of      shares or rights to acquire its shares
                             surplus or, if there is no surplus, out     or a split-up or division of the issued
                             of net profits for the current and/or       shares of a class of a corporation
                             the preceding fiscal year, unless the       into a larger number of shares within
                             capital of the corporation is less than     the same class that does not
                             the capital represented by issued           increase the stated capital of the
                             and outstanding stock having                corporation), or an issuance of debt,
                             preferences on asset distributions.         by a corporation to its shareholders
                                                                         in the form of: (i) a dividend on any
                             In addition, a Delaware corporation
                                                                         class or series of a Texas
                             may not repurchase or redeem
                                                                         corporation’s outstanding shares;
                             shares if doing so would render the
                                                                         (ii) a purchase or redemption,
                             corporation insolvent in the sense
                                                                         directly or indirectly, of its shares; or
                             that it could not pay its debts as they
                                                                         (iii) a payment in liquidation of all or
                             come due or continue as a going
                                                                         a portion of its assets.
                             concern.
                                                                         Under the TBOC, a Texas corporation
                                                                         may not make a distribution if such
                                                                         distribution violates its certificate of
                                                                         formation, if the corporation’s surplus
                                                                         is less than the amount of the
                                                                         corporation’s stated capital (as
                                                                         determined by the TBOC) or, unless
                                                                         a Texas corporation is in receivership
                                                                         or the distribution is made in
                                                                         connection with the winding up and
                                                                         termination of the Texas corporation,
                                                                         if it either


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                                                                        renders a Texas corporation unable
                                                                        to pay its debts as they become due
                                                                        in the course of its business or
                                                                        affairs, or exceeds, depending on the
                                                                        type of distribution, either the net
                                                                        assets or the surplus of the Texas
                                                                        corporation, or, subject to certain
                                                                        exceptions, if the distribution will be
                                                                        made to shareholders of another
                                                                        class or series.
             Stock           Under the DGCL, a Delaware                 As noted above, under the TBOC,
             Redemption      corporation may purchase or redeem         the purchase or redemption by a
             and             shares of any class except when its        Texas corporation of its shares
             Repurchase      capital is impaired or would be            constitutes a distribution.
                             impaired by such purchase or               Accordingly, the discussion above
                             redemption. A Delaware corporation         relating to distributions is applicable
                             may, however, purchase or redeem           to stock redemptions and
                             out of capital, shares that are entitled   repurchases.
                             upon any distribution of its assets to
                             a preference over another class or
                             series of its stock, or, if no shares
                             entitled to such a preference are
                             outstanding, any of its own shares, if
                             such shares are to be retired and the
                             capital reduced. However, a
                             corporation may not purchase
                             redeemable shares for a price
                             greater than that at which they would
                             be redeemed.
                             In addition, a Delaware corporation
                             may not effect a repurchase or
                             redemption if doing so would render
                             the corporation insolvent in the
                             sense that it could not pay its debts
                             as they come due or continue as a
                             going concern.
             Ratification    Under the DGCL, there is a codified        Under the TBOC, there is a codified
                             ratification process for defective         ratification process for defective
                             corporate actions.                         corporate acts.
                             The board of directors must adopt a        The board of directors must adopt a
                             resolution ratifying the defective         resolution and then submit the
                             corporate action and, if stockholder       ratified defective corporate act for
                             approval would have been required          shareholder approval (shareholder
                             for the defective corporate action to      approval is subject to certain
                             have been taken, the defective             exceptions). In the absence of actual
                             corporate action must be submitted         fraud in the transaction, the judgment
                             to stockholders for approval.              of the board of directors of a Texas
                                                                        corporation that shares of the Texas
                             In addition to the foregoing, under
                                                                        corporation are valid shares or
                             the DGCL, the corporation, any
                                                                        putative shares is conclusive, unless
                             successor entity to the corporation,
                                                                        otherwise determined by a Texas
                             any director, or certain stockholders
                                                                        district court or a Texas Business
                             can apply to



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                             the Delaware Court for an order           Court.
                             determining the validity and
                             effectiveness of defective corporate
                             acts, including without limitation to
                             confirm whether a prior ratification
                             was effective, whether a defective
                             corporate act can be validated even
                             if not previously ratified. In
                             connection with such applications,
                             the Delaware Court has broad
                             discretion to fashion appropriate
                             relief, including without limitation
                             declaring ratifications effective,
                             validating and declaring effective any
                             defective corporate act, and making
                             such other orders regarding such
                             matters as it deems proper under the
                             circumstances.
             Inspection of   Under the DGCL, any stockholder           Under the TBOC, a shareholder may
             Books and       may inspect, and make copies and          inspect a Texas corporation’s books
             Records         extracts from, a Delaware                 and records during normal business
                             corporation’s books and records           hours upon written demand stating a
                             during normal business hours for any      proper purpose if such shareholder
                             proper purpose upon written demand        holds at least 5% of the outstanding
                             under oath stating the purpose of the     shares of stock of the Texas
                             inspection.                               corporation or has been a holder of
                                                                       shares for at least six months prior to
                             If a Delaware corporation refuses to
                                                                       such demand.
                             permit inspection or does not reply to
                             the demand within five business days      If a Texas corporation refuses to
                             after the demand has been made, the       allow a person to examine and make
                             stockholder may apply to the              copies of account records, minutes,
                             Delaware Court for an order to            and share transfer records under the
                             compel such inspection.                   TBOC, the Texas corporation is liable
                                                                       to the shareholder for any cost or
                             Generally, the stockholder bears the
                                                                       expense, including attorney’s fees,
                             burden of showing that each category
                                                                       incurred in enforcing the
                             of requested records is essential to
                                                                       shareholder’s rights under the TBOC.
                             accomplishment of the stockholder’s
                             stated purpose for the inspection.        A Texas corporation may defend
                             However, when a stockholder seeks         against an inspection action by
                             to inspect a corporation’s list of        establishing that the shareholder:
                             stockholders or stock ledger, the         (1) has sold or offered for sale, or
                             burden of proof is on the corporation     has aided or abetted a person in
                             to establish that the inspection is for   procuring a list of shareholders or of
                             an improper purpose.                      holders of voting trust certificates for
                                                                       the purpose of selling, a list of
                                                                       shareholders or of holders of voting
                                                                       trust certificates for shares of the
                                                                       Texas corporation or any other
                                                                       corporation within the two years
                                                                       preceding the date the action is
                                                                       brought; (2) has improperly used
                                                                       information obtained through prior
                                                                       examination of the books, account


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                                                                          records, minutes, or share transfer
                                                                          records of the corporation or any
                                                                          other corporation; or (3) was not
                                                                          acting in good faith or for a proper
                                                                          purpose in making the request.
             Insurance          Under the DGCL, a Delaware                Under the TBOC, a Texas enterprise
                                corporation is allowed to purchase        is allowed to purchase or procure or
                                and maintain insurance on behalf of       establish and maintain insurance or
                                any person who is or was a director,      another arrangement to indemnify or
                                officer, employee or agent of the         hold harmless an existing or former
                                corporation, or is or was serving at      governing person, delegate, officer,
                                the request of the corporation as a       employee, or agent against any
                                director, officer, employee or agent of   liability: (1) asserted against and
                                another corporation, partnership,         incurred by the person in that
                                joint venture, trust, or other            capacity or (2) arising out of the
                                enterprise against any liability          person’s status in that capacity. The
                                asserted against such person and          insurance or other arrangement
                                incurred by such person in any such       established may insure or indemnify
                                capacity, or arising out of such          against the liability described above
                                person’s status as such, whether or       without regard to whether the
                                not the corporation would have the        enterprise otherwise would have had
                                power to indemnify such person            the power to indemnify the person
                                against such liability under the          against that liability under the TBOC.
                                DGCL.
                                                                          Under the TBOC, for the benefit of
                                The DGCL does not prohibit a              persons to be indemnified by the
                                Delaware corporation from                 enterprise, an enterprise may, in
                                establishing and maintaining              addition to purchasing or procuring
                                arrangements, other than insurance,       or establishing and maintaining
                                to protect such persons, including a      insurance or another arrangement:
                                trust fund or surety arrangement.         (1) create a trust fund; (2) establish
                                                                          any form of self-insurance, including
                                                                          a contract to indemnify; (3) secure
                                                                          the enterprise’s indemnity obligation
                                                                          by grant of a security interest or
                                                                          other lien on the assets of the
                                                                          enterprise; or (4) establish a letter of
                                                                          credit, guaranty, or surety
                                                                          arrangement.
             Interested Party   The DGCL provides that certain            The TBOC provides that an otherwise
             Transaction        interested party transactions are not     valid and enforceable contract or
             Approvals          void or voidable solely because the       transaction between a corporation
                                transaction is between a corporation      and (1) one or more directors or
                                and one or more of its directors or       officers, or one or more affiliates or
                                officers, or between the corporation      associates of one or more directors
                                and an entity in which one or more of     or officers, of the corporation; or
                                its directors or officers has a           (2) an entity or other organization in
                                financial interest, or solely because     which one or more directors or
                                the interested director or officer was    officers, or one or more affiliates or
                                present at or participated in the         associates of one or more directors
                                meeting in which the interested           or officers, of the corporation: (A) is
                                transaction was approved if any of        a managerial official; or (B) has a
                                the following conditions are satisfied:   financial interest is valid and
                                (1) the material facts as to the          enforceable, and is not void or
                                                                          voidable, notwithstanding such



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                             director’s or officer’s relationship or   relationship or interest if any one of
                             interest and as to the contract or        the following conditions is satisfied:
                             transaction are disclosed or are          (1) the material facts as to the
                             known to the board of directors or        applicable relationship or interest
                             the committee, and the board or           and as to the contract or transaction
                             committee in good faith authorizes        are disclosed to or known by: (A) the
                             the contract or transaction by the        corporation’s board of directors or a
                             affirmative votes of a majority of the    committee of the board of directors,
                             disinterested directors, even though      and the board of directors or
                             the disinterested directors be less       committee in good faith authorizes
                             than a quorum; (2) the material facts     the contract or transaction by the
                             as to the director’s or officer’s         approval of the majority of the
                             relationship or interest and as to the    disinterested directors or committee
                             contract or transaction are disclosed     members, regardless of whether the
                             or are known to the stockholders          disinterested directors or committee
                             entitled to vote thereon, and the         members constitute a quorum; or
                             contract or transaction is specifically   (B) the shareholders entitled to vote
                             approved in good faith by vote of the     on the authorization of the contract
                             stockholders; or (3) the contract or      or transaction, and the contract or
                             transaction is fair as to the             transaction is specifically approved in
                             corporation as of the time it is          good faith by a vote of the
                             authorized, approved or ratified, by      shareholders; or (2) the contract or
                             the board of directors, a committee       transaction is fair to the corporation
                             or the stockholders.                      when the contract or transaction is
                                                                       authorized, approved, or ratified by
                                                                       the board of directors, a committee
                                                                       of the board of directors, or the
                                                                       shareholders.
                                                                       The TBOC differs from the DGCL’s
                                                                       interested party transaction statute in
                                                                       that it expressly provides that if at
                                                                       least one of the above conditions is
                                                                       satisfied, neither the corporation nor
                                                                       any of the corporation’s shareholders
                                                                       will have a cause of action against
                                                                       any of the corporation’s directors or
                                                                       officers for breach of duty with
                                                                       respect to the making, authorization,
                                                                       or performance of the contract or
                                                                       transaction because the person had
                                                                       an applicable relationship or interest.
             Limitation of   Under the DGCL, unless the                Under the TBOC, subject to certain
             Liability of    certificate of incorporation otherwise    exceptions, a shareholder’s liability
             Stockholders    provides, the stockholders of a           is limited to its contributed capital.
                             corporation shall not be personally
                             liable for the payment of the
                             corporation’s debts except as they
                             may be liable by reason of their own
                             conduct or acts.




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             Limitation of    Under the DGCL, a Delaware                    Under the TBOC, a Texas corporation
             Personal         corporation is permitted to adopt a           is permitted to provide that a director
             Liability of     provision in its certificate of               is not liable, or is liable only to the
             Directors and    incorporation eliminating or limiting         extent provided by the certificate of
             Officers         the personal liability of a director or       formation, to the corporation or its
                              officer to the corporation or its             shareholders for monetary damages
                              stockholders for monetary damages             for an act or omission by the person
                              for breach of fiduciary duty as a             in the person’s capacity as a director.
                              director or officer, provided that such
                                                                            The TBOC does not, however, permit
                              provision does not eliminate or limit
                                                                            any limitation of the liability of a
                              the liability of: (i) a director or officer
                                                                            director for: (i) a breach of the duty
                              breaching the duty of loyalty to the
                                                                            of loyalty to the corporation or its
                              corporation or its stockholders; (ii) a
                                                                            shareholders; (ii) an act or omission
                              director or officer failing to act in
                                                                            not in good faith that constitutes a
                              good faith, engaging in intentional
                                                                            breach of duty of the person to the
                              misconduct or a knowing violation of
                                                                            corporation or involves intentional
                              law; (iii) a director declaring an
                                                                            misconduct or a knowing violation of
                              illegal dividend or approving an
                                                                            law; (iii) a transaction from which the
                              illegal stock purchase or redemption;
                                                                            director obtains an improper benefit,
                              (iv) a director or officer obtaining an
                                                                            regardless of whether the benefit
                              improper personal benefit from the
                                                                            resulted from an action taken within
                              corporation; or (v) an officer in any
                                                                            the scope of the person’s duties; or
                              action by or in the right of a
                                                                            (iv) an act or omission for which the
                              Delaware corporation.
                                                                            liability of a director is expressly
                                                                            provided by an applicable statute
                                                                            (such as wrongful distributions).
             Considerations   Except for corporations that have             Under the TBOC, in discharging the
             by Directors     opted to become public benefit                duties of director under the TBOC or
             Permitted by     corporations, directors of Delaware           otherwise and in considering the best
             Statute          corporations do not have any express          interests of the corporation, a
                              statutory authority to consider other         director is entitled to consider the
                              constituencies. Delaware case law             long-term and short-term interests of
                              provides that fiduciary duties in most        the corporation and the shareholders
                              circumstances require directors to            of the corporation, including the
                              seek to maximize the value of the             possibility that those interests may
                              corporation for the long-term benefit         be best served by the continued
                              of the stockholders.                          independence of the corporation.
                                                                            In discharging the duties of a director
                                                                            or officer under the TBOC or
                                                                            otherwise, a director or officer of a
                                                                            corporation is entitled to consider
                                                                            any social purpose specified in the
                                                                            corporation’s certificate of formation.
                                                                            In addition, the TBOC provides that
                                                                            nothing in the applicable section
                                                                            thereof prohibits or limits a director
                                                                            or officer of a corporation that does
                                                                            not have a social purpose specified
                                                                            as a purpose in the corporation’s
                                                                            certificate of formation from
                                                                            considering, approving, or taking an
                                                                            action that promotes or has the effect



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                                                                         of promoting a social, charitable, or
                                                                         environmental purpose.
                                                                         Texas also has a public benefit
                                                                         corporation statute.
             Business          Under Delaware law, the corporate         Texas law generally follows the
             Opportunities     opportunity doctrine holds that a         Delaware corporate opportunity
                               corporate officer or director may not     doctrine.
                               generally and unilaterally take a
                                                                         The TBOC permits a Texas entity to
                               business opportunity for his or her
                                                                         renounce, in its certificate of
                               own. Factors to be considered
                                                                         formation or by action of its board of
                               include: (i) whether the corporation is
                                                                         directors, an interest or expectancy
                               financially able to exploit the
                                                                         of the entity in, or an interest or
                               opportunity; (ii) if the opportunity is
                                                                         expectancy of the entity in being
                               within the corporation’s line of
                                                                         offered an opportunity to participate
                               business; (iii) whether the
                                                                         in, specified business opportunities
                               corporation has an interest or
                                                                         or a specified class or category of
                               expectancy in the opportunity; and
                                                                         business opportunities presented to
                               (iv) whether by taking the opportunity
                                                                         the entity or one or more of its
                               for his or her own, the corporate
                                                                         managerial officials or owners.
                               fiduciary will thereby be placed in a
                               position inimical to his duties to the
                               corporation.
                               The DGCL permits a Delaware
                               corporation to renounce, in its
                               certificate of incorporation or by
                               action of the board of directors, any
                               interest or expectancy of the
                               corporation in, or being offered an
                               opportunity to participate in,
                               specified business opportunities or
                               specified classes or categories of
                               business opportunities that are
                               presented to the corporation or one
                               or more of its officers, directors or
                               stockholders.
             Indemnification   Under the DGCL, a Delaware                Under the TBOC, a Texas corporation
             of Directors      corporation is permitted to indemnify     is permitted to indemnify a director,
             and Officers      any person who is a director, officer,    former director, or delegate who was,
                               employee, or agent of the                 is, or is threatened to be made a
                               corporation, or is or was serving at      respondent in a proceeding, against
                               the request of the corporation as a       (i) judgments and (ii) expenses
                               director, officer, employee or agent of   (other than a judgment) reasonably
                               another corporation, partnership,         and actually incurred by the person
                               joint venture, trust or other             in connection with a proceeding if the
                               enterprise, against expenses              person: (a) acted in good faith;
                               (including attorneys’ fees),              (b) reasonably believed, in the case
                               judgments, fines and amounts paid in      of conduct in the person’s official
                               settlement actually and reasonably        capacity, that the person’s conduct
                               incurred by the person in connection      was in the corporation’s best
                               with any threatened, pending or           interests, and in any other case, that
                               completed action, suit or proceeding,     the person’s conduct was not
                               other than an action by or in the right   opposed to the corporation’s best
                               of the corporation, to which such         interests; and (c) in the case of a
                               director, officer, employee or agent      criminal



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                             may be a party or threatened to be          proceeding, did not have a
                             made a party, provided such person          reasonable cause to believe the
                             acted in good faith and in a manner         person’s conduct was unlawful. In
                             the person reasonably believed was          addition, the TBOC permits
                             in or not opposed to the best               indemnification of other persons as
                             interests of the corporation, and in        described in the section entitled
                             the case of a criminal proceeding,          “Persons Covered” below.
                             that he or she had no reasonable
                                                                         If, however, the person is found
                             cause to believe his or her conduct
                                                                         liable to a Texas corporation, or is
                             was unlawful.
                                                                         found liable on the basis he or she
                             In connection with any threatened,          received an improper personal
                             pending or completed action by or in        benefit, then indemnification under
                             the right of the corporation involving      the TBOC is limited to the
                             a person who is or was a director,          reimbursement of reasonable
                             officer, employee or agent, or is or        expenses actually incurred in
                             was serving at the request of the           connection with the proceeding, and
                             corporation as a director, officer,         which excludes a judgment, a
                             employee or agent of another                penalty, a fine, and an excise or
                             corporation, partnership, joint             similar tax, including an excise tax
                             venture, trust or other enterprise, a       assessed against the person with
                             Delaware corporation has the power          respect to an employee benefit plan.
                             to indemnify such a person who is a         Furthermore, no indemnification will
                             party or is threatened to be made a         be available if the person is found
                             party for expenses (including               liable for: (i) willful or intentional
                             attorneys’ fees) actually and               misconduct in the performance of the
                             reasonably incurred in connection           person’s duty to the corporation;
                             with the defense or settlement of           (ii) breach of the person’s duty of
                             such action or suit: (i) if such person     loyalty owed to the corporation; or
                             acted in good faith and in a manner         (iii) an act or omission not committed
                             the person reasonably believed to be        in good faith that constitutes a
                             in or not opposed to the best               breach of a duty owed by the person
                             interests of the corporation; and (ii) if   to the corporation.
                             such person is found liable to the
                             corporation, only to the extent the
                             Court of Chancery or the court in
                             which such action or suit was
                             brought determined that in view of all
                             the circumstances of the case, such
                             person is fairly and reasonably
                             entitled to indemnity for such
                             expenses which the Court of
                             Chancery or such other court shall
                             deem proper. This is not exclusive of
                             any other indemnification rights,
                             which may be granted by a Delaware
                             corporation to its directors, officers,
                             employees or agents.
             Advancement     Expenses (including attorneys’ fees)        A corporation may pay or reimburse
             of Expenses     incurred by an officer or director of       reasonable expenses incurred by a
                             the corporation in defending any            present director or officer who was,
                             civil, criminal, administrative or          is, or is threatened to be made a
                             investigative action, suit or               respondent in a proceeding in
                             proceeding may be paid by the               advance of the final disposition of the



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                               corporation in advance of the final      proceeding without making the
                               disposition of such action, suit or      determinations required for
                               proceeding upon receipt of an            permissive indemnification after the
                               undertaking by or on behalf of such      corporation receives: (1) a written
                               director or officer to repay such        affirmation by the person of the
                               amount if it shall ultimately be         person’s good faith belief that the
                               determined that such person is not       person has met the standard of
                               entitled to be indemnified by the        conduct necessary for
                               corporation as authorized in this        indemnification; and (2) a written
                               section.                                 undertaking by or on behalf of the
                                                                        person to repay the amount paid or
                                                                        reimbursed if the final determination
                                                                        is that the person has not met that
                                                                        standard or that indemnification is
                                                                        prohibited by the TBOC.
             Procedure for     Under the DGCL, a determination          Under the TBOC, a determination
             Indemnification   that indemnification of a director or    that indemnification is appropriate
                               officer is appropriate generally must    generally must be made: (i) by a
                               be made: (i) by a majority vote of       majority vote of the directors who, at
                               directors who are not party to the       the time of the vote, are disinterested
                               proceeding, even though less than a      and independent, regardless of
                               quorum; (ii) by a committee of such      whether such directors constitute a
                               directors designated by majority vote    quorum; (ii) by a majority vote of a
                               of such directors, even though less      special committee of the board of
                               than a quorum; (iii) if there are no     directors if the committee is
                               such directors or if such directors so   designated by a majority vote of the
                               direct, by independent legal counsel     directors who at the time of the vote
                               in a written opinion; or (iv) by         are disinterested and independent,
                               stockholder vote.                        regardless of whether such directors
                                                                        constitute a quorum, and is
                                                                        composed solely of one or more
                                                                        directors who are disinterested and
                                                                        independent; (iii) by special legal
                                                                        counsel selected by majority vote
                                                                        under (i) or (ii) above; (iv) by the
                                                                        shareholders in a vote that excludes
                                                                        those shares held by directors who,
                                                                        at the time of the vote, are not
                                                                        disinterested and independent; or
                                                                        (v) by a unanimous vote of the
                                                                        shareholders of the corporation.
             Mandatory         The DGCL requires indemnification        The TBOC requires indemnification
             Indemnification   for expenses (including attorneys’       for reasonable expenses actually
                               fees) actually and reasonably            incurred only if the director is wholly
                               incurred with respect to any claim,      successful on the merits or
                               issue or matter on which the director    otherwise, in the defense of the
                               or officer is successful on the merits   proceeding.
                               or otherwise, in the defense of the
                               proceeding.
             Persons           Under the DGCL, directors and            The TBOC generally provides that a
             Covered           officers, but not employees and          corporation may indemnify and
                               agents, are entitled to mandatory        advance expenses to a person who
                               indemnification for expenses incurred    is not a director, including an officer,


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                                when successful on the merits or           employee or agent, as provided by:
                                otherwise in defense of litigation.        (1) the corporation’s governing
                                Other than in that instance, the           documents; (2) general or specific
                                DGCL provides the same                     action of the corporation’s board of
                                indemnification rights to officers,        directors; (3) resolution of the
                                employees and agents that it               shareholders; (4) contract; or
                                provides for directors.                    (5) common law. A corporation must
                                                                           indemnify an officer to the same
                                                                           extent that indemnification is
                                                                           required under the TBOC for a
                                                                           director. A determination of
                                                                           indemnification for a person who is
                                                                           not a director of a corporation,
                                                                           including an officer, employee, or
                                                                           agent, is not required to be made in
                                                                           accordance with the procedures set
                                                                           out in the relevant sections of the
                                                                           TBOC.
             Rights Plans       Delaware has no statutory                  Texas case law has generally upheld
                                authorization for stockholder rights       shareholder rights plans, but
                                plans. Adoption of stockholder rights      indicates that rights plans will be
                                plans is viewed as a defensive action      scrutinized for validity at the time of
                                and is subject to enhanced scrutiny        adoption and for continued validity in
                                by the Delaware courts, with the           the face of changing circumstances.
                                burden initially on the board of
                                                                           In addition, the TBOC expressly
                                directors to demonstrate that the
                                                                           permits directors to look to the
                                adoption of the rights plan is
                                                                           “long-term” benefit to shareholders in
                                reasonable in response to a
                                                                           taking action.
                                reasonably identified threat posed.
             Selection of       Under the DGCL, a Delaware                 Under the TBOC, the governing
             Forum              corporation’s certificate of               documents of a Texas entity may
                                incorporation or bylaws may require,       require, consistent with applicable
                                consistent with applicable                 state and federal jurisdictional
                                jurisdictional requirements, that any      requirements, that any internal entity
                                or all internal corporate claims shall     claims shall be brought only in a
                                be brought solely and exclusively in       court in Texas.
                                any or all of the courts in Delaware,
                                                                           “Internal entity claim” means a claim
                                and no provision of a Delaware
                                                                           of any nature, including a derivative
                                corporation’s certificate of
                                                                           claim in the right of an entity, that is
                                incorporation or bylaws may prohibit
                                                                           based on, arises from, or relates to
                                bringing such claims in the courts of
                                                                           the internal affairs of the entity.
                                Delaware.
                                                                           Internal affairs include the rights,
                                “Internal corporate claims” means          powers, and duties of the entity’s
                                claims, including claims in the right      governing persons, officers, owners,
                                of the corporation, (i) that are based     and members, and matters relating to
                                upon a violation of a duty by a            the entity’s membership or ownership
                                current or former director or officer or   interests.
                                stockholder in such capacity; or
                                (ii) as to which this title confers
                                jurisdiction upon the Delaware Court.
             Pre-Suit           Under Delaware court rules and case        Texas is a universal demand
             Demand in          law, in order for a stockholder to         jurisdiction. Under the TBOC, the
             Derivative Suits   commence a derivative action on            focus is on harm to the corporation
                                behalf of the corporation, the             rather than the Delaware standard of



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                              stockholder must: (1) make a              futility. A shareholder may not
                              demand on the company’s board of          institute a derivative proceeding until
                              directors; or (2) show that demand        the 91st day after the date a written
                              would be futile. Demand will be           demand is filed with the corporation
                              deemed futile if at least half the        stating with particularity the act,
                              members of the board: (1) received a      omission, or other matter that is the
                              material personal benefit from the        subject of the claim or challenge and
                              alleged misconduct that is the            requesting that the corporation take
                              subject of the litigation demand;         suitable action.
                              (2) faces a substantial likelihood of
                                                                        The foregoing waiting period is not
                              liability on any of the claims that
                                                                        required or, if applicable, shall
                              would be the subject of the litigation
                                                                        terminate if: (1) the shareholder has
                              demand; and (3) lacks independence
                                                                        been notified that the demand has
                              from someone who received a
                                                                        been rejected by the corporation;
                              material personal benefit from the
                                                                        (2) the corporation is suffering
                              alleged misconduct that would be the
                                                                        irreparable injury; or (3) irreparable
                              subject of the litigation demand or
                                                                        injury to the corporation would result
                              who would face a substantial
                                                                        by waiting for the expiration of the
                              likelihood of liability on any of the
                                                                        90-day period.
                              claims that are the subject of the
                              litigation demand.
             Stock            Under the DGCL, subject to limited        Under the TBOC, a shareholder may
             Ownership        exceptions, a stockholder may not         not institute or maintain a derivative
             Requirement      institute or maintain a derivative suit   proceeding unless: (1) the
             for Derivative   unless the plaintiff was a stockholder    shareholder was a shareholder of the
             Suits; Jury      of the corporation at the time of the     corporation at the time of the
             Trials           transaction of which such stockholder     transaction in question, or became a
                              complains or that such stockholder’s      shareholder by operation of law
                              stock thereafter devolved upon such       originating from a person that was a
                              stockholder by operation of law.          shareholder at the time of the
                                                                        transaction in question; and (2) the
                              Jury trials are generally not available
                                                                        shareholder fairly and adequately
                              in the Delaware Court, which is the
                                                                        represents the interests of the
                              Court in which stockholder suits
                                                                        corporation in enforcing the right of
                              relating to the internal affairs of a
                                                                        the corporation.
                              Delaware corporation must be filed.
                                                                        Under Texas law, in civil cases, a
                                                                        party generally has a right to a jury
                                                                        trial to determine questions of fact if
                                                                        the party timely demands a jury and
                                                                        pays the jury fee.
             Dissent and      Under the DGCL, a stockholder of a        Under the TBOC, except for the
             Appraisal        corporation that is a constituent in a    limited classes of mergers,
             Rights           merger, consolidation, conversion,        consolidations, sales and asset
                              domestication, transfer, or               dispositions for which no shareholder
                              continuance may, under certain            approval is required under Texas law,
                              circumstances, be entitled to             shareholders of Texas corporations
                              appraisal rights pursuant to which        with voting rights have dissenters’
                              the stockholder may receive cash in       rights in the event of a merger,
                              the amount of the fair market value       consolidation, interest exchange,
                              of their shares as determined by the      conversion, sale, lease, exchange or
                              Delaware Court.                           other disposition of all, or
                                                                        substantially all, the property and
                              Under the DGCL, stockholders have
                                                                        assets of the corporation. However, a
                              no appraisal rights in the event of a
                                                                        shareholder of a Texas corporation
                              merger, consolidation, conversion,



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                             domestication, transfer or                has no dissenters’ rights with respect
                             continuance if (i) prior to the           to any plan of merger or conversion
                             effective time of the transaction the     in which there is a single surviving or
                             stock of the corporation is listed on a   new domestic or foreign corporation,
                             national securities exchange or is        or with respect to any plan of
                             held of record by more than 2,000         exchange if: (1) the ownership
                             stockholders, and (ii) in the merger,     interest, or a depository receipt in
                             consolidation conversion,                 respect of the ownership interest,
                             domestication, transfer or                held by the owner is part of a class
                             continuance they receive solely           or series of ownership interests, or
                             shares of stock of the surviving          depository receipts in respect of
                             corporation or entity or of any other     ownership interests, that are, on the
                             corporation which shares at the           record date set for purposes of
                             effective date of the merger or           determining which owners are
                             consolidation will be either listed on    entitled to vote on the plan of
                             a national securities exchange or         merger, conversion, or exchange, as
                             held of record by more than 2,000         appropriate: (A) listed on a national
                             stockholders.                             securities exchange; or (B) held of
                                                                       record by at least 2,000 owners;
                                                                       (2) the owner is not required by the
                                                                       terms of the plan of merger,
                                                                       conversion, or exchange, as
                                                                       appropriate, to accept for the owner’s
                                                                       ownership interest any consideration
                                                                       that is different from the
                                                                       consideration to be provided to any
                                                                       other holder of an ownership interest
                                                                       of the same class or series as the
                                                                       ownership interest held by the owner,
                                                                       other than cash instead of fractional
                                                                       shares or interests the owner would
                                                                       otherwise be entitled to receive; and
                                                                       (3) the owner is not required by the
                                                                       terms of the plan of merger,
                                                                       conversion, or exchange, as
                                                                       appropriate, to accept for the owner’s
                                                                       ownership interest any consideration
                                                                       other than: (A) ownership interests,
                                                                       or depository receipts in respect of
                                                                       ownership interests, of another entity
                                                                       of the same general organizational
                                                                       type that, immediately after the
                                                                       effective date of the merger,
                                                                       conversion, or exchange, as
                                                                       appropriate, will be part of a class or
                                                                       series of ownership interests, or
                                                                       depository receipts in respect of
                                                                       ownership interests, that are:
                                                                       (i) listed on a national securities
                                                                       exchange or authorized for listing on
                                                                       the exchange on official notice of
                                                                       issuance; or (ii) held of record by at
                                                                       least 2,000 owners; (B) cash instead
                                                                       of fractional



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             ISSUE                              DELAWARE                                    TEXAS
                                                                           ownership interests the owner would
                                                                           otherwise be entitled to receive; or
                                                                           (C) any combination of the ownership
                                                                           interests and cash above.
                                                                           Under the TBOC, an owner of an
                                                                           ownership interest in a Texas
                                                                           domestic entity subject to dissenters’
                                                                           rights is entitled to dissent from an
                                                                           amendment to a Texas for-profit
                                                                           corporation’s certificate of formation
                                                                           to add required provisions to elect to
                                                                           be a public benefit corporation or
                                                                           delete required provisions, which in
                                                                           effect cancels the corporation’s
                                                                           election to be a public benefit
                                                                           corporation if the owner owns shares
                                                                           that were entitled to vote on the
                                                                           amendment; except if the shares held
                                                                           by the owner are part of a class or
                                                                           series of shares listed on a national
                                                                           securities exchange; or held of
                                                                           record by at least 2,000 owners.

             Franchise Tax Savings and Filing Fees
             The Company’s current status as a Delaware corporation physically located in Texas requires
             the Company to comply with franchise tax obligations in both Delaware and Texas. For the most
             recent franchise tax period, the Company paid approximately $250,000 in franchise taxes to the
             state of Delaware, which will no longer be required to be paid if the Texas Redomestication is
             completed. The Company’s Texas tax obligations will not change as a result of the Texas
             Redomestication, except potentially with respect to the calculation of gross income with respect
             to any future repurchases of the Company’s debt at a discount. Accordingly, the Texas
             Redomestication will result in a net savings by the Company of approximately $250,000
             annually.
             The annual filing fees to qualify as a foreign jurisdiction in either jurisdiction are immaterial, and
             there are certain immaterial fees associated with effecting the Texas Redomestication via
             conversion.

             What Doesn’t Change After Texas Redomestication?
             Apart from being governed by the Texas Charter, Texas Bylaws and the TBOC, following
             completion of the Texas Redomestication, the Company will continue to exist in the form of a
             Texas corporation and cease to exist as a Delaware corporation. By virtue of the Texas
             Redomestication, the Texas Corporation will be a continuation of the Delaware Corporation and
             all of the rights, privileges, and powers of the Delaware Corporation, and all property, real,
             personal, and mixed, and all debts due to the Delaware Corporation, as well as all other things
             and causes of action belonging to the Delaware Corporation, will remain vested in the Texas
             Corporation and will be the property of the Texas Corporation, and the title to any real property
             vested by deed or otherwise in the Delaware Corporation will not revert or be in any way
             impaired by reason of the Texas Redomestication, but all rights of creditors and all liens upon
             any property of the Delaware Corporation will be preserved unimpaired. In addition, all debts,
             liabilities, and duties of the Delaware Corporation will remain attached to the Texas Corporation
             and may be enforced against the Texas Corporation to the same extent as if said debts,
             liabilities and duties had originally been incurred or contracted by it in its capacity as the Texas
             Corporation. The rights, privileges, powers and interest in property of the Delaware Corporation,
             as well as the debts, liabilities and duties of the Delaware Corporation, will not be deemed, as a
             consequence of the Texas Redomestication, to have been transferred to the Texas Corporation
             for any purpose of the laws of the State of Delaware.


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             The conversion of the Delaware Corporation into the Texas Corporation and the resulting
             cessation of the Company’s existence as a corporation of Delaware will not affect any
             obligations or liabilities of the Company incurred prior to the conversion or the personal liability
             of any person incurred prior to the conversion, nor will it affect the choice of law applicable to
             the Company with respect to matters arising prior to the conversion.
             No Change in Business, Jobs or Physical Location
             The Texas Redomestication will not result in any change in business, jobs, management,
             properties, location of any of our offices or facilities, number of employees, obligations, assets,
             liabilities or net worth (other than as a result of the costs related to the Texas Redomestication
             ). We intend to maintain our corporate headquarters in Texas.
             Our management, including all directors and officers, will remain the same in connection with
             the Texas Redomestication and will have identical positions with the Texas Corporation. To the
             extent that the Texas Redomestication will require the consent or waiver of a third party, the
             Company will use commercially reasonable effects to obtain such consent or waiver before
             completing the Texas Redomestication. The Company does not expect that any such required
             consent will impede its ability to redomesticate to Texas. The Texas Redomestication will not
             otherwise adversely affect any of the Company’s material contracts with any third parties and
             the Company’s rights and obligations under such material contractual arrangements will
             continue as rights and obligations of the Texas Corporation.
             No Securities Act Consequences
             We will continue to be a publicly held company following completion of the Texas
             Redomestication, and our common stock will continue to be listed on The Nasdaq Global Select
             Market and traded under the symbol “TSLA.” We will continue to file required periodic reports
             and other documents with the SEC. We do not expect there to be any interruption in the trading
             of our common stock as a result of the Texas Redomestication. We and our shareholders will be
             in the same respective positions under the federal securities laws after the Texas
             Redomestication as we and our stockholders were prior to the Texas Redomestication.
             No Material Accounting Implications
             Effecting the Texas Redomestication will not have any material adverse accounting implications.

             No Exchange of Stock Certificates Required
             Stockholders will not have to exchange their existing stock certificates for new stock certificates.
             At the Effective Time, each outstanding share of Delaware Corporation Common Stock will
             automatically be converted into one share of Texas Corporation Common Stock, and your stock
             certificates will represent the same number of shares of the Texas corporation as they
             represented of the Delaware corporation. If you hold physical stock certificates, you do not have
             to exchange your existing stock certificates of the Company for stock certificates of the Texas
             Corporation; however, after the Texas Redomestication, any shareholder desiring a new stock
             certificate may submit the existing stock certificate to Computershare Trust Company, N.A., the
             Company’s transfer agent, for cancellation and obtain a new certificate by contacting
             Computershare Trust Company, N.A. at 800-662-7232.
             All of the Company’s obligations under the Company’s equity compensation plans will be
             obligations of the Texas Corporation. Each outstanding option to purchase shares of Delaware
             Corporation Common Stock under these plans will be converted into an option to purchase an
             equal number of shares of the Texas Corporation Common Stock on the same terms and
             conditions as in effect immediately prior to the Texas Redomestication. Each other stock award
             will be converted to an equivalent award with the same terms issued by the Texas Corporation.
             Certain Federal Income Tax Consequences
             We believe that for federal income tax purposes no gain or loss will be recognized by the
             Company, the Texas Corporation, or the stockholders of the Company who receive the Texas
             Corporation


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             Common Stock for their Delaware Corporation Common Stock in connection with the Texas
             Redomestication. The aggregate tax basis of the Texas Corporation Common Stock received by
             a stockholder of the Company as a result of the Texas Redomestication will be the same as the
             aggregate tax basis of the Delaware Corporation Common Stock converted into that Texas
             Corporation Common Stock held by that stockholder as a capital asset at the time of the Texas
             Redomestication. Each stockholder’s holding period of the Texas Corporation Common Stock
             received in the Texas Redomestication will include the holding period of the common stock
             converted into that Texas Corporation Common Stock, provided the shares are held by such
             stockholder as a capital asset at the time of the Texas Redomestication.
             This Proxy Statement only discusses U.S. federal income tax consequences and has done so
             only for general information. It does not address all of the U.S. federal income tax
             consequences that may be relevant to particular stockholders based upon individual
             circumstances or to stockholders who are subject to special rules, such as financial institutions,
             tax-exempt organizations, insurance companies, dealers in securities, stockholders who hold
             their stock through a partnership or as part of a straddle or other derivative arrangement,
             foreign holders or holders who acquired their shares as compensation, whether through
             employee stock options or otherwise. This Proxy Statement does not address the tax
             consequences under state, local or foreign laws. State, local or foreign income tax
             consequences to stockholders may vary from the federal income tax consequences described
             above, and stockholders are urged to consult their own tax advisors as to the consequences to
             them of the Texas Redomestication under all applicable tax laws.
             This discussion is based on the U.S. Internal Revenue Code (the “ Tax Code ”) , applicable
             Treasury Regulations, judicial authority and administrative rulings and practice, all in effect as of
             the date of this Proxy Statement, all of which are subject to differing interpretations and change,
             possibly with retroactive effect. The Company has neither requested nor received a tax opinion
             from legal counsel or rulings from the Internal Revenue Service regarding the consequences of
             the Reincorporation. There can be no assurance that future legislation, regulations,
             administrative rulings or court decisions would not alter the consequences discussed above.
             You should consult your own tax advisor to determine the particular tax consequences to
             you of the Texas Redomestication, including the applicability and effect of U.S. federal,
             state, local, foreign and other tax laws.

             Additional Information
             Regulatory Matters
             In connection with the Texas Redomestication, the Company intends to make filings with the
             Secretary of State of Texas and the Secretary of State of Delaware, and does not anticipate
             making any other filings to effect the Texas Redomestication. Nonetheless, we may face legal
             challenges to the Texas Redomestication, including, among others, stockholder challenges
             under Delaware law, arising from the Texas Redomestication.
             No Appraisal Rights
             Under the DGCL, holders of our common stock are not entitled to appraisal rights with respect
             to the Texas Redomestication described in this proposal. We have no holders of preferred stock.

             Interest of Certain Persons
             The Special Committee has found that the corporate laws of the state of Delaware and the state
             of Texas are substantially equivalent, at least on net (i.e., balancing relevant considerations
             against one another) and as relevant to the Company. As described in the Special Committee
             Report, the Special Committee expressly considered whether incorporating in Texas would
             convey any non-ratable benefits on any of Tesla’s directors or officers, including Mr. Musk. Its
             process did not identify any such non-ratable benefits. However, others may allege, and
             stockholders should be aware in voting on the Texas Redomestication Proposal, that our
             directors and executive officers may be considered to have interests in the transaction that are
             different from, or in addition to, the interests of the stockholders generally. The Special
             Committee and the Board have considered


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             these interests, among other matters, in reaching the Special Committee’s decision to
             recommend the Texas Redomestication and the Board’s decision to approve the Texas
             Redomestication and to recommend that our stockholders vote in favor of this proposal.
             While the Texas Redomestication itself will have no impact on the outcome of Proposal Four, nor
             is it expected to directly impact the compensation of any of our directors or executive officers,
             Mr. Musk has publicly expressed his personal view in support of the Texas Redomestication. In
             addition, it may be alleged that Mr. Musk and Kimbal Musk may have an interest in the Texas
             Redomestication by virtue of future decisions about compensation and the fact that such
             compensation decisions would be governed by Texas law. Further, it may be alleged that the
             independent directors of the Board (other than Ms. Wilson-Thompson) have personal or
             business relationships with Mr. Musk or Kimbal Musk such that they are not disinterested in all
             respects due to such relationships with Mr. Musk and Kimbal Musk and the interest of Mr. Musk
             and Kimbal Musk in the Texas Redomestication. The Company cautions that such allegations
             have been made in the past and may be made in connection with this proposal, and cautions
             stockholders to take such allegations into account in deciding how to vote on the Texas
             Redomestication Proposal.

             Disclosure of Committee Advisors
             In order to assist the Special Committee in its work, the Special Committee retained multiple
             advisors. After the Special Committee conducted interviews with multiple law firms, the Special
             Committee retained Sidley as its legal counsel. The Special Committee also determined that it
             would benefit from being advised by Delaware counsel, a corporate law and governance expert
             and an investment bank. For each role, Sidley assessed multiple leading candidates, with a
             focus on both quality and independence. Sidley recommended and the Special Committee
             retained the following additional advisors: (i) Abrams & Bayliss LLP, as Delaware counsel,
             (ii) Professor Anthony Casey of the University of Chicago Law School, as corporate law and
             governance expert and (iii) Houlihan as its financial advisor. The Special Committee determined
             that each of its advisors is independent. For additional information, see the Special Committee
             Report.

             Conclusion
             After careful review of all of the factors, taken together, the Special Committee and the Board
             believe that the Texas Redomestication is in the best interests of the Company and all of its
             stockholders, and the Board recommends that stockholders vote “FOR” the Texas
             Redomestication.

             Effect of Not Obtaining the Required Vote for Approval
             If the Texas Redomestication Proposal fails to obtain the requisite vote for approval, the Texas
             Redomestication will not be consummated, and the Company’s domicile will be unchanged by
             this vote.

             Required Vote
             We ask our stockholders to approve the Texas Redomestication and the adoption of the Texas
             Redomestication Resolution. This proposal to approve the Texas Redomestication and the
             adoption of the Texas Redomestication Resolution requires the following votes of Tesla’s
             stockholders:
                    (1) the affirmative vote of a majority of the outstanding shares of stock of Tesla entitled to
                        vote thereon (the “ Conversion Standard ”),
                        and
                    (2) in addition to the Statutory Standard, the affirmative vote of a majority of the voting
                        power of the shares of Tesla stock not owned, directly or indirectly, by Mr. Musk or
                        Kimbal Musk, present in person or represented by proxy and entitled to vote thereon
                        (the “ Conversion Disinterested Standard ”).



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             With respect to approval of the Texas Redomestication and the adoption of the Texas
             Redomestication Resolution, you may vote “FOR”, “AGAINST” or “ABSTAIN.” Abstentions will
             only be counted toward the tabulations of voting power present and entitled to vote on the Texas
             Redomestication proposal for the Conversion Disinterested Standard and will have the same
             effect as votes against the proposal for both the Conversion Standard and the Conversion
             Disinterested Standard. Brokers do not have discretion to vote on the proposal to approve the
             Texas Redomestication. Broker non-votes will have the same effect as votes against the
             proposal for purposes of the Conversion Standard and will have no effect on the Conversion
             Disinterested Standard.




                             The Board (with Mr. Musk and Kimbal Musk recusing themselves)
                                recommends that stockholders vote FOR the approval of the
                            redomestication of Tesla from Delaware to Texas by conversion and
                              the adoption of the Texas redomestication resolution and plan of
                                                         conversion.




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             Proposal Four
             Tesla Proposal to Ratify the 100% Performance-Based Stock
             Option Award to Elon Musk That Was Proposed to and Approved
             By Our Stockholders in 2018
             Following the recommendations of the Special Committee, the Board, with Mr. Musk and Kimbal
             Musk recusing themselves, has determined to seek ratification by stockholders of the 2018 CEO
             Performance Award (such ratification of the 2018 CEO Performance Award, whether under
             common law or under Section 204 of the DGCL, the “ Ratification ”), and determined that the
             Ratification is in the best interests of the Company and its stockholders, and recommends that
             our stockholders vote to ratify the 2018 CEO Performance Award at the 2024 Annual Meeting.
             The Ratification is being sought for any purpose permitted under Delaware law, including but not
             limited to Delaware common law and Delaware statutory provisions such as Section 204 of the
             DGCL. For purposes of your consideration of the Ratification, you should consider all of the
             facts disclosed in this proposal as pertinent to your vote on Ratification, including but not limited
             to the conclusions reached by the Delaware Court described herein.

             Principal Terms of the 2018 CEO Performance Award To Be Ratified
             Under the 2018 CEO Performance Award, which is attached as Annex H , Mr. Musk was entitled
             to receive no salary, no cash bonuses, and no equity that would vest simply by the passage of
             time, all of which are standard methods for compensating executives of U.S. public companies.
             Instead, Mr. Musk’s only opportunity to be compensated for his effort, dedication and
             achievements on behalf of Tesla was a 100% at-risk performance award, consisting exclusively
             of stock options with tranches that would vest only if certain specified milestones were met,
             each of which required Tesla to achieve both a market capitalization milestone and an
             operational milestone, as described below. Additionally, Mr. Musk was required to hold shares
             that he acquired upon exercise of the 2018 CEO Performance Award for a period of five years
             after he exercised the underlying options — not just for a five year period after such options
             vested.
                    • For the first tranche, Tesla’s market capitalization was required to increase to $100 billion
                      and the Company needed to meet an additional operational milestone. Each subsequent
                      tranche required not only that Tesla’s market capitalization increase by additional
                      $50 billion increments — up to a total of $650 billion — (each, a “ Market Capitalization
                      Milestone ”) but also that Tesla was required to achieve a series of previously unmet
                      operational milestones (each, an “ Operational Milestone ”).
                    • The 2018 CEO Performance Award consisted of a 10-year grant of stock options with 12
                      potential vesting tranches, and was designed to help drive Tesla towards exceptional
                      execution on both a top-line and bottom-line basis.




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                    • For each tranche in which both milestones were achieved under the 2018 CEO
                      Performance Award, Mr. Musk would vest in a number of stock options that corresponded
                      to approximately 1% of Tesla’s total outstanding shares of common stock, based on the
                      shares of Tesla’s common stock outstanding at the time of the approval of the 2018 CEO
                      Performance Award. The 2018 CEO Performance Award was intended to further align
                      Mr. Musk’s incentives with stockholder returns by requiring that Mr. Musk continue to hold
                      any shares acquired through exercise of the stock options for a further five years after the
                      option is exercised (not just for a five year period after the option vested), meaning that
                      Mr. Musk was not only incentivized to achieve remarkable results to earn his incentive
                      awards but he was also incentivized to continue to improve those results to ultimately
                      realize value from these awards.
             The following table provides details regarding how the 2018 CEO Performance Award would
             vest over the 12 tranches and the milestone requirements for each tranche to vest.




             Overview of the 2018 CEO Performance Award
             Below is an overview of the 2018 CEO Performance Award as it was adopted in 2018. Where
             appropriate, the discussion below provides updated information regarding share numbers and
             dates, in particular in light of intervening stock splits and Mr. Musk’s achievement of the Market
             Capitalization Milestones and Operational Milestones. See Annex H for a copy of the 2018 CEO
             Performance Award agreement. In addition, see “ Compensation Discussion & Analysis ”
             elsewhere in this Proxy Statement for additional information.




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             Award Terms                  Details
             2018 CEO Performance         Total size: 12% of total outstanding shares of our common
             Award Value                  stock as of January 19, 2018, the last trading day prior to the
                                          grant date of January 21, 2018 (approximately 20.3 million
                                          option shares equivalent to 303,960,630 shares of our common
                                          stock today after giving effect to stock splits).
                                          Number of Vesting Tranches: 12 tranches; 1% of total
                                          outstanding shares of our common stock as of January 19,
                                          2018 per tranche. The present intrinsic value of the 2018 CEO
                                          Performance Award is $44.9 billion (based on the closing price
                                          of Tesla common stock on April 12, 2024).
             Equity Type                  Nonqualified stock options.
             Exercise Price               Fair Market Value (FMV) of Tesla common stock on the grant
                                          date of January 21, 2018, which was $350.02 per share of our
                                          common stock (based on the closing price on January 19,
                                          2018, the last trading day prior to the grant date). Equivalent
                                          to $23.34 per share of our common stock today after giving
                                          effect to stock splits.
             Award Vesting / Milestones   Market Capitalization Milestones
                                          a.   12 Market Capitalization Milestones.
                                          b.   First tranche milestone was a market capitalization of
                                               $100 billion (representing an increase of approximately
                                               $40.9 billion over the Company’s market capitalization of
                                               approximately $59.1 billion on January 19, 2018); each
                                               tranche thereafter required an additional $50 billion in
                                               market capitalization for such tranche to vest, up to
                                               $650 billion market capitalization for the last tranche.
                                          c.   Sustained market capitalization was required for each
                                               Market Capitalization Milestone to be met, other than in a
                                               change in control situation. Specifically, there were two
                                               prongs that needed to be met to achieve a given Market
                                               Capitalization Milestone:

                                               • Six-calendar-month trailing average (based on trading
                                                 days); and
                                               • 30 calendar day trailing average (based on trading days).
                                          Operational Milestones
                                          a.   16 Operational Milestones, of which at least 12 of which
                                               may be paired with Market Capitalization Milestones for all
                                               tranches to vest.
                                          b.   Two types of Operational Milestones:




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                                                 Eight focused on revenue:          Eight focused on profitability:
                                                        Total Revenue*                   Adjusted EBITDA**
                                                         (in billions)                      (in billions)
                                                           $ 20.0                               $ 1.5
                                                           $ 35.0                               $ 3.0
                                                           $ 55.0                               $ 4.5
                                                           $ 75.0                               $ 6.0
                                                           $ 100.0                              $ 8.0
                                                           $ 125.0                              $ 10.0
                                                           $ 150.0                              $ 12.0
                                                           $ 175.0                              $ 14.0
                                              * As used in this proposal, “ Revenue ” means total Tesla
                                              revenues as reported in our financial statements on Forms
                                              10-Q or 10-K filed with the SEC for the previous four
                                              consecutive fiscal quarters.
                                              ** As used in this proposal, “ Adjusted EBITDA ” means net
                                              (loss) income attributable to common stockholders before
                                              (i) interest expense, (ii) (benefit) provision for income taxes,
                                              (iii) depreciation and amortization, and (iv) stock-based
                                              compensation, as each such item is reported in our financial
                                              statements on Forms 10-Q or 10-K filed with the SEC for the
                                              previous four consecutive fiscal quarters.
                                            Vesting
                                            Each of the 12 tranches vested only when both a Market
                                            Capitalization Milestone and an Operational Milestone were
                                            certified by the Board as having been met.
                                            Any one of the 16 Operational Milestones could be matched
                                            with any one of the 12 Market Capitalization Milestones, but
                                            any single Operational Milestone could only satisfy the vesting
                                            requirement for one tranche.

                                            A Market Capitalization Milestone and an Operational
                                            Milestone that were matched together could be achieved at
                                            different points in time and vesting would occur at the later of
                                            the achievement certification dates for such Market
                                            Capitalization Milestone and Operational Milestone. Subject to
                                            any applicable clawback provisions, policies or other forfeiture
                                            terms, once a milestone was achieved, it was forever deemed
                                            achieved for determining the vesting of a tranche.
             Term of 2018 CEO               Ten years.
             Performance Award
             Post-Termination of            One year.
             Employment Exercise Period
             Post-Exercise Holding Period   Five years following the exercise (not vesting) of the stock
                                            options, to further align Mr. Musk’s interests with Tesla
                                            stockholders’ interests following option exercise.




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             Employment Requirement       Vesting eligibility contingent upon being:
             For Continued Vesting          1.   Chief Executive Officer; or
                                            2.   Executive Chairman and Chief Product Officer.
                                          Extended exercise period : If Mr. Musk was still employed at
                                          Tesla in a role other than the specified roles above, he would
                                          have no longer been able to vest under the 2018 CEO
                                          Performance Award but, for so long as Mr. Musk continued as
                                          an employee of Tesla, any vested and unexercised portion of
                                          the option may be exercised for the full term of the 2018 CEO
                                          Performance Award.
             Termination of Employment    No acceleration of vesting upon termination of employment,
                                          death or disability.
             Change in Control of Tesla   No automatic acceleration of vesting upon a change in control
                                          of Tesla, but in a change in control situation the achievement
                                          of the milestones would have been based solely on the Market
                                          Capitalization Milestones, measured at the time of such
                                          change in control without regard to the six-calendar-month and
                                          30-calendar-day trailing averages of Tesla’s stock price. In
                                          other words, upon a change in control where Tesla was
                                          acquired, vesting of milestones under the 2018 CEO
                                          Performance Award would not have required the achievement
                                          of a matching Operational Milestone.
                                          The treatment of the 2018 CEO Performance Award upon a
                                          change in control was intended to align Mr. Musk’s interests
                                          with Tesla’s other stockholders with respect to evaluating
                                          potential takeover offers.
             Exercise Methods /           Exercise Methods:
             Requirements
                                            1.   Cashless: sufficient shares to cover exercise prices and
                                                 taxes are simultaneously sold upon exercise of options;
                                                 and
                                            2.   Cash: exercise price is paid in cash upon exercise of
                                                 options.
             Clawback                     Vesting of the 2018 CEO Performance Award subject to a
                                          clawback in the event financial statements are restated in a
                                          way that a tranche would not have otherwise vested.
             Market Capitalization and    Market Capitalization and Operational Milestone targets would
             Operational Milestone        be adjusted higher to account for acquisition activity that could
             Adjustments                  be considered material to the achievement of the milestones.
                                          Market Capitalization and Operational Milestone targets would
                                          be adjusted lower to account for split-up, spin-off or divestiture
                                          activity that could be considered material to the achievement
                                          of the milestones.




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             Material Terms of the 2018 CEO Performance Award
             2018 CEO Performance Award Value . The total number of shares of Tesla common stock
             underlying the 2018 CEO Performance Award was 20,264,042 (equivalent to 303,960,630
             shares of our common stock today after giving effect to stock splits), divided equally among 12
             separate tranches of options to purchase approximately 1.69 million shares of our common
             stock per tranche (equivalent to 25.33 million shares of our common stock today after giving
             effect to stock splits). The number of shares of our common stock underlying the 2018 CEO
             Performance Award in each tranche was equivalent to 1% of the 168,867,016 shares of Tesla’s
             common stock outstanding as of January 19, 2018 (equivalent to 25.33 million shares of our
             common stock today after giving effect to stock splits) and, therefore, the total number of shares
             underlying the 2018 CEO Performance Award was equivalent to 12% of the total number of
             shares of our common stock outstanding as of such date (equivalent to approximately 9.5% of
             the 3,188,965,775 shares of Tesla’s common stock outstanding at March 31, 2024).
             Equity Type . The 2018 CEO Performance Award was comprised of performance-based
             nonqualified stock options. Mr. Musk was entitled to receive compensation from the 2018 CEO
             Performance Award only to the extent that Tesla achieved the applicable performance
             milestones.
             Exercise Price . The exercise price of the 2018 CEO Performance Award was initially set at
             $350.02 per share, which was the closing market price of Tesla’s common stock on the Nasdaq
             Global Select Market on January 19, 2018, the last trading day prior to the grant date of
             January 21, 2018 (which was not a trading day). After giving effect to stock splits since the date
             of the initial grant, the exercise price of each of the options issuable under the 2018 CEO
             Performance Award is now $23.34.
             Award Vesting / Milestones . Each of the 12 vesting tranches of the 2018 CEO Performance
             Award would vest upon certification by the Board that each of (a) the Market Capitalization
             Milestone for such tranche and (b) an Operational Milestone had been met. Any single
             Operational Milestone could only satisfy the vesting requirement for one tranche of the 2018
             CEO Performance Award, together with the corresponding Market Capitalization milestone.
                    • There were 12 Market Capitalization Milestones, each of which required an incremental
                      increase in Tesla’s market capitalization, initially to $100 billion and then by increments of
                      $50 billion thereafter, with each incremental increase being approximately equivalent to
                      Tesla’s approximate market capitalization of $50 billion in late 2017.
                    • To meet all 12 Market Capitalization Milestones, Tesla was required to add approximately
                      $600 billion to its market capitalization. In setting the details of the award in 2018, the
                      Board at the time considered the Market Capitalization Milestones to be challenging
                      hurdles, which Mr. Musk met.
                    • There were also 16 operational milestones, half of which were focused on top-line
                      performance and half of which were focused on bottom-line performance. Any one of the
                      Operational Milestones, including one of the eight Revenue milestones or one of the eight
                      Adjusted EBITDA milestones, could have been paired with any of the 12 Market
                      Capitalization Milestones to successfully achieve the vesting of one of the 12 tranches.
                      Any single Operational Milestone could have only satisfied the vesting requirement of one
                      tranche, together with the corresponding Market Capitalization Milestone. Subject to any
                      applicable clawback provisions, policies or other forfeiture terms, once a milestone was
                      achieved, it was forever deemed achieved for determining the vesting of a tranche.
                      Meeting more than 12 of the 16 Operational Milestones would have not resulted in any
                      additional vesting or other compensation to Mr. Musk under the 2018 CEO Performance
                      Award.
             In 2018, the Board considered the Revenue milestones to be challenging hurdles as they
             significantly exceeded Tesla’s historic annual revenue, which was approximately $7.0 billion for
             2016 and approximately $11.8 billion for 2017. To achieve the first or second of the Revenue
             milestones, Tesla would have needed to increase its revenue by 3x and 5x, respectively, from its
             2016 revenue levels. To satisfy all eight Revenue milestones, Tesla would have needed to
             increase revenue by almost $168 billion. The significance of these hurdles was noted in
             contemporary news reports,


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             with the New York Times for example running a story under the headline “Tesla’s Elon Musk May
             Have Boldest Pay Plan in Corporate History” on January 23, 2018, stating that the final Market
             Capitalization Milestone represented “a figure many experts would contend is laughably
             impossible” and that critics would be “likely to contend that the new compensation plan is just
             the company’s latest publicity stunt.” Sorkin, Andrew Ross. New York Times. “Tesla’s Elon Musk
             May Have Boldest Pay Plan in Corporate History.”
             In addition to the Revenue milestones and to promote Tesla’s continued focus on a balanced
             approach to both growth and profitability, the 2018 CEO Performance Award included eight
             profitability milestones. In 2018, the Compensation Committee and the Board selected Adjusted
             EBITDA, which is defined as EBITDA minus only non-cash charges for stock-based
             compensation, as the appropriate profitability measure because the Board believed at the time
             that it was a metric that was commonly used for companies at Tesla’s stage of development and
             because many of Tesla’s stockholders used it to evaluate Tesla’s performance. Adjusted EBITDA
             is a measure of cash generation from operations that does not disincentivize Tesla from making
             additional investments to grow further. Like the Revenue milestones described above, the
             Adjusted EBITDA milestones were designed to be challenging and to reflect Tesla’s objective to
             have strong bottom-line performance on a consistent basis.
             In establishing the Revenue and Adjusted EBITDA milestones in 2018, the Board believed it
             carefully considered a variety of factors, including Tesla’s growth trajectory and internal growth
             plans at the time and the historical performance of other high-growth and high-multiples
             companies in the technology space that had invested in new businesses and tangible assets.
             These benchmarks provided revenue/EBITDA to market capitalization multiples, which were then
             used to inform the specific operational targets that aligned with Tesla’s plans for future growth.
             Except in a change in control situation, measurement of the Market Capitalization Milestones
             was based on both (i) a six-calendar-month trailing average of Tesla’s stock price as well as
             (ii) a 30-calendar-day trailing average of Tesla’s stock price, in each case based on trading days
             only, and thus required sustained market capitalization appreciation, not simply a spike in
             market capitalization over a short period.
             Measurement of the Operational Milestones was based on the previous four consecutive fiscal
             quarters for each of Revenue and Adjusted EBITDA, each determined on an aggregate basis,
             based on publicly disclosed Tesla financial statements.
             Term of 2018 CEO Performance Award / Post-Termination of Employment Exercise Period
             . The term of the 2018 CEO Performance Award was set as 10 years from the date of the
             grant, unless Mr. Musk’s employment with Tesla was terminated prior to such date. Accordingly,
             Mr. Musk was entitled to exercise any portion of the 2018 CEO Performance Award until
             January 20, 2028 that had vested on or prior to such date, provided that he remains employed
             at Tesla. For additional information regarding the vesting dates, see “Compensation Discussion
             & Analysis” elsewhere in this Proxy Statement.
             Additionally, Mr. Musk was entitled up to one year following the termination of his employment
             with Tesla to exercise any portion of the 2018 CEO Performance Award that vested prior to such
             termination, subject to any earlier expiration of the 2018 CEO Performance Award on
             January 20, 2028. Further, the 2018 CEO Performance Award also could have terminated earlier
             in connection with a change in control event of Tesla, as described further below.
             Five-Year Holding Period . Mr. Musk was required to hold shares that he would have acquired
             upon the exercise of the 2018 CEO Performance Award for five years post-exercise, not
             post-vesting (except for shares used to pay exercise price and tax withholdings, or in certain
             other limited circumstances described further below).
             After reviewing market practices for post-exercise holding periods for executive equity awards in
             2018, the Board believed a five-year holding period, which was the longest period considered by
             the Board, to be very atypical of executive equity awards generally because of its unusually long
             duration. Nevertheless, the Board in 2018 selected a five-year holding period in order to further
             align Mr. Musk’s interests with Tesla stockholders’ interests for five years following the exercise
             of


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             any options under the 2018 CEO Performance Award, since Mr. Musk would continue to bear the
             risk and reward of changes in the value of Tesla’s stock during the five-year holding period. The
             Board in 2018 believed that such alignment complemented the requirements for sustained
             increases to Tesla’s market capitalization levels, Revenue and Adjusted EBITDA in order to
             meet the applicable vesting milestones under the 2018 CEO Performance Award, and would
             ensure that Mr. Musk would be focused on the long term value in building and sustaining Tesla’s
             success both before, and even after he achieved, vesting under the 2018 CEO Performance
             Award.
             Moreover, the requirement of a five-year holding period significantly decreased the stock-based
             compensation expense that Tesla recognized for the 2018 CEO Performance Award. Pursuant to
             Financial Accounting Standards Board Accounting Standards Codification Topic 718 (“ ASC
             Topic 718 ”), the maximum stock-based compensation expense in respect of the 2018 CEO
             Performance Award that Tesla recognized upon the achievement of all performance milestones
             was the actual aggregate fair value of the 2018 CEO Performance Award, computed on the date
             that the 2018 CEO Performance Award was approved by our stockholders at the Company’s
             special meeting of stockholders on March 21, 2018 (the “ 2018 Special Meeting ”). The five-year
             post-exercise holding period in the 2018 CEO Performance Award reduced the aggregate fair
             value of the 2018 CEO Performance Award by $278.9 million as of March 21, 2018.
             Leadership Requirement . Mr. Musk needed to lead Tesla’s management at the time each
             milestone was to be met in order for the corresponding tranche to vest under the 2018 CEO
             Performance Award. Specifically, he needed to have been serving as either Tesla’s Chief
             Executive Officer or, alternatively, as both its Executive Chairman and Chief Product Officer, in
             each case with all leadership ultimately reporting to him.
             Termination of Employment . There would have been no acceleration of vesting of the 2018
             CEO Performance Award if the employment of Mr. Musk was terminated, or if Mr. Musk were to
             have died or become disabled. In other words, termination of Mr. Musk’s employment with Tesla
             would have precluded his ability to earn any then-unvested portion of the 2018 CEO
             Performance Award following the date of his termination. Vesting of the 2018 CEO Performance
             Award would have suspended in the event of any leave of absence by Mr. Musk.
             Change in Control of Tesla . If Tesla experienced a change in control event, such as a merger
             with or purchase by another company, vesting under the 2018 CEO Performance Award would
             have not been automatically accelerated. In a change in control situation, the achievement of
             the milestones would have been based solely on the Market Capitalization Milestones, with the
             measurement of Tesla’s market capitalization determined by the product of the total number of
             outstanding shares of Tesla common stock immediately before the change in control multiplied
             by the greater of the last closing price of a share of Tesla common stock before the effective
             time of the change in control or the per share price (plus the per share value of any other
             consideration) received by Tesla’s stockholders in the change in control. The treatment of the
             2018 CEO Performance Award upon a change in control was designed to align Mr. Musk’s
             interests with Tesla’s other stockholders with respect to evaluating potential takeover offers.
             Exercise Methods / Requirements . Mr. Musk was eligible to exercise any vested options under
             the 2018 CEO Performance Award in one of two ways: (i) a cashless exercise or (ii) a cash
             exercise. A cashless exercise occurs when the stock option is exercised and the shares are
             simultaneously sold to pay for the exercise price and any required tax withholding. A cash
             exercise simply involves paying the Tesla option exercise price in cash.
             Clawback Provision . In the event of a restatement of Tesla’s financial statements previously
             filed with the SEC (“ restated financial results ”), and if a lesser portion of the 2018 CEO
             Performance Award would have vested based on the restated financial results, then Mr. Musk
             would have been required to forfeit (or repay, as applicable) the portion of the 2018 CEO
             Performance Award that would not have vested based on the restated financial results (less any
             amounts Mr. Musk would have been paid to Tesla in exercising any forfeited awards). The 2018
             CEO Performance Award also would have been subject, if more stringent than the foregoing, to
             any current or future Tesla clawback policy applicable to equity awards, provided that the policy
             does not discriminate solely against Mr. Musk except as required by applicable law.


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             M&A Adjustment . In the event that Tesla acquired a business with a purchase price of more
             than $1 billion, any then-unachieved Market Capitalization Milestones would have been
             increased by the purchase price of such acquisition. Similarly, if the target of an acquisition
             transaction had revenue or adjusted EBITDA (based on cumulative four consecutive quarters
             prior to the transaction) of more than $500 million and $100 million, respectively, the
             then-unachieved Revenue or Adjusted EBITDA Milestones (as applicable) would have been
             increased by such target’s revenue or adjusted EBITDA (as applicable). This feature of the 2018
             CEO Performance Award was designed to prevent achievement of milestones based on
             acquisition activity that could be considered material to the achievement of those milestones.
             Likewise, in the event that Tesla entered into a transaction constituting a split-up, spin-off or
             divestiture that had a value over $1 billion, any then-unachieved Market Capitalization
             Milestones would be decreased by the value of such transaction. Also, if an entity with more
             than $500 million or $100 million of revenue or adjusted EBITDA, respectively, was divested by
             Tesla, the then-unachieved Revenue or Adjusted EBITDA Milestones (as applicable) would have
             been decreased by the amount of revenue or adjusted EBITDA (as applicable) divested in such
             a transaction.

             Other Details Regarding 2018 CEO Performance Award
             Administration . The 2018 CEO Performance Award was administered by the Board, the
             Compensation Committee, or any committee of Board members or other individuals (excluding
             Mr. Musk) appointed by the Board and satisfying applicable laws (the “ Administrator ”),
             provided that Mr. Musk recused himself from any approvals relating to the administration of the
             2018 CEO Performance Award. References to the Board in the executive summary of the
             material terms of the 2018 CEO Performance Award under the section titled “ Material Terms of
             the Proposed 2018 CEO Performance Award ” above generally are references to the
             Administrator, as applicable. The Administrator has the power and authority, in good faith, to
             interpret the 2018 CEO Performance Award and adopt rules for its administration, interpretation
             and application of the terms of the 2018 CEO Performance Award. All actions taken, and
             interpretations and determinations made, by the Administrator in good faith with respect to the
             2018 CEO Performance Award will be final and binding on Mr. Musk and any other interested
             persons.
             Certain Other Market Capitalization Provisions . For purposes of achieving the Market
             Capitalization Milestones, the Company’s market capitalization was based on an average of the
             Company’s market capitalization for all trading days in the applicable trailing six-calendar-month
             period or 30-calendar-day period. As of any date of determination, the applicable six month or
             30-day period ended with (and was inclusive of) such determination date. The Company’s
             market capitalization on any particular trading day is equal to the product of the closing price of
             a share of Tesla’s common stock on the trading day, multiplied by the outstanding shares of
             Tesla common stock at the closing of the trading day.
             Certain Other Termination Provisions . In all cases, the award agreement provided that in the
             event that Tesla stockholders did not approve the 2018 CEO Performance Award within
             12 months after its grant date or, at any meeting of Tesla’s stockholders, did not approve the
             2018 CEO Performance Award by the requisite vote, the 2018 CEO Performance Award would
             have been automatically forfeited and Mr. Musk would have had no rights to the 2018 CEO
             Performance Award or the shares underlying it.
             Upon a change in control of Tesla, any vested portion of the 2018 CEO Performance Award
             would have been assumed or substituted by the successor and any unvested portion of the 2018
             CEO Performance Award automatically would have been terminated at the effective time of the
             change in control event. The Administrator could not accelerate the vesting of any portion of the
             2018 CEO Performance Award in connection with a change in control if the Market
             Capitalization Milestone (as determined at the time of a change in control) was not met. The
             vested and unexercised portion of the 2018 CEO Performance Award would have remained
             exercisable through its expiration date. If Mr. Musk’s role either as Chief Executive Officer or as
             Executive Chairman and Chief Product Officer terminated while the 2018 CEO Performance
             Award was outstanding, the Administrator would have promptly made a final determination as to
             whether any additional tranches had vested


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             through the date of such termination and whether any portion of the 2018 CEO Performance
             Award that had failed to vest based on performance through such date of termination will be
             forfeited.
             Certain Other Adjustments Upon Certain Transactions . In the event of any dividend or other
             distribution (whether in the form of cash, shares of Tesla common stock, other securities or
             other property), recapitalization, stock split, reverse stock split, reorganization, merger,
             consolidation, split-up, spin-off, combination, repurchase or exchange of Tesla’s securities, or
             other change in the corporate structure of Tesla affecting Tesla’s common stock, then the
             Administrator, in order to prevent the diminution or enlargement of the benefits or potential
             benefits intended to be made available under the 2018 CEO Performance Award (and in a
             manner that would not provide any greater benefit or potential benefits than intended to be
             made available, other than solely to reflect changes resulting from any such triggering event),
             would have adjusted the number, class and price of the shares of our common stock underlying
             the 2018 CEO Performance Award. In the event of a proposed dissolution or liquidation of Tesla,
             the Administrator would have notified Mr. Musk as soon as practicable before the effective date
             of the proposed transaction. To the extent the 2018 CEO Performance Award had not been
             previously exercised, it would have terminated immediately before the completion of such
             proposed transaction.
             Mr. Musk was entitled to no rights or privileges of a stockholder of Tesla with respect to the
             shares of our common stock underlying the 2018 CEO Performance Award unless and until the
             shares of our common stock were issued, recorded on the records of Tesla or its transfer agents
             or registrars, and delivered to Mr. Musk (which may occur through electronic delivery to a
             brokerage account). In addition, unless and until Tesla’s stockholders approve the 2018 CEO
             Performance Award, no portion of the 2018 CEO Performance Award may be exercised.
             Certain Other Securities Information . Shares issuable under the 2018 CEO Performance
             Award were authorized, but unissued, or reacquired, Tesla common stock. As of April 12, 2024,
             the closing price of Tesla’s common stock was $171.05 per share.
             Tax Withholdings . The Administrator was to determine the methods by which tax withholding
             obligations with respect to the 2018 CEO Performance Award were to be satisfied by Mr. Musk.
             For example, to the extent permissible by applicable law, the Administrator could have permitted
             Mr. Musk to satisfy tax withholding obligations relating to the 2018 CEO Performance Award by
             (i) paying cash, or (ii) having a sufficient number of shares otherwise deliverable under the 2018
             CEO Performance Award sold through means determined by Tesla (whether through a broker or
             otherwise) equal to the minimum required amount to be withheld (or such greater amount that
             Mr. Musk elects, if permitted by the Administrator and if withholding a greater amount would not
             result in adverse financial accounting consequences for Tesla).
             Non-transferability . The 2018 CEO Performance Award could not be transferred in any manner
             other than by will or the laws of descent or distribution and may be exercised during Mr. Musk’s
             lifetime only by him. Shares of our common stock issued to Mr. Musk upon exercise of the 2018
             CEO Performance Award were subject to the holding period described further above, except that
             Mr. Musk could have transferred shares to change the form in which he held the shares of our
             common stock, such as through certain family or estate planning trusts, or as permitted by the
             Administrator consistent with the Company’s internal policies.

             Background of the Proposal
             General
             In 2018, after months of consideration and discussion, and following a recommendation of the
             Compensation Committee, the Board, with Mr. Musk and Kimbal Musk, Mr. Musk’s brother and a
             member of our Board, recusing themselves, approved the 2018 CEO Performance Award and
             recommended it to our stockholders. We called a special meeting of our stockholders to submit
             the 2018 CEO Performance Award for approval. At this time, the 2018 CEO Performance Award
             was approved by (i) the majority of the total votes of shares of our common stock cast in person
             or by proxy, (ii) the majority of the voting power of the shares present in person or represented
             by proxy


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             and entitled to vote on the proposal, and (iii) approximately 73% of all votes cast by
             disinterested stockholders (i.e., stockholders other than Mr. Musk and Kimbal Musk). Only after
             obtaining this approval by our stockholders was the 2018 CEO Performance Award put in place.
             As discussed below, following a lawsuit brought by a stockholder regarding our decision to
             incentivize and compensate Mr. Musk, on January 30, 2024, the Delaware Court issued the
             Tornetta Opinion holding that, among other things, the Board breached its fiduciary duties in
             approving the 2018 CEO Performance Award and ordering rescission of the 2018 CEO
             Performance Award as a remedy.
             With the Tornetta Opinion, the Delaware Court ordered the rescission of a corporate decision
             that every company — public, or private, for-profit or not-for-profit — makes; that is, how to
             retain, compensate and motivate the individuals who devote time, energy, resources and skill to
             building an enterprise, forsaking the opportunity to pursue other opportunities and interests.
             The Tornetta Opinion created a fundamental problem for our Company. The Delaware Court’s
             rescission of the 2018 CEO Performance Award meant that, absent further action, Mr. Musk
             would not have received any compensation for nearly six years of service to Tesla — a period in
             which Mr. Musk’s leadership and vision drove us to popularize electric vehicles, led to
             groundbreaking innovations in artificial intelligence and sustainable energy, and grew the
             Company’s market capitalization from $53.7 billion as of March 21, 2018 to $791.3 billion at the
             end of 2023, an increase of over $700 billion, or almost 1,400%, making Tesla the seventh
             largest company by market capitalization traded on a U.S. securities exchange.
             In light of this, in March 2024, the Board granted the Special Committee the authority, in
             addition to considering the Texas Redomestication, to also consider, evaluate, and determine
             whether it would be in the best interests of the Company and its stockholders to consider
             Ratification through a stockholder vote (including, without limitation, the manner of any
             applicable stockholder vote), or other disclosures about Mr. Musk’s compensation, consistent
             with all applicable legal and other requirements and the Board resolved not to proceed with
             respect to this expanded purpose without the prior favorable recommendation of the Special
             Committee.
             The 2018 Approval Process
             As you consider the Ratification of the 2018 CEO Performance Award, the Company has
             summarized the process followed in 2018 relating to the approval of the 2018 CEO Performance
             Award. Because the Tornetta Opinion found our definitive proxy statement filed with the SEC on
             February 8, 2018 (the “ 2018 Proxy Statement ”) did not include a full and accurate description
             of the process behind the 2018 CEO Performance Award, we are providing you with the below
             disclosure. You should read this disclosure, together with the summary of the Tornetta Opinion
             contained below, as well as the copy of the Tornetta Opinion attached to this Proxy Statement
             as Annex I for a description of the approval process. The Tornetta Opinion attached to this
             Proxy Statement and the summary of the Tornetta Opinion contained below describe the Court’s
             criticisms of this process. While the Company believes the discussion under this caption “ The
             2018 Approval Process ” is a true and correct statement of the facts leading up to the approval
             of the 2018 CEO Performance Award and illustrates the effectiveness of the governance process
             followed at the time, stockholders are cautioned that the Tornetta Opinion made negative
             findings about the approval process in 2018. The Company believes that its stockholders should
             take into account the relevant analysis and reasons expressed in the section entitled “ Overview
             of 2018 Approval Process ”, as well as the critiques set forth in the Tornetta Opinion in the
             section entitled “ Tornetta v. Musk Decision and Deficiencies Found by The Court ”, as they
             consider Ratification.

             Overview of 2018 Approval Process
             In 2012, the Board approved a compensation program for Mr. Musk that consisted entirely of
             performance stock options that would vest only upon the achievement of certain market
             capitalization and operational milestones (the “ 2012 CEO Performance Award ”). At the time,
             Tesla had begun to execute Mr. Musk’s Master Plan that laid out the objectives for Tesla during
             the first phase of its development. Tesla had yet to begin volume production of Model S and had
             a market


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             capitalization of under $4 billion. The vesting milestones for the 2012 CEO Performance Award
             included 10 tranches, with each tranche requiring Tesla both to:
                    (i) grow market capitalization by an additional $4 billion, and
                    (ii) achieve an additional specified operational milestone.
             Following the grant of the 2012 CEO Performance Award, Tesla received strong stockholder
             support in its triennial advisory “Say on Pay” votes in 2014 and 2017 (94.4% and 98.9%,
             respectively, of the shares present or represented by proxy and entitled to vote).
             Between 2012 and 2018, Tesla, with Mr. Musk at the helm, among other things, launched and
             ramped up production of Model S; designed, launched and ramped up production of Model X
             and Model 3; and added important new business lines, including solar energy generation and
             energy storage.
             With the 2012 CEO Performance Award nearing completion, the Board and the Compensation
             Committee engaged in more than six months of active and ongoing discussions regarding a new
             compensation program for Mr. Musk, ultimately deciding to approve the grant in the 2018 CEO
             Performance Award. These discussions first took place among the then-members of the
             Compensation Committee, all of whom were independent directors, and then with the Board’s
             other independent directors. For each of the relevant meetings, both Mr. Musk and Kimbal Musk
             recused themselves.
             In deciding to approve the grant in the 2018 CEO Performance Award, the Board and the
             Compensation Committee considered among other things:
                    (i)    The reasons for an award;
                    (ii)   The desire to incentivize and motivate Mr. Musk to continue to lead Tesla over the long
                           term and to create significant stockholder value in doing so;
                    (iii) How to structure an award in a way that would further align the interests of Mr. Musk
                          and Tesla’s other stockholders;
                    (iv) Whether to model an award based on elements of the 2012 CEO Performance Award;
                    (v)    What performance milestones should be used in an award;
                    (vi) What the total size of an award should be and how that size would translate into
                         increased ownership and value for Mr. Musk; and
                    (vii) How to balance the risks and rewards of a new award.
             Throughout this process in 2018, the Board used the services of Compensia, Inc. which served
             as its independent compensation consultant (“ Compensia ”), and Wilson Sonsini Goodrich &
             Rosati, P.C., which served as its special outside counsel.
             At various points during the process in 2018, the independent members of the Board met with
             Mr. Musk to share their thoughts on the award and to solicit his perspective, including as to
             each of the issues identified above, and ultimately to negotiate the terms of the 2018 CEO
             Performance Award with Mr. Musk.
             Additionally, early in the Board’s 2018 process, at the request of the Compensation Committee,
             Ira Ehrenpreis and Tesla’s then-General Counsel, Todd Maron, had calls with 15 of Tesla’s
             largest institutional stockholders to discuss and solicit their views regarding the 2012 CEO
             Performance Award and considerations for a new compensation award for Mr. Musk, in light of
             the fact that nearly all of the milestones in the 2012 CEO Performance Award had been or would
             be achieved in the near future. Many of these stockholders indicated that they favored the
             approach used in the 2012 CEO Performance Award, especially when coupled with Mr. Musk’s
             lack of traditional non-performance-based types of compensation (i.e., no salary, no cash
             bonuses, no time-based equity awards), and indicated that they favored a new equity award to
             Mr. Musk broadly based on the model of the 2012 CEO Performance Award that would motivate
             and incentivize his continued service and dedication to Tesla. Stockholders suggested various
             operational milestones to pair with


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             market capitalization milestones, but in general expressed preferences for financial-based
             operational milestones that would ensure both top-line and bottom-line Tesla growth as a
             condition for awards of compensation to Mr. Musk. As the Board thereafter deliberated on a new
             performance award for Mr. Musk, it gave great weight to the feedback that its stockholders
             provided during these calls, and it incorporated much of that feedback into the ultimate design
             of the award.
             After engaging in this extended process and arriving at terms for a performance award that both
             the independent members of the Board and Mr. Musk concluded would motivate and incentivize
             Mr. Musk to continue to lead the management of Tesla over the long term, the Board, with
             Mr. Musk and Kimbal Musk recusing themselves, approved the 2018 CEO Performance Award.
             Reasons for the Board’s 2018 Recommendation
             In advance of the Company’s 2018 Special Meeting, which was called for the purposes of
             obtaining a stockholder vote on the 2018 CEO Performance Award, the Board recommended
             that its stockholders vote their shares “FOR” the 2018 CEO Performance Award.
             Prior to the 2018 Special Meeting, the independent members of the Board at the time, led by the
             members of the Compensation Committee, designed a compensation award over the course of
             six months that they believed would incentivize Mr. Musk while maximizing value for Tesla
             stockholders. As part of this process in 2018, the Compensation Committee and the Board
             sought to balance a variety of important objectives, including:
                    • Aligning Mr. Musk’s interests with those of Tesla and its other stockholders;
                    • Incentivizing Mr. Musk to continue to lead Tesla over the long term;
                    • Motivating Mr. Musk to help Tesla achieve market capitalization and operational
                      milestones that would generate significant stockholder value; and
                    • Ensuring that Mr. Musk’s compensation will be linked entirely to performance so that he
                      does not receive any compensation unless all of Tesla’s stockholders benefit from
                      significant value creation.
             The Board sought and obtained feedback from a broad set of institutional stockholders and
             incorporated that feedback into its decision-making process. As part of its consideration in 2018,
             the Board drew from the success of the 2012 CEO Performance Award. Such award helped
             Tesla grow its market capitalization from less than $4 billion to over $55 billion in just over
             five years, and formed the biggest part of the executive compensation program that Tesla
             stockholders strongly supported in advisory “Say on Pay” votes in 2014 and 2017.
             Additionally, with the 2012 CEO Performance Award milestones largely achieved, and with Tesla
             entering the next phase of its development, the Board sought to develop a compensation award
             for Mr. Musk that reflected Tesla’s then-current long-term goals and strategy and helped
             incentivize their achievement. During the initial phase of its development, Tesla executed on its
             original Master Plan, which primarily called for Tesla to develop electric vehicles in increasingly
             affordable and higher volume segments. Even though most believed that Tesla would not be
             able to accomplish this, Tesla managed to do so, and it created significant stockholder value in
             the process.
             With Tesla becoming the world’s first vertically integrated sustainable energy company, from
             generation to storage to consumption, its ambitions in 2018 were even greater. Tesla in its
             original Master Plan intended to:
                    • Expand solar energy generation through Solar Roof and other solar products, and
                      seamlessly integrate them with battery storage;
                    • Build out Tesla’s vehicle product line to cover all major forms of terrestrial transport;
                    • Advance autonomous technology to create a fully-self driving future; and
                    • Through sharing, enable its customers’ cars to make money for them when they are not
                      being used.


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             With these goals, in 2018 the Board believed that Tesla had the potential to become one of the
             most valuable companies in the world. The 2018 CEO Performance Award was based on a
             vision of making Tesla a $650 billion company — more than ten times more valuable than it was
             at the beginning of 2018 — and accomplishing Tesla’s mission of accelerating the world’s
             transition to sustainable energy.
             The Board recommended that its stockholders approve the 2018 CEO Performance Award in
             2018 for the following reasons:
             1.     Strengthening Incentives and Further Aligning of Stockholder, Company and CEO Interests
             The Board believed in rewarding Mr. Musk in a fair way that provided compensation to him if,
             and only if, all of Tesla’s stockholders realized significant value.
             Under the 2018 CEO Performance Award, Mr. Musk would not receive any of the kinds of
             guaranteed forms of compensation that are common for chief executive officers at other
             companies. Mr. Musk would receive no cash salary, no cash bonuses and no time-based equity
             awards that vest solely through the passage of time (that is, simply by continuing to show up for
             work). To the contrary, Mr. Musk’s only opportunity to earn compensation from Tesla would be
             dependent on him leading Tesla’s achievement of challenging milestones, which, among other
             things, required Tesla’s market capitalization to increase to $100 billion, and to then continue
             increasing in additional $50 billion increments thereafter, up to $650 billion.
             Additionally, Mr. Musk’s compensation would also be dependent on him leading Tesla’s
             achievement of challenging operational milestones, which were designed to ensure that it is
             executing well on both a top-line and bottom-line basis. Under the 2018 CEO Performance
             Award, if these ambitious milestones were met, the Board determined in 2018, all Tesla
             stockholders would benefit, with the value of Tesla’s equity growing by tens of billions of dollars
             per milestone. Moreover, under the 2018 CEO Performance Award, in contrast to Mr. Musk’s
             rights, which required a pair of milestone targets to be fully met in order for him to receive any
             vesting of the corresponding tranche, the Tesla stockholders would realize the real-time benefit
             of any increases to its stock price, even those that result from falling short of the specific
             milestone targets required by the 2018 CEO Performance Award. Finally, the 2018 CEO
             Performance Award would create even more stockholder alignment by incorporating features
             such as a five-year holding period that ensures Mr. Musk’s continuing alignment with company
             interests for many years even after he exercises his options.
             As such, the Board in 2018 determined that the 2018 CEO Performance Award was a true
             “pay-for-performance” compensation program that tightly aligned Mr. Musk’s interests with the
             interests of Tesla and its stockholders.
             2.     Ensuring Mr. Musk’s Continued Services
             The Board in 2018 believed that having the active and engaged services of Mr. Musk was
             important to the continued growth and long-term interests of Tesla. While the Board recognized
             that Tesla had many valuable employees who have been a critical part of Tesla’s success, the
             Board in 2018 believed that many of Tesla’s prior successes were driven significantly by
             Mr. Musk’s leadership. Those successes included making Model S the top-selling car in its
             segment in many key markets around the world and ramping up the production of it, designing
             and ramping up the production of Model X, which continued to gain substantial market share
             around the world, and designing and beginning to ramp up the production of Model 3, the
             mass-market vehicle that the success of Model S and Model X enabled. These accomplishments
             had led to significant value creation for Tesla’s stockholders. Since going public, Tesla’s market
             capitalization had grown almost 35x when the Board approved the plan in 2018.
             The Board designed the 2018 CEO Performance Award to incentivize and motivate Mr. Musk to
             continue to not only lead Tesla over the long term, but particularly in light of his other business
             interests, to devote his time and energy in doing so. In the Board’s discussions with Mr. Musk in
             2018, he indicated that the 2018 CEO Performance Award would accomplish that.
             Mr. Musk was required to remain as Tesla’s Chief Executive Officer or serve as both Executive
             Chairman and Chief Product Officer, in each case with all leadership ultimately reporting to him,
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             the time each milestone was met in order for the corresponding tranche to vest. This was
             intended to ensure that Mr. Musk would continue to lead the management of Tesla over the long
             term while also providing the flexibility to bring in another chief executive officer who would
             report to Mr. Musk at some point in the future. Although there was no intention to bring in
             another chief executive officer, the Board in 2018 believed that having such flexibility as Tesla
             continued to grow to potentially allow Mr. Musk to focus more of his attention on the kinds of key
             product and strategic matters that most impacted Tesla’s long-term growth and profitability
             would benefit our stockholders.
             3.     Spurring the Achievement of Tesla’s Strategic and Financial Objectives
             The Board believed in 2018 that the 2012 CEO Performance Award was instrumental in
             motivating Mr. Musk to lead Tesla’s achievement of the objectives set out in the original Master
             Plan, thereby generating the significant stockholder value that was created during the process.
             With the first Master Plan having been achieved and with the second part of the Master Plan
             having been announced, the 2018 CEO Performance Award was designed to help align Tesla
             and its employees as they design, engineer and make the products that execute on the master
             plan, and focus everyone at Tesla on achieving the market capitalization and operational
             milestones that, while challenging, the Board believed were attainable for Tesla. If all of these
             milestones were to be achieved, Tesla would have meaningfully achieved its mission of
             transitioning the world to sustainable energy and would have become one of the most valuable
             and successful companies in the world.
             2018 Stockholder Vote
             At the 2018 Special Meeting, our stockholders voted on the 2018 CEO Performance Award. Our
             stockholders approved the 2018 CEO Performance Award at the 2018 Special Meeting by the
             affirmative vote of each of:
                    (1) the majority of the total votes of shares of Tesla common stock cast in person or by
                        proxy at the 2018 Special Meeting, pursuant to the Nasdaq Stock Market Rules (the “
                        2018 Nasdaq Standard ”);
                    (2) the majority of the voting power of the shares present in person or represented by proxy
                        at the 2018 Special Meeting and entitled to vote on the proposal, pursuant to Tesla’s
                        amended and restated bylaws (the “ 2018 Bylaws Standard ”); and
                    (3) the majority of the total votes of shares of Tesla common stock not owned, directly or
                        indirectly, by Mr. Musk or Kimbal Musk cast in person or by proxy at the 2018 Special
                        Meeting, pursuant to the resolutions of the Board of Directors of Tesla adopted in
                        connection with the 2018 Special Meeting (the “ 2018 Disinterested Standard ”).
             Later that day, the Company filed a Current Report on Form 8-K with the SEC disclosing the
             results of the votes at the 2018 Special Meeting.
             Tornetta v. Musk Decision and Deficiencies Found by the Court
             Following the 2018 Special Meeting, on June 5, 2018, Richard Tornetta, a stockholder of the
             Company holding nine shares of our common stock at the time (prior to giving effect to various
             stock splits), in his individual capacity and on behalf of all other similarly situated stockholders
             of the Company and derivatively on behalf of the Company, filed a complaint in the Delaware
             Court alleging breaches of fiduciary duty, unjust enrichment and waste. Mr. Tornetta alleged,
             and the Delaware Court held, that Mr. Musk controlled the Board, leading to an unfair process
             surrounding the formulation and approval of the 2018 CEO Performance Award, as well as that
             the 2018 CEO Performance Award was not fair. The Company and the Board believe that the
             decision in Tornetta ignored material evidence presented at trial and that the Delaware Court
             made errors of fact and incorrect conclusions of law. The named director defendants intend to
             appeal the Delaware Court’s decision vigorously. Moreover, the stockholders’ vote at the 2024
             Annual Meeting on whether to ratify the 2018 CEO Performance Award is independent and
             separate from the named director defendants’ intended appeal of the Delaware Court’s order.
             The description of the Tornetta Opinion below should not be read to endorse or agree with the
             findings of fact or conclusions of law in it. Nevertheless, the Company believes that
             stockholders in evaluating the matters presented to them


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             for their approval at the 2024 Annual Meeting should understand the conclusions reached by the
             Delaware Court and the bases for those conclusions; therefore, the description below
             summarizes the Tornetta Opinion, and a copy of the Tornetta Opinion is attached as Annex I to
             this Proxy Statement.
             We have summarized here the significant rulings of the Delaware Court in the Tornetta Opinion,
             and are also including a copy of the Tornetta Opinion as Annex I to this Proxy Statement, to
             ensure that all relevant disclosures are available to our stockholders. The summary below does
             not purport to be a complete and exhaustive summary of the Tornetta Opinion, and therefore,
             Annex I is incorporated herein by reference in its entirety.
             The Delaware Court’s Analysis: Mr. Musk’s Control
             Mr. Tornetta alleged, and the Delaware Court decided, that Mr. Musk is a controlling stockholder
             of Tesla for the purposes of approving the 2018 CEO Performance Award. The Delaware Court
             then found that in a conflicted-controller transaction, unless a board of directors follows a
             judicially-prescribed path involving the establishment of a special committee authorized to make
             a decision on such transaction and then obtains the fully informed, uncoerced approval of the
             majority of the voting power of disinterested stockholders, the “entire fairness” standard of
             review will apply to the transaction. Based on four factors, the Delaware Court concluded that
             Mr. Musk was a controlling stockholder for purposes of the 2018 CEO Performance Award.
                    The Delaware Court’s Analysis: Mr. Musk Wielded Significant Influence over Tesla by Virtue
                    of His Stock Holdings
             First , the Delaware Court agreed with Mr. Tornetta that:
             Musk’s 21.9% block … gives him a sizable leg-up for stockholder votes generally and the ability
             to block specific categories of bylaw amendments. The block also gives him great influence in
             the boardroom. This undoubtedly contributes to his clout and sway.
                    The Delaware Court’s Analysis: Mr. Musk was a “Superstar CEO”
             Second , the Delaware Court labeled Mr. Musk a “Superstar CEO” — the type of chief executive
             officer whose identity is interwoven with that of the company’s and therefore has a “singular
             importance shift[ing] the balance of power between management, the board, and the
             stockholders.” According to the Delaware Court, “[i]n the face of a Superstar CEO, it is even
             more imperative than usual for a company to employ robust protections for minority
             stockholders, such as staunchly independent directors. In this case, Tesla’s fiduciaries were not
             staunchly independent.”
                    The Delaware Court’s Analysis: The Board’s Independence Was Compromised
             Third , the Delaware Court concluded that Mr. Musk’s personal and professional relationships
             with the Board compromised the Board’s and the Compensation Committee’s independence.
             For example, the Delaware Court determined that several Board members (who were also
             members of the Compensation Committee) owed the bulk of their fortunes to investments in
             Musk-affiliated entities, and that several Board and Compensation Committee members were
             also friends with Mr. Musk, Kimbal Musk, and the Musk family. In addition, the Delaware Court
             determined that Todd Maron, Tesla’s General Counsel at the time who had also previously
             served as Mr. Musk’s divorce attorney, was “totally beholden to Musk” because he was “moved []
             to tears during his deposition” on account of his “admiration for Musk.” The Delaware Court also
             noted that Mr. Maron was a “primary go-between” of Mr. Musk and the Compensation Committee
             in connection with the negotiation of the 2018 CEO Performance Award and that “many of the
             documents cited by [Tesla] as proof of a fair process were drafted by Mr. Maron.” As a result,
             even though Mr. Musk and his brother Kimbal Musk recused themselves from the Board’s vote to
             approve on the 2018 CEO Performance Award, the Delaware Court determined that the
             Compensation Committee’s recommendation and the Board’s approval of the 2018 CEO
             Performance Award were not made independent of influence from Mr. Musk.


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                    The Delaware Court’s Analysis: Mr. Musk Controlled the Board’s Consideration of the 2018
                    CEO Performance Award
             Fourth, the Delaware Court concluded that multiple aspects of the Board’s consideration of the
             2018 CEO Performance Award revealed Mr. Musk’s control over it, “including the timeline, the
             absence of negotiations over the magnitude of the Grant or its other terms, and the committee’s
             failure to conduct a benchmarking analysis.”
             According to the Delaware Court, the 2018 CEO Performance Award did not receive sufficient
             substantive consideration or time from the Board before the Board approved it, and instead:
                    [T]here is barely any evidence of negotiations at all. Rather than negotiate against Musk
                    with the mindset of a third party, the Compensation Committee worked alongside him,
                    almost as an advisory body.
             The Delaware Court expressed concern over the fact that Mr. Musk proposed the initial terms of
             his compensation plan and drove the timing of negotiations around the 2018 CEO Performance
             Award. The Delaware Court found that:
                    Musk unilaterally set the timeline or made last-minute proposals to the Board prior to six out
                    of the ten Board or Compensation Committee meetings during which the [2018 CEO
                    Performance Award] was discussed. Musk dictated when the game clock started and
                    stopped, thereby artificially compressing the work into short bursts that took place when he
                    wished to move forward. Musk’s habit of shaking things up just before meetings also made it
                    tough for the committee and its advisors to be prepared.
             The Delaware Court also observed that although “nine months passed” between the initial
             meeting about the 2018 CEO Performance Award and the Board’s approval of it, “most of the
             work on the [2018 CEO Performance Award] occurred during small segments of that nine-month
             timeline and under significant time pressure imposed by Musk,” resulting in what it believed to
             be a “recklessly fast approach.”
             The Delaware Court also stated that negotiations between Mr. Musk and the Board were
             compromised because they were not adversarial and were too cooperative and collaborative. To
             the contrary, the Delaware Court noted that several of the participants in the process testified
             that the negotiations between Mr. Musk and the Board regarding his compensation were not
             adversarial or “acrimonious.” Combined, these and certain other factors led the Delaware Court
             to conclude that the negotiation process was not at arm’s length, and was not fair.
             The Delaware Court also found that the Board largely accepted terms Mr. Musk proposed for his
             own compensation plan, without considering other alternatives, and omitted certain terms that
             would have been in the best interests of our stockholders. For example, the Delaware Court
             stressed that a key goal of the Board was “it[s] wish[] to retain Musk as the ‘fully engaged CEO,’
             yet” the terms of the 2018 CEO Performance Award did not require him to devote a
             certain percentage of his time to Tesla relative to his other companies, and also “allowed Musk
             to step down to the role of ‘Chief Product Officer.’” The Delaware Court also stated that “there
             was no actual discussion concerning alternatives” to the compensation plan proposals that
             Mr. Musk was setting forth, and that “[t]here [w]as [n]o [n]egotiation [o]ver [t]he [s]ize [o]f [t]he
             [g]rant.” The Delaware Court also criticized the Board for not reviewing benchmarking
             compensation studies that would compare the proposed 2018 CEO Performance Award “to plans
             at comparable firms.” According to the Delaware Court, the defendants’ “proffered reasons for
             not performing a traditional benchmarking study [(that they had sufficient information to know
             what a benchmarking study would show and that they didn’t believe such a study was apt
             because there were no true comparables)]. . . rang hollow”, and that “[b]enchmarking would
             have informed the decision makers of the magnitude of difference between the [g]rant and
             market comparables.”
             The Delaware Court also concluded that the defendants failed to prove that the 2018 CEO
             Performance Award’s milestones were “ambitious and difficult to achieve,” such that they would
             require compensation of the 2018 CEO Performance Award’s magnitude to incentivize Mr. Musk
             to attain them. Instead, the Delaware Court noted that:


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                    Tesla determined that three operational milestones were ‘considered probable of
                    achievement,’ which meant that they were greater than 70% probable of achievement within
                    approximately one year of the Grant date.
             Finally, the Delaware Court rejected the defendants’ argument that certain other terms that were
             included in the 2018 CEO Performance Award for the Company’s benefit, the Clawback
             Provision, the Leadership Requirement, the Five-Year Hold Period and the M&A Adjustment
             (each as described above and defined in the Tornetta Opinion), were evidence of arm’s-length
             bargaining, since Mr. Musk accepted them without negotiation. With respect to these provisions,
             the Delaware Court found that:
                    The other key terms of the Grant were: the Clawback Provision, the Leadership
                    Requirement, the Five-Year Hold Period, and the M&A Adjustment. As to these terms, the
                    only back-and-forth in the record concerned the M&A Adjustment, but Musk himself
                    conceded that this was at most a minor feature of his compensation plan that he did not
                    care about. He stated, at the end of negotiations on this point, “I don’t think we will be
                    making big acquisitions[]” and “[t]here is no chance I will game the economics here, so I’m
                    fine with limits that prevent that.
             The Delaware Court Found the Stockholder Vote Upon Which the 2018 CEO Performance Award
             Was Conditioned Was Deficient
             In addition to finding the Board process related to the 2018 CEO Performance Award to have
             been deficient, the Delaware Court also found that the stockholder vote at the 2018 Special
             Meeting on which the 2018 CEO Performance Award’s approval was conditioned was not fully
             informed. The Delaware Court’s finding that the stockholder vote at the 2018 Special Meeting
             was not fully informed was based on the failure of the 2018 Proxy Statement to disclose the
             shortcomings that the Delaware Court had found in the Board’s decision-making process.
                    The Delaware Court’s Analysis: the 2018 Proxy Statement Contained No Conflict
                    Disclosures
             First , the Delaware Court stated that in presenting the 2018 CEO Performance Award to our
             stockholders, we had failed to disclose any actual or potential conflicts between the 2018 CEO
             Performance Award’s decision-makers and Mr. Musk, instead describing “all of [them] [as]
             independent directors” and “independent members of the Board.” In particular, the 2018 proxy
             statement did not disclose the financial or personal connections between the members of the
             Compensation Committee and Mr. Musk. These included a 15-year relationship between
             Mr. Musk and the chair of the Compensation Committee, Ira Ehrenpreis, and business
             relationships between Mr. Musk and the other Compensation Committee member, Antonio
             Gracias, “dating back over 20 years, as well as the sort of personal relationship that had
             [Mr. Gracias] vacationing with Mr. Musk’s family on a regular basis.”
                    The Delaware Court’s Analysis: the 2018 Proxy Statement did not Include a Full and
                    Accurate Description of the Process
             Second , the Delaware Court determined that we did not provide our stockholders with a “full
             and accurate description of the material steps in the Board or the Compensation Committee
             process that resulted in the transaction.” The Delaware Court noted that the 2018 proxy
             statement “does not disclose the level of control that Musk exercised over the process — e.g.,
             his control over the timing, the fact that he made the initial offer, the fact that his initial offer set
             the terms until he changed them six months later, the lack of negotiations, and the failure to
             benchmark, among other things.” Above all, the Delaware Court stated that we should have
             disclosed that Mr. Musk proposed key terms for his compensation plan in an initial call on
             April 9, 2017, prior to discussions “among the members of the Compensation Committee.”
             The Delaware Court’s Decision
             As a result of the foregoing, the defendants bore the burden of proving that the 2018 CEO
             Performance Award was “entirely fair” to our stockholders. Due to the factors discussed above,
             the Delaware Court ruled that the compensation considered in the 2018 CEO Performance
             Award was more than Tesla needed to “give” in proportion to what it would “get” and thus the
             defendants failed to prove that the 2018 CEO Performance Award was “entirely fair” to our
             stockholders, and


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             ordered rescission of the 2018 CEO Performance Award as a remedy. The Delaware Court found
             rescission equitable under the circumstances because Mr. Musk had profited from his work
             through his ownership of Company stock, observing that other billionaires such as Mark
             Zuckerberg, Jeff Bezos, Bill Gates and Warren Buffett had been willing to work for nominal
             amounts in light of their ownership of their respective company’s stock.
             Performance of the Company Assessed Against Performance Metrics
             Tesla’s Leadership Has Revolutionized the World
             Tesla sets extraordinary goals and needs extraordinary leadership to achieve them. Our mission
             is to accelerate the world’s transition to sustainable energy.
             To enact radical change requires radical innovation. Mr. Musk has led our most remarkable
             projects. Mr. Musk’s leadership and unique vision have played critical roles in our mission and
             success. He has guided Tesla from an early-stage startup through multiple critical events and
             crises into one of the world’s leading automakers and one of the most valuable companies in the
             world. His innovation and vision have driven us to become the world’s first vertically integrated
             sustainable energy company, with a wide variety of products, from generation to storage to
             consumption.
             Under Mr. Musk’s leadership, we popularized electric vehicles by making them
             high-performance, accessible and fun to drive. Now, electric vehicles are abundant on the
             streets, and in the last decade, we produced over 5.5 million of our vehicles. We currently
             manufacture five different consumer vehicles — the Model 3, Y, S, X and Cybertruck, and, as of
             January 24, 2024, Model Y was the best-selling vehicle in the world. Importantly, our fully
             electric cars often replace traditional gasoline-powered cars on the road — tackling one of the
             largest global sources of carbon dioxide and other greenhouse gas emissions.
             Mr. Musk also leads our efforts in designing, developing and manufacturing a range of
             cutting-edge sustainable energy generation and storage products. We offer two lithium-ion
             battery energy storage products — Powerwall and Megapack. Powerwall, which we sell directly
             to customers, as well as through channel partners, is designed to store energy at a home or
             small commercial facility. Megapack is an energy storage solution for commercial, industrial,
             utility and energy generation customers, multiples of which may be grouped together to form
             larger installations of gigawatt hours or greater capacity. Megapack has the potential to
             eliminate the need for gas peaker plants and avoid power outages. Each unit can store over 3.9
             MWh of energy — enough energy to power an average of 3,600 homes for one hour.
             Through Mr. Musk’s leadership, we have also developed sophisticated control software, which is
             utilized in the performance and safety of our vehicles and their battery packs. Our technology
             uses neural networks in our vehicles, and we currently offer certain advanced driver assist
             systems under our Autopilot and Full Self Driving (Supervised) options. We develop almost all of
             this software, including most of the user interfaces, internally and update our vehicles’ software
             regularly through innovative over-the-air updates.
             Even with all this prior innovation, we continue to look ahead to new horizons — Mr. Musk
             spearheads our efforts on products in development that we believe have the potential to be our
             most significant contributions.
             We have made incredible progress on our mission, and Mr. Musk has driven our conception,
             design, development, production and commercialization of these revolutionary products.
             Achieving such progress requires thoughtful, innovative leaders. The role of a chief executive
             officer is multi-faceted and demanding. A chief executive officer is not only responsible for
             managing the day-to-day operations of an entire company, but also developing the company’s
             vision and strategy, fostering innovation, representing the company and creating a culture of
             excellence. For a large, sophisticated company such as Tesla, our chief executive officer must
             be able to execute at an incredibly high level, which requires deep experience and a myriad of
             specialized abilities. Finding an individual who possesses such a diverse skill set and can excel
             in these various aspects is not easy, but Mr. Musk’s demonstrated track record of success has
             proven that he can do so. The Delaware Court in the Tornetta Opinion referred to Mr. Musk as a
             “Superstar CEO”‘. The Board and


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             management believe that it is in Tesla’s interest to secure Mr. Musk’s “Superstar CEO” talent
             and experience by means of appropriate compensation.
             With Mr. Musk leading the Company, the Board and management believe that we have
             fundamentally changed the world. We are proud of what the Company has achieved, but there is
             much more to be done, and we believe that we are best positioned to accomplish our goals with
             Mr. Musk at the helm and provided with ambitious targets and appropriate incentives to meet
             those targets.
             Our Compensation Is Designed to Drive Innovation and Growth
             In 2018, we carefully designed the 2018 CEO Performance Award to align the interests of our
             leaders with those of Tesla’s stockholders and to motivate them to use their talent and initiative
             to drive the Company’s financial performance and stockholder value. We used Compensia, a
             leading independent compensation consultant to help us develop the 2018 CEO Performance
             Award and understand how our executive compensation compares to that of our competitors.
             The Board and management are committed to compensating our executives both competitively
             and in line with their contributions to our success and the value delivered to our stockholders.
             Our Company would not be where it is today without Mr. Musk’s contributions, leadership and
             vision and we have an exceptionally strong interest in retaining him and motivating him to
             devote the time, energy, resources and skill to Tesla that is necessary to achieve the success
             we have achieved and the vision and strategy to which we aspire. As a result, we believe this
             requires a compensation plan that recognizes Mr. Musk’s unique role and more importantly
             provides the appropriate incentives for Mr. Musk not only to remain with Tesla and devote time
             to its business and affairs, but also to continue to bring the level of dedication to the Company
             that we believe is crucial to reaching the ambition we have for growing the business over the
             long term.
             In developing the 2018 CEO Performance Award, the Board obtained feedback from a broad set
             of our institutional stockholders and incorporated the feedback into the decision-making process.
             The 2018 CEO Performance Award was approved by approximately 73% of all votes cast by our
             disinterested stockholders under the 2018 Disinterested Standard, as well as the majority votes
             required under the 2018 Nasdaq Standard and the 2018 Bylaws Standard.
             The 2018 CEO Performance Award contained no guaranteed compensation of any kind — no
             salary, no cash bonuses and no equity that vests simply through the passage of time. Since
             2018, Mr. Musk has not received any of these customary forms of compensation — nearly
             six years without salary, cash bonuses or equity grants that vest only due to the passage of
             time. Instead, Mr. Musk’s only compensation opportunity from Tesla depended on him driving
             Tesla’s achievement of milestones the Board believed were exceptionally challenging. The only
             compensation included in the 2018 CEO Performance Award was a 100% at-risk performance
             award upon achievement of certain performance targets, which was designed so that Mr. Musk
             would be compensated only if our stock price, revenue and profitability out-performed ambitious
             targets, resulting in value for all of our stockholders. The intention of the 2018 CEO
             Performance Award was to motivate Mr. Musk to devote the time, energy, resources and skill
             necessary to achieve extraordinary goals, well beyond what any contractual commitment to
             spend a set number of hours and a specified percentage of his professional time devoted to
             Tesla would achieve.
             In addition, under the 2018 CEO Performance Award, Mr. Musk had an obligation to hold any
             Tesla shares obtained from exercising options under the 2018 CEO Performance Award for a
             period of five years after the exercise date, which was designed to address Mr. Musk’s economic
             incentives after he exercised his options. Although the key milestones under the 2018 CEO
             Performance Award have already been met, if the Ratification is approved by stockholders, the
             Company believes that Mr. Musk’s holding requirement will continue to incentivize him and align
             his interests with those of our other stockholders.
             In summary, the 2018 CEO Performance Award was high-risk, high-reward. This is a bedrock of
             capitalism and American innovation — the prospect of significant rewards motivates
             entrepreneurs to take risks, which leads to innovation and progress, driving economic growth.


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             Mr. Musk Met — and Exceeded — His Performance Award Milestones
             The Board in 2018 believed that the hurdles for performance were exceptionally high, and
             subsequently, Mr. Musk met — and exceeded — each and every key milestone in the 2018 CEO
             Performance Award, milestones that have resulted in remarkable value creation for our
             stockholders.
             In addition to these economic achievements, Mr. Musk has also helped grow our Company in
             other areas. We have nearly tripled the number of employees since the 2018 CEO Performance
             Award was approved. We have also made significant progress under Mr. Musk’s leadership and
             vision on our mission to accelerate the world’s transition to sustainable energy. We are proud of
             the contributions we have made to the economy, the environment and the world under
             Mr. Musk’s leadership.
             Not all executives achieve such success, even with similar financial milestones. Other tech
             executives have received equity incentive grants contingent upon specific performance targets
             and failed to reach them but in most cases have continued to receive other forms of
             compensation. The 2018 CEO Performance Award contained extraordinary goals and required
             extraordinary performance. Mr. Musk delivered.
             Matters Related to Delaware Common Law and Statutory Ratification
             The Company is asking its stockholders to ratify the 2018 CEO Performance Award under
             Delaware common and statutory law. Delaware common law ratification permits a Delaware
             corporation to validate a corporate act where the actors that purported to effect it lacked
             requisite corporate authority to do so. Common law ratification can also extinguish claims for
             breach of fiduciary duty by authorizing an act that otherwise would constitute a breach. When
             properly implemented, common law ratification “reaches back” to validate the challenged act as
             of its initial enactment. The Company believes that, under the Tornetta Opinion, the 2018 CEO
             Performance Award is such an act that may be ratified under Delaware common law.
             The Company also seeks ratification under any other legal theory or appropriate statutory
             provision, including but not limited to Section 204 of the DGCL. The Company understands that
             Section 204 of the DGCL allows a Delaware corporation, by following specified procedures, to
             ratify a corporate act that is void or voidable due to a failure of authorization, retroactive to the
             date the corporate act was originally taken. Failure of authorization is defined in the statute to
             include the failure of an action to have been adopted in accordance with any plan to which the
             corporation is a party, which in this case could be the 2018 CEO Performance Award. The
             Company believes that the Delaware Court concluded that failure to have a fully informed
             stockholder approval of the 2018 CEO Performance Award at the 2018 Special Meeting
             rendered the 2018 CEO Performance Award voidable. Accordingly, the Company believes that it
             is subject to statutory ratification under Section 204 of the DGCL. The text of Section 204 of the
             DGCL is attached to this Proxy Statement as Annex J .
             While the Company believes that the Ratification should be upheld by a Delaware court, the
             Special Committee noted that even a favorable vote by our stockholders to ratify the 2018 CEO
             Performance Award may not fully resolve the matter. The Special Committee and its advisors
             noted that they could not predict with certainty how a stockholder vote to ratify the 2018 CEO
             Performance Award would be treated under Delaware law in these novel circumstances.

             Recommendations of the Special Committee and the Board
             As discussed in the section “ Background and Process of the Special Committee ,” the Special
             Committee was formed for the purpose of determining the Redomestication but its mandate was
             subsequently expanded to cover the Ratification as well. For a summary of the events leading
             up to the Special Committee’s recommendation, as well as a discussion of the Special
             Committee’s process, see the section under the caption “ Background and Process of the
             Special Committee ” and the full text of the Special Committee Report attached to this Proxy
             Statement as Annex E and incorporated by reference herein.
             At a meeting of the Special Committee held on April 16, 2024, after reviewing and considering
             the factors and considerations deemed relevant by the Special Committee, and after
             investigating and


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             considering the benefits and detriments, for the reasons set forth in the Special Committee’s
             Report and summarized below under the caption “ Reasons for the Ratification ,” the Special
             Committee adopted resolutions determining that Ratification is in the best interests of the
             Company and all of its stockholders, and that the Board should adopt appropriate ratification
             resolutions and seek ratification of the 2018 CEO Performance Award by the stockholders of the
             Company at the Company’s 2024 Annual Meeting. The Special Committee also recommended to
             the Board that (1) the Board and management take all necessary and appropriate steps to
             implement the Committee’s ratification determination consistent with legal obligations; (2)
             Mr. Musk and Kimbal Musk be recused from the Board’s deliberations and from the vote on this
             matter because it concerns Mr. Musk’s compensation; (3) the stockholder vote on ratification be
             conditioned on approval by at least a majority of votes cast by disinterested stockholders, in the
             same manner as the 2018 stockholder vote; (4) the Tornetta Opinion be annexed to, and
             summarized in, the Company’s proxy statement; (5) the Company’s proxy statement address any
             other current plans regarding compensation for Mr. Musk; and (6) the Board adopt appropriate
             ratification resolutions and recommend that stockholders vote for ratification based on the
             Committee’s determination that ratifying the 2018 CEO Performance Award is in the best
             interests of the Company and all of its stockholders.
             Following the determination of the Special Committee that the Ratification is in the best
             interests of the Company and all of its stockholders and the recommendations of the Special
             Committee, and after considering the Special Committee's determination and the Special
             Committee Report, the Board met on April 9, 2024, April 13, 2024 and April 16, 2024, with Mr.
             Musk and Kimbal Musk recusing themselves. On April 16, 2024, the Board determined that the
             Ratification is in the best interests of the Company and its stockholders, approved the
             Ratification for any purpose, directed that the Ratification be submitted for consideration by our
             stockholders at the 2024 Annual Meeting and recommended that our stockholders approve the
             Ratification, in accordance with Delaware statutory law, including Section 204 of the DGCL, and
             with Delaware common law.

             Practical Implications of the Ratification
             If the 2018 CEO Performance Award is ratified by our stockholders at the 2024 Annual Meeting,
             the Company believes that:
                    • the deficiencies, including disclosure deficiencies, procedural deficiencies, and breaches
                      of fiduciary duty, identified by the Delaware Court in connection with the Board and our
                      stockholders’ original approval of the 2018 CEO Performance Award should be ratified and
                      remedied, and any wrongs found by the Delaware Court in connection with the 2018 CEO
                      Performance Award should be cured;
                    • the 303,960,630 options issued to Mr. Musk pursuant to the 2018 CEO Performance
                      Award will be restored to Mr. Musk, compensating him for his nearly six years of service to
                      Tesla; and
                    • defendants in the Tornetta case may be able to argue that Mr. Tornetta’s attorneys are not
                      entitled to the attorneys’ fee award they are requesting for the purported value conferred
                      on the Company by the rescission of the 2018 CEO Performance Award, which request
                      includes an award of nearly 30 million freely tradeable shares of our common stock,
                      currently valued at more than $5 billion (based on the closing price of Tesla common stock
                      on April 12, 2024). The plaintiff’s theory is that his lawsuit benefited Tesla by causing the
                      cancellation of options issued to Mr. Musk under the 2018 CEO Performance Award. If the
                      2018 CEO Performance Award is ratified, those options will be restored to Mr. Musk. As a
                      result, Mr. Tornetta may not be considered to have rendered the “benefit” to Tesla through
                      his lawsuit that is claimed by his attorneys. Although the Delaware Court may order some
                      other remedy or attorneys’ fees as a result of the lawsuit (assuming that Tornetta is not
                      overturned on appeal), defendants in the Tornetta case would be able to argue that any
                      award of attorneys’ fees — if there is any — should be significantly smaller than what
                      Mr. Tornetta’s attorneys are currently seeking.

             Reasons for the Ratification
             The determination of the Special Committee and the determination of the Board that Ratification
             by stockholders is in the best interest of the Company and all of its stockholders, and the
             decision of


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             the Special Committee to recommend to the Board that it recommend that the Company’s
             stockholders vote for Ratification, were the result of deliberation and consideration. The Special
             Committee prepared and delivered a report to the Board, and the full text of the Special
             Committee Report is attached to this Proxy Statement as Annex E . The Special Committee
             Report explains the Special Committee’s reasoning for its determination and is summarized
             herein. The following summary of the key considerations of the Special Committee and the
             Board is not intended to be exhaustive, and is qualified in its entirety by reference to the Special
             Committee Report attached to this Proxy Statement. Stockholders are encouraged to read the
             full text of the Special Committee Report for additional detail regarding the analysis of the
             Special Committee on the proposed Ratification.
             Because of the nature of the ratification process, the Special Committee did not substantively
             re-evaluate the amount or terms of the 2018 CEO Performance Award and did not engage a
             compensation consultant. It did not negotiate with Mr. Musk. The Special Committee determined
             that none of those steps would have been consistent with ratification. The Special Committee
             noted that the Board previously decided in January 2018 that the 2018 CEO Performance Award
             was fair, and noted that Ms. Wilson-Thompson was not on the Board at that time. The Special
             Committee further noted that the defendants in Tornetta will be appealing the ruling because
             they believe the compensation plan is fair and should be upheld as agreed. The Special
             Committee assessed only whether the 2018 CEO Performance Award, as it was previously
             agreed to, should be ratified by stockholders at this time based on the facts that currently exist.
             The Special Committee took account of and investigated a number of factors, including, among
             others: Ms. Wilson-Thompson’s knowledge of the Company’s compensation practices and
             philosophy; stockholder sentiment; potential alternatives to ratification; and Mr. Musk’s views on
             the 2018 CEO Performance Award. The Committee’s decision on Ratification was grounded in
             several factors described below, which formed the basis for its recommendations to the Board.
             Stockholders Want to Speak for Themselves. The Special Committee noted that Tesla
             stockholders’ views about their Company are important. Their views on Mr. Musk’s
             compensation, motivation, and retention are especially important because — as the Company’s
             public disclosures have said for years — the Company is “highly dependent on the services of
             Elon Musk.” As a result, the Company’s relationship with Mr. Musk is a key focus of the Board’s
             stockholder engagement program.
             Since the Tornetta Opinion — a case brought by a plaintiff who then held nine shares of the
             Company’s common stock — many stockholders have strongly expressed support for Mr. Musk’s
             compensation. The Special Committee noted that dozens of institutional stockholders have,
             unprompted, told the Company’s Investor Relations team that they disagree with Tornetta ’s
             invalidation of the 2018 CEO Performance Award. Seven institutional stockholders — including
             four of the top 10 — felt strongly enough to seek a meeting with the Board Chair and raise the
             issue. One of those top 10 investors, T. Rowe Price, sent a follow up letter to the Board Chair
             reiterating its support for a new stockholder vote, excerpts of which are included in the Special
             Committee Report.
             The Special Committee noted that this issue has also galvanized many retail stockholders. More
             than 6,000 individuals claiming to be stockholders owning more than 23 million total shares —
             equivalent to the 11th largest institutional stockholder — sent unsolicited letters and emails to
             the Board or to the Tornetta court supporting the reinstatement of Mr. Musk’s equity
             compensation.
             The Special Committee found this stockholder feedback powerful and persuasive. In its
             judgment, this alone justifies holding a ratification vote so that stockholders can determine
             whether Musk’s compensation plan is fair and in their best interests.
             A Ratification Vote Should Cure Tornetta’s Disclosure Criticisms.       The Special Committee
             noted that the Tornetta decision criticizes many aspects of the negotiation process for, the
             substance of, and the disclosures about the 2018 CEO Performance Award. The Special
             Committee believes that a new stockholder vote allows the disclosure deficiencies found by the
             Tornetta court to be corrected, among other things. Stockholders will have the opportunity to
             vote on Mr. Musk’s 2018


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             CEO Performance Award with full knowledge of everything the Tornetta decision criticized. They
             will also know what Mr. Musk achieved.
             The Special Committee is aware that the Company and the defendants in Tornetta vigorously
             dispute the ruling and the defendants plan to appeal it. Regardless of the decision’s merits,
             holding a new vote, with the Tornetta Opinion fully disclosed and attached as Annex I to this
             Proxy Statement, has independent value in the Special Committee’s eyes because it will remove
             the cloud over the 2018 vote. Our stockholders can decide for themselves if they think
             Mr. Musk’s compensation is fair, in light of what he achieved and its impact on stockholders.
             Ratification Could Avoid Further Uncertainty Regarding Mr. Musk’s Compensation And
             Motivation.    The 2018 CEO Performance Award was first approved by our stockholders in
             March 2018. The Tornetta litigation has been pending for nearly six years, and proceedings
             remain ongoing in the trial court. The Special Committee noted that an appeal would take
             many months at the least. Ratification by our stockholders at the 2024 Annual Meeting could
             avoid a prolonged period of uncertainty regarding the Company’s most important employee.
             Although the Special Committee made its decision beforehand, it wanted to hear directly from
             Mr. Musk on this issue. It asked him whether, and why, the 2018 CEO Performance Award was
             important to him. Mr. Musk told the Special Committee that, like most people, he wants to be
             treated fairly and with respect. He said he feels that he worked extraordinarily hard, and made
             many sacrifices, to meet the terms of the deal that had been agreed on. He made clear that his
             ownership interest in Tesla is also very meaningful to him. And he confirmed that the 2018 CEO
             Performance Award had been motivating, and that ratification of it would motivate him to
             continue devoting his time and energy to Tesla. Furthermore, the Company notes that the
             specific provision of the 2018 CEO Performance Award requiring Mr. Musk to hold any shares of
             common stock obtained from exercising (not vesting) options for a period of five years after the
             exercise date further motivates Mr. Musk to continue devoting his time and energy to Tesla.
             Seeking Ratification Now Potentially Avoids A Criticism of the Redomestication Vote . The
             Special Committee determined that holding a ratification vote on Mr. Musk’s compensation now
             may take away one potential criticism of the stockholder vote on the Texas Redomestication
             under Proposal Three in this Proxy Statement. The Special Committee was cognizant of the
             possibility that its redomestication decision could be wrongly perceived as being made in direct
             response to the Tornetta Opinion and with the intent to award Mr. Musk compensation in a
             different jurisdiction that he could not get in Delaware. The Special Committee concluded that
             holding a ratification vote now should preclude such criticism.
             Seeking Ratification Now Potentially Avoids Other Costs . The Special Committee also
             noted that if the 2018 CEO Performance Award is not ratified, then Tesla may need to negotiate
             a replacement compensation plan with Mr. Musk in order to motivate him to devote his time and
             energy to Tesla. Negotiating a new plan would likely take substantial time in light of the
             criticisms in Tornetta of the process that led to the 2018 CEO Performance Award. And any new
             plan would, of course, require Mr. Musk to agree to the terms and amount. Although the Special
             Committee expressly and consciously did not negotiate (or renegotiate) with Mr. Musk about his
             compensation, it expects from its interview with him that, for Mr. Musk to agree to it, any new
             plan would need to be of a similar magnitude to the 2018 CEO Performance Award.
             The Special Committee also concluded that there is a risk that a new compensation plan would
             thus have a substantially similar dilution effect as the 2018 CEO Performance Award (assuming
             it is equity-based rather than cash). It would likely result in a very large, incremental accounting
             charge for compensation expense. For illustrative purposes, the Company’s accounting team
             informed the Special Committee that a new grant of 300 million fully vested options —
             functionally equivalent to what Mr. Musk had before the Tornetta Opinion — would potentially
             result in an accounting charge in excess of $25 billion, depending on certain timing and
             valuation factors. According to their analysis, any replacement compensation plan would likely
             have to be less than 10% of the size of the 2018 CEO Performance Award to avoid a new
             accounting charge for compensation expense that is greater than the reversal of the 2018
             charge. The Special Committee also considered the possibility that


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             ratification of Mr. Musk’s 2018 CEO Performance Award could undermine the basis for the
             Tornetta plaintiff’s request for an award of attorneys’ fees of approximately $5 billion in Tesla
             stock.

             Certain Additional Considerations and Risks Associated with the Ratification
             Stockholders should also consider the following considerations and risks associated with the
             Ratification:
                    • This Ratification may be challenged in these novel circumstances by stockholders, both
                      before and after the vote. It is possible that the seeking of Ratification may result in
                      further legal expenses, delay and resource consumption beyond costs associated with
                      solely pursuing the appeal in the Tornetta case. The Special Committee noted in its report
                      that even a favorable Ratification vote by stockholders may not fully resolve this matter.
                      The Special Committee and its advisors noted that they could not predict with certainty
                      how a vote to ratify the 2018 CEO Performance Award would be treated under Delaware
                      law under these novel circumstances.
                    • Further, stockholders may challenge our ability under Delaware law to submit the
                      Ratification to a vote of our stockholders and may seek an injunction to prevent the
                      Ratification from being voted upon by our stockholders at our 2024 Annual Meeting. As a
                      result, there is a risk that stockholders seeking to express disagreement with this decision
                      could derail the desires of a majority of the stockholders.
                    • Stockholders may challenge the legal effect of the Ratification, even after the stockholder
                      vote, which means there could be subsequent challenges to and further delays of our
                      ability to provide appropriate compensation to Mr. Musk for the 2018 to 2023 period, or
                      that the Ratification could get subsequently overturned. Litigation relating to the
                      Ratification, regardless of merit, may cause us to incur significant expenses. Further, if a
                      court determines that such litigation has merit, we may be required to pay substantial
                      monetary damages.
                    • The Delaware Court, or another court, may find that the Ratification is not fair to
                      stockholders, even if stockholders approve the Ratification Proposal, and it may find that
                      the process employed by the Special Committee was not adequate or fair, or that the
                      Ratification is otherwise legally defective.
                    • The Delaware Court, or another court, may find that Ms. Wilson-Thompson was not
                      independent with respect to the Ratification and this proposal notwithstanding the Special
                      Committee’s determination.
                    • As disclosed in the Special Committee Report, the Special Committee did not seek to
                      negotiate a new compensation package with Mr. Musk and there is no such new
                      compensation package planned by the Company. There can be no guarantee that
                      negotiation of such a replacement package would not have resulted in cost savings to the
                      Company greater than the anticipated cost savings noted by the Special Committee in its
                      report and summarized above.
                    • Notwithstanding the position of the Special Committee and the Board that Ratification
                      could undermine the Tornetta plaintiff’s request for an award of legal fees of approximately
                      $5 billion in Tesla stock, there can be no guarantee that Ratification will have this effect or
                      alter a court’s finding of the plaintiff’s entitlement to such a fee. As of the date of this
                      Proxy Statement, the request is under consideration by a court, and there can be no
                      guarantee that the defendants in Tornetta would be successful in making such a claim.
                      The plaintiff’s theory is that his lawsuit “benefited” Tesla by causing the cancellation of
                      options issued to Mr. Musk under the 2018 CEO Performance Award. If the 2018 CEO
                      Performance Award is ratified, those options will be restored to Mr. Musk. As a result,
                      Mr. Tornetta may not be considered to have rendered the “benefit” to Tesla through his
                      lawsuit that is claimed by his attorneys. Although the Delaware Court may order some
                      other remedy or attorneys’ fees as a result of the lawsuit (assuming that Tornetta is not
                      overturned on appeal), defendants in the Tornetta case would be able to argue that any
                      award of attorneys’ fees — if there is any — should be significantly smaller than what
                      Mr. Tornetta’s attorneys are currently seeking.


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             In addition, stockholders should take into account the following considerations and risks
             associated with not ratifying the 2018 CEO Compensation Plan, including:
                    • Mr. Musk has not received compensation in nearly six years. Mr. Musk has no active
                      compensation plans or arrangements, or negotiations, with the Company, other than the
                      2018 CEO Performance Award. There is a risk that failure to ratify would further delay any
                      compensation for the CEO, which could affect his incentive to continue devoting time and
                      energy to Tesla, which is essential to the Company.
                    • As noted by the Special Committee, if the Company needed to replace Mr. Musk’s
                      compensation with similar compensation in lieu of Ratification, such amounts would likely
                      result in significant accounting charges, for the Company. The Company has determined if
                      Tesla were to issue new stock option awards to purchase approximately 303.96 million
                      shares of common stock, assuming no further vesting conditions or sale restrictions with
                      the exercise price as the closing stock price of April 1, 2024, which was $175.22, the
                      accounting implication would be an incremental compensation expense in excess of
                      $25 billion, which is calculated using a Black-Scholes valuation model (assuming an
                      expected term of five years), even when taking into account the reversal of original grant
                      date fair value of the 2018 CEO Performance Award of approximately $2.3 billion.
                    • While there can be no guarantee that the stockholder vote — either for or against the
                      Ratification — will have any effect on the outcome of the Tornetta plaintiff’s request for an
                      award of legal fees, if the Ratification vote is unsuccessful, the defendants in the Tornetta
                      case will not be able to argue that the Ratification should have an effect on the requested
                      legal fees.

             Federal Income Tax Consequences
             The following discussion is a brief summary of the principal United States federal income tax
             consequences of the 2018 CEO Performance Award under the Tax Code as in effect on the date
             of this proxy statement. The following summary assumes that Mr. Musk remains a U.S. taxpayer.
             The Tax Code and its regulations are subject to change. This summary is not intended to be
             exhaustive and does not describe, among other things, state, local or non-U.S. income and
             other tax consequences. The specific tax consequences to Mr. Musk will depend upon his future
             individual circumstances.
             Tax Effect for Mr. Musk . Mr. Musk did not have taxable income from the grant of the 2018
             CEO Performance Award nor will he have taxable income from the Ratification, if such approval
             occurs. If and when Mr. Musk exercises any portion of the 2018 CEO Performance Award, he
             will recognize ordinary income in an amount equal to the excess of the fair market value (on the
             exercise date) of the Tesla shares purchased over the exercise price of the option. Any taxable
             income recognized in connection with the exercise of the 2018 CEO Performance Award by
             Mr. Musk will be subject to tax withholding by us. Any additional gain or loss recognized upon
             any later disposition of the shares will be capital gain or loss.
             Tax Effect for Tesla. We will not be entitled to a material tax deduction in connection with the
             2018 CEO Performance Award. In most cases, companies are entitled to a tax deduction in an
             amount equal to the ordinary income realized by a participant when the participant exercises a
             nonstatutory stock option and recognizes such income. However, Section 162(m) of the Tax
             Code limits the deductibility of compensation paid to our Chief Executive Officer and other
             “covered employees” as defined in Section 162(m) of the Tax Code. No tax deduction is allowed
             for compensation paid to any covered employee to the extent that the total compensation for
             that executive exceeds $1,000,000 in any taxable year. Under Section 162(m) of the Tax Code,
             we expect that Mr. Musk always will be a covered employee for purposes of Section 162(m) of
             the Tax Code. Therefore, in any given year in which Mr. Musk exercises all or part of the 2018
             CEO Performance Award, we will be able to take a tax deduction of only $1,000,000 or less,
             regardless of the amount of compensation recognized by Mr. Musk from the exercise of the 2018
             CEO Performance Award.

             Interests of Certain Persons
             Mr. Musk, our director and Chief Executive Officer, has a direct interest in the Ratification of the
             2018 CEO Performance Award since he is the recipient. Mr. Musk has no active compensation
             plans


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             or arrangements, or negotiations, with the Company, other than the 2018 CEO Performance
             Award. Kimbal Musk is a director of the Company and is Mr. Musk’s brother. Kimbal Musk has
             an indirect interest in the Ratification of the 2018 CEO Performance Award by virtue of this
             relationship. As a result of these interests, the Special Committee recommended and the Board
             determined it would be best for Mr. Musk and Kimbal Musk to recuse themselves from
             consideration of the Ratification. As discussed in the Special Committee Report, the Special
             Committee did not interview Mr. Musk or Kimbal Musk until after it had reached a decision on
             both redomestication and ratification. However, both were interviewed in their capacities as CEO
             and director and director, respectively. No aspect of either of those interviews caused the
             Special Committee to rethink its decisions.
             As noted in the Tornetta decision and in various media outlets, several members of the Board
             have social or business connections with Mr. Musk or other Tesla directors. The Board was
             cognizant of the Tornetta decision in particular and determined that the directors addressed in
             the Tornetta decision would not be selected for the Special Committee. Further, as the mandate
             of the Special Committee expanded to cover Ratification, Mr. Gebbia resigned from the Special
             Committee due to the potential for perceived conflicts of interest, including from his relationship
             with Mr. Musk. This is more fully described in the Special Committee Report.
             The Special Committee, in conjunction with its advisors, determined that Ms. Wilson-Thompson
             was independent and has had no compromising personal or financial ties to Mr. Musk or any
             other Tesla director from her first appointment to the Board in December 2018 to today. For
             additional information, see the Special Committee Report.

             Conclusion
             After careful review of all of the factors, taken together, the Special Committee and the Board
             believe that the Ratification is in the best interests of the Company and all of its stockholders,
             and the Board recommends that stockholders vote FOR the Ratification.

             Effect of Not Obtaining the Required Vote for Approval
             If the proposal to approve the Ratification fails to obtain the requisite vote for approval, the
             Ratification will not be approved.

             Required Vote
             We ask our stockholders to approve the Ratification. The proposal to approve the Ratification
             requires the following votes of Tesla’s Stockholders:
                    (1) the affirmative vote of the holders of a majority of the total votes of shares of Tesla
                        common stock cast in person or by proxy at the 2024 Annual Meeting on the proposal,
                        pursuant to the rules of The Nasdaq Stock Market LLC (the “ NASDAQ Standard ”),
                        and
                    (2) the affirmative vote of a majority of the voting power of the shares present in person or
                        represented by proxy at the 2024 Annual Meeting and entitled to vote on the proposal,
                        pursuant to Tesla’s amended and restated bylaws (the “ Bylaws Standard ”),
                        and
                    (3) The affirmative vote of the holders of a majority of the total votes of shares of Tesla
                        common stock not owned, directly or indirectly, by Mr. Musk or Kimbal Musk, cast in
                        person or by proxy at the 2024 Annual Meeting on the proposal, pursuant to the
                        resolutions of the Board approving the Ratification (the “ Ratification Disinterested
                        Standard ”).
             With respect to the approval of the Ratification, you may vote “FOR”, “AGAINST” or “ABSTAIN”.
             Abstentions will be counted toward the tabulations of voting power present and entitled to vote
             on the Ratification. If you vote to abstain, it will have the same effect as a vote against the
             Ratification under the Bylaws Standard, but will have no effect on the Ratification under the
             NASDAQ Standard or the Ratification Disinterested Standard.


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             A broker non-vote occurs when a broker, bank or other intermediary that is otherwise counted as
             present or represented by proxy does not receive voting instructions from the beneficial owner
             and does not have the discretion to vote the shares. A broker non-vote will be counted for
             purposes of calculating whether a quorum is present at the 2024 Annual Meeting, but will not be
             counted for purposes of determining the number of votes present in person or represented by
             proxy and entitled to vote or the votes cast with respect to a particular proposal as to which that
             broker non-vote occurs. Thus, a broker non-vote will impact our ability to obtain a quorum for
             the 2024 Annual Meeting, but will not otherwise affect the outcome of the Ratification since the
             proposal requires the approval of (i) a majority of the total votes of shares of Tesla common
             stock cast in person or by proxy on the proposal, (ii) a majority of the voting power present in
             person or represented by proxy and entitled to vote on the proposal, and (iii) a majority of the
             total votes of shares of Tesla common stock not owned, directly or indirectly, by Mr. Musk or
             Kimbal Musk cast in person or by proxy on the proposal. Brokers do not have discretion to vote
             on the proposal to approve the Ratification and broker non-votes will have no effect on the
             voting on the proposal.




                              The Board (with Mr. Musk and Kimbal Musk recusing themselves)
                               recommends that stockholders vote FOR the ratification of the
                             100% performance-based stock option award to Mr. Musk that was
                                  proposed to and approved by our stockholders in 2018.




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             Proposal Five
             Tesla Proposal for Ratification of Appointment of Independent
             Registered Public Accounting Firm
             General
             The Audit Committee has selected PricewaterhouseCoopers LLP as Tesla’s independent
             registered public accounting firm to audit the consolidated financial statements of Tesla for the
             fiscal year ending December 31, 2024, which will include an audit of the effectiveness of Tesla’s
             internal control over financial reporting. PricewaterhouseCoopers LLP has audited Tesla’s
             financial statements since 2005. A representative of PricewaterhouseCoopers LLP is expected
             to be present at the meeting, will have the opportunity to make a statement if he or she desires
             to do so and is expected to be available to respond to appropriate questions.
             Stockholder ratification of the selection of our independent registered public accounting firm is a
             matter of good corporate practice. In the event that this selection is not ratified by the
             affirmative vote of a majority of voting power of the shares in person or by proxy at the meeting
             and entitled to vote on the subject matter, the appointment of the independent registered public
             accounting firm will be reconsidered by the Audit Committee. Even if the selection is ratified, the
             Audit Committee in its discretion may direct the appointment of a different accounting firm at
             any time during the year if the Audit Committee determines that such a change would be in the
             best interests of Tesla and our stockholders.

             Principal Accounting Fees and Services
             The following table presents fees billed for professional audit services and other services
             rendered to Tesla by PricewaterhouseCoopers LLP for the years ended December 31, 2022 and
             2023. The dollar amounts in the table and accompanying footnotes are in thousands.
                                                                                                                      2022         2023
                            (1)
             Audit Fees                                                                                            $ 16,192     $ 17,365
             Audit-Related Fees (2)                                                                                       44           42
                          (3)
             Tax Fees                                                                                                  4,442        2,579

             All Other Fees (4)                                                                                          134          269
                  Total                                                                                            $ 20,812     $ 20,255

             (1) Audit Fees consist of fees for professional services rendered for the audit of Tesla’s consolidated financial statements
                 included in Tesla’s Annual Report on Form 10-K and for the review of the financial statements included in Tesla’s
                 Quarterly Reports on Form 10-Q, as well as services that generally only Tesla’s independent registered public
                 accounting firm can reasonably provide, including statutory audits and services rendered in connection with SEC
                 filings.
             (2) Audit-Related Fees in 2022 and 2023 consisted of fees for professional services for certain agreed upon procedures in
                 conjunction with certain financing transactions and other attestation services.
             (3) Tax Fees in 2022 and 2023 consisted of fees related to consultation, tax planning and compliance services.
             (4) Other Fees in 2022 and 2023 consisted of permitted services other than those that meet the criteria above and include
                 fees for accounting research software, the assessment of non-financial metrics and documentation and
                 pre-implementation review of non-financial systems.

             Pre-Approval of Audit and Non-Audit Services
             Tesla’s Audit Committee has adopted a policy for pre-approving audit and non-audit services
             and associated fees of Tesla’s independent registered public accounting firm. Under this policy,
             the Audit Committee must pre-approve all services and associated fees provided to Tesla by its
             independent registered public accounting firm, with certain de minimis exceptions described in
             the policy.


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             All PricewaterhouseCoopers LLP services and fees in fiscal 2022 and 2023 were pre-approved
             by the Audit Committee.




                              The Board recommends a vote FOR the Tesla proposal for the
                            ratification of the appointment of PricewaterhouseCoopers LLP as
                            Tesla’s independent registered public accounting firm for the fiscal
                                              year ending December 31, 2024.




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             Proposal Six
             Stockholder Proposal Regarding Reduction of Director Terms to
             One Year
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by James McRitchie. James McRitchie has informed us that he
             is the beneficial owner of more than 100 shares of Tesla’s common stock and intends to present
             the following proposal at the 2024 Annual Meeting. James McRitchie’s address is 9295 Yorkship
             Court, Elk Grove, CA 95758. The stockholder proposal will be required to be voted upon at the
             2024 Annual Meeting only if properly presented.
             Stockholder Proposal and Supporting Statement
                                                            ***




                                           Proposal Six: Elect Each Director Annually
             RESOLVED, James McRitchie, of CorpGov.net, and other Tesla Inc (“ Company ”) shareholders
             ask that our Company take all the steps necessary to reorganize the Board of Directors into one
             class, with each director subject to election each year for a one-year term.
             SUPPORTING STATEMENT: Arthur Levitt, former Chairman of the Securities and Exchange
             Commission, said, “In my view, it’s best for the investor if the entire board is elected once a
             year. Without annual election of each director shareholders have far less control over who
             represents them.”
             Since directors in a declassified board are elected and evaluated each year, declassification
             promotes responsiveness to shareholder demands and pressures directors to perform to retain
             their seats. Declassified boards are more likely to be diverse in nature and increase
             accountability and responsiveness to shareholders.
             More than 90% of S&P 500 companies elect each director annually. Annual elections are widely
             viewed as a corporate governance best practice to make directors more accountable, thereby
             contributing to improved performance and increased company value.
             Shareholder resolutions by James McRitchie on this topic won 11 of 11 votes at companies
             since 2018, according to data compiled by Diligent, with an average vote of more than 77%.
             Proxy advisory firms ISS and Glass Lewis both supported all such proposals. According to one
             of our largest shareholders, BlackRock: “Directors should be re-elected annually; classification
             of the board generally limits shareholders’ rights to regularly evaluate a board’s performance
             and select directors.” Vanguard generally votes for proposals to declassify an existing board and
             votes against management or shareholder proposals to create a classified board.
             According to Equilar, “A classified board creates concern among shareholders because poorly
             performing directors may benefit from an electoral reprieve. Moreover, a fraternal atmosphere
             may form from a staggered board that favors the interests of management above those of
             shareholders. Since directors in a declassified board are elected and evaluated each year,
             declassification promotes responsiveness to shareholder demands and pressures directors to
             perform to retain their seat.”
             This proposal should also be evaluated in the context of our Company’s overall corporate
             governance as of the date of this submission: Shareholders cannot call special meetings, act by
             written consent, or modify various bylaws without at least 66 and 2/3% of the voting power of
             outstanding stock.
             Our Company’s technology is second to none. Our Company’s corporate governance should
             meet the same high standards.
                                        Increase Long-Term Shareholder Value
                                  Vote FOR Elect Each Director Annually — Proposal 6
                                                            ***


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             Opposing Statement of the Board
             The Board has considered this proposal and has determined that it would not serve the best
             interests of Tesla or our stockholders. Tesla’s mission is to accelerate the world’s transition to
             sustainable energy. This mission continues to require a long-term focus that we believe will
             ultimately maximize value to our stockholders, and we face the risk of distractions posed by
             special interests that seek only short-term returns.
             At the same time, the Board continuously evaluates our corporate governance structure,
             practices and policies, and also weighs feedback from our stockholders as well as the
             stockholder proposals we have historically received for our annual meetings of stockholders.
             The stockholder proponent’s main justification in proposing Board declassification is to increase
             director accountability and responsiveness to stockholders. This fails to account for a history of
             stockholder engagement and responsiveness to stockholder proposals by our Board, which
             includes: amending the bylaws of the Company to enable proxy access, and recommending
             management proposals in past years to reduce director terms and eliminate applicable
             supermajority voting requirements. Our Board maintains an active, year-round dialogue with our
             stockholders and is committed to supporting our efforts to enhance engagement. As such, we do
             not believe declassifying the Board would serve to enhance the robust process we are already
             currently undertaking.
             As the stockholder proponent acknowledges, our current Certificate of Incorporation and Bylaws
             require the affirmative vote of at least 66 2 ⁄ 3 % of the total outstanding shares entitled to vote in
             order to approve an amendment to reduce the terms of our directors. Without achieving the
             required stockholder participation rate, the Board would not have the authority to implement
             declassification even if it wished to do so. As disclosed in our 2023 Proxy Statement, the Board
             has determined that, once we have achieved a total stockholder participation rate of at least
             65% at a stockholder meeting, the Board will again propose Certification of Incorporation and
             Bylaw amendments to eliminate supermajority voting requirements. To the extent such proposal
             to eliminate supermajority voting requirements achieves the required threshold to pass, it will
             unlock a gateway for our Board and stockholders to adopt further stockholder-driven governance
             actions, including, without limitation, the declassification of the Board.
             As a result, because our Board has already shown through its actions its responsiveness to
             stockholders and commitment to a governance framework that we believe will ultimately
             maximize value to our stockholders, our Board recommends against this proposal.



                              The Board recommends a vote AGAINST the stockholder proposal
                                      regarding reduction of director terms to one year.




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             Proposal Seven
             Stockholder Proposal Regarding Simple Majority Voting Provisions
             in Our Governing Documents
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by John Chevedden. John Chevedden has informed us that he
             is the beneficial owner of more than 100 shares of Tesla’s common stock and intends to present
             the following proposal at the 2024 Annual Meeting. John Chevedden’s address is 2215 Nelson
             Avenue, No. 205, Redondo Beach, CA 90278. The stockholder proposal will be required to be
             voted upon at the 2024 Annual Meeting only if properly presented.

             Stockholder Proposal and Supporting Statement
                                                              ***
                                           Proposal Seven: Simple Majority Vote




             Shareholders request that our board take each step necessary so that each voting requirement
             in our charter and bylaws (that is explicit or implicit due to default to state law) that calls for a
             greater than simple majority vote be replaced by a requirement for a majority of the votes cast
             for and against applicable proposals, or a simple majority in compliance with applicable laws. If
             necessary this means the closest standard to a majority of the votes cast for and against such
             proposals consistent with applicable laws. This includes making the necessary changes in plain
             English.
             Shareholders are willing to pay a premium for shares of companies that have excellent
             corporate governance. Supermajority voting requirements have been found to be one of 6
             entrenching mechanisms that are negatively related to company performance according to “What
             Matters in Corporate Governance” by Lucien Bebchuk, Alma Cohen and Allen Ferrell of the
             Harvard Law School. Supermajority requirements like those at Marathon Petroleum are used to
             block corporate governance improvements supported by most shareowners but opposed by a
             status quo management.
             This proposal topic won from 74% to 88% support at Weyerhaeuser, Alcoa, Waste Management,
             Goldman Sachs, FirstEnergy, McGraw-Hill and Macy’s. These votes would have been higher
             than 74% to 88% if more shareholders had access to independent proxy voting advice. This
             proposal topic also received overwhelming 98%-support each at the 2023 annual meetings of
             American Airlines (AAL) and The Carlyle Group (CG).
             This proposal topic was approved by more than a majority of Tesla shareholders at the 2020
             Tesla annual meeting. Thus it should have been adopted in 2020. The responsibility for this
             proposal topic not being adopted now falls on Mr. Ira Ehrenpreis who chairs the Tesla Corporate
             Governance Committee. Shareholders can vote against Mr. Ehrenpreis as a sign that they are
             impatient in regard to the long overdue adoption of this proposal topic.
                                                      Please vote yes:
                                              Simple Majority Vote — Proposal 7
                                                              ***

             Opposing Statement of the Board
             The Board recommends a vote against this proposal.
             Proposals relating to adoption of amendments to our certificate of incorporation and bylaws to
             eliminate applicable supermajority voting requirements have previously been put forth for vote at


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             prior Tesla annual meetings of stockholders, most recently in 2022. However, such proposals
             have failed to pass each time. Because the affirmative vote of at least 66 2 ⁄ 3 % of the total
             outstanding shares entitled to vote is required to approve such amendments, such proposals
             cannot pass unless we achieve such a stockholder participation rate. Accordingly, as disclosed
             in the proxy materials distributed in connection with the Company’s 2023 annual meeting of
             stockholders (the “ 2023 Proxy Statement ”), the Board determined that once we have achieved
             a total stockholder participation rate of at least 65% at a stockholder meeting, the Board will
             again propose certificate of incorporation and bylaw amendments to eliminate supermajority
             voting requirements.
             The stockholder proponent stated that, because “this proposal topic was approved by more than
             a majority of Tesla stockholders at the 2020 annual meeting … it should have been adopted in
             2020.” This statement is inaccurate and demonstrates a substantial lack of understanding not
             only of governance and Tesla’s governing documents, but also of our prior actions and
             disclosures. In fact, following the simple majority approval of the similar 2020 proposal, Tesla
             put forth a proposal for adoption of amendments to our certificate of incorporation and bylaws to
             eliminate applicable supermajority voting requirements in our 2021 proxy statement. Therefore,
             the actions of the Nominating and Corporate Governance Committee and its Chair, Ira
             Ehrenpreis, and the Board, were appropriately responsive to the majority-supported 2020
             proposal, and stockholder were asked to vote on the matter. However, the 2021 management
             proposal to amend the certificate of incorporation failed to achieve the requisite affirmative vote
             of at least 66 2 ⁄ 3 % of the total outstanding shares entitled to vote (our stockholder) and thus
             could not be validly adopted. Accordingly, the current proposal is factually incorrect and
             misleading in its characterization of our Board’s governance and prior actions. As previously
             disclosed in our 2023 Proxy Statement, once we have achieved the threshold participation rate
             at a stockholder meeting, the Board will again propose certificate of incorporation and bylaw
             amendments to eliminate supermajority voting requirements.




                              The Board recommends a vote AGAINST the stockholder proposal
                              for simple majority voting provisions in our governing documents.




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             Proposal Eight
             Stockholder Proposal Regarding Annual Reporting on
             Anti-Harassment and Discrimination Efforts
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by the Comptroller of the State of New York, which is the
             Trustee of the New York State Common Retirement Fund (the “ Fund ”) and the Administrative
             Head of the New York State and Local Retirement System. The Comptroller of the State of New
             York has informed us that the Fund is the beneficial owner of more than 100 shares of Tesla’s
             common stock and intends to present the following proposal at the 2024 Annual Meeting through
             its designee. The Fund’s address is 110 State Street, 14 th Floor, Albany, NY 12236. The
             stockholder proposal will be required to be voted upon at the 2024 Annual Meeting only if
             properly presented.

             Stockholder Proposal and Supporting Statement
                                                                       ***
             Resolved , Shareholders request the Board of Directors oversee the preparation of an annual
             public report describing and quantifying the effectiveness and outcomes of Tesla, Inc.’s (Tesla)
             efforts to prevent harassment and discrimination against its protected classes of employees. In
             its discretion, the Board may wish to consider including disclosures such as:
                    • the total number and aggregate dollar amount of disputes settled by the company related
                      to abuse, harassment or discrimination in the previous three years;
                    • the total number of pending harassment or discrimination complaints the company is
                      seeking to resolve through internal processes, arbitration, or litigation;
                    • the retention rates of employees who raise harassment or discrimination concerns, relative
                      to total workforce retention;
                    • the aggregate dollar amount associated with the enforcement of arbitration clauses;
                    • the number of enforceable contracts for current or past employees which include
                      concealment clauses, such as non-disclosure agreements or arbitration requirements, that
                      restrict discussions of harassment or discrimination; and
                    • the aggregate dollar amount associated with agreements containing concealment clauses.
             This report should not include the names of accusers or details of their settlements without their
             consent and should be prepared at a reasonable cost and omit any information that is
             proprietary, privileged, or violative of contractual obligations.

             Supporting Statement
             Tesla states “Tesla has a zero-tolerance policy for harassment of any kind, and we have always
             disciplined and terminated employees who engage in misconduct, including those who use racial
             slurs or harass others in different ways.” (1)
             Yet, there have been numerous serious allegations of racial or sexual harassment and
             discrimination at Tesla. As of November 21, 2023, these include, but are not limited to:
                    • The U.S. Equal Employment Opportunity Commission filed a lawsuit claiming that, Black
                      employees at Tesla’s Fremont, California, manufacturing facilities “have routinely endured
                      racial abuse, pervasive stereotyping, and hostility.” (2)
                    • 240 Black factory workers have filed testimonies in California’s Alameda County Superior
                      Court seeking class action status for alleged racial discrimination. (3)

             (1)
                    https://www.sec.gov/Archives/edgar/data/1318605/000156459022024064/tsla-def14a_20220804.htm
             (2)
                    https://www.eeoc.gov/newsroom/eeoc-sues-tesla-racial-harassment-and-retaliation
             (3)
                    https://apnews.com/article/tesla-racism-black-lawsuit-class-action-21c88bddf60eca702560be58429495de



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                    • The California Department of Fair Employment and Housing sued Tesla after receiving
                      hundreds of complaints; DFEH alleges that employees were subjected to racial slurs;
                      “segregated” and discriminated against in job assignments, pay, and promotion; and faced
                      retaliation when they reported their experiences. (4)
             There have been several high-profile derivative suits settled including at Twentieth Century Fox,
             Wynn Resorts, and Alphabet, alleging boards breached their duties by failing to protect
             employees from discrimination and harassment, injuring the companies and their shareholders.
             Civil rights violations within the workplace can result in substantial costs to companies,
             including fines and penalties, legal costs, costs related to absenteeism, reduced productivity,
             challenges recruiting, and distraction of leadership. A company’s failure to properly manage its
             workforce can have significant ramifications, jeopardizing relationships with customers and other
             partners.
             A public report such as the one requested would assist shareholders in assessing whether the
             Company is improving its workforce management.
                                                                            ***

             Opposing Statement of the Board
             The Board has considered this proposal and determined that it would not serve the best
             interests of Tesla or our stockholders, as the Company is already addressing the issues targeted
             by the proposal, and the reporting requested by the stockholder proponent would lead to
             confusion rather than drive stockholder value. Tesla’s goal is to create an environment where
             people enjoy coming to work every day. We believe that it is essential to provide all employees,
             world-wide, with a respectful and safe working environment where all employees can achieve
             their potential.
             As a result we do not tolerate discrimination, harassment, retaliation or any mistreatment of
             employees in the workplace or work-related situations. Our policies and practices are codified in
             our Code of Business Ethics as well as our Employee Guidebook. In addition, our Compensation
             Committee reviews and oversees human capital management practices relating to our
             employees.
             Our commitment to a safe workplace begins with training and prevention. We require every
             employee to review and acknowledge our Code of Business Ethics and Policy Against
             Discrimination & Harassment in the Workplace, and they are required to participate in an
             in-depth and interactive anti-harassment and anti-discrimination training. Anti-harassment
             training is conducted on day one of new hire orientation for all employees and reoccurring for
             leaders and other employees. Collectively, this ensures that all employees understand how to
             create and promote a respectful workplace, assess potential situations sooner and escalate
             appropriately. In addition, we run various leadership development programs throughout the year
             aimed at enhancing leaders’ skills, and in particular, helping them to understand how to
             appropriately respond to and address employee concerns.
             While our goal is always prevention, reported complaints of discrimination and harassment are
             promptly investigated and, if substantiated, subject to appropriate remedial measures up to and
             including termination. We have a dedicated team of Employee Relations partners who conduct
             impartial investigations into employee concerns and support overall positive workforce
             engagement. We encourage employees to raise concerns internally or externally. An employee
             can raise concerns or complaints to any member of management, Human Resources or
             Employee Relations. If they prefer to report another way, our Integrity Line is available to every
             employee globally, 24 hours a day, seven days a week. The Integrity Line allows employees to
             report concerns anonymously and without fear of retaliation. Human Resources, together with
             Employee Relations, will ensure that employee concerns are investigated promptly and
             impartially in a manner appropriate to the circumstances.
             We believe that the information requested by the stockholder proponent would not assist our
             stockholders in assessing whether we are improving our workforce management, but rather drive
             confusion and misunderstanding. We remain committed to creating and maintaining a respectful
             and inclusive workplace, and the steps we have taken to prevent and address harassment and
             (4)
                    https://qz.com/2126548/why-is-california-suing-tesla/



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             discrimination throughout our workforce, and will continue to challenge and defend ourselves
             against any allegations to the contrary. We believe that our active Board oversight, existing
             policies and dedicated team effectively address the issues targeted by this proposal.




                              The Board recommends a vote AGAINST the stockholder proposal
                              regarding annual reporting on anti-harassment and discrimination
                              efforts.




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             Proposal Nine
             Stockholder Proposal Regarding Adoption of a Freedom of
             Association and Collective Bargaining Policy
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by SOC Investment Group. SOC Investment Group has informed
             us that it is the beneficial owner of more than 100 shares of Tesla’s common stock and intends
             to present the following proposal at the 2024 Annual Meeting. SOC Investment Group’s address
             is 1900 L Street NW, Suite 900, Washington, D.C. 20036. The stockholder proposal will be
             required to be voted upon at the 2024 Annual Meeting only if properly presented.

             Stockholder Proposal and Supporting Statement
                                                                          ***
             RESOLVED , the Board of Directors of Tesla, Inc. shall adopt and disclose a Non- interference
             Policy (“ Policy ”) upholding the rights to freedom of association and collective bargaining in its
             operations, as reflected in the International Labour Organization’s Declaration on Fundamental
             Principles and Rights at Work (“ Fundamental Principles ”). The Policy should contain a
             commitment to:
                    • Non-interference when employees seek to form or join a trade union, and a prohibition
                      against acting to undermine this right or pressure employees not to form or join a trade
                      union;
                    • Good faith and timely collective bargaining if employees form or join a trade union;
                    • Uphold the highest standard where national or local law differs from international human
                      rights standards; and
                    • Define processes to identify, prevent, account for, and remedy practices that violate or are
                      inconsistent with the Policy.
             SUPPORTING STATEMENT: Freedom of association and collective bargaining are fundamental
             human rights protected by international standards including the Fundamental Principles, United
             Nation’s Guiding Principles on Business and Human Rights, and the United Nation’s Universal
             Declaration of Human Rights.
             According to the International Labour Organization, “Freedom of association refers to the right
             of workers … to create and join organizations of their choice freely and without fear of reprisal
             or interference.” (1)
             In some localities, the guidance outlined in these principles may be more stringent than national
             law. The United Nations High Commissioner for Human Rights asserts “ … where national laws
             and regulations offer a level of human rights protection that falls short of internationally
             recognized human rights standards, enterprises should operate to the higher standard.” (2)
             Tesla’s policies lack clarity on this point. Tesla’s Business Code of Ethics states that “Tesla is
             committed to upholding and respecting all internationally recognized human rights,” but Tesla’s
             Global Human Rights Policy undermines this commitment by stating that Tesla respects labor
             rights “In conformance with local law,” notably leaving out the commitment to any more stringent
             international standards. Adopting the Policy will clarify to workers and other stakeholders that
             Tesla will adhere to the higher standard and avoid any real or perceived conclusion otherwise.
             Tesla has been accused of interfering with workers’ rights in recent proceedings before the
             National Labor Relations Board (“ Labor Board ”). As of December 2023, the Labor Board has
             ruled against

             (1)
                    https://www.ilo.org/actrav/events/WCMS315488/lang-en/lndex.htm
             (2)
                    https://studylib.net/doc/8645493/the-corporate-responslbilitv-to-respect-human-rights



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             Tesla in several cases; others are pending. (3) In 2021, the Labor Board upheld a ruling that
             Tesla illegally fired a worker in retaliation for union organizing, and illegally threatened workers
             regarding unionization. (4) In Sweden, Tesla faces an expanding number of solidarity strikes after
             refusing to sign a collective agreement with mechanics represented by IF Metall.
             Such reports represent material reputational and operational risks to Tesla’s shareholders.
             Workers’ ability to exercise their labor rights can also have positive outcomes for companies and
             investors. Unionization has been shown to support an equitable and inclusive workplace,
             decrease turnover, improve health and safety, boost innovation, and strengthen responsible
             business conduct. (5)
                                                                          ***

             Opposing Statement of the Board
             The Board has considered this proposal and determined that it would not serve the best
             interests of Tesla or our stockholders, as the Company is already committed to protecting its
             employees’ rights.
             The ethical treatment of all people and regard for human rights is core to our mission of
             promoting a sustainable future. We endorse and base our definition of human rights on the
             United Nation’s Universal Declaration for Human Rights (UDHR). The UDHR focuses on dignity,
             respect and equality, without discrimination, and recognizes the right to freedom of association
             and collective bargaining. Our commitment to human rights is so deeply ingrained in our values
             that we also require all of our suppliers to follow our Supplier Code of Conduct, which mandates
             our suppliers to respect the right of all workers to form and join trade unions of their own
             choosing, to bargain collectively, to engage in peaceful assembly, as well as respect the right of
             workers to refrain from such activities. Our suppliers must allow workers and/or their
             representatives to be able to openly communicate and share ideas and concerns with
             management regarding working conditions and management practices without fear of
             discrimination, reprisal, intimidation or harassment.
             We have more than 140,000 employees worldwide, and we comply with all applicable local laws
             related to freedom of association and collective bargaining, and respect internationally
             recognized human rights in all the areas we operate. Our Global Human Rights Policy
             specifically sets forth that “Tesla respects the right of workers to form and join trade unions of
             their own choosing . . . to bargain collectively, and to engage in peaceful assembly as well as
             respect the right of workers to refrain from such activities.” In Germany, we have established a
             works council which advocates for employees and acts similarly to a union. In the US, we share
             information with employees on their rights under the National Labor Relations Act and we
             provide every manager training on employee rights, including the freedom of association.
             Along with our policies and the actions we have taken to protect our employees’ rights, we also
             provide our employees multiple methods to report any concerns or grievances. Tesla has been
             built upon a culture of open communication, and employees have the right to freely discuss their
             wages, benefits and terms and conditions of employment. They also have the ability to raise
             complaints internally or externally. We encourage employees to bring any concerns or
             grievances they may have to any member of management or their HR partner. We also operate
             an Integrity Line, which is available 24 hours a day, seven days a week, for employees to
             anonymously report concerns without fear of retaliation. In addition, our global Take Charge
             program enables employees to report issues and suggestions on safety, security and work
             practices, with the option to report anonymously. All issues and suggestions are responded to
             and tracked to closure. HR and management routinely conduct roundtables with employees, to
             understand employee painpoints
             (3)
                    https://www.theguardian.com/technology/2023/apr/01/elon-musk-broke-law-with-threat-to-tesla-workers-stock-
                    options-court-rules; https://www.reuters.com/buslness/autos-transportation/tesla-broke-us-labor-law-by-silencing-
                    workers-official-rules-2023-04-26/
             (4)
                    https://www.nytimes.com/2021/03/25/business/musk-labor-board.html
             (5)
                    https://www.ipa-involve.com/Handlers/Download.ashx?IDMF=e0209cd6-05d5-414a-ac22-c1d61af403f7
                    https://www.ilo.org/wcmsp5/groups/public/ — dgreports/ — dcomm/ — publ/documents/publication/
                    wcms_842807.pdf
                    https://www.theglobaIdeal.com/resources/The%20Business%20Case%20for%20Social%20Dialogue_FlNAL.pdf;
                    https://www.oecd.org/employment/negotiating-our-way-up-1fd2da34-en.htm



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             and barriers, impacting their ability to complete operational goals. These direct feedback
             mechanisms allow employees to be involved in shaping their workplace and supports agile
             decision making from leadership to address their requests or concerns.
             A talented and engaged workforce is central to our mission to accelerate the world’s transition
             to sustainable energy. In order to recruit and retain this workforce, Tesla is committed to, among
             other things, regular and meaningful engagement with our employees, a robust culture of safety
             and highly competitive compensation programs. We offer wages and benefits that meet or
             exceed those of other comparable manufacturing jobs in the regions where we operate, and we
             recently increased our base pay even further for much of our workforce. In addition, unlike other
             manufacturers, the vast majority of our employees have the opportunity of receiving equity,
             which can result in significantly higher compensation beyond our already industry-competitive
             total compensation.
             We believe our policy and actions speak for themselves and our commitment to our employees.
             The stockholder proponent cites to the United Nations as an international standard, and as
             stated above, we already endorse the UDHR in our practices. Rather than looking at Tesla’s
             commitment and actions, the stockholder proponent only desires Tesla to expend resources to
             create and maintain a policy framework and additional administrative bureaucracy set to the
             stockholder proponent’s own standards. This will not meaningfully alter Tesla’s commitment to
             human rights, nor create additional benefits to our employees or value for our stockholder.
             Therefore, as we believe that we have already included adequate disclosure with respect to
             employee rights, are actively engaged in protecting these rights, and have devoted substantial
             resources to creating a healthy culture, we do not believe in implementing this proposal.




                              The Board recommends a vote AGAINST the stockholder proposal
                              regarding adoption of a freedom of association and collective
                              bargaining policy.




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             Proposal Ten
             Stockholder Proposal Regarding Reporting on Effects and Risks
             Associated with Electromagnetic Radiation and Wireless
             Technologies
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by Lendri Purcell. Ms. Purcell has informed us that she is the
             beneficial owner of more than 100 shares of Tesla’s common stock and intends to present the
             following proposal at the 2024 Annual Meeting. Ms. Purcell’s address is 617 Galland Street,
             Petaluma, CA 94952. The stockholder proposal will be required to be voted upon at the 2024
             Annual Meeting only if properly presented.

             Stockholder Proposal and Supporting Statement
                                                          ***
             RESOLVED, Shareholders request that Tesla Board issue a report, at reasonable expense
             and excluding proprietary information, on the health effects and financial and competitive
             risks associated with electromagnetic radiation and wireless technologies embedded in its
             vehicles.
             SUPPORTING STATEMENT: Proponent suggests the report include independent expert test
             results of magnetic fields and RF radiation for each Tesla vehicle model inside and outside
             of the vehicles.
             Shareholders request that Tesla measure the magnetic fields and RF radiation inside and
             outside of its vehicles and issue an annual report on the health effects and financial and
             competitive risks associated with electromagnetic radiation and wireless technologies embedded
             in its vehicles.
             Whereas : Tesla dedicates itself to being the safest electric vehicle (EV) manufacturer. The FCC
             has not materially updated its wireless radiofrequency (RF) radiation emissions guidelines since
             1996 despite the ubiquity of human exposures in everything from our modems, devices and
             vehicles. Over the past 27 years, growing peer reviewed published scientific evidence (1)(2)(3)
             links RF radiation and other non-ionizing electromagnetic field (EMF) exposure to a range of
             harmful effects at legally allowed levels including cancer (4) , memory damage (5) , impacts on
             brain development (6) , the endocrine system (7) , thyroid function (8) , reproduction (9) , and
             DNA/genetic damage. (10)(11) Numerous scientists conclude that the WHO’s International Agency
             for Research on Cancer (WHO/IARC) classification of radiofrequency radiation or RF should be
             at least a probable, if not a proven human carcinogen. (12)(13)(14)(15)(16)(17) Researchers have
             also documented harm to flora and fauna. (18)(19)(20)

             (1)
                    https://www.sciencedirect.com/science/article/abs/pii/S0269749118310157?via%3Dihub
             (2)
                    https://www.frontiersin.org/articles/10.3389/fpubh.2022.986315/full
             (3)
                    https://doi.org/10.1093/med/9780190490911.003.0010
             (4)
                    https://doi.org/10.3390/ijerph17218079
             (5)
                    https://doi.org/10.1289/EHP242
             (6)
                    https://doi.org/10.1038/srep00312
             (7)
                    https://pubmed.ncbi.nlm.nih.gov/26841641/
             (8)
                    https://doi.org/10.7759/cureus.17329
             (9)
                    https://doi.org/10.1016/j.envres.2021.111784
             (10)
                    https://doi.org/10.3892/ijo.2021.5272
             (11)
                    https://doi.org/10.1002/em.22343
             (12)
                    https://pubmed.ncbi.nlm.nih.gov/36935315/
             (13)
                    https://www.sciencedirect.com/science/article/abs/pii/S0013935122019375?via%3Dihub
             (14)
                    https://doi.org/10.1016/j.envres.2018.06.043
             (15)
                    https://www.frontiersin.org/articles/10.3389/fpubh.2022.1042478/full
             (16)
                    https://doi.org/10.3892/ijo.2018.4606
             (17)
                    https://data.europa.eu/doi/10.2861/657478
             (18)
                    https://www.frontiersin.org/articles/10.3389/fpubh.2022.1000840/full
             (19)
                    https://doi.org/10.1515/reveh-2021-0050
             (20)
                    https://doi.org/10.1016/j.envint.2012.10.009



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             As a consequence, insurers, including the underwriters at Lloyd’s of London, have expressly
             excluded from coverage indemnity for risks arising out of exposure to wireless radiation and the
             exposure is rated as “high” risk/impact. (21)(22) Shareholders have a right to be concerned about
             what financial risks are associated with wireless technologies.
             I am reaching out as a concerned shareholder, parent, consumer, and environmental health
             advocate to request that you review the liabilities associated with electric and magnetic fields
             and radiofrequency exposure in your electric vehicles. Although I can afford it, I am personally
             driving a 2017 Chevy Bolt with very low EMF exposures because I am reluctant to upgrade to a
             Tesla which has much higher EMF levels. Tesla can make some simple and cost effective
             measures to reduce EMF exposures to drivers and passengers. An example would be that All
             vehicle wireless equipment and systems (GPS, navigation system, Wi-Fi, Bluetooth, sensors,
             etc.) installed by the manufacturer must include dashboard functionality for both reducing
             wireless transmissions, and turning wireless antennas and other RF emitters completely off.
             Magnetic fields from the electrical equipment can be shielded from passengers. RF and
             magnetic field levels could be measured and shared with consumers. Educated consumers are
             increasingly looking for safer and less toxic vehicles. As you work to reduce Volatile Organic
             Compound (VOC) off gassing and other environmental health measures, Tesla can compete in
             offering customers reduced magnetic fields and radiofrequency radiation exposures.
                                                                       ***

             Opposing Statement of the Board
             The Board has considered this proposal and determined that the proposal would not serve the
             best interests of Tesla or our stockholders, as Tesla is already deeply dedicated to the safety of
             its products, and the reporting requested by the stockholder proponent would divert the
             Company’s resources and not drive stockholder value.
             At Tesla, safety is at the core of our product design. While our vehicles are known for their
             safety from a collision standpoint, earning top ratings from various government entities across
             four continents, we also strive to make sure that our products are safe during the course of
             ordinary use, including with respect to the electromagnetic and radio frequency (RF) radiation of
             our vehicles and the wireless components incorporated into them.
             For example, we have a dedicated team ensuring compliance of our wireless components with
             FCC standards. All our radio components (like Bluetooth, sensors, Wi-Fi and cellular
             components) are tested by third-parties accredited by the FCC and all components are within
             the limits set by the FCC. In fact, the Tesla owner’s manual lists the FCC and ISED
             Certifications of the radio components in our vehicles, and reports of the tests conducted by the
             FCC-accredited third parties and the component certifications are publicly available on the
             FCC’s website.
             Our vehicles also comply with regulatory requirements relating to electromagnetic emissions
             such as the United Nations Economic Commission for Europe Regulation 10. In addition, in
             designing our vehicles, we exceed regulatory requirements by taking into account the guidelines
             relating to the protection of humans exposed to radiofrequency electromagnetic fields as set
             forth by the International Commission on Non-Ionizing Radiation Protection’s RF EMF
             Guidelines 2020; our vehicles are well within such guidelines.
             In support of their proposal, the proponent states that “[t]he FCC has not materially updated its
             wireless radiofrequency (RF) radiation emission guidelines since 1996 despite the ubiquity of
             human exposure in everything from our modems, devices and vehicles” implying that the FCC
             has ignored the technological changes of the past 28 years. This statement is misleading. In
             fact as recently as 2019, the FCC requested guidance from the FDA on standards relating to RF
             exposure as new
             (21)
                    https://ehtrust.org/wp-content/uploads/Swiss-Re-SONAR-Publication-2019-excerpt-1.pdf
             (22)
                    https://www.ambest.com/directories/bestconnect/EmergingRisks.pdf



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             technologies are introduced, including 5G. (1) The FDA responded, “we have reviewed the result
             and conclusions of the recently published . . . study . . . in the context of all available scientific
             information . . . and concluded that no changes to the current standards are warranted at this
             time.” (2) The FDA further added, “the available scientific evidence to date does not support
             adverse health effects in humans due to exposures at or under the current limits”. Further, in its
             current consumer guides, the FCC states, “[w]hile these assertions [suggestions that wireless
             device use may be linked to cancer and other illnesses] have gained increased public attention,
             currently no scientific evidence establishes a causal link between wireless device use and
             cancer or other illnesses . . . at this time, there is no basis on which to establish a different
             safety threshold than our current requirements (3) .” Finally, in 2020, the FCC updated its
             guidelines to amend its RF exposure evaluation procedures and mitigation measures to help
             ensure compliance with existing exposure limits (4) . Thus, the FCC guidelines have not been
             materially updated not because of a failure to take into account new technologies or risks as the
             proponent suggests, but rather, because there has been a reasoned conclusion that changes to
             the exposure limits thus far have not been warranted.
             Further, the proponent also argues that the insurance industry views the risk of wireless
             radiation exposure is rated a “high” risk/impact, citing two publications which purport to support
             this view. However, the proponent’s statement is misleading, as it fails to note that the potential
             concerns over cybersecurity, data privacy and espionage, rather than solely emissions concerns,
             are factors driving the risk profile attributed by insurers to the general emergence of wireless
             and 5G technologies.
             For the reasons stated above, the Board feels strongly that the requested report would be an
             unnecessary diversion of the Company’s resources with no corresponding benefit to Tesla, our
             stockholders or consumers.




                                   The Board recommends a vote AGAINST the stockholder proposal
                                   regarding reporting on effects and risks associated with
                                   electromagnetic radiation and wireless technologies.




             (1)
                    Letter from the FDA to the FCC on Radiofrequency Exposure (https://www.fda.gov/media/135022/
                    download?attachment)
             (2)
                    Ibid.
             (3)
                    Wireless Devices and Health Concerns | Federal Communications Commission (fcc.gov) (https://www.fcc.gov
                    /consumers/guides/wireless-devices-and-health-concerns
             (4)
                    2020-02745.pdf (govinfo.gov)



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             Proposal Eleven
             Stockholder Proposal Regarding Adopting Targets and Reporting
             on Metrics to Assess the Feasibility of Integrating Sustainability
             Metrics into Senior Executive Compensation Plans
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by Tulipshare Securities Limited. Tulipshare Securities Limited
             has informed us that it is the beneficial owner of more than 100 shares of Tesla’s common stock
             and intends to present the following proposal at the 2024 Annual Meeting. Tulipshare Securities
             Limited address is 15 Exchange Place, Suite 1010, Jersey City, NJ 07302. The stockholder
             proposal will be required to be voted upon at the 2024 Annual Meeting only if properly
             presented.

             Stockholder Proposal and Supporting Statement
                                                                        ***
             Resolved: Shareholders request that, within one year, the Board Compensation Committee
             adopt targets and publicly report quantitative metrics appropriate to assessing the feasibility of
             integrating sustainability metrics, including metrics regarding diversity among senior executives,
             into performance measures or vesting conditions that may apply to senior executives under the
             Company’s compensation plans or arrangements.
             Supporting Statement: In the Board’s discretion we recommend Tesla’s report include:
                    • Specific performance metrics aligned with the United Nations Guiding Principles on
                      Business and Human Rights. These metrics should assess Tesla’s success in preventing
                      and mitigating human rights risks across its value chain.
                    • Robust and comprehensive human rights due diligence process, applying the principles of
                      the UN Guiding Principles. This process should be integrated into Tesla’s decision-making,
                      risk assessment, and operational practices to identify, prevent, and address potential
                      human rights impacts.
                    • A performance-based component in the executive compensation structure directly tied to
                      the achievement of the established human rights and performance metrics. This linkage
                      will incentivize the Board to lead Tesla in embedding human rights considerations into the
                      core of its operations.
             Whereas: The integration of sustainability metrics into executive compensation can enhance
             transparency, promote responsible corporate citizenship, and ensure that Tesla remains at the
             forefront of sustainable business practices. Numerous leading companies have recognized the
             importance of integrating sustainability metrics into executive compensation. The Global
             Reporting Initiative and the Sustainability Accounting Standards Board report on the growing
             trend of companies incorporating sustainability criteria into performance evaluations and
             compensation structures. By following industry best practices, Tesla can demonstrate its
             commitment to sustainability leadership.
             Workers and investors alike are increasingly rejecting excessive executive compensation as
             “roughly two dozen major U.S. companies have rejected generous executive-pay packages in
             shareholder votes in the past year, balking at the massive pay gaps between chief executives
             and workers.” (1) Companies are “embracing different approaches to factoring ESG into
             executive pay.” (2) This trend of increasing corporate focus on sustainability metrics stands in
             stark contrast to Tesla CEO Musk’s claim that ESG is a “scam.” (3)
             Legal and reputational risks have already materialized for Tesla in the form of shareholder
             lawsuits. In 2023, Tesla’s directors were ordered to “return $735 million to the company to settle
             claims

             (1)
                    https://time.com/6184355/ceo-pay-investors-workers/
             (2)
                    https://corpgov.law.harvard.edu/2022/11/27/linking-executive-compensation-to-esg-performance/
             (3)
                    https://time.com/6180638/tesla-esg-index-musk/



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             they grossly overpaid themselves in one of the largest shareholder settlements of its kind.” (4)
             Musk’s $56 billion executive compensation plan has “helped lift the ceiling on CEO pay” and
             widened the gap between workers and top executives’ pay packages, according to The New
             York Times. (5) Moreover, the Economic Policy Institute equated Musk’s realized compensation
             to roughly 1,000 times the average pay of other large-company CEOs. (6) Musk’s $56 billion
             executive pay package was challenged separately by a Tesla shareholder under a claim of
             unjust enrichment. (7) Given that inflows into sustainable funds rose from $5 billion in 2018 to
             nearly $70 billion in 2021, (8) Musk’s criticism of ESG does not negate the fact that Tesla needs
             to increase transparency and accountability on sustainability performance to ensure future
             shareholder value.
                                                                         ***

             Opposing Statement of the Board
             The Board has considered this proposal and determined that it would not serve the best
             interests of Tesla or our stockholders. The proposal is unnecessarily duplicative and redundant
             to Tesla’s existing disclosures and commitments to sustainability.
             Tesla’s mission is to accelerate the world’s transition to sustainable energy, and our senior
             executive compensation plans serve to motivate achievement of this mission. We believe that
             true “sustainability” is not achieved through simply an image of action, producing reports or
             tying confused metrics to compensation plans. Rather, it is done through actions which have
             created visible, substantive changes. Every vehicle we sell, battery we install and solar panel
             we add moves the needle in the direction of sustainable future. This is a long-term mission, and
             our compensation programs reflect this in that they consist primarily of salary or wages and
             equity awards. Moreover, these programs increasingly emphasize for our executive officers the
             grant of stock option awards, which have zero initial value and the increase in value of which is
             directly tied to the creation of sustainable stockholder value.
             The report the proposal seeks to impose on Tesla would not further the sustainability mission
             that we have set forth; rather it would likely impede our mission by diverting resources.
             Additionally, Tesla already discloses the information the stockholder proponent seeks. For
             example: the stockholder proponent requests that we “apply the principles of the United Nations
             Guiding Principles on Business and Human Rights.” In our publicly available Global Human
             Rights Policy, we cite to these principles multiple times, including “We . . . utilize the United
             Nations Guiding Principles on Business and Human Rights.” Further on, we disclose “In fulfilling
             our responsibility to respect human rights, we are committed to implementing the United Nations
             Guiding Principles on Business and Human Rights. We conduct human rights due diligence to
             identify risks and work to mitigate them,” and “As recommended by the United Nations Guiding
             Principles on Business and Human Rights, we commit to transparent reporting about our efforts
             and progress.” We do not believe any benefit could be derived for the Company or its
             stockholders to produce yet another report with the same statements.
             Tesla’s annual Impact Report also provides additional information on how human rights values
             are respected in our operations. Protecting human rights is core to Tesla’s procurement strategy,
             and we have established and implemented a supply chain due diligence management system
             aligned with the OECD Due Diligence Guidance for Responsible Mineral Supply Chains from
             Conflict-Affected and High-Risk Countries. We are one of the few downstream companies that
             publicly report through our Impact Report on how we follow each of the five steps set out in the
             Guidance, including how we identify (including through audits) and mitigate risks.
             (4)
                    https://www.reuters.com/legal/tesla-directors-settle-lawsuit-over-compensation-735-mln-2023-07-17/
             (5)
                    https://www.nytimes.com/2022/06/25/business/highest-paid-ceos-elon-musk.html
             (6)
                    https://www.epi.org/publication/ceo-pay-in-2021/
             (7)
                    https://www.reuters.com/legal/judge-hear-final-arguments-trial-over-musks-56-bln-tesla-pay-2023-02-21/
             (8)
                    https://www.mckinsey.com/capabilities/sustainability/our-insights/does-esg-really-matter-and-why



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             In light of the foregoing, we believe the proposal would hurt the interests of Tesla and our
             stockholders.




                              The Board recommends a vote AGAINST the stockholder proposal
                              regarding adopting targets and reporting on metrics to assess the
                              feasibility of integrating sustainability metrics into senior executive
                              compensation plans.




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             Proposal Twelve
             Stockholder Proposal Regarding Committing to a Moratorium on
             Sourcing Minerals from Deep Sea Mining
             In accordance with SEC rules, we have set forth a stockholder proposal, along with a supporting
             statement, exactly as submitted by As You Sow. As You Sow has informed us that it is the
             beneficial owner of more than 100 shares of Tesla’s common stock and intends to present the
             following proposal at the 2024 Annual Meeting. As You Sow’s address is 2020 Milvia St., Suite
             500, Berkeley, CA 94704. The stockholder proposal will be required to be voted upon at the
             2024 Annual Meeting only if properly presented.

             Stockholder Proposal and Supporting Statement
                                                                        ***
             WHEREAS : The deep sea contains many of the planet’s intact ecosystems and plays a crucial
             role in regulating the climate. (1) Studies indicate that mining this underexplored and complex
             area for battery- related minerals will create irreversible habitat and ecosystem loss and could
             permanently destroy invaluable carbon storage. (2)
             Deep sea mining (DSM) can obliterate sea floor life through dredging, while releasing sediment
             plumes laced with toxic metals, poisoning marine food chains. (3) Deep sea organisms are
             slow-growing and fragile, and habitats can require millennia to recover from disturbances. (4)
             The likely outcomes of DSM include biodiversity loss and jeopardized fish-based livelihoods and
             food supplies. (5) Further, industrial- scale exploitation of the seafloor could have grave
             consequences for the ability of the oceans — one of the planet’s biggest carbon sinks — to
             absorb carbon dioxide, and may even lead to release of carbon stores. (6) Scientists warn that
             DSM, even done cautiously, could be devastating.
             The scientific uncertainty and potential catastrophic impacts of DSM have led many civil society
             groups, including governments, private organizations, and manufacturers to voice concern.
             Twenty-four governments have put in place a ban, moratorium, or precautionary pause on DSM.
             (7)
                 Electric vehicle (EV) manufacturers including BMW, Volvo, Volkswagen, Rivian, and Renault
             have committed to a global moratorium on deep sea mining, pledging to keep their supply
             chains deep sea mineral free until scientific findings are sufficient to assess the environmental
             risks of DSM. (8)
             Peers adopting the moratorium underscores the precautionary principle and the availability of
             more sustainable methods to obtain necessary materials. For example, the BMW Group
             emphasizes that “its sustainability strategy is also relying more on resource-efficient closed-loop
             material cycles — with the aim of significantly increasing the percentage of secondary material
             in vehicles.” (9)
             Unlike its peers, Tesla has not supported a DSM moratorium, leaving shareholders concerned
             that the Company is not addressing the serious reputational and regulatory risks of DSM. The
             supply of deep sea minerals is also legally, technologically, and financially insecure, making it
             expensive and

             (1)
                    https://climatesociety.ei.columbia.edu/news/rolling-deep-climate-change-and-deep-sea-ecosystems
             (2)
                    https://www.unepfi.org/wordpress/wp-content/uploads/2022/05/Harmful-Marine-Extractives-Deep-Sea-Mining.pdf;
                    https://www.frontiersin.org/articles/10.3389/fmars.2020.00165/full
             (3)
                    https://www.iucn.org/resources/issues-brief/deep-sea-mining
             (4)
                    https://www.fauna-flora.org/explained/depth-deep-seabed-mining-not-answer-climate-crisis/, p.17,26
             (5)
                    https://www.nature.com/articles/s44183-023-00016-8
             (6)
                    https://www.fauna-flora.org/wp-content/uploads/2023/05/fauna-flora-deep-sea-mining-update-report-march-23.pdf, p.
                    18
             (7)
                    https://savethehighseas.org/voices-calling-for-a-moratorium-governments-and-parliamentarians/
             (8)
                    https://www.stopdeepseabedmining.org/endorsers/
             (9)
                    https://www.press.bmwgroup.com/global/article/detail/T0328790EN/bmw-group-protects-the-deep-seas



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             risky for Tesla to incorporate deep sea sourced minerals into its supply chain. (10) DSM is also at
             odds with the Kunming- Montreal Global Biodiversity Framework. (11)
             By committing to a global moratorium on DSM and an ocean mineral free supply chain, Tesla will
             join the ranks of Google, Samsung, Microsoft, Salesforce, Philips, and its EV peers by
             protecting a critical ecosystem and reaffirming its commitment to responsible sourcing.
             RESOLVED : Shareholders request that Tesla commit to a moratorium on sourcing minerals from
             deep sea mining, consistent with the principles announced in the Business Statement
             Supporting a Moratorium on Deep Sea Mining.
             SUPPORTING STATEMENT : If Tesla cannot so commit, shareholders request that the Board
             disclose its rationale and assess the Company’s anticipated need for deep sea materials.
                                                                          ***

             Opposing Statement of the Board
             The Board has considered this proposal and determined that it would not serve the best
             interests of Tesla or our stockholders.
             We are committed to protecting the environment and maximizing the positive impact of our
             supply chain for people and the planet as we accelerate the world’s transition to sustainable
             energy. We source responsibly according to the Organisation for Economic Co-operation and
             Development (OECD), the OECD Due Diligence Guidance for Responsible Mineral Supply
             Chains and Responsible Business Conduct, and the United Nations Guiding Principles on
             Business and Human Rights. In doing this, we set forth clear expectations for our suppliers,
             including through our Responsible Sourcing Policy and Supplier Code of Conduct.
             At the same time, our supplier relationships are inherently complex, and decisions by Company
             management regarding the entry into agreements with suppliers for the purchase of raw
             materials, the availability of raw materials particularly during periods of significant supply chain
             disruption or uncertainty, the timing of such agreements and decisions under those agreements
             are fundamental to our ability to operate nimbly on a day-to-day basis while adhering to high
             responsible sourcing expectations. For example: for the past five years, we have reviewed
             scientific studies related to deep-sea mining, engaged with researchers and participated in
             multi-stakeholder forums to build an understanding of this issue internally to inform decision-
             making. The Company’s management, rather than the stockholder proponent, is in the best
             place to make informed and specific decisions based on its specialized expertise and judgment,
             while continuing to align with industry best practices and committing to responsible sourcing.
             In light of the foregoing reasons, we believe the proposal would not serve the best interests of
             Tesla or our stockholders.




                                    The Board recommends a vote AGAINST the stockholder proposal
                                    regarding committing to a moratorium on sourcing minerals from
                                    deep sea mining.




             (10)
                    https://ejfoundation.org/news-media/environmentalists-warn-investors-of-deep-sea-mining-risk;
                    https://www.financeforbiodiversity.org/leading-financial-institutions-call-on-governments-to-not-permit-deep-sea-
                    mining/
             (11)
                    https://dsm-campaign.org/wp-content/uploads/2021/10/Precautionary-Principle-Deep-Sea-Mining.pdf



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             Corporate Governance
             Succession Planning
             The Board of Directors regularly discusses management succession planning in meetings and
             executive sessions at both the Board and Committee level. As described in our Nominating and
             Corporate Governance Committee Charter and Corporate Governance Guidelines, the
             Nominating and Corporate Governance Committee periodically reviews succession planning for
             the Chief Executive Officer and other executive officers, reporting its findings and
             recommendations to the Board and works with the Board in evaluating potential successors to
             these executive management positions. The Compensation Committee regularly discusses and
             evaluates company-wide talent pools and succession plans, including short-term and long-term
             succession plans for development, retention and replacement of senior leaders. Directors
             regularly interact and engage with not only senior management talent and potential successors
             to executive management positions, but also high-potential leaders throughout the Company.
             This engagement occurs in Board meetings held throughout the year, as well as through
             informal events and updates, and regular one-on-one touchpoints.

             Code of Business Ethics and Corporate Governance Guidelines
             The Board sets high standards for Tesla’s workforce, officers and directors. Tesla is committed
             to establishing an operating framework that exercises appropriate oversight of responsibilities at
             all levels throughout the Company and managing its affairs in a manner consistent with rigorous
             principles of business ethics. Accordingly, Tesla has adopted a Code of Business Ethics, which
             was amended in December 2021, and which is applicable to Tesla and its subsidiaries’ directors,
             officers and personnel. Tesla has also adopted Corporate Governance Guidelines, which, in
             conjunction with our certificate of incorporation, bylaws and charters of the standing committees
             of the Board, form the framework for Tesla’s corporate governance. The Code of Business
             Ethics and the Corporate Governance Guidelines are each available on Tesla’s website at:
             http://ir.tesla.com/ corporate. Tesla will disclose on its website any amendment to the Code of
             Business Ethics, as well as any waivers of the Code of Business Ethics, that are required to be
             disclosed by the rules of the SEC or Nasdaq.

             Director Independence
             The Board periodically assesses, with the recommendation of the Nominating and Corporate
             Governance Committee, the independence of its members as defined in the listing standards of
             Nasdaq and applicable laws. The Board undertook an analysis for each director and director
             nominee and considered all relevant facts and circumstances, including the director’s other
             commercial, accounting, legal, banking, consulting, charitable and familial relationships. The
             Board determined that with respect to each of its current members and director nominee, other
             than Elon Musk, who is our Chief Executive Officer, and Kimbal Musk, who is Elon Musk’s
             brother, there are no disqualifying factors with respect to director independence enumerated in
             the listing standards of Nasdaq or any relationships that would interfere with the exercise of
             independent judgment in carrying out the responsibilities of a director, and that each such
             member is an “independent director” as defined in the listing standards of Nasdaq and
             applicable laws.
             In particular, the Board reviewed the following considerations:
                    • Ira Ehrenpreis, Joe Gebbia, James Murdoch, Elon Musk, Kimbal Musk and JB Straubel
                      and/or investment funds affiliated with them, have made minority investments in certain
                      companies or investment funds, (i) of which other Tesla directors are founders, significant
                      stockholders, directors, officers or managers, and/or (ii) with which Tesla has certain
                      relationships set forth below in “ Certain Relationships and Related Person Transactions
                      — Related Person Transactions .” The Board concluded that none of these investments
                      are material so as to impede the exercise of independent judgment by any of Messrs.
                      Ehrenpreis, Gebbia, Murdoch and Straubel.


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             Board Leadership Structure
             Roles of Chair of the Board
             Following careful deliberation, the Board appointed Robyn Denholm to serve as the independent
             Chair of the Board in November 2018, having considered her strong leadership, independent
             presence and financial and business expertise on the Board over an extended period of time.
             Together, Ms. Denholm and our Chief Executive Officer, Elon Musk, comprise our senior Board
             leadership, which the Board believes is appropriate at this time to provide the most effective
             leadership structure for Tesla in a highly competitive and rapidly changing technology industry.
             As Chair of the Board, Ms. Denholm has broad authority and oversight over the affairs of the
             Board, with Mr. Musk available to her as a resource in this regard. Moreover, as an independent
             Chair of the Board, Ms. Denholm has the authority to direct the actions of the other independent
             directors and regularly communicate, as their representative, with Mr. Musk.
             As Chair of the Board, Ms. Denholm, among other things:
                    • reviews the agenda and materials for meetings of the independent directors;
                    • consults with our Chief Executive Officer regarding Board meeting agendas, schedules
                      and materials;
                    • acts as a liaison between our Chief Executive Officer and the independent directors when
                      appropriate;
                    • otherwise communicates regularly with our Chief Executive Officer;
                    • raises issues with management on behalf of the independent directors;
                    • annually reviews, together with the Nominating and Corporate Governance Committee, the
                      Board’s performance during the prior year; and
                    • serves as the Board’s liaison for consultation and communication with stockholders as
                      appropriate.
             Tesla also has a mechanism for stockholders to communicate directly with non-management
             directors (see “ Corporate Governance — Contacting the Board ” below).

             Committees of the Board
             In addition, the Board has four standing committees — the Audit Committee, the Compensation
             Committee, the Nominating and Corporate Governance Committee and the Disclosure Controls
             Committee — which are each further described below. Each of the Board committees consists
             solely of independent directors, and the Board may appoint a chair to each committee. Our
             independent directors regularly meet in executive session and at such other times as necessary
             or appropriate as determined by the independent directors. In addition, as part of our
             governance review and succession planning, the Board (led by the Nominating and Corporate
             Governance Committee) evaluates our leadership structure to ensure that it remains the optimal
             structure for Tesla, reviews the composition, size and performance of the Board and its
             committees, evaluates individual Board members and identifies and evaluates candidates for
             election or re-election to the Board. See “ Corporate Governance — Process and Considerations
             for Nominating Board Candidates ” below for additional information.




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             Board Role in Risk Oversight
             The Board is responsible for overseeing the major risks facing Tesla while management is
             responsible for assessing and mitigating Tesla’s risks on a day-to-day basis. The Board is
             assisted by our Committees, which consists entirely of independent directors, and report to the
             Board as appropriate on matters that involve specific areas of risk that each Committee
             oversees.




               Compensation
               Committee
               The Compensation Committee oversees management of risks relating to Tesla’s compensation
               plans and programs. Tesla’s management and the Compensation Committee have assessed the
               risks associated with Tesla’s compensation policies and practices for all employees, including
               non-executive officers. These include risks relating to setting ambitious targets for our
               employees’ compensation or the vesting of their equity awards, our emphasis on at-risk
               equity-based compensation, discrepancies in the values of equity-based compensation
               depending on employee tenure relative to increases in stock price over time and the potential
               impact of such factors on the retention or decision-making of our employees, particularly our
               senior management. Based on the results of this assessment, Tesla does not believe that its
               compensation policies and practices for all employees, including non-executive officers, create
               risks that are reasonably likely to have a material adverse effect on Tesla.


             Board Meetings and Committees
             During fiscal 2023, the Board held six meetings. We have a highly effective and engaged Board.
             While we do not maintain a numerical limit on public company boards our directors may serve
             on, our Corporate Governance Guidelines provide that each member is expected to ensure that
             other existing and future commitments, including employment responsibilities and service on the
             boards of other entities, do not materially interfere with the member’s service as director. When
             conducting its annual review of the effectiveness and productivity of its members, the Board
             evaluates many factors, including without limitation, the director’s attendance at meetings, the
             participation and input of the director and the director’s preparation at meetings.
             Each director attended or participated in 75% or more of the aggregate of the total number of
             meetings of the Board and the total number of meetings of all Committees on which such
             director served (in each case held during such director’s relevant period of service).


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             Audit Committee
             Members
                                       Primary Responsibilities
                                       Audit
                                       • Reviewing and approving the selection of Tesla’s
                                         independent auditors, and approving the audit and
             ROBYN DENHOLM               non-audit services to be performed by Tesla’s independent
             JOE GEBBIA                  auditors
             JAMES MURDOCH             • Discussing the scope and results of the audit with the
                                         independent auditors and reviewing with management and
                                         the independent auditors Tesla’s interim and year-end
                                         operating results
                                       Oversight and Compliance
                                       • Providing oversight, recommendations, and under
                                         specified thresholds, approvals, regarding significant
                                         financial matters and investment practices, including any
                                         material acquisitions and divestitures

                                       • Monitoring the integrity of Tesla’s financial statements and
                                         Tesla’s compliance with legal and regulatory requirements
                                         as they relate to financial statements or accounting
                                         matters
                                       • Reviewing the adequacy and effectiveness of Tesla’s
                                         internal control policies and procedures in addition to
                                         Tesla’s risk management, data privacy and data security
                                       Reporting
                                       • Reviewing and discussing the accounting assessment of
                                         our annual Impact Report and other environmental, social
                                         and governance (ESG) disclosures
                                       • Preparing the audit committee report that the SEC
                                         requires in Tesla’s annual proxy statement
                                       Financial Expertise and Independence
                                       Each member of the Audit Committee is “independent” as
                                       such term is defined for audit committee members by the
                                       listing standards of Nasdaq and applicable laws. The Board
                                       has determined that Ms. Denholm is an “audit committee
                                       financial expert” as defined in the rules of the SEC.
                                       Meetings
                                       Met nine times in 2023
                                       Charter
                                       The Audit Committee has adopted a written charter
                                       approved by the Board, which is available on Tesla’s
                                       website at: http://ir.tesla.com/corporate.
                                       Report
                                       The Audit Committee Report is included in this proxy
                                       statement on page 152.




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             Compensation Committee
             Members
                                       Primary Responsibilities
                                       Compensation
                                       • Overseeing Tesla’s global compensation philosophy and
                                         policies, plans and benefit programs and making related
             IRA EHRENPREIS              recommendations to the Board, including by considering
                                         “say-on-pay” votes of Tesla’s stockholders
             ROBYN DENHOLM
             KATHLEEN WILSON-          • Reviewing and approving for Tesla’s executive officers:
             THOMPSON                    the annual base salary, equity compensation, employment
                                         agreements, severance arrangements and change in
                                         control arrangements, if applicable, and any other
                                         compensation, benefits or arrangements
                                       • Administering the compensation of members of the Board
                                         and Tesla’s equity compensation plans
                                       Human Capital
                                       • Reviewing human capital management practices related to
                                         Tesla’s talent generally (including how Tesla recruits,
                                         develops and retains diverse talent)
                                       Reporting
                                       • Preparing the compensation committee report included in
                                         Tesla’s annual proxy statement
                                       Independence
                                       Each member of the Compensation Committee qualifies as
                                       an independent director under the listing standards of
                                       Nasdaq and applicable laws.
                                       Meetings
                                       Met ten times in 2023
                                       Charter
                                       The Compensation Committee has adopted a written charter
                                       approved by the Board, which is available on Tesla’s
                                       website at: http://ir.tesla.com/corporate.
                                       Report
                                       The Compensation Committee Report is included in this
                                       proxy statement on page 133.




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             Nominating and Corporate Governance Committee
             Members
                                       Primary Responsibilities
                                       Board Composition and Evaluation
                                       • Assisting the Board in identifying prospective director
                                         nominees and recommending nominees for each annual
             IRA EHRENPREIS              meeting of stockholders to the Board
             ROBYN DENHOLM             • Overseeing the evaluation of Tesla’s Board and
             JAMES MURDOCH               management

             KATHLEEN WILSON-          • Recommending members for each Board committee to the
             THOMPSON                    Board
                                       Corporate Governance
                                       • Reviewing developments in corporate governance
                                         practices and developing and recommending governance
                                         principles applicable to the Board

                                       • Reviewing the manner in and the process by which
                                         stockholders communicate with the Board

                                       • Reviewing the succession planning for Tesla’s executive
                                         officers in light of Tesla's organizational structure and
                                         goals
                                       Conflicts of Interest
                                       • Considering questions of possible conflicts of interest of
                                         Tesla’s directors and officers
                                       Independence
                                       Each member of the Nominating and Corporate Governance
                                       Committee qualifies as an independent director under the
                                       listing standards of Nasdaq and applicable laws.
                                       Meetings
                                       Met twelve times in 2023
                                       Charter
                                       The Nominating and Corporate Governance Committee has
                                       adopted a written charter approved by the Board, which is
                                       available on Tesla’s website at: http://ir.tesla.com/corporate.




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             Disclosure Controls Committee
             Members
                                            Primary Responsibilities
                                            • Overseeing the implementation of and compliance with the
                                              terms of Tesla’s consent agreement with the SEC dated
                                              September 29, 2018, as amended April 26, 2019
             ROBYN DENHOLM
                                            • Overseeing the controls and processes governing certain
             JAMES MURDOCH                    public disclosures by Tesla and its executive officers
             KATHLEEN WILSON-               • Overseeing the review and resolution of certain conflicts
             THOMPSON                         of interest or other human resources issues involving any
                                              executive officer and ensuring appropriate disclosures, if
                                              applicable
                                            Independence
                                            Each member of the Disclosure Controls Committee
                                            qualifies as an independent director under the listing
                                            standards of Nasdaq and applicable laws.
                                            Meetings
                                            Met four times in 2023
                                            Charter
                                            The Disclosure Controls Committee has adopted a written
                                            charter approved by the Board, which is available on Tesla’s
                                            website at: http://ir.tesla.com/corporate.


             Compensation Committee Interlocks and Insider Participation
             Robyn Denholm, Ira Ehrenpreis and Kathleen Wilson-Thompson served as members of the
             Compensation Committee during 2023. None of such persons is or was formerly an officer or an
             employee of Tesla. See “ Certain Relationships and Related Person Transactions — Related
             Person Transactions ” below for certain transactions involving Tesla in which members of the
             Compensation Committee may potentially be deemed to have an indirect interest.
             During 2023, no interlocking relationships existed between any member of Tesla’s Board or
             Compensation Committee and any member of the board of directors or compensation committee
             of any other company.

             Process and Considerations for Nominating Board Candidates
             The Nominating and Corporate Governance Committee is responsible for, among other things,
             determining the criteria for Board membership, recommending Board candidates and proposing
             any changes to the composition of the Board. The Nominating and Corporate Governance
             Committee’s criteria and process for fulfilling these duties are generally as follows:
             • The Nominating and Corporate Governance Committee regularly reviews the current
               composition and size of the Board, and oversees an annual evaluation of the performance of
               the Board as a whole and of its individual members. The Nominating and Corporate
               Governance Committee applies uniform evaluation processes and standards for all Board
               members, including in identifying, considering or recommending new candidates for the Board
               to fill vacancies or add additional directors and in recommending existing Board members for
               nomination to be re-elected at annual meetings of stockholders.
             • In carrying out the foregoing duties, the Nominating and Corporate Governance Committee
               consistently seeks to achieve a complementary balance of knowledge, experience and
               capability


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                on the Board. While the Nominating and Corporate Governance Committee has not
                established specific minimum qualifications for director candidates, it considers all pertinent
                factors that it considers appropriate, including diversity, and believes that the Board should
                consist of directors who (i) are, in the majority, independent, (ii) are of high integrity, (iii) have
                broad, business-related knowledge and experience at the policy-making level in business or
                technology, including their understanding of Tesla’s business in particular, (iv) have
                qualifications that will increase overall Board effectiveness, (v) represent diversity of race,
                ethnicity, gender and professional experience and (vi) meet other requirements as may be
                required by applicable rules, such as financial literacy or financial expertise with respect to
                Audit Committee members. For example, after conducting independent director searches from
                time to time in which numerous highly-qualified candidates from a variety of backgrounds were
                considered, the Nominating and Corporate Governance Committee recommended to the Board
                Joe Gebbia as director in 2022 and JB Straubel as director nominee in 2023, to further bolster
                the Board’s expertise in technological innovation, public company management and
                sustainability initiatives.
             • In evaluating and identifying candidates, the Nominating and Corporate Governance
               Committee has the authority to retain and terminate any third party search firm that is used to
               identify director candidates and has the authority to approve the fees and retention terms of
               any search firm.
             • With regard to any candidates who are properly recommended by stockholders (as described
               in more detail below) or by other sources, the Nominating and Corporate Governance
               Committee will review the qualifications of any such candidate, which review may, in the
               Nominating and Corporate Governance Committee’s discretion, include interviewing
               references for the candidate, direct interviews with the candidate or other actions that the
               Nominating and Corporate Governance Committee deems necessary or proper.
             • After completing its review and evaluation of director candidates, the Nominating and
               Corporate Governance Committee recommends the director nominees that it has determined
               to be qualified to the full Board.
             It is the policy of the Nominating and Corporate Governance Committee to consider properly
             submitted recommendations for candidates to the Board from stockholders. Stockholder
             recommendations for candidates to the Board must be directed in writing to Tesla, Inc., 1 Tesla
             Road, Austin, Texas 78725, Attention: Legal Department, and should also be sent by e-mail to
             shareholdermail@tesla.com. Such recommendations must include the candidate’s name, home
             and business contact information, detailed biographical data and qualifications, information
             regarding any relationships between the candidate and Tesla within the last three years and
             evidence of the nominating person’s ownership of Tesla stock. Such recommendations must also
             include a statement from the recommending stockholder in support of the candidate, particularly
             within the context of the criteria for Board membership, including issues of character, integrity,
             judgment, diversity, age, independence, skills, education, expertise, business acumen, business
             experience, length of service, understanding of Tesla’s business, other commitments and the
             like, as well as any personal references and an indication of the candidate’s willingness to
             serve.

             Board Diversity
             The Board believes that gender and minority representation is a key element in achieving the
             broad range of perspectives that the Board seeks among its members. As such, diversity is one
             of the important factors the Nominating and Corporate Governance Committee considers when
             nominating Board candidates. Two of the five directors we added in the past four years are
             gender, racially and/or ethnically diverse and the chair of our Board is a woman. We believe that
             such representation promotes a culture of inclusion and diversity at Tesla. In addition, the
             Nominating and Corporate Governance Committee conducts annual evaluations of our Board
             effectiveness, providing it with an opportunity to examine whether our Board members have the
             right composition of skills and experiences. The Board is committed to improving its current
             diversity, and the Committee continues to consider opportunities, including actively reaching out
             to diverse candidates, with the objective of increasing our Board diversity in a way that supports
             the current and anticipated needs of the Company, and of achieving at least 30% gender
             diversity on our Board.


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             In addition, we mandate external search firms, when applicable, to prioritize searches for
             candidates with racial, ethnic and/or gender diversity.

                                       Board Diversity Matrix (As of April 16, 2024)

                                                                                                 Female        Male
                    Total Number of Directors                                                             8
                    Gender:
                    Directors                                                                        2            6
                    Number of Directors Who Identify in Any of the Categories Below:
                    African American or Black                                                        1           —
                    Asian (other than South Asian)                                                   —           —
                    White                                                                            1            6


             Attendance at Annual Meetings of Stockholders by the Board
             Although Tesla does not have a formal policy regarding attendance by members of the Board at
             Tesla’s annual meetings of stockholders, directors are encouraged to attend. All of our directors
             attended the 2023 annual meeting of stockholders.

             Stock Transactions

             Hedging, Short Sales and Rule 10b5-1 Trading Plans
             Tesla has an insider trading policy that prohibits all of our directors, officers and employees
             from, among other things, engaging in short sales, hedging or similar transactions designed to
             decrease the risks associated with holding Tesla securities. This prohibition encompasses
             transactions in publicly-traded options, such as puts and calls, and other derivative securities
             with respect to Tesla securities, but not transactions designed to facilitate portfolio
             diversification, such as broad-based index options, futures or baskets.

             Stock Ownership by Board and Management
             To align the interests at the highest level of our management with those of our stockholders, the
             Board has instituted the following requirements relating to stock ownership under our Corporate
             Governance Guidelines.
             Each member of the Board and all of our named executive officers are subject to the following
             minimum stock ownership requirements: (i) each director is required to own shares of Tesla
             stock equal in value to at least five times the annual cash retainer for directors (regardless of
             whether or not the retainer has been waived, and exclusive of retainer amounts for service as a
             member or chair of a Board committee), and (ii) our named executive officers are required to
             own shares of Tesla stock equal in value to at least six times his/her base salary. Each
             individual shall have five years from the date such person assumed his or her relevant role at
             Tesla to come into compliance with these requirements. Each person’s compliance with the
             minimum stock ownership level will be determined on the date when this compliance grace
             period expires, and then annually on each December 31, by multiplying the number of shares
             held by such person and the average closing price of those shares during the preceding month.
             Our named executive officers and each of our directors is currently either in compliance with
             these requirements or is in the applicable period to come into compliance therewith.
             Our Corporate Governance Guidelines also provide that no equity award as to which vesting or
             the lapse of a period of restriction occurs based solely on the passage of time that is granted to
             a


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             named executive officer may vest, or have a period of restriction that lapses, earlier than
             six months from the date on which such vesting or lapse commences. Furthermore, our
             Corporate Governance Guidelines provide that no named executive officer may sell, transfer,
             pledge, assign or otherwise dispose of any shares of Tesla stock acquired pursuant to any stock
             option, restricted stock unit or other equity award granted by Tesla earlier than the date that is
             six months after the date on which such award vests or the period of restriction with respect to
             such award lapses, as applicable.

             Prohibition of Equity Award Repricing
             Tesla views equity-based compensation to be a key factor in incentivizing the future
             performance of our personnel. Consequently, the Tesla, Inc. 2019 Equity Incentive Plan (the “
             2019 Plan ”) provides, and Tesla’s previous 2010 Equity Incentive Plan provided, that stock
             options and other equity awards issued under these plans that derive their value from the
             appreciation of the value of Tesla’s stock may not be exchanged for other awards, repurchased
             for cash or otherwise be made the subject of transactions that have the purpose or effect of
             repricing such awards.
             In addition, applicable Nasdaq rules prohibit any repricing with respect to the
             performance-based stock option award granted to Elon Musk in January 2018.

             Contacting the Board
             Any stockholder who desires to contact our non-employee directors regarding appropriate Tesla
             business-related comments may do so electronically at the following website: http://ir.tesla.com/
             corporate-governance/contact-the-board. Such stockholders who desire to contact our
             non-employee directors by mail may do so by writing to Tesla, Inc., 1 Tesla Road, Austin, Texas
             78725, Attention: Legal Department. Our General Counsel, or someone acting in his or her place
             or his or her designee, receives these communications unfiltered by Tesla, forwards
             communications to the appropriate committee of the Board or non-employee director, and
             facilitates an appropriate response. Please note that requests for investor relations materials
             should be sent to ir@tesla.com.




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             Executive Officers
             The names of Tesla’s executive officers, their ages, their positions with Tesla and other
             biographical information as of April 16, 2024, are set forth below. Except for Messrs. Elon Musk
             and Kimbal Musk who are brothers, there are no other family relationships among any of our
             directors or executive officers.



                Name                         Age    Position
                Elon Musk                    52     Technoking of Tesla and Chief Executive Officer
                Vaibhav Taneja               46     Chief Financial Officer
                Xiaotong (Tom) Zhu           44     Senior Vice President, Automotive


             Elon Musk. For a brief biography of Mr. Musk, please see “ Proposal One — Election of
             Directors — Information Regarding the Board and Director Nominees ” above.
             Vaibhav Taneja has served as our Chief Financial Officer since August 2023. Prior to his
             appointment as CFO, Mr. Taneja served as Tesla’s Chief Accounting Officer since March 2019,
             as Corporate Controller from May 2018, and as Assistant Corporate Controller between
             February 2017 and May 2018. Mr. Taneja served in various finance and accounting roles at
             SolarCity from March 2016. Mr. Taneja holds a Bachelors of Commerce degree from Delhi
             University and is a Certified Public Accountant (inactive).
             Tom Zhu has served as our Senior Vice President, Automotive since April 2023. Mr. Zhu joined
             Tesla in April 2014, and served in various operational roles before being appointed as Vice
             President, Greater China, where he led the construction and operations of Gigafactory
             Shanghai. Mr. Zhu holds a bachelor’s degree of commerce in information technology from the
             Auckland University of Technology and an M.B.A. from Duke University.




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             Executive Compensation
             Compensation Discussion and Analysis
             The following discussion and analysis of the compensation arrangements of our named
             executive officers for 2023 should be read together with the compensation tables and related
             disclosures set forth below. This discussion contains forward-looking statements that are based
             on our current considerations, expectations and determinations regarding future compensation
             programs. The actual amount and form of compensation and the compensation programs that
             we adopt may differ materially from current or planned programs as summarized in this
             discussion.
             The following discussion and analysis relates to the compensation arrangements for 2023 of
             (i) our principal executive officer, (ii) our principal financial officer, (iii) our former principal
             financial officer who served in such capacity until August 2023 and (iv) the two most highly
             compensated persons, other than our principal executive officer and principal financial officer,
             who were serving as an executive officers at the end of our fiscal year ended December 31,
             2023 (our “named executive officers”). We had no other executive officers serving at the end of
             our fiscal year ended December 31, 2023. Our named executive officers for fiscal year 2023
             were:



                Name                                Position
                Elon Musk                           Technoking of Tesla and Chief Executive Officer
                Vaibhav Taneja                      Chief Financial Officer
                Tom Zhu                             Senior Vice President, Automotive
                Zachary Kirkhorn                    Former Master of Coin and Chief Financial Officer

                Andrew Baglino                      Former Senior Vice President, Powertrain and Energy
                                                    Engineering


             Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer
             effective August 2023.
             Mr. Baglino departed Tesla in April 2024.

             Compensation Philosophy
             Our mission is to accelerate the world’s transition to sustainable energy. This is a long-term
             mission, and our compensation programs reflect this — and our startup origins — in that they
             consist primarily of salary or wages and equity awards. Whereas salary or wages are intended
             to meet our employees’ near-term liquidity needs, we believe that equity awards are an effective
             tool for retaining employees long-term, as they vest incrementally over a period of time or upon
             the achievement of specified performance milestones intended to be achieved over the medium-
             and long-term. During periods in which our stock price and the underlying value of equity
             awards increase, their retention impact is even greater. We believe that the potential for such
             increases also creates an ownership culture that promotes holding equity, which in turn aligns
             the interests of our employees with the long-term interests of our stockholders. Additionally, this
             compensation philosophy further allows our employees to grow their skill sets and contributions
             consistent with our long-term mission. For these reasons, our goal is to provide each employee
             with the opportunity to participate in our equity programs, with certain cash-based bonus
             programs serving generally to accommodate specific incentive structures or liquidity needs. By
             combining salary or wages and our equity award program, we strive to offer a total level of
             compensation that is competitive within specific roles and geographical markets.
             In particular, we believe that compensation for the individuals who are responsible for Tesla’s
             strategic direction and operations should motivate them to achieve sustainable stockholder
             value and/or tangible milestones rather than to simply remain at Tesla or maintain the status
             quo. Therefore, while we offer to our general employee population restricted stock units that will
             retain some value even if the market value of our stock decreases, we are increasingly
             emphasizing for our executive officers the grant of stock option awards, which have zero initial
             value and accumulate


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             value, if at all, only to the extent that our stock price increases following their grant, through the
             applicable vesting dates and until such stock options are ultimately exercised and the underlying
             shares are sold. In addition, because equity awards comprise a greater proportion of our
             executive officers’ total level of compensation compared to comparable roles at peer companies,
             a sustained decrease in our stock price or failure to achieve the applicable operational
             milestones may result in a level of total compensation that is significantly less than that of such
             peer roles. Likewise, our outside director compensation program has consisted primarily of
             equity awards that are entirely in the form of stock option awards, as well as relatively modest
             cash retainer payments that may be waived at the election of each director.
             We evaluate our compensation philosophy and programs regularly and evolve them as
             circumstances merit with oversight by the Compensation Committee, particularly with respect to
             executive and director compensation. For example, if our stock price experiences significant
             movement over a short period of time that results in a persistent change to equity
             compensation, certain adjustments may be considered to align our compensation programs to
             their intended purposes.




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             Key Factors in Determining Executive Compensation

             ROLE OF COMPENSATION COMMITTEE IN EXECUTIVE COMPENSATION
             The Compensation Committee has the overall responsibility of recommending to the Board the
             compensation of our Chief Executive Officer and reviewing and determining the compensation of
             our other executive officers. Members of the Compensation Committee are appointed by the
             Board. Currently, the Compensation Committee consists of three members of the Board: Ira
             Ehrenpreis (Chair), Robyn Denholm and Kathleen Wilson-Thompson, none of whom is an
             executive officer of Tesla, and each of whom qualifies as (i) an “independent director” under the
             Nasdaq rules and (ii) an “outside director” under Section 162(m) of the Tax Code. See “
             Corporate Governance — Board Meetings and Committees — Compensation Committee ” above.

             ROLE OF COMPENSATION CONSULTANTS
             The Compensation Committee has the authority to engage, and has from time to time engaged,
             the services of outside consultants to assist in making decisions regarding the establishment of
             Tesla’s compensation philosophy and programs, including for executives and directors. No
             compensation consultant was engaged to provide such services to us in 2023.

             ROLE OF EXECUTIVE OFFICERS IN COMPENSATION DECISIONS
             Historically, for executive officers other than our Chief Executive Officer, the Compensation
             Committee has sought and considered input from our Chief Executive Officer regarding such
             executive officers’ responsibilities, performance and compensation. Specifically, our Chief
             Executive Officer recommends base salary increases and equity award levels for our senior
             personnel, and advises the Compensation Committee regarding the compensation program’s
             ability to attract, retain and motivate executive talent. These recommendations reflect
             compensation levels that our Chief Executive Officer believes are qualitatively commensurate
             with an executive officer’s individual qualifications, experience, responsibility level, functional
             role, knowledge, skills and individual performance, as well as Tesla’s performance. The
             Compensation Committee considers our Chief Executive Officer’s recommendations, but
             ultimately determines compensation in its judgment, and approves the specific compensation for
             all of our executive officers (other than for our Chief Executive Officer, which is approved by the
             Board). All such compensation determinations by our Compensation Committee are largely
             discretionary.
             The Compensation Committee meets regularly in executive session. Our Chief Executive Officer
             is not present during Compensation Committee deliberations or votes on his compensation and
             also recuses himself from sessions of the Board where the Board acts on the Compensation
             Committee’s recommendations regarding his compensation. In addition, the Board has
             established a management committee under the 2019 Plan (the “ Equity Award Committee ”) to
             grant and administer equity awards, subject to certain limitations, such as, among other things,
             maximum limits on the seniority of personnel to whom the Equity Award Committee may grant
             awards and the value of any individual award. For example, the Equity Award Committee is not
             authorized to grant awards to employees at or above the level of vice president. Moreover,
             pursuant to applicable law, the Equity Award Committee may not grant awards to its members,
             and the number of shares of our common stock underlying awards granted by it may not exceed
             amounts determined by the Board from time to time. The Board has delegated to the
             Compensation Committee oversight authority over the Equity Award Committee.

             ROLE OF STOCKHOLDER SAY-ON-PAY VOTES
             At the 2011 annual meeting of our stockholders and at each annual meeting held every
             three years since, including most recently in 2023, we held triennial stockholder advisory
             “say-on-pay” votes on the compensation of our named executive officers for the immediately
             preceding fiscal years. At our 2023 annual meeting, our stockholders overwhelmingly approved
             the compensation of our named executive officers, with approximately 71% of our stockholders
             present and entitled to vote at the meeting voting in favor of our compensation policies for our
             named executive officers. Given these results, the Compensation Committee has decided to
             retain our overall approach to executive compensation while continuing to evaluate our practices
             frequently. Moreover, we are


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             required to hold a vote at least every six years regarding how often to hold a stockholder
             advisory vote on the compensation of our named executive officers. We held our most recent
             such vote at the 2023 annual meeting of stockholders, at which our stockholders indicated a
             preference for an annual vote. Consistent with the stockholder vote, we intend to hold a
             stockholder advisory vote on executive compensation every year until the next vote on the
             frequency of stockholder advisory votes on executive compensation. See “ Proposal Two —
             Tesla Proposal for Non-Binding Advisory Vote on Executive Compensation. ” We expect the next
             advisory “say-on-pay” vote will occur at the 2025 annual meeting of stockholders.

             CLAWBACK POLICY
             Our Corporate Governance Guidelines sets forth a compensation recovery (“ clawback ”) policy
             with respect to our executive officers.
             Additionally, we adopted a clawback policy for compliance with the NASDAQ listing standards
             and Section 10D of the Exchange Act, effective November 15, 2023. This additional clawback
             policy applies to current and former executive officers as defined under the Exchange Act and
             only in the event that the Company is required to prepare an accounting restatement due to the
             material noncompliance of the Company with any financial reporting requirement under
             securities laws; misconduct on the part of the executive is not required. Under this additional
             clawback policy, we are required to recoup incentive-based compensation (as that term is
             defined in Section 10D of the Exchange Act) erroneously received within the three completed
             fiscal years immediately preceding the date on which we are required to prepare a restatement
             as defined under the clawback policy.
             Moreover, the terms of the 2018 CEO Performance Award include a clawback provision in the
             event of a restatement of our financial statements previously filed with the SEC. See “ Executive
             Compensation — Compensation Discussion and Analysis — Chief Executive Officer
             Compensation — 2018 CEO Performance Award ” below.

             Current Elements of Named Executive Officer Compensation

             OVERVIEW AND FISCAL YEAR 2023 COMPANY HIGHLIGHTS
             Our current executive compensation program, which was developed and approved by the
             Compensation Committee, generally consists of base salary and equity-based incentives, as
             well as other benefits generally available to employees. We combine these elements in order to
             formulate compensation packages with the goal of providing, on a total basis, competitive pay
             and align the interests of our named executive officers with long-term stockholder interests by
             tying the value of their compensation to our long-term stock price and/or the achievement of
             financial, operational and strategic objectives. In 2023, Tesla’s full-year accomplishments under
             our executive leadership included the following:
             • Total revenues of $96.77 billion, representing an increase of $15.31 billion, compared to the
               prior year;
             • Annual vehicle delivery and production records of 1,808,581 and 1,845,985 total vehicles,
               representing an increase of 37.7% and 34.8%, respectively, compared to the prior year;
             • 14.72 gigawatt hours of energy storage, representing an increase of 126.5%, compared to the
               prior year; and
             • Ongoing progress in the global growth of our manufacturing capabilities, including production
               and ramp at Gigafactory Texas and Gigafactory Berlin-Brandenburg and our Megafactory in
               Lathrop, CA, and announcement of a new Gigafactory in Monterrey, Mexico and Megafactory
               in Shanghai, China.

             BASE SALARY
             The Compensation Committee is responsible for reviewing our Chief Executive Officer’s and
             other executive officers’ base salaries. The base salaries of all executive officers are reviewed
             and adjusted when necessary to reflect individual roles, performance and the competitive
             market. Because we


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             currently do not provide cash bonuses to our executive officers, salary is the primary
             cash-based element of our executive officers’ compensation structure.
             The following table sets forth information regarding the annualized base salary rates at the end
             of 2023 for our named executive officers:

                                                                                                                               2023
                                                                                                                          Fiscal Year-End
                                                                                                                               Base
             Name                                                                                                           Salary($) (1)

             Elon Musk                                                                                                                —
             Vaibhav Taneja                                                                                                   275,000
             Tom Zhu                                                                                                          381,009
             Zachary Kirkhorn                                                                                                         —
             Andrew Baglino                                                                                                   300,000

             (1)    Reflects an annualized rate assuming 52 weeks each consisting of five work days.
             (2)    Mr. Musk historically earned a base salary that reflected the applicable minimum wage requirements under California
                    law, and he was subject to income taxes based on such base salary. However, he has never accepted his salary.
                    Commencing in May 2019 at Mr. Musk’s request, we eliminated altogether the earning and accrual of this base
                    salary.
             (3)    Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer effective August 2023.
             (4)    Mr. Baglino departed Tesla in April 2024.

             EQUITY-BASED INCENTIVES
             Our equity award program is the primary vehicle for offering long-term incentives to our named
             executive officers. The equity awards we have historically granted and currently grant are
             options to purchase shares of our common stock and restricted stock unit awards that are
             settled in shares of our common stock upon vesting. We have granted to our named executive
             officers both awards that vest over a long-term period and awards that vest only upon the
             achievement of specified Tesla performance milestones, in each case subject to continued
             service. We are increasingly emphasizing the grant of stock option awards for our named
             executive officers, which have value only to the extent, if any, that our stock price increases
             following their grant. Accordingly, all equity awards granted to our named executive officers in
             2020 (the last year awards were granted to any of our named executive officers except for
             Tom Zhu, our Senior Vice President, Automotive, who received stock option awards upon his
             promotion to such role) were in the form of stock option awards. As a result, a significant portion
             of our named executive officers’ total compensation is entirely at risk, depending on long-term
             stock price performance.
             While we strive to offer a total level of compensation that is competitive within specific roles and
             geographical markets, we do not have a rigid set of criteria for granting equity awards; instead,
             the Compensation Committee exercises its judgment and discretion, in consultation with our
             Chief Executive Officer and from time to time, a compensation consultant. The Compensation
             Committee considers, among other things, the role and responsibility of the named executive
             officer, competitive market factors, the amount of stock-based equity compensation already held
             by the named executive officer, the impact of any dramatic changes in our stock price over a
             short period of time and the cash-based compensation received by the named executive officer,
             to determine the level and types of equity awards that it approves. We generally grant one-time
             new hire equity awards to our employees, including executives, upon their commencement of
             employment with us, or upon their promotion to a new position. Additionally, as part of our
             ongoing executive compensation review and alignment process, we periodically grant additional
             equity awards to our executives. See “ Executive Compensation — Grants of Plan-Based Awards
             in 2023 ” below.
             The Compensation Committee meets periodically, including to approve equity award grants to
             our executives from time to time. We do not have, nor do we plan to establish, any program,
             plan or practice to time equity award grants in coordination with releasing material non-public
             information.


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             SEVERANCE AND CHANGE IN CONTROL BENEFITS
             No named executive officer has a severance or change in control arrangement with Tesla.

             BONUS
             We do not currently have or have planned, and historically we have rarely entered into, any
             specific arrangements with our named executive officers providing for cash-based bonus
             awards.

             NON-EQUITY INCENTIVE PLAN COMPENSATION
             We did not provide any non-equity incentive plan compensation to any of our named executive
             officers in 2023, and we do not currently have or have planned any specific arrangements with
             our named executive officers providing for non-equity incentive plan compensation.

             PERQUISITES
             Generally, we do not provide any perquisites or other personal benefits to our named executive
             officers which are not offered on a non-discriminatory basis to all employees as well.

             HEALTH AND WELFARE BENEFITS
             We provide the following benefits to our named executive officers on the same basis provided to
             all of our employees:
             • medical insurance including comprehensive transgender and fertility coverage, mental health,
               dental and vision;
             • adoption and surrogacy benefits;
             • confidential Employee Assistance Program counseling;
             • life insurance and accidental death and dismemberment insurance;
             • a Section 401(k) plan where Tesla provides a company match equal to 50% of the employee’s
               contribution, up to a maximum of 3% of the employee’s eligible compensation with a $3,000
               annual cap;
             • an employee stock purchase plan;
             • short-and long-term disability insurance;
             • medical and dependent care flexible spending account; and
             • a health savings account.

             Chief Executive Officer Compensation

             OVERVIEW
             Historically, in developing compensation recommendations for our Chief Executive Officer, the
             Compensation Committee has sought both to appropriately reward our Chief Executive Officer’s
             previous and current contributions and to create incentives for our Chief Executive Officer to
             continue to contribute significantly to successful results in the future. Each of the 2018 CEO
             Performance Award and the 2012 CEO Performance Award was focused on this latter objective,
             as it solely rewards future performance.
             In addition to serving as our Chief Executive Officer since October 2008, Elon Musk has
             contributed significantly and actively to Tesla since our earliest days in April 2004 by recruiting
             executives and engineers, contributing to vehicle engineering and design, raising capital for us,
             bringing investors to us and raising our public awareness.

             CASH COMPENSATION
             Mr. Musk historically earned a base salary that reflected the applicable minimum wage
             requirements under California law, and he was subject to income taxes based on such base
             salary. However, he has never accepted his salary. Commencing in May 2019 at Mr. Musk’s
             request, we eliminated altogether the earning and accrual of this base salary.


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             HISTORICAL EQUITY COMPENSATION
             Prior to stock option awards made in December 2009, Mr. Musk did not receive any equity
             compensation for his services for a period of five years.
             In 2010 and 2011, Mr. Musk did not receive any equity grants, because the Compensation
             Committee believed his grants made in December 2009 already provided sufficient motivation
             for Mr. Musk to perform his duties as Chief Executive Officer.
             In August 2012, to create incentives for continued long-term success from the then-recently
             launched Model S program as well as from Tesla’s then-planned Model X and Model 3 programs,
             and to further align executive compensation with increases in stockholder value, the Board
             granted to Mr. Musk the 2012 CEO Performance Award, comprised of a stock option award to
             purchase 79,123,515 shares (as adjusted for the 2020 Stock Split and 2022 Stock Split) of
             Tesla’s common stock, representing 5% of Tesla’s total issued and outstanding shares at the
             time of grant. The 2012 CEO Performance Award consisted of 10 equal vesting tranches, each
             requiring that Tesla meet a combination of (i) the achievement of a specified operational
             milestone relating to development of Model X or Model 3, aggregate vehicle production or a
             gross margin target, and (ii) a sustained incremental $4 billion increase in Tesla’s market
             capitalization from $3.2 billion, Tesla’s market capitalization at the time of grant. Prior to its
             expiration in 2022, the market capitalization conditions for all of the 10 vesting tranches and
             nine of the 10 operational milestones had been achieved, and nine of 10 tranches under the
             2012 CEO Performance Award vested.
             Prior to 2018, the only additional equity awards received by Mr. Musk related to certain
             immaterial awards granted during 2013 pursuant to a patent incentive program that was
             available to our employees generally.

             2018 CEO PERFORMANCE AWARD
             Early in 2017, with the 2012 CEO Performance Award heading to substantial completion after
             having helped Tesla grow its market capitalization to over $55 billion in just over five years, the
             independent members of the Board began preliminary discussions regarding how to continue to
             incentivize Mr. Musk to lead Tesla through the next phase of its development. In January 2018,
             following more than six months of careful analysis and development led by the Compensation
             Committee, with participation by every independent Board member, the help of Compensia and
             engagement with and feedback from our largest institutional stockholders, the Board granted the
             2018 CEO Performance Award to Mr. Musk. Such grant was subject to approval by a majority of
             the total votes of Tesla common stock not owned by Mr. Musk or Kimbal Musk cast at a meeting
             of the stockholders to approve the 2018 CEO Performance Award. On March 21, 2018, such
             approval was obtained, with approximately 73% of the votes cast by such disinterested shares
             voting in favor of the 2018 CEO Performance Award.
             The 2018 CEO Performance Award was comprised of a 10-year maximum term stock option to
             purchase 303,960,630 shares (as adjusted for the 2020 Stock Split and 2022 Stock Split) of
             Tesla’s common stock, divided equally among 12 separate tranches that were each equivalent to
             1% of the issued and outstanding shares of Tesla’s common stock at the time of grant, at an
             exercise price of $23.34 per share (as adjusted for the 2020 Stock Split and 2022 Stock Split).
             Each of the 12 tranches of the 2018 CEO Performance Award vested upon certification by the
             Board that both (i) the market capitalization milestone for such tranche, which began at
             $100 billion for the first




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             tranche and increased by increments of $50 billion thereafter and (ii) any one of the following
             eight operational milestones focused on revenue or eight operational milestones focused on
             profitability, was met:



                    Total Revenue *                                                                                     Adjusted EBITDA **
                    (in billions)                                                                                          (in billions)

                    $20.0                                                                                                     $ 1.5
                    $35.0                                                                                                     $ 3.0
                    $55.0                                                                                                     $ 4.5
                    $75.0                                                                                                     $ 6.0
                    $100.0                                                                                                    $ 8.0
                    $125.0                                                                                                    $ 10.0

                    $150.0                                                                                                    $ 12.0

                    $175.0                                                                                                    $ 14.0



             *       “Revenue” means total revenues as reported in Tesla’s financial statements on Forms 10-Q or 10-K filed with the
                     SEC for the previous four consecutive fiscal quarters.
             **      “Adjusted EBITDA” means (i) net income (loss) attributable to common stockholders before (ii) interest expense,
                     (iii) (benefit) provision for income taxes, (iv) depreciation and amortization and (v) stock-based compensation, as
                     each such item is reported in Tesla’s financial statements on Forms 10-Q or 10-K filed with the SEC for the previous
                     four consecutive fiscal quarters.

             Any single operational milestone could only satisfy the vesting requirement of one tranche,
             together with the corresponding market capitalization milestone. Subject to any applicable
             clawback provisions, policies or other forfeiture terms, once a milestone was achieved, it was
             forever deemed achieved for purposes of determining the vesting of a tranche. Meeting more
             than 12 of the 16 operational milestones does not result in any additional vesting or other
             compensation to Mr. Musk under the 2018 CEO Performance Award. Except in a change in
             control situation, measurement of the market capitalization milestones was based on both (i) a
             six calendar month trailing average of Tesla’s stock price as well as (ii) a 30 calendar day
             trailing average of Tesla’s stock price, in each case based on trading days only. Upon the
             consummation of certain acquisitions or split-up, spin-off or divestiture transactions, each
             then-unachieved market capitalization milestone and/or operational milestone would have been
             adjusted to offset the impact of such transactions to the extent they had been considered
             material to the achievement of those milestones.
             In establishing the Revenue and Adjusted EBITDA milestones, the Board carefully considered a
             variety of factors, including Tesla’s growth trajectory and internal growth plans and the historical
             performance of other high-growth and high-multiples companies in the technology space that
             have invested in new businesses and tangible assets. These benchmarks provided
             revenue/EBITDA to market capitalization multiples, which were then used to inform the specific
             operational targets that aligned with Tesla’s plans for future growth. Nevertheless, the Board
             considered each of the market capitalization and operational milestones to be challenging
             hurdles. For example, in order to meet all 12 market capitalization milestones, Tesla was
             required to add approximately $600 billion to its market capitalization at the time of the grant of
             the 2018 CEO Performance Award on a sustained basis, and in order to satisfy all eight
             revenue-based operational milestones, Tesla would have to increase revenue by more than
             $163 billion from its annual revenue of approximately $11.8 billion in 2017, the last fiscal year
             completed prior to the grant of the 2018 CEO Performance Award.
             In addition, Mr. Musk was required to continue leading Tesla as our Chief Executive Officer or,
             alternatively, as our Chief Product Officer and Executive Chairman (with any other Chief
             Executive Officer reporting directly to him), at the time each milestone was met in order for the
             corresponding


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             tranche to vest. With limited exceptions, Mr. Musk must hold any shares that he acquires upon
             exercise of the 2018 CEO Performance Award for at least five years post-exercise. There would
             have been no acceleration of vesting of the 2018 CEO Performance award upon Mr. Musk’s
             termination, death or disability or a change in control of Tesla. However, in a change in control
             situation, the achievement of the milestones would have been based solely on the market
             capitalization milestones, with the measurement of Tesla’s market capitalization determined by
             the product of the total number of outstanding shares of Tesla common stock immediately before
             the change in control multiplied by the greater of the last closing price of a share of Tesla
             common stock before the effective time of the change in control or the per share price (plus the
             per share value of any other consideration) received by Tesla’s stockholders in the change in
             control.
             In the event of a restatement of Tesla’s financial statements previously filed with the SEC, if a
             lesser portion of the 2018 CEO Performance Award would have vested based on the restated
             financial results, then Tesla will require forfeiture (or repayment, as applicable) of the portion of
             the 2018 CEO Performance Award that would not have vested based on the restated financial
             results (less any amounts Mr. Musk may have paid to Tesla in exercising any forfeited awards).
             The 2018 CEO Performance Award is subject, if more stringent than the foregoing, to any
             current or future Tesla clawback policy applicable to equity awards, provided that the policy
             does not discriminate solely against Mr. Musk except as required by applicable law.
             As of the date of this filing, all of the milestones have been achieved and certified by our Board.
             Consequently, all 12 of the 12 tranches under the 2018 CEO Performance Award, corresponding
             to options to purchase an aggregate 303,960,630 shares of Tesla’s common stock, have vested
             and become exercisable, subject to Mr. Musk’s payment of the exercise price of $23.34 per
             share and the minimum five-year holding period generally applicable to any shares he acquires
             upon exercise.

             Realized Compensation
             For purposes of the table in “ Executive Compensation — Summary Compensation Table ” below,
             we are required to report pursuant to applicable SEC rules any stock option grants to Mr. Musk
             at values determined as of their respective grant dates and which are driven by certain
             assumptions prescribed by ASC Topic 718 . Moreover, we are required to report in “ Executive
             Compensation — Pay Ratio Disclosure ” below (i) Mr. Musk’s annual total compensation, (ii) the
             median of the annual total compensation of all Tesla employees qualifying for this analysis,
             other than Mr. Musk, in each case calculated pursuant to the methodology used for the table in “
             Executive Compensation — Summary Compensation Table, ” and (iii) the ratio of the former to
             the latter.
             In addition, we are required to report in “ Executive Compensation — 2023 Option Exercises and
             Stock Vested ” below an amount for the “value realized” upon: (i) any exercise by Mr. Musk of a
             stock option, which is based on the difference between the market price of the underlying
             shares at the time of exercise and the exercise price of the stock option and (ii) any vesting of a
             restricted stock unit award, based on the market price of the award at the time of vesting. Such
             amount is required to be reported even if Mr. Musk does not actually receive any cash from such
             exercise or vesting, either because he does not also sell any shares or because he sells only a
             number of shares sufficient to cover the related tax liabilities resulting from the exercise or
             vesting.
             As a result, there may be a significant disconnect between what is reported as compensation for
             Mr. Musk in a given year in such sections and the value actually realized as compensation in
             that year or over a period of time. Moreover, the vast majority of compensation in respect of
             past stock option grants to Mr. Musk, including the 2012 CEO Performance Award and the 2018
             CEO Performance Award, were structured to be incentives for future performance with their
             value realizable only if Tesla’s stock price appreciated compared to the dates of the grants, and
             if the Company achieved applicable vesting requirements.
             To supplement the disclosures in “ Executive Compensation — Summary Compensation Table, ”
             “ Executive Compensation — Pay Ratio Disclosure ” and “ Executive Compensation — 2023
             Option Exercises and Stock Vested ” below, we have included the following table, which shows
             the total realized compensation of Mr. Musk for the last three fiscal years, as well as the ratio of
             Mr. Musk’s realized compensation to the median of the annual total compensation of all other
             Tesla employees


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             qualifying for this analysis as reported in “ Executive Compensation — Pay Ratio Disclosure. ”
             Realized compensation is not a substitute for reported compensation in evaluating our
             compensation structure, but we believe that realized compensation is an important factor in
             understanding that the value of compensation that Mr. Musk ultimately realizes is dependent on
             a number of additional factors, including: (i) the vesting of certain of his option awards only
             upon the successful achievement of a number of market capitalization increases and operational
             milestone targets; (ii) the fact that Mr. Musk does not receive any cash if he does not actually
             sell shares and thereby reduce his investment in us, and he does not receive any cash to the
             extent that he sells only shares sufficient to cover income taxes with respect to his awards
             (including stock options exercised solely to avoid their expiration in accordance with their
             terms); and (iii) the then-current market value of our common stock at the times at which
             Mr. Musk may elect to actually sell his shares.
                                                                              Median Annual Total
                                 “Total              “Value Realized          Compensation of all                            Ratio of Total
                            Compensation”              on Exercise                 Qualifying                                CEO Realized
                              of CEO, as         or Vesting of Awards”              Non-CEO                                 Compensation to
                             Reported in         of CEO, as Reported in           Employees,                                 Median Annual
                              Summary               Option Exercises           as reported in Pay                                  Total
                            Compensation                and Stock                     Ratio               Total CEO          Compensation
                                 Table                Vested Table                 Disclosure              Realized         of all Qualifying
                                Below                     Below                  Section Below          Compensation            Non-CEO
             Year                  ($)                     ($)                         ($)                  ($) (1)            Employees

             2023                   —                       1,861,335                 45,811                          —             0.00:1

             2022                   —                                —                34,084                          —             0.00:1
             2021                   —                23,452,910,177                   40,723             734,762,107             18,043:1

             (1)    “Total CEO realized compensation” for a given year is defined as (i) the amounts reported for Mr. Musk in “ Executive
                    Compensation — Summary Compensation Table ” below under the columns “Salary,” “Bonus,” “Non-Equity Incentive
                    Plan Compensation” and “All Other Compensation,” plus (ii) with respect to any stock option exercised by Mr. Musk in
                    such year in connection with which shares of stock were also sold other than to satisfy any resulting tax liability, the
                    difference between the market price of such shares at the time of exercise and the applicable exercise price of the
                    option, plus (iii) with respect to any restricted stock unit vested by Mr. Musk in such year in connection with which
                    shares of stock were also sold other than automatic sales to satisfy any withholding obligations related to such
                    vesting, the market price of such shares at the time of vesting, plus (iv) any cash actually received by Mr. Musk in
                    respect of any shares sold to cover tax liabilities as described in (ii) and (iii) above, following the payment of such tax
                    liabilities.
             (2)    Reflects the exercise of vested stock options granted as part of a company-wide patent incentive program, and which
                    were scheduled to expire in 2023. Mr. Musk paid the exercise price and applicable taxes in cash, and did not sell any
                    of the resulting shares.
             (3)    Reflects the exercise of vested stock options scheduled to expire in 2022 as to which Mr. Musk paid the exercise
                    price in cash. Of the shares received upon exercise, 42.0% were immediately sold in order to pay federal and state
                    tax withholding from the option exercise and none of the proceeds from such sales were retained by Mr. Musk. Of the
                    remaining shares, 94.6% were retained by Mr. Musk. The other 5.4% automatically were sold as a result of a
                    Rule 10b5-1 trading plan put in place in September 2021.

             Tax and Accounting Considerations
             Sections 280G and 409A . We have not provided or committed to provide any executive officer
             or director with a gross-up or other reimbursement for tax amounts the executive might pay
             pursuant to Section 280G or Section 409A of the Tax Code. Section 280G and related Tax Code
             sections provide that executive officers, directors who hold significant stockholder interests and
             certain other service providers could be subject to significant additional taxes if they receive
             payments or benefits in connection with a change in control of Tesla that exceeds certain limits,
             and that we or our successor could lose a deduction on the amounts subject to the additional
             tax. Section 409A also imposes additional significant taxes on the individual in the event that an
             executive officer, director or service provider of certain types receives “deferred compensation”
             that does not meet the requirements of Section 409A.
             Tax Deduction Limit . Section 162(m) of the Tax Code generally disallows a tax deduction to
             public corporations for compensation greater than $1,000,000 paid in any fiscal year to certain


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             executive officers. However, prior to the enactment of U.S. tax legislation in December 2017 (the
             “ Tax Act ”), certain types of performance-based compensation were excluded from the
             $1,000,000 deduction limit if specific requirements were met. Under the Tax Act, this exclusion
             for performance-based compensation is not available with respect to taxable years beginning
             after December 31, 2017, unless the compensation is pursuant to a written binding contract
             which was in effect on or before November 2, 2017, and which is not modified in any material
             respect on or after such date. Pursuant to the Tax Act, for taxable years beginning after
             December 31, 2017, Section 162(m) of the Tax Code was expanded to cover additional
             executive officers and other employees, including the chief financial officer, so that the
             compensation of the chief executive officer and chief financial officer (at any time during the
             fiscal year), the three next most highly compensated executive officers during the taxable year
             and any other individual who was considered a “covered employee” for any prior taxable year
             that begins after 2016, will be subject to the $1,000,000 deductibility limit under Section 162(m)
             of the Tax Code. Commencing with our 2018 fiscal year, to the extent that the aggregate amount
             of any covered officer’s salary, bonus, any amount realized from certain option exercises and
             vesting of restricted stock units or other equity awards, and certain other compensation amounts
             that are recognized as taxable income by the officer exceeds $1,000,000, we will not be entitled
             to a U.S. federal income tax deduction for the amount over $1,000,000 in that year, unless the
             compensation qualifies for the transition relief applicable to certain written binding contracts in
             effect on or before November 2, 2017. The Compensation Committee has not adopted a formal
             policy regarding tax deductibility of compensation paid to our executive officers and reserves the
             right to pay compensation that may not be deductible to Tesla if it determines that doing so
             would be in the best interests of Tesla.
             Accounting Implications . We follow ASC Topic 718 for our stock-based compensation awards.
             ASC Topic 718 requires companies to measure the compensation expense for all stock-based
             compensation awards made to employees and directors based on the grant date “fair value” of
             these awards. This calculation is performed for accounting purposes and reported in the
             compensation tables below, even though our named executive officers may never realize any
             value from their awards. ASC Topic 718 also requires companies to recognize the compensation
             cost of their stock-based compensation awards in their income statements over the period that
             an executive officer is required to render service in exchange for the option or other award.

             Other Information
             On June 4, 2018, a Tesla stockholder filed a stockholder derivative complaint in the Delaware
             Court of Chancery against Mr. Musk and certain current and former Tesla directors in connection
             with the Tesla Board’s approval of the 2018 CEO Performance Award. On January 30, 2024, the
             Court entered judgment for the plaintiff stockholder, and granted the plaintiff’s request that the
             2018 CEO Performance Award be fully rescinded. Tesla plans to appeal the Court’s decision. In
             addition, following the recommendation of the Special Committee, the Board (with Mr. Musk and
             Kimbal Musk recusing themselves) has determined to ratify the 2018 CEO Performance Award,
             determined that the ratification of the 2018 CEO Performance Award is in the best interests of
             the Company and its stockholders and recommends that our stockholders approve the
             ratification of the 2018 Performance Award at the 2024 Annual Meeting. For more information,
             see “ Proposal Four — Tesla Proposal for Ratification of the 2018 CEO Performance Award. ”




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             Compensation Committee Report
             The Compensation Committee oversees Tesla’s compensation programs, policies and practices.
             The Compensation Committee has reviewed and discussed the Compensation Discussion and
             Analysis required by Item 402(b) of Regulation S-K with management. Based on such review
             and discussions, the Compensation Committee has recommended to the Board that the
             Compensation Discussion and Analysis be included in this proxy statement.
             Respectfully submitted by the members of the Compensation Committee of the Board
                                                                         Ira Ehrenpreis (Chair)
                                                                         Robyn Denholm
                                                                         Kathleen Wilson-Thompson
             This report of the Compensation Committee is required by the SEC and, in accordance with the
             SEC’s rules, will not be deemed to be part of or incorporated by reference by any general
             statement incorporating by reference this proxy statement into any filing under the Securities Act
             or the Exchange Act, except to the extent that we specifically incorporate this information by
             reference, and will not otherwise be deemed “soliciting material” or “filed” under either the
             Securities Act or the Exchange Act.




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             Summary Compensation Table
             The following table presents information concerning the total compensation of our named
             executive officers for each of the last three fiscal years.

                                                                                                   Non-Equity
                                                                                                    Incentive
                                                                      Stock        Option             Plan           All Other
      Name and Principal                        Salary     Bonus     Awards        Awards         Compensation     Compensation             Total
      Position                        Year       ($)        ($)        ($)          ($) (1)            ($)               ($)                 ($)

      Elon Musk                       2023           —          —        —                    —        —                     —                      —
      Technoking of Tesla
                                      2022           —          —        —                    —        —                     —                      —
      and
      Chief Executive Officer         2021           —          —        —                    —        —                     —                      —
      Vaibhav Taneja                  2023     275,000          —        —                    —        —                 3,000              278,000
      Chief Financial Officer
      Tom Zhu                         2023     381,009          —        —       31,641,961            —               545,868        32,568,838
      SVP, Automotive
      Zachary Kirkhorn (4)            2023     280,385          —        —                    —        —                 3,000              283,385
      Former Chief Financial          2022     300,000          —        —                    —        —                 3,000              303,000
      Officer
                                      2021     301,154          —        —                    —        —                     —              301,154
                            (5)
      Andrew Baglino                  2023     300,000          —        —                    —        —                 3,000              303,000
      Former SVP,
      Powertrain                      2022     300,000          —        —                    —        —                 3,000              303,000
      and Energy
      Engineering                     2021     301,154          —        —                    —        —                     —              301,154


             (1)    This column reflects the aggregate grant date fair value computed in accordance with ASC Topic 718 of the options to
                    purchase shares of our common stock granted to the named executive officers. The assumptions used in the
                    valuation of these awards are set forth in the notes to our consolidated financial statements, which are included in
                    our Annual Report on Form 10-K for the year ended December 31, 2023, filed with the SEC on January 29, 2024.
                    These amounts do not necessarily correspond to the actual value that may be recognized by the named executive
                    officers, which depends, among other things, on the market value of our common stock appreciating from that on the
                    grant date(s) of the option(s).
             (2)    Reflects matching contributions made under the Tesla 401(k) Plan based on each of the named executive officer’s
                    fiscal 2023 contributions.
             (3)    While Mr. Zhu was on assignment from Gigafactory Shanghai, he received certain benefits offered to all Tesla
                    employees on assignment. All Other Compensation consists of $366,896 for tax gross-up reimbursement payments,
                    $27,829 for housing allowance, $34,546 for cost of living adjustments, $102,694 for tax assistance reimbursement
                    payments for 2022 taxes, $134 for relocation fees, $3,000 to reflect matching contributions made under the Tesla
                    401(k) Plan based on Mr. Zhu’s fiscal 2023 contributions and a $10,769 Qualified Non Elective Contribution made by
                    Tesla.
             (4)    Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer effective August 2023.
             (5)    Mr. Baglino departed Tesla in April 2024.


             Pay Ratio Disclosure
             Tesla is committed to fair and competitive compensation for our employees. Moreover, Elon
             Musk, the Technoking of Tesla and our Chief Executive Officer, has agreed to a compensation
             arrangement in the 2018 CEO Performance Award that is substantially tied to the appreciation of
             our market capitalization. Because equity awards are generally made available to Tesla
             employees, this also means that Mr. Musk’s compensation is tied to the success of Tesla
             employees. We are providing a ratio of (i) Mr. Musk’s 2023 annual total compensation to (ii) the
             median of the 2023 annual total compensation of all applicable qualifying Tesla employees other
             than Mr. Musk, in each case calculated pursuant to the disclosure requirements of “ Executive
             Compensation — Summary Compensation Table ” above. As we continue our expansion, the
             median annual total compensation of our employees reflects differences in local compensation
             scales and practices.
             Mr. Musk’s 2023 annual total compensation, as reported in “ Executive Compensation —
             Summary Compensation Table, ” was $0, and the median 2023 annual total compensation of all
             other qualifying


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             employees, as determined pursuant to the methodology set forth below, was $45,811.
             Consequently, the applicable ratio of such amounts for 2023 was 0.00:1.
             Our methodology for identifying the median of the 2023 annual total compensation for each
             individual other than Mr. Musk was as follows:
             • We selected December 31, 2023, which is within the last three months of 2023, as the date
               upon which we would identify the “median employee” because it enabled us to make such
               identification in a reasonably efficient and economical manner.
             • We determined that as of December 31, 2023, Tesla and all our subsidiaries had 140,666
               individuals qualifying for this analysis (full-time, part-time and temporary employees other than
               Mr. Musk, subject to the following bullet), of which approximately 44% were based outside of
               the U.S. and approximately 37% were production line employees.
             • We did not include in the population of qualifying individuals any employees of staffing
               agencies whose compensation is determined by such agencies.
             • We applied the requirements and assumptions required for the table in “ Executive
               Compensation — Summary Compensation Table ” for each of such individuals to calculate the
               total annual compensation, including base salary or wages, performance-based commission
               payments, and equity awards based on their grant date fair values.
             • We converted any payment earned or paid in a foreign currency to U.S. dollar using the
               average of the prevailing conversion rates for the month of December 2023.
             • We selected the median of all total annual compensation amounts calculated in accordance
               with the foregoing.

             Pay Versus Performance
             In accordance with Section 953(a) of the Dodd-Frank Wall Street Reform and Consumer
             Protection Act, and Item 402(v) of Regulation S-K, we are required to disclose certain
             information about the relationship between the compensation actually paid to our named
             executive officers and certain measures of company performance. For information on our
             compensation philosophy, please see “ Compensation Discussion and Analysis .”
                                                       Average
                                                      Summary       Average
                                                   Compensation Compensation Value of Initial Fixed $100
                                                     Table Total  Actually Paid   Investment Based on:
                                                    for Non-CEO   to Non-CEO
                          Summary    Compensation      Named         Named                   Peer Group
                        Compensation Actually Paid    Executive    Executive     Tesla Total    Total       Net    Revenue
                         Table Total   to CEO (in    Officers (in  Officers (in Shareholder Shareholder Income (in    (in
                           for CEO      millions)     millions)     millions)      Return      Return    millions) millions)
                                 (1)          (2)           (3)           (4)           (5)         (6)        (7)
             Year            ($)          ($)           ($)           ($)           ($)         ($)        ($)      ($) (8)

             2023              —             1,403             8.4             45.8         890.97       209.21       14,974     96,773
             2022              —            ( 9,703            0.3          ( 165.3         441.68       151.29       12,587     81,462

             2021              —            15,016             0.3           ( 74.3       1,263.09       235.13        5,644     53,823
             2020              —            43,019           46.6            393.0          843.44       162.40           862    31,536

             (1)    Represents the total compensation reported for Elon Musk (our Chief Executive Officer) for each corresponding year
                    in the “Total” column of the Summary Compensation Table.
             (2)    The dollar amounts reported in this column represent the amount of “compensation actually paid” to Mr. Musk,
                    computed in accordance with Item 402(v) of Regulation S-K. The dollar amounts do not reflect the actual amount of
                    compensation earned by or paid to Mr. Musk during the applicable year. In accordance with the requirements of
                    Item 402(v) of Regulation S-K, the following adjustments were made to Mr. Musk’s total compensation, as reported in
                    the Summary Compensation Table for each year, to determine the compensation actually paid.



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                            Reported                                                    Reported
                            Summary                                  Equity          Change in the                                Compensation
                          Compensation           Reported            Award          Actuarial Present                             Actually Paid
                          Table Total for     Value of Equity     Adjustments       Value of Pension        Pension Benefit           to CEO
                               CEO                Awards          (in millions)         Benefits             Adjustments           (in millions)
             Year               ($)                ($) (a)            ($) (b)              ($)                    ($)                   ($)

             2023                 —                      —             1,403                —                      —                   1,403

             2022                 —                      —            ( 9,703               —                      —                  ( 9,703

             2021                 —                      —            15,016                —                      —                  15,016

             2020                 —                      —            43,019                —                      —                  43,019


             (a)    The grant date fair value of equity awards represents the total of the amounts reported in the “Stock Awards” and
                    “Option Awards” columns in the Summary Compensation Table for the applicable year.
             (b)    The equity award adjustments for each applicable year include the addition (or subtraction, as applicable) of the
                    following: (i) the year-end fair value of any equity awards granted in the applicable year that are outstanding and
                    unvested as of the end of the year; (ii) the amount of change as of the end of the applicable year (from the end of the
                    prior fiscal year) in fair value of any awards granted in prior years that are outstanding and unvested as of the end of
                    the applicable year; (iii) for awards that are granted and vest in same applicable year, the fair value as of the vesting
                    date; (iv) for awards granted in prior years that vest in the applicable year, the amount equal to the change as of the
                    vesting date (from the end of the prior fiscal year) in fair value; (v) for awards granted in prior years that are
                    determined to fail to meet the applicable vesting conditions during the applicable year, a deduction for the amount
                    equal to the fair value at the end of the prior fiscal year; and (vi) the dollar value of any dividends or other earnings
                    paid on stock or option awards in the applicable year prior to the vesting date that are not otherwise reflected in the
                    fair value of such award or included in any other component of total compensation for the applicable year. The
                    valuation assumptions used to calculate fair values did not materially differ from those disclosed at the time of grant.
                    The amounts deducted or added in calculating the equity award adjustments are as follows:

                                                                            Change in Fair
                                                                            Value of Equity
                                                                           Awards Granted
                                                             Fair Value      in Prior Years      Fair Value at         Value of
                           Year End                              as of       that Vested in         the End          Dividends or
                           Fair Value    Year over Year       Vesting           the Year         of the Prior       other Earnings
                           of Equity     Change in Fair        Date of       (Vesting Date      Year of Equity     Paid on Stock or          Total
                            Awards           Value of          Equity      Compared to the       Awards that        Option Awards           Equity
                            Granted       Outstanding          Awards      Value at the End        Failed to        not Otherwise           Award
                              and        and Unvested         Granted         of the Prior      Meet Vesting       Reflected in Fair     Adjustments
                          Unvested in    Equity Awards       and Vested         Year) (in         Conditions        Value or Total            (in
                            the Year      (in millions)         in the          millions)         in the Year       Compensation          millions)
             Year              ($)             ($)            Year ($)             ($)                 ($)                ($)                 ($)

             2023               —                   —             —                1,403                —                     —                  1,403

             2022               —              ( 4,973            —               ( 4,730               —                     —                 ( 9,703

             2021               —              13,028             —                1,988                —                     —                 15,016

             2020               —              36,329             —                6,690                —                     —                 43,019


             (3)    Represents the average of the amounts reported for the Company’s named executive officers (NEOs) as a group
                    (excluding Elon Musk, who has served as our CEO since 2008) in the “Total” column of the Summary Compensation
                    Table in each applicable year. The names of each of the NEOs (excluding Mr. Musk) included for purposes of
                    calculating the average amounts in each applicable year are as follows: (i) for 2023, Vaibhav Taneja, Andrew Baglino,
                    Tom Zhu and Zachary Kirkhorn; (ii) for 2022, Zachary Kirkhorn and Andrew Baglino; (iii) for 2021, Zachary Kirkhorn,
                    Andrew Baglino and Jerome Guillen; and (iv) for 2020, Zachary Kirkhorn, Andrew Baglino and Jerome Guillen.
             (4)    The dollar amounts reported in this column is the average compensation actually paid for our NEOs other than our
                    CEO in each applicable year, computed in accordance with Item 402(v) of Regulation S-K. The dollar amounts do not
                    reflect the actual amount of compensation earned by or paid to our NEOs during the applicable year. In accordance
                    with the requirements of Item 402(v) of Regulation S-K, the following adjustments were made to the NEO’s total
                    compensation, as reported in the Summary Compensation Table for each applicable year, to determine the
                    compensation actually paid.



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                             Average
                             Reported                                   Average                Average                                  Average
                             Summary               Average               Equity                Reported                              Compensation
                          Compensation             Reported              Award              Change in the                            Actually Paid
                          Table Total for       Value of Equity       Adjustments          Actuarial Present          Average         to Non-CEO
                          Non-CEO NEOs              Awards                 (in             Value of Pension        Pension Benefit        NEOs
                           (in millions)         (in millions)         millions)               Benefits             Adjustments       (in millions)
             Year               ($)                   ($)                 ($) (a)                 ($)                    ($)               ($)

             2023                   8.4                  7.9                   45.3                —                      —                   45.8

             2022                   0.3                    —              ( 165.6                  —                      —                 ( 165.3

             2021                   0.3                    —               ( 74.6                  —                      —                  ( 74.3

             2020                46.6                   46.3               392.7                   —                      —                  393.0


             (a)    The amounts deducted or added in calculating the total average equity award adjustments are as follows:

                                                                                 Change in Fair
                                                                                     Value of
                                                                                 Equity Awards
                           Average                                                 Granted in        Average Fair
                          Year End                             Average Fair        Prior Years       Value at the       Average Value of
                          Fair Value      Year over Year        Value as of      that Vested in       End of the          Dividends or
                          of Equity          Average           Vesting Date         the Year         Prior Year of       other Earnings           Total
                           Awards         Change in Fair         of Equity       (Vesting Date      Equity Awards       Paid on Stock or        Average
                           Granted            Value of            Awards          Compared to       that Failed to       Option Awards           Equity
                             and           Outstanding         Granted and        the Value at       Meet Vesting        not Otherwise           Award
                          Unvested        and Unvested         Vested in the     the End of the     Conditions in       Reflected in Fair     Adjustments
                            in the        Equity Awards             Year           Prior Year)         the Year          Value or Total            (in
                             Year          (in millions)       (in millions)      (in millions)      (in millions)       Compensation          millions)
             Year             ($)               ($)                  ($)               ($)                ($)                  ($)                 ($)

             2023             9.7               12.1                1.8                  23.0             ( 1.3                 —                      45.3

             2022               —             ( 110.5                —                  ( 55.1                 —                —                 ( 165.6

             2021               —               78.7                 —                   ( 2.9          ( 150.4                 —                     ( 74.6

             2020            84.2              278.7                0.7                  29.1                  —                —                     392.7

             (5)    Total shareholder return (“ TSR ”) is calculated by dividing the sum of the cumulative amount of dividends for the
                    measurement period, assuming dividend reinvestment, and the difference between the Company’s share price at the
                    end and the beginning of the measurement period by the Company’s share price at the beginning of the measurement
                    period.
             (6)    Represents the weighted group TSR, weighted according to the respective companies’ stock market capitalization at
                    the beginning of each period for which a return is indicated. The peer group used for this purpose is the group of all
                    public companies with SIC code 3711.
             (7)    The dollar amounts reported represent the amount of net income reflected in the Company’s audited financial
                    statements for the applicable year.
             (8)    In the Company’s assessment, revenue is the financial performance measure that is the most important financial
                    performance measure (other than TSR and net income) used by the Company for the most recently completed fiscal
                    year, to link compensation actually paid to performance.
             (9)    Mr. Kirkhorn departed Tesla in December 2023 and Mr. Guillen departed Tesla in June 2021, which led to certain
                    forfeitures of unvested awards. The average compensation actually paid in 2023 and 2021 to our NEOs other than
                    our CEO and Mr. Kirkhorn was approximately $ 54.3 million and other than our CEO and Mr. Guillen was
                    approximately $ 123.2 million, respectively.




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             Most Important Financial Performance Measures
             This list below includes the three financial measures that in our assessment represent the most
             important financial performance measures used to link compensation actually paid to our NEOs,
             for the most recently completed fiscal year, to the Company’s performance. See “ Compensation
             Discussion and Analysis ” for further details.
             Revenue
             Adjusted EBITDA
             Market Capitalization

             Description of Relationships Between Compensation Actually Paid and Performance

             Chief Executive Officer
             From 2022 to 2023, compensation actually paid to the CEO increased by 114.5%. Over this
             same period, TSR increased by 101.7%, net income increased by 19.0%, and revenue increased
             by 18.8%.
             From 2021 to 2022, compensation actually paid to the CEO decreased by 164.6%. Over this
             same period, TSR decreased by 65.0%, net income increased by 123.0%, and revenue
             increased by 51.4%.
             From 2020 to 2021, compensation actually paid to the CEO decreased by 65.1%. Over this
             same period, TSR increased by 49.8%, net income increased by 554.8%, and revenue increased
             by 70.7%.
             Mr. Musk does not earn a base salary or receive any equity compensation other than under his
             2012 CEO Performance Award and 2018 CEO Performance Award. See “ Executive
             Compensation — Compensation Discussion and Analysis — Chief Executive Officer
             Compensation ” for more information.
             The vesting of Mr. Musk’s awards were tied to specific market capitalization and operational
             milestones focusing on total revenue and adjusted EBITDA. However, the compensation actually
             paid as calculated pursuant to Item 402(v) of Regulation S-K is based on the accounting
             changes in the fair value of such options, which varies significantly with the performance of our
             common stock.
             Thus, because the Company TSR is calculated from the beginning of the earliest year
             presented, a positive TSR does not necessarily correlate to an increase in compensation
             actually paid if the increase in TSR is less significant relative to a prior year. In addition, due to
             the fact that Mr. Musk did not receive any additional equity grants following the 2018 CEO
             Performance Award, his amount of total compensation actually paid decreased because the
             number of unvested options decreased year over year upon the vesting of tranches of the
             award. Because the 2018 CEO Performance Award has fully vested, Mr. Musk’s compensation
             actually paid will converge to $0 unless he receives a new grant.
             While a positive TSR may not align with an increase in compensation actually paid, as further
             demonstrated by the following graph, any decreases in TSR would align to decreases in
             compensation actually paid.




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             Other NEOs
             From 2022 to 2023, compensation actually paid to the other NEOs increased by 127.7%. Over
             this same period, TSR increased by 101.7%, net income increased by 19.0%, and revenue
             increased by 18.8%.
             From 2021 to 2022, compensation actually paid to the other NEOs decreased by 122.5%. Over
             this same period, TSR decreased by 65.0%, net income increased by 123.0%, and revenue
             increased by 51.4%.
             From 2020 to 2021, compensation actually paid to the other NEOs decreased by 118.9%. Over
             this same period, TSR increased by 49.8%, net income increased by 554.8%, and revenue
             increased by 70.7%.
             Though our other NEOs do receive a base salary, a significant portion of their compensation
             actually paid consists of equity awards. As the compensation actually paid as calculated
             pursuant to Item 402(v) of Regulation S-K, is based on the accounting changes in the fair value
             of such options through their vest dates, the value varies significantly with the performance of
             our common stock. Thus, because the Company TSR is calculated from the beginning of the
             earliest year presented, a positive overall TSR does not necessarily correlate to an increase in
             compensation actually paid if the stock price decreased in a given year. In addition, other than
             Mr. Zhu, our Senior Vice President, Automotive, who received stock option awards in 2023 upon
             his promotion to such role, none of our other NEOs received any additional equity grants after
             2020. As such their compensation actually paid will be smaller as the number of unvested
             options they hold decreases.
             From 2020 to 2021, some of the decrease in compensation actually paid to our other NEOs was
             a result of Jerome Guillen’s departure in June 2021, which led to certain forfeitures of unvested
             awards. From 2022 to 2023, compensation actually paid to our other NEOs was impacted by
             Zachary Kirkhorn’s departure in December 2023, which led to certain forfeitures of unvested
             awards.
             While a positive TSR may not align with an increase in compensation actually paid, as further
             demonstrated by the following graph, any decreases in TSR would align with decreases in
             compensation actually paid.


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             Cumulative TSR of the Company and Cumulative TSR of the Peer Group
             The following chart compares our cumulative TSR for the applicable reporting year to that of our
             peer group’s TSR over the same period.




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             Grants of Plan-Based Awards in 2023
                                           Estimated                    Estimated
                                             Future                        Future
                                            Payouts                       Payouts     All Other All Other
                                             Under                         Under       Stock     Option   Exercise or                   Grant
                                          Non-Equity                       Equity     Awards:   Awards:      Base                      Date Fair
                                           Incentive                     Incentive   Number of Number of     Price       Closing        Value/
                                          Plan Awards                  Plan Awards   Shares of Securities of Option       Market     Incremental
                                                                                      Stock or Underlying   Awards         Price         Fair
      Name          Grant Date (1) Threshold Target Maximum Threshold Target Maximum    Units   Options      ($/sh)   (if different)    Value

      Tom Zhu         5/19/2023 (2                                                                         2,775    $ 180.14                    $258,970
                                  (2
                      5/19/2023                                                                          336,285    $ 180.14                  $31,382,991


             (1)    The vesting schedule applicable to each outstanding award is set forth in “ Executive Compensation — Outstanding
                    Equity Awards at 2023 Fiscal Year-End ” below.
             (2)    This award was granted in connection to Mr. Zhu’s promotion to Senior Vice President, Automotive.


             Outstanding Equity Awards at 2023 Fiscal Year-End
             The following table presents information concerning unexercised options and unvested restricted
             stock unit awards for each named executive officer outstanding as of the end of fiscal 2023.

                                                                                Option Awards                                        Stock Awards
                                                                                         Equity
                                                                                       Incentive
                                                                                          Plan
                                                                                        Awards:                                Number of        Market
                                                         Number of      Number of      Number of                               Shares or       Value of
                                                         Securities     Securities     Securities                               Units of      Shares or
                                                        Underlying     Underlying     Underlying                               Stock That   Units of Stock
                                                        Unexercised    Unexercised    Unexercised    Option      Option         Have Not     That Have
                                                        Options (#)    Options (#)     Unearned     Exercise    Expiration       Vested      Not Vested
      Name                             Grant Date       Exercisable   Unexercisable   Options (#)   Price ($)     Date             (#)          ($) (1)

      Elon Musk                         3/21/2018    303,960,630               —           —          23.34      1/19/2028           —                 —
      Vaibhav Taneja                   10/19/2020          118,779        35,316           —         143.61     10/19/2030           —                 —
      Tom Zhu                          05/19/2023            56,510      282,550           —         180.14     05/19/2033           —                 —
                                       10/19/2020          475,122       141,255           —         143.61     10/19/2030           —                 —
                                        7/19/2019          326,381        47,379           —          17.22      7/19/2029       7,899        1,962,744
      Zachary Kirkhorn (6)                      —                 —            —           —               —             —           —                 —
                           (7)
      Andrew Baglino                   10/19/2020          475,122       141,255           —         143.61     10/19/2030           —                 —
                                        7/19/2019          447,363        68,217           —          17.22      7/19/2029           —                 —
                                       11/10/2014                 —       37,500           —          16.13     11/10/2024           —                 —

             (1)    The market value of unvested restricted stock units is calculated by multiplying the number of unvested restricted
                    stock units held by the applicable named executive officer by the closing price of our common stock on December 31,
                    2023, which was $248.48.
             (2)    1/12th of the total number of shares subject to the option becomes vested and exercisable each time: (i) our market
                    capitalization increases initially to $100.0 billion for the first tranche, and by an additional $50.0 billion for each
                    tranche thereafter; and (ii) one of 16 specified operational milestones relating to total revenue or adjusted EBITDA
                    (other than any operating milestone that previously counted towards the vesting of another tranche) is attained,
                    subject to Mr. Musk’s continued service to us as either CEO or as both Executive Chairman and Chief Product
                    Officer, with the CEO reporting to him, at each such vesting event. See “ Executive Compensation — Compensation
                    Discussion and Analysis — Chief Executive Officer Compensation — 2018 CEO Performance Award ” above.
             (3)    1/48th of the shares subject to the option became vested and exercisable on December 5, 2020, and 1/48th of the
                    shares subject to the option become vested and exercisable every month thereafter, subject to the grantee’s
                    continued service to us on each such vesting date.
             (4)    1/48th of the shares subject to the option became vested and exercisable on May 19, 2023, and 1/48th of the shares
                    subject to the option become vested and exercisable each month thereafter, subject to the grantee’s continued
                    service to us on each such vesting date.
             (5)    1/60th of the shares subject to the option became vested and exercisable on July 24, 2019, and 1/60th of the shares



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                    subject to the option become vested and exercisable each month thereafter, subject to the grantee’s continued
                    service to us on each such vesting date.
             (6)    Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer effective August 2023.
             (7)    Mr. Baglino departed Tesla in April 2024.
             (8)    1/4th of the shares subject to the option became vested and exercisable upon each of the following, as determined by
                    the Board: (i) the completion of the first Model X production vehicle; (ii) aggregate vehicle production of 100,000
                    vehicles in a trailing 12-month period and (iii) completion of the first Model 3 production vehicle. 1/4th of the shares
                    subject to this option will become vested and exercisable upon the determination by the Board that annualized gross
                    margin of greater than 30% in any three years is achieved, subject to the grantee’s continued service to us on each
                    such vesting date.


             2023 Option Exercises and Stock Vested
             The following table presents information concerning each exercise of stock options and vesting
             of stock awards during fiscal 2023 for each of the named executive officers.
                                                                            Option Awards                          Stock Awards

                                                                 Number of Shares         Value          Number of Shares         Value
                                                                    Acquired            Realized on          Acquired          Realized on
                                                                   on Exercise           Exercise           on Vesting           Vesting
             Name                                                      (#)                 ($) (1)              (#)               ($) (2)

             Elon Musk                                                   10,500           1,861,335                  —                      —

             Vaibhav Taneja                                              36,000           8,517,957            15,052           3,157,267
             Tom Zhu                                                           —                    —          10,532           2,397,636

             Zachary Kirkhorn (3)                                     2,598,372         462,342,794            40,479           8,676,519
                                    (4)
             Andrew Baglino                                             105,000          20,235,379            10,344           2,354,837

             (1)    Reflects the product of the number of shares of stock subject to the exercised option multiplied by the difference
                    between the market price of our common stock at the time of exercise on the exercise date and the exercise price of
                    the option.
             (2)    Reflects the product of the number of shares of stock vested multiplied by the market price of our common stock on
                    the vesting date.
             (3)    Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer effective August 2023.
             (4)    Mr. Baglino departed Tesla in April 2024.


             Potential Payments Upon Termination or Change in Control
             We do not have an employment agreement for any specific term with any of our named
             executive officers. Moreover, we do not have any contract, agreement, plan or arrangement that
             would result in payments to a named executive officer at, following, or in connection with any
             termination of employment, including resignation, severance, retirement or a constructive
             termination of employment of a named executive officer, or a change in control of Tesla or a
             change in the named executive officer’s responsibilities.

             Compensation of Directors
             2023 Director Compensation Table
             The following table provides information concerning the compensation paid by us to each of our
             non-employee directors who served during any part of fiscal year 2023. Elon Musk, who is a
             named executive officer, does not receive additional compensation for his services as a director.
             The awards with respect to which values are provided under the column “Option Awards” below
             are exclusively stock options, which have realizable value only if they vest over time and to the
             extent, if any, that our stock price exceeds the applicable exercise prices. The values provided
             below for


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             these awards are based on applicable accounting standards, and do not necessarily reflect the
             actual amounts realized or realizable pursuant to the underlying stock options.
                                                                           Fees Earned or
                                                                            Paid in Cash      Option Awards        All Other         Total
             Name                                                               ($) (1)           ($) (2)(3)     Compensation         ($)

             Robyn Denholm                                                            —               —                  —                  —
             Ira Ehrenpreis                                                           —               —                  —                  —
             Joe Gebbia                                                               —               —                  —                  —
                                      (4)
             Hiromichi Mizuno                                                   10,350                —                  —          10,350
             James Murdoch                                                            —               —                  —                  —
             Kimbal Musk                                                              —               —                  —                  —
             JB Straubel                                                              —               —                  —                  —
             Kathleen Wilson-Thompson                                                 —               —                  —                  —

             (1)    Reflects cash compensation for service on the Board and/or its applicable committees pursuant to Tesla’s outside
                    director compensation policy (the “ Director Compensation Policy ”) and/or for service as Chair of the Board as
                    previously approved by the Board, as applicable. The earning and payment of cash retainer payments payable to
                    outside directors may be waived in whole or part at the election of the director. Seven of the outside directors have
                    requested that the Company eliminate the future payment of all of their cash retainer amounts for service on the
                    Board unless the director notified otherwise.
             (2)    As of December 31, 2023, the aggregate number of shares underlying option awards outstanding for each of our
                    non-employee directors was:

                                                                                                                  Aggregate Number of
                                                                                                                   Shares Underlying
                   Name                                                                                           Options Outstanding

                   Robyn Denholm                                                                                        1,662,480
                   Ira Ehrenpreis                                                                                       1,110,000
                   Joe Gebbia                                                                                                    —
                   Hiromichi Mizuno (4)                                                                                   351,690
                   James Murdoch                                                                                        1,270,020
                   Kimbal Musk                                                                                            341,750
                   JB Straubel                                                                                                   —
                   Kathleen Wilson-Thompson                                                                               765,855

             (3)    Reflects stock option grants for service on the Board or as members or chairs of Board committees that were
                    automatically granted pursuant to the Director Compensation Policy. In June 2021, the Board unanimously adopted a
                    resolution to forego any automatic grants of annual stock option awards under the Director Compensation Policy or
                    otherwise previously approved by the Board (the “Board Stock Option Grants ”) until July 2022 unless the Board
                    earlier acts to amend the Director Compensation Policy or otherwise amends such resolution. In May 2022, the Board
                    agreed to further forego the Board Stock Option Grants until the Board earlier acts to amend the Director
                    Compensation Policy or otherwise amends such resolution.
             (4)    Board term ended in May 2023 without standing for re-election at the 2023 annual meeting of stockholders.

             Non-Employee Director Compensation Arrangements
             Overview and Philosophy
             The compensation program for Tesla’s non-employee directors is designed to be consistent with
             our compensation philosophy for our employees, with an emphasis on equity-based
             compensation over cash in order to align the value of their compensation with the market value
             of our stock, and consequently, with the long-term interests of our stockholders. Moreover, while
             we offer to our general employee population restricted stock units that will retain some value
             even if the market


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             value of our stock decreases, the equity-based compensation to our directors has been
             exclusively in the form of stock options, which have zero initial value and accumulate value, if at
             all, only to the extent that our stock price increases following their grant, through the applicable
             vesting dates and until such stock options are ultimately exercised and the underlying shares
             are sold. The remaining portion of our directors’ compensation has consisted of cash retainer
             payments that are relatively modest compared to peer companies and that may be waived at the
             election of each director. Consequently, a large portion and in some cases, the entirety, of each
             of our non-employee directors’ compensation is entirely at risk, and fluctuating stock prices have
             at times resulted in 100% of the vested stock options then held by each of our non-employee
             directors being out-of-the-money.
             In 2020 and 2021, the Compensation Committee reviewed the Director Compensation Policy
             with the aid of Compensia and in light of Tesla’s exceptional performance and commitment to
             at-risk director compensation in the form of annual stock option awards to ensure continued
             alignment of the interests of directors with those of Tesla’s stockholders. Following such review,
             the Compensation Committee recommended that the Board approve a resolution that all existing
             directors forego any automatic grants of annual stock option awards under the Director
             Compensation Policy or otherwise previously approved by the Board until July 2022 unless the
             Board earlier acts to amend the Director Compensation Policy or otherwise amends such
             resolution. In June 2021, the Board unanimously approved and adopted this resolution and in
             May 2022, the Board agreed to further forego the Board Stock Option Grants until the Board
             earlier acts to amend the Director Compensation Policy or otherwise amends such resolution.
             The Compensation Committee intends to make further recommendations with respect to the
             Board’s compensation program for directors, if any, who join the Board after the date of this
             resolution, as well as for future periods of service by existing directors, following further periodic
             reviews.
             Other Information
             If, following a change in control of Tesla, the service of a non-employee director is terminated,
             all stock options granted to the director shall fully vest and become immediately exercisable.
             Non-employee directors may also have their travel, lodging and related expenses associated
             with attending Board or Board committee meetings reimbursed by Tesla.
             On June 17, 2020, a stockholder filed a Verified Stockholder Derivative Complaint in the
             Delaware Court of Chancery against Mr. Musk and certain current and former Tesla Directors in
             connection with the Tesla Board’s approval of director compensation awards from 2017 through
             2020. On July 14, 2023, the parties filed a Stipulation and Agreement of Compromise and
             Settlement with the Court, which would finally resolve the matter if approved. On October 13,
             2023, a settlement approval hearing was held in the Delaware Court of Chancery. The approval
             of the settlement was taken under advisement by the Court and a decision is pending.

             Pledging of Shares
             The ability of our directors and executive officers to pledge Tesla stock for personal loans and
             investments is inherently related to their compensation due to our use of equity awards and
             promotion of long-termism and an ownership culture. Moreover, providing these individuals
             flexibility in financial planning without having to rely on the sale of shares aligns their interests
             with those of our stockholders.
             In order to mitigate the risk of forced sales of pledged shares, the Board has a policy that limits
             pledging of Tesla stock by our directors and executive officers. Pursuant to this policy, directors
             and executive officers may pledge their stock (exclusive of options, warrants, restricted
             stock units or other rights to purchase stock) as collateral for loans and investments, provided
             that the maximum aggregate loan or investment amount collateralized by such pledged stock
             does not exceed, (i) with respect to our CEO, the lesser of $3.5 billion or twenty-five percent
             (25%) of the total value of the pledged stock, or (ii) with respect to our directors and officers
             other than our CEO, fifteen percent (15%) of the total value of the pledged stock.


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             Example: A director (other than our CEO) pledges 1,000 shares as collateral for a loan, and the
             current stock price is $800 per share. The director may borrow up to 15% of 1,000 x $800, or
             $120,000, against such shares. If the stock price later increases to $1,600 per share, the
             director may borrow up to an additional $120,000 against the pledged shares. If the director
             borrows the full allowable amount of $240,000 and the stock price then decreases to $1,200, the
             director must repay $60,000 to maintain compliance with the 15% limit under the pledging policy.
             See “ Ownership of Securities ” below for information regarding any shares pledged by our
             directors or executive officers as of March 31, 2024; however, such pledging does not indicate
             the extent to which there may be actual borrowings against such shares as of such date, which
             may be substantially less than the value of the shares pledged. As of December 31, 2023,
             based on written representations of our directors and executive officers to the Company, the
             aggregate loan or investment amount collateralized by our directors and executive officers’
             pledged shares was less than 1% of the total value of the pledged shares.
             We require our directors and executive officers to make written representations, at least
             annually, that he or she is in compliance with our pledging policy. If a director or executive
             officer wishes to take a loan collateralized by pledged stock, Tesla management works with the
             director or executive officer during the original loan approval, and subsequently monitors
             compliance with this policy by regularly reviewing and requesting updates from the applicable
             director or executive officer on his or her pledged stock amount and loan amount. If necessary,
             Tesla management will report to the Board or its committees the extent to which any officer or
             director has pledged shares of Company stock. We believe that this monitoring is effective and
             includes appropriate controls, and we have confirmed that each of our directors and executive
             officers who have pledged stock are and have been compliant with this policy since our last
             confirmation.

             Equity Compensation Plan Information
             The following table summarizes the number of securities underlying outstanding options, stock
             awards, warrants and rights granted to employees and directors, as well as the number of
             securities remaining available for future issuance, under Tesla’s equity compensation awards as
             of December 31, 2023.
                                                                         (a)                      (b)                       (c)

                                                                                                                   Number of securities
                                                                Number of securities                             remaining available for
                                                                 to be issued upon                                future issuance under
                                                                     exercise of          Weighted-average         equity compensation
                                                                    outstanding            exercise price of         plans (excluding
                                                                 options, warrants       outstanding options,     securities reflected in
                                                                     and rights           warrants and rights           column (a))
             Plan category                                              (#) (1)                  ($) (2)                    (#)

             Equity compensation plans
             approved by security holders                           363,015,615                  35.11                 228,813,959
             Equity compensation plans not
             approved by security holders                                  92,999                37.03                              —

             Total                                                  363,108,614                  35.11                 228,813,959

             (1)    Consists of options to purchase shares of our common stock, including the 2018 CEO Performance Award, and
                    restricted stock unit awards representing the right to acquire shares of our common stock.
             (2)    The weighted average exercise price is calculated based solely on the outstanding stock options. It does not take into
                    account the shares issuable upon vesting of outstanding restricted stock unit awards, which have no exercise price.
             (3)    Consists of 131,051,756 shares remaining available for issuance under the 2019 Plan, and 97,762,203 shares
                    remaining available for issuance under the Tesla, Inc, 2019 Employee Stock Purchase Plan.
             (4)    Consists of outstanding stock options and restricted stock unit awards that were assumed in connection with
                    acquisitions. No additional awards may be granted under the acquired plans.



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             Certain Relationships and Related Person Transactions
             Review of Related Person Transactions
             In accordance with the charter for the Audit Committee of the Board and our written Policies and
             Procedures with Respect to Related Person Transactions (“ RPT Policy ”), our Audit Committee
             reviews and approves any related person transactions.
             For purposes of these procedures, “related person” and “transaction” have the meanings
             contained in Item 404 of Regulation S-K.
             Under the RPT Policy, the Audit Committee must review and approve all transactions in which (i)
             Tesla or one of its subsidiaries is a participant, (ii) the amount involved exceeds $120,000 and
             (iii) a related person has a direct or indirect material interest, other than transactions available
             to all Tesla employees generally.
             In assessing a related person transaction brought before it for approval the Audit Committee
             considers, among other factors, whether the related person transaction is on terms no less
             favorable than terms generally available to an unaffiliated third-party under the same or similar
             circumstances and the extent of the related person’s interest in the transaction. The Audit
             Committee may then approve or disapprove the transaction in its discretion, or may request
             additional information.
             Related person transactions will be disclosed in the applicable SEC filing as required by the
             rules of the SEC.

             Related Person Transactions
             Elon Musk is an executive officer, director and/or significant stockholder of SpaceX, X and TBC.
             SpaceX is party to certain commercial, licensing and support agreements with Tesla. Under
             these agreements, SpaceX incurred expenses of approximately $2.1 million in 2023 and
             approximately $0.8 million through February 2024.
             Since April 2016, SpaceX has invoiced Tesla for our use of an aircraft owned and operated by
             SpaceX at rates determined by Tesla and SpaceX, subject to rules of the Federal Aviation
             Administration governing such arrangements. Tesla incurred expenses of approximately
             $0.7 million in 2023 and approximately $0.1 million through February 2024.
             X is party to certain commercial, consulting and support agreements with Tesla. Under these
             agreements, X incurred expenses of approximately $1 million in 2023 and approximately
             $0.02 million through February 2024, and Tesla incurred expenses of approximately
             $0.05 million in 2023 and approximately $0.03 million through February 2024. As part of a multi-
             platform advertising campaign, Tesla also directly or indirectly purchased advertising on X,
             which totaled approximately $0.2 million through February 2024.
             TBC is party to commercial agreements with Tesla. Under these agreements, Tesla incurred
             expenses of approximately $0.2 million in 2023 and approximately $1 million through
             February 2024.
             In December 2023, we entered into a service agreement with a security company, owned by
             Elon Musk and organized to provide security services concerning him, including in connection
             with his duties to and work for Tesla. Tesla incurred expenses of approximately $2.4 million for
             such security services in 2023 and approximately $0.5 million through February 2024,
             representing a portion of the total cost of security services concerning Elon Musk.
             JB Straubel is the Chief Executive Officer of Redwood. Tesla is party to an agreement with
             Redwood to supply certain scrap materials. Under this agreement, Redwood incurred expenses
             of approximately $11.5 million in 2023 and approximately $6 million through February 2024.

             Other Transactions
             Tesla periodically does business with certain entities its directors are affiliated with. Such
             transactions are done on terms no less favorable than terms generally available to an
             unaffiliated third-party under the same or similar circumstances.


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             In the ordinary course of business, we enter into offer letters with our executive officers. We
             have also entered into indemnification agreements with each of our directors and officers. The
             indemnification agreements and our certificate of incorporation and bylaws require us to
             indemnify our directors and officers to the fullest extent permitted by Delaware law. In relation to
             our CEO’s exercise of stock options and sale of common stock from the 2012 CEO Performance
             Award, Tesla withheld the appropriate amount of taxes. However, given the significant amounts
             involved, our CEO entered into an indemnification agreement with us in November 2021 to
             indemnify the Company for additional taxes owed, if any.




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             Delinquent Section 16(a) Reports
             Under Section 16 of the Exchange Act, Tesla’s directors, executive officers and any persons
             holding more than 10% of the Tesla’s common stock are required to report initial ownership of
             the Tesla common stock and any subsequent changes in ownership to the SEC. Specific due
             dates have been established by the SEC, and Tesla is required to disclose in this proxy
             statement any failure to file required ownership reports by these dates. Based solely upon a
             review of forms filed with the SEC and the written representations of such persons for their 2023
             fiscal year transactions, Tesla is aware of no late Section 16(a) filings.




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             Ownership of Securities
             The following table sets forth certain information regarding the beneficial ownership of Tesla’s
             common stock, as of March 31, 2024, for the following:
                    • each person (or group of affiliated persons) who is known by us to beneficially own 5% of
                      the outstanding shares of our common stock;
                    • each of our non-employee directors;
                    • each of our executive officers named in the Summary Compensation Table of this proxy
                      statement; and
                    • all current directors and executive officers of Tesla as a group.
             In computing the number of shares of common stock beneficially owned by a person and
             the percentage ownership of that person, we deemed to be outstanding all shares of common
             stock subject to options or other convertible securities held by that person or entity that are
             currently exercisable or exercisable within 60 days of March 31, 2024. We did not deem these
             shares outstanding, however, for the purpose of computing the percentage ownership of any
             other person. Applicable percentage ownership is based on 3,188,965,775 shares of Tesla’s
             common stock outstanding at March 31, 2024.
             Unless otherwise indicated, all persons named below can be reached at Tesla, Inc., 1 Tesla
             Road, Austin, Texas 78725.
                                                                                                         Percentage
                                                                                            Shares        of Shares
                                                                                          Beneficially   Beneficially
             Beneficial Owner Name                                                          Owned          Owned

             5% Stockholders

             Elon Musk (1)                                                                715,022,706        20.5

             The Vanguard Group (2)                                                       229,805,491          7.2
                                (3)
             Blackrock, Inc.                                                              188,797,465          5.9

             Named Executive Officers & Directors
             Elon Musk (1)                                                                715,022,706        20.5
             Vaibhav Taneja (4)                                                             1,063,544            *
                                 (5)
             Andrew Baglino                                                                 1,218,669            *

             Tom Zhu (6)                                                                    1,996,983            *
                                      (7)
             Zachary Kirkhorn                                                                 193,790            *

             Robyn Denholm (8)                                                              1,490,069            *
                               (9)
             Ira Ehrenpreis                                                                 1,681,005            *
             Joe Gebbia                                                                            111           *
                                 (10)
             James Murdoch                                                                  1,427,295            *
             Kimbal Musk (11)                                                               1,950,470            *
             JB Straubel                                                                             0           *
                                             (12)
             Kathleen Wilson-Thompson                                                         771,255            *
             All current executive officers and directors as a group (10 persons) (13)    725,403,438        20.7



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             *      Represents beneficial ownership of less than 1%.
             (1)    Includes (i) 411,062,076 shares held of record by the Elon Musk Revocable Trust dated July 22, 2003 and
                    (ii) 303,960,630 shares issuable to Mr. Musk upon exercise of options exercisable within 60 days after March 31,
                    2024. Includes 238,441,261 shares pledged as collateral to secure certain personal indebtedness.
             (2)    Includes shares beneficially owned by The Vanguard Group, of which The Vanguard Group has shared voting power
                    over 3,719,744 shares, sole dispositive power over 217,847,966 shares and shared dispositive power over
                    11,957,525 shares. The address for The Vanguard Group is 100 Vanguard Blvd., Malvern, PA 19355. The foregoing
                    information is based solely on Schedule 13G of The Vanguard Group filed on February 13, 2024, which we do not
                    know or have reason to believe is not complete or accurate and on which we are relying pursuant to applicable SEC
                    regulations.
             (3)    Includes shares beneficially owned by BlackRock, Inc., of which Blackrock, Inc. has sole voting power over
                    169,527,462 shares and sole dispositive power over 188,797,465 shares. The address for Blackrock, Inc. is
                    50 Hudson Yards, New York, NY 10001. The foregoing information is based solely on Schedule 13G of Blackrock, Inc.
                    filed on January 29, 2024, which we do not know or have reason to believe is not complete or accurate and on which
                    we are relying pursuant to applicable SEC regulations.
             (4)    Includes 958,512 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024.
             (5)    Mr. Baglino departed Tesla in April 2024. Includes 1,187,439 shares issuable upon exercise of options exercisable
                    within 60 days after March 31, 2024.
             (6)    Includes 1,933,812 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024.
             (7)    Mr. Kirkhorn transitioned from his previous role as Master of Coin and Chief Financial Officer effective August 2023.
                    This beneficial ownership information is partially based on his most recent Form 4, which was filed on August 4,
                    2023.
             (8)    Includes 1,475,069 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024.
             (9)    Includes 1,110,000 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024.
             (10) Includes (i) 157,275 shares held by the Seven Hills Trust and (ii) 1,270,020 shares issuable upon exercise of options
                  exercisable within 60 days after March 31, 2024.
             (11) Includes 341,750 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024. Includes
                  1,608,720 shares pledged as collateral to secure certain personal indebtedness.
             (12) Includes 765,855 shares issuable upon exercise of options exercisable within 60 days after March 31, 2024.
             (13) Includes 311,815,648 shares issuable upon exercise of options held by our current executive officers and directors
                  within 60 days after March 31, 2024.




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             Audit Related Matters
             Members
                                       Composition
                                       Our Audit Committee is composed of three directors: Robyn
                                       Denholm (chair), Joe Gebbia and James Murdoch. The Audit
                                       Committee is comprised solely of directors who satisfy applicable
                                       independence and other requirements under Nasdaq listing
             ROBYN DENHOLM             standards and applicable securities laws. The Board has
             (CHAIR)                   determined that Ms. Denholm is an “audit committee financial
             JOE GEBBIA                expert” as defined in the rules of the SEC.

             JAMES MURDOCH             Oversight

                                       The Audit Committee assists the Board in fulfilling its
                                       responsibilities by:

                                       • Providing oversight, recommendations, and under specified
                                         thresholds, approvals, regarding significant financial matters and
                                         investment practices, including any material acquisitions and
                                         divestitures;

                                       • Monitoring the integrity of Tesla’s financial statements and
                                         Tesla’s compliance with legal and regulatory requirements as
                                         they relate to financial statements or accounting matters; and

                                       • Reviewing the adequacy and effectiveness of Tesla’s internal
                                         control policies and procedures in addition to Tesla’s risk
                                         management, data privacy and data security.

                                       In addition to overseeing key risks in the areas of data security
                                       and privacy, crisis risk management, ethics and compliance, and
                                       ESG, as discussed below, the Audit Committee is also responsible
                                       for overseeing risks in other areas of our business and operation.

                                       Additional Key Objectives
                                       Data Security

                                       The Audit Committee is responsible for reviewing the adequacy
                                       and effectiveness of Tesla’s policies and practices with respect to
                                       data security risk exposures, and providing oversight over Tesla’s
                                       data security policies and monitoring programs. The Audit
                                       Committee receives regular updates from senior management,
                                       including our Chief Information Officer, on data security risk
                                       reviews of Tesla’s key business segments and products,
                                       procedures to assess and address data security risk, and the
                                       effectiveness of data security technologies and solutions deployed
                                       internally.

                                       Data Privacy

                                       Privacy is integral to our business and Tesla is committed to the
                                       protection of the personal data which it processes as part of its
                                       business and on behalf of customers. We have established a
                                       robust global privacy program with oversight by executive
                                       management, an independent Data Protection Officer for our
                                       European regulated entities, and, at the Board level, our Audit
                                       Committee. Our governance and accountability measures promote
                                       core principles of data privacy, while the collaborative effort
                                       between our Information Security Team and Legal Team enables
                                       us to meet our regulatory requirements and demonstrate
                                       compliance.




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                                       Crisis Risk Management
                                       In response to extraordinary events, the Audit Committee receives
                                       regular updates from senior management.
                                       Ethics
                                       The Audit Committee has oversight of Tesla’s compliance with
                                       legal, regulatory and ethical compliance programs. The Audit
                                       Committee has established procedures for the receipt, retention,
                                       and treatment of complaints about accounting, internal accounting
                                       controls or audit matters, and procedures for the confidential,
                                       anonymous submission by employees of concerns regarding
                                       questionable accounting or audit matters. We encourage
                                       employees and third parties to report concerns about our
                                       accounting controls, auditing matters or any other ethical
                                       wrongdoing. To report such a concern, please visit
                                       https://digitalassets.tesla.com/tesla-contents/image/upload/Business_Code_Of_Ethics
                                       where you will find various reporting options.
                                       Environmental, Social & Governance
                                       The Audit Committee is responsible for reviewing and discussing
                                       the assessment of the Company’s annual Impact Report, and, as
                                       deemed appropriate, other ESG-related disclosures.
                                       Selection & Oversight of External Auditor
                                       The Audit Committee appoints, compensates, oversees and
                                       manages Tesla’s relationship with its independent registered
                                       public accounting firm, which reports directly to the Audit
                                       Committee. In selecting PricewaterhouseCoopers LLP as the
                                       Company’s independent registered public accounting firm, the
                                       Audit Committee annually evaluates the firm’s qualifications and
                                       performance; the quality and candor of their communications with
                                       the Audit Committee and the Company; independence and
                                       integrity; efficiency and the appropriateness of fees; benefits of
                                       audit firm or lead partner rotations and the comprehensiveness of
                                       evaluations of internal controls. The Audit Committee also
                                       considers the relative costs, benefits, challenges and other
                                       potential impacts of selecting a different independent public
                                       accounting firm.
                                       In reviewing and approving audit and non-audit service fees, the
                                       Audit Committee considers a number of factors, including the
                                       scope and quality of work, as well as an assessment of the impact
                                       on auditor independence of non-audit fees and services. During
                                       the course of the fiscal year, the Audit Committee is given regular
                                       updates regarding audit related and non-audit related fees.
                                       Audit Committee Report
                                       The Audit Committee assists the Board in fulfilling its
                                       responsibilities for oversight of the integrity of Tesla’s consolidated
                                       financial statements, our internal accounting and financial
                                       controls, our compliance with legal and regulatory requirements,
                                       the organization and performance of our internal audit function
                                       and the qualifications, independence and performance of our
                                       independent registered public accounting firm.




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                                       The management of Tesla is responsible for establishing and
                                       maintaining internal controls and for preparing Tesla’s
                                       consolidated financial statements. The independent registered
                                       public accounting firm is responsible for auditing the financial
                                       statements. It is the responsibility of the Audit Committee to
                                       oversee these activities.

                                       The Audit Committee has:

                                       • Reviewed and discussed the audited financial statements with
                                         Tesla management and with PricewaterhouseCoopers LLP,
                                         Tesla’s independent registered public accounting firm;

                                       • Discussed with PricewaterhouseCoopers LLP the matters
                                         required to be discussed by the applicable requirements of the
                                         Public Company Accounting Oversight Board and the SEC; and

                                       • Received the written disclosures and the letter from
                                         PricewaterhouseCoopers LLP required by applicable
                                         requirements of the Public Company Accounting Oversight
                                         Board regarding PricewaterhouseCoopers LLP’s communications
                                         with the Audit Committee concerning independence and has
                                         discussed with PricewaterhouseCoopers LLP their
                                         independence.

                                       Based upon these discussions and review, the Audit Committee
                                       recommended to the Board that the audited consolidated financial
                                       statements be included in Tesla’s Annual Report on Form 10-K for
                                       the fiscal year ended December 31, 2023 for filing with the United
                                       States Securities and Exchange Commission.

                                       Members of the Audit Committee:
                                       Robyn Denholm (Chair)
                                       Joe Gebbia
                                       James Murdoch

                                       This report of the Audit Committee is required by the SEC and, in
                                       accordance with the SEC’s rules, will not be deemed to be part of
                                       or incorporated by reference by any general statement
                                       incorporating by reference this proxy statement into any filing
                                       under the Securities Act or the Exchange Act, except to the extent
                                       that we specifically incorporate this information by reference, and
                                       will not otherwise be deemed “soliciting material” or “filed” under
                                       either the Securities Act or the Exchange Act.




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             Other Matters
             Tesla knows of no other matters to be submitted at the 2024 Annual Meeting. If any other
             matters properly come before the 2024 Annual Meeting, it is the intention of the persons named
             in the proxy card to vote the shares they represent as the Board may recommend. Discretionary
             authority with respect to such other matters is granted by the execution of the proxy, whether
             through telephonic or Internet voting or, alternatively, by using a paper copy of the proxy card
             that has been requested.
             It is important that your shares be represented at the 2024 Annual Meeting, regardless of the
             number of shares that you hold. You are, therefore, urged to vote by telephone or by using the
             Internet as instructed on the proxy card or, if so requested, by executing and returning, at your
             earliest convenience, the proxy card in the envelope that will have been provided.
                                                             THE BOARD OF DIRECTORS

                                                             Austin, Texas
                                                                     , 2024




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             Questions and Answers About the
             2024 Annual Meeting and Procedural Matters

             Q       Why am I receiving these proxy materials?

             A       The Board of Tesla has made available on the Internet or is providing to you in printed
                     form these proxy materials. We do this in order to solicit voting proxies for use at Tesla’s
                     2024 Annual Meeting to be held June 13, 2024, at 3:30 p.m. Central Time, and at any
                     adjournment or postponement thereof. If you are a stockholder of record and you submit
                     your proxy to us, you direct certain of our officers to vote your shares of Tesla common
                     stock in accordance with the voting instructions in your proxy. If you are a beneficial
                     owner and you follow the voting instructions provided in the notice you receive from your
                     broker, bank or other intermediary, you direct such organization to vote your shares in
                     accordance with your instructions. These proxy materials are being made available or
                     distributed to you on or about             , 2024. As a stockholder, you are invited to
                     attend the 2024 Annual Meeting and we request that you vote on the proposals described
                     in this proxy statement.

             Q       Can I attend the 2024 Annual Meeting?

             A       Tesla expects to accommodate a limited number of stockholders in person at the 2024
                     Annual Meeting due to capacity restrictions. To maximize fairness, Tesla will conduct a
                     random drawing to determine stockholders’ eligibility to attend in person. If you were a
                     stockholder of record or a beneficial owner at the close of business on April 15, 2024 (the
                     “ Record Date ”), you must register on our stockholder platform at
                     www.tesla.com/teslaaccount/ subscription-preferences to be eligible for the drawing. The
                     drawing will be held strictly in accordance with the rules and terms described at
                     www.tesla.com/2024shareholdermeeting, and we will be unable to make any exceptions.
                     In addition, you may attend the 2024 Annual Meeting virtually via the Internet at
                     http://www.virtualshareholdermeeting.com/TSLA2024. The meeting will begin at 3:30 p.m.
                     Central Time. If you choose to attend the 2024 Annual Meeting virtually via the Internet,
                     we encourage you to access the meeting prior to the start time leaving ample time for
                     log-in.

             Q       Where is the 2024 Annual Meeting?

             A       The 2024 Annual Meeting will be held at Gigafactory Texas, located at 1 Tesla Road,
                     Austin, Texas 78725, and virtually via the Internet at
                     http://www.virtualshareholdermeeting.com/ TSLA2024. Stockholders who are elected in
                     the random drawing may request directions to the 2024 Annual Meeting in person by
                     contacting our investor relations at ir@tesla.com.

             Q       Will I be able to view the 2024 Annual Meeting via the Internet?

             A       Yes. You may attend the 2024 Annual Meeting virtually via the Internet at
                     http://www.virtualshareholdermeeting.com/TSLA2024. We will also webcast the 2024
                     Annual Meeting live via the Internet at www.tesla.com/2024shareholdermeeting.




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             Q       Who is entitled to vote at the 2024 Annual Meeting?

             A       You may vote your shares of Tesla common stock if you owned your shares at the close of
                     business on the Record Date. You may cast one vote for each share of common stock
                     held by you as of the Record Date on all matters presented. See the questions entitled “
                     How can I vote my shares in person at the 2024 Annual Meeting? ”, “ How can I vote
                     my shares virtually at the 2024 Annual Meeting? ” and “ How can I vote my shares
                     without attending the 2024 Annual Meeting? ” below for additional details.
                     As of the Record Date, we had 3,189,110,359 shares of common stock outstanding and
                     entitled to vote at the 2024 Annual Meeting.

                     What is the difference between holding shares as a stockholder of record or as a
             Q       beneficial owner?

             A       You are the “stockholder of record” of any shares that are registered directly in your name
                     with Tesla’s transfer agent, Computershare Trust Company, N.A. A minority of our
                     stockholders are stockholders of record . We have sent the Notice of Internet
                     Availability directly to you if you are a stockholder of record. As a stockholder of record,
                     you may grant your voting proxy directly to Tesla or to a third party or vote in person at
                     the 2024 Annual Meeting as described more fully below.
                     You are the “beneficial owner” of any shares (which are considered to be held in “street
                     name”) that are held on your behalf by a brokerage account or by a bank or another
                     intermediary that is the stockholder of record for those shares. The vast majority of our
                     stockholders are beneficial owners . If you are a beneficial owner, you did not receive a
                     Notice of Internet Availability directly from Tesla, but your broker, bank or other
                     intermediary forwarded you a notice together with voting instructions for directing that
                     organization how to vote your shares. You may also attend the 2024 Annual Meeting in
                     person (if you are eligible per our random drawing to attend in person), but because a
                     beneficial owner is not a stockholder of record, you may not vote in person at the
                     2024 Annual Meeting unless you obtain a “legal proxy” from the organization that
                     holds your shares, giving you the right to vote the shares at the 2024 Annual Meeting.

             Q       How can I vote my shares in person at the 2024 Annual Meeting?

             A       You may vote shares for which you are the stockholder of record in person at the 2024
                     Annual Meeting. You may vote shares for which you are the beneficial owner in person at
                     the 2024 Annual Meeting only if you obtain a “legal proxy” from the broker, bank or other
                     intermediary that holds your shares, giving you the right to vote the shares. Even if you
                     plan to attend the 2024 Annual Meeting, we recommend that you also direct the voting of
                     your shares as described below in the question entitled “How can I vote my shares
                     without attending the 2024 Annual Meeting?” so that your vote will be counted even if
                     you later decide not to attend the 2024 Annual Meeting.

             Q       How can I vote my shares virtually at the 2024 Annual Meeting?

             A       In order to join, submit questions and vote virtually via the Internet at the 2024 Annual
                     Meeting, you will need a 16-digit secure “control number” unique to you, which you may
                     obtain as follows.
                     • If you are a “stockholder of record” with shares registered directly in your name with our
                       transfer agent, Computershare Trust Company, N.A. (a minority of Tesla stockholders),
                       you can find the control number on the Notice of Internet Availability or paper proxy
                       card that was sent to you.


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                     • If you are a beneficial owner of shares held in street name:
                          » The voting instruction form sent to you by your broker, bank or other nominee should
                            indicate whether the institution has a process for beneficial holders to provide voting
                            instructions over the Internet or by telephone. If your bank or brokerage firm gives
                            you this opportunity, the voting instructions from the bank or brokerage firm that
                            accompany these proxy materials will tell you how to use the Internet or telephone
                            to direct the vote of shares held in your account.
                          » If your voting instruction form does not include Internet or telephone information,
                            please complete, and return the voting instruction form in the self-addressed,
                            postage-paid envelope provided by your broker. Stockholders who vote by proxy or
                            by telephone need not return a proxy card or voting instruction form by mail.
                     Even if you plan to attend the 2024 Annual Meeting virtually via the Internet, we
                     recommend that you also direct the voting of your shares as described below in the
                     question entitled “How can I vote my shares without attending the 2024 Annual
                     Meeting?” so that your vote will be counted even if you later decide not to attend the
                     2024 Annual Meeting.

             Q       How can I vote my shares without attending the 2024 Annual Meeting?

             A       Whether you hold shares as a stockholder of record or a beneficial owner, you may direct
                     how your shares are voted without attending the 2024 Annual Meeting by the following
                     means:
                     By Internet — Stockholders of record with Internet access may submit proxies by
                     following the voting instructions on the Notice of Internet Availability until 10:59 a.m.,
                     Central Time on June 12, 2024. If you are a beneficial owner of shares held in street
                     name, please check the voting instructions in the notice provided by your broker, bank or
                     other intermediary for Internet voting availability.
                     By telephone — Stockholders of record who live in the United States (or its territories) or
                     Canada may request a paper proxy card from Tesla by following the procedures in the
                     Notice of Internet Availability, and submit proxies by following the applicable “Vote by
                     Phone” instructions on the proxy card. If you are a beneficial owner of shares held in
                     street name, please check the voting instructions in the notice provided by your broker,
                     bank or other intermediary for telephone voting availability.
                     By mail — Stockholders of record may request a paper proxy card from Tesla by following
                     the procedures in the Notice of Internet Availability. If you elect to vote by mail, please
                     complete, sign and date the proxy card where indicated and return it in the prepaid
                     envelope included with the proxy card. Proxy cards submitted by mail must be received by
                     the time of the meeting in order for your shares to be voted. If you are a beneficial owner
                     of shares held in street name, you may vote by mail by completing, signing and dating the
                     voting instructions in the notice provided by your broker, bank or other intermediary and
                     mailing it in the accompanying pre-addressed envelope.

                     How many shares must be present or represented to conduct business at the 2024
             Q       Annual Meeting?

             A       The stockholders of record of a majority of the shares entitled to vote at the 2024 Annual
                     Meeting must either (i) be present in person or virtually via the Internet at the 2024 Annual
                     Meeting or (ii) have properly submitted a proxy in order to constitute a quorum at the 2024
                     Annual Meeting.




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                     Under the General Corporation Law of the State of Delaware, abstentions and broker
                     “non-votes” are counted as present, and therefore are included for the purposes of
                     determining whether a quorum is present at the 2024 Annual Meeting. A broker “non-vote”
                     occurs when an organization that is the stockholder of record that holds shares for a
                     beneficial owner, and which is otherwise counted as present or represented by proxy, does
                     not vote on a particular proposal because that organization does not have discretionary
                     voting power under applicable regulations to vote on that item and has not received
                     specific voting instructions from the beneficial owner.

             Q       What proposals will be voted on at the 2024 Annual Meeting?

             A       The proposals scheduled to be voted on at the 2024 Annual Meeting are:
                     TESLA PROPOSALS
                     » A Tesla proposal to elect two Class II directors listed in this proxy statement to serve for
                       a term of three years, or until their respective successors are duly elected and qualified
                       (“Proposal One”);
                     » A Tesla proposal to approve executive compensation on a non-binding advisory basis
                       (“Proposal Two”);
                     » A Tesla proposal to approve the redomestication of Tesla from Delaware to Texas by
                       conversion (“Proposal Three”);

                     » A Tesla proposal to ratify the 100% performance-based stock option award to Elon Musk
                       that was proposed to and approved by our stockholders in 2018 (“Proposal Four”);

                     » A Tesla proposal to ratify the appointment of PricewaterhouseCoopers LLP as Tesla’s
                       independent registered public accounting firm for the fiscal year ending December 31,
                       2024 (“Proposal Five”);
                     STOCKHOLDER PROPOSALS
                     » A stockholder proposal regarding reduction of director terms to one year, if properly
                       presented (“Proposal Six”);

                     » A stockholder proposal regarding simple majority voting provisions in our governing
                       documents, if properly presented (“Proposal Seven”);

                     » A stockholder proposal regarding annual reporting on anti-harassment and
                       discrimination efforts, if properly presented (“Proposal Eight”);
                     » A stockholder proposal regarding adoption of a freedom of association and collective
                       bargaining policy, if properly presented (“Proposal Nine”);

                     » A stockholder proposal regarding reporting on effects and risks associated with
                       electromagnetic radiation and wireless technologies, if properly presented (“Proposal
                       Ten”);
                     » A stockholder proposal regarding adopting targets and reporting on metrics to assess
                       the feasibility of integrating sustainability metrics into senior executive compensation
                       plans, if properly presented (“Proposal Eleven”); and

                     » A stockholder proposal regarding committing to a moratorium on sourcing minerals from
                       deep sea mining, if properly presented (“Proposal Twelve”).




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             Q       What is the voting requirement to approve each of the proposals?

                                                                                               Broker Discretionary
             A       Proposal                            Vote Required                         Voting Allowed

                     Proposal One — Tesla proposal to    Majority of the shares present in     No
                     elect two Class II directors        person or represented by proxy
                                                         and entitled to vote on the
                                                         election of directors
                     Proposal Two — Tesla proposal to    Majority of the shares present in     No
                     approve executive compensation      person or represented by proxy
                     on a non-binding advisory basis     and entitled to vote on the
                                                         subject matter
                     Proposal Three — Tesla proposal     (1) Majority of the outstanding       No
                     to approve the redomestication of   shares of stock of Tesla entitled
                     Tesla from Delaware to Texas by     to vote thereon, and (2) majority
                     conversion                          of the voting power of the shares
                                                         of Tesla stock not owned, directly
                                                         or indirectly, by Mr. Musk or
                                                         Kimbal Musk, present in person
                                                         or represented by proxy and
                                                         entitled to vote thereon
                     Proposal Four — Tesla proposal      (1) Majority of the total votes of    No
                     to ratify the 100%                  shares of Tesla common stock
                     performance-based stock option      cast in person or by proxy on the
                     award to Elon Musk that was         proposal, pursuant to the rules of
                     proposed to and approved by our     The Nasdaq Stock Market LLC,
                     stockholders in 2018                (2) majority of the voting power of
                                                         the shares present in person or
                                                         represented by proxy and entitled
                                                         to vote on the proposal, pursuant
                                                         to Tesla's amended and restated
                                                         bylaws and (3) majority of the
                                                         total votes of shares of Tesla
                                                         common stock not owned, directly
                                                         or indirectly, by Mr. Musk or
                                                         Kimbal Musk, cast in person or by
                                                         proxy on the proposal, pursuant
                                                         to the resolutions of the Board
                                                         approving the Ratification
                     Proposal Five — Tesla proposal to   Majority of the shares present in     Yes
                     ratify the appointment of           person or represented by proxy
                     independent registered public       and entitled to vote on the
                     accounting firm                     subject matter
                     Proposal Six — Stockholder          Majority of the shares present in     No
                     proposal regarding reduction of     person or represented by proxy
                     director terms to one year, if      and entitled to vote on the
                     properly presented                  subject matter
                     Proposal Seven — Stockholder        Majority of the shares present in     No
                     proposal regarding simple           person or represented by proxy
                     majority voting provisions in our   and entitled to vote on the
                     governing documents, if properly    subject matter
                     presented
                     Proposal Eight — Stockholder        Majority of the shares present in     No
                     proposal regarding on               person or represented by proxy
                     anti-harassment and                 and entitled to vote on the
                     discrimination                      subject


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                                                                                               Broker Discretionary
             A       Proposal                             Vote Required                        Voting Allowed
                     efforts, if properly presented       matter
                     Proposal Nine — Stockholder          Majority of the shares present in    No
                     proposal regarding adoption of a     person or represented by proxy
                     freedom of association and           and entitled to vote on the
                     collective bargaining policy, if     subject matter
                     properly presented
                     Proposal Ten — Stockholder           Majority of the shares present in    No
                     proposal regarding reporting on      person or represented by proxy
                     effects and risks associated with    and entitled to vote on the
                     electromagnetic radiation and        subject matter
                     wireless technologies, if properly
                     presented
                     Proposal Eleven — Stockholder        Majority of the shares present in    No
                     proposal regarding adopting          person or represented by proxy
                     targets and reporting on metrics     and entitled to vote on the
                     to assess the feasibility of         subject matter
                     integrating sustainability metrics
                     into senior executive
                     compensation plans, if properly
                     presented
                     Proposal Twelve — Stockholder        Majority of the shares present in    No
                     proposal regarding committing to     person or represented by proxy
                     a moratorium on sourcing             and entitled to vote on the
                     minerals from deep sea mining, if    subject matter
                     properly presented

             Q       How are votes counted?

             A       All shares entitled to vote and that are voted in person at the 2024 Annual Meeting will be
                     counted, and all shares represented by properly executed and unrevoked proxies received
                     prior to the 2024 Annual Meeting will be voted at the 2024 Annual Meeting as indicated in
                     such proxies. You may vote “ FOR ,” “ AGAINST ” or “ ABSTAIN ” on each of the
                     nominees for election as director (Proposal One), and on each of Proposals Two, Three,
                     Four, Five, Six, Seven, Eight, Nine, Ten, Eleven and Twelve.
                     With respect to the election of directors, Tesla’s bylaws provide that in an uncontested
                     election, the affirmative vote of a majority of the shares present in person or represented
                     by proxy at the meeting and entitled to vote on the matter is required to elect a director.
                     Abstentions with respect to any director nominee (Proposal One) or any of Proposals Two,
                     Three, Four (under the Bylaws Standard), Five, Six, Seven, Eight, Nine, Ten, Eleven and
                     Twelve will have the same effect as a vote against such nominee or Proposal.
                     Consequently, each director nominee will be elected, and each of Proposals Two, Three,
                     Four (under the Bylaws Standard), Five, Six, Seven, Eight, Nine, Ten, Eleven and Twelve
                     will be approved or ratified, as applicable, only if the number of shares voted “ FOR ” such
                     nominee or Proposal exceeds the total number of shares voted “ AGAINST ” or to “
                     ABSTAIN ” with respect to such nominee or Proposal. For Proposal Four, under the
                     NASDAQ Standard or the Ratification Disinterested Standard, abstentions shall have no
                     effect on the Ratification.




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                     What is the effect of not casting a vote or if I submit a proxy but do not specify how
             Q       my shares are to be voted?

             A       If you are a stockholder of record and you do not vote by proxy card, by telephone or via
                     the Internet before the 2024 Annual Meeting, or in person or virtually via the Internet at
                     the 2024 Annual Meeting, your shares will not be voted at the 2024 Annual Meeting. If you
                     submit a proxy, but you do not provide voting instructions, your shares will be voted in
                     accordance with the recommendation of the Board (or, if there is no recommendation of
                     the Board on a Proposal, your shares will not be voted on such Proposal).
                     If you are a beneficial owner and you do not provide the organization that is the
                     stockholder of record for your shares with voting instructions, the organization will
                     determine if it has the discretionary authority to vote on the particular matter. Under
                     applicable regulations, brokers and other intermediaries have the discretion to vote on
                     routine matters, such as Proposal Five, but do not have discretion to vote on non-routine
                     matters such as Proposals One, Two, Three, Four, Six, Seven, Eight, Nine, Ten, Eleven
                     and Twelve. Therefore, if you do not provide voting instructions to that organization, it may
                     vote your shares only on Proposal Five and any other routine matters properly presented
                     for a vote at the 2024 Annual Meeting.

             Q       What is the effect of a broker “non-vote”?

             A       An organization that holds shares of Tesla’s common stock for a beneficial owner will
                     have the discretion to vote on routine proposals if it has not received voting instructions
                     from the beneficial owner at least ten days prior to the 2024 Annual Meeting. A broker
                     “non-vote” occurs when a broker, bank or other intermediary that is otherwise counted as
                     present or represented by proxy does not receive voting instructions from the beneficial
                     owner and does not have the discretion to vote the shares. A broker “non-vote” will be
                     counted for purposes of calculating whether a quorum is present at the 2024 Annual
                     Meeting, but will not be counted for purposes of determining the number of votes present
                     in person or represented by proxy and entitled to vote with respect to a particular
                     proposal as to which that broker “non-vote” occurs. Thus, a broker “non-vote” will not
                     impact our ability to obtain a quorum for the 2024 Annual Meeting and will not otherwise
                     affect the approval by a majority of the votes present in person or represented by proxy
                     and entitled to vote of any of the Proposals One, Two, Four, Six, Seven, Eight, Nine, Ten,
                     Eleven and Twelve.
                     With respect to Proposal Three, broker non-votes will have the same effect as votes
                     against (under the Conversion Standard).
                     As described above, broker non-votes are not expected to occur in connection with
                     Proposal Five.

             Q       How does the Board recommend that I vote?

             A       The Board recommends that you vote your shares:
                     » “ FOR ” the two nominees for election as Class II directors (“Proposal One”);
                     » “ FOR ” the approval, by non-binding advisory vote, of executive compensation
                       (“Proposal Two”);

                     » “ FOR ” the approval of the redomestication of Tesla from Delaware to Texas by
                       conversion (“Proposal Three”);

                     » “ FOR ” the ratification of the 100% performance-based stock option award to Elon Musk
                       that was proposed to and approved by our stockholders in 2018 (“Proposal Four”);



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                     » “ FOR ” the ratification of the appointment of PricewaterhouseCoopers LLP as Tesla’s
                       independent registered public accounting firm for the fiscal year ending December 31,
                       2024 (“Proposal Five”);

                     » “ AGAINST ” the approval of the stockholder proposal regarding reduction of director
                       terms to one year (“Proposal Six”);

                     » “ AGAINST ” the approval of the stockholder proposal regarding simple majority voting
                       provisions in our governing documents (“Proposal Seven”);

                     » “ AGAINST “ the approval of the stockholder proposal regarding annual reporting on
                       anti-harassment and discrimination efforts (“Proposal Eight”);

                     » “ AGAINST “ the approval of the stockholder proposal adoption of a freedom of
                       association and collective bargaining policy (“Proposal Nine”);

                     » “ AGAINST ” the approval of the stockholder proposal regarding reporting on effects and
                       risks associated with electromagnetic radiation and wireless technologies (“Proposal
                       Ten”);

                     » “ AGAINST ” the approval of the stockholder proposal regarding adopting targets and
                       reporting on metrics to assess the feasibility of integrating sustainability metrics into
                       senior executive compensation plans (“Proposal Eleven”); and

                     » “ AGAINST ” the approval of the stockholder proposal regarding committing to a
                       moratorium on sourcing minerals from deep sea mining (“Proposal Twelve”).

             Q       What happens if additional matters are presented at the 2024 Annual Meeting?

             A       If any other matters are properly presented for consideration at the 2024 Annual Meeting,
                     including, among other things, consideration of a motion to adjourn the 2024 Annual
                     Meeting to another time or place, the persons named as proxy holders, Vaibhav Taneja
                     and Brandon Ehrhart, or either of them, will have discretion to vote the proxies held by
                     them on those matters in accordance with their best judgment. Tesla does not currently
                     anticipate that any other matters will be raised at the 2024 Annual Meeting.

             Q       Can I change my vote?

             A       You retain the power to change or revoke you proxy at any time before it is voted at the
                     2024 Annual Meeting. If you are a stockholder of record, you may change your vote (i) by
                     submitting a new proxy bearing a later date (which automatically revokes the earlier
                     proxy) using any of the voting methods described above in the question entitled “ How
                     can I vote my shares without attending the 2024 Annual Meeting? ,” ​ (i i) by pr ovidi ng a
                     written notice of revocation to Tesla, Inc., 1 Tesla Road, Austin, Texas 78725, Attention:
                     Legal Department, with a copy sent by e-mail to shareholdermail@tesla.com, prior to your
                     shares being voted, or (iii) by attending the 2024 Annual Meeting and voting in person or
                     virtually via the Internet, which will supersede any proxy previously submitted by you.
                     However, merely attending the meeting will not cause your previously granted proxy to be
                     revoked unless you specifically request it.
                     If you are a beneficial owner of shares held in street name, you may generally change
                     your vote by (i) submitting new voting instructions to your broker, bank or other
                     intermediary or (ii) if you have obtained a “legal proxy” from the organization that holds
                     your shares giving you the right to vote your shares, by attending the 2024 Annual
                     Meeting and voting in person. However, please consult that organization for any specific
                     rules it may have regarding your ability to change your voting instructions.



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                     What should I do if I receive more than one Notice of Internet Availability, notice from
             Q       my broker, bank or other intermediary, or set of proxy materials?

             A       You may receive more than one Notice of Internet Availability, notice from your broker,
                     bank or other intermediary, or set of proxy materials, including multiple copies of proxy
                     cards or voting instruction cards. For example, if you are a beneficial owner with shares in
                     more than one brokerage account, you may receive a separate notice or voting instruction
                     card for each brokerage account in which you hold shares. If you are a stockholder of
                     record and your shares are registered in more than one name, you will receive more than
                     one Notice of Internet Availability or proxy card. Please complete, sign, date and return
                     each Tesla proxy card or voting instruction card that you receive, and/or follow the voting
                     instructions on each Notice of Internet Availability or other notice you receive, to ensure
                     that all your shares are voted.

             Q       Is my vote confidential?

             A       Proxy instructions, ballots and voting tabulations that identify individual stockholders are
                     handled in a manner that protects your voting privacy. Your vote will not be disclosed
                     either within Tesla or to third parties, except: (i) as necessary for applicable legal
                     requirements, (ii) to allow for the tabulation and certification of the votes and (iii) to
                     facilitate a successful proxy solicitation. Occasionally, stockholders provide written
                     comments on their proxy cards, which may be forwarded to Tesla management.

             Q       Who will serve as inspector of election?

             A       The inspector of election will be The Carideo Group, an independent corporate election
                     inspection service.

             Q       Where can I find the voting results of the 2024 Annual Meeting?

             A       We will publish final voting results in our Current Report on Form 8-K, which will be filed
                     with the SEC and made available on its website at www.sec.gov within four (4) business
                     days of the 2024 Annual Meeting.

             Q       Who will bear the cost of soliciting votes for the 2024 Annual Meeting?

             A       Tesla’s Board of Directors is soliciting your vote for matters being submitted for
                     stockholder approval at the 2024 Annual Meeting. Tesla will pay the entire cost of
                     preparing, assembling, printing, mailing and distributing these proxy materials and
                     soliciting votes. We may reimburse brokerage firms, custodians, nominees, fiduciaries and
                     other persons representing beneficial owners for their reasonable expenses in forwarding
                     solicitation material to those beneficial owners. Our directors, officers and employees may
                     also solicit proxies in person, telephonically, electronically or by other means. These
                     directors, officers and employees will not be additionally compensated but may be
                     reimbursed for reasonable out-of-pocket expenses incurred in doing so.
                     We have retained Innisfree M&A Incorporated, 501 Madison Avenue, 20th Floor, New
                     York, NY 10022, to aid in the solicitation. Pursuant to Tesla’s agreement with Innisfree,
                     they will, among other things, provide advice regarding proxy solicitation issues and solicit
                     proxies from Tesla's stockholders on Tesla’s behalf in connection with the 2024 Annual
                     Meeting. For these and related advisory services, we will pay Innisfree a fee of
                     approximately $          million and reimburse them for certain out-of-pocket disbursements
                     and expenses.


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                     The actual amount finally spent could be higher or lower depending on changing facts and
                     circumstances in connection with this solicitation.
                     What is the deadline to propose actions for consideration at next year’s annual
             Q       meeting of stockholders or to nominate individuals to serve as directors?

             A       You may submit proposals, including recommendations of director candidates, for
                     consideration at future stockholder meetings.
                     For inclusion in Tesla’s proxy materials — Stockholders may present proper proposals
                     for inclusion in Tesla’s proxy statement and for consideration at the next annual meeting
                     of stockholders by submitting their proposals in writing in a timely manner to:
                                                            Tesla, Inc.
                                                           1 Tesla Road
                                                       Austin, Texas 78725
                                         Attention: Legal Department — Shareholder Mail

                     with a copy sent by e-mail to shareholdermail@tesla.com .

                     Any correspondence that is not addressed precisely in accordance with the foregoing,
                     including any correspondence directed to a specific individual, may not be received
                     timely or at all, and we strongly recommend that you also send such correspondence
                     by e-mail and verify that you receive a confirmation of receipt from Tesla.
                     In order to be included in the proxy statement for the 2025 annual meeting of
                     stockholders, stockholder proposals must be received in accordance with the above
                     instructions no later than December 17, 2024, provided that if the date of the 2025 annual
                     meeting of stockholders is more than 30 days from the one-year anniversary of the 2024
                     Annual Meeting, the deadline will instead be a reasonable time before we begin to print
                     and send our proxy materials for the 2025 annual meeting of stockholders. In addition,
                     stockholder proposals must otherwise comply with the requirements of Rule 14a-8 of the
                     Exchange Act.
                     Our bylaws also provide for a right of proxy access. This enables stockholders, under
                     specified conditions, to include their nominees for election as directors in our proxy
                     statement. Under our bylaws, a stockholder (or group of up to 20 stockholders) who has
                     continuously owned at least 3% of the outstanding shares of our common stock for at
                     least three consecutive years and has complied with the other requirements in our bylaws
                     may nominate up to 20% of the Board and have such nominee(s) included in our proxy
                     statement. To be timely, notice of nominees should be delivered to Tesla, Inc., 1 Tesla
                     Road, Austin, Texas 78725, Attention: Legal Department, with a copy sent by e-mail to
                     shareholdermail@tesla.com, not less than 120 days nor more than 150 days prior to the
                     one-year anniversary of the date on which Tesla mailed its proxy materials to stockholders
                     for the previous year’s annual meeting of stockholders. As a result, notice of nominees for
                     our 2024 annual meeting of stockholders must be delivered to the address above not later
                     than          and not earlier than        .
                     To be brought at annual meeting — In addition, you can find in Tesla’s bylaws an
                     advance notice procedure for stockholders who wish to present certain matters, including
                     nominations for the election of directors, at an annual meeting of stockholders without
                     inclusion in Tesla’s proxy materials.




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                     In general, Tesla’s bylaws provide that the Board will determine the business to be
                     conducted at an annual meeting, including nominations for the election of directors, as
                     specified in the Board’s notice of meeting or as properly brought at the meeting by the
                     Board. However, a stockholder may also present at an annual meeting any business,
                     including nominations for the election of directors, specified in a written notice properly
                     delivered within the Notice Period (as defined below), if the stockholder held shares at the
                     time of the notice and the record date for the meeting. Such notice should be delivered to
                     Tesla, Inc., 1 Tesla Road, Austin, Texas 78725, Attention: Legal Department —
                     Shareholder Mail, with a copy sent by e-mail to shareholdermail@tesla.com. The notice
                     must contain specified information about the proposed business or nominees and about
                     the proponent stockholder. If a stockholder who has delivered such a notice does not
                     appear to present his or her proposal at the meeting, Tesla will not be required to present
                     the proposal for a vote.
                     The “Notice Period” is the period not less than 45 days nor more than 75 days prior to the
                     one-year anniversary of the date on which Tesla mailed its proxy materials to stockholders
                     for the previous year’s annual meeting of stockholders. As a result, the Notice Period for
                     the 2025 annual meeting of stockholders will start on            , 2025 and end on       ,
                     2025. However, if the date of the 2025 annual meeting of stockholders is advanced by
                     more than 30 days prior to or delayed by more than 60 days after the one-year
                     anniversary of the date of the 2024 Annual Meeting, the Notice Period will instead start
                     120 days prior to the 2025 annual meeting of stockholders and end on the later of
                     (i) 90 days prior to such meeting or (ii) the 10 th day following our first public
                     announcement of the date of the 2025 annual meeting of stockholders.
                     This is only a summary of the proxy access and advance notice procedures. Complete
                     details regarding all requirements that must be met are found in our bylaws. You can
                     obtain a copy of the relevant bylaw provisions by writing to Tesla, Inc., 1 Tesla Road,
                     Austin, Texas 78725, Attention: Legal Department — Shareholder Mail, or to
                     shareholdermail@tesla.com via e-mail, or by accessing Tesla’s filings on the SEC’s
                     website at www.sec.gov.
                     All notices of proposals or director nominees by stockholders, whether or not
                     requested for inclusion in Tesla’s proxy materials, must be addressed precisely as
                     prescribed in this section to be received timely or at all. We strongly recommend that
                     you also send such correspondence by e-mail and verify that you receive a
                     confirmation of receipt from Tesla.

                     How may I obtain a separate copy of the Notice of Internet Availability or the proxy
             Q       materials?

             A       If you are a stockholder of record and share an address with another stockholder of
                     record, each stockholder may not receive a separate copy of the Notice of Internet
                     Availability, annual report or proxy materials. Stockholders may request to receive
                     separate or additional copies of the Notice of Internet Availability, annual report or proxy
                     materials by writing to Tesla, Inc., 1 Tesla Road, Austin, Texas 78725, Attention: Investor
                     Relations, or to ir@tesla.com. or Tesla, Inc., c/o Broadridge, Householding Department, 51
                     Mercedes Way, Edgewood, NY 11717 or by calling Broadridge at 1-866-540-7095. Upon
                     such written or oral request, we will deliver promptly a separate copy of the Notice of
                     Internet Availability and, if applicable, our annual report or proxy materials, to any
                     stockholder at a shared address to which we delivered a single copy of any of these
                     materials. Stockholders who share an address and receive multiple copies of the Notice of
                     Internet Availability or proxy materials can also request to receive a single copy by
                     following the instructions above.

             Q       Who can help answer my questions?

             A       Please write to Tesla, Inc., 1 Tesla Road, Austin, Texas 78725, Attention: Investor
                     Relations, or to ir@tesla.com via email.


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                                                                                                                         ANNEX A

                                                                Plan of Conversion of
                                                        Tesla, Inc., a Delaware corporation,
                                                                         into
                                                          Tesla, Inc., a Texas corporation
                  This PLAN OF CONVERSION (this “ Plan ”), dated as of [•], 2024, is hereby adopted by Tesla, Inc., a
             Delaware corporation (the “ Converting Entity ”), in order to set forth the terms, conditions and procedures
             governing its conversion into, and continued existence as, Tesla, Inc., a Texas corporation (the “ Converted Entity
             ”), pursuant to Title 1, Chapter 10, Subchapter C of the Texas Business Organizations Code (the “ TBOC ”).
                  WHEREAS , the Board of Directors of the Converting Entity has approved this Plan and the conversion of
             the Converting Entity into the Converted Entity (the “ Conversion ”), has adopted such resolutions as required
             pursuant to the terms of the Delaware General Corporation Law (the “ DGCL ”), and has submitted and
             recommended this Plan and the Conversion for approval by the stockholders of Converting Entity, and the
             stockholders of Converting Entity have validly approved this Plan and the Conversion in accordance with the
             requirements of the DGCL and the certificate of incorporation of the Converting Entity.
                    NOW, THEREFORE , Converting Entity does hereby adopt this Plan, as set forth below:

                    1.   Plan of Conversion .

                         a.   The name of Converting Entity is “Tesla, Inc.”, a Delaware corporation formerly known as Tesla
                              Motors, Inc.

                         b.   The name of Converted Entity is “Tesla, Inc.”, a Texas corporation.
                         c.   Converting Entity is continuing its existence, without lapse or interruption, in the organizational
                              form of a Texas for-profit corporation under the name “Tesla, Inc.”; that is, in the organizational
                              form of the Converted Entity.

                         d.   The Converted Entity is to be a corporation and its jurisdiction of formation is the State of Texas.
                         e.   As of the Effective Time (as defined in Section 2), automatically by virtue of the Conversion and
                              without any further action on the part of any person, each share of common stock (including
                              restricted stock, which shall remain restricted), par value $0.001 per share, of Converting Entity
                              shall convert into one validly issued, fully paid and nonassessable share of common stock, par
                              value $0.001 per share, of Converted Entity, and any warrant, option, restricted stock unit, equity or
                              equity-based award, or other right to acquire any, or of any instrument to convert into or based on
                              the value of, common stock or other equity security of Converting Entity shall from and after the
                              Effective Time, be a warrant, option, restricted stock unit, equity or equity-based award or other
                              right to acquire any, or of any instrument to convert into or based on the value of, the same amount
                              of common stock or other equity securities of Converted Entity, respectively, and, if applicable,
                              with the same exercise or purchase price per share. No shares of preferred stock are issued and
                              outstanding as of the Effective Time.
                         f.   As of the Effective Time, automatically by virtue of the Conversion and without any further action
                              on the part of any person, each employment letter or agreement, employee benefit plan or
                              agreement, incentive compensation plan or agreement or other similar plan or agreement to which
                              the Converting Entity is a party, or otherwise maintains, sponsors or contributes, shall continue to
                              be a plan or agreement of the Converted Entity on the same terms and conditions and any
                              references to the Converting Entity thereunder shall mean the Converted Entity on and after the
                              Effective Time. To the extent that any such plan, letter or agreement provides for the issuance, or is
                              otherwise based on the value, of common stock or other equity securities of the Converting Entity,
                              as of the Effective Time, automatically by virtue of the Conversion and without any further
                              action on the part of any person, such plan or agreement shall be deemed to provide for the
                              issuance, or be based on the value, of common stock or other equity securities of the Converted
                              Entity, respectively.



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                         g.   All of the outstanding certificates representing shares of common stock of the Converting Entity
                              common stock immediately prior to the Effective Time shall be deemed for all purposes to continue
                              to evidence ownership of and to represent the same number of shares of common stock of the
                              Converted Entity.

                         h.   As of the Effective Time, automatically by virtue of the Conversion and without any further action
                              on the part of any person, each agreement to which the Converting Entity is a party, shall continue
                              to be an agreement of the Converted Entity on the same terms and conditions and any references to
                              the Converting Entity thereunder shall, on and after the Effective Time, mean the Converted Entity.
                    2.   Effective Time . The Conversion will be consummated under the TBOC by filing with the Secretary of
                         State of the State of Texas (a) a Certificate of Conversion in the form required by the TBOC (the “
                         Texas Certificate ”) and executed in accordance with the relevant provisions of the TBOC and (b) a
                         Certificate of Formation in the form attached hereto as Exhibit A (the “ Certificate of Formation ”). The
                         time on which such Texas Certificate is accepted by the Texas Secretary of State shall be the “ Effective
                         Time ”. Simultaneously with the filing of the Texas Certificate, Converting Entity is authorized and
                         empowered to take any such actions as may be necessary or prudent in connection with the Conversion
                         under the DGCL.
                    3.   Effects of the Conversion . The Conversion will have the effects set forth in the TBOC and, to the
                         extent necessary, the DGCL, including without limitation the effects set forth in Section 1.c of this Plan.
                         The Converted Entity will be responsible for the payment of all of the Converting Entity’s fees and
                         franchise taxes and will be responsible for all of its debts and liabilities.

                    4.   Governance of the Converted Entity . On and after the Effective Time, the affairs of the Converted
                         Entity shall be governed in accordance with the TBOC and the Certificate of Formation, and the Bylaws
                         of the Converted Entity in substantially the form attached hereto as Exhibit B . Immediately after the
                         Effective Time, the directors and officers of the Converting Entity shall continue as the directors and
                         officers of the Converted Entity.
                    5.   Foreign Qualifications of Converted Entity . For the purpose of authorizing the Converted Entity to do
                         business in any state, territory, or dependency of the United States, including, but not limited to,
                         Delaware, or of any foreign country in which it is necessary or expedient for the Converted Entity to
                         transact business, the officers of the Converted Entity are hereby authorized and empowered to appoint
                         and substitute all necessary agents or attorneys for service of process, to designate and to prepare,
                         execute, and file, for and on behalf of the Converted Entity, all necessary certificates, reports, powers of
                         attorney, and other instruments as may be required by the laws of such state, territory, dependency, or
                         country to authorize the Converted Entity to transact business therein, and whenever it is expedient for
                         the Converted Entity to cease doing business therein and withdraw therefrom, to revoke any
                         appointment of agent or attorney for service of process, and to file such certificates, reports, revocation
                         of appointment, or surrender of authority as may be necessary to terminate the authority of the
                         Converted Entity to do business in any such state, territory, dependency, or country, and all actions
                         taken by the officers of the Converted Entity prior to the Effective Time in furtherance of this Section 5
                         shall be, and each of them hereby is, approved, ratified and confirmed in all respects as the proper acts
                         and deeds of the Converted Entity.
                    6.   Third Party Beneficiaries . This Plan shall not confer any rights or remedies upon any person or entity
                         other than as expressly provided herein. It being understood that, notwithstanding anything to the
                         contrary in this Plan, no provision of this Plan is intended to, or does, confer any rights or remedies on
                         any current or former employee or other service provider of the Converting Entity (nor any other
                         individual associated therewith) and none of such individuals shall be regarded for any purpose as a
                         third party beneficiary to this Plan.




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                    7.   Severability . Whenever possible, each term and provision of this Plan will be interpreted in such
                         manner as to be effective and valid under applicable law, but if any term or provision of this Plan is
                         held to be prohibited by or invalid under applicable law or in any jurisdiction, such term or provision
                         will be ineffective only to the extent, of such prohibition or invalidity, without invalidating the
                         remainder of this Plan. Upon the determination that any term or provision of this Plan is invalid, illegal
                         or unenforceable, such term or provision shall be deemed amended in such jurisdiction, without further
                         action on the part of any person or entity, to the limited extent necessary to render the same valid, legal
                         or enforceable.
                                                            [ Signature Page Follows ]




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                 IN WITNESS WHEREOF, Tesla, Inc., a Delaware corporation, has caused this Plan to be executed by its
             duly authorized representative as of the date first stated above.

             Tesla, Inc.
             a Delaware corporation


             By:
             Name:
             Title:




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                                                                                                                         ANNEX B

                                                        CERTIFICATE OF FORMATION
                                                                        OF
                                                                    TESLA, INC.
                                                                 a Texas corporation
                 Tesla, Inc., a corporation organized and existing under the laws of the State of Texas (the “ Corporation ”),
             hereby certifies as follows:
                         A. Tesla, Inc. (formerly known as Tesla Motors, Inc.), a Delaware corporation (the “ Delaware
                    Corporation ”), with its principal place of business at 1 Tesla Road, Austin, Texas 78725, was originally
                    incorporated on July 1, 2003.
                         B. The Delaware Corporation was converted into a corporation incorporated under the laws of the
                    State of Texas under the name “Tesla, Inc.” on [•] [•], 2024 pursuant to a plan of conversion, under which
                    the Delaware Corporation converted to the Corporation.

                                                                    ARTICLE I

                    The name of the Corporation is Tesla, Inc.

                                                                    ARTICLE II
                 The address of the Corporation’s registered office in the State of Texas is 1999 Bryan Street, Suite 900,
             Dallas, Texas 75201-3136. The name of its registered agent at such address is CT Corporation System. The initial
             mailing address of the Corporation is 1 Tesla Road, Austin, Texas 78725.

                                                                   ARTICLE III
                 The nature of the business or purposes to be conducted or promoted by the Corporation is to engage in any
             lawful act or activity for which corporations may be organized under the Texas Business Organizations Code (the
             “ TBOC ”).

                                                                   ARTICLE IV
                  4.1. Authorized Capital Stock . The total number of shares of all classes of capital stock which the
             Corporation is authorized to issue is 6,100,000,000 shares, consisting of 6,000,000,000 shares of Common Stock,
             par value $0.001 per share (the “ Common Stock ”), and 100,000,000 shares of Preferred Stock, par value $0.001
             per share (the “ Preferred Stock ”).
                  4.2. Increase or Decrease in Authorized Capital Stock . The number of authorized shares of Preferred
             Stock or Common Stock may be increased or decreased (but not below the number of shares thereof then
             outstanding) by the affirmative vote of the holders of a majority in voting power of the stock of the Corporation
             entitled to vote generally in the election of directors, voting together as a single class, except as may be required
             by the TBOC, without a separate vote of the holders of the class or classes the number of authorized shares of
             which are being increased or decreased, unless a vote by any holders of one or more series of Preferred Stock is
             required by the express terms of any series of Preferred Stock as provided for or fixed pursuant to the provisions
             of Section 4.4 of this Article IV.
                    4.3.   Common Stock .
                         (a) The holders of shares of Common Stock shall be entitled to one vote for each such share on each
                    matter properly submitted to the shareholders on which the holders of shares of Common Stock are entitled
                    to vote. Except as otherwise required by law or this certificate of formation (this “ Certificate of Formation ”
                    which term, as used herein, shall mean the certificate of formation of the Corporation, as amended from time
                    to time, including the terms of any certificate of designations of any series of Preferred Stock), and subject
                    to the rights of the holders of Preferred Stock, at any annual or special meeting of the shareholders the



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                    holders of shares of Common Stock shall have the right to vote for the election of directors and on all other
                    matters properly submitted to a vote of the shareholders; provided, however, that, except as otherwise
                    required by law, holders of Common Stock shall not be entitled to vote on any amendment to this Certificate
                    of Formation that relates solely to the terms, number of shares, powers, designations, preferences, or relative
                    participating, optional or other special rights (including, without limitation, voting rights), or to
                    qualifications, limitations or restrictions thereon, of one or more outstanding series of Preferred Stock if the
                    holders of such affected series are entitled, either separately or together with the holders of one more other
                    such series, to vote thereon pursuant to this Certificate of Formation (including, without limitation, by any
                    certificate of designations relating to any series of Preferred Stock) or pursuant to the TBOC. To the
                    maximum extent permitted by the TBOC, but subject to the rights, if any, of the holders of Preferred Stock
                    as specified in this Certificate of Formation or in any certificate of designation, and further subject to the
                    Bylaws and the provisions of Article IX of this Certificate of Formation, the vote of shareholders holding a
                    majority of the shares of stock entitled to vote on the matter then outstanding shall be sufficient to approve,
                    authorize, adopt, or to otherwise cause the Corporation to take, or affirm the Corporation’s taking of, any
                    action, including any “fundamental business transaction” as defined in the TBOC.

                         (b) Subject to the rights of the holders of Preferred Stock, the holders of shares of Common Stock
                    shall be entitled to receive such dividends and other distributions (payable in cash, property or capital stock
                    of the Corporation) when, as and if declared thereon by the Board of Directors from time to time out of any
                    assets or funds of the Corporation legally available therefor and shall share equally on a per share basis in
                    such dividends and distributions.

                         (c) In the event of any voluntary or involuntary liquidation, dissolution or winding-up of the
                    Corporation, after payment or provision for payment of the debts and other liabilities of the Corporation, and
                    subject to the rights of the holders of Preferred Stock in respect thereof, the holders of shares of Common
                    Stock shall be entitled to receive all the remaining assets of the Corporation available for distribution to its
                    shareholders, ratably in proportion to the number of shares of Common Stock held by them.
                    4.4.   Preferred Stock .

                         (a) The Preferred Stock may be issued from time to time in one or more series pursuant to a resolution
                    or resolutions providing for such issue duly adopted by the Board of Directors (authority to do so being
                    hereby expressly vested in the Board of Directors). The Board of Directors is further authorized, subject to
                    limitations prescribed by law, to fix by resolution or resolutions and to set forth in a certification of
                    designations filed pursuant to the TBOC the powers, designations, preferences and relative, participation,
                    optional or other rights, if any, and the qualifications, limitations or restrictions thereof, if any, of any wholly
                    unissued series of Preferred Stock, including without limitation dividend rights, dividend rate, conversion
                    rights, voting rights, rights and terms of redemption (including sinking fund provisions), redemption price or
                    prices, and liquidation preferences of any such series, and the number of shares constituting any such series
                    and the designation thereof, or any of the foregoing.

                         (b) The Board of Directors is further authorized to increase (but not above the total number of
                    authorized shares of the class) or decrease (but not below the number of shares of any such series then
                    outstanding) the number of shares of any series, the number of which was fixed by it, subsequent to the
                    issuance of shares of such series then outstanding, subject to the powers, preferences and rights, and the
                    qualifications, limitations and restrictions thereof stated in the Certificate of Formation or the resolution of
                    the Board of Directors originally fixing the number of shares of such series. If the number of shares of any
                    series is so decreased, then the shares constituting such decrease shall resume the status which they had prior
                    to the adoption of the resolution originally fixing the number of shares of such series.

                                                                    ARTICLE V
                  5.1. General Powers . The business and affairs of the Corporation shall be managed by or under the
             direction of the Board of Directors.



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                    5.2.   Number of Directors; Initial Directors; Election; Term .
                        (a) The number of directors constituting the initial Board of Directors is eight (8) and their names and
                    addresses are as follows:

                      Name                                                                       Address
                      1. Elon Musk                                                1 Tesla Road, Austin, Texas 78725
                      2. Robyn M. Denholm                                         1 Tesla Road, Austin, Texas 78725
                      3. Ira Ehrenpreis                                           1 Tesla Road, Austin, Texas 78725
                      4. Joe Gebbia                                               1 Tesla Road, Austin, Texas 78725
                      5. James Murdoch                                            1 Tesla Road, Austin, Texas 78725
                      6. Kimbal Musk                                              1 Tesla Road, Austin, Texas 78725
                      7. JB Straubel                                              1 Tesla Road, Austin, Texas 78725
                      8. Kathleen Wilson-Thompson                                 1 Tesla Road, Austin, Texas 78725

                         (b) Subject to the rights of holders of any series of Preferred Stock with respect to the election of
                    directors, the number of directors that constitutes the entire Board of Directors of the Corporation shall be
                    fixed solely by the manner provided in the Bylaws.
                          (c) Subject to the rights of holders of any series of Preferred Stock with respect to the election of
                    directors, effective upon the closing date (the “ Effective Date ”) of the initial sale of shares of common stock
                    in the Corporation’s initial public offering pursuant to an effective registration statement filed under the
                    Securities Act of 1933, as amended, the directors of the Corporation shall be divided into three classes as
                    nearly equal in size as is practicable, hereby designated Class I, Class II and Class III. The initial assignment
                    of members of the Board of Directors to each such class shall be made by the Board of Directors. The term
                    of office of the initial Class I directors shall expire at the first regularly-scheduled annual meeting of the
                    shareholders following the Effective Date, the term of office of the initial Class II directors shall expire at
                    the second annual meeting of the shareholders following the Effective Date and the term of office of the
                    initial Class III directors shall expire at the third annual meeting of the shareholders following the Effective
                    Date. At each annual meeting of shareholders, commencing with the first regularly-scheduled annual meeting
                    of shareholders following the Effective Date, each of the successors elected to replace the directors of a
                    Class whose term shall have expired at such annual meeting shall be elected to hold office until the third
                    annual meeting next succeeding his or her election and until his or her respective successor shall have been
                    duly elected and qualified. Subject to the rights of holders of any series of Preferred Stock with respect to
                    the election of directors, if the number of directors that constitutes the Board of Directors is changed, any
                    newly created directorships or decrease in directorships shall be so apportioned by the Board of Directors
                    among the classes as to make all classes as nearly equal in number as is practicable, provided that no
                    decrease in the number of directors constituting the Board of Directors shall shorten the term of any
                    incumbent director.
                         (d) Notwithstanding the foregoing provisions of this Section 5.2, and subject to the rights of holders of
                    any series of Preferred Stock with respect to the election of directors, each director shall serve until his or
                    her successor is duly elected and qualified or until his or her earlier death, resignation, or removal.

                        (e) Elections of directors need not be by written ballot unless the Bylaws of the Corporation shall so
                    provide.
                  5.3. Removal . Subject to the rights of holders of any series of Preferred Stock with respect to the
             election of directors, a director may be removed from office by the shareholders of the Corporation only for
             cause.

                  5.4. Vacancies and Newly Created Directorships . Subject to the rights of holders of any series of
             Preferred Stock with respect to the election of directors, and except as otherwise provided in the TBOC,
             vacancies occurring on the Board of Directors for any reason and newly created directorships resulting from an
             increase in the authorized number of directors may be filled in any manner permitted by the TBOC, including by
             (a) the Board of Directors at any meeting of the Board of Directors by vote of a majority of the remaining
             members of the Board of Directors, although less than a quorum, or (b) a sole remaining director, in each case to
             the extent permitted by the TBOC. A person so elected or appointed to fill a vacancy or newly created
             directorship shall hold office until the next election



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             of the class for which such director shall have been assigned by the Board of Directors and until his or her
             successor shall be duly elected and qualified.

                                                                 ARTICLE VI
                 In furtherance and not in limitation of the powers conferred by statute, the Board of Directors of the
             Corporation is expressly authorized to adopt, amend or repeal the Bylaws of the Corporation.

                                                                ARTICLE VII
                  7.1. Action by Written Consent of Shareholders . Any action required or permitted by the TBOC to be
             taken at any annual or special meeting of shareholders, may be taken without a meeting, without prior notice and
             without a vote, if a consent or consents in writing, setting forth the action so taken, shall be signed by all holders
             of shares entitled to vote on such action. Any such action taken by written consent shall be delivered to the
             Corporation at its principal office.
                  7.2. Special Meetings . Except as otherwise expressly provided by the terms of any series of Preferred
             Stock permitting the holders of such series of Preferred Stock to call a special meeting of the holders of such
             series, special meetings of shareholders of the Corporation may be called only by the Board of Directors, the
             chairperson of the Board of Directors, the chief executive officer, (to the extent required by the TBOC ) the
             president, or by the holders of not less than 50% (or the highest percentage of ownership that may be set under
             the TBOC) of the Corporation’s then outstanding shares of capital stock entitled to vote at such special meeting.
             The Board of Directors may postpone or reschedule any previously scheduled special meeting at any time, before
             or after the notice for such meeting has been sent to the shareholders.
                  7.3. Advance Notice . Advance notice of shareholder nominations for the election of directors and of
             business to be brought by shareholders before any meeting of the shareholders of the Corporation shall be given
             in the manner provided in the Bylaws of the Corporation.

                                                                ARTICLE VIII

                  8.1. Limitation of Personal Liability . To the fullest extent permitted by the TBOC, as it presently exists
             or may hereafter be amended from time to time, a director of the Corporation shall not be personally liable to the
             Corporation or its shareholders for monetary damages for breach of fiduciary duty as a director. If the TBOC is
             amended to authorize corporate action further eliminating or limiting the personal liability of directors, then the
             liability of a director of the Corporation shall be eliminated or limited to the fullest extent permitted by the
             TBOC, as so amended. Any repeal or amendment of this Section 8.1 by the shareholders of the Corporation or by
             changes in law, or the adoption of any other provision of this Certificate of Formation inconsistent with this
             Section 8.1 will, unless otherwise required by law, be prospective only (except to the extent such amendment or
             change in law permits the Corporation to further limit or eliminate the liability of directors) and shall not
             adversely affect any right or protection of a director of the Corporation existing at the time of such repeal or
             amendment or adoption of such inconsistent provision with respect to acts or omissions occurring prior to such
             repeal or amendment or adoption of such inconsistent provision.
                  8.2. Indemnification . To the fullest extent permitted by the TBOC, as it presently exists or may hereafter
             be amended from time to time, the Corporation is also authorized to provide indemnification of (and advancement
             of expenses to) its directors, officers and agents of the Corporation (and any other persons to which the TBOC
             permits the Corporation to provide indemnification) through bylaw provisions, agreements with such agents or
             other persons, vote of shareholders or disinterested directors or otherwise.

                                                                 ARTICLE IX
                  The Corporation reserves the right to amend, alter, change or repeal any provision contained in this
             Certificate of Formation (including any rights, preferences or other designations of Preferred Stock), in the
             manner now or hereafter prescribed by this Certificate of Formation and the TBOC; and all rights, preferences
             and privileges herein conferred upon shareholders by and pursuant to this Certificate of Formation in its present
             form or as hereafter amended are granted subject to the right reserved in this Article IX. Notwithstanding any
             other provision of this Certificate of Formation, and in addition to any other vote that may be required by law or
             the terms of any series of



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             Preferred Stock, the affirmative vote of the holders of at least 66 2 ⁄ 3 % of the voting power of all then
             outstanding shares of capital stock of the Corporation entitled to vote generally in the election of directors, voting
             together as a single class, shall be required to amend, alter or repeal, or adopt any provision as part of this
             Certificate of Formation inconsistent with the purpose and intent of, Article V, Article VI, Article VII or this
             Article IX (including, without limitation, any such Article as renumbered as a result of any amendment,
             alteration, change, repeal or adoption of any other Article).




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                 IN WITNESS WHEREOF, Tesla, Inc. has caused this Certificate of Formation to be signed by a duly
             authorized officer of the Corporation on this [•] day of [•], 2024.


                                                                 By:




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                                                                                                          ANNEX C




                                                             BYLAWS
                                                                OF
                                                           TESLA, INC.
                             (as in effect pursuant to the plan of conversion adopted on [•] [•], 2024)




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                                                           BYLAWS OF TESLA, INC.

                                                     ARTICLE I — CORPORATE OFFICES

                    1.1 REGISTERED OFFICE
                  The registered office of Tesla, Inc. shall be fixed in the corporation’s certificate of formation. References in
             these bylaws to the certificate of formation shall mean the certificate of formation of the corporation, as amended
             from time to time, including the terms of any certificate of designations of any series of Preferred Stock.
                    1.2 OTHER OFFICES
                 The corporation’s board of directors may at any time establish other offices at any place or places where the
             corporation is qualified to do business.

                                               ARTICLE II — MEETINGS OF SHAREHOLDERS
                    2.1 PLACE OF MEETINGS
                  Meetings of shareholders shall be held at any place, within or outside the State of Texas, designated by the
             board of directors. The board of directors may, in its sole discretion, determine that a meeting of shareholders
             shall not be held at any place, but may instead be held solely by means of remote communication as authorized
             by Section 6.002(a) of the Texas Business Organizations Code (the “ TBOC ”). In the absence of any such
             designation or determination, shareholders’ meetings shall be held at the corporation’s principal executive office.
                    2.2 ANNUAL MEETING
                  The annual meeting of shareholders shall be held on such date, at such time, and at such place (if any)
             within or without the State of Texas as shall be designated from time to time by the board of directors and stated
             in the corporation’s notice of the meeting. At the annual meeting, directors shall be elected and any other proper
             business may be transacted.
                    2.3 SPECIAL MEETING
                         (i) A special meeting of the shareholders, other than those required by statute, may be called at any
                    time only by (A) the board of directors, (B) the chairperson of the board of directors, (C) the chief executive
                    officer, (D) (to the extent required by the TBOC) the president or (E) as otherwise provided in the certificate
                    of formation. A special meeting of the shareholders may not be called by any other person or persons. The
                    board of directors may cancel (to the extent permitted under the TBOC), postpone or reschedule any
                    previously scheduled special meeting at any time, before or after the notice for such meeting has been sent
                    to the shareholders.
                         (ii) The notice of a special meeting shall include the purpose for which the meeting is called. Only
                    such business shall be conducted at a special meeting of shareholders as shall have been brought before the
                    meeting by or at the direction of the board of directors, the chairperson of the board of directors, the chief
                    executive officer, the president or the shareholders holding at least 50% of the corporation’s then outstanding
                    shares of capital stock entitled to vote at such special meeting who have called such special meeting.
                    Nothing contained in this Section 2.3(ii) shall be construed as limiting, fixing or affecting the time when a
                    meeting of shareholders called by action of the board of directors may be held.

                    2.4 ADVANCE NOTICE PROCEDURES
                         (i) Advance Notice of Shareholder Business . At an annual meeting of the shareholders, only such
                    business shall be conducted as shall have been properly brought before the meeting. To be properly brought
                    before an annual meeting, business must be brought: (A) pursuant to the corporation’s proxy materials with
                    respect to such meeting, (B) by or at the direction of the board of directors, or (C) by a shareholder of the
                    corporation who (1) is a shareholder of record at the time of the giving of the notice required by this
                    Section 2.4(i) and on the record date for the determination of shareholders entitled to vote at the annual
                    meeting and (2) has timely complied in proper written form with the notice procedures set forth in this
                    Section 2.4(i). In addition, for business to be properly brought before an annual meeting by a shareholder,
                    such business must



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                    be a proper matter for shareholder action pursuant to these bylaws and applicable law. Except for proposals
                    properly made in accordance with Rule 14a-8 under the Securities Exchange Act of 1934 (as amended, and
                    including any successor thereto, the “ 1934 Act ”), and the rules and regulations thereunder, and included in
                    the notice of meeting given by or at the direction of the board of directors, for the avoidance of doubt,
                    clause (C) above shall be the exclusive means for a shareholder to bring business before an annual meeting
                    of shareholders.
                             (a) To comply with clause (C) of Section 2.4(i) above, a shareholder’s notice must set forth all
                        information required under this Section 2.4(i) and must be timely received by the secretary of the
                        corporation. To be timely, a shareholder’s notice must be received by the secretary at the principal
                        executive offices of the corporation not later than the 45th day nor earlier than the 75th day before the
                        one-year anniversary of the date on which the corporation first mailed its proxy materials or a notice of
                        availability of proxy materials (whichever is earlier) for the preceding year’s annual meeting; provided ,
                        however , that in the event that no annual meeting was held in the previous year or if the date of the
                        annual meeting is advanced by more than 30 days prior to or delayed by more than 60 days after the
                        one-year anniversary of the date of the previous year’s annual meeting, then, for notice by the
                        shareholder to be timely, it must be so received by the secretary not earlier than the close of business on
                        the 120th day prior to such annual meeting and not later than the close of business on the later of (i) the
                        90th day prior to such annual meeting, or (ii) the tenth day following the day on which Public
                        Announcement (as defined below) of the date of such annual meeting is first made. In no event shall
                        any adjournment or postponement of an annual meeting or the announcement thereof commence a new
                        time period for the giving of a shareholder’s notice as described in this Section 2.4(i)(a). “ Public
                        Announcement ” shall mean disclosure in a press release reported by the Dow Jones News Service,
                        Associated Press or a comparable national news service or in a document publicly filed by the
                        corporation with the Securities and Exchange Commission (the “ SEC ”) pursuant to Section 13, 14 or
                        15(d) of the 1934 Act.
                              (b) To be in proper written form, a shareholder’s notice to the secretary must set forth as to each
                        matter of business the shareholder intends to bring before the annual meeting: (1) a brief description of
                        the business intended to be brought before the annual meeting and the reasons for conducting such
                        business at the annual meeting, (2) the name and address, as they appear on the corporation’s books, of
                        the shareholder proposing such business and any Shareholder Associated Person (as defined below),
                        (3) the class and number of shares of the corporation that are held of record or are beneficially owned
                        by the shareholder or any Shareholder Associated Person and any derivative positions held or
                        beneficially held by the shareholder or any Shareholder Associated Person, (4) whether and the extent to
                        which any hedging or other transaction or series of transactions has been entered into by or on behalf of
                        such shareholder or any Shareholder Associated Person with respect to any securities of the corporation,
                        and a description of any other agreement, arrangement or understanding (including without limitation
                        any short position or any borrowing or lending of shares), the effect or intent of which is to mitigate
                        loss to, or to manage the risk or benefit from share price changes for, or to increase or decrease the
                        voting power of, such shareholder or any Shareholder Associated Person with respect to any securities
                        of the corporation, (5) any material interest of the shareholder or a Shareholder Associated Person in
                        such business, and (6) a statement whether either such shareholder or any Shareholder Associated
                        Person will deliver a proxy statement and form of proxy to holders of at least the percentage of the
                        corporation’s voting shares required under applicable law to carry the proposal (such information
                        provided and statements made as required by clauses (1) through (6), a “ Business Solicitation Statement
                        ”). In addition, to be in proper written form, a shareholder’s notice to the secretary must be
                        supplemented not later than ten days following the record date for notice of the meeting to disclose the
                        information contained in clauses (3) and (4) above as of the record date for notice of the meeting. For
                        purposes of this Section 2.4, a “ Shareholder Associated Person ” of any shareholder shall mean (i) any
                        person controlling, directly or indirectly, or acting in concert with, such shareholder, (ii) any beneficial
                        owner of shares of stock of the corporation owned of record or beneficially by such shareholder and on
                        whose behalf the proposal or nomination, as the case may be, is being made, or (iii) any person
                        controlling, controlled by or under common control with such person referred to in the preceding
                        clauses (i) and (ii).
                             (c) Without exception, no business shall be conducted at any annual meeting except in accordance
                        with the provisions set forth in this Section 2.4(i) and, if applicable, Section 2.4(ii). In addition,
                        business proposed to be brought by a shareholder may not be brought before the annual meeting if such
                        shareholder



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                        or a Shareholder Associated Person, as applicable, takes action contrary to the representations made in
                        the Business Solicitation Statement applicable to such business or if the Business Solicitation Statement
                        applicable to such business contains an untrue statement of a material fact or omits to state a material
                        fact necessary to make the statements therein not misleading. The chairperson of the annual meeting
                        shall, if the facts warrant, determine and declare at the annual meeting that business was not properly
                        brought before the annual meeting and in accordance with the provisions of this Section 2.4(i), and, if
                        the chairperson should so determine, he or she shall so declare at the annual meeting that any such
                        business not properly brought before the annual meeting shall not be conducted.
                         (ii) Advance Notice of Director Nominations at Annual Meetings . Notwithstanding anything in these
                    bylaws to the contrary, only persons who are nominated in accordance with the procedures set forth in this
                    Section 2.4(ii) shall be eligible for election or re-election as directors at an annual meeting of shareholders.
                    Nominations of persons for election or re-election to the board of directors of the corporation shall be made
                    at an annual meeting of shareholders only (A) by or at the direction of the board of directors, (B) by a
                    shareholder of the corporation who (1) was a shareholder of record at the time of the giving of the notice
                    required by this Section 2.4(ii) and on the record date for the determination of shareholders entitled to vote
                    at the annual meeting and (2) has complied with the notice procedures set forth in this Section 2.4(ii) and the
                    applicable requirements of Rule 14a-19 under the 1934 Act, or (C) by an Eligible Shareholder (as defined in
                    Section 2.15 of these bylaws) who complies with the procedures set forth in Section 2.15 of these bylaws. In
                    addition to any other applicable requirements, for a nomination to be made by a shareholder in accordance
                    with clause (B) of this Section 2.4(ii), the shareholder must have given timely notice thereof in proper
                    written form to the secretary of the corporation.
                             (a) To comply with clause (B) of Section 2.4(ii) above, a nomination to be made by a shareholder
                        must set forth all information required under this Section 2.4(ii) and must be received by the secretary
                        of the corporation at the principal executive offices of the corporation at the time set forth in, and in
                        accordance with, the final three sentences of Section 2.4(i)(a) above.
                             (b) To be in proper written form, such shareholder’s notice to the secretary must set forth:
                                  (1) as to each person (a “ nominee ”) whom the shareholder proposes to nominate for election
                             or re-election as a director: (A) the name, age, business address and residence address of the
                             nominee, (B) the principal occupation or employment of the nominee, (C) the class and number of
                             shares of the corporation that are held of record or are beneficially owned by the nominee and any
                             derivative positions held or beneficially held by the nominee, (D) the information required by
                             Section 2.15(vi)(g) below, (E) whether and the extent to which any hedging or other transaction or
                             series of transactions has been entered into by or on behalf of the nominee with respect to any
                             securities of the corporation, and a description of any other agreement, arrangement or
                             understanding (including without limitation any short position or any borrowing or lending of
                             shares), the effect or intent of which is to mitigate loss to, or to manage the risk or benefit of share
                             price changes for, or to increase or decrease the voting power of the nominee, (F) a description of
                             all arrangements or understandings between the shareholder and each nominee and any other person
                             or persons (naming such person or persons) pursuant to which the nominations are to be made by
                             the shareholder, (G) a written statement executed by the nominee acknowledging that as a director
                             of the corporation, the nominee will owe a fiduciary duty under Texas law with respect to the
                             corporation and its shareholders, and (H) any other information relating to the nominee that would
                             be required to be disclosed about such nominee if proxies were being solicited for the election or
                             re-election of the nominee as a director, or that is otherwise required, in each case pursuant to
                             Regulation 14A under the 1934 Act (including without limitation the nominee’s written consent to
                             being named as a nominee in any proxy statement relating to the applicable meeting of
                             shareholders and to serving as a director if elected or re-elected, as the case may be); and
                                  (2) as to such shareholder giving notice, (A) the information required to be provided pursuant
                             to clauses (2) through (5) of Section 2.4(i)(b) above, and the supplement referenced in the second
                             sentence of Section 2.4(i)(b) above (except that the references to “business” in such clauses shall
                             instead refer to nominations of directors for purposes of this paragraph), (B) a statement that either
                             such shareholder or Shareholder Associated Person intends to solicit the holders of shares
                             representing at least 67% of the voting power of shares entitled to vote in the election of directors,
                             and (C) all



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                              other information required by Rule 14a-19 under the 1934 Act (such information provided and
                              statements made as required by clauses (A), (B) and (C) above, a “ Nominee Solicitation Statement
                              ”).
                           (c) To comply with clause (B) of Section 2.4(ii) above, a shareholder providing notice of any
                      nomination proposed to be made at a meeting of shareholders shall further update and supplement such
                      notice (1) if necessary so that the information provided or required to be provided in such notice
                      pursuant to this Section 2.4(ii) shall be true and correct as of the record date for determining the
                      shareholders entitled to receive notice of and to vote at such meeting of shareholders, and such update
                      and supplement must be received by the secretary of the corporation at the principal executive offices of
                      the corporation not later than five business days following the later of the record date for the
                      determination of shareholders entitled to receive notice of and to vote at the meeting of shareholders
                      and the date notice of the record date is first publicly disclosed and (2) to provide evidence that the
                      shareholder providing the notice has solicited proxies from holders representing at least 67% of the
                      voting power of the shares of capital stock entitled to vote in the election of directors, and such update
                      and supplement must be received by the secretary of the corporation at the principal executive offices of
                      the corporation not later than five business days after the shareholder files a definitive proxy statement
                      in connection with the meeting of shareholders.
                           (d) At the request of the board of directors, any person nominated by a shareholder for election or
                      re-election as a director must furnish to the secretary of the corporation (1) that information required to
                      be set forth in the shareholder’s notice of nomination of such person as a director as of a date
                      subsequent to the date on which the notice of such person’s nomination was given and (2) such other
                      information as may reasonably be required by the corporation to determine the eligibility of such
                      proposed nominee to serve as an independent director or audit committee financial expert of the
                      corporation under applicable law, securities exchange rule or regulation, or any publicly-disclosed
                      corporate governance guideline or committee charter of the corporation and (3) that could be material to
                      a reasonable shareholder’s understanding of the independence, or lack thereof, of such nominee; in the
                      absence of the furnishing of such information if requested, such shareholder’s nomination shall not be
                      considered in proper form pursuant to this Section 2.4(ii).
                           (e) Without exception, no person shall be eligible for election or re-election as a director of the
                      corporation at an annual meeting of shareholders unless nominated in accordance with the provisions set
                      forth in this Section 2.4(ii). In addition, a nominee shall not be eligible for election or re-election if a
                      shareholder or Shareholder Associated Person, as applicable, takes action contrary to the representations
                      made in the Nominee Solicitation Statement applicable to such nominee or if the Nominee Solicitation
                      Statement applicable to such nominee contains an untrue statement of a material fact or omits to state a
                      material fact necessary to make the statements therein not misleading. The chairperson of the annual
                      meeting shall, if the facts warrant, determine and declare at the annual meeting that a nomination was
                      not made in accordance with the provisions prescribed by these bylaws, and if the chairperson should so
                      determine, he or she shall so declare at the annual meeting, and the defective nomination shall be
                      disregarded.
                      (iii)     Advance Notice of Director Nominations for Special Meetings .
                           (a) For a special meeting of shareholders at which directors are to be elected or re-elected,
                      nominations of persons for election or re-election to the board of directors shall be made only (1) by or
                      at the direction of the board of directors or (2) by any shareholder of the corporation who (A) is a
                      shareholder of record at the time of the giving of the notice required by this Section 2.4(iii) and on the
                      record date for the determination of shareholders entitled to vote at the special meeting and (B) delivers
                      a timely written notice of the nomination to the secretary of the corporation that includes the
                      information set forth in Sections 2.4(ii)(b), (ii)(c) and (ii)(d) above. To be timely, such notice must be
                      received by the secretary at the principal executive offices of the corporation not later than the close of
                      business on the later of the 90th day prior to such special meeting or the tenth day following the day on
                      which Public Announcement is first made of the date of the special meeting and of the nominees
                      proposed by the board of directors to be elected or re-elected at such meeting. A person shall not be
                      eligible for election or re-election as a director at a special meeting unless the person is nominated
                      (i) by or at the direction of the board of directors or (ii) by a shareholder in accordance with the notice
                      procedures set forth in this Section 2.4(iii). In addition, a nominee shall not be eligible for election or
                      re-election if a shareholder or Shareholder Associated Person, as applicable, takes action contrary to the
                      representations made in the



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                        Nominee Solicitation Statement applicable to such nominee or if the Nominee Solicitation Statement
                        applicable to such nominee contains an untrue statement of a material fact or omits to state a material
                        fact necessary to make the statements therein not misleading.
                             (b) The chairperson of the special meeting shall, if the facts warrant, determine and declare at the
                        meeting that a nomination or business was not made in accordance with the procedures prescribed by
                        these bylaws, and if the chairperson should so determine, he or she shall so declare at the meeting, and
                        the defective nomination or business shall be disregarded.
                         (iv) Other Requirements and Rights . In addition to the foregoing provisions of this Section 2.4, a
                    shareholder must also comply with all applicable requirements of state law and of the 1934 Act and the rules
                    and regulations thereunder with respect to the matters set forth in this Section 2.4. Nothing in this
                    Section 2.4 shall be deemed to affect any rights of:
                            (a) a shareholder to request inclusion of proposals in the corporation’s proxy statement pursuant
                        to Rule 14a-8 (or any successor provision) under the 1934 Act; or
                            (b) the corporation to omit a proposal from the corporation’s proxy statement pursuant to
                        Rule 14a-8 (or any successor provision) under the 1934 Act.
                    2.5 NOTICE OF SHAREHOLDERS’ MEETINGS
                  Whenever shareholders are required or permitted to take any action at a meeting, a written notice of the
             meeting shall be given which shall state the place, if any, date and hour of the meeting, the means of remote
             communications, if any, by which shareholders and proxy holders may be deemed to be present in person and
             vote at such meeting, the record date for determining the shareholders entitled to vote at the meeting, if such date
             is different from the record date for determining shareholders entitled to notice of the meeting, and, in the case of
             a special meeting, the purpose or purposes for which the meeting is called. Except as otherwise provided in the
             TBOC, the certificate of formation or these bylaws, the written notice of any meeting of shareholders shall be
             given not less than 10 nor more than 60 days before the date of the meeting to each shareholder entitled to vote
             at such meeting as of the record date for determining the shareholders entitled to notice of the meeting.
                    2.6 QUORUM
                  The holders of a majority of the stock issued and outstanding and entitled to vote, present in person or
             represented by proxy, shall constitute a quorum for the transaction of business at all meetings of the shareholders.
             Where a separate vote by a class or series or classes or series is required, a majority of the outstanding shares of
             such class or series or classes or series, present in person or represented by proxy, shall constitute a quorum
             entitled to take action with respect to that vote on that matter, except as otherwise provided by law, the certificate
             of formation or these bylaws
                  If a quorum is not present or represented at any meeting of the shareholders, then either (i) the chairperson
             of the meeting, or (ii) the shareholders entitled to vote at the meeting, present in person or represented by proxy,
             shall have power to adjourn the meeting from time to time, without notice other than announcement at the
             meeting, until a quorum is present or represented. At such adjourned meeting at which a quorum is present or
             represented, any business may be transacted that might have been transacted at the meeting as originally noticed.
                    2.7 ADJOURNED MEETING; NOTICE
                   When a meeting is adjourned to another time or place, unless these bylaws otherwise require, notice need not
             be given of the adjourned meeting if the time, place, if any, thereof, and the means of remote communications, if
             any, by which shareholders and proxy holders may be deemed to be present in person and vote at such adjourned
             meeting are announced at the meeting at which the adjournment is taken. At the adjourned meeting, the
             corporation may transact any business which might have been transacted at the original meeting. If the
             adjournment is for more than 30 days, a notice of the adjourned meeting shall be given to each shareholder of
             record entitled to vote at the meeting. If after the adjournment a new record date for shareholders entitled to vote
             is fixed for the adjourned meeting, the board of directors shall fix a new record date for notice of such adjourned
             meeting in accordance with Section 6.101 of the TBOC and Section 2.11 of these bylaws, and shall give notice of
             the adjourned meeting to each shareholder of record entitled to vote at such adjourned meeting as of the record
             date fixed for notice of such adjourned meeting.



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                    2.8 CONDUCT OF BUSINESS
                  The chairperson of any meeting of shareholders shall determine the order of business and the procedure at
             the meeting, including such regulation of the manner of voting and the conduct of business. The chairperson of
             any meeting of shareholders shall be designated by the board of directors; in the absence of such designation, the
             chairperson of the board, if any, the chief executive officer (in the absence of the chairperson) or the president (in
             the absence of the chairperson of the board and the chief executive officer), or in their absence any other
             executive officer of the corporation, shall serve as chairperson of the shareholder meeting.
                    2.9 VOTING
                  The shareholders entitled to vote at any meeting of shareholders shall be determined in accordance with the
             provisions of Section 2.11 of these bylaws, subject to Sections 6.251 and 6.252 (relating to voting rights of
             fiduciaries, pledgors and joint owners of stock), and Subchapter D of Chapter 6 (relating to voting of ownership
             interests), of the TBOC.
                 Except as may be otherwise provided in the certificate of formation or these bylaws, each shareholder shall
             be entitled to one vote for each share of capital stock held by such shareholder.
                  Except as otherwise required by law, the certificate of formation or these bylaws, the affirmative vote of a
             majority of the voting power of the shares present in person or represented by proxy at the meeting and entitled
             to vote on the subject matter shall be the act of the shareholders. Directors shall be elected by a majority of the
             voting power of the shares present in person or represented by proxy at the meeting and entitled to vote on the
             election of directors, provided, however, that the directors shall be elected by a plurality of the shares represented
             in person or by proxy at any such meeting and entitled to vote on the election of directors and cast in the election
             of directors at any meeting of shareholders for which (i) the secretary of the corporation receives a notice that a
             shareholder has nominated a person for election to the board of directors in compliance with the advance notice
             requirements for shareholder nominees for director set forth in Section 2.4 of these bylaws and (ii) such
             nomination has not been withdrawn by such shareholder on or prior to the tenth (10th) day preceding the date the
             corporation first mails its notice of meeting for such meeting to the shareholders. Where a separate vote by a
             class or series or classes or series is required, in all matters other than the election of directors, the affirmative
             vote of the majority of shares of such class or series or classes or series present in person or represented by proxy
             at the meeting shall be the act of such class or series or classes or series, except as otherwise provided by law,
             the certificate of formation or these bylaws.
                    2.10 SHAREHOLDER ACTION BY WRITTEN CONSENT WITHOUT A MEETING
                  Subject to the rights of the holders of the shares of any series of Preferred Stock or any other class of stock
             or series thereof that have been expressly granted the right to take action by less than unanimous written consent,
             any action required or permitted to be taken by the shareholders of the corporation by written consent, and not at
             a duly called annual or special meeting of shareholders of the corporation, may only be taken if such written
             consent is signed by all holders of shares entitled to vote on such action.
                    2.11 RECORD DATES
                  In order that the corporation may determine the shareholders entitled to notice of any meeting of
             shareholders or any adjournment thereof, the board of directors may fix a record date, which record date shall not
             precede the date upon which the resolution fixing the record date is adopted by the board of directors and which
             record date shall not be more than 60 nor less than 10 days before the date of such meeting. If the board of
             directors so fixes a date, such date shall also be the record date for determining the shareholders entitled to vote
             at such meeting unless the board of directors determines, at the time it fixes such record date, that a later date on
             or before the date of the meeting shall be the date for making such determination.
                  If no record date is fixed by the board of directors, the record date for determining shareholders entitled to
             notice of and to vote at a meeting of shareholders shall be at the close of business on the day next preceding the
             day on which notice is given, or, if notice is waived, at the close of business on the day next preceding the day
             on which the meeting is held.
                  A determination of shareholders of record entitled to notice of or to vote at a meeting of shareholders shall
             apply to any adjournment of the meeting; provided, however, that the board of directors may fix a new record
             date



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             for determination of shareholders entitled to vote at the adjourned meeting, and in such case shall also fix as the
             record date for shareholders entitled to notice of such adjourned meeting the same or an earlier date as that fixed
             for determination of shareholders entitled to vote in accordance with the provisions of Section 6.101 of the TBOC
             and this Section 2.11 at the adjourned meeting.

                  In order that the corporation may determine the shareholders entitled to receive payment of any dividend or
             other distribution or allotment of any rights or the shareholders entitled to exercise any rights in respect of any
             change, conversion or exchange of stock, or for the purpose of any other lawful action, the board of directors
             may fix a record date, which record date shall not precede the date upon which the resolution fixing the record
             date is adopted, and which record date shall be not more than 60 days prior to such action. If no record date is
             fixed, the record date for determining shareholders for any such purpose shall be at the close of business on the
             day on which the board of directors adopts the resolution relating thereto.
                    2.12 PROXIES
                  Each shareholder entitled to vote at a meeting of shareholders may authorize another person or persons to act
             for such shareholder by proxy authorized by an instrument in writing or by a transmission permitted by law filed
             in accordance with the procedure established for the meeting, but no such proxy shall be voted or acted upon
             after eleven months from its date, unless the proxy provides for a longer period. The revocability of a proxy that
             states on its face that it is irrevocable shall be governed by the provisions of Sections 21.368 and 21.369 of the
             TBOC. A written proxy may be in the form of a telegram, cablegram, or other means of electronic transmission
             which sets forth or is submitted with information from which it can be determined that the telegram, cablegram,
             or other means of electronic transmission was authorized by the person and as provided in Section 21.367 of the
             TBOC. Any shareholder directly or indirectly soliciting proxies from other shareholders must use a proxy card
             color other than white, which shall be reserved for the exclusive use by the board of directors.

                    2.13 LIST OF SHAREHOLDERS ENTITLED TO VOTE
                  The officer who has charge of the stock ledger of the corporation shall prepare and make, not later than the
             11 th day before each meeting of shareholders, a complete list of the shareholders entitled to vote at the meeting.
             The shareholder list shall be arranged in alphabetical order and show the address of each shareholder and the
             number of shares of each class registered in the name of each shareholder and such other information as required
             by the TBOC. The corporation shall not be required to include electronic mail addresses or other electronic
             contact information on such list. Such list shall be kept on file at the registered office or principal executive
             office of the corporation for at least 10 days prior to the date of the applicable meeting, and shall be open to the
             examination of any shareholder for any purpose germane to the meeting for a period of at least 10 days prior to
             the meeting (i) on a reasonably accessible electronic network, provided that the information required to gain
             access to such list is provided with the notice of the meeting, or (ii) during ordinary business hours, at the
             corporation’s principal place of business. In the event that the corporation determines to make the list available
             on an electronic network, the corporation may take reasonable steps to ensure that such information is available
             only to shareholders of the corporation. Such list shall presumptively determine the identity of the shareholders
             entitled to vote at the meeting and the number of shares held by each of them.
                    2.14 INSPECTORS OF ELECTION
                  Before any meeting of shareholders, the board of directors shall appoint an inspector or inspectors of
             election to act at the meeting or its adjournment. The number of inspectors shall be either one (1) or three (3). If
             any person appointed as inspector fails to appear or fails or refuses to act, then the chairperson of the meeting
             may, and upon the request of any shareholder or a shareholder’s proxy shall, appoint a person to fill that vacancy.
                  Each inspector, before entering upon the discharge of his or her duties, shall take and sign an oath to execute
             faithfully the duties of inspector with strict impartiality and according to the best of his or her ability. The
             inspector or inspectors so appointed and designated shall (i) ascertain the number of shares of capital stock of the
             corporation outstanding and the voting power of each share, (ii) determine the shares of capital stock of the
             corporation represented at the meeting and the validity of proxies and ballots, (iii) count all votes and ballots,
             (iv) determine and retain for a reasonable period a record of the disposition of any challenges made to any
             determination by the inspectors, and (v) certify their determination of the number of shares of capital stock of the
             corporation represented at the meeting and such inspector or inspectors’ count of all votes and ballots.



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                  In determining the validity and counting of proxies and ballots cast at any meeting of shareholders of the
             corporation, the inspector or inspectors may consider such information as is permitted by applicable law. If there
             are three (3) inspectors of election, the decision, act or certificate of a majority is effective in all respects as the
             decision, act or certificate of all.
                    2.15 PROXY ACCESS
                         (i) Whenever the board of directors solicits proxies with respect to the election of directors at an
                    annual meeting, subject to the provisions of this Section 2.15, the corporation shall include in its proxy
                    statement for such annual meeting, in addition to any persons nominated for election by or at the direction of
                    the board of directors (or any duly authorized committee thereof), the name, together with the Required
                    Information (as defined below), of any person nominated for election (the “ Shareholder Nominee ”) to the
                    board of directors by an Eligible Shareholder (as defined in Section 2.15(iv)) that expressly elects at the time
                    of providing the notice required by this Section 2.15 to have such nominee included in the corporation’s
                    proxy materials pursuant to this Section 2.15. For purposes of this Section 2.15, the “ Required Information ”
                    that the corporation will include in its proxy statement is (A) the information provided to the secretary of the
                    corporation concerning the Shareholder Nominee and the Eligible Shareholder that is required to be
                    disclosed in the corporation’s proxy statement pursuant to Section 14 of the 1934 Act and the rules and
                    regulations promulgated thereunder and (B) if the Eligible Shareholder so elects, a Supporting Statement (as
                    defined in Section 2.15(viii)). For the avoidance of doubt, nothing in this Section 2.15 shall limit the
                    corporation’s ability to solicit against any Shareholder Nominee or include in its proxy materials the
                    corporation’s own statements or other information relating to any Eligible Shareholder or Shareholder
                    Nominee, including any information provided to the corporation pursuant to this Section 2.15. Subject to the
                    provisions of this Section 2.15, the name of any Shareholder Nominee included in the corporation’s proxy
                    statement for an annual meeting shall also be set forth on the form of proxy distributed by the corporation in
                    connection with such annual meeting.
                         (ii) In addition to any other applicable requirements, for a nomination to be made by an Eligible
                    Shareholder pursuant to this Section 2.15, the Eligible Shareholder must have given timely notice of such
                    nomination (the “ Notice of Proxy Access Nomination ”) in proper written form to the secretary of the
                    corporation. To be timely, the Notice of Proxy Access Nomination must be delivered to or be mailed and
                    received by the secretary at the principal executive offices of the corporation not less than 120 days nor
                    more than 150 days prior to the first anniversary of the date that the corporation first distributed its proxy
                    statement to shareholders for the immediately preceding annual meeting. In no event shall any adjournment
                    or postponement of an annual meeting or the announcement thereof commence a new time period (or extend
                    any time period) for the giving of a Notice of Proxy Access Nomination pursuant to this Section 2.15.
                         (iii) The maximum number of Shareholder Nominees nominated by all Eligible Shareholders that will
                    be included in the corporation’s proxy materials with respect to an annual meeting shall not exceed the
                    greater of (A) two or (B) 20% of the number of directors in office as of the last day on which a Notice of
                    Proxy Access Nomination may be delivered pursuant to and in accordance with this Section 2.15 (the “ Final
                    Proxy Access Nomination Date ”) or, if such amount is not a whole number, the closest whole number below
                    20% (such greater number, as it may be adjusted pursuant to this Section 2.15, the “ Permitted Number ”). In
                    the event that one or more vacancies for any reason occurs on the board of directors after the Final Proxy
                    Access Nomination Date but before the date of the annual meeting and the board of directors resolves to
                    reduce the size of the board of directors in connection therewith, the Permitted Number shall be calculated
                    based on the number of directors in office as so reduced. For purposes of determining when the Permitted
                    Number has been reached, each of the following persons shall be counted as one of the Shareholder
                    Nominees: (A) any individual nominated by an Eligible Shareholder for inclusion in the corporation’s proxy
                    materials pursuant to this Section 2.15 whose nomination is subsequently withdrawn, (B) any individual
                    nominated by an Eligible Shareholder for inclusion in the corporation’s proxy materials pursuant to this
                    Section 2.15 whom the board of directors decides to nominate for election to the board of directors and
                    (C) any director in office as of the Final Proxy Access Nomination Date who was included in the
                    corporation’s proxy materials as a Shareholder Nominee for either of the two preceding annual meetings
                    (including any individual counted as a Shareholder Nominee pursuant to the immediately preceding clause
                    (B)) and whom the board of directors decides to nominate for re-election to the board of directors. Any
                    Eligible Shareholder submitting more than one Shareholder Nominee for inclusion in the corporation’s proxy
                    materials pursuant to this Section 2.15 shall rank such Shareholder Nominees based on the order in which
                    the Eligible Shareholder desires such Shareholder



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                    Nominees to be selected for inclusion in the corporation’s proxy materials in the event that the total number
                    of Shareholder Nominees submitted by Eligible Shareholders pursuant to this Section 2.15 exceeds the
                    Permitted Number. In the event that the number of Shareholder Nominees submitted by Eligible Shareholders
                    pursuant to this Section 2.15 exceeds the Permitted Number, the highest ranking Shareholder Nominee who
                    meets the requirements of this Section 2.15 from each Eligible Shareholder will be selected for inclusion in
                    the corporation’s proxy materials until the Permitted Number is reached, going in order of the amount
                    (largest to smallest) of shares of capital stock of the corporation each Eligible Shareholder disclosed as
                    owned in its Notice of Proxy Access Nomination. If the Permitted Number is not reached after the highest
                    ranking Shareholder Nominee who meets the requirements of this Section 2.15 from each Eligible
                    Shareholder has been selected, then the next highest ranking Shareholder Nominee who meets the
                    requirements of this Section 2.15 from each Eligible Shareholder will be selected for inclusion in the
                    corporation’s proxy materials, and this process will continue as many times as necessary, following the same
                    order each time, until the Permitted Number is reached. Notwithstanding anything to the contrary contained
                    in this Section 2.15, the corporation shall not be required to include any Shareholder Nominees in its proxy
                    materials pursuant to this Section 2.15 for any meeting of shareholders for which the secretary of the
                    corporation receives notice (whether or not subsequently withdrawn) that a shareholder intends to nominate
                    one or more persons for election to the board of directors pursuant to the advance notice requirements for
                    shareholder nominees set forth in Section 2.4.
                         (iv) An “ Eligible Shareholder ” is a shareholder or group of no more than 20 shareholders (counting as
                    one shareholder, for this purpose, any two or more funds that are part of the same Qualifying Fund Group
                    (as defined below)) that (A) has owned (as defined in Section 2.15(v)) continuously for at least three years
                    (the “ Minimum Holding Period ”) a number of shares of capital stock of the corporation that represents at
                    least 3% of the corporation’s outstanding capital stock as of the date the Notice of Proxy Access Nomination
                    is delivered to or mailed and received by the secretary of the corporation in accordance with this
                    Section 2.15 (the “ Required Shares ”), (B) continues to own the Required Shares through the date of the
                    annual meeting and (C) satisfies all other requirements of, and complies with all applicable procedures set
                    forth in, this Section 2.15. A “ Qualifying Fund Group ” is a group of two or more funds that are (A) under
                    common management and investment control, (B) under common management and funded primarily by the
                    same employer or (C) a “group of investment companies” as such term is defined in Section 13(d)(1)(G)(ii)
                    of the Investment Company Act of 1940, as amended. Whenever the Eligible Shareholder consists of a group
                    of shareholders (including a group of funds that are part of the same Qualifying Fund Group), (A) each
                    provision in this Section 2.15 that requires the Eligible Shareholder to provide any written statements,
                    representations, undertakings, agreements or other instruments or to meet any other conditions shall be
                    deemed to require each shareholder (including each individual fund) that is a member of such group to
                    provide such statements, representations, undertakings, agreements or other instruments and to meet such
                    other conditions (except that the members of such group may aggregate the shares that each member has
                    owned continuously for the Minimum Holding Period in order to meet the 3% ownership requirement of the
                    “Required Shares” definition) and (B) a breach of any obligation, agreement or representation under this
                    Section 2.15 by any member of such group shall be deemed a breach by the Eligible Shareholder. No person
                    may be a member of more than one group of shareholders constituting an Eligible Shareholder with respect
                    to any annual meeting.
                          (v) For purposes of this Section 2.15, an Eligible Shareholder shall be deemed to “ own ” only those
                    outstanding shares of capital stock of the corporation as to which the shareholder possesses both (A) the full
                    voting and investment rights pertaining to the shares and (B) the full economic interest in (including the
                    opportunity for profit from and risk of loss on) such shares; provided that the number of shares calculated in
                    accordance with clauses (A) and (B) shall not include any shares (1) sold by such shareholder or any of its
                    affiliates in any transaction that has not been settled or closed, (2) borrowed by such shareholder or any of
                    its affiliates for any purposes or purchased by such shareholder or any of its affiliates pursuant to an
                    agreement to resell or (3) subject to any option, warrant, forward contract, swap, contract of sale, other
                    derivative or similar instrument or agreement entered into by such shareholder or any of its affiliates,
                    whether any such instrument or agreement is to be settled with shares or with cash based on the notional
                    amount or value of shares of outstanding capital stock of the corporation, in any such case which instrument
                    or agreement has, or is intended to have, the purpose or effect of (x) reducing in any manner, to any extent
                    or at any time in the future, such shareholder’s or its affiliates’ full right to vote or direct the voting of any
                    such shares and/or (y) hedging, offsetting or altering to any degree any gain or loss realized or realizable
                    from maintaining the full economic ownership of such shares by such shareholder or affiliate. For purposes
                    of this Section 2.15, a shareholder shall “own” shares held in the name of a nominee or other intermediary
                    so long as the shareholder retains the



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                    right to instruct how the shares are voted with respect to the election of directors and possesses the full
                    economic interest in the shares. A shareholder’s ownership of shares shall be deemed to continue during any
                    period in which (A) the shareholder has loaned such shares; provided that the shareholder has the power to
                    recall such loaned shares on five business days’ notice and includes in its Notice of Proxy Access
                    Nomination an agreement that it (1) will promptly recall such loaned shares upon being notified that any of
                    its Shareholder Nominees will be included in the corporation’s proxy materials and (2) will continue to hold
                    such recalled shares through the date of the annual meeting or (B) the shareholder has delegated any voting
                    power by means of a proxy, power of attorney or other instrument or arrangement which is revocable at any
                    time by the shareholder. The terms “owned,” “owning” and other variations of the word “own” shall have
                    correlative meanings. Whether outstanding shares of the capital stock of the corporation are “owned” for
                    these purposes shall be determined by the board of directors (or any duly authorized committee thereof). For
                    purposes of this Section 2.15, the term “ affiliate ” or “ affiliates ” shall have the meaning ascribed thereto
                    under the General Rules and Regulations under the 1934 Act.
                       (vi) To be in proper written form for purposes of this Section 2.15, the Notice of Proxy Access
                    Nomination must include or be accompanied by the following:
                             (a) a written statement by the Eligible Shareholder certifying as to the number of shares it owns
                        and has owned continuously for the Minimum Holding Period, and the Eligible Shareholder’s agreement
                        to provide (1) within five business days following the later of the record date for the determination of
                        shareholders entitled to vote at the annual meeting or the date notice of the record date is first publicly
                        disclosed, a written statement by the Eligible Shareholder certifying as to the number of shares it owns
                        and has owned continuously through the record date and (2) immediate notice if the Eligible
                        Shareholder ceases to own any of the Required Shares prior to the date of the annual meeting;

                             (b) one or more written statements from the record holder of the Required Shares (and from each
                        intermediary through which the Required Shares are or have been held during the Minimum Holding
                        Period) verifying that, as of a date within seven calendar days prior to the date the Notice of Proxy
                        Access Nomination is delivered to or mailed and received by the secretary of the corporation, the
                        Eligible Shareholder owns, and has owned continuously for the Minimum Holding Period, the Required
                        Shares, and the Eligible Shareholder’s agreement to provide, within five business days following the
                        later of the record date for the determination of shareholders entitled to vote at the annual meeting or
                        the date notice of the record date is first publicly disclosed, one or more written statements from the
                        record holder and such intermediaries verifying the Eligible Shareholder’s continuous ownership of the
                        Required Shares through the record date;
                            (c) a copy of the Schedule 14N that has been or is concurrently being filed with the SEC as
                        required by Rule 14a-18 under the 1934 Act;
                             (d) the information and representations that would be required to be set forth in a shareholder’s
                        notice of a nomination pursuant to Section 2.4, together with the written consent of each Shareholder
                        Nominee to being named as a nominee in any proxy statement relating to the annual meeting and to
                        serving as a director if elected;
                              (e) a representation that the Eligible Shareholder (1) will continue to hold the Required Shares
                        through the date of the annual meeting, (2) acquired the Required Shares in the ordinary course of
                        business and not with the intent to change or influence control at the corporation, and does not presently
                        have such intent, (3) has not nominated and will not nominate for election to the board of directors at
                        the annual meeting any person other than the Shareholder Nominee(s) it is nominating pursuant to this
                        Section 2.15, (4) has not engaged and will not engage in, and has not and will not be a “participant” in
                        another person’s, “solicitation” within the meaning of Rule 14a-1(1) under the 1934 Act in support of
                        the election of any individual as a director at the annual meeting other than its Shareholder Nominee(s)
                        or a nominee of the board of directors, (5) has not distributed and will not distribute to any shareholder
                        of the corporation any form of proxy for the annual meeting other than the form distributed by the
                        corporation, (6) has complied and will comply with all laws and regulations applicable to solicitations
                        and the use, if any, of soliciting material in connection with the annual meeting, and (7) has provided
                        and will provide facts, statements and other information in all communications with the corporation and
                        its shareholders



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                        that are or will be true and correct in all material respects and do not and will not omit to state a
                        material fact necessary in order to make the statements made, in light of the circumstances under which
                        they were made, not misleading;

                             (f) an undertaking that the Eligible Shareholder agrees to (1) assume all liability stemming from
                        any legal or regulatory violation arising out of the Eligible Shareholder’s communications with the
                        shareholders of the corporation or out of the information that the Eligible Shareholder provided to the
                        corporation, (2) indemnify and hold harmless the corporation and each of its directors, officers and
                        employees individually against any liability, loss or damages in connection with any threatened or
                        pending action, suit or proceeding, whether legal, administrative or investigative, against the corporation
                        or any of its directors, officers or employees arising out of any nomination submitted by the Eligible
                        Shareholder pursuant to this Section 2.15 or any solicitation or other activity in connection therewith
                        and (3) file with the SEC any solicitation or other communication with the shareholders of the
                        corporation relating to the meeting at which its Shareholder Nominee(s) will be nominated, regardless of
                        whether any such filing is required under Regulation 14A of the 1934 Act or whether any exemption
                        from filing is available for such solicitation or other communication under Regulation 14A of the 1934
                        Act;

                             (g) the written representation and agreement from each Shareholder Nominee that such person
                        (1) is not and will not become a party to (x) any agreement, arrangement or understanding with, and has
                        not given any commitment or assurance to, any person or entity as to how such person, if elected as a
                        director of the corporation, will act or vote on any issue or question (a “ Voting Commitment ”) that has
                        not been disclosed to the corporation in such representation and agreement or (y) any Voting
                        Commitment that could limit or interfere with such person’s ability to comply, if elected as a director of
                        the corporation, with such person’s fiduciary duties under applicable law; (2) is not and will not become
                        a party to any agreement, arrangement or understanding with any person or entity other than the
                        corporation with respect to any direct or indirect compensation, reimbursement or indemnification in
                        connection with service or action as a director that has not been disclosed to the corporation in such
                        representation and agreement; (3) would be in compliance, if elected as a director of the corporation,
                        and will comply with the corporation’s code of business ethics, corporate governance guidelines and any
                        other policies or guidelines of the corporation applicable to directors; and (4) will make such other
                        acknowledgments, enter into such agreements and provide such information as the board of directors
                        requires of all directors, including promptly submitting all completed and signed questionnaires required
                        of the corporation’s directors;
                             (h) in the case of a nomination by a group of shareholders together constituting an Eligible
                        Shareholder, the designation by all group members of one member of the group that is authorized to
                        receive communications, notices and inquiries from the corporation and to act on behalf of all members
                        of the group with respect to all matters relating to the nomination under this Section 2.15 (including
                        withdrawal of the nomination); and

                             (i) in the case of a nomination by a group of shareholders together constituting an Eligible
                        Shareholder in which two or more funds that are part of the same Qualifying Fund Group are counted as
                        one shareholder for purposes of qualifying as an Eligible Shareholder, documentation reasonably
                        satisfactory to the corporation that demonstrates that the funds are part of the same Qualifying
                        Fund Group.

                         (vii) In addition to the information required pursuant to Section 2.15(vi) or any other provision of
                    these bylaws, (A) the corporation may require any proposed Shareholder Nominee to furnish any other
                    information (1) that may reasonably be requested by the corporation to determine whether the Shareholder
                    Nominee would be independent under the rules and listing standards of the principal United States securities
                    exchanges upon which the capital stock of the corporation is listed or traded, any applicable rules of the SEC
                    or any publicly disclosed standards used by the board of directors in determining and disclosing the
                    independence of the corporation’s directors (collectively, the “ Independence Standards ”), (2) that could be
                    material to a reasonable shareholder’s understanding of the independence, or lack thereof, of such
                    Shareholder Nominee or (3) that may reasonably be requested by the corporation to determine the eligibility
                    of such Shareholder Nominee to be included in the corporation’s proxy materials pursuant to this
                    Section 2.15 or to serve as a director of the corporation, and (B) the corporation may require the Eligible
                    Shareholder to furnish any other



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                    information that may reasonably be requested by the corporation to verify the Eligible Shareholder’s
                    continuous ownership of the Required Shares for the Minimum Holding Period.
                         (viii) The Eligible Shareholder may, at its option, provide to the secretary of the corporation, at the
                    time the Notice of Proxy Access Nomination is provided, a written statement, not to exceed 500 words, in
                    support of the candidacy of the Shareholder Nominee(s) (a “ Supporting Statement ”). Only one Supporting
                    Statement may be submitted by an Eligible Shareholder (including any group of shareholders together
                    constituting an Eligible Shareholder) in support of its Shareholder Nominee(s). Notwithstanding anything to
                    the contrary contained in this Section 2.15, the corporation may omit from its proxy materials any
                    information or Supporting Statement (or portion thereof) that it, in good faith, believes would violate any
                    applicable law or regulation.
                         (ix) In the event that any information or communications provided by an Eligible Shareholder or a
                    Shareholder Nominee to the corporation or its shareholders ceases to be true and correct in all material
                    respects or omits to state a material fact necessary in order to make the statements made, in light of the
                    circumstances under which they were made, not misleading, such Eligible Shareholder or Shareholder
                    Nominee, as the case may be, shall promptly notify the secretary of the corporation of any such defect in
                    such previously provided information and of the information that is required to correct any such defect; it
                    being understood that providing such notification shall not be deemed to cure any such defect or limit the
                    remedies available to the corporation relating to any such defect (including the right to omit a Shareholder
                    Nominee from its proxy materials pursuant to this Section 2.15). In addition, any person providing any
                    information to the corporation pursuant to this Section 2.15 shall further update and supplement such
                    information, if necessary, so that all such information shall be true and correct as of the record date for the
                    determination of shareholders entitled to vote at the annual meeting, and such update and supplement shall
                    be delivered to or be mailed and received by the secretary at the principal executive offices of the
                    corporation not later than five business days following the later of the record date for the determination of
                    shareholders entitled to vote at the annual meeting or the date notice of the record date is first publicly
                    disclosed.
                         (x) Notwithstanding anything to the contrary contained in this Section 2.15, the corporation shall not
                    be required to include in its proxy materials, pursuant to this Section 2.15, any Shareholder Nominee
                    (A) who would not be an independent director under the Independence Standards, (B) whose election as a
                    member of the board of directors would cause the corporation to be in violation of these bylaws, the
                    certificate of formation, the rules and listing standards of the principal United States securities exchanges
                    upon which the capital stock of the corporation is listed or traded, or any applicable law, rule or regulation,
                    (C) who is or has been, within the past three years, an officer or director of a competitor, as defined in
                    Section 8 of the Clayton Antitrust Act of 1914, as amended, (D) who is a named subject of a pending
                    criminal proceeding (excluding traffic violations and other minor offenses) or has been convicted in such a
                    criminal proceeding within the past 10 years, (E) who is subject to any order of the type specified in
                    Rule 506(d) of Regulation D promulgated under the Securities Act of 1933, as amended, or (F) who shall
                    have provided any information to the corporation or its shareholders that was untrue in any material respect
                    or that omitted to state a material fact necessary in order to make the statements made, in light of the
                    circumstances under which they were made, not misleading.

                          (xi) Notwithstanding anything to the contrary set forth herein, if (A) a Shareholder Nominee and/or the
                    applicable Eligible Shareholder breaches any of its agreements or representations or fails to comply with any
                    of its obligations under this Section 2.15 or (B) a Shareholder Nominee otherwise becomes ineligible for
                    inclusion in the corporation’s proxy materials pursuant to this Section 2.15 or dies, becomes disabled or
                    otherwise becomes ineligible or unavailable for election at the annual meeting, in each case as determined by
                    the board of directors (or any duly authorized committee thereof) or the chairman of the annual meeting,
                    (1) the corporation may omit or, to the extent feasible, remove the information concerning such Shareholder
                    Nominee and the related Supporting Statement from its proxy materials and/or otherwise communicate to its
                    shareholders that such Shareholder Nominee will not be eligible for election at the annual meeting, (2) the
                    corporation shall not be required to include in its proxy materials any successor or replacement nominee
                    proposed by the applicable Eligible Shareholder or any other Eligible Shareholder and (3) the board of
                    directors (or any duly authorized committee thereof) or the chairman of the annual meeting shall declare
                    such nomination to be invalid and such nomination shall be disregarded notwithstanding that proxies in
                    respect of such vote may have been received by the corporation. In addition, if the Eligible Shareholder (or a
                    representative thereof) does not appear at the annual meeting to present any nomination pursuant to this
                    Section 2.15, such nomination shall be declared invalid and disregarded as provided in clause (3) above.



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                         (xii) Any Shareholder Nominee who is included in the corporation’s proxy materials for a particular
                    annual meeting but either (A) withdraws from or becomes ineligible or unavailable for election at the annual
                    meeting, or (B) does not receive at least 25% of the votes cast in favor of such Shareholder Nominee’s
                    election, will be ineligible to be a Shareholder Nominee pursuant to this Section 2.15 for the next two annual
                    meetings. For the avoidance of doubt, the immediately preceding sentence shall not prevent any shareholder
                    from nominating any person to the board of directors pursuant to and in accordance with Section 2.4.
                  Other than Rule 14a-19 under the 1934 Act, this Section 2.15 provides the exclusive method for a
             shareholder to include nominees for election to the board of directors in the corporation’s proxy statement.

                                                         ARTICLE III — DIRECTORS
                    3.1 POWERS
                  The business and affairs of the corporation shall be managed by or under the direction of the board of
             directors, except as may be otherwise provided in the TBOC or the certificate of formation.

                    3.2 NUMBER OF DIRECTORS

                  The board of directors shall consist of one or more members, each of whom shall be a natural person. Unless
             the certificate of formation fixes the number of directors, the number of directors shall be determined from time
             to time solely by resolution of the board of directors. No reduction of the authorized number of directors shall
             have the effect of removing any director before that director’s term of office expires.

                    3.3 ELECTION, QUALIFICATION AND TERM OF OFFICE OF DIRECTORS
                  Except as provided in Section 3.4 of these bylaws, each director, including a director elected to fill a
             vacancy, shall hold office until the expiration of the term for which elected and until such director’s successor is
             elected and qualified or until such director’s earlier death, resignation or removal. Directors need not be
             shareholders unless so required by the certificate of formation or these bylaws. The certificate of formation or
             these bylaws may prescribe other qualifications for directors.

                    3.4 RESIGNATION AND VACANCIES
                  Any director may resign at any time upon notice given in writing or by electronic transmission to the
             corporation; provided, however , that if such notice is given by electronic transmission, such electronic
             transmission must either set forth or be submitted with information from which it can be determined that the
             electronic transmission was authorized by the director. A resignation is effective when the resignation is received
             by the corporation unless the resignation specifies a later effective date or an effective date determined upon the
             happening of an event or events. Acceptance of such resignation shall not be necessary to make it effective. A
             resignation which is conditioned upon the director failing to receive a specified vote for reelection as a director
             may provide that it is irrevocable. Unless otherwise provided in the certificate of formation or these bylaws,
             when one or more directors resign from the board of directors, effective at a future date, a majority of the
             directors then in office, including those who have so resigned, shall have the power to fill such vacancy or
             vacancies, the vote thereon to take effect when such resignation or resignations shall become effective.

                  Unless otherwise provided in the certificate of formation or these bylaws, vacancies and newly created
             directorships resulting from any increase in the authorized number of directors may be filled in any manner
             permitted by the TBOC, including by (1) the board of directors at any meeting of the board of directors by vote
             of a majority of the remaining members of the board of directors, although less than a quorum, or (2) a sole
             remaining director, in each case to the extent permitted by the TBOC; provided , that the term of any director
             appointed by the majority of the directors then in office to fill a vacancy shall last only until the next annual
             meeting of shareholders or special meeting of shareholders called to vote on the election of directors. If the
             directors are divided into classes, a person so elected or appointed to fill a vacancy or newly created directorship
             shall hold office until the next election of the class for which such director shall have been chosen and until his
             or her successor shall have been duly elected and qualified.



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                    3.5 PLACE OF MEETINGS; MEETINGS BY TELEPHONE
                 The board of directors may hold meetings, both regular and special, either within or outside the State of
             Texas.

                  Unless otherwise restricted by the certificate of formation or these bylaws, members of the board of
             directors, or any committee designated by the board of directors, may participate in a meeting of the board of
             directors, or any committee, by means of conference telephone or other communications equipment by means of
             which all persons participating in the meeting can hear each other, and such participation in a meeting shall
             constitute presence in person at the meeting.
                    3.6 REGULAR MEETINGS
                 Regular meetings of the board of directors may be held without notice at such time and at such place as shall
             from time to time be determined by the board of directors.
                    3.7 SPECIAL MEETINGS; NOTICE

                  Special meetings of the board of directors for any purpose or purposes may be called at any time by the
             chairperson of the board of directors, the chief executive officer, the president, the secretary or a majority of the
             authorized number of directors, at such times and places as he or she or they shall designate.

                    Notice of the time and place of special meetings shall be:

                        (i) delivered personally by hand, by courier or by telephone;
                        (ii) sent by United States first-class mail, postage prepaid;

                        (iii) sent by facsimile; or
                        (iv) sent by electronic mail,

             directed to each director at that director’s address, telephone number, facsimile number or electronic mail address,
             as the case may be, as shown on the corporation’s records.

                  If the notice is (i) delivered personally by hand, by courier or by telephone, (ii) sent by facsimile or (iii) sent
             by electronic mail, it shall be delivered or sent at least 24 hours before the time of the holding of the meeting. If
             the notice is sent by United States mail, it shall be deposited in the United States mail at least four days before
             the time of the holding of the meeting. Any oral notice may be communicated to the director. The notice need not
             specify the place of the meeting (if the meeting is to be held at the corporation’s principal executive office) nor
             the purpose of the meeting.
                    3.8 QUORUM; VOTING

                  At all meetings of the board of directors, a majority of the total authorized number of directors shall
             constitute a quorum for the transaction of business. If a quorum is not present at any meeting of the board of
             directors, then the directors present thereat may adjourn the meeting from time to time, without notice other than
             announcement at the meeting, until a quorum is present. A meeting at which a quorum is initially present may
             continue to transact business notwithstanding the withdrawal of directors, if any action taken is approved by at
             least a majority of the required quorum for that meeting.

                  The vote of a majority of the directors present at any meeting at which a quorum is present shall be the act
             of the board of directors, except as may be otherwise specifically provided by statute, the certificate of formation
             or these bylaws. To the maximum extent permitted by the TBOC, in the event a director or directors abstain or
             are disqualified from a vote, the majority vote of the director or the directors thereof not abstaining or
             disqualified from voting, whether or not such director or directors constitute a quorum, shall be the act of the
             board of directors.
                  If the certificate of formation provides that one or more directors shall have more or less than one vote per
             director on any matter, every reference in these bylaws to a majority or other proportion of the directors shall
             refer to a majority or other proportion of the votes of the directors.



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                    3.9 BOARD ACTION BY WRITTEN CONSENT WITHOUT A MEETING
                   Unless otherwise restricted by the certificate of formation or these bylaws, any action required or permitted
             to be taken at any meeting of the board of directors, or of any committee thereof, may be taken without a meeting
             if all members of the board of directors or committee, as the case may be, consent thereto in writing or by
             electronic transmission and the writing or writings or electronic transmission or transmissions are filed with the
             minutes of proceedings of the board of directors or committee. Such filing shall be in paper form if the minutes
             are maintained in paper form and shall be in electronic form if the minutes are maintained in electronic form.
                    3.10 FEES AND COMPENSATION OF DIRECTORS
                  Unless otherwise restricted by the certificate of formation or these bylaws, the board of directors shall have
             the authority to fix the compensation of directors.
                    3.11 REMOVAL OF DIRECTORS
                    A director may be removed from office by the shareholders of the corporation only for cause.

                  No reduction of the authorized number of directors shall have the effect of removing any director prior to the
             expiration of such director’s term of office.

                                                        ARTICLE IV — COMMITTEES

                    4.1 COMMITTEES OF DIRECTORS
                  The board of directors may designate one or more committees, each committee to consist of one or more of
             the directors of the corporation. The board of directors may designate one or more directors as alternate members
             of any committee, who may replace any absent or disqualified member at any meeting of the committee. In the
             absence or disqualification of a member of a committee, the member or members thereof present at any meeting
             and not disqualified from voting, whether or not such member or members constitute a quorum, may unanimously
             appoint another member of the board of directors to act at the meeting in the place of any such absent or
             disqualified member. In the event a member or members of a committee abstain or are disqualified from a vote,
             the majority vote of the member or members thereof not abstaining or disqualified from voting, whether or not
             such member or members constitute a quorum, shall be the act of such committee. Any such committee, to the
             extent provided in the resolution of the board of directors or in these bylaws, shall have and may exercise all the
             powers and authority of the board of directors in the management of the business and affairs of the corporation,
             and may authorize the seal of the corporation to be affixed to all papers that may require it; but no such
             committee shall have the power or authority to (i) approve or adopt, or recommend to the shareholders, any
             action or matter (other than the election or removal of directors) expressly required by the TBOC to be submitted
             to shareholders for approval or which otherwise may not be delegated to a committee, or (ii) adopt, amend or
             repeal any bylaw of the corporation.

                    4.2 COMMITTEE MINUTES
                 Each committee shall keep regular minutes of its meetings and report the same to the board of directors
             when required.
                    4.3 MEETINGS AND ACTION OF COMMITTEES

                 Meetings and actions of committees shall be governed by, and held and taken in accordance with, the
             provisions of:

                        (i) Section 3.5 (place of meetings and meetings by telephone);
                        (ii) Section 3.6 (regular meetings);
                        (iii) Section 3.7 (special meetings; notice);
                        (iv) Section 3.8 (quorum; voting);

                        (v) Section 3.9 (action without a meeting); and



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                        (vi) Section 7.5 (waiver of notice)
             with such changes in the context of those bylaws as are necessary to substitute the committee and its members
             for the board of directors and its members. However :
                        (i) the time of regular meetings of committees may be determined by resolution of the committee;
                        (ii) special meetings of committees may also be called by resolution of the committee; and
                        (iii) notice of special meetings of committees shall also be given to all alternate members, who shall
                    have the right to attend all meetings of the committee. The board of directors may adopt rules for the
                    government of any committee not inconsistent with the provisions of these bylaws.
                  Any provision in the certificate of formation providing that one or more directors shall have more or less
             than one vote per director on any matter shall apply to voting in any committee or subcommittee, unless
             otherwise provided in the certificate of formation or these bylaws.
                    4.4 SUBCOMMITTEES
                  Unless otherwise provided in the certificate of formation, these bylaws or the resolutions of the board of
             directors designating the committee, a committee may create one or more subcommittees, each subcommittee to
             consist of one or more members of the committee, and delegate to a subcommittee any or all of the powers and
             authority of the committee.

                                                          ARTICLE V — OFFICERS
                    5.1 OFFICERS
                  The officers of the corporation shall be a president and a secretary. The corporation may also have, at the
             discretion of the board of directors, a chairperson of the board of directors, a vice chairperson of the board of
             directors, a chief executive officer, a chief financial officer or treasurer, one or more vice presidents, one or more
             assistant vice presidents, one or more assistant treasurers, one or more assistant secretaries, and any such other
             officers as may be appointed in accordance with the provisions of these bylaws. Any number of offices may be
             held by the same person.
                    5.2 APPOINTMENT OF OFFICERS
                  The board of directors shall appoint the officers of the corporation, except such officers as may be appointed
             in accordance with the provisions of Section 5.3 of these bylaws, subject to the rights, if any, of an officer under
             any contract of employment. A vacancy in any office because of death, resignation, removal, disqualification or
             any other cause shall be filled in the manner prescribed in this Article V for the regular appointment to such
             office.
                    5.3 SUBORDINATE OFFICERS
                  The board of directors may appoint, or empower the chief executive officer or, in the absence of a chief
             executive officer, the president, to appoint, such other officers and agents as the business of the corporation may
             require. Each of such officers and agents shall hold office for such period, have such authority, and perform such
             duties as are provided in these bylaws or as the board of directors may from time to time determine.

                    5.4 REMOVAL AND RESIGNATION OF OFFICERS
                  Subject to the rights, if any, of an officer under any contract of employment, any officer may be removed,
             either with or without cause, by an affirmative vote of the majority of the board of directors at any regular or
             special meeting of the board of directors or, except in the case of an officer chosen by the board of directors, by
             any officer upon whom such power of removal may be conferred by the board of directors.

                  Any officer may resign at any time by giving written or electronic notice to the corporation; provided,
             however , that if such notice is given by electronic transmission, such electronic transmission must either set forth
             or be submitted with information from which it can be determined that the electronic transmission was authorized
             by the officer. Any resignation shall take effect at the date of the receipt of that notice or at any later time
             specified in that notice. Unless otherwise specified in the notice of resignation, the acceptance of the resignation
             shall not be



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             necessary to make it effective. Any resignation is without prejudice to the rights, if any, of the corporation under
             any contract to which the officer is a party.
                    5.5 VACANCIES IN OFFICES
                 Any vacancy occurring in any office of the corporation shall be filled by the board of directors or as
             provided in Section 5.3.
                    5.6 REPRESENTATION OF SHARES OF OTHER CORPORATIONS
                  The chairperson of the board of directors, the president, any vice president, the treasurer, the secretary or
             assistant secretary of this corporation, or any other person authorized by the board of directors or the president or
             a vice president, is authorized to vote, represent, and exercise on behalf of this corporation all rights incident to
             any and all shares of any other corporation or corporations standing in the name of this corporation. The authority
             granted herein may be exercised either by such person directly or by any other person authorized to do so by
             proxy or power of attorney duly executed by such person having the authority.
                    5.7 AUTHORITY AND DUTIES OF OFFICERS
                  All officers of the corporation shall respectively have such authority and perform such duties in the
             management of the business of the corporation as may be designated from time to time by the board of directors
             and, to the extent not so provided, as generally pertain to their respective offices, subject to the control of the
             board of directors.
                    5.8 THE CHAIRPERSON OF THE BOARD
                  The chairperson of the board shall have the powers and duties customarily and usually associated with the
             office of the chairperson of the board. The chairperson of the board shall preside at meetings of the shareholders
             and of the board of directors.
                    5.9 THE VICE CHAIRPERSON OF THE BOARD
                  The vice chairperson of the board shall have the powers and duties customarily and usually associated with
             the office of the vice chairperson of the board. In the case of absence or disability of the chairperson of the
             board, the vice chairperson of the board shall perform the duties and exercise the powers of the chairperson of
             the board.
                    5.10 THE CHIEF EXECUTIVE OFFICER
                  The chief executive officer shall have, subject to the supervision, direction and control of the board of
             directors, ultimate authority for decisions relating to the supervision, direction and management of the affairs and
             the business of the corporation customarily and usually associated with the position of chief executive officer,
             including, without limitation, all powers necessary to direct and control the organizational and reporting
             relationships within the corporation. If at any time the office of the chairperson and vice chairperson of the board
             shall not be filled, or in the event of the temporary absence or disability of the chairperson of the board and the
             vice chairperson of the board, the chief executive officer shall perform the duties and exercise the powers of the
             chairperson of the board unless otherwise determined by the board of directors.
                    5.11 THE PRESIDENT
                  The president shall have, subject to the supervision, direction and control of the board of directors, the
             general powers and duties of supervision, direction and management of the affairs and business of the corporation
             customarily and usually associated with the position of president. The president shall have such powers and
             perform such duties as may from time to time be assigned to him or her by the board of directors, the chairperson
             of the board or the chief executive officer. In the event of the absence or disability of the chief executive officer,
             the president shall perform the duties and exercise the powers of the chief executive officer unless otherwise
             determined by the board of directors.
                    5.12 THE VICE PRESIDENTS AND ASSISTANT VICE PRESIDENTS
                  Each vice president and assistant vice president shall have such powers and perform such duties as may from
             time to time be assigned to him or her by the board of directors, the chairperson of the board, the chief executive
             officer or the president.



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                    5.13 THE SECRETARY AND ASSISTANT SECRETARIES
                         (i) The secretary shall attend meetings of the board of directors and meetings of the shareholders and
                    record all votes and minutes of all such proceedings in a book or books kept for such purpose. The secretary
                    shall have all such further powers and duties as are customarily and usually associated with the position of
                    secretary or as may from time to time be assigned to him or her by the board of directors, the chairperson of
                    the board, the chief executive officer or the president.
                         (ii) Each assistant secretary shall have such powers and perform such duties as may from time to time
                    be assigned to him or her by the board of directors, the chairperson of the board, the chief executive officer,
                    the president or the secretary. In the event of the absence, inability or refusal to act of the secretary, the
                    assistant secretary (or if there shall be more than one, the assistant secretaries in the order determined by the
                    board of directors) shall perform the duties and exercise the powers of the secretary.
                    5.14 THE CHIEF FINANCIAL OFFICER AND ASSISTANT TREASURERS
                         (i) The chief financial officer shall be the treasurer of the corporation. The chief financial officer shall
                    have custody of the corporation’s funds and securities, shall be responsible for maintaining the corporation’s
                    accounting records and statements, shall keep full and accurate accounts of receipts and disbursements in
                    books belonging to the corporation, and shall deposit or cause to be deposited moneys or other valuable
                    effects in the name and to the credit of the corporation in such depositories as may be designated by the
                    board of directors. The chief financial officer shall also maintain adequate records of all assets, liabilities
                    and transactions of the corporation and shall assure that adequate audits thereof are currently and regularly
                    made. The chief financial officer shall have all such further powers and duties as are customarily and usually
                    associated with the position of chief financial officer, or as may from time to time be assigned to him or her
                    by the board of directors, the chairperson, the chief executive officer or the president.
                         (ii) Each assistant treasurer shall have such powers and perform such duties as may from time to time
                    be assigned to him or her by the board of directors, the chief executive officer, the president or the chief
                    financial officer. In the event of the absence, inability or refusal to act of the chief financial officer, the
                    assistant treasurer (or if there shall be more than one, the assistant treasurers in the order determined by the
                    board of directors) shall perform the duties and exercise the powers of the chief financial officer.

                                                             ARTICLE VI — STOCK
                    6.1 STOCK CERTIFICATES
                  The shares of the corporation shall be represented by certificates, provided that the board of directors may
             provide by resolution or resolutions that some or all of any or all classes or series of its stock shall be
             uncertificated shares. Any such resolution shall not apply to shares represented by a certificate until such
             certificate is surrendered to the corporation. Every holder of stock represented by certificates shall be entitled to
             have a certificate signed by, or in the name of the corporation by the chairperson of the board of directors or vice
             chairperson of the board of directors, or the president or a vice president, and by the treasurer or an assistant
             treasurer, or the secretary or an assistant secretary of the corporation representing the number of shares registered
             in certificate form. Any or all of the signatures on the certificate may be a facsimile. In case any officer, transfer
             agent or registrar who has signed or whose facsimile signature has been placed upon a certificate has ceased to be
             such officer, transfer agent or registrar before such certificate is issued, it may be issued by the corporation with
             the same effect as if such person were such officer, transfer agent or registrar at the date of issue. The corporation
             shall not have the power to issue a certificate in bearer form.
                    6.2 SPECIAL DESIGNATION ON CERTIFICATES
                  If the corporation is authorized to issue more than one class of stock or more than one series of any class,
             then the powers, the designations, the preferences, and the relative, participating, optional or other special rights
             of each class of stock or series thereof and the qualifications, limitations or restrictions of such preferences and/or
             rights shall be set forth in full or summarized on the face or back of the certificate that the corporation shall issue
             to represent such class or series of stock; provided, however , that, except as otherwise provided in Section 3.202
             of the TBOC, in lieu of the foregoing requirements there may be set forth on the face or back of the certificate
             that the corporation shall issue to represent such class or series of stock, a statement that the corporation will
             furnish without



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             charge to each shareholder who so requests the powers, designations, preferences and relative, participating,
             optional or other special rights of each class of stock or series thereof and the qualifications, limitations or
             restrictions of such preferences and/or rights. Within a reasonable time after the issuance or transfer of
             uncertificated stock, the corporation shall send to the registered owner thereof a written notice containing the
             information required to be set forth or stated on certificates pursuant to this Section 6.2 or Section 3.205 of the
             TBOC or with respect to this Section 6.2 a statement that the corporation will furnish without charge to each
             shareholder who so requests the powers, designations, preferences and relative, participating, optional or other
             special rights of each class of stock or series thereof and the qualifications, limitations or restrictions of such
             preferences and/or rights. Except as otherwise expressly provided by law, the rights and obligations of the holders
             of uncertificated stock and the rights and obligations of the holders of certificates representing stock of the same
             class and series shall be identical.
                    6.3 LOST, STOLEN OR DESTROYED CERTIFICATES
                  Except as provided in this Section 6.3, no new certificates for shares shall be issued to replace a previously
             issued certificate unless the latter is surrendered to the corporation and cancelled at the same time. The
             corporation may issue a new certificate of stock or uncertificated shares in the place of any certificate theretofore
             issued by it, alleged to have been lost, stolen or destroyed, and the corporation may require the owner of the lost,
             stolen or destroyed certificate, or such owner’s legal representative, to give the corporation a bond sufficient to
             indemnify it against any claim that may be made against it on account of the alleged loss, theft or destruction of
             any such certificate or the issuance of such new certificate or uncertificated shares.

                    6.4 DIVIDENDS

                  The board of directors, subject to any restrictions contained in the certificate of formation or applicable law,
             may declare and pay dividends upon the shares of the corporation’s capital stock. Dividends may be paid in cash,
             in property, or in shares of the corporation’s capital stock, subject to the provisions of the certificate of formation.
                  The board of directors may set apart out of any of the funds of the corporation available for dividends a
             reserve or reserves for any proper purpose and may abolish any such reserve. Such purposes shall include but not
             be limited to equalizing dividends, repairing or maintaining any property of the corporation, and meeting
             contingencies.
                    6.5 TRANSFER OF STOCK

                  Transfers of record of shares of stock of the corporation shall be made only upon its books by the holders
             thereof, in person or by an attorney duly authorized, and, if such stock is certificated, upon the surrender of a
             certificate or certificates for a like number of shares, properly endorsed or accompanied by proper evidence of
             succession, assignation or authority to transfer; provided, however, that such succession, assignment or authority
             to transfer is not prohibited by the certificate of formation, these bylaws, applicable law or contract.

                    6.6 STOCK TRANSFER AGREEMENTS
                  The corporation shall have the power to enter into and perform any agreement with any number of
             shareholders of any one or more classes of stock of the corporation to restrict the transfer of shares of stock of
             the corporation of any one or more classes owned by such shareholders in any manner not prohibited by the
             TBOC.
                    6.7 REGISTERED SHAREHOLDERS

                    The corporation:
                         (i) shall be entitled to recognize the exclusive right of a person registered on its books as the owner of
                    shares to receive dividends and to vote as such owner;
                       (ii) shall be entitled to hold liable for calls and assessments the person registered on its books as the
                    owner of shares; and
                         (iii) shall not be bound to recognize any equitable or other claim to or interest in such share or shares
                    on the part of another person, whether or not it shall have express or other notice thereof, except as
                    otherwise provided by the laws of Texas.



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                                       ARTICLE VII — MANNER OF GIVING NOTICE AND WAIVER
                    7.1 NOTICE OF SHAREHOLDERS’ MEETINGS
                  Notice of any meeting of shareholders, if mailed, is given when deposited in the United States mail, postage
             prepaid, directed to the shareholder at such shareholder’s address as it appears on the corporation’s records. An
             affidavit of the secretary or an assistant secretary of the corporation or of the transfer agent or other agent of the
             corporation that the notice has been given shall, in the absence of fraud, be prima facie evidence of the facts
             stated therein.
                    7.2 NOTICE BY ELECTRONIC TRANSMISSION
                  Without limiting the manner by which notice otherwise may be given effectively to shareholders pursuant to
             the TBOC, the certificate of formation or these bylaws, any notice to shareholders given by the corporation under
             any provision of the TBOC, the certificate of formation or these bylaws shall be effective if given by a form of
             electronic transmission consented to by the shareholder to whom the notice is given. Any such consent shall be
             revocable by the shareholder by written notice to the corporation. Any such consent shall be deemed revoked if:
                        (i) the corporation is unable to deliver by electronic transmission two consecutive notices given by the
                    corporation in accordance with such consent; and
                         (ii) such inability becomes known to the secretary or an assistant secretary of the corporation or to the
                    transfer agent, or other person responsible for the giving of notice.
                  However, the inadvertent failure to treat such inability as a revocation shall not invalidate any meeting or
             other action.
                    Any notice given pursuant to the preceding paragraph shall be deemed given:
                        (i) if by facsimile telecommunication, when transmitted to a number at which the shareholder has
                    consented to receive notice;
                        (ii) if by electronic mail, when transmitted to an electronic mail address at which the shareholder has
                    consented to receive notice;
                        (iii) if by a posting on an electronic network together with separate notice to the shareholder of such
                    specific posting, upon the later of (A) such posting and (B) the giving of such separate notice; and
                        (iv) if by any other form of electronic transmission, when communicated to the shareholder.
                 An affidavit of the secretary or an assistant secretary or of the transfer agent or other agent of the
             corporation that the notice has been given by a form of electronic transmission shall, in the absence of fraud, be
             prima facie evidence of the facts stated therein.
                  An “ electronic transmission ” means any form of communication, not directly involving the physical
             transmission of paper, that creates a record that may be retained, retrieved, and reviewed by a recipient thereof,
             and that may be directly reproduced in paper form by such a recipient through an automated process.
                    7.3 NOTICE TO SHAREHOLDERS SHARING AN ADDRESS
                  To the extent permitted under the TBOC, without limiting the manner by which notice otherwise may be
             given effectively to shareholders, any notice to shareholders given by the corporation under the provisions of the
             TBOC, the certificate of formation or these bylaws shall be effective if given by a single written notice to
             shareholders who share an address if consented to by the shareholders at that address to whom such notice is
             given. Any such consent shall be revocable by the shareholder by written notice to the corporation. Any
             shareholder who fails to object in writing to the corporation, within 60 days of having been given written notice
             by the corporation of its intention to send the single notice, shall be deemed to have consented to receiving such
             single written notice.
                    7.4 WAIVER OF NOTICE
                  Whenever notice is required to be given to shareholders, directors or other persons under any provision of
             the TBOC, the certificate of formation or these bylaws, a written waiver, signed by the person entitled to notice,
             or a



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             waiver by electronic transmission by the person entitled to notice, whether before or after the time of the event
             for which notice is to be given, shall be deemed equivalent to notice. Attendance of a person at a meeting shall
             constitute a waiver of notice of such meeting, except when the person participates in or attends a meeting solely
             to object to the transaction of business because the meeting is not lawfully called or convened. Neither the
             business to be transacted at, nor the purpose of, any regular or special meeting of the shareholders or the board of
             directors, as the case may be, need be specified in any written waiver of notice or any waiver by electronic
             transmission unless so required by the certificate of formation or these bylaws.

                                                   ARTICLE VIII — INDEMNIFICATION
                    8.1 INDEMNIFICATION OF DIRECTORS AND OFFICERS IN THIRD PARTY PROCEEDINGS
                  Subject to the other provisions of this Article VIII, the corporation shall indemnify, to the fullest extent
             permitted by the TBOC, as now or hereinafter in effect, any person who was or is a party or is threatened to be
             made a party to any threatened, pending or completed action, suit or proceeding, whether civil, criminal,
             administrative or investigative (a “ Proceeding ”) (other than an action by or in the right of the corporation) by
             reason of the fact that such person is or was a director of the corporation or an officer of the corporation, or
             while a director of the corporation or officer of the corporation is or was serving at the request of the corporation
             as a director, officer, employee or agent of another corporation, partnership, joint venture, trust or other
             enterprise, against expenses (including attorneys’ fees), judgments, fines and amounts paid in settlement actually
             and reasonably incurred by such person in connection with such Proceeding if such person acted in good faith
             and in a manner such person reasonably believed to be in or not opposed to the best interests of the corporation,
             and, with respect to any criminal action or proceeding, had no reasonable cause to believe such person’s conduct
             was unlawful. The termination of any Proceeding by judgment, order, settlement, conviction, or upon a plea of
             nolo contendere or its equivalent, shall not, of itself, create a presumption that the person did not act in good
             faith and in a manner which such person reasonably believed to be in or not opposed to the best interests of the
             corporation, and, with respect to any criminal action or proceeding, had reasonable cause to believe that such
             person’s conduct was unlawful.

                8.2 INDEMNIFICATION OF DIRECTORS AND OFFICERS IN ACTIONS BY OR IN THE RIGHT OF
             THE CORPORATION

                  Subject to the other provisions of this Article VIII, the corporation shall indemnify, to the fullest extent
             permitted by the TBOC, as now or hereinafter in effect, any person who was or is a party or is threatened to be
             made a party to any threatened, pending or completed action or suit by or in the right of the corporation to
             procure a judgment in its favor by reason of the fact that such person is or was a director or officer of the
             corporation, or while a director or officer of the corporation is or was serving at the request of the corporation as
             a director, officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise
             against expenses (including attorneys’ fees) actually and reasonably incurred by such person in connection with
             the defense or settlement of such action or suit if such person acted in good faith and in a manner such person
             reasonably believed to be in or not opposed to the best interests of the corporation; except that no indemnification
             shall be made in respect of any claim, issue or matter as to which such person shall have been adjudged to be
             liable to the corporation unless and only to the extent that the court in which such action or suit was brought
             shall determine upon application that, despite the adjudication of liability but in view of all the circumstances of
             the case, such person is fairly and reasonably entitled to indemnity for such expenses which such court shall
             deem proper.

                    8.3 SUCCESSFUL DEFENSE
                  To the extent that a present or former director or officer of the corporation has been successful on the merits
             or otherwise in defense of any action, suit or proceeding described in Section 8.1 or Section 8.2, or in defense of
             any claim, issue or matter therein, such person shall be indemnified against expenses (including attorneys’ fees)
             actually and reasonably incurred by such person in connection therewith.

                    8.4 INDEMNIFICATION OF OTHERS
                  Subject to the other provisions of this Article VIII, the corporation shall have power to indemnify its
             employees and its agents to the extent not prohibited by the TBOC or other applicable law. The board of directors
             shall have the power to delegate the determination of whether employees or agents shall be indemnified to such
             person or persons as the board of directors determines.



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                    8.5 ADVANCED PAYMENT OF EXPENSES
                  Expenses (including attorneys’ fees) incurred by an officer or director of the corporation in defending any
             Proceeding shall be paid by the corporation in advance of the final disposition of such Proceeding upon receipt of
             a written request therefor (together with documentation reasonably evidencing such expenses and any
             documentation as may be required by the TBOC) and an undertaking by or on behalf of the person to repay such
             amounts if it shall ultimately be determined that the person is not entitled to be indemnified under this
             Article VIII or the TBOC. Such expenses (including attorneys’ fees) incurred by former directors and officers or
             other employees and agents may be so paid upon such terms and conditions, if any, as the corporation deems
             reasonably appropriate and shall be subject to the corporation’s expense guidelines. The right to advancement of
             expenses shall not apply to any claim for which indemnity is excluded pursuant to these bylaws, but shall apply
             to any Proceeding referenced in Section 8.6(ii) or 8.6(iii) prior to a determination that the person is not entitled to
             be indemnified by the corporation.
                    8.6 LIMITATION ON INDEMNIFICATION

                 Subject to the requirements in Section 8.3 and the TBOC, the corporation shall not be obligated to indemnify
             any person pursuant to this Article VIII in connection with any Proceeding (or any part of any Proceeding):

                         (i) for which payment has actually been made to or on behalf of such person under any statute,
                    insurance policy, indemnity provision, vote or otherwise, except with respect to any excess beyond the
                    amount paid;

                         (ii) for an accounting or disgorgement of profits pursuant to Section 16(b) of the 1934 Act, or similar
                    provisions of federal, state or local statutory law or common law, if such person is held liable therefor
                    (including pursuant to any settlement arrangements);
                         (iii) for any reimbursement of the corporation by such person of any bonus or other incentive-based or
                    equity-based compensation or of any profits realized by such person from the sale of securities of the
                    corporation, as required in each case under the 1934 Act (including any such reimbursements that arise from
                    an accounting restatement of the corporation pursuant to Section 304 of the Sarbanes-Oxley Act of 2002 (the
                    “ Sarbanes-Oxley Act ”), or the payment to the corporation of profits arising from the purchase and sale by
                    such person of securities in violation of Section 306 of the Sarbanes-Oxley Act), if such person is held liable
                    therefor (including pursuant to any settlement arrangements);

                         (iv) initiated by such person against the corporation or its directors, officers, employees, agents or
                    other indemnitees, unless (a) the board of directors authorized the Proceeding (or the relevant part of the
                    Proceeding) prior to its initiation, (b) the corporation provides the indemnification, in its sole discretion,
                    pursuant to the powers vested in the corporation under applicable law, (c) otherwise required to be made
                    under Section 8.7 or (d) otherwise required by applicable law; or

                         (v) if prohibited by applicable law; provided, however , that if any provision or provisions of this
                    Article VIII shall be held to be invalid, illegal or unenforceable for any reason whatsoever: (1) the validity,
                    legality and enforceability of the remaining provisions of this Article VIII (including, without limitation,
                    each portion of any paragraph or clause containing any such provision held to be invalid, illegal or
                    unenforceable, that is not itself held to be invalid, illegal or unenforceable) shall not in any way be affected
                    or impaired thereby; and (2) to the fullest extent possible, the provisions of this Article VIII (including,
                    without limitation, each such portion of any paragraph or clause containing any such provision held to be
                    invalid, illegal or unenforceable) shall be construed so as to give effect to the intent manifested by the
                    provision held invalid, illegal or unenforceable.
                    8.7 DETERMINATION; CLAIM
                  If a claim for indemnification or advancement of expenses under this Article VIII is not paid in full within
             90 days after receipt by the corporation of the written request therefor, the claimant shall be entitled to an
             adjudication by a court of competent jurisdiction of his or her entitlement to such indemnification or
             advancement of expenses. The corporation shall indemnify such person against any and all expenses that are
             incurred by such person in connection with any action for indemnification or advancement of expenses from the
             corporation under this Article VIII, to the extent such person is successful in such action, and to the extent not
             prohibited by law. In any



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             such suit, the corporation shall, to the fullest extent not prohibited by law, have the burden of proving that the
             claimant is not entitled to the requested indemnification or advancement of expenses.
                    8.8 NON-EXCLUSIVITY OF RIGHTS
                  The indemnification and advancement of expenses provided by, or granted pursuant to, this Article VIII shall
             not be deemed exclusive of any other rights to which those seeking indemnification or advancement of expenses
             may be entitled under the certificate of formation or any statute, bylaw, agreement, vote of shareholders or
             disinterested directors or otherwise, both as to action in such person’s official capacity and as to action in another
             capacity while holding such office. The corporation is specifically authorized to enter into individual contracts
             with any or all of its directors, officers, employees or agents respecting indemnification and advancement of
             expenses, to the fullest extent not prohibited by the TBOC or other applicable law.
                    8.9 INSURANCE
                  The corporation may purchase and maintain insurance on behalf of any person who is or was a director,
             officer, employee or agent of the corporation, or is or was serving at the request of the corporation as a director,
             officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise against any
             liability asserted against such person and incurred by such person in any such capacity, or arising out of such
             person’s status as such, whether or not the corporation would have the power to indemnify such person against
             such liability under the provisions of the TBOC.
                    8.10 SURVIVAL
                  The rights to indemnification and advancement of expenses conferred by this Article VIII shall continue as
             to a person who has ceased to be a director, officer, employee or agent and shall inure to the benefit of the heirs,
             executors and administrators of such a person.
                    8.11 EFFECT OF REPEAL OR MODIFICATION
                 Any amendment, alteration or repeal of this Article VIII shall not adversely affect any right or protection
             hereunder of any person in respect of any act or omission occurring prior to such amendment, alteration or
             repeal.
                    8.12 CERTAIN DEFINITIONS
                  For purposes of this Article VIII, references to the “ corporation ” shall include, in addition to the resulting
             corporation, any constituent corporation (including any constituent of a constituent) absorbed in a consolidation
             or merger which, if its separate existence had continued, would have had power and authority to indemnify its
             directors, officers, employees or agents, so that any person who is or was a director, officer, employee or agent of
             such constituent corporation, or is or was serving at the request of such constituent corporation as a director,
             officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise, shall stand
             in the same position under the provisions of this Article VIII with respect to the resulting or surviving
             corporation as such person would have with respect to such constituent corporation if its separate existence had
             continued. For purposes of this Article VIII, references to “ other enterprises ” shall include employee benefit
             plans; references to “ fines ” shall include any excise taxes assessed on a person with respect to an employee
             benefit plan; and references to “ serving at the request of the corporation ” shall include any service as a director,
             officer, employee or agent of the corporation which imposes duties on, or involves services by, such director,
             officer, employee or agent with respect to an employee benefit plan, its participants or beneficiaries; and a person
             who acted in good faith and in a manner such person reasonably believed to be in the interest of the participants
             and beneficiaries of an employee benefit plan shall be deemed to have acted in a manner “ not opposed to the best
             interests of the corporation ” as referred to in this Article VIII.

                                                   ARTICLE IX — GENERAL MATTERS
                    9.1 EXECUTION OF CORPORATE CONTRACTS AND INSTRUMENTS
                  Except as otherwise provided by law, the certificate of formation or these bylaws, the board of directors may
             authorize any officer or officers, or agent or agents, to enter into any contract or execute any document or
             instrument in the name of and on behalf of the corporation; such authority may be general or confined to specific
             instances. Unless so authorized or ratified by the board of directors or within the agency power of an officer, no
             officer, agent



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             or employee shall have any power or authority to bind the corporation by any contract or engagement or to
             pledge its credit or to render it liable for any purpose or for any amount.
                    9.2 FISCAL YEAR

                  The fiscal year of the corporation shall be fixed by resolution of the board of directors and may be changed
             by the board of directors.
                    9.3 SEAL
                  The corporation may adopt a corporate seal, which shall be adopted and which may be altered by the board
             of directors. The corporation may use the corporate seal by causing it or a facsimile thereof to be impressed or
             affixed or in any other manner reproduced.
                    9.4 CONSTRUCTION; DEFINITIONS
                 Unless the context requires otherwise, the general provisions, rules of construction, and definitions in the
             TBOC shall govern the construction of these bylaws. Without limiting the generality of this provision, the
             singular number includes the plural, the plural number includes the singular, and the term “ person ” includes
             both an entity and a natural person.

                                                       ARTICLE X — AMENDMENTS

                  These bylaws may be adopted, amended or repealed by the shareholders entitled to vote; provided, however ,
             that the affirmative vote of the holders of at least 66 2/3% of the total voting power of outstanding voting
             securities, voting together as a single class, shall be required for the shareholders of the corporation to alter,
             amend or repeal, or adopt any bylaw inconsistent with, the following provisions of these bylaws: Article II,
             Sections 3.1, 3.2, 3.4 and 3.11 of Article III, Article VIII and this Article X (including, without limitation, any
             such Article or Section as renumbered as a result of any amendment, alteration, change, repeal, or adoption of
             any other bylaw). The board of directors shall also have the power to adopt, amend or repeal these bylaws;
             provided, however , that a bylaw amendment adopted by shareholders which specifies the votes that shall be
             necessary for the election of directors shall not be further amended or repealed by the board of directors.

                                                   ARTICLE XI — EXCLUSIVE FORUM

                  Unless the corporation consents in writing to the selection of an alternative forum, the sole and exclusive
             forum for (i) any derivative action or proceeding brought on behalf of the corporation, (ii) any action asserting a
             claim for or based on a breach of a fiduciary duty owed by any current or former director or officer or other
             employee of the corporation to the corporation or the corporation’s shareholders, including a claim alleging the
             aiding and abetting of such a breach of fiduciary duty, (iii) any action asserting a claim against the corporation or
             any current or former director or officer or other employee of the corporation arising pursuant to any provision of
             the TBOC or the certificate of formation or these bylaws (in each case, as they may be amended from time to
             time), (iv) any action asserting a claim related to or involving the corporation that is governed by the internal
             affairs doctrine, or (v) any action asserting an “internal entity claim” as that term is defined in Section 2.115 of
             the TBOC shall be the Business Court in the Third Business Court Division (“ Business Court ”) of the State of
             Texas (provided that if the Business Court is not then accepting filings or determines that it lacks jurisdiction, the
             United States District Court for the Western District of Texas, Austin Division (the “ Federal Court ”) or, if the
             Federal Court lacks jurisdiction, the state district court of Travis County, Texas). For the avoidance of doubt, this
             Article shall not apply to any direct claims under the Securities Act of 1933, as amended, or the 1934 Act.




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                                                                                                                      ANNEX D

                                                                 TESLA, INC.
                                                                RESOLUTIONS
                                                                      OF
                                                        THE BOARD OF DIRECTORS
                                                                 April 16, 2024
                These resolutions are adopted by unanimous vote of: Robyn M. Denholm, Ira Ehrenpreis, Joe Gebbia, James
             Murdoch, JB Straubel and Kathleen Wilson-Thompson (the “ Non-Recused Directors ”), with Elon Musk and
             Kimbal Musk having recused themselves from the matter.

             TEXAS REDOMESTICATION
                  WHEREAS , the Board of Directors (the “ Board ”) of Tesla, Inc. (the “ Company ”) is considering
             redomesticating the Company from the State of Delaware to the State of Texas by the conversion of the Company
             from a corporation organized under the laws of the State of Delaware (the Company when organized under such
             laws, the “ Delaware Corporation ”) to a corporation organized under the laws of the State of Texas (the
             Company when organized under such laws, the “ Texas Corporation ”) pursuant to and in accordance with
             Section 266 of the Delaware General Corporation Law (the “ DGCL ”), Title 1, Chapter 10, Subchapter C of the
             Texas Business Organizations Code (the “ TBOC ”) and the proposed Plan of Conversion (the “ Plan of
             Conversion ”), in the form attached hereto as Exhibit A (such conversion, the “ Texas Redomestication ”);
                  WHEREAS , at a meeting of the Board held on February 10, 2024, the Board, by unanimous vote of the
             present Non-Recused Directors, formed a special committee of the Board (the “ Special Committee ”) with the
             powers, authority, and scope set forth in the resolutions of the Board duly adopted at that meeting;
                  WHEREAS , after investigating and considering the benefits and detriments of redomesticating the Company
             from the State of Delaware, at a meeting of the Special Committee held on April 16, 2024, the Special
             Committee adopted resolutions determining that reincorporation of the Company in Texas is in the best interests
             of the Company and all of its stockholders, and that the Board should submit reincorporation for approval and
             adoption by the stockholders of the Company at the Company’s 2024 annual meeting of stockholders (the “ 2024
             Annual Meeting ”) and recommending to the Board that (1) the Board and management take all necessary and
             appropriate steps to implement the Committee’s determination consistent with legal obligations; (2) Elon Musk
             and Kimbal Musk be recused from the Board’s deliberations and from the vote on this matter, because of Elon
             Musk’s prior posts on X about reincorporation; (3) the stockholder vote on reincorporation be conditioned on
             approval by at least a majority of votes cast by non-Musk-affiliated stockholders, for the same reason; and (4) the
             Board recommend that stockholders vote for reincorporation based on the Committee’s determination that
             reincorporating in Texas is in the best interests of the Company and all of its stockholders;
                  WHEREAS , the Special Committee has delivered its report, dated as of April 12, 2024, substantially in the
             form attached hereto as Exhibit B (the “ Special Committee Report ”), regarding its determination that
             reincorporation of the Company in Texas is in the best interests of the Company and all of its stockholders, and
             that the Board should submit reincorporation for approval and adoption by the stockholders of the Company at
             2024 Annual Meeting;
                 WHEREAS , the Plan of Conversion provides, among other things, on completion of the Texas
             Redomestication, and without any further action on the part of any person, that:
                         (a) each outstanding share of common stock (including restricted stock, which shall remain restricted
                    on the same terms as currently apply), par value $0.001 per share, of the Delaware Corporation will
                    automatically be converted into one validly issued, fully paid and nonassessable share of common stock, par
                    value $0.001 per share, of the Texas Corporation and any warrant, option, restricted stock unit, equity or
                    equity-based award or other right to acquire any, or of any instrument to convert into, or based on the value
                    of common stock or other equity security of the Delaware Corporation, be a warrant, option, restricted stock
                    unit, equity or equity-based award or other right to acquire any, or of any instrument to convert into, or
                    based on the value of the same amount of common stock or other equity securities of the Texas Corporation;
                    and



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                         (b) the Company’s existing certificate of incorporation and bylaws will be replaced with the Texas
                    Certificate of Formation (the “ Texas Charter ”) and the Texas Bylaws (the “ Texas Bylaws ” and, together
                    with the Texas Charter, the “ Texas Governing Documents ”), each in the form attached hereto as Exhibits C
                    and D , respectively; and
                  WHEREAS , the Non-Recused Directors have reviewed and considered the Special Committee Report, the
             Special Committee’s recommendations, the Texas Redomestication, the Plan of Conversion, the Texas Governing
             Documents, including a comparison to the Company’s current Certificate of Incorporation and Bylaws and the
             factors and considerations reflected in the draft management proposal (the “ Texas Redomestication Proposal ”)
             attached hereto as Exhibit E to be included in the Company’s proxy statement for its 2024 Annual Meeting, and
             has determined that approving and effecting the Texas Redomestication and approving and adopting the Plan of
             Conversion and the Texas Governing Documents are in the best interests of the Company and its stockholders.
                  NOW, THEREFORE, BE IT RESOLVED , that, in accordance with and in consideration of the
             recommendation of the Special Committee, the Board, by unanimous vote of the Non-Recused Directors, hereby
             (a) determines that the Texas Redomestication, the Plan of Conversion and the Texas Governing Documents are
             in the best interests of the Company and its stockholders and (b) approves and adopts the Texas Redomestication,
             the Plan of Conversion and the Texas Governing Documents;
                  RESOLVED FURTHER , that the form, terms, provisions, and conditions of the Plan of Conversion be, and
             the same hereby are, in all respects approved and adopted;
                   RESOLVED FURTHER , that the Board hereby directs that the Texas Redomestication (including the Plan of
             Conversion and Texas Governing Documents) and these resolutions approving the Texas Redomestication (the “
             Texas Redomestication Board Resolutions ”) be submitted for approval and adoption, respectively, by the
             stockholders of the Company at the Company’s 2024 Annual Meeting, which approval and adoption shall require
             (i) the affirmative vote of a majority of the outstanding shares of stock of the Company entitled to vote thereon in
             accordance with Section 266 of the DGCL, and (ii) the affirmative vote of a majority of the voting power of
             Company stock not owned, directly or indirectly, by Elon Musk or Kimbal Musk present in person or represented
             by proxy and entitled to vote thereon;
                  RESOLVED FURTHER , that the Board, by the unanimous vote of the Non-Recused Directors, hereby
             recommends a vote “FOR” the Texas Redomestication Proposal, including, without limitation, the Texas
             Redomestication (including the Plan of Conversion and the Texas Governing Documents) and the Texas
             Redomestication Board Resolutions and that the Company’s stockholders approve the Texas Redomestication
             (including the Plan of Conversion and the Texas Governing Documents) and adopt the Texas Redomestication
             Board Resolutions at the 2024 Annual Meeting; and
                  RESOLVED FURTHER , that upon receipt of stockholder approval of the Texas Redomestication Proposal,
             including, without limitation, the approval of the Texas Redomestication (including the Plan of Conversion and
             the Texas Governing Documents) and the adoption of the Texas Redomestication Board Resolutions, at the 2024
             Annual Meeting, each of the Chief Financial Officer and General Counsel and Corporate Secretary of the
             Company and each of their respective designees (each such person, an “ Authorized Officer ”) be, and each of
             them hereby is, authorized, empowered and directed, in the name and on behalf of the Company and without
             further action from the Board, to prepare, execute, file and deliver all agreements, documents, notices,
             certificates, consents, approvals or other instruments and take all such actions that such Authorized Officer deems
             necessary, desirable or appropriate in order to perform the Company’s obligations under the Plan of Conversion
             and to consummate the Texas Redomestication, including, without limitation, (a) the execution and filing of
             certificates of conversion with the Secretary of State of the States of Texas and Delaware, as applicable, and the
             execution and filing of the Texas Charter with the Secretary of State of the State of Texas; (b) the filing of the
             annual franchise tax reports required by the Secretary of State of the State of Delaware and the payment of the
             applicable franchise taxes; (c) the payment of any fees that may be necessary in connection with the Texas
             Redomestication; (d) the submission of all required notifications to the Nasdaq Global Select Market or any other
             applicable stock exchange; and (e) the filing of Current Reports on Form 8-K and any other regulatory filings
             that may be necessary, desirable or appropriate in connection with the Texas Redomestication.

             PROXY MATERIALS; MANAGEMENT PROPOSALS
                  RESOLVED , that, in accordance with the foregoing resolutions, each of the Authorized Officers be, and
             each of them hereby is, authorized, empowered and directed to (a) include the Texas Redomestication Proposal,
             including,



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             without limitation, the Texas Redomestication (including the Plan of Conversion and the Texas Governing
             Documents) and the Texas Redomestication Board Resolutions in the Company’s proxy materials for the 2024
             Annual Meeting, and (b) solicit proxies on behalf of the Board from the Company’s stockholders authorizing the
             persons named in such proxies to vote their shares of the Company’s common stock in favor of the Texas
             Redomestication Proposal, including, without limitation, the Texas Redomestication (including the Plan of
             Conversion and the Texas Governing Documents) and the Texas Redomestication Board Resolutions, at the 2024
             Annual Meeting.

             ADDITIONAL ACTIONS
                  RESOLVED , that in addition to the specific authorizations set forth in any of the foregoing resolutions, each
             of the Authorized Officers is hereby authorized, empowered and directed, in the name and on behalf of the
             Company and without further action from the Board, to prepare or cause to be prepared, execute, deliver and file
             any and all agreements, instruments or documents, perform all acts, do all things, and pay or cause to be paid all
             liabilities, fees, expenses and costs such Authorized Officer deems necessary, desirable or appropriate to
             consummate, effectuate, carry out or further the transactions contemplated by and the intent and purposes of the
             foregoing resolutions;

                  RESOLVED FURTHER , that the Authorized Officers be, and each of them hereby is, authorized and
             directed, in the name and on behalf of the Company, to take any steps in connection with initiating or defending
             legal proceedings in any federal, state or foreign court or governmental agency that may be necessary, desirable
             or advisable in connection with the Texas Redomestication or any of the other transactions contemplated by the
             foregoing resolutions and to execute any and all further instruments or any amendments thereto and to effect all
             necessary filings or any amendments thereto with any and all appropriate federal, state and foreign courts or
             regulatory authorities; and
                  RESOLVED FURTHER , that each of the Authorized Officers is hereby authorized and empowered, in the
             name and on behalf of the Company and without further action from the Board, to delegate such Authorized
             Officer’s authority granted by these resolutions to one or more attorneys-in-fact or agents acting for such
             Authorized Officer.

             RATIFICATION OF PRIOR ACTIONS

                  RESOLVED , that any and all acts or things done by any officer or director of the Company, including any
             member of the Special Committee, prior to the adoption of these resolutions that if done after the date hereof
             would be authorized or contemplated by, or in furtherance of, such resolutions be, and each and all of said acts
             and things hereby are, expressly and in all respects authorized, approved, adopted, ratified and confirmed.




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                                                                               ANNEX E




                                      REPORT OF THE SPECIAL COMMITTEE
                                   OF THE BOARD OF DIRECTORS OF TESLA, INC.



                                             Kathleen Wilson-Thompson
                                             Special Committee Member



                                            Kristen Seeger & John Skakun
                                                  Sidley Austin LLP
                                        Independent Counsel To The Committee



                                                   April 12, 2024




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                                                              Executive Summary
                  This Special Committee of the Board of Directors of Tesla, Inc. was charged with determining (i) whether
             Tesla should remain incorporated in Delaware or should reincorporate elsewhere, and (ii) whether Elon Musk’s
             2018 compensation plan should be ratified at the same time as any potential stockholder vote on reincorporation.
             The Committee considered these questions over the course of 8 weeks, meeting 16 times and working extensively
             with independent legal, academic, and financial advisors. In the Committee’s business judgment, reincorporating
             in Texas and ratifying Musk’s compensation are in the best interests of Tesla and all of its stockholders, and
             should be voted for by stockholders at Tesla’s 2024 annual meeting.

                    A.   Why Reincorporate In Texas?
                  Texas Is Tesla’s Home, And Aligns With Its Mission. The Committee considered a precise question: where
             should this Company be incorporated at this time . It started from a blank slate, considering all US states as well
             as the possibility of incorporating outside of the US. It narrowed its focus in stages, first to 10 states, then 5, and
             finally to a binary choice between remaining incorporated in Delaware and reincorporating in one alternative
             jurisdiction.
                  At each stage, the Committee conducted an increasingly in-depth analysis of factors it believed were relevant
             to Tesla. The Committee narrowed its focus to US jurisdictions because Tesla is an American company. It
             selected 10 states for further consideration — California, Delaware, Florida, Maryland, Nevada, New York, Ohio,
             Pennsylvania, Texas, and Virginia — because each has a significant number of major public companies
             incorporated in them, and because Tesla’s most significant US operations are in California, Nevada, New York,
             and Texas.
                  For this group of 10, the Committee reviewed each state’s corporate laws at a high level and concluded they
             were substantially similar. The Committee therefore saw no reason to move to a jurisdiction Tesla has no current
             significant connection to, and narrowed its focus to 5 states: California, which has two factories; Delaware, the
             current state of incorporation; New York, which has a Gigafactory; Nevada, which also has a Gigafactory; and
             Texas, which is Tesla’s corporate headquarters and has a Gigafactory.
                  The Committee then conducted further analysis, including of academic scholarship on the development of
             corporate law in the US and on companies’ incorporation decisions. The Committee continued to find no reason
             to pick one jurisdiction based on its corporate law. This was not surprising, as each state’s law operates under the
             same federal constitutional framework, draws on a common law heritage, and evolved in light of — and in
             competition with — each other. The differentiator at this stage therefore became Tesla’s home state. Academic
             research shows that companies overwhelmingly incorporate either in Delaware or in their home state, and
             identifies a range of reasons for this. So the Committee determined that the best potential alternative to Delaware
             was Texas, and resolved to choose between those two states.
                  The Committee then conducted a thorough, holistic examination of all considerations it believed were
             relevant to deciding between Delaware and Texas. Ultimately, the Committee found that the corporate laws of
             Delaware and Texas are substantially equivalent, at least on net and as relevant to Tesla. Governance rights are
             effectively the same in both states, with the key exception that Texas requires that stockholders have the right to
             call a special meeting whereas Delaware does not. Stockholder litigation rights in Texas are robust — they are
             certainly not lesser than in Delaware. And, in addition to its own analysis with its advisors, the Committee took
             note of ISS’s prior statement that “reincorporation from Delaware to Texas would appear to have a neutral impact
             on shareholders’ rights,” and Glass Lewis’s prior statement that “in most respects, the corporate statutes in
             Delaware and Texas are comparable.” 1 Both have previously recommended voting in favor of multiple Delaware-
             to-Texas reincorporations.
                  The Committee also concluded there is no reason to believe that being incorporated in Delaware increases
             Tesla’s market value. Of the S&P 500, 35% are domiciled outside of Delaware. Seven of the top 20 by market
             capitalization are incorporated in their home state: Apple, Costco, Eli Lilly, Johnson & Johnson, Merck,
             Microsoft, and Proctor & Gamble. Tesla would make 8. Notably, the Committee saw no indication that
             Microsoft’s earlier reincorporation from Delaware to its home state of Washington had a negative effect on its
             market value.
                   This left the Committee to weigh three factors. First, Tesla is all-in on Texas. The Gigafactory in Austin is
             the home of Tesla’s corporate leadership, and is the Company’s largest and most strategically-important factory.
             And Tesla’s corporate identity is increasingly intertwined with Texas. The Committee believes that, as a matter of
             first
             1
                 ISS (2019); Glass Lewis (2019).


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             principles, Tesla should have an affirmative reason to be legally incorporated in a different state than its physical
             headquarters. The Committee found no advantage to remaining incorporated in Delaware that justified splitting
             Tesla’s legal home from its physical home, but did see value in unifying them.

                  Second, Tesla is a mission-driven company. The mission to accelerate the world’s transition to sustainable
             energy is fundamental to Tesla’s culture, and is critical to recruitment, motivation, and retention from the factory
             floor to the boardroom. Texas has an express statutory provision that would allow (though not require) Tesla’s
             directors and officers to consider the Company’s mission in exercising their fiduciary duties; Delaware does not.
             The Committee believes this distinction matters to Tesla. The difference may be more symbolic than actual —
             Tesla’s mission has, after all, driven it since its founding. But symbolism matters to corporate culture. Texas law
             on this point better aligns with Tesla’s mission, and that has value.
                  Third, the Committee considered the likely relative predictability of Delaware and Texas law based on
             differences in their judicial systems. Delaware has the most respected corporate judicial system in the country and
             the most extensive body of corporate case law. In contrast, Texas is just now forming specialized business courts
             and has much less corporate case law. The Committee concluded, however, that this factor did not alter its
             balance. The Committee was persuaded by the broadly held academic view — echoed by at least 3 former
             Delaware Supreme Court Justices and 1 former Chancellor — that Delaware law can be indeterminate because of
             its use of broad, flexible standards that are applied to individual cases in a highly fact-specific way. This focus on
             precise facts and circumstances means Delaware decisions may be less predictable for an innovative company
             like Tesla. Moreover, the Committee does not think that Texas’s business courts should be avoided simply
             because they are new. Doing new things is part of Tesla’s DNA and how it has become one of the most valuable
             companies in the world.
                  On balance, the Committee’s business judgment is that reincorporating in Texas is in the best interests of
             Tesla and all of its stockholders.
                  Why Did This Committee Consider The Incorporation Question Now? Whether to reincorporate is not a new
             question for Tesla. The Committee confirmed that the Company’s management and certain of its outside directors
             have been exploring the issue without reaching a decision since Tesla moved its headquarters from California to
             Texas in 2021. The question came up again after the Delaware Court of Chancery invalidated Musk’s 2018
             compensation plan on January 30, 2024. Later that day, Musk ran a poll on X asking whether Tesla should
             “change its state of incorporation to Texas, home of its physical headquarters?” Of 1,102,554 votes on X, 87.1%
             were in favor. The next day, Musk posted that “Tesla will move immediately to hold a shareholder vote to
             transfer state of incorporation to Texas.”

                  Whether to put reincorporation to a stockholder vote is a decision for Tesla’s Board, not Musk alone. And it
             is a decision that should be made based on a full assessment of the merits, not in reaction to a court case. So the
             Board created this Special Committee on February 10, and charged it with independently evaluating
             reincorporation and making a final determination.

                    B.   Why Ratify Musk’s 2018 Compensation Plan?

                  Stockholders Should Decide Musk’s Compensation. In Spring 2018, Tesla’s Board and stockholders voted to
             award Musk performance-based compensation worth up to $55.8 billion, if approximately $600 billion of
             stockholder value was created. More than 63 million disinterested shares — 73% of disinterested votes cast —
             approved the compensation. Adjusted for stock splits, that is equivalent to 945 million shares today. In
             June 2018, a stockholder with 9 shares filed a lawsuit called Tornetta challenging the compensation in the
             Delaware Court of Chancery. Five and a half years later, the court invalidated the compensation, finding, among
             other things, that the 2018 stockholder vote was not fully informed. As a result, Musk has not been directly paid
             for his work at Tesla since 2018, even though he led the Company in creating more than $600 billion in
             stockholder value.

                 As the Delaware Court of Chancery has recently noted, “Delaware law offers solutions for missteps.” 2 One
             such solution is ratification — essentially, a re-approval of a prior action. The Committee concluded that Musk’s
             2018 compensation plan should be put to a new stockholder vote. This will give all of Tesla’s stockholders their
             voice back. They will get to decide Musk’s compensation, with full knowledge of everything criticized in
             Tornetta .

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                 Sjunde AP-Fonden v. Activision Blizzard, Inc. , 2024 WL 863290, at *10 (Del. Ch. Ct. Feb. 29, 2024).


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                  Since the Tornetta ruling, many stockholders have expressed their support for Musk’s 2018 compensation
             plan. Dozens of institutional stockholders have, unprompted, told the Company’s Investor Relations team that
             they think the 2018 compensation plan should be fixed. Seven institutional stockholders — including 4 of the top
             10 — felt strongly enough to go straight to the Board Chair to say that. One of those top 10 stockholders
             followed up in writing:
                    With regard to the 2018 [compensation], we do not think it’s fair to set out a new set of options subject to a
                    fresh set of performance hurdles. The requirements of the 2018 package were extraordinarily ambitious —
                    and they were delivered . It is not reasonable for investors to expect to re-absorb the canceled options and
                    consider all that value creation to have been delivered to us for no consideration.
                    Therefore, if it is legally advisable, we suggest simply subjecting the original 2018 package to a new
                    shareholder vote. 3
                  Additionally, thousands of retail stockholders representing more than 23 million combined shares —
             equivalent to the 11th largest institutional stockholder — have sent unsolicited letters and emails to the Board or
             to the Tornetta court expressing the same sentiment. One letter sent on behalf of 5,821 stockholders stated:
                    As Tesla shareholders, we want our shareholder votes to count (not be rescinded years later); we want Tesla
                    CEO Elon Musk to be compensated for his Past Work (that is keep ALL stock options previously awarded
                    for meeting the 2018 Musk Incentive Comp Plan milestones). . . . [We] [w]ould like the Board to explore
                    options to affirm the shareholder vote in support of keeping [ ] Tesla’s 2018 CEO Compensation Plan
                    active and in place. 4
                 A ratification vote will give all stockholders the opportunity to speak on Musk’s compensation and determine
             whether it is in their best interests.
                  On the flip side, the alternative — not seeking a ratification vote — is not in the best interests of the
             Company and all of its stockholders. Musk, like most people, wants to be treated fairly and to be paid for his
             work as agreed, and his ownership interest in Tesla is important to him. He has confirmed this to the Committee.
             And motivating him to devote his time and energy to Tesla is essential to the Company. Negotiating (or
             renegotiating) a replacement compensation plan that Musk would agree to would likely take substantial time in
             light of the Tornetta decision, and incur a new, incremental accounting charge of billions of dollars. Ratification
             would be faster, would avoid any new compensation expense, and would avoid a prolonged period of uncertainty
             regarding Tesla’s most important employee.
                  To be clear, the Committee did not substantively re-evaluate the amount or terms of Musk’s 2018
             compensation plan. It did not run a new compensation process and did not hire compensation consultants. It did
             not negotiate with Musk. None of that would have been consistent with ratification. Ratification is a tool to fix a
             procedural error or endorse a prior action. In the Committee’s business judgment, that tool should be used here
             and now.
                  Why Did This Committee Consider The Ratification Question Now? Ratification came to this Committee because
             of the reincorporation question. In thinking through various scenarios for how any decision on reincorporation
             could play out, and observing the widespread interest in reincorporation and Tornetta from stockholders and the
             media, the Committee determined that disclosures for a possible stockholder vote on reincorporation would need
             to address Musk’s compensation. Otherwise, a potential reincorporation could have been wrongly perceived as
             being made as a direct reaction to the Tornetta ruling, and with the intent to award Musk compensation in a
             different jurisdiction that he could not get in Delaware. And, if stockholders were not told of any then-existing
             plans for Musk’s compensation, the reincorporation vote could be subject to attack as not fully informed. The
             Committee therefore requested and received the additional authority to address ratification, so that Musk’s 2018
             compensation plan could be resolved under Delaware law even if Tesla reincorporated to another jurisdiction.

                    C.   The Committee.
                  The Committee’s Authority And Advisors. The Committee had the authority to make a final decision on the
             incorporation question, including to choose to remain in Delaware. It had the authority to make a final decision
             on
             3
                 4/10/24 Letter to Board Chair Robyn Denholm from T. Rowe Price (emphasis in original).
             4
              2/5/24 Letter to the Board of Directors from Amy Steffens and Alexandra Merz on behalf of 5,821 stockholders
             holding 23,337,127 shares (with 196-page spreadsheet identifying those stockholders).



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             the ratification question, including to reject ratification. And it had all of the powers and resources needed to
             fully address both questions.
                 Kathleen Wilson-Thompson is the sole member of this Committee. The Committee was initially constituted
             with two members, but one of them stepped down from the Committee before any substantive decisions were
             made, for reasons addressed later in this Report.
                  Wilson-Thompson is an outside director who joined Tesla’s Board in December 2018. She has served in
             senior management and director roles at public companies for three decades, rising through the ranks to the
             C-Suite at two iconic Fortune 500 public companies. Among other positions, she served as the Executive Vice
             President and Global Chief Human Resources Officer of Walgreens Boots Alliance, and she is currently a director
             of McKesson and Wolverine World Wide. She was a practicing lawyer before pivoting to management.
                  After interviewing multiple law firms, the Committee selected Kristen Seeger and John Skakun of Sidley
             Austin LLP as its legal counsel. Seeger is a member of Sidley’s Executive Committee and co-leads the firm’s
             global Commercial Litigation and Disputes practice. Seeger and Skakun have led some of the largest securities
             class actions and fiduciary duty cases in the nation. They regularly represent public companies, boards, and
             special committees in high-profile and sensitive matters. Both are leading members of Sidley’s “dominant and
             highly acclaimed” Securities and Shareholder Litigation practice, which has “outstanding expertise across the
             board.” 5 Seeger and Skakun involved leading Sidley lawyers with decades of experience with Delaware and
             Texas law, including Gary Gerstman, Yolanda Garcia, and George Vlahakos, and brought talent from across the
             firm to bear on the representation. The Committee was also advised by highly-regarded Delaware counsel, A.
             Thompson Bayliss of Abrams & Bayliss LLP; a corporate law and governance expert, Professor Anthony Casey
             of the University of Chicago Law School; and a financial advisor, Houlihan Lokey Capital, Inc.
                  The Committee’s Process. Over the past 8 weeks, the Committee and its advisors devoted substantial time
             and attention to this matter. The Committee formally met 16 times for more than 26 total hours. Outside of
             meetings, Wilson-Thompson spent more than 200 hours working on this matter, including reviewing a significant
             amount of written materials and communicating further with counsel. Seeger and Skakun personally spent more
             than 600 hours each on the matter. They were assisted by more than 40 other Sidley lawyers.
                  The Committee and its counsel had extraordinary access to and assistance from the Company. Every request
             for information or resources was fully granted. All 7 other directors and 5 members of management were
             interviewed. And, at the Committee’s request, its counsel visited the Company’s headquarters.
                  The Committee took the time it needed. At the outset, the Committee worked with its counsel to assess the
             time necessary to conduct a thorough, well-designed process. The Committee decided that, if it determined that
             any matter should be voted on by stockholders, the vote should be at Tesla’s annual meeting because that would
             give the greatest number of stockholders an opportunity to voice their views. So the Committee’s counsel sought
             to have the previously-selected date for the annual meeting pushed back by more than a month, in order to give
             the Committee the time that it deemed appropriate to complete its process. Following a negotiation over various
             potential dates, the Company agreed to the Committee’s request and moved the date of the annual meeting from
             May 8 to June 13, 2024.
                 The Committee always reserved the right to take additional time if necessary, and expressly stated that to the
             Company. The Committee reached its final decisions on reincorporation and on ratification on its own timeline,
             and would have taken additional time for either question if it believed that was necessary.
                  Independence. The Committee and its counsel are aware of the media narrative regarding Musk, Tesla, and
             its Board. And the Committee’s work was conducted against a backdrop of unrelenting public interest in whether
             Tesla would reincorporate and in Musk’s compensation. Far from being influenced by these factors, this outside
             narrative and attention intensified the commitment of the Committee and its counsel to conduct a staunchly
             independent process.
                  Counsel to the Committee assessed the independence and disinterestedness of Wilson-Thompson, and
             determined that she was independent and disinterested in considering both the incorporation and the ratification
             questions. Wilson-Thompson expressly confirmed that she was willing and able to decide (i) that Tesla remain a
             5
                 Chambers USA 2023: Litigation — Securities | Illinois.


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             Delaware corporation regardless of the views of Musk and (ii) that his 2018 compensation plan should not be
             ratified, if those decisions would be in the best interests of Tesla and all of its stockholders.
                  Throughout the process, counsel to the Committee observed Wilson-Thompson’s independence. Seeger and
             Skakun participated in every Committee meeting with her, and had near-daily communications with her. They
             never observed anything remotely resembling a so-called “controlled mindset.” To the contrary, Wilson-
             Thompson focused solely on the merits of the questions before the Committee, and on reaching decisions based
             on the best interests of the Company and all of its stockholders. Further, Musk made no attempt to influence or
             control the Committee. He did not directly or indirectly communicate with Wilson-Thompson about the
             Committee’s work, except in an interview conducted by counsel after she reached her decisions.
                  The Committee also concluded that its advisors are independent. Sidley has never represented Musk. It
             represented Tesla in 2017 and 2021 in two small matters and was paid $12,601 in total. Sidley is a global law
             firm with 21 offices, approximately 2,300 lawyers, and $3 billion in revenue in 2023. Sidley represents 38 of the
             Fortune 50, 258 of the Fortune 500, and more than 1,000 public companies. It has top-ranked practices in all
             areas relevant to the Committee’s work, and is particularly well-known for its premier public company advisory,
             corporate governance, and shareholder litigation practices.

                 Similarly, the Committee’s Delaware counsel, corporate law and governance expert, and financial advisor
             were also determined to be independent.

                    D.   This Report.
                 This Report reflects the business judgment of the Committee, and states its beliefs and opinions based on its
             work and knowledge. It proceeds in three Parts.
                 Part 1 explains the Committee’s decisions on incorporation and on ratification. It walks through the
             considerations the Committee weighed and how it reached its decisions.
                   Part 2 addresses the Committee’s process. It describes the Committee’s creation and mandate, and how it
             became a single-member committee. It explains why the Committee and its advisors believe they are independent.
             It also provides an overview of the Committee’s activities.

                  Part 3 describes how the Committee used Delaware cases to cross-check its work. This cross-check provided
             additional validation for the Committee of the design and execution of its process, and of its intent to follow
             Delaware law even as the law developed during this process.




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                                             Part 1: The Special Committee’s Decisions And Reasoning

             I.      The Committee’s Reincorporation Decision.

                     A.   The Committee’s Evaluation Of Jurisdictions.

                  At the outset of its work on incorporation, the Committee resolved to be guided by several propositions: It
             would approach incorporation from first principles. It would accord no weight to Musk’s posts on X or to any
             prior work by the Company on reincorporation. It would consult with and rely on any and all independent
             advisors it deemed necessary. It would take the time needed to thoroughly evaluate relevant considerations. It
             would assess what is in the best interests of this Company and all of its stockholders at this time.
                  The Committee constructed a decision process that was consistent with these guideposts. It would start with
             all 50 US states as well as international jurisdictions, and then narrow its focus in stages. At each stage, the
             Committee would conduct an increasingly in-depth analysis of the factors it believed were most relevant to its
             decision at that stage, including whether reincorporation would affect Tesla’s market value, whether there were
             any substantial differences in the bundle of stockholder rights in the jurisdictions under consideration, and
             whether there were potential benefits to the Company and all of its stockholders from particular jurisdictions. The
             final stage of this decision process would frame a binary choice between remaining in Delaware and
             reincorporating in the best alternative jurisdiction.

                                   1.   Narrowing The Focus To 10 States.
                  The Committee’s first step was to pick 10 jurisdictions, from the 50 US states and other countries, for
             greater analysis. The Committee considered first principles: A company’s state of incorporation is its legal
             ‘home.’ There is intuitive logic for a company to be legally at home where it is physically at home, though there
             may be affirmative reasons to incorporate in a jurisdiction where the company has no significant physical
             connection. This factor pointed toward considering jurisdictions in which Tesla has significant physical
             operations.

                  The Committee next evaluated whether it should further consider any international jurisdictions. It
             determined that, while foreign incorporation may be the right choice for some companies, it is not for Tesla.
             Tesla is a proudly American company.
                  The Committee then looked at data regarding the number of public company incorporations in each US state,
             as states with a significant number of public company incorporations would likely have developed, modern
             corporate laws. 6 While the majority of US public companies are domiciled in Delaware, 9 other states are the
             jurisdiction of incorporation of more than 50 public companies: California, Florida, Maryland, Nevada, New
             York, Ohio, Pennsylvania, Texas, and Virginia. That includes the 4 states in which Tesla has significant physical
             operations: California, Nevada, New York, and Texas. So the Committee chose to focus on these 9 states as well
             as Delaware.

                                   2.   Narrowing The Focus To 5 States.
                 For the next stage of its work, the Committee focused on identifying any major negative impacts from a
             potential reincorporation, as well as any major differences in corporate law in any of the states under
             consideration. The Committee found none.
                   A preliminary evaluation did not identify any likely impact on Tesla’s market valuation from a
             reincorporation. The Committee’s academic expert on corporate law and governance, Professor Casey, surveyed
             academic research on whether there is a “Delaware premium,” i.e., whether companies incorporated in Delaware
             have higher valuations. His initial view was that the empirical literature suggests such a premium does not exist.
             7
               Initial analysis by the Committee’s financial advisor similarly suggested there would likely be no significant
             impact on valuation because of a company’s state of incorporation within the US.
             6
                  Deal Point Data (as of 2/18/24).
             7
               Compare Report of Professor Anthony J. Casey to the Special Committee of the Board of Directors of Tesla,
             Inc. (“Casey Report,” attached as Exhibit D) ¶¶ 42-51; see also, e.g., Rhee, The Irrelevance of Delaware
             Corporate Law , 48 Journal of Corporation Law 295 (2023) (finding no such premium).



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                 At this stage, the Committee also considered a high-level comparison of stockholder rights and governance
             matters in each jurisdiction under consideration. The topics were:
                    • Fiduciary duties.
                    • The business judgment rule.
                    • Interested transactions.
                    • Conflicted controller transactions.
                    • Exculpation.
                    • Indemnification and advancement.
                    • Derivative claims.
                    • Books and records inspection rights.
                    • Ratification of invalid corporate acts.
                    • Stockholder action by written consent.
                    • Special stockholder meetings.
                    • Appointing and removing directors.
                    • Blank-check preferred stock.
                    • Anti-takeover measures.
                  After discussion with its counsel, the Committee concluded that the corporate law of each of the 10 US
             states under consideration is, on the whole, substantially similar. Three potentially relevant differences were noted
             in particular. First, Florida, Maryland, Nevada, New York, Ohio, Pennsylvania, and Texas have “constituency
             statutes,” which expressly permit directors and officers to take into account a company’s mission or broader
             stakeholder considerations when discharging their fiduciary duties. Second, Nevada was the only state under
             consideration without a heightened standard of judicial review for interested transactions or that allows
             exculpation for certain duty of loyalty claims. And third, there was some variation in anti-takeover protections,
             with Delaware having one of the most management-friendly approaches. The Committee viewed this factor as not
             especially relevant to Tesla at this time, including because of its market capitalization.
                  After reflecting on these considerations and its guiding principles, the Committee determined that there was
             no affirmative reason for Tesla to reincorporate in any jurisdiction it has no current connection to. So it
             determined not to proceed with further analysis of Florida, Maryland, Ohio, Pennsylvania, or Virginia.

                                  3.   Narrowing The Choice To 2 States.
                 To set up a final binary choice, the Committee focused on identifying which of California, Nevada, New
             York, or Texas would be the best alternative to Delaware for Tesla.
                  At the request of the Committee and its counsel, Professor Casey conducted a review of the history and
             evolution of corporate law in the US. Of particular salience to the Committee was the history of competition
             among states for incorporations. As Professor Casey explained, Delaware became the leading center for
             incorporations in the US by first adopting New Jersey’s corporate law “largely verbatim,” and then further
             innovating over time. 8 He highlighted how corporate law within the US has largely converged, with two key
             drivers being other states copying Delaware’s innovations, and the creation and nationwide influence of the
             Model Business Corporations Act (the “MBCA”). 9
                 Professor Casey also addressed the literature analyzing companies’ incorporation decisions. According to
             academic scholarship, more than 90% of companies are incorporated in either their home state or Delaware, with


             8
                 Casey Report ¶¶ 36-39.
             9
                 Id. ¶ 41.


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             approximately 60% in Delaware. 10 Scholars hypothesize a number of factors for this, including: the natural place
             for a new company to be first incorporated is often its home state; the value of having decisionmakers for
             corporate governance disputes located in the same community as the company’s operations; strategic advantages
             from particular provisions of Delaware law, especially director and officer liability protections; the expertise of
             the Delaware judiciary; and network effects.
                  These discussions led the Committee to rule out California, Nevada, and New York. Each of these states is
             important to Tesla. California was Tesla’s birthplace. It has two factories there: The Fremont factory, which was
             Tesla’s first and continues to produce the Model S, Model 3, Model X, and Model Y; 11 and the Megafactory
             Lathrop, which is one of the largest utility-scale battery factories in America. 12 Nevada has the Company’s first
             Gigafactory, which is one of the world’s highest volume plants for electric motors, energy storage products,
             vehicle powertrains, and batteries, and is the manufacturing hub for the Tesla Semi. 13 And New York also has a
             Gigafactory, which builds solar panels and electrical components for Superchargers. 14
                    But none of these states are Tesla’s current home. That is Texas.


                                                 [The rest of this page was intentionally left blank.]




             10
                  Id. ¶ 25 & fn. 7-8.
             11
                  See tesla.com/fremont-factory.
             12
                  See tesla.com/megafactory.
             13
                  See tesla.com/giga-nevada.
             14
                  See tesla.com/manufacturing.


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                  Because Texas is Tesla’s current physical headquarters, the Committee concluded that it is the single best
             alternative incorporation jurisdiction. 15 It therefore framed its final choice as: Delaware, Tesla’s current state of
             incorporation; or Texas, the Company’s current home state.

                    B.   The First State Or The Lone Star State?
                  The final stage of the Committee’s incorporation decision was an in-depth comparison of remaining
             incorporated in Delaware or reincorporating in Texas. As explained further below, the Committee concluded first
             that the rights that Tesla stockholders would possess under Texas law are substantially equivalent to the rights
             they currently possess under Delaware law. This left three differentiating factors in the Committee’s view: Texas
             is Tesla’s home state; Texas’s constituency statute would better align with Tesla’s mission-driven culture; and
             Delaware has the most respected business court and the largest body of corporate case law in the country,
             whereas Texas just created a business court. The Committee balanced these considerations and concluded that, in
             its business judgment, it is in the best interests of Tesla and all of its stockholders for the Company to
             reincorporate in Texas.

                                  1.   Delaware And Texas Law Are Substantially Equivalent.
                  The Committee and its advisors thoroughly compared Delaware and Texas law. This analysis was framed by
             the lens that corporate law provides a “bundle of rights” for stockholders along three dimensions: “economic
             rights, governance rights, and litigation rights.” 16 The Committee discussed and debated these three aspects of
             stockholder rights at length with its advisors, including in multi-hour panel discussions with Delaware and Texas
             practitioners, and with Professor Casey. The Committee instructed its financial advisor, Houlihan, to examine
             market practices and conduct quantitative analysis, and instructed its academic advisor, Professor Casey, to
             evaluate relevant academic research, in order to assist it in evaluating any potential economic impact from
             reincorporating in Texas. And the Committee considered extensive written materials about Delaware and Texas
             law provided by its advisors.
                  The Committee’s business judgment is that Delaware and Texas provide substantially equivalent bundles of
             economic, governance, and litigation rights for stockholders, at least on net and as relevant to Tesla. The
             Committee’s legal advisors unanimously supported this judgment and the Committee’s process in reaching it:
             Kristen Seeger

             15
                The Committee was also cognizant that Nevada has been described as diverging from other states’ corporate
             laws with respect to litigation protection for directors and officers. See, e.g., Palkon v. Maffei (“ TripAdvisor ”),
             2024 WL 678204 (Del. Ch. 2024) (addressing a proposed reincorporation to Nevada). Professor Casey noted a
             historical parallel, as Delaware’s decision in 1986 to provide greater liability protections to directors than other
             states via exculpation is perhaps the single most compelling cause of its current preeminence as an incorporation
             home, as shown by the following charts:




                    Casey Report ¶ 39 (citing Sanga, Network Effects in Corporate Governance , Journal of Law & Economics
                    (2020)). Regardless, the Committee concluded that, even if Nevada law provided greater protection from
                    unmeritorious and protracted litigation, any difference did not outweigh the fact that Texas is Tesla’s home
                    state.
             16
                  See, e.g., TripAdvisor , 2024 WL 678204, at *1, *19.


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             and John Skakun (Sidley) from an overall perspective; Professor Casey (University of Chicago Law School) from
             an academic perspective; Tom Bayliss (Abrams & Bayliss) and Gary Gerstman (Sidley) from a Delaware law
             perspective; and Yolanda Garcia and George Vlahakos (Sidley) from a Texas law perspective. The work of the
             Committee’s financial advisor, Houlihan, supported this judgment on the economic aspects.

                                        a.   Substantially Equivalent Economic Rights.
                  No Delaware Premium. A critical question for the Committee was whether there was any reason to believe
             that Tesla shares would be economically less valuable under Texas law than under Delaware law. If so, that
             would be a significant — likely dispositive — reason to remain incorporated in Delaware. If not, that would
             suggest market participants do not view any potential legal differences between Delaware and Texas to be worth
             paying for. The Committee concluded, based on the advice of its financial and academic advisors, that there was
             no convincing evidence that reincorporating in Texas would affect Tesla’s market value.
                  Market Practice. Three points about market practice — more precisely, the lack thereof — were especially
             compelling to the Committee. First, Houlihan explained that a company’s US state of incorporation is not a factor
             in commonly used valuation methodologies. Neither practitioners (including investment banks and appraisers) nor
             finance textbooks recognize Delaware law as being a factor of value. Certain valuation methodologies do,
             however, take into account countries through a variable risk premium, showing that certain legal and regulatory
             regimes as well as other country-specific risk factors are believed to affect economic value. Second, Houlihan
             reviewed 2,012 stockholder activism campaigns from 2019 to 2023 that advocated for a wide variety of corporate
             actions to increase stockholder value. None of these campaigns advocated for reincorporation to Delaware, despite
             35% of S&P 500 companies and a similar percentage of Russell 3000 companies being incorporated outside of
             Delaware. If reincorporating in Delaware would create value, the Committee concluded activists would have
             identified and arbitraged that. And third, the Houlihan team also indicated during a meeting that, based on
             conversations with members of their capital markets team, they had not been involved in an offering in which US
             state of incorporation was a meaningful factor in raising capital.
                  Quantitative Analysis . Houlihan also looked for whether there was evidence of a Delaware premium
             through three quantitative analyses. First, they evaluated four market-implied valuation multiples from 2019
             through 2023 for Fortune 500 companies: enterprise value/revenue; enterprise value/EBITDA; market
             capitalization/earnings; and market capitalization/book value. They did not find any observable valuation
             premium attributable to Delaware incorporation. Second, Houlihan also analyzed market return metrics for
             Fortune 500 companies from 2014 through 2023, and similarly found no observable premium attributable to
             Delaware incorporation. Finally, Houlihan reviewed four case studies of redomestications from Delaware to Texas
             over the last decade. They reported no observable pattern between redomestication and total stockholder return
             over the periods studied.

                  Academic Literature. After his initial survey of academic research on the Delaware premium earlier in the
             process, Professor Casey conducted a deeper dive and comprehensively analyzed the literature. He concluded that
             the “existing literature strongly suggests that such premium is non-existent or unknowable.” 17 The Committee
             was also persuaded by Professor Casey’s point that, “given the incentives of academics and market actors to
             prove a definitive answer here and the difficulty of proving a negative, the most reasonable conclusion is that no
             discoverable premium exists.” 18
                  No Other Negative Economic Impacts To Stockholders. The Committee additionally checked that
             reincorporation in Texas would not materially alter any other economic rights of stockholders. For example,
             Texas law would not alter the Company’s ability to pay dividends or buyback stock. 19 And at the Committee’s
             request, the Company confirmed that reincorporating in Texas will not have any materially adverse accounting,
             tax, or other financial implications, and will not affect the public trading of the Company’s shares. 20
             Reincorporation will
             17
                  Casey Report ¶ 127.
             18
                  Id. ¶ 128.
             19
                  See TBOC § 2.101(9); TBOC § 21.310.
             20
                One possible tax effect is that Texas law requires an apportionment of gross income for transactions involving
             a repurchase of company debt at a discount. Tex. Admin. Code tit. 34, § 3.591(e)(6). The Committee determined
             this was not relevant for Tesla at this time.



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             result in the Company saving $250,000 per year in franchise tax payments to Delaware, which Houlihan
             calculated would translate into an implied value accretion of approximately $11 – 14 million.

                                     b.   Substantially Equivalent Governance Rights.
                  The vast majority of governance rules are effectively the same under Texas and Delaware law. For example,
             both Delaware and Texas have similar rules on classified boards, the removal of directors, charter and bylaw
             amendments, blank check preferred stock, stock buybacks, dividends, and appraisal. 21 Where there may appear to
             be distinctions, the Committee concluded that: most were differences in default rules that could be resolved in a
             Texas charter and bylaws; some made no difference at least to Tesla; and one — Texas’s constituency statute —
             did not substantially alter stockholders’ rights but does matter to Tesla.
                  Differences Addressed By The Proposed Charter And Bylaws. There are a number of governance matters
             where Delaware and Texas law set different default rules but allow changes via the charter or bylaws. One
             example is the rule for mergers: by default, Delaware requires only a majority vote but allows the charter to raise
             the threshold; Texas is the opposite, setting a supermajority default rule but allowing the charter to lower the
             threshold to a majority vote. 22
                  After the Committee narrowed its focus to Delaware and Texas, it directed the Company to provide it with a
             draft Texas charter and bylaws that were as similar to the current Delaware versions as legally possible. In the
             Committee’s view, the proposed Texas charter and bylaws are functionally equivalent to the current Delaware
             charter and bylaws from a stockholder governance rights perspective. The one arguable exception the Committee
             sees would increase stockholder rights. Delaware allows companies to prohibit stockholders from calling a special
             meeting, and Tesla’s current charter does that; Texas, in contrast, mandates that stockholders be permitted to call
             a special meeting under certain circumstances. 23 The proposed Texas charter therefore provides that stockholders
             can call a special meeting under certain circumstances. 24
                  Differences That Don’t Matter To Tesla. The Committee identified a handful of areas where the rule in Texas
             differed in some respect from the rule in Delaware. These were generally procedural or not relevant to Tesla in
             the view of the Committee and its advisors.
                  The most potentially important area related to anti-takeover protections. The Committee took the view that
             these were not a significant consideration for Tesla in light of its market capitalization. It nonetheless scrutinized
             the differences between Delaware and Texas on this issue before concluding that, on net, they were not
             substantially different.
                  Both Delaware and Texas permit a range of anti-takeover defenses, including poison pills. Both have
             business combination provisions, though they apply at different ownership thresholds: 20% in Texas and 15% in
             Delaware. 25 Both allow boards to create new vacancies and to fill them, though Texas limits the number of such
             vacancies that can be filled without a stockholder vote to 2. 26 Another potential area of difference involved
             cash-out transactions and “ Revlon duties”: Texas statutes allow directors to take into account “the long-term
             and short-term interests of the corporation and the stockholders of the corporation, including the possibility that
             those interests


             21
               Compare, e.g., DGCL § 141(d) and TBOC § 21.408(a); DGCL § 141(k) and TBOC § 21.409; DGCL § 242(a)
             and TBOC §§ 21.054-55; DGCL § 109(a) and TBOC §§ 21.057-58; DGCL § 151(a) and TBOC § 21.155(a);
             DGCL §§ 154, 170(a) and TBOC § 21.310; DGCL § 262 and TBOC § 10.354(a)(2); see also Casey Report ¶ 135.
             22
                  Compare DGCL §§ 251, 102(b)(4) and TBOC §§ 21.457(a), 21.365(a).
             23
                  Compare DGCL § 211 and TBOC § 21.352(a)(1)-(2).
             24
                The proposed Texas bylaws, like the current Delaware ones, also contain a forum selection provision. The
             Texas forum selection provision, however, selects the Texas business courts as the primary venue rather than the
             Delaware Court of Chancery. The Committee concluded that this did not substantially alter stockholders’
             governance rights. Compare TripAdvisor , 2024 WL 678204, at *13. The Committee did weigh litigation forum in
             its final calculus, as described below.
             25
                  Compare DGCL § 203(c)(5) and TBOC § 21.607(2).
             26
                  Compare DGCL § 223(a) and TBOC § 21.410(d).


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             may be best served by the continued independence of the corporation.” 27 Delaware law, at least in certain
             circumstances, requires directors to accept the highest price reasonably available, though in many circumstances
             they are allowed to also “just say no” to a potential transaction and take into account long-term interests. 28
             Ultimately, the Committee concluded that these distinctions, to the extent they may bear out in the real world,
             related to edge cases that were unlikely to be relevant to Tesla given its market capitalization.

                  Texas’s Constituency Statute. The Committee identified one governance feature that, in its view, does
             meaningfully distinguish Texas law from Delaware law: Texas is one of more than 30 states with a constituency
             statute, codified at TBOC § 21.401. 29 This statute expressly allows directors and officers of a Texas corporation
             to consider, among other things, a positive impact on the environment when making decisions about the
             company’s business. Delaware does not have a constituency statute, though in practice it is generally
             acknowledged that similar considerations can often be taken into account. 30 The Committee and its advisors
             concluded that Texas’s constituency statute does not, on net and in practice, lessen the bundle of stockholder
             rights in Texas. But the Committee did weigh Texas’s constituency statute in reaching its final decision, as
             discussed further below.

                                       c.   Substantially Equivalent Litigation Rights.

                  The Committee and its advisors engaged deeply with a wide range of litigation topics. They identified no
             areas in which Texas and Delaware law meaningfully diverged on matters of substance. In most areas, both states
             apply the same substantive decision rule. In some areas that have been addressed by Delaware, Texas is silent but
             would, in the judgment of the Committee and its advisors, likely follow Delaware. And in a few areas where
             Texas law has made different choices, they are procedural in nature and do not cause stockholders to possess
             substantially lesser litigation rights than under Delaware law. Litigation rights are first class-rights in Texas. 31

                  The Same Rule. In most areas the Committee examined, Texas and Delaware law apply essentially the same
             substantive rule, though Texas sometimes articulates it a bit differently. These include fiduciary duties owed to
             the corporation and the stockholders collectively, the corporate opportunities doctrine, director exculpation,
             indemnification, advancement, the business judgment rule, and the entire fairness standard of judicial review. 32

                  Texas’s fiduciary duty of obedience exemplifies this: Obedience is an express third fiduciary duty under
             Texas law, in addition to loyalty and care, and requires fiduciaries to not commit ultra vires acts. 33 Delaware law
             does not describe directors as owing a “duty of obedience,” but similarly prohibits ultra vires acts. 34 So there is
             no functional difference.

                  Silences In Texas Law. Delaware law has addressed a number of issues impacting public companies that
             Texas law has not (yet), including Caremark oversight claims, public company conflicted controller
             transactions, and intermediate scrutiny of defensive tactics. However, Texas’s silence in these areas does not
             mean that Texas law is or will be meaningfully different from Delaware law. Texas courts have a long history and
             clearly stated position of looking to Delaware law to fill gaps in Texas law. 35

             27
                  TBOC § 21.401(b), (d).
             28
                  Casey Report ¶¶ 101-02.
             29
                  Id. ¶ 94.
             30
               See Business Roundtable, 8/19/19 Statement on the Purpose of a Corporation, tinyurl.com/d9susybt. Delaware
             does, like Texas, have benefit corporation statutes.
             31
                  TripAdvisor , 2024 WL 678204, at *20.
             32
                  Casey Report ¶¶ 86-93.
             33
                  Id. ¶ 89; see also Gearhart Indus., Inc. v. Smith Inter., Inc. , 741 F.2d 707, 719 (5th Cir. 1984).
             34
                  Casey Report ¶ 89.
             35
               E.g., In re DeMattia , 644 S.W.3d 225, 230 (Tex. App. 2022) (Texas courts “look to Delaware on matters of
             corporate law”); Hanmi Fin. Corp. v. SWNB Bancorp, Inc. , 2019 WL 937195, at *7 (S.D. Tex. Feb. 26, 2019)
             (“Texas courts consider Delaware decisional law persuasive in resolving unsettled issues of Texas corporate law”;
             “Texas courts would adopt Delaware fiduciary law in the merger context”).



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                  Caremark claims illustrate the point. Federal courts applying Texas law have predicted that “the Texas
             Supreme Court would look to Delaware” and would apply the Caremark framework. 36 And even though
             conflicted controller transactions and intermediate scrutiny have not been directly addressed by Texas courts in
             the public company context, Texas’s application of fairness review to interested director transactions conceptually
             maps onto those circumstances. At the end of the day, the Committee and its advisors concluded that there was
             no reason to believe that Texas law would provide substantially lesser litigation rights in areas where it is
             currently silent.

                 Procedural Differences. The Committee and its advisors identified two important areas with differences
             between Texas and Delaware stockholder litigation. The Committee and its Delaware, Texas, and academic
             advisors concluded that these differences were procedural.

                   First , Texas and Delaware differ in their procedural approach to stockholder derivative claims. Texas
             follows the MBCA and is one of nearly two-dozen “universal demand” jurisdictions, meaning that derivative
             plaintiffs must make a demand on the board and the board must be given an opportunity to investigate the claims
             before litigation is filed. 37 Delaware, in contrast, allows stockholders to make a demand on the board or to file
             litigation without making a demand based on an allegation that demand would be futile. 38 Both states provide
             avenues for stockholders to get documents to support potential derivative claims before initiating a derivative
             claim. 39 The Committee and its advisors believe that Texas’s choice to adopt the MBCA’s universal demand
             regime does not mean that Tesla’s stockholders would have lesser derivative litigation rights under Texas law
             than under Delaware law. Texas picked a different, but not inferior, procedural path for the vindication of the
             same underlying substantive rights.

                  Second , Texas recently created a specialized business court system, which is set to open on September 1,
             2024. 40 These new courts will handle public company corporate governance matters, as well as commercial
             disputes over $10 million (with some exceptions), and judges will be appointed to renewable 2 year terms. 41
             Cases will be subject to trial by jury — which may be more favorable for stockholder plaintiffs. 42 The
             Committee concluded that this difference from the Delaware court system relates only to the forum for corporate
             disputes, not the substantive law, and therefore does not render Texas litigation rights substantially lesser than
             Delaware litigation rights. 43 The Committee considered these differences further in its reaching its final decision,
             as laid out below.

                   Other Commentary. A final factor that the Committee examined was commentary comparing Delaware and
             Texas law. In response to the Committee’s inquiry during a meeting, Professor Casey confirmed his view that the
             academic literature does not identify substantial differences between Texas and Delaware law. Additionally,
             recent reincorporations to Texas do not identify substantial differences between Texas and Delaware law. Of the
             last four public company reincorporations from Delaware to Texas, none pointed to greater litigation protections
             in Texas. 44 And the proxy advisory firms ISS and Glass Lewis have generally recommended for recent Texas
             reincorporations, without identifying any substantial differences between their laws. For example, ISS has stated

             36
                In re Life Partners Holdings, Inc ., 2015 WL 8523103, at *10 (W.D. Tex. Nov. 9, 2015) (citing Texas state
             case law for the proposition that in Texas “there is a presumption favoring Delaware law such that a party who
             opposes its application bears the burden to show Delaware law’s inconsistency with Texas law.”) (emphasis in
             original).
             37
                  TBOC §§ 21.551-63.
             38
                  Casey Report ¶ 108; see also Grimes v. Donald , 673 A.2d 1207, 1216 (Del. 1996).
             39
                  Compare DGCL § 220 and TBOC § 21.218(b).
             40
                  Tex. Gov’t Code § 25A.004.
             41
               Id. § 25A.004(b)-(d). The judges will be chosen by the governor and will be selected for their expertise in
             business matters. Unlike in Delaware, however, there will be no political balance requirement in judicial
             appointments.
             42
                  Id. § 25A.015(a).
             43
               Compare TripAdvisor , 2024 WL 678204, at *13 (addressing forum considerations, and stating that even if
             “plaintiffs might be able to secure greater recoveries in other forums, that is not due to differences in substantive
             law”); see also Casey Report ¶¶ 142-43.
             44
               See Legacy Housing Corp. 2019 Proxy Statement at 11; Contango Oil & Gas Co. 2019 Proxy Statement at 32;
             DallasNews Corp. 2018 Proxy Statement at 21; Geospace Technologies Corp. 2015 Proxy Statement at 30-31.



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             that “reincorporation from Delaware to Texas would appear to have a neutral impact on shareholders’ rights.” 45
             And Glass Lewis stated that it “believes that in most respects, the corporate statutes in Delaware and Texas are
             comparable.” 46 This further confirmed the Committee’s conclusion that Delaware and Texas law are substantially
             equivalent.

                                  2.   Why Reincorporate In Texas?
                  In the final calculus, the Committee weighed three considerations. First, Tesla’s physical headquarters is in
             Texas. Second, Tesla is a mission-driven company. And third, the Delaware corporate courts are well-known
             whereas the Texas business courts have not started hearing cases yet. On balance, the Committee concluded that,
             for Tesla at this time, these considerations weighed in favor of reincorporating in Texas.

                                       a.   Tesla’s Home And Future Is In Texas.
                    The primary driver of the Committee’s decision was that Texas is Tesla’s home state.
                  Tesla Is All-In On Texas. Tesla moved its global headquarters to Austin in 2021. Since then, Texas has
             increasingly become a focal point for Tesla’s corporate identity. Executive management is based in Texas, as are a
             significant number of manufacturing, operations, and engineering employees. The Austin Gigafactory — “Giga
             Texas” — began production in 2021, and is already Tesla’s principal manufacturing facility. With 10 million
             square feet of factory floor, Giga Texas is thought to be the second largest building in the world by volume, and
             the largest in the US by floor area. 47 It is the manufacturing hub for the Model Y, the best-selling car in the
             world, and the home of the Cybertruck and Tesla’s future vehicles. 48

                  Texas is also central to Tesla’s future growth, as the Committee’s interviews with directors and management
             confirmed. A major expansion of Giga Texas is already under construction, and may make it the largest building
             in the world by volume and put it in the top 5 in the world by floor area. Employment in Texas is also expected
             to grow as Giga Texas is expanded and production ramps. This growth is rooted in the strategic advantages of
             Texas, including its business climate, its diverse and skilled workforce, its strong economic and demographic
             growth, and the availability and cost of key resources.

                  Reincorporating in Texas builds on Tesla’s relationships with the state and the local community. These
             relationships — with government actors, with employees, and with other stakeholders — are critical to Tesla. The
             academic literature recognizes that “there is value inherent in home-state incorporation” because it can strengthen
             such relationships. 49 Fully becoming a Texas company would send a strong signal of Tesla’s commitment to the
             state and community that have done so much for it already, and that are so important to Tesla’s future.
                  There Is Value In Local Decisionmaking. Another advantage of home-state incorporation is that the
             legislators and judges making corporate law — and the juries deciding fact disputes in corporate cases — are
             drawn from the community in which the company operates. 50 Corporate law and litigation often overlap with and
             impact business, employment, and operational matters. And Tesla is not a cookie-cutter public company. Local
             decisionmakers will, in the Committee’s view, have a deeper understanding of Tesla and its business, and
             therefore be best situated to make decisions about its corporate governance.

             45
                Legacy Housing Corp. 2019 ISS Report at 18; see also Geospace Technologies Corp. 2015 ISS Report at 19
             (shareholder rights “would not be materially weakened by changes to applicable state takeover statutes”).
             46
                Legacy Housing Corp. 2019 Glass Lewis Report at 8 (recommending against this reincorporation proposal
             because of a charter amendment, not differences in state law); compare DSS, Inc. 2020 ISS Report at 15 & DSS,
             Inc. 2020 Glass Lewis Report at 10 (both recommending in favor of reincorporation from New York to Texas
             because of the “neutral impact on shareholders’ rights” and because “shareholders will not see many meaningful
             differences between New York corporate governance and that of a Company incorporated in Texas”).
             47
                  See, e.g., en.wikipedia.org/wiki/List_of_largest_buildings.
             48
                  See tesla.com/giga-texas; 2023 10-K at 30, 34.
             49
                  Casey Report ¶¶ 56-57, 132.
             50
                Id. ¶¶ 59-60 (also noting that the value of judicial decisions being made in the community where their effects
             are centered is a long-standing venue consideration for many other areas of law).



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                  Home State Incorporation Is Common And Intuitively Makes Sense. Many major public companies are
             incorporated in their home state, including household names like Abbott, Aflac, American Express, Anthem,
             Apple, Best Buy, Cisco, Comcast, Costco, Dollar General, Eli Lilly, IBM, Lowe’s, Footlocker, Goodyear, Johnson
             & Johnson, Kroger, Lockheed Martin, Merck, Microsoft, Nike, Proctor & Gamble, Progressive, Prudential, S&P
             Global, Southwest, Starbucks, and Target. The following map illustrates the geographic diversity of such
             companies:




                  Many of these companies were founded in their home state and never decided there was justification for
             separating their legal home from their physical home. But public companies also have reincorporated from
             Delaware to their home state in order to reunite their legal and physical homes. The example of Microsoft was
             instructive for the Committee. One of the reasons given by Microsoft when it left Delaware was that Washington
             was “the location of the Company’s world headquarters and the location of its primary research and development
             efforts.” 51 Other companies that have recently reincorporated in Texas have pointed to the same reason. 52
                 Home state incorporation fits the Company’s first principles approach. The Committee found no advantage to
             remaining incorporated in Delaware that justified a split between Tesla’s legal home and its physical home.

                                        b.   Tesla Is A Mission-Driven Company.
                  A secondary factor that favored Texas in the Committee’s view was Texas’s constituency statute. Tesla is an
             exceptionally mission-driven company. Its website proclaims: “Our mission is to accelerate the world’s transition
             to sustainable energy.” 53 The Company’s 2023 annual report says the same thing in its second paragraph, and
             later declares: “The very purpose of Tesla’s existence is to accelerate the world’s transition to sustainable
             energy.” 54 There have been 3 “Master Plans” about Tesla’s mission, including last year’s 41-page “Master
             Plan 3: Sustainable Energy for All of Earth.” 55
                  The mission is a cornerstone of Tesla’s culture. It is critical to recruitment, motivation, and retention from
             the factory floor to the boardroom. Indeed, the mission’s importance was emphasized by every director
             interviewed by the Committee. For several, including Wilson-Thompson, the mission is a major reason they
             choose to serve on the Board.

             51
                Microsoft Corporation 1993 Proxy Statement at 12 (also stating that Washington had “updated” its corporation
             law since Microsoft left Washington for Delaware in 1986 in order to take advantage of the litigation protections
             offered by Delaware’s then-new director exculpation statute).
             52
                See, e.g., Legacy Housing Corp. 2019 Proxy Statement at 11; Contango Oil & Gas Co. 2019 Proxy Statement
             at 32; DallasNews Corp. 2018 Proxy Statement at 21; Geospace Technologies Corp. 2015 Proxy Statement at
             30-31.
             53
                  See tesla.com/impact; see also tesla.com/ns_videos/2022-tesla-impact-report.pdf.
             54
                  2023 10-K at 4, 12.
             55
               See tesla.com/ns_videos/Tesla-Master-Plan-Part-3.pdf; tesla.com/blog/master-plan-part-deux; tesla.com/blog/
             secret-tesla-motors-master-plan-just-between-you-and-me.



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                  Texas — unlike Delaware — has an express statutory provision that would allow (though not require) Tesla’s
             directors and officers to consider the Company’s mission in exercising their fiduciary duties. 56 As a practical
             matter, the Committee does not expect this would change the way Tesla operates; Delaware law did not, of
             course, prevent Tesla from being a mission-driven company. 57 But there is value in symbolism, particularly for
             corporate culture. It is the Committee’s business judgment that Texas law on this point better aligns with Tesla’s
             mission, and with Tesla as a mission-driven company. 58

                                      c.   Litigation Forum Considerations Do Not Alter The Balance.
                  The Committee also considered the likely relative predictability of Delaware and Texas law based on
             differences in their judicial systems. The Delaware Court of Chancery and Supreme Court are the most respected
             and experienced business courts in the country. They have an extensive body of case law. Trials are before judges
             who are experts in corporate law and appointed for 12 year terms. Delaware statutory law is regularly updated by
             the legislature. The Delaware system has long and widely been lauded for its expertise.
                  On the other side of the ledger, Texas’s business courts were just created and will not start hearing cases
             until September 2024. They will have less existing corporate case law to draw on. Business court judges will be
             appointed for 2 year terms, but there is no track record of their qualifications or experience. 59 Plus, dispositive
             motion practice is more limited in Texas, and even corporate governance cases will be tried to juries rather than
             judges. 60 How the Texas business court system will function cannot be known for certain.
                  The Committee questioned its advisors extensively on how to weigh the differences between these judicial
             systems. It held a multi-hour panel discussion with its Delaware counsel Bayliss and its Texas litigation counsel
             Garcia, moderated by Professor Casey, and had separate follow-up sessions with each of Bayliss and Garcia. All
             made powerful points.
                  The Committee had meaningful concerns about potential uncertainty in Texas because the new business
             courts have not started hearing cases and because of the possibility of jury trials. These concerns were eventually
             mitigated. Texas expressly draws on Delaware case law, which alleviates some uncertainty. And as Professor
             Casey pointed out, Texas “has a more code-based corporate governance regime,” and so does not depend on cases
             to set out the law as much as Delaware. 61 Further, while the Texas business courts are new, Texas and its legal
             system more generally are not unknown to Tesla. Tesla has significant experience litigating in Texas. And while
             the prospect of jury trials for corporate governance matters gave the Committee pause, jurors would be drawn
             from the community in which Tesla operates, and juries decide only questions of fact based on instruction from a
             judge regarding the law. Garcia also noted that jury trials on public company corporate governance matters are
             rare in her decades of experience. 62

                  The Committee was also persuaded by Professor Casey’s conclusion that an academic “consensus has
             emerged that Delaware corporate law is largely indeterminate and often unpredictable,” “because the law is
             applied largely through case-specific standards that rely on the ex post judgment of the judges.” 63 This
             indeterminacy is often pointed to as a virtue of Delaware law — it provides flexibility and allows Delaware
             judges to “reach [ ] the ‘right’
             56
                  TBOC § 21.401.
             57
                  Compare Business Roundtable, 8/19/19 Statement on the Purpose of a Corporation, tinyurl.com/d9susybt.
             58
               Texas law also allows for “social purposes” like Tesla’s mission to be incorporated into companies’ charters.
             TBOC § 21.401(c), (d). As explained above, the proposed Texas charter is as similar to the current Delaware
             version as legally possible. If Tesla reincorporates in Texas, the Committee understands that the Board will
             consider amending its charter at a later time to incorporate the mission.
             59
                  Tex. Gov’t Code § 25A.009(b).
             60
                Casey Report ¶ 121; see also In re Shire PLC, Baxter Int’l Inc., Baxalta Inc., & ViroPharma Inc ., 633 S.W. 3d
             1, 25 (Tex. App. 2021).
             61
                  Casey Report ¶ 8.
             62
                This is also supported by statistics compiled by the Texas Judiciary Office of Court Administration regarding
             the frequency of civil jury trials generally.
             63
                  Id. ¶ 64.


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             outcomes in most cases.” 64 Indeed, former Delaware Supreme Court Chief Justice Veasey has specifically argued
             that Delaware law “is indeterminate and that this indeterminacy is good.” 65 Former Delaware Supreme Court
             Chief Justice Strine, former Delaware Supreme Court Justice Jacobs, and former Chancellor of the Delaware
             Court of Chancery Allen have similarly argued that Delaware law is indeterminate. 66 The Committee also noted
             scholarship that identifies a relatively “high level of reversal rate for decisions of the Delaware Court of
             Chancery.” 67
                 Additionally, the Committee was struck by commentary about recent developments in Delaware law. The
             Committee observed sessions from the 36th Annual Tulane Corporate Law Institute, 68 which was held on
             March 7 and 8, 2024. As publicly reported, comments at the conference included:
                    • “It is an unsettled time. It’s more difficult to counsel people.” Leo Strine, former Chief Justice of the
                      Delaware Supreme Court.
                    • “Some of the predictability across the board is not there.” Scott Barshay, chair of the corporate department
                      at Paul, Weiss, Rifkind, Wharton & Garrison LLP. 69
                  The Committee’s takeaway was that comparing the certainty and predictability of these jurisdictions was not
             straightforward. There are, as Professor Casey concluded, differences that “point in both directions.” 70 The
             Committee was also cognizant that Tesla will face litigation wherever it is incorporated. It is a large and
             innovative company, and so will be an attractive target for lawsuits and will consistently face litigation
             uncertainty. In the Committee’s business judgment, differences between the Delaware and Texas judicial systems
             do not outweigh the value of being incorporated in Tesla’s home state of Texas, and the Texas constituency
             statute’s better alignment with Tesla’s mission.
                                                                       ***

                  In the Committee’s business judgment, it is in the best interests of Tesla and all of its stockholders for Tesla
             to reincorporate in Texas. The Committee therefore recommended that: (1) the Board and management take all
             necessary and appropriate steps to implement the Committee’s determination consistent with legal obligations;
             (2) Elon Musk and Kimbal Musk be recused from the Board’s deliberations and from the vote on this matter,
             because of Elon Musk’s prior posts on X about reincorporation; (3) the stockholder vote on reincorporation be
             conditioned on approval by at least a majority of votes cast by non-Musk-affiliated stockholders, for the same
             reason; and (4) the Board recommend that stockholders vote for reincorporation based on the Committee’s
             determination that reincorporating in Texas is in the best interests of Tesla and all of its stockholders.

                  The Committee left to the Company how to best effectuate reincorporation. It understands that the Company
             is prepared to reincorporate in Texas via a conversion under § 266 of the Delaware General Corporation Law, if
             stockholders approve the reincorporation.


                                                [The rest of this page was intentionally left blank.]



             64
                  Id. ¶ 70.
             65
                  Id. ¶ 65.
             66
               Id. ¶¶ 68, 71, 75; see also Hamermesh, Jacobs, & Strine, Optimizing the World’s Leading Corporate Law: A
             Twenty-Year Retrospective and Look Ahead , 77 The Business Lawyer 321, 325 (2022).
             67
                  Casey Report ¶ 69 & fn. 81.
             68
               The Tulane Corporate Law Institute describes itself as “one of the premier M&A, corporate and securities law
             conferences in the country,” bringing together “the best and brightest M&A and securities practitioners, Delaware
             Supreme Court and Court of Chancery judiciary, leading corporate counsel and Wall Street investment bankers.”
             See law.tulane.edu/institutes/corporate.
             69
                  The Deal, Tulane: Discussing the Delaware Dilemma (Mar. 12, 2024).
             70
                  Casey Report ¶ 8.


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             II.     The Committee’s Ratification Decision.

                     A.   The Committee’s Evaluation Of Ratification.
                  The Committee considered a discrete question on ratification: should Musk’s 2018 compensation plan be put
             to a new stockholder vote at the same time as the vote on reincorporation, with a recommendation that
             stockholders vote in favor of ratification? For this question, too, the Committee identified certain key principles
             to guide its work: The views of Tesla’s stockholders are important. Motivating Musk to devote his time and
             energy to Tesla is important. The Committee would consult with and rely on any and all independent advisors it
             deemed necessary. It would take the time needed to thoroughly evaluate relevant considerations. It would assess
             what is in the best interests of Tesla and all of its stockholders at this time.
                   The Committee did not renegotiate the amount or terms of Musk’s 2018 compensation plan. That would not
             have been, in the Committee’s view, ratification; that would have functionally been a new compensation process
             and a new compensation plan, to be judged on their own substantive merits. The Committee also did not evaluate
             whether the amount or terms of Musk’s 2018 compensation plan were fair, or opine on the Tornetta ruling about
             its fairness. The Board previously decided in January 2018 that the compensation plan was fair, and Wilson-
             Thompson was not on the Board at that time. Moreover, the defendants will be appealing the Tornetta ruling
             because they believe the compensation plan is fair and should be upheld as agreed. The Committee assessed only
             whether this 2018 compensation plan , as it was previously agreed to, should be ratified at this time , based on
             the facts that currently exist.
                  The Committee took account of and investigated a number of factors, including the following. First, Wilson-
             Thompson is on the Board’s Compensation Committee, so she already knew the Company’s compensation
             practices and philosophy, and how those are strategically tailored to Tesla’s unique business and governance. She
             also was aware prior to her appointment to the Special Committee that the Tornetta ruling had had an effect on
             Musk.
                  Second, the Committee explored stockholder sentiment, including interviewing the Board Chair and head of
             Investor Relations regarding their interactions with investors. The Committee requested and received from the
             Company correspondence from investors sent after the Tornetta ruling, including letters and emails to the
             Tornetta court. The Committee considered conducting its own process to hear from institutional stockholders, but
             determined this was not necessary in light of the amount and strength of feedback stockholders had already
             provided.
                  Third, the Committee investigated potential alternatives to ratification, including the possibility that the
             Company would need to negotiate a replacement compensation package for Musk. The Committee requested and
             received information from the Company regarding the potential tax and accounting implications of any new
             compensation package, including in interviews of management and their advisors.
                  Finally, the Committee interviewed Musk about the 2018 compensation plan. Out of an abundance of
             caution, that interview was held after the Committee initially reached its decision on ratification, during the
             period this portion of the Report was being drafted.

                     B.   Should Stockholders Vote On Musk’s Compensation?

                     The Committee’s decision on ratification was grounded in several factors.
                 Stockholders Want To Speak For Themselves. Tesla stockholders’ views about their Company are important.
             Their views on Musk’s compensation, motivation, and retention are especially important because — as the
             Company’s public disclosures have said for years — Tesla is “highly dependent on the services of Elon Musk.” 71
             As a result, the Company’s relationship with Musk is a key focus of the Board’s stockholder engagement
             program.
                   Since the Tornetta ruling, stockholders have strongly expressed support for Musk’s compensation. Dozens of
             institutional stockholders have, unprompted, told the Company’s Investor Relations team that they disagree with
             Tornetta ’s invalidation of the 2018 compensation plan. Seven institutional stockholders — including 4 of the top
             10 — felt strongly enough to seek a meeting with the Board Chair and raise the issue. One of those top 10
             investors, T. Rowe Price, sent a follow up letter to the Board Chair reiterating its support for a new stockholder
             vote:
             71
                   2023 10-K at 21.


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                    We have read the Chancery Court opinion. We would not have taken the plaintiff’s side in this case, and we
                    found the ruling to be a negative surprise. The bulk of the shares owned by T. Rowe Price at that time voted
                    FOR 72 the program in 2018. With the benefit of hindsight, we don’t think there can be any serious argument
                    over whether the award was aligned with investors’ long-term interests. The question, of course, is what to
                    do about this if the company’s appeal is unsuccessful.
                    To be clear, we will be open to considering whatever solutions the board puts forward. However, as we have
                    thought about the problem, the approach we’d suggest is to fully separate the challenges of (a) the need to
                    make Mr. Musk whole for delivering against the required value creation milestones laid out in the 2018 plan
                    without ultimately receiving the promised award, and (b) the issue of designing a new forward-looking pay
                    program for him.
                    With regard to the 2018 proposition, we do not think it’s fair to set out a new set of options subject to a
                    fresh set of performance hurdles. The requirements of the 2018 package were extraordinarily ambitious —
                    and they were delivered . It is not reasonable for investors to expect to re-absorb the canceled options and
                    consider all that value creation to have been delivered to us for no consideration.
                    Therefore, if it is legally advisable, we suggest simply subjecting the original 2018 package to a new
                    shareholder vote, accompanied by expansive disclosure as to the process undertaken and the potential
                    conflicts of interest that were considered at the time. Now that your analysis can include a retrospective
                    component, we believe that including a discussion of the economic outcome for shareholders and how it was
                    split with the CEO should prove especially persuasive. 73
                  The issue has also galvanized retail stockholders. More than 6,000 individuals claiming to be stockholders
             owning more than 23 million total shares — equivalent to the 11th largest institutional stockholder — sent
             unsolicited letters and emails to the Board or to the Tornetta court supporting Musk’s compensation. Those letters
             say things like:
                    • “As Tesla shareholders, we want our shareholder votes to count (not be rescinded years later); we want
                      Tesla CEO Elon Musk to be compensated for his Past Work (that is keep ALL stock options previously
                      awarded for meeting the 2018 Musk Incentive Comp Plan milestones). . . . [We] [w]ould like the Board to
                      explore options to affirm the shareholder vote in support of keeping [ ] Tesla’s 2018 CEO Compensation
                      Plan active and in place.” 74
                    • “Shareholders voted overwhelmingly in favour of the CEO’s compensation package in 2018. I
                      subsequently bought stock with full awareness and understanding of the implications and nature of Elon’s
                      compensation structure. Contrary to the assumption of ignorance or misinformation, my investment was
                      made after careful consideration and analysis of the proposed incentives and their alignment with the
                      company’s long-term goals, as well as my own aspirations for gains.” 75
                    • “The reinstatement of a similar compensation package is supported by hundreds of TSLA shareholders.” 76
                    • “As admirers of the Tesla mission and Mr Musk[‘]s amazing efforts to achieve these goals we would like
                      to repeat our support for the compensation package . . . . We certainly hope that somehow the
                      compensation plan can be kept in place as the majority of the share[ ]holders voted for so many years
                      ago.” 77
                    • “As a shareholder who has placed his trust and resources in Tesla, I implore [the court] to consider the
                      broader implications of these legal proceedings. The outcomes extend far beyond the courtroom, shaping
                      the future trajectory of Tesla and the livelihoods of shareholders like myself who believe in its mission. . .
                      .

             72
               A footnote to the letter states: “Of the 11,054,739 shares held by T. Rowe Price on the record date, we voted
             11,050,239 shares FOR the grant and 4,500 shares AGAINST the grant.”
             73
                  4/10/24 Letter to Board Chair Robyn Denholm from T. Rowe Price (emphasis in original).
             74
                2/5/24 Letter to the Board of Directors from Amy Steffens and Alexandra Merz on behalf of 5,821
             stockholders holding 23,337,127 shares (with 196-page spreadsheet identifying those stockholders).
             75
                  Undated Letter to the Delaware Court of Chancery from Mike Henke.
             76
                  Undated Letter to the Delaware Court of Chancery from Alexandru Hetcau.
             77
                  3/11/24 Letter to the Delaware Court of Chancery from Renatus Remmerswaal and family.


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                      Any actions that undermine this [compensation] agreement threaten to erode not only shareholder value
                      but also the core values upon which Tesla was built.” 78
                    • “My choice for Tesla being my primary investment is because of the pay package selected for Elon Musk.
                      No different tha[n] many sales personnel, when you perform, you are awarded, sometimes very
                      handsomely for it. To the opposite of this, many CEO’s are awarded great sums even when the company
                      i[n] many cases, drastically fails to perform for its shareholders which is why I looked at them years ago
                      and didn’t choose them.” 79
                    • “[A] majority of my retirement is in Tesla because I believe in the mission, and the great opportunity the
                      investment represents for me and my family. I trust Elon and the board as they have accomplished what
                      everyone claimed was impossible. I supported the compensation plan regardless of who was on the board.”
                      80

                    • “I and millions of other Tesla shareholders have voted with our hard earned money to support this cause.
                      So, we vote again, through this letter, for [the court] to reconsider the impact of this judgement and the
                      harm it will cause Tesla employees, shareholders, our leaders and the future of our planet.” 81
                    • “I hold a significant number of shares and am a proud supporter of Tesla’s mission and vision. Given these
                      facts, I express my support for Elon Musk and Tesla’s board. Mr. Musk’s compensation plan, which was
                      approved by shareholders in 2018, should be upheld and [] the option awards should stand. I, along with
                      many other retail shareholders, would vote in favor of this compensation plan once again.” 82
                    • “In 2018, when the compensation package was devised, Tesla was still in its nascent stage, and the path
                      ahead was fraught with uncertainties. It was a pivotal moment for the company, and the compensation
                      package for Mr. Musk reflected the significant risks involved. The package was structured in such a way
                      that it aligned Mr. Musk’s incentives with the long-term success of Tesla, thereby safeguarding the
                      interests of shareholders like myself. . . . As an investor, I understood the risks involved in supporting this
                      compensation package. However, I firmly believed in the vision and potential of Tesla under Mr. Musk’s
                      leadership. It was a calculated risk undertaken with the expectation of substantial returns once the
                      company achieved its goals. In conclusion, I respectfully request the court’s understanding and
                      reconsideration of the 2018 compensation package for Elon Musk at Tesla.” 83
                    • “As a small retail investor with a majority of m[ ]y investment position in Tesla stock . . . I expect and
                      support that Elon Musk’s pay package will be reinstated by shareholder vote, in whole or in substantial
                      part, with compliant disclosures.” 84
             And that does not count the many posts on X backing Musk’s compensation.

                  The Committee found this stockholder feedback powerful and persuasive. In its judgment, this alone justifies
             holding a ratification vote so that stockholders can determine whether Musk’s compensation plan is fair and in
             their best interests.

                  A Ratification Vote Cures Tornetta’s Disclosure Criticisms. The Tornetta decision criticizes many aspects of the
             negotiation process for, the substance of, and the disclosures about the 2018 compensation plan. A new
             stockholder vote allows the disclosure deficiencies found by the Tornetta court to be corrected, among other
             things. Stockholders will have the opportunity to vote on Musk’s 2018 compensation plan with full knowledge of
             everything the Tornetta decision criticized. They will also know what Musk achieved.

                  The Committee is aware that the Company and the defendants in Tornetta vigorously dispute the ruling and
             the defendants plan to appeal it. Regardless of the decision’s merits, holding a new vote, with the Tornetta
             opinion
             78
                  3/7/24 Letter to the Delaware Court of Chancery from Rafael De La Rosa Troyano.
             79
                  3/5/24 Letter to the Delaware Court of Chancery from Russell McClelland.
             80
                  3/8/24 Letter to the Delaware Court of Chancery from Laurent Molteni.
             81
                  Undated Letter to the Delaware Court of Chancery from Dan & Julie Manfre.
             82
                  3/6/24 Letter to the Delaware Court of Chancery from Andres Jatombliansky.
             83
                  3/10/24 Letter to the Delaware Court of Chancery from Ernest Tam.
             84
                  3/4/24 Letter to the Delaware Court of Chancery from Andre Yoshida.


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             fully disclosed and attached to the proxy statement, has independent value in the Committee’s eyes because it
             will remove the cloud over the 2018 vote. The stockholders can decide for themselves if they think Musk’s
             compensation is fair, in light of what he achieved and its impact on stockholders.
                  Ratification Could Avoid Further Uncertainty Regarding Musk’s Compensation And Motivation. The 2018
             compensation plan was first approved by stockholders in March 2018. The Tornetta litigation has been pending
             for nearly 6 years, and proceedings remain ongoing in the trial court. The appeal, once it is filed, will likely take
             many months. Ratification by stockholders at the 2024 annual meeting could avoid a prolonged period of
             uncertainty regarding the Company’s most important employee.
                  Although the Committee made its decision beforehand, it wanted to hear directly from Musk on this issue. It
             asked him whether, and why, the 2018 compensation plan was important to him. Musk told the Committee that,
             like most people, he wants to be treated fairly and with respect. He said he feels that he worked extraordinarily
             hard, and made many sacrifices, to meet the terms of the deal that had been agreed on. He made clear that his
             ownership interest in Tesla is also very meaningful to him. And he confirmed that the 2018 compensation plan
             had been motivating, and that ratification of it would motivate him to continue devoting his time and energy to
             Tesla. 85
                  Seeking Ratification Now Potentially Avoids A Criticism Of The Reincorporation Vote. Holding a ratification
             vote on Musk’s compensation now may take away one potential criticism of the stockholder vote on
             reincorporation. The Committee was cognizant of the possibility that its reincorporation decision could be
             wrongly perceived as being made in direct response to the Tornetta ruling and with the intent to award Musk
             compensation in a different jurisdiction that he could not get in Delaware. Holding a ratification vote now should
             preclude such criticism. 86
                   Seeking Ratification Now Potentially Avoids Other Costs. If the 2018 compensation plan is not ratified, then
             Tesla may need to negotiate a replacement compensation plan with Musk in order to motivate him to devote his
             time and energy to Tesla. Negotiating a new plan would likely take substantial time in light of the criticisms in
             Tornetta of the process that led to the 2018 compensation plan. And any new plan would, of course, require Musk
             to agree to the terms and amount. Although the Committee expressly and consciously did not negotiate (or
             renegotiate) with Musk about his compensation, it expects from its interview with him that, for Musk to agree to
             it, any new plan would need to be of a similar magnitude to the 2018 plan.
                  There is a risk that a new compensation plan would thus have a substantially similar dilution effect as the
             2018 plan (assuming it is equity-based rather than cash). It would likely also result in a very large, incremental
             accounting charge for compensation expense. For illustrative purposes, the Company’s Accounting team informed
             the Committee that a new grant of 300 million fully vested options — functionally equivalent to what Musk had
             before the Tornetta ruling — would potentially result in an accounting charge in excess of $25 billion, depending
             on certain timing and valuation factors. According to their analysis, any replacement compensation plan would
             likely have to be less than 10% of the size of the 2018 plan to avoid a new accounting charge for compensation
             expense that is greater than the reversal of the 2018 charge.
                 The Committee also considered the possibility that ratification of Musk’s 2018 compensation plan could
             undermine the Tornetta plaintiff’s request for an award of legal fees of approximately $5 billion in Tesla stock.
             Many stockholders sent correspondence objecting to this fee request.

                                                                     ***
                  In the Committee’s business judgment, it is in the best interests of Tesla and all of its stockholders for
             Musk’s 2018 compensation plan to be put to a new stockholder vote at the same time as the vote on
             reincorporation, with a recommendation that stockholders vote in favor of ratification. The Committee therefore
             recommended to the Board that: (1) the Board and management take all necessary and appropriate steps to
             implement the Committee’s ratification decision consistent with legal obligations; (2) Elon Musk and Kimbal
             Musk be recused from the Board’s deliberations and from the vote on this matter, because it concerns Elon
             Musk’s compensation; (3) the stockholder

             85
               Of course, even a favorable ratification vote by stockholders may not fully resolve this matter. The Committee
             and its advisors cannot predict with certainty how a vote to ratify Musk’s compensation would be treated under
             Delaware law in these novel circumstances.
             86
               Compare TripAdvisor , 2024 WL 678204, at *1-2, *5; Palkon v. Maffei (“ TripAdvisor II ”), 2024 WL
             1211688, at *7 (Del. Ch. Mar. 21, 2024).



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             vote on ratification be conditioned on approval by at least a majority of votes cast by disinterested stockholders,
             in the same manner as the 2018 stockholder vote; (4) the Tornetta opinion be annexed to, and summarized in, the
             Company’s proxy statement; (5) the Company’s proxy statement address any other current plans regarding
             compensation for Elon Musk; and (6) the Board adopt appropriate ratification resolutions and recommend that
             stockholders vote for ratification based on the Committee’s determination that ratifying Musk’s 2018
             compensation plan is in the best interests of Tesla and all of its stockholders.
                 The Committee left to the Company how to best effectuate its decision. It understands that the Company is
             prepared to seek ratification under Delaware common and statutory law, including under § 204 of the Delaware
             General Corporation Law.


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                                                  Part 2: The Special Committee’s Process

             I.     The Committee’s Mandate And Composition.
                  Whether Tesla should reincorporate has been periodically considered by members of management and
             outside directors over the past several years, since Tesla moved its headquarters from California to Texas in 2021.
             The question came up again after the Delaware Court of Chancery invalidated Musk’s 2018 compensation plan on
             January 30, 2024. The next day, Musk posted on X that “Tesla will move immediately to hold a shareholder vote
             to transfer state of incorporation to Texas.” The Board created the Special Committee in part because of this post.
             Whether to reincorporate outside of Delaware, and whether to put that question to stockholders, is a decision for
             the Board to make, not Musk alone.
                   The Board convened two special meetings that addressed Musk’s post about reincorporation. On Sunday,
             February 4, the Board, including Musk, met and discussed the matter. The Board addressed the public narrative
             that Musk had already decided the issue for the Company and that Musk’s post was a reflexive reaction to the
             Tornetta decision. The discussion reflected the fact that outside directors as well as management had previously
             explored the possibility of reincorporating (though without coming to a decision one way or the other). At this
             meeting, the Board determined that, regardless of Musk’s post, the Board would only consider reincorporating at
             this time after an appropriate process and timeline, and based on an evaluation of the best interests of the
             Company and all of its stockholders. 87
                  On Saturday, February 10, the Board reconvened to address the reincorporation issue without Elon or Kimbal
             Musk. Five directors were present: Robyn Denholm, Ira Ehrenpreis, Joe Gebbia, JB Straubel, and Kathleen
             Wilson-Thompson. These directors concluded that a majority of the Board was independent and disinterested with
             respect to reincorporation. They nevertheless decided to create a Special Committee to consider the
             reincorporation issue out of an abundance of caution, in light of the Tornetta ruling and the high degree of public
             attention. Accordingly, these five directors unanimously voted to form the Committee and to appoint Kathleen
             Wilson-Thompson and Joe Gebbia as members. 88

                  The Board charged the Committee with considering “whether it would be in the best interests of the
             Company and its stockholders to change its corporate domicile, and if so, to which jurisdiction.” 89 The Board
             expressly intended that the Committee “should be fully empowered to discharge its duties.” 90 Among other
             things, the Committee had the authority to: determine the Company’s decision on the reincorporation issue;
             consider all alternatives, including remaining in Delaware or reincorporating in any other jurisdiction; determine
             whether to condition any reincorporation on a particular stockholder vote standard; determine its own timing
             without any deadline; select and retain advisors at the Company’s expense; and obtain information from and
             direct the Company’s officers, employees, and advisors as it deemed necessary and appropriate. 91 In the
             Committee’s and its counsel’s judgment, the Committee was fully empowered to discharge its mandate.
                  As the Committee and its counsel considered the incorporation question, they explored various scenarios and
             what might need to be done to implement any decision the Committee reached on incorporation. If the Committee
             determined that Tesla should remain incorporated in Delaware, then no stockholder vote — and no disclosures —
             would be needed. But if the Committee determined that Tesla should reincorporate elsewhere, there would need
             to be a stockholder vote, and that vote would need to be informed. The Committee concluded that if it made a
             determination to reincorporate, Musk’s compensation should also be addressed in some way at the same time.
             Otherwise, a potential reincorporation could be wrongly perceived as being made in response to the Tornetta
             ruling and with the intent to award Musk compensation in a different jurisdiction that he could not get in
             Delaware. And, if stockholders were not told of any then-existing plans for Musk’s compensation, the
             reincorporation vote could be subject to attack as not fully informed.
             87
                  See 2/4/24 Board minutes.
             88
                See 2/10/24 Board minutes. James Murdoch did not attend the meeting because of a scheduling conflict, but
             later confirmed his agreement with the Board’s determinations.
             89
                  Id.
             90
                  Id.
             91
                  Id.


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                  Accordingly, the Committee and its counsel discussed how Musk’s compensation might be addressed if there
             were a decision to reincorporate. Wilson-Thompson is a member of the Board’s Compensation Committee, and
             she was aware that Musk had made it clear that he believes it is unfair to not be paid for his work as agreed. She
             was also aware that the Company was evaluating options, and that the Compensation Committee had not taken
             any steps to prepare or negotiate a new, forward-looking compensation plan. The Committee instructed its
             counsel to inquire about the Company’s current plans, if any, regarding Musk’s compensation. The Committee’s
             counsel learned that an appeal of the Tornetta ruling was being planned, and the Company also was evaluating
             seeking ratification of Musk’s 2018 compensation plan via a new stockholder vote. In light of this information,
             the Committee and its counsel determined to request that the Board expand the Committee’s authority.
                  The Board did so on March 5, 2024, as requested. Specifically, the Board delegated additional authority to
             the Committee to decide whether, if there is a stockholder vote on reincorporation, Musk’s 2018 compensation
             plan should be ratified at the same time, as well as potential disclosures about Musk’s compensation that might
             need to be made to ensure stockholders were informed in voting on reincorporation. The Board intended to fully
             empower the Committee on this second aspect of its mandate as well, and the Committee and its counsel
             concluded it was again fully empowered. In addition to the powers it already had, the Committee gained the
             authority to: determine the Company’s decision on the ratification question; consider all alternatives, including
             not seeking ratification of the 2018 grant; and determine whether to condition any ratification on a particular
             stockholder vote standard. 92
                  On March 6, 2024, after the Board expanded the Committee’s mandate, Gebbia withdrew from the
             Committee. Gebbia explained that he was stepping down out of an abundance of caution because of the potential
             for unfair attacks based on perceived conflicts of interest:
                    As part of the process of the Committee examining its own independence, I raised the fact that I have a
                    personal relationship with Elon Musk, as well as a potential business transaction through Samara with him
                    (which is currently on hold). The Committee and its counsel have concluded that I am nonetheless
                    independent and disinterested in considering whether Tesla should remain incorporated in Delaware or
                    reincorporate elsewhere. I also have no doubt that I could and would be able to make an independent
                    determination on the reincorporation question based on what is best for Tesla and all of its shareholders, as I
                    do on all Board matters. That said, I have been aware of, and reflecting on, the possibility of an unfair attack
                    on the Committee based on my relationship with Elon.
                    With the expansion of the Committee’s mandate to also address potential disclosures or a shareholder vote
                    about Elon’s compensation, I have concluded that, out of an abundance of caution, stepping down from the
                    Committee is for the best, particularly given the level of scrutiny this Committee is likely to face. Although
                    neither my relationship with Elon nor anything about the substance of this decision would compromise my
                    integrity or judgment in any way, I recognize that my relationship with him could be used to attack the
                    Committee and its conclusions. Such an attack would be unjustified, but the work of this Committee is too
                    important to run that risk.
                    I have not reached this decision lightly. But the combination of these factors, among others, including
                    personal considerations, has caused me to conclude that it would be best for the Committee, for Tesla, and
                    for myself if I withdrew. 93
                  Gebbia stepped down entirely of his own accord, and not because of any concern by the Committee or its
             counsel regarding his independence. The expansion of the Committee’s mandate did not alter the Committee’s or
             its counsel’s conclusion regarding Gebbia’s independence. They believed that Gebbia was in fact independent and
             disinterested for both the incorporation and the ratification questions.
                  After Gebbia stepped down, Wilson-Thompson became a “committee of one.” The Committee and its
             counsel discussed with the Board Chair, the Nominating and Governance Committee Chair, and management the
             possibility of accelerating the in-process search for new independent directors, and adding any new director(s) to
             the Committee. The timing of the ongoing director search ultimately did not fit with the Committee’s work, and
             the Committee determined there was no reason to delay its work based on the possibility that additional directors
             would be added to the Board at some point in the future.
             92
                  See 3/5/24 Board minutes.
             93
                  3/7/24 Joe Gebbia email to Board Chair Robyn Denholm.


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             II.    The Committee’s Advisors.
                  Sidley Austin LLP. Sidley is a global law firm with 21 offices, approximately 2,300 lawyers, and $3 billion
             in revenue in 2023. Sidley is particularly well-known for its premier public company advisory, corporate
             governance, and shareholder litigation practices.
                  Kristen Seeger & John Skakun. Seeger and Skakun were retained by the Committee as its lead counsel
             following an interview and diligence process. Seeger is a member of Sidley’s Executive Committee and co-leads
             the firm’s global Commercial Litigation and Disputes practice. Seeger and Skakun have led some of the largest
             and most significant securities class actions and fiduciary duty cases in the nation. They have deep experience
             representing public companies, boards, and special committees in high-profile and sensitive matters, including
             shareholder litigation and governance matters involving Delaware law.
                  Other Sidley Lawyers. More than 40 other Sidley lawyers assisted with the representation of the
             Committee, including prominent members of Sidley’s public company advisory practice, securities and
             shareholder litigation practice, corporate governance practice, shareholder activism and corporate defense
             practice, and tax practice. In particular, Seeger and Skakun were supported by a core team with significant
             experience in board and shareholder matters, including Liz Austin, Anika Hermann Bargfrede, Larry Fogel, and
             Katie LaVoy.
                  Additionally, Gary Gerstman, Yolanda Garcia, and George Vlahakos had key roles in advising the Committee
             on Delaware and Texas law. Gerstman advises Delaware companies on a wide variety of M&A and strategic
             transactions, counsels public companies on a broad range of corporate governance matters, and is a global
             co-leader of Sidley’s Technology Industry Group. Garcia co-leads Sidley’s Securities and Shareholder Litigation
             practice, and regularly represents companies in shareholder litigation under Delaware law and Texas law.
             Vlahakos is co-managing partner of Sidley’s Houston office, and advises both Delaware and Texas companies on
             a broad range of transactional and corporate governance matters.
                  Other Advisors. The Committee also determined that it would benefit from being advised by Delaware
             counsel, a corporate law and governance expert, and an investment bank. For each role, Sidley assessed multiple
             leading candidates, with a focus on both quality and independence. Sidley recommended and the Committee
             retained the following additional advisors.
                   A. Thompson Bayliss, Abrams & Bayliss LLP. The Committee engaged Bayliss as Delaware counsel, and
             he advised the Committee on its process and relevant aspects of Delaware law for both reincorporation and
             ratification. Bayliss is a highly-regarded Delaware lawyer with extensive experience representing parties in
             corporate, fiduciary duty, and other governance disputes before the Delaware Court of Chancery and the
             Delaware Supreme Court.
                  Professor Anthony Casey, University of Chicago Law School. Professor Casey served as the Committee’s
             corporate law and governance expert. He advised the Committee on a wide range of matters relevant to the
             incorporation question, including the academic literature on corporate law and incorporation generally, as well as
             on the corporate laws of specific states considered by the Committee. Professor Casey is the Donald M. Ephraim
             Professor of Law and Economics at the University of Chicago Law School. He has researched, written about, and
             taught corporate governance and business law, finance, and corporate bankruptcy. He was previously a partner at
             Kirkland & Ellis LLP.
                 Houlihan Lokey Capital, Inc. Houlihan was the Committee’s financial advisor. Houlihan is a leading
             global investment bank that is regularly engaged to provide financial advisory services, including to independent
             committees of boards of directors.

             III. The Committee’s Independence.
                 The Committee concluded that it is independent and disinterested with respect to all aspects of its mandate.
             This conclusion rested on an evaluation of the Committee (i.e., Wilson-Thompson) by counsel, as well as the
             Committee’s evaluation of the independence and disinterestedness of its counsel and other advisors.
                 Kathleen Wilson-Thompson. Sidley conducted an independence interview of Wilson-Thompson shortly after
             being retained, re-evaluated her independence after the Committee’s mandate was expanded, and confirmed her
             independence at the end of the process. Seeger and Skakun concluded that Wilson-Thompson was independent
             and disinterested in discharging the Committee’s full mandate, based on the following factors.



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                  Joined Board As Independent Director Pursuant To SEC Approval. Wilson-Thompson joined Tesla’s Board
             in connection with the Company’s September 29, 2018, settlement with the SEC. That settlement obligated Tesla
             to appoint two independent directors, of which Wilson-Thompson was one. She was identified as an independent
             director candidate through a search process conducted by Russell Reynolds Associates, and her appointment to
             the Board was effective December 27, 2018. Wilson-Thompson was appointed to the Disclosure Controls
             Committee shortly after joining the Board, and her membership of that Committee as an independent director was
             subject to approval by the SEC for the duration of the settlement’s term. Wilson-Thompson continues to serve in
             this oversight role.
                  No Compromising Personal Or Financial Ties. When she joined the Board in 2018, Wilson-Thompson had
             no social or business connections to Musk or any other Tesla director. That has not changed. Wilson-Thompson is
             now friendly with all of the directors and a number of the Company’s officers, but she does not have personal
             relationships with any of them. She does not attend significant social events (weddings, vacations, etc.) with
             other directors or officers. She does not have meaningful charitable ties to other directors or officers; she is the
             immediate past Chair of the Board of Directors of the University of Michigan Alumni Association, but no one
             else from Tesla is on that Board. She lives in Chicago, but no other director or officer does. She has no business
             dealings with, or investments in any entities affiliated with, any other directors or officers, including Musk.
                  Wilson-Thompson has realized a pre-tax total of approximately $62 million from the exercise of equity
             awards received for her service on the Board and, as disclosed in public filings, currently beneficially owns
             771,255 shares. 94 This is a meaningful portion of her net worth. The Committee’s counsel believes that these
             equity interests fully align Wilson-Thompson’s interests with the interests of all Tesla stockholders. The value of
             her awards is the result of the significant increase in the Company’s stock price since 2018, which has benefited
             Wilson-Thompson in identical proportion to all stockholders. The Committee’s counsel also believes that her
             share ownership does not render her beholden to anyone. Her awards were the only compensation she has
             received for serving on Tesla’s Board, they were fully disclosed and are consistent with the compensation of all
             outside directors during her period of service, and for a period after their issuance they were underwater.
             Furthermore, Wilson-Thompson last received an award in June 2019, and all of her options fully vested by
             June 2022; none of her equity interests are dependent in any way on her continued service on the Board and
             cannot be reduced by any director or officer of Tesla, including Musk. 95 Her current wealth also means she is not
             financially dependent on remaining a Tesla director. 96
                   Nor does Wilson-Thompson have any compromising political, charitable, or other ties to any of the
             jurisdictions that were under consideration by the Committee as a potential place of incorporation. Wilson-
             Thompson and her husband have endowed a scholarship at the University of North Texas, and since 2014 her
             husband has served on the board of the Greater Texas Foundation, an organization that promotes equal
             opportunity in postsecondary education for Texas students. The UNT endowment, established in honor of a
             long-time friend, is one of multiple scholarships funded by Wilson-Thompson and her husband at educational
             institutions across the country, including institutions in Florida, New York, and Michigan. Wilson-Thompson has
             no significant connection to Delaware.
                National Reputation As A Public Company Director & Officer. Wilson-Thompson has served in senior
             management and director roles at public companies for three decades. She served as Executive Vice President and
             94
                  2023 Proxy Statement at 57.
             95
                In 2020, a stockholder brought a lawsuit in the Delaware Court of Chancery against the Tesla Board, including
             Wilson-Thompson, alleging that the Board awarded itself unfair and excessive compensation from 2017 through
             2020. Police and Fire Ret. Sys. of the City of Detroit v. Musk , No. 2020-0477-KSJM (Del. Ch.). The matter was
             settled. Among other things, the directors collectively agreed to return options and other compensation worth
             $735 million, to forgo options awarded in 2021 and 2022, and to forgo any compensation for Board service in
             2023. The settlement further provides that on a going-forward basis, the compensation of all non-employee
             directors, including Wilson-Thompson, will be put to a stockholder vote on an annual basis. The settlement is
             pending court approval.
             96
                As disclosed in the Company’s 2020 and 2021 proxy statements, Tesla determined not to renew its directors
             and officers liability insurance for the 2019-2020 year. For that year, and for a 90-day interim period in 2020,
             Musk agreed with Tesla to personally provide substantially equivalent coverage. The Board concluded that
             because the arrangement was governed by a binding agreement with Tesla and Musk did not have unilateral
             discretion to perform, and the arrangement was intended to replace an ordinary course insurance policy, it would
             not impair the independent judgment of the other members of the Board.



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             Global Chief Human Resources Officer of Walgreens Boots Alliance, Inc. from December 2014 until her
             retirement in January 2021, and as Senior Vice President and Chief Human Resources Officer from January 2010
             to December 2014. Wilson-Thompson held various legal and operational roles at Kellogg Company from
             January 1991 to December 2009, including as its Senior Vice President, Global Human Resources.

                  Wilson-Thompson currently serves as a director of two other public companies, Wolverine World Wide, Inc.
             (since May 2021) and McKesson Corporation (since January 2022). She previously served as a director of two
             other public companies, Ashland Global Holdings Inc. (2017 to 2020) and Vulcan Materials Company (2009 to
             2018).
                  Wilson-Thompson’s accomplishments and national reputation as a business leader were built by her own
             hard work and skills. She grew up in Saginaw, Michigan, the child of a millwright at General Motors and a junior
             high school teacher. She graduated from the University of Michigan and earned two law degrees from Wayne
             State University, a JD as well as an LLM in corporate and finance law. She rose through the ranks to the C-Suite
             at two iconic Fortune 500 public companies. No aspect of Wilson-Thompson’s personal success or business
             reputation is the result of any connection to Tesla or Musk.

                  Demonstrated Commitment To Independence During This Process. Throughout the Committee’s work,
             Wilson-Thompson stated and demonstrated that she would fairly consider all alternatives and would make a
             decision based only on what she believed to be in the best interests of the Company and all of its stockholders —
             regardless of what Musk may say or do.

                 Seeger and Skakun observed this commitment first-hand. They participated in every Committee meeting with
             Wilson-Thompson, and had near-daily communications with her. They observed her integrity and principles, and
             never observed anything remotely resembling a so-called “controlled mindset.” To the contrary, Wilson-
             Thompson focused on fully exploring the merits of the matters before the Committee and reaching decisions
             based solely on the best interests of the Company and all of its stockholders.
                  Wilson-Thompson’s independence was also supported by Tesla’s other directors. Seeger and Skakun
             participated in interviews of every director, and they observed express support of, and sensitivity to, Wilson-
             Thompson’s independence. Seeger and Skakun never observed nor learned of any attempt by any director or
             officer of Tesla to control the Committee or its process.
                  Sidley. The Committee assessed Sidley’s independence both before and after retention. Sidley had
             previously represented Tesla in two matters, for which it received $2,601 in fees in October 2021, and $10,000 in
             fees in January 2017. These amounts are immaterial to Sidley; it collected $3 billion in revenue in 2023. Sidley’s
             conflicts search found no record of any other representation of Tesla or any of its directors, other than a prior
             representation of Wilson-Thompson as a witness before she joined Tesla’s Board. Sidley has no material
             representations for any other Musk-related entities, and to the contrary is representing certain former executives
             of X Corp. (formerly Twitter, Inc.) in litigation against Musk and X Corp.

                 The Committee also specifically scrutinized the independence of Seeger and Skakun given their roles.
             Neither Seeger nor Skakun own, or have ever owned, any Tesla stock or any investment in any Musk-related
             business. Neither have any personal connection with, or had ever met, any Tesla director or officer prior to this
             engagement, other than Wilson-Thompson. The Committee therefore found that Seeger, Skakun, and Sidley are
             independent.
                  Other Advisors. The Committee and its counsel also assessed the independence of each of the Committee’s
             other advisors, and only retained advisors determined to be independent.
                  Bayliss, Delaware Counsel. Bayliss’s law firm, Abrams & Bayliss LLP, has had two relevant prior
             engagements. Neither involved Bayliss, neither was financially or reputationally material to the firm in his view,
             and neither were led by any current partners in the firm or any lawyers involved in this engagement. First, at the
             recommendation of Wachtell, Lipton, Rosen & Katz, Musk retained Abrams & Bayliss from January 2019 to
             September 2020 in connection with non-public, Delaware-law-related insurance and contribution issues arising
             from the litigation over Tesla’s acquisition of SolarCity. The firm was paid $224,935.80 for that work. Second, at
             the recommendation of Quinn Emanuel Urquhart & Sullivan, LLP, Tesla retained Abrams & Bayliss in a books
             and records case styled Wagner v. Tesla, Inc. from December 2021 to October 2022. The firm was paid
             $153,824.98 for that work.



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                  Professor Casey, Corporate Law & Governance Expert. Casey is a tenured professor at the University of
             Chicago Law School. He has no social or financial connections to Tesla, Musk, or any Musk-related entity. The
             University of Chicago Law School has never received any donations from Tesla, Musk, or any Musk-related
             entity. 97
                  Houlihan, Financial Advisor. Houlihan searched its records for the last 3 years and identified no prior
             retention by Tesla or Musk. Nor do any of Houlihan’s senior team members for this matter own any Tesla stock.

             IV. The Committee’s Diligence.
                  Over the course of 8 weeks, the Committee and its counsel devoted an enormous amount of time and
             attention to this matter. Wilson-Thompson spent more than 200 hours on the Committee’s work. Seeger and
             Skakun each spent more than 600 hours. In total, Sidley attorneys spent more than 4,000 hours on the matter.
             Delaware counsel Abrams & Bayliss LLP spent more than 100 hours, and Professor Casey spent more than 190
             hours.
                 Wilson-Thompson directed all aspects of the Committee’s work. She actively participated in every meeting.
             She regularly spoke with Seeger and Skakun outside of Committee meetings as well, raising her thoughts,
             comments, and questions for discussion and consideration. She reviewed an extensive set of written materials.
             She participated in every interview. She oversaw the drafting of this Report. A summary of her diligence follows.
             98

                  Committee Meetings. The Committee met 16 times for more than 26 hours. Wilson-Thompson, Seeger, and
             Skakun attended every Committee meeting, and Wilson-Thompson attended 13 of the meetings in-person at
             Sidley’s Chicago office. All 12 meetings after Wilson-Thompson became a committee of one were conducted
             in-person. Wilson-Thompson reviewed and approved the Committee’s minutes after they were initially prepared
             by Sidley.
                   The Committee’s meetings were often lengthy and involved substantive back-and-forth and questioning by
             Wilson-Thompson. For example, three meetings were seminars with Professor Casey, which explored the history
             and development of corporate law in the US, and key aspects of corporate law across various US jurisdictions.
             Two other meetings were multi-hour panel discussions with practitioners regarding Delaware and Texas law,
             moderated by Professor Casey. These panel discussions delved into key aspects of corporate law and stockholder
             litigation, and comparisons between the two states. There were also standalone follow-up meetings about each of
             Delaware and Texas, including one meeting where the strongest case was made to the Committee for each state.
             In those panel discussions and follow-up meetings, Bayliss and Gerstman addressed Delaware law, and Garcia
             and Vlahakos addressed Texas law. Wilson-Thompson helped identify key topics and questions for the panel and
             follow-up meetings, and actively engaged in the discussions.
                   Information Considered By The Committee. Throughout the process, the Committee and its counsel evaluated
             what information would be necessary and helpful in discharging its mandate. Sidley and the other advisors
             gathered a substantial amount of information that was publicly available or which they had access to. 99 At the
             Committee’s direction, Sidley made a number of requests to the Company for information, all of which were
             fulfilled. All of the information received by the Committee was reviewed by Sidley, and much of it was reviewed
             by Wilson-Thompson.
                 Information Requested And Received From The Company.          The information received from the Company
             and considered by the Committee included:
                    • Board minutes and resolutions regarding the creation and authorization of the Committee.
                    • Director independence questionnaires for the Committee’s members.
                    • All final Board and Board committee minutes from 2023 and 2024.

             97
               Former Tesla director Antonio Gracias is a member of the University of Chicago Board of Trustees, but does
             not serve on any body of the Law School.
             98
                A list of Special Committee meetings is attached as Exhibit A, a list of Special Committee interviews is
             attached as Exhibit B, and a list of documents reviewed by Kathleen Wilson-Thompson is attached as Exhibit C.
             99
                Sidley retained Edelman Smithfield to gather and provide relevant public statements in light of the significant
             public interest. Sidley also used its internal library personnel to gather certain data, publications, and other
             information.



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                     • Stockholder communications regarding reincorporation or Musk’s compensation.
                     • The Company’s position on any potential materially adverse tax, accounting, contractual, regulatory, or
                       securities effects from reincorporation or of ratification.
                     • The Company’s position and plans regarding Musk’s compensation.
                     • The Company’s position on how to effectuate any potential reincorporation or ratification.
                  Materials Reviewed By Wilson-Thompson. The Committee requested a significant amount of information
             from its counsel and other advisors. Much of this information was analyzed and presented during Committee
             meetings. Outside of Committee meetings, Wilson-Thompson reviewed more than 140 documents totaling more
             than 2,000 pages. These included:
                     • Materials analyzing the corporate laws of selected jurisdictions, including 40-plus-page memos
                       summarizing the corporate laws of Delaware and Texas.
                     • Professor Casey’s report to the Committee.
                     • Houlihan’s report to the Committee.
                     • Academic articles regarding corporate law and incorporation, including articles analyzing any impact on
                       economic value and potential differences across jurisdictions.
                     • Proxy statements by other Delaware companies that reincorporated, and the related reports by Glass Lewis
                       and ISS.
                     • Communications from Tesla stockholders regarding a potential reincorporation and regarding the Tornetta
                       case.
                     • Relevant Delaware cases, including the SolarCity opinion (April 2022), the Tornetta opinion
                       (January 2024), and the TripAdvisor opinion (February 2024).
                     • Certain presentations from the March 2024 Corporate Law Institute Conference at Tulane University.
                     • A summary of fiduciary duties for Special Committees under Delaware law.
                 Interviews. The Committee and its counsel interviewed 12 individuals to gather information. The Company
             granted every interview request, and every interviewee answered all of the Committee’s questions.
                  The Committee and its counsel interviewed the other directors regarding their prior consideration of
             reincorporation (if any), their views on Tesla’s mission and its importance to the Company, and their views on the
             strategic importance of Tesla’s various physical locations and operations, as well as the Company’s relationships
             with those jurisdictions. The Committee did not interview Elon Musk or Kimbal Musk until after it had reached a
             decision on both reincorporation and ratification. No aspect of either of those interviews caused the Committee to
             rethink its decisions.
                 The Committee and its counsel also interviewed 5 members of management: Tom Zhu, SVP, Automotive;
             Martin Viecha, VP, Investor Relations; Joseph Gruber, VP, Tax; Harsh Rungta, Director, Automotive Revenue and
             Energy Business Controller; Eric Lussier, Senior Technical Accounting Manager.

             V.      The Committee’s Activities.
                  The following overview highlights key activities and milestones in the Committee’s work following its
             creation on Saturday, February 10. 100
                     • Week of February 11:    Committee interviews and retention of counsel.
                         • Sunday, February 11 & Monday, February 12: Committee contacted potential counsel identified
                           based on prior experience, recommendations, and reputation.
                         • Tuesday, February 13 & Wednesday, February 14: Committee interviewed teams from 3 law firms,
                           focusing on independence, qualifications, and relevant experience.
             100
                    Further detail regarding the Committee’s work is provided in the minutes of its meetings.


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                        • Thursday, February 15:     Committee retained Sidley.
                    • Week of February 18: 2 Committee meetings; independence interviews and analysis; determination to
                      start incorporation analysis from a blank slate; determination to narrow focus to 10 US states; Committee
                      member review of materials provided by counsel; Committee counsel developing work plan, identifying
                      relevant factors for analysis, considering additional advisors, and evaluating potential timeline for
                      incorporation decision.
                        • Monday, February 19: Committee meeting (1 hour, Wilson-Thompson in person at Sidley’s
                          Chicago office, Gebbia by Zoom); independence interviews.
                             • Discussion of potential framework for reaching incorporation decision and potential work plan;
                               determination to begin by considering all possible jurisdictions and then narrowing over time to
                               two jurisdictions for a decision.
                             • Separate independence and disinterestedness interviews of Wilson-Thompson and Gebbia by
                               Committee counsel.
                        • Thursday, February 22:     Committee meeting (0.5 hours, by Zoom).
                             • Discussion and determination regarding independence and disinterestedness.
                             • Determination to narrow jurisdictions under consideration to 10 US states: California, Delaware,
                               Florida, Maryland, Nevada, New York, Ohio, Pennsylvania, Texas, Virginia.
                    • Week of February 25: 2 Committee meetings; Committee member review of materials provided by
                      counsel; Committee counsel evaluating relevant factors for analysis of 10 US states under consideration,
                      requesting information from directors and management for incorporation analysis, negotiating potential
                      change to date of annual stockholder meeting, negotiating potential expansion of Committee membership
                      if new director added, negotiating potential expansion of Committee authority, and traveling to Texas
                      headquarters at Committee’s direction for negotiations; other advisors working on analysis of
                      incorporation considerations.
                        • Monday, February 26:      Committee meeting (0.5 hours, by Zoom).
                             • Discussion of incorporation analysis and of relevant considerations, and of negotiations with the
                               Company.
                        • Friday, March 1:     Committee meeting (0.5 hours, by Zoom).
                             • Discussion of incorporation analysis and relevant considerations, and of negotiations with the
                               Company.
                    • Week of March 3: 1 Committee meeting; expansion of Committee’s mandate; withdrawal of Gebbia from
                      Committee out of an abundance of caution; determination to narrow focus from 10 to 5 states; Committee
                      member review of materials provided by counsel; Committee counsel evaluating relevant factors for
                      analysis of states under consideration, requesting information from directors and management for
                      incorporation analysis, analyzing potential ratification issues, negotiating potential change to date of
                      annual stockholder meeting, and negotiating potential expansion of Committee membership if new director
                      added; other advisors working on analysis of incorporation considerations.
                        • Tuesday, March 5:     Expansion of the Committee’s mandate by the Board.
                        • Wednesday, March 6: Withdrawal of Gebbia from the Committee out of an abundance of caution in
                          light of the Committee’s expanded mandate.
                        • Friday, March 8:     Committee meeting (4 hours, in person).
                             • Discussion of corporate law regimes of 10 states under consideration.
                             • Determination to narrow jurisdictions under consideration to 5 states for further analysis:
                               California, Delaware, Nevada, New York, and Texas.
                    • Week of March 10: 2 Committee meetings; director interviews; determination to narrow focus from 5
                      states to 2 states, Delaware and Texas; Committee member review of materials provided by counsel;
                      Committee counsel evaluating relevant factors for analysis of states under consideration, requesting
                      information from



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                      management for incorporation analysis, analyzing potential ratification issues, and negotiating potential
                      change to date of annual stockholder meeting; other advisors working on analysis of incorporation
                      considerations.
                        • Tuesday, March 12:     Committee meeting (2 hours, in person).
                             • Discussion with Professor Casey regarding academic literature on corporate law and
                               incorporation, including history and development of corporate law in the US, and relevant
                               incorporation considerations identified in academic literature.
                        • Thursday, March 14:      Committee meeting (1 hour, in person); 2 director interviews.
                             • Discussion with Houlihan regarding in-process work and initial views regarding substantially
                               equivalent market value for all states under consideration.
                             • Discussion of comparison of corporate law regimes of 5 states under consideration.
                             • Determination to narrow jurisdictions under consideration to 2 states for further analysis and
                               final decision: Delaware and Texas.
                             • Interviews of Robyn Denholm (director) and of Ira Ehrenpreis (director).
                    • Week of March 17: 2 Committee meetings; director and management interviews; instruction to Company
                      to prepare to effectuate alternative scenarios for potential decisions; Committee member review of
                      materials provided by counsel; Committee counsel analyzing Delaware and Texas law, reviewing
                      information from management, and analyzing potential ratification issues; other advisors working on
                      analysis of incorporation considerations.
                        • Tuesday, March 19:     2 director interviews.
                             • Interviews of JB Straubel (director) and of James Murdoch (director).
                        • Wednesday, March 20:      Committee meeting (2 hours, in person).
                             • Discussion with Houlihan regarding its preliminary observations.
                             • Discussion with Professor Casey regarding history of corporate law development in the US,
                               relevant incorporation considerations identified in academic literature, considerations with respect
                               to home state incorporation, comparisons of Delaware and Texas law, and considering bundles of
                               litigation rights.
                        • Thursday, March 21:      Committee meeting (2.5 hours, in person); management interview.
                             • Panel discussion, with Bayliss (Delaware) and Garcia (Texas), moderated by Professor Casey,
                               focusing on comparison of stockholder litigation rights in Delaware versus Texas, as well as
                               further discussion with counsel.
                             • Interview of Tom Zhu (SVP, Automotive).
                    • Week of March 24: 3 Committee meetings; director interview; Committee member review of materials
                      provided by counsel; Committee decision on reincorporation subject to final confirmation upon review of
                      written report; Committee counsel reviewing information from management, working with Committee’s
                      other advisors, analyzing potential ratification considerations, negotiating with Company counsel about
                      effectuating Committee’s potential decision.
                        • Tuesday, March 26:     Committee meeting (2 hours, in person); 1 director interview.
                             • Second panel discussion, with Gerstman (Delaware) and Vlahakos and Garcia (Texas), moderated
                               by Professor Casey, focusing on comparison of governance rights in Delaware versus Texas, as
                               well as further discussion with counsel.
                             • Follow-up discussion with Garcia and Vlahakos regarding the case for Texas.
                             • Interview of Joe Gebbia (director).
                        • Thursday, March 28:      Committee meeting (2 hours, in person).



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                             • Discussion with Houlihan regarding their final observations regarding (1) the range of implied
                               value accretion from annual franchise tax savings from potentially reincorporating in Texas,
                               (2) lack of consideration of US state of incorporation in valuation models, (3) brand name
                               companies (including constituents of major US public company indices) domiciled outside of
                               Delaware and in their home states, and the lack of any observed activist campaigns advocating
                               that value could be captured from incorporation in Delaware, (4) lack of observable pattern in
                               pro forma company stockholder return performance for four recent Delaware-to-Texas
                               redomiciliations, and (5) the lack of any observable market return trends attributable to state of
                               incorporation among Fortune 500 public companies.
                        • Follow-up discussion with Bayliss regarding the case for Delaware.
                        • Friday, March 29 : Committee meeting (3 hours, in person).
                             • Discussion with Casey regarding his final conclusions that (1) there is no convincing evidence in
                               academic literature of a market value difference from incorporating in or outside Delaware,
                               (2) there are sources of unpredictability in both Delaware and Texas law, (3) there is potential
                               Tesla-specific value from reincorporating in Texas, (4) there are no clear differences in total
                               substantive stockholder protections between Delaware and Texas, and (5) there are no non-ratable
                               benefits associated with either staying in Delaware or reincorporating in Texas.
                             • Review with Committee counsel the discussions to date of reincorporation factors and analyses,
                               comparative discussions with Delaware and Texas counsel, Professor Casey’s analysis,
                               Houlihan’s analysis, and director interviews.
                             • Initial Committee decision that reincorporation in Texas is in best interests of Tesla and all of its
                               stockholders.
                    • Week of March 31: 3 Committee meetings; management interviews; Committee member review of
                      materials provided by counsel; Committee decision on ratification subject to final confirmation upon
                      review of written report; Committee counsel analyzing ratification considerations, reviewing information
                      requested from Company, working with Committee’s other advisors, negotiating and working with
                      Company counsel on documents to disclose and effectuate Committee’s work and recommendations.
                        • Tuesday, April 2:     Committee meeting (2 hours, in person).
                             • Discussion with Committee counsel regarding factors and considerations related to ratification.
                        • Thursday, April 4:     Committee meeting (1 hour, in person); 2 management interviews.
                             • Discussion with Committee counsel regarding factors and considerations related to ratification.
                             • Interviews of Joseph Gruber (VP, Tax) and of Martin Viecha (VP, Investor Relations).
                        • Friday, April 5:     Committee meeting (1.5 hours, in person); 2 management interviews.
                             • Discussion with Delaware counsel (Bayliss) and Committee counsel regarding factors and
                               considerations related to ratification under Delaware law.
                             • Interview of Harsh Rungta (Director, Automotive Revenue and Energy Business Controller) and
                               Eric Lussier (Senior Technical Accounting Manager); related discussion with Robert Conklin and
                               Kurt Sanders of PwC.
                             • Review with Committee counsel of discussions to date of ratification factors, analysis, discussion
                               of ratification under Delaware law with Delaware counsel, information gathered from Company,
                               and management interviews.
                             • Initial Committee decision that ratification is in best interests of Tesla and all of its stockholders.
                        • Saturday, April 6:    Informed Board Chair Robyn Denholm of the Committee’s decisions, reasoning,
                          and process.
                    • Week of April 7: Committee approval of Report; coordination with Board and management to prepare for
                      Board review and approval, and effectuation of Committee determinations.



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                      • Sunday, April 7: Informed Nominating and Governance Committee Chair Ira Ehrenpreis of the
                        Committee’s decisions, reasoning, and process; provided Executive Summary of Report to Board
                        Chair and Nominating and Governance Committee Chair.
                      • Monday, April 8:      Provided Executive Summary of Report to outside directors.
                      • Tuesday, April 9:     Presented the Committee’s decisions, reasoning, and process to the Company’s
                        outside directors.
                      • Wednesday, April 10:      1 director interview.
                          • Interview of Elon Musk (director) by Committee’s counsel.
                      • Thursday, April 11:     Committee meeting (0.75 hours, in person); 1 director interview.
                          • Interview of Kimbal Musk (director) by Committee’s counsel.
                          • Final Committee decisions on reincorporation and ratification, based on review of Report.
                      • Friday, April 12:     Submitted Report to outside directors.


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                                                    Part 3: The Special Committee’s Cross-Checks
                  At every step of the Committee’s work, the Committee and its counsel were mindful of Delaware case law
             addressing special committees and their operation. Wilson-Thompson personally reviewed almost all of the cases
             cited in this Part 3, and discussed them at length with Sidley, Bayliss, and Professor Casey.
                  The Committee and its advisors noted in particular the multiple Delaware opinions about Tesla itself,
             specifically the SolarCity opinions 101 and Tornetta . 102 The Committee constructed its process in light of, and
             checked its work against, the guidance Delaware courts have provided to directors, including to Tesla’s directors
             specifically. Additionally, early in the Committee’s process, the Delaware Court of Chancery issued its
             TripAdvisor decision, which addressed a proposed reincorporation outside of Delaware pursuant to DGCL § 266,
             103
                 and later issued a ruling denying interlocutory appeal in the same case. 104 The Committee incorporated the
             TripAdvisor opinions into its thinking as well.
                  In light of these cases, the Committee conducted a number of cross-checks: It focused on the Delaware
             courts’ particular emphasis on the independence and diligence of single-member committees. It was attentive to
             replicating arm’s-length bargaining with the Company, including to secure protections for all of the Company’s
             stockholders. And it sought to identify any potential non-ratable benefits from a reincorporation, i.e., benefits to
             directors or significant stockholders that are not shared in equal proportion with stockholders as a whole.

                 Committee Of One.         In SolarCity , the Court of Chancery provided the following guidance to Tesla in
             unequivocal terms:

                     This point cannot be emphasized enough. There was a right way to structure the deal process within Tesla
                     that likely would have obviated the need for litigation and judicial second guessing of fiduciary conduct.
                     First and foremost, Elon should have stepped away from the Tesla Board’s consideration of the Acquisition
                     entirely, providing targeted input only when asked to do so under clearly recorded protocols . The Tesla Board
                     should have formed a special committee comprised of indisputably independent directors, even if that meant it was a
                     committee of one . 105

                  The Tornetta decision similarly criticized the process of setting Musk’s 2018 compensation plan, because the
             Board had not created a “well-functioning committee of independent directors.” 106 The Committee took these
             statements seriously, and worked at all times to structure its process the “right way” as these decisions instructed.

                  First , the Committee, the Board, and Musk himself all ensured that he “stepped away from” the
             Committee’s process and its decisions. Musk did not participate in the Board meeting that formed the Committee.
             Musk did not attempt to influence or control the Committee. He never directly or indirectly reached out to
             Wilson-Thompson or the Committee’s counsel about the Committee’s work. 107 The Committee chose to
             interview Musk regarding certain matters relevant to its work, including whether, and why, the 2018
             compensation plan was important to him. But it did so only under “clearly recorded protocols.” Specifically, that
             discussion occurred in a single interview

             101
                In re Tesla Motors, Inc. Stockholder Litig. (“ SolarCity ”), 2022 WL 1237185 (Del. Ch. Apr. 27, 2022); In re
             Tesla Motors, Inc. Stockholder Litig. (“ SolarCity II ”), 298 A.3d 667 (Del. 2023).
             102
                 Tornetta v. Musk , 310 A.3d 430 (Del. Ch. Jan. 30, 2024). The Tornetta ruling remains subject to appeal, but
             the Committee nonetheless considered it as relevant to this process.
             103
                    TripAdvisor , 2024 WL 678204 (Del. Ch. Feb. 20, 2024).
             104
                    TripAdvisor II , 2024 WL 1211688 (Del. Ch. Mar. 21, 2024).
             105
                    SolarCity , 2022 WL 1237185, at *33 fn. 397 (emphasis added).
             106
                 Tornetta , 310 A.3d at 521. That decision also found that the stockholder vote was not fully informed because
             the “Proxy failed to disclose any of the Compensation Committee members’ actual or potential conflicts with
             respect to Musk” and also did not supply “a full and accurate description of the material steps in the board or
             committee process that resulted in the transaction.” Id. at 522-25. This finding informed the Committee as well,
             in particular with regard to its decision, discussed in more detail below, to provide its Report to stockholders in
             full.
             107
               During Gebbia’s period of service on the Committee, Musk never attempted to contact him regarding the
             Committee’s work either.



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             led by Seeger and Skakun. And it was conducted only after the Committee arrived at a decision with regard to
             both portions of its mandate, independent of Musk’s views. 108

                  Second , after Gebbia chose to step off the Committee, the Committee continued its work “even [though] that
             meant it was a committee of one,” per SolarCity . Wilson-Thompson understood that as the sole member of the
             Committee, she would be held to “unyielding standards of diligence and independence.” 109 The Committee and
             its counsel carefully considered the standards set out by Delaware courts in this context, and then consciously
             cross-checked their process design and execution to satisfy themselves that the Committee should withstand the
             additional scrutiny that may attach to a committee of one. Among other things:
                     • The Committee confirmed it was “delegated . . . full authority and power” to decide the reincorporation
                       question as well as the ratification question. 110
                     • The Committee confirmed it “was authorized to retain independent advisors at [the Company’s] expense.”
                       111

                     • The Committee extensively consulted with multiple Sidley lawyers, Bayliss, Professor Casey, and
                       Houlihan. The Committee used them as a sounding board, and met with them repeatedly, both individually
                       and in panel discussions designed to solicit multiple points of view. In those discussions, the advisors were
                       expressly “tasked with challenging the committee’s thinking [and] presenting alternatives” to various
                       possible considerations. 112
                     • The Committee approached its process with “full vigor,” holding 16 formal meetings (13 of which were
                       in-person), attending every interview, and presenting its decisions to the Board’s outside directors. 113
                       Wilson-Thompson devoted more than 200 hours to her work, including Committee meetings, interviews,
                       review of materials, consideration of key issues, and speaking with Seeger and/or Skakun virtually every
                       day.
                     • The Committee worked to explore “all relevant facts and sources of information that bear on” the
                       questions before it. 114 In addition to discussions with its advisors, the Committee interviewed all 7 other
                       directors and 5 members of management, spoke with the Company’s external auditor, instructed its counsel
                       to request relevant information from the Company, and reviewed documents including Professor Casey’s
                       report, Houlihan’s report, numerous legal decisions, letters from stockholders, and academic articles.
                     • The Committee instructed Sidley to conduct a thorough independence review, and committed to
                       periodically reexamine independence during the process. The independence inquiry was especially
                       wide-ranging, and reflected matters raised in SolarCity and Tornetta . The review with respect to Wilson-
                       Thompson included, among other things, her compensation for service on the Board, any attendance at
                       significant social events (weddings, vacations, etc.) with other directors or officers, and any business
                       dealings with, or investments in

             108
                 The same was true of Kimbal Musk. The Committee’s only contact with him regarding its work was a single
             interview led by counsel and conducted after the Committee arrived at its decisions.
             109
                In re Baker Hughes, A GE Co., Derivative Litig. , 2023 WL 2967780, at *11 (Del. Ch. Apr. 17, 2023), aff’d
             sub nom. In re Hughes , 2024 WL 371962 (Del. Feb. 1, 2024) (cleaned up); see also, e.g., Teamsters Loc. 443
             Health Servs & Ins. Plan v. Chou , 2023 WL 7986729, at *2, *31 (Del. Ch. Nov. 17, 2023) (explaining that a
             committee of one “is more closely scrutinized” and “has the burden of proving that its member was able to bring
             her business judgment to bear without any suspicion of extraneous influence”).
             110
                    Baker Hughes , 2023 WL 2967780, at *11.
             111
                 Id.; see also In re Oracle Corp. Derivative Litig. , 2023 WL 3408772, at *8 (Del. Ch. May 12, 2023);
             SolarCity , 2022 WL 1237185, at *36 (“Tesla selected independent, top-tier advisors to represent the Tesla Board
             in the Acquisition.”).
             112
                    Tornetta , 310 A.3d at 531.
             113
                Baker Hughes , 2023 WL 2967780, at *15 (finding committee process adequately diligent where committee
             member “participated in most of the [committee]’s interviews, which he prepared for alongside his counsel,”
             “oversaw the investigation, reviewed documents gathered by counsel, and routinely met with his advisors”).
             114
                Id. at *17 (cleaned up); see also Oracle , 2023 WL 3408772, at *35 (“The Special Committee and its advisors
             were free to draw on or request information from a broad range of sources.”).



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                          any entities affiliated with, any other directors or officers including Musk. 115 At multiple stages of the
                          process, including when the Committee became a committee of one, and when incremental guidance was
                          received from the Delaware courts in TripAdvisor and Match , independence was reexamined. 116
                   Arm’s-Length Bargaining And Resulting Stockholder Protections. In Tornetta , the court found that Tesla’s
             Compensation Committee operated under a “controlled mindset” with respect to Musk’s 2018 compensation
             package — i.e., “seeming less intent on negotiating with the controller and more interested in achieving the result
             that the controller wanted.” 117 The court came to the opposite conclusion in SolarCity , holding that the “Tesla
             Board’s process included several redeeming features that emulated arms-length bargaining to the benefit of Tesla
             stockholders.” 118 In light of these cases, Seeger and Skakun engaged in extensive arm’s-length negotiations with
             the Company on behalf of the Committee and at the Committee’s direction. Wilson-Thompson also directly
             engaged in certain additional negotiations regarding the date of the annual stockholder meeting. With persistent
             and at times intense efforts, the Committee secured multiple protections for the benefit of the Company and all of
             its stockholders:
                  Timing. The Committee took particular note of timing considerations, given the court’s comments in
             Tornetta that the process was flawed because “most of the work on the compensation plan occurred during small
             segments of [time] and under significant time pressure imposed by Musk,” and “Musk dictated the timing of the
             process, making last-minute changes to the timeline or altering substantive terms immediately prior to” board
             meetings. 119 Accordingly, one of the Committee’s first actions was to assess the time necessary to conduct its
             work. The Committee preferred that any stockholder vote, to the extent one occurred, take place at the annual
             meeting; that would give the greatest number of stockholders an opportunity to voice their views. The Company
             had been planning to hold its 2024 annual meeting on May 8. The Committee concluded that would not provide
             an appropriate amount of time to complete its work, and subsequently spent several weeks negotiating to push
             back the meeting date. The Committee succeeded in moving the meeting by more than a month, to June 13. It
             also remained in control of its timing at all times. If its work had not been complete in time for the annual
             meeting, it would not have made its recommendations and released its Report. There is nothing the Company
             tried to do, or could have done, that would have altered that.
                  Disclosures. In Tornetta , the court concluded that the stockholder vote approving the compensation plan
             was not fully informed because the proxy statement for the vote did not disclose all material information. 120 In
             particular, the court found that the proxy statement did not disclose certain information regarding directors’
             potential conflicts and the Compensation Committee’s process. 121 Taking this guidance into account, the
             Committee determined to prepare this Report and negotiate with the Company to ensure that it would be provided
             to stockholders in its entirety with any proxy statement. The Committee also ensured that it was able to review
             the Company’s proposed disclosures related to its work.
                  Majority of Non-Musk Votes Cast. In SolarCity , the Court lauded the Board’s decision to condition the
             transaction on the approval of a majority of disinterested stockholders as “one of the most extolled and powerful
             protections afforded Delaware stockholders.” 122 The Committee ensured that both stockholder votes it
             recommended were contingent upon approval of a majority of votes cast excluding the shares held by Elon Musk
             and Kimbal Musk.
             115
                    Tornetta , 310 A.3d at 456-59, 508-10 (cleaned up).
             116
                 The Delaware Supreme Court’s Match decision, issued on April 4, 2024, toward the end of the Committee’s
             process, addressed, among other things, committee independence standards. See In re Match Grp., Inc. Derivative
             Litig. , 2024 WL 1449815 (Del. Apr. 4, 2024). The decision reinforced the Committee’s and its counsel’s view
             that Wilson-Thompson is independent. Unlike the committee member at issue in Match , Wilson-Thompson does
             not “owe [her] success” in any way to Musk or Tesla. See id. at *18.
             117
                    Tornetta , 310 A.3d at 511 (cleaned up).
             118
                    SolarCity , 2022 WL 1237185, at *36.
             119
                    Tornetta , 310 A.3d at 447.
             120
                    Id. at 521.
             121
                    Id.
             122
                    SolarCity , 2022 WL 1237185, at *36 (cleaned up).


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                  Non-Ratable Benefits and Other TripAdvisor Guidance. The TripAdvisor decision was particularly instructive
             for the Committee’s reincorporation work. TripAdvisor applied entire fairness review at the pleading stage
             because Nevada law allegedly “provides greater protection to fiduciaries and confers a material benefit on the
             [director] defendants,” i.e., a non-ratable benefit not shared equally in proportion with all stockholders. 123 The
             Court held that the conversions were adequately alleged to be not entirely fair because the “defendants did not
             make any effort to replicate arm’s-length bargaining,” and because “stockholders will not receive the substantial
             equivalent of what they had before” as a result of alleged differences between Nevada and Delaware litigation
             rights. 124
                  In response, the Committee intentionally sought to replicate arm’s-length bargaining and made “substantial
             equivalence” its touchstone when comparing Delaware and Texas law, as discussed above. Moreover, as a cross-
             check, the Committee expressly considered whether reincorporating in Texas would convey any non-ratable
             benefits on any of Tesla’s directors or officers, including Musk. None of the Committee’s advisors identified any
             such non-ratable benefit. 125 In the Committee’s view, litigation rights under Delaware and Texas law — including
             director and officer liability protections — are substantially equivalent. 126 Texas’s constituency statute did not
             alter this conclusion: although Delaware does not have an equivalent statute, the Committee does not believe that
             Texas’s constituency statute provides a material litigation protection for any directors or officers. 127 The
             Committee instead shares the views of the presentation at the March 2024 Annual Tulane Corporate Law
             Institute, which noted that “better alignment of the Company’s values through a constituency statute” could be a
             ratable reason for reincorporation in another jurisdiction. 128 That is especially true here because Tesla is and
             always has been mission-driven.


                                                 [The rest of this page is intentionally left blank.]




             123
                    TripAdvisor , 2024 WL 678204, at *14.
             124
                    Id. at *17.
             125
                 Professor Casey also opined that remaining incorporated in Delaware would not be a non-ratable benefit.
             Casey Report ¶ 140 (“In my view, the question is equally relevant for a decision to stay in Delaware as it is for a
             decision to reincorporate in another state. As such, I provide the analysis for both Delaware and Texas. I
             conclude that there is no non-ratable benefit for any director, officer, or particular shareholder associated with a
             decision to remain incorporated in Delaware. Nor is there any such benefit associated with a decision to
             reincorporate in Texas.”).
             126
                    See Part 1, Section I.B.1.c.; see also generally Casey Report.
             127
                    TBOC § 21.401.
             128
                    Pre-read materials for Delaware Developments panel, Tulane Corporate Law Institute (Mar. 7, 2024).


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                                                                 Conclusion
                  For the reasons stated in this Report, the Committee’s business judgment is that reincorporating in Texas and
             ratifying Musk’s compensation are in the best interests of Tesla and all of its stockholders, and should be voted
             for by stockholders at Tesla’s 2024 annual meeting.
                  Regarding reincorporation, the Committee recommended that: (1) the Board and management take all
             necessary and appropriate steps to implement the Committee’s determination consistent with legal obligations;
             (2) Elon Musk and Kimbal Musk be recused from the Board’s deliberations and from the vote on this matter,
             because of Elon Musk’s prior posts on X about reincorporation; (3) the stockholder vote on reincorporation be
             conditioned on approval by at least a majority of votes cast by non-Musk-affiliated stockholders, for the same
             reason; and (4) the Board recommend that stockholders vote for reincorporation based on the Committee’s
             determination that reincorporating in Texas is in the best interests of Tesla and all of its stockholders.
                  Regarding ratification, the Committee recommended to the Board that: (1) the Board and management take
             all necessary and appropriate steps to implement the Committee’s ratification decision consistent with legal
             obligations; (2) Elon Musk and Kimbal Musk be recused from the Board’s deliberations and from the vote on this
             matter, because it concerns Elon Musk’s compensation; (3) the stockholder vote on ratification be conditioned on
             approval by at least a majority of votes cast by disinterested stockholders, in the same manner as the 2018
             stockholder vote; (4) the Tornetta opinion be annexed to, and summarized in, the Company’s proxy statement;
             (5) the Company’s proxy statement address any other current plans regarding compensation for Elon Musk; and
             (6) the Board adopt appropriate ratification resolutions and recommend that stockholders vote for ratification
             based on the Committee’s determination that ratifying Musk’s 2018 compensation plan is in the best interests of
             Tesla and all of its stockholders.




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                                                    Exhibits

               Exhibit                                  Description
                    A                           Special Committee Meetings
                    B                           Special Committee Interviews
                    C                 Documents Reviewed by Kathleen Wilson-Thompson
                    D                       Report of Professor Anthony J. Casey




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                                                       Exhibit A
                                               Special Committee Meetings
                                                (Through April 12, 2024)

                                   Meeting Date                             Approximate Length
                    1            February 19, 2024                                1 hour
                    2            February 22, 2024                              0.5 hours
                    3            February 26, 2024                              0.5 hours
                    4             March 1, 2024                                 0.5 hours
                    5             March 8, 2024                                  4 hours
                    6             March 12, 2024                                 2 hours
                    7             March 14, 2024                                  1 hour
                    8             March 20, 2024                                 2 hours
                    9             March 21, 2024                                 3 hours
                    10            March 26, 2024                                 2 hours
                    11            March 28, 2024                                 2 hours
                    12            March 29, 2024                                 3 hours
                    13             April 2, 2024                                 2 hours
                    14             April 4, 2024                                  1 hour
                    15             April 5, 2024                                1.5 hours
                    16            April 11, 2024                                0.75 hours




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                                                                 Exhibit B
                                                        Special Committee Interviews

                                  Interviewee                             Position                           Date
                    1            Ira Ehrenpreis                   Board of Directors                    March 14, 2024
                    2           Robyn Denholm                     Board of Directors                    March 14, 2024
                    3             JB Straubel                     Board of Directors                    March 19, 2024
                    4           James Murdoch                     Board of Directors                    March 19, 2024
                    5              Tom Zhu                         SVP, Automotive                      March 21, 2024
                    6             Joe Gebbia                      Board of Directors                    March 26, 2024
                    7            Joseph Gruber                          VP, Tax                          April 4, 2024
                    8            Martin Viecha                   VP, Investor Relations                  April 4, 2024
                    9            Harsh Rungta              Director, Automotive Revenue and
                                                              Energy Business Controller                April 5, 2024 1
                    10            Eric Lussier           Senior Technical Accounting Manager
                    11            Elon Musk                        CEO, Technoking;                     April 10, 2024
                                                                  Board of Directors

                    12           Kimbal Musk                      Board of Directors                    April 11, 2024




             1
                 Joint interview of Rungta and Lussier was also attended by Robert Conklin and Kurt Sanders, PwC.


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                                                                Exhibit C
                                           Documents Reviewed by Kathleen Wilson-Thompson

                                                   Materials From Committee Advisors
                    1                                  Report of Professor Anthony J. Casey
                    2                               Presentation by Professor Anthony J. Casey
                    3                                  Report of Houlihan Lokey Capital, Inc.
                    4                   Summary of Fiduciary Duties and Special Committee Responsibilities
                5-56                                 Chart of Public Companies by Jurisdiction,
                                                      and Supporting Data (51 Spreadsheets)
                    57                             Summary Comparison of Selected Jurisdictions
                    58                            Jurisdictional Analysis Memo on Delaware Law
                    59                              Jurisdictional Analysis Memo on Texas Law
                    60                Preliminary Survey of Market Practice Regarding Prior Reincorporations
                                                            Academic Articles
                    61                     Robert J. Rhee, The Irrelevance of Delaware Corporate Law ,
                                                     48 Journal of Corporation Law 295 (2023)
                    62                      Lawrence Hamermesh, Jack B. Jacobs, and Leo E. Strine, Jr.,
                                                 Optimizing the World’s Leading Corporate Law:
                                                    A 20-Year Retrospective and Look Ahead ,
                                                       77 The Business Lawyer 321 (2022)
                    63    Michal Barzuza, Nevada v. Delaware: The New Market for Corporate Law , European Corporate
                                                             Governance Institute,
                                                    Working Paper No. 761/2024 (Mar. 2024)
                    64                Assaf Hamdani and Kobi Kastiel, Superstar CEOs and Corporate Law ,
                                              100 Washington University Law Review 1353 (2023)
                    65   Jill E. Fisch, The Peculiar Role of the Delaware Courts in the Competition for Corporate Charters ,
                                                 68 University of Cincinnati Law Review 1061 (2000)
                                                       Judicial Opinions & Filings
                    66                            Tornetta v. Musk , 250 A.3d 793 (Del. Ch. 2019)
                    67                            Tornetta v. Musk , 310 A.3d 430 (Del. Ch. 2024)
                    68                          Tornetta v. Musk , No. 2018-0408-KSJM (Del. Ch.),
                                             Plaintiff’s Opening Brief in Support of Application for an
                                                     Award of Fees and Expenses (Mar. 1, 2024)
                    69                          Tornetta v. Musk , No. 2018-0408-KSJM (Del. Ch.),
                                   Joint Declaration of Lucian Bebchuk and Robert J. Jackson, Jr. (Mar. 1, 2024)
                    70                          Tornetta v. Musk , No. 2018-0408-KSJM (Del. Ch.),
                                     Letter from Chancellor McCormick to the Parties’ Counsel (Mar. 12, 2024)




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                    71                         Tornetta v. Musk , No. 2018-0408-KSJM (Del. Ch.),
                                   Letter to Chancellor McCormick from the Parties’ Counsel (Mar. 15, 2024)
                    72                    In re Tesla Motors, Inc. Stockholder Litigation ( SolarCity ),
                                                   2022 WL 1237185 (Del. Ch. Apr. 27, 2022)
                    73                             In re Baker Hughes Derivative Litigation ,
                                                  2023 WL 2967780 (Del. Ch. Apr. 17, 2023)
                    74                  Teamsters Loc. 443 Health Services & Insurance Plan v. Chou ,
                                                 2023 WL 7986729 (Del. Ch. Nov. 17, 2023)
                    75                                 Palkon v. Maffei ( TripAdvisor ),
                                                   2024 WL 678204 (Del. Ch. Feb. 20, 2024)
                                                Proxy Statements & Related Materials
                76-78                                  Tesla, Inc. 2018 Proxy Statement,
                                                    and related Glass Lewis and ISS Reports
                    79                                Tesla, Inc. Form 8-K (Mar. 21, 2018)
                80-82                               TripAdvisor, Inc. 2023 Proxy Statement,
                                            and related Glass Lewis and ISS Reports (all excerpted)
                83-85                            Legacy Housing Corp. 2019 Proxy Statement,
                                            and related Glass Lewis and ISS Reports (all excerpted)
                86-88                           Contango Oil & Gas Co. 2019 Proxy Statement,
                                            and related Glass Lewis and ISS Reports (all excerpted)
                89-91                              DallasNews Corp. 2018 Proxy Statement,
                                            and related Glass Lewis and ISS Reports (all excerpted)
                92-94                        Geospace Technologies Corp. 2015 Proxy Statement,
                                            and related Glass Lewis and ISS Reports (all excerpted)
                                                    Stockholder Communications
                    95                    February 5, 2024, letter to the Board from 5,821 stockholders
                    96              April 10, 2024, letter to Board Chair Robyn Denholm from T. Rowe Price
               97-137                    41 letters to the Delaware Court of Chancery from stockholders
                                                           Other Materials
                    138                 Ernst & Young materials regarding potential tax issues for Tesla
                    139              Ernst & Young materials regarding potential accounting issues for Tesla
               140-41             March 7-8, 2024, Materials from 36th Annual Tulane Corporate Law Institute:
                                                         Delaware Developments Panel;
                                            Conflicts, Controllers, Entire Fairness & Delaware Panel
                    142   Richards, Layton & Finger, 2024 Proposed Amendments to the General Corporation Law of the
                                                       State of Delaware (Mar. 28, 2024)




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                                                     Exhibit D

                                        Report of Professor Anthony J. Casey




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                                                     R EPORT OF P ROFESSOR A NTHONY J. C ASEY
                    Re: Legal and Corporate Governance Considerations for Choosing State of Incorporation
                  1. In this report, I identify and evaluate the legal and corporate governance considerations relevant for
             choosing the state of incorporation for Tesla, Inc. I understand that this report will be considered by the Special
             Committee of the Board of Directors of Tesla, Inc. (the “Committee”) in deciding whether to recommend that
             Tesla, Inc. remain incorporated in Delaware or reincorporate in a different state in the United States of America. I
             further understand that the Committee started its analysis with a broad look at all options (including potentially
             outside the U.S.) and iteratively narrowed its analysis to ten U.S. states, then five, and finally two states
             (Delaware and Texas) and is now deciding between Delaware and Texas.
                  2. While I do not make an ultimate recommendation in favor of incorporation in any state, I do identify key
             legal corporate governance factors for the Committee to consider. I then compare the core features of the
             corporate governance laws — both on paper and in practice — as they currently exist in the two states under
             consideration. For each feature, I examine the differences between the regimes and evaluate how those
             differences might impact Tesla’s mission and operations, the value of Tesla to its shareholders, and the relative
             legal rights of its shareholders, directors, officers, and other stakeholders.
                  3. Where possible, I identify potential costs and benefits to Tesla and its shareholders associated with the
             choice of incorporation in a particular state under consideration. I note where potential differences in the
             corporate governance features of the states under consideration are not likely to have an impact on Tesla and its
             shareholders, directors, officers, and other stakeholders. I also evaluate the potential for the choice of
             incorporation in one state over another to provide a “non-ratable” benefit to a director, officer, or specific
             shareholder.
                  4. In presenting this analysis, I summarize the vast legal academic literature on the choice of state of
             incorporation and on several central questions including Delaware’s position as the dominant state for large-
             company incorporation, the long debate over whether incorporation in Delaware is associated with an increase or
             decrease in shareholder value, and the potential value to a corporation and its shareholders associated with
             home-state incorporation. I include a brief look at an emerging literature on potential costs associated with
             incorporation in the state of Nevada. 1 Given the volume of the academic literature on Delaware incorporation, I
             do not attempt a full literature review but rather highlight the findings and consensus views (when they exist) that
             will be relevant and useful to the Committee in making its decision.
                  5. In preparing this report, I have not assumed any special status of Delaware or any other state. Nor have I
             assumed that Tesla has made a decision or has any predetermined reason to depart from Delaware. In other
             words, to avoid any predetermination, status quo or salience bias, or path dependency, I have treated this as a
             decision from first principles about the costs and benefits to Tesla and its shareholders associated with the choice
             of incorporating in one state or another.
                  6. This report proceeds as follows: Part I summarizes my conclusions; Part II sets out my qualifications as
             an expert on corporate law and governance; Part III briefly describes the basis for this report and how it was
             prepared; Part IV provides a descriptive analysis of the potential sources of value differentials between the
             corporate governance regimes in the states under consideration; Part V presents my conclusions as to how the
             differences and similarities between corporate legal regimes in the states under consideration could potentially
             impact Tesla’s mission and operations, the value of Tesla to its shareholders, or the relative legal rights of Tesla’s
             shareholders, directors, officers, and other stakeholders.

                    I.   Summary of Conclusions

                         a.   Relevant legal and corporate governance considerations
                  7. In recommending the state in which Tesla should be incorporated, the Committee should consider the
             corporate governance features of the states under consideration. In doing so, it should take into account whether
             and how the corporate governance features associated with incorporation in any particular state affect Tesla’s
             mission and operations; whether and how the corporate governance features associated with incorporation in any
             particular

             1
               While Nevada is not among the two states under consideration by the Committee, I understand that it was
             included in the list of ten and five states that the Committee considered before narrowing its decision to two.



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             state affect the value of Tesla to its shareholders; and whether and how the corporate governance features
             associated with incorporation in any particular state affect the legal rights of Tesla’s shareholders, directors,
             officers, and other stakeholders. In particular, the Committee should consider the following questions:

                    i.    Is there a discernable general difference in shareholder or corporate value (a “premium” or “discount”)
                          associated with incorporation in a particular state?

                    ii.   With regard to the application of corporate governance law, are differences in the predictability of courts
                          and legal outcomes in a particular state likely to create a benefit associated with incorporation in a
                          particular state?

                    iii. Are any features of a particular state or its corporate governance law likely to create a Tesla-specific
                         benefit or cost associated with incorporation in that state?

                    iv. Will incorporation in a particular state provide increased or decreased protection of the legal rights of
                        Tesla’s shareholders?

                    v.    Because Tesla is currently incorporated in Delaware, and in light of the recent opinion of the Delaware
                          Court of Chancery in Palkon v. Maffei , 2 the committee should also consider this question: Does
                          incorporating Tesla in any particular state, including Delaware, 3 create a “non-ratable benefit” for any
                          director, officer, or particular shareholder (including Elon Musk)?
                8. Below, I provide an analysis of each of these questions to assist the Committee in its decision. To
             summarize, I reach the following conclusions:

                    i.    No discernible general state premium (or discount). There is no discernible general value premium (or
                          discount) associated with incorporation in Delaware, Texas, or any other state.

                    ii.   Unknown effect from predictability. There are differences in the courts and the predictability of the
                          application of corporate governance law in Texas and Delaware. Delaware has adopted a litigation-
                          intensive, standards-based corporate governance regime. This system generates volatility and reduced
                          predictability in legal outcomes related to complex corporate governance matters. Texas, like many
                          other states, has a more code-based corporate governance regime. This system is likely to generate less
                          volatility. On the other hand, Texas case law on corporate governance is far less developed than
                          Delaware case law, and Texas is also launching a new business court later this year. These factors create
                          some uncertainty about how Texas courts will apply Texas corporate governance law. Because these
                          differences point in both directions, the impact on corporate and shareholder value is indeterminate.

                    iii. Tesla-specific benefit associated with incorporating in Texas. Potential Tesla-specific cost associated with
                         incorporation in Delaware. Certain features of Texas corporate governance law are likely to create
                         Tesla-specific benefits for the corporation and its shareholders. First, because Tesla is headquartered in
                         Texas, there is likely a benefit to the corporation and its shareholders in Texas associated with
                         home-state incorporation. Second, specific provisions of the Texas Business Organizations Code
                         explicitly authorize directors and officers to consider “social, charitable, or environmental purposes.” 4
                         These provisions are more closely aligned with Tesla’s stated corporate mission “to accelerate the
                         world’s transition to sustainable energy.” 5 This alignment creates the potential for a benefit to Tesla
                         associated with incorporation in Texas. Additionally, Delaware’s corporate governance regime may
                         disproportionally

             2
                 Palkon v. Maffei , No. 2023-0449-JTL, 2024 WL 678204, (Del. Ch. Feb. 20, 2024).
             3
               While this point may not be obvious, the questions posed in Palkon v. Maffei are equally relevant for a decision
             to stay in Delaware. Directors of Delaware corporations owe fiduciary duties to the corporation and its
             shareholders in making all decisions. A decision to remain incorporated in Delaware is subject to those fiduciary
             duties in the same way as is a decision to reincorporate elsewhere. Cf. In re Citigroup Inc. Shareholder
             Derivative Litigation, 964 A.2d 106 at n. 78 (Del. Ch. 2009) (Chandler, C.) (Noting that a director’s duties in
             analyzing choices run in both directions. “If one expects director prescience in one direction, why not the
             other?”).
             4
                 TBOC § 21.401(e).
             5
                 https://www.tesla.com/impact.


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                         incentivize litigation against larger innovative corporations. Because Tesla is a larger innovative firm,
                         this dynamic would create a Tesla-specific cost associated with incorporation in Delaware.
                    iv. No material difference in aggregate substantive shareholder protections. Potential increase in aggregate
                        procedural shareholder protections in Texas. No state’s corporate governance regime definitively
                        provides more aggregate substantive protection to shareholders. The substantive legal rights afforded to
                        shareholders of Delaware corporations are substantially equivalent to the substantive legal rights
                        afforded to shareholders of Texas corporations. But Texas corporate governance law may result in an
                        increase in the aggregate procedural protection of shareholder rights.
                    v.   No non-ratable benefits associated with incorporation in either state. There are no non-ratable benefits
                         for any directors, officers, or specific shareholders associated with incorporation in either Delaware or
                         Texas. There are no material differences in the substantive duties owed to a corporation and its
                         shareholders in Delaware and Texas. Neither state allows for the elimination of liability that exists in
                         the other state. Nor does either state have any procedural rules that materially alter the litigation
                         exposure of directors, officers, or specific shareholders. Delaware’s elimination of the right to a jury
                         trial and its limitations on discovery and forced concession of director independence in the demand
                         context are procedural and not likely to be deemed material non-ratable benefits to directors, officers, or
                         specific shareholders. The same is true of Texas’s universal demand requirement.

                    II. Qualifications and Background
                  9. I hold the position of Donald M. Ephraim Professor of Law and Economics at The University of Chicago
             Law School. I am also the founding Faculty Director of The University of Chicago Center on Law and Finance. I
             held the position of Deputy Dean from 2020 to 2023. I was granted tenure in 2016. I have held academic
             positions at The University of Chicago since 2009.
                  10. I held the position of Robert Braucher Visiting Professor of Law at Harvard Law School in the
             2019-2020 academic year. I also held positions as the Singapore Global Restructuring Initiative Visiting Professor
             at Singapore Management University in the fall of 2023; Visiting Professor at Hebrew University of Jerusalem in
             the spring of 2023; and Visiting Professor at the National University of Singapore in the 2020-2021 academic
             year. In these positions, I taught courses and gave public lectures on corporations and business organizations law,
             corporate bankruptcy law, and civil procedure.
                 11. I regularly teach law school classes on Bankruptcy and Reorganization; Business Organizations and
             Corporations; and Civil Procedure. At The University of Chicago Law School, I have taught the general course
             on Business Organizations (which includes Corporations Law) in 2012, 2013, 2014, 2016, 2018, 2019, 2021,
             2022, and 2024. I taught the general course on Corporations Law at Harvard Law School in 2020.
                  12. My primary areas of expertise and research are bankruptcy law, corporations and business organizations
             law, and civil procedure. I have written over thirty academic journal articles and book chapters on these topics.
                  13. My work and my views on bankruptcy law, corporate law, and civil procedure have been quoted or
             featured in the Wall Street Journal, the Washington Post, The Financial Times, Bloomberg, Forbes, Crain’s, The
             Economist, Law360, Chicago Tonight WTTW, and several other news outlets.
                 14. I am the co-author of a casebook on Business Associations Law (including Corporations Law). That
             casebook has been used in classes at Berkeley Law School, Harvard Law School, and The University of Chicago
             Law School.
                 15. I am the co-author of a casebook on United States Bankruptcy Law. That casebook has been used in
             courses at Columbia Law School, Harvard Law School, New York University Law School, Stanford Law School,
             The University of Chicago Law School, University of Virginia Law School, and Yale Law School.
                 16. I am and have been a member of several professional boards and associations of corporate law and
             bankruptcy experts. I am a member of the Board of the National Business Law Scholars Conference, a research
             member of the European Corporate Governance Institute, and a fellow of the American College of Bankruptcy. I
             have served on the Executive Board of the American Association of Law Schools’ Section on Creditors’ and
             Debtors’ Rights.



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                 17. I have been an invited expert on corporate law panels for the International Bar Association, the
             American Bankruptcy Institute, the Association of Insolvency & Restructuring Advisors, and the National
             Conference of Bankruptcy Judges.

                 18. I have been an invited speaker at universities across the United States and in countries including Brazil,
             Canada, China, Chile, the Dominican Republic, France, Germany, India, Italy, Japan, Mexico, the Philippines,
             Poland, Singapore, and the United Kingdom on topics related to United States corporations and corporate
             bankruptcy law and procedure.

                  19. I am a member in good standing of the bars of New York and Illinois. Prior to becoming a professor, I
             practiced law at the law firm Kirkland & Ellis LLP from 2006 to 2009, rising to the position of partner in 2008. I
             was an associate at the law firm Wachtell, Lipton, Rosen & Katz from 2004 to 2006.

                  20. I received a Juris Doctorate from The University of Chicago Law School in 2002 and a Bachelor of
             Arts from Georgetown University in 1999.

                    III. Basis for Report

                 21. In preparing this report, I have relied on my general expertise on and knowledge about principles of
             corporate law, corporate law regimes throughout the United States (specifically in Delaware and Texas), the
             Model Business Corporations Act, and my familiarity with academic scholarship on these topics. I have also
             conducted further independent research on these topics.

                  22. I have reviewed the Delaware and Texas law memos provided to the Committee and attended the
             presentations made to the Committee by various experts on the topics under consideration.

                  23. I have presented my research and conclusions to the Committee and its counsel and discussed them
             with the Committee and its counsel as the Committee progressed through its iterative process of narrowing the
             decision to Texas and Delaware.

                 24. I have been asked to provide my unbiased and independent opinion as to the matters within my
             expertise. I understand that these opinions will be considered by the Committee to assist it in making its decision.
             The opinions and conclusions I have expressed are mine alone and represent my true and complete professional
             opinions on the matters to which they refer.

                    IV. Potential Drivers of Value Differentials between Corporate Governance Regimes in the States under
                        Consideration

                        a.   Delaware primacy in large-company incorporations

                 25. Delaware is the leading state for large-company incorporations. 6 It has become a common observation
             — since at least the 1990s — that public companies overwhelmingly choose to incorporate in one of two places:
             Delaware or their home state. 7 Various studies place Delaware’s share of all incorporations in the range

             6
              Sarath Sanga, Network Effects in Corporate Governance , 63 J. L. Econ. 1 (2020) (“Delaware is the leader in
             corporate charters by a large margin.”).
             7
               See, for example, Robert Daines, The Incorporation Choices of IPO Firms , 77 N.Y.U. L. Rev. 1559, 1562
             (2002) (“97% of public firms incorporate either in their home state or Delaware.”); Lucian Bebchuk & Alma
             Cohen, Firms’ Decisions where to Incorporate , 46 J. L. Econ. 383, 389 (2003) (“58 percent of all firms,
             59 percent of Fortune 500 firms, and even a higher percentage — 68 percent — of firms that went public in the
             period 1996-2000” incorporate in Delaware.”); Michal Barzuza, Self-Selection and Heterogeneity in Firms’
             Choice of Corporate Law , 16 Theor. Inq. L. 295, 296 (2015) (“almost half of all public corporations choose to
             incorporate in their home states, in which their headquarters are located”); see also Sanga (2020) at 18 (“Half of
             all public corporations have been incorporated in Delaware at some time during their history as public companies.
             The next closest is California at 7 percent, followed by New York at 6 percent, Nevada at 3 percent, and Florida
             at 3 percent.”).



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             of 60% and its share of out-of-state incorporations in the range of 80%. 8 While these studies find that a small
             number of firms incorporate in other states, with the exception of Nevada, no other state has made significant
             in-roads in attracting out-of-state incorporations. 9 And, while Nevada has attracted an increasing number of
             incorporation in the last twenty years, it remains a distant second behind Delaware. 10
                   26. The primacy of Delaware in corporate law has attracted intense academic scrutiny. Questions related to
             this topic are among the most studied in all of corporate law scholarship. The history and magnitude of
             Delaware’s rise is well documented and there are numerous theories to explain the phenomenon. 11 Perhaps the
             core empirical question in all of corporate law is whether Delaware incorporation creates or destroys value for
             firms. This question — often framed as search for a “Delaware premium” — has been studied for decades with no
             conclusive result. An emerging literature asks the same question for Nevada and has produced similarly
             inconclusive results.
                 27. In this section of the report, I start with a summary of the literature on the history of the rise of
             Delaware’s primacy. I then summarize the literature on the existence or nonexistence of a Delaware (or Nevada)
             premium, noting that the cumulative evidence suggests no discernible premium and no discernible discount.

                        i.   The history of Delaware primacy
                 28. Though there is some debate about the details, the conventional story of Delaware primacy begins in
             New Jersey in the 1880s and 1890s. During that time, New Jersey — seeking a new revenue source —
             consciously took affirmative steps to attract large corporations. 12 These measures included the following:
                    • Permitting certain mergers (1888).
                    • Permitting the holding of stock in other corporations (1888).
                    • Permitting New Jersey corporations to operate outside of New Jersey (1889) without prior approvals
                      (1892).
                    • Permitting certain vertical mergers (1893).
                    • Permitting broader holdings of stock in foreign corporations (1893). 13

             8
               See, for example, Ofer Eldar & Lorenzo Magnolfi, Regulatory Competition and the Market for Corporate Law ,
             12 Am. Econ. J. Microecon. 60, 66 (2020) (“Delaware’s share is about 63.86 percent as of 2013, as compared
             with 50.09 percent in 1995. Delaware’s market share of firms whose headquarters are located in a state that is not
             their state of incorporation out-of-state incorporations is even larger: 82.66 percent as of 2013, as compared with
             82.80 percent in 1995.”).
             9
               Lucian A. Bebchuk & Assaf Hamdani, Vigorous Race or Leisurely Walk: Re-considering the Competition over
             Corporate Charters , 112 Yale L.J. 553, 555 (2002) (“Delaware’s dominant position is far stronger, and thus that
             the competitive threat that it faces is far weaker, than has been previously recognized.”); Marcel Kahan & Ehud
             Kamar, The Myth of State Competition in Corporate Law , 55 Stan. L. Rev. 679 (2002) (noting a lack of
             competitors to Delaware’s primacy).
             10
                Eldar & Magnolfi (2020) at 66 (“The most noticeable trend over time is the increase in Nevada’s market share
             of all incorporations from 2.32 percent in 1995 to 8.48 percent in 2013, and of out-of-state incorporations from
             2.85 percent to 9.69 percent.”); Michal Barzuza & David C. Smith, What Happens in Nevada? Self-Selecting into
             Lax Law, 27 Rev. Fin. Stud. 3593, 3594 (2014) (“With 8.0% of all public incorporations by firms in states outside
             of their headquarter state, Nevada is second to Delaware in attracting out-of-state incorporations.”); Michal
             Barzuza, Market Segmentation: The Rise of Nevada as a Liability-Free Jurisdiction , 98 Va. L. Rev. 935, 948
             (2012) (“Nevada’s share of the out-of-state-incorporations market has risen from 5.56% in 2000 to 6.66% in
             2008, an increase of 20%”); Bebchuk & Cohen (2003) at 394 (“Other than Delaware, which is a huge ‘importer,’
             only Nevada has a significant net inflow of firms (154).”).
             11
               See Robert Rhee, The Irrelevance of Delaware Corporate Law , 48 J. Corp. L. 101, 105 (2023) at 106-110
             (collecting sources).
             12
               See generally Christopher Grandy, New Jersey Corporate Chartermongering , 1875-1929, 49 J. Econ. Hist. 677
             (1989); S. Sam Arsht, A History of Delaware Corporation Law , 1 Del. J. Corp. L. 1 (1976); Joel Seligman, A
             Brief History of Delaware’s General Corporation Law of 1899 , 1 Del. Corp. L. 249 (1976).
             13
                  Grandy (1989) at 681.


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                  These and other similar laws “were collected in the general corporation law revision of 1896.” 14 This statute
             also included provisions allowing corporations to be formed for any lawful purpose, removing limitations on the
             duration of corporate charters, allowing for classified shares, and allowing the issuance of non-voting stock. 15

                 29. These reforms were successful in achieving New Jersey’s aims. Revenues increased dramatically, 16 and
             by 1900 an estimated 95% of major corporations were incorporated in New Jersey. 17

                  30. New Jersey’s success drew competition from other states including Delaware, Maryland, Maine, New
             York, and West Virginia. 18 These states largely copied New Jersey’s reforms and competed on franchise tax rates
             and incorporation fees. 19

                  31. In the end, Delaware was the clear winner of this competition. There are competing explanations for its
             success. As a starting point, some scholars have suggested that the competition for corporate charters favors
             smaller states like New Jersey and Delaware over larger states like New York. For a smaller state, a marginal
             incorporation fee represents a much larger share of the state’s annual budget and justifies more attention to the
             needs of corporations. Thus, states with smaller budgets can more credibly promise to update their law to keep
             corporations happy. 20

                  32. Additionally, New Jersey effectively removed itself from the competition in 1913, when Governor
             Woodrow Wilson led the state to adopt the reform provisions known as the “Seven Sisters,” which “reversed New
             Jersey corporate policy.” 21 The conventional story is that this ended New Jersey’s dominance in corporate
             charters and opened the door for Delaware’s quick rise to primacy in the space, a primacy that it has maintained
             for over a century. 22

                  33. Professor Sanga has questioned this story, noting that the beginning of New Jersey’s decline predated
             the adoption of the Seven Sisters in 1913. 23 Sanga suggests two alternative explanations: 1) the other states, and
             Delaware in particular, simply outcompeted New Jersey; and 2) the move out of New Jersey was taken in
             anticipation of progressive reforms in New Jersey, which the market predicted ahead of the enactment of the
             Seven Sisters. 24

                 34. In either event, the decline of New Jersey and the rise of Delaware in the second decade of the twentieth
             century is clear, as these charts from Professor Sanga’s work show: 25




             14
                  Id.
             15
                  Seligman (1976) at 265-66.
             16
                  Grandy (1989) 682-83.
             17
                  Seligman (1976) at 267.
             18
                  Grandy (1989) at 685.
             19
                  Id.
             20
                See Grandy (1989) at 686; Roberta Romano, Law as a Product: Some Pieces of the Incorporation Puzzle , J. L.
             Econ. Org. 225, 235 (1985) (“[A] state budget largely dependent on franchise revenue is an asset that precommits
             the state to not welching on its corporate customers by radically revising its corporate law policy to the detriment
             of their interests, because there is so much at stake to the state if corporations leave en masse.”).
             21
                  Grandy (1989) at 689; Seligman (1976) at 270.
             22
                While New Jersey reversed the reforms of the Seven Sisters in 1917, it never regained its dominant position in
             the competition for corporate charters. Seligman (1976) at 270.
             23
                  Sanga (2022) at 371-72.
             24
                  Id. at 374-375.
             25
                  Sanga (2022) at 392, 394.


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                         Figure 1. State Shares of Corporate Charters (Moody’s sample, Eastern states) Notes: Each panel
                         graphs a selection of state corporate charters shares over time.




                         Figure 3. State Shares of New Corporate Charters (Moody’s Sample)
                         Notes: This graph shows that New Jersey’s share of new corporate charters peaked before 1900 and
                         subsequently declined. By the time New Jersey repealed its corporate law (in 1913), its share of the
                         new charter market was close to zero.



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                  35. During the period of competition, Delaware adopted similar governance laws to those in New Jersey.
             But its adoption of attractive corporate governance laws continued long after New Jersey had left the race. These
             measures culminated in the adoption in 1967 of the first version of today’s Delaware General Corporate Law.

                    36. Some of the major developments in the emergence of Delaware’s corporate law include the following:
                    • Adopting the General Corporation Act of 1899, which copied the New Jersey law “largely verbatim.” 26
                      This Act went further in some respects, including permitting “stock pyramiding,” 27 the ability to combine
                      non-voting stock and layers of holding companies to convert minority ownership positions into a
                      controlling position. 28
                    • Permitting the inclusion of any provision in the certificate of incorporation “not contrary to the laws of
                      th[e] State” 29 (1901). This provision increased the discretion of the directors in managing the corporation.
                    • “Grant[ing] the board of directors the power to sell all or substantially all corporate assets” with the
                      approval of a stockholder vote (1917). 30
                    • Eliminating of the requirement to provide pre-emptive rights on the issuance of new stock (1919). 31
                    • Permitting the board of directors to issue “blank stock” and other stock options without amending the
                      certificate of incorporation (1927). 32
                    • Permitting shareholder voting by written consent (1937). 33
                    • Permitting the corporation to indemnify its directors and officers (1943). 34
                    • Permitting the board of directors to fill newly created directorships (1949). 35
                    • Statutory overhaul — responding in part to increased competition from other states — resulting in the first
                      version of the modern Delaware General Corporation Law (1967). 36

                37. In the years immediately following the 1967 revision, the Delaware legislature was quick to amend the
             DGCL in response to recommendations by a committee of the state’s bar association. 37

                 38. The adoption of the DGCL in 1967 proved to be a significant moment in the rise of Delaware’s
             primacy for incorporations. 38 In the period following the adoption, Delaware saw a surge in reincorporations
             from other states. By 1974, 448 of the 1000 largest corporations were in Delaware. 39



             26
                  Grandy (1989) at 685.
             27
                  Id.
             28
                  Seligman (1976) at 273.
             29
                  Arsht (1976) at 9.
             30
                  Id. at 10.
             31
                  Seligman (1976) at 274.
             32
                  Arsht (1976) at 11.
             33
                  Id.
             34
                  Id at 12.
             35
                  Id.
             36
                  Id. at 16.
             37
                  Arsht (1976) at 17.
             38
                  Sanga (2020).
             39
                  Seligman (1976) at 283.


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                 39. The largest surge in reincorporation into Delaware, however, did not occur until 1986 when Delaware
             adopted section 102(b)(7) of the DGCL, which allows for the exculpation of director liability for violations of the
             duty of care. These charts from Professor Sanga’s work demonstrate the importance of this moment in solidifying
             Delaware’s primacy: 40




             40
                  Sanga (2020) at 5-6.


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                  40. Since the post-1986 surge, Delaware’s dominance has remained firm. While Nevada has attracted some
             out-of-state incorporations in the last twenty years, it has not done so at the expense of Delaware’s market share.
             41

                  41. While Delaware’s dominance is unquestionable, the effects of that Delaware dominance are less clear.
             As discussed below, the academics have failed to show a Delaware effect on firm value. This is, perhaps,
             unsurprising as the laws of most jurisdictions are similar. Indeed, with the creation and growing influence of the
             Model Business Corporation Act (which often adopts Delaware provisions) coupled with the fact that several
             states copy Delaware innovations in corporate law, there has been a general convergence of corporate law across
             the states. 42

                         ii.   The academic search for a Delaware or other state premium
                  42. Given Delaware’s unique position in the market for corporate charters, a core empirical question of
             corporate law scholarship has been whether Delaware incorporation creates or destroys value for firms. Despite
             decades of research on this question, the bulk of evidence suggests that there is no discernible premium (or
             discount).
                  43. The empirical debate arose in response to the theoretical question that dominated academic scholarship
             in the 1970s and 1980s. Scholars generally split into two camps: one arguing that competition among states for
             corporate charters resulted in a “race to the bottom” 43 and the other arguing that it resulted in a “race to the top.”
             44

                  44. Various theories were put forth to support each view. The “race to the top” camp argued that market
             pressures would push managers to choose incorporation in the state that created the most value for investors. 45
             The “race to the bottom” crowd argued that states would cater to managerial interest to the disadvantage of
             shareholder value. 46 Others argued that state competition would lead to unpredictable law that encourages
             unnecessary litigation, 47 or that the race would be driven by a broader set of interest groups with ambiguous
             effects on corporate value. 48
                  45. Early studies produced some evidence which authors interpreted as supporting the “race to the top”
             argument. For example, Professor Romano cited eight event studies finding “positive abnormal stock returns” on
             reincorporation to Delaware as supporting the existence of a Delaware premium. 49 Professors Bebchuk, Cohen,
             and Ferrell, however, analyzed these studies, drawing the methodology of some into question, and noting that
             none of
             41
                  See above at note 8.
             42
                See, for example, Jeffrey M. Gorris, Lawrence A. Hamermesh, & Leo E. Strine, Delaware Corporate Law and
             the Model Business Corporation Act: A Study in Symbiosis , 74 Law & Contemp. Probl. 107, 112-116 (2011)
             (noting the various times when the MBCA adopted Delaware innovations); Jens Dammann, Deference to
             Delaware Corporate Law Precedents and Shareholder Wealth: An Empirical Analysis , working paper available at
             (“courts across the nation cite Delaware’s precedents when deciding their own corporate law cases”).
             43
               William Cary, Federalism and Corporate Law: Reflections Upon Delaware , 83 Yale L. J. 663 (1974); Lucian
             A. Bebchuk, Federalism and the Corporation: The Desirable Limits on State Competition in Corporate Law , 105
             Harv. L. Rev. 1435 (1992); Bebchuk & Hamdani, (2002); and Oren Bar-Gill, Michal Barzuza & Lucian Bebchuk,
             The Market for Corporate Law , 162 J. Inst. Theor. Econ. 134 (2006).
             44
               Romano (1985); Ralph Winter, State Law, Shareholder Protection and the Theory of the Corporation , 6 J.
             Legal Studies 251 (1977); Frank Easterbrook & Daniel Fischel, THE ECONOMIC STRUCTURE OF
             CORPORATE LAW (1991); Roberta Romano, THE GENIUS OF AMERICAN CORPORATE LAW, AM.
             ENTER. INST. (1993).
             45
                  See sources cited in note 44.
             46
                  See sources cited in note 43.
             47
               Ehud Kamar, A Regulatory Competition Theory of Indeterminacy in Corporate Law , 98 Colum. L. Rev. 1908
             (1998).
             48
               Jonathan R. Macey & Geoffrey P. Miller, Toward an Interest-Group Theory of Delaware Corporate Law , 65
             Tex. L. Rev. 469 (1987).
             49
                Roberta Romano, The Need for Competition in International Securities Regulation , 2 Theor. Inq. L. 387,
             495-96 (2001) (citing Michael Bradley & Cindy A. Schipani, The Relevance of the Duty of Care Standard in
             Corporate Governance , 75 Iowa L. Rev. 1 (1989); Peter Dodd & Richard Leftwich, The Market for Corporate
             Charters: “Unhealthy Competition” Versus Federal Regulation , 53 J. Bus. 259 (1980); Randall A. Heron &
             Wilbur G. Lewellen, An Empirical Analysis of the Reincorporation Decision , 33 J. Fin. & Quantitative
             Analysis 549 (1998); Allen Hyman, The Delaware Controversy — The Legal Debate , 4 J. Corp. L. 368 (1979);
             Jeffry Netter & Annette Poulsen,
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             the studies accounted for the selection effect created by the fact that reincorporations are not random and are
             associated with “confounding events” that make the data unreliable. 50 They ultimately concluded that “the
             evidence does not establish that Delaware incorporation produces an increase in share value.” 51

                  46. Professor Daines also viewed the event studies as inconclusive “[b]ecause reincorporations are not a
             random sample of firms.” 52 To address this problem, Daines looked instead at the ratio of a firm’s market value
             to the book value of its assets (an estimate of “Tobin’s Q”) to measure whether Delaware incorporation was
             increasing the value of firms. 53 Finding a higher estimate of Tobin’s Q for Delaware firms, Daines suggested the
             possibility of a Delaware premium. Daines noted, however, that “[i]t is impossible to exclude the possibility that
             Delaware simply attracts valuable firms.” 54

                  47. Because of that limitation, Daines’s conclusions have been questioned by subsequent scholarship.
             Bebchuk and Cohen noted that “the endogeneity of incorporation decisions would make it impossible to infer that
             the correlation results from the positive effect of Delaware incorporation on firm value rather than from the
             tendency of firms with higher value to select Delaware.” 55

                  48. Bebchuk, Cohen, and Ferrell also noted that Daines’s results showed a “deeply puzzling” year-to-year
             fluctuation in the Delaware premium. 56 Professor Subramanian further showed that the effect Daines identified
             was “driven by small firms…[a]nd even among these small firms, the Delaware effect disappears in the late
             1990s.” 57

                  49. More recent studies have further drawn into question the existence of a Delaware premium. Professors
             Anderson and Manns looked at merger reincorporations from 2001 to 2011 to “show that Delaware law does not
             add to or subtract significant value from publicly traded companies.” 58

                 50. Professors Bartlett and Portnoy additionally showed significant flaws in the methodology for estimating
             Tobin’s Q in studies by Daines and others, concluding, “[S]cholars should view with suspicion any assertions
             about corporate law or corporate characteristics that are based” on that methodology. 59

                  51. Most recently, Professor Rhee looked at the value of Fortune 500 firms using six market multiples
             (“enterprise value to book value of assets, revenue, operating profit, and EBITDA, and multiples of market
             capitalization to book value of equity and net earnings”) to conclude that “Delaware companies do not enjoy a
             premium.” 60




             State Corporation Laws and Shareholders: The Recent Experience , 18 Fin. Mgmt. 29 (1989); Pamela Peterson,
             Reincorporation Motives and Shareholder Wealth , 23 Fin. Rev. 151 (1988); Roberta Romano, Law as a Product:
             Some Pieces of the Incorporation Puzzle , 1 J.L. Econ. & Org. 225, 240 (1985); Jianghong Wang, Performance of
             Reincorporated Firms (Nov. 1995) (unpublished manuscript)).
             50
                Lucian Bebchuk, Alma Cohen, & Allen Ferrell, Does the Evidence Favor State Competition in Corporate Law
             , 90 Cal. L. Rev. 1775 (2002).
             51
                  Id. at 1820.
             52
                  Robert Daines, Does Delaware Law Improve Firm Value? , 62 J. Fin Econ. 525, 527 (2001).
             53
                  Id.
             54
                  Id. at 553.
             55
                  Lucian A. Bebchuk & Alma Cohen, Firms’ Decisions Where to Incorporate , 46 J. L. & Econ 383 (2003).
             56
                  Bebchuk, et al. (2002) at 1787.
             57
                  Guhan Subramanian, The Disappearing Delaware Effect, 20 J. L. Econ. 32 (2004).
             58
               Robert Anderson & Jeffrey Manns, The Delaware Delusion: An Empirical Analysis , 93 N.C. L. Rev.101
             (2015).
             59
                  Robert Bartlett & Frank Portnoy, The Misuse of Tobin’s Q , 73 Vand. L. Rev. 353, 411 (2020).
             60
                  Rhee, at 105.


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                  52. A similar literature is emerging with regard to the existence of a Nevada discount. Some scholars have
             theorized that Nevada corporate governance law is designed to attract managers seeking to extract value at the
             expense of shareholders. 61 The question then arises as to whether incorporation in Nevada is associated with a
             reduction in firm value.

                  53. In answering this question, two scholars have produced some evidence that lower quality firms choose
             to incorporate in Nevada. 62 But as with the Delaware studies, that evidence cannot differentiate between effects
             deriving from the types of firms selecting incorporation in Nevada and the effects resulting from that
             incorporation. 63

                  54. Professor Eldar reviews the Nevada literature and concludes, “[T]here seems to be no convincing
             evidence that incorporation in Nevada adversely affects share prices.” 64 He then conducts his own empirical
             study and concludes, “Taken together, the evidence supports the hypothesis that Nevada’s protectionist laws do
             not harm shareholder value and may in fact increase it for a subset of small firms that choose to incorporate in
             Nevada.” 65

                         b.     Home-state incorporation

                 55. As noted above, large corporations tend to incorporate in Delaware or in their home state. 66 Scholars
             have identified potential costs and benefits to firms associated with home-state incorporation. This section of the
             report briefly identifies the possible mechanism by which home-state incorporation could create a benefit for a
             corporation.

                  56. The first mechanism is the relationship with local regulators and local government actors. Home-state
             incorporation might provide a more friendly regulatory environment. 67 On the operational side, firms that
             incorporate in a state separate from their headquarters and main operations may alienate the regulators who
             impact their day-to-day operations. Firms that incorporate at home, on the other hand, may experience a better
             relationship and more access to local regulators. On the governance side, legislators in a firm’s home state might
             be more attentive and attuned to how corporate governance law might interact with the firm’s day-to-day
             operations and how governance laws might affect stakeholders such as employees or the communities in which a
             firm operates. More negatively, some scholars have theorized that home-state incorporation might foster lobbying
             by managers for their personal benefit in the form of takeover protections that are costly for shareholders. 68
             While there are anecdotes of firms lobbying for protective legislation, 69 there is no empirical evidence that such
             lobbying is more effective in a firm’s home state than in Delaware.

                  57. Second, home-state incorporation may also facilitate better relationships with other constituencies such
             as employees and the communities in which those employees reside. Incorporating in the same state in which the
             firm has its headquarters or major operations signals a commitment to that community that is not present when it
             incorporates in Delaware or other states.


             61
                Barzuza (2012), Barzuza & Smith (2014); Michal Barzuza (2015); Michal Barzuza , Nevada v. Delaware: The
             New Market for Corporate Law , (working paper) available at
             https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4746878.
             62
                  Barzuza & Smith (2014).
             63
               Jens Dammann, How Lax Is Nevada Corporate Law? A Response to Professor Barzuza , 99 Va. L. Rev. in
             Brief 1 (2013).
             64
               Ofer Eldar, Can Lax Corporate Governance Law Increase Shareholder Value? Evidence from Nevada , 61 J. L.
             Econ., 555, 557 (2018).
             65
                  Id. at 559.
             66
                  See sources in 7.
             67
                  Bebchuk & Cohen (2003); Daines (2002).
             68
                  Daines (2002) at 1579.
             69
                  Id.


                                                                      13




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                 58. Third, home-state incorporation might — especially for smaller firms — create synergies in legal advice
             where the same law firms advising on local operations would also be able to advise the firm on corporate
             governance. 70
                  59. Fourth, when home-state incorporation is coupled with an exclusive forum selection provision, it
             channels all corporate governance litigation to courts in the community that has the strongest ties to the
             operations of the firm. This can be important when corporate governance litigation overlaps with the firm’s
             operations. 71 Professor Lipton has noted the importance of such ties in certain cases and pointed out that even
             the Delaware Court of Chancery has criticized the oversized influence of Delaware law on external communities:
                        A Delaware Vice Chancellor recently lamented that “Delaware should not be determining employment
                        law for the country and for the world.” 72
                 60. Similar points about the importance of tying litigation to the communities most affected by the subject
             matter of the litigation have been raised in the decades-long debate about venue shopping in the context of
             corporate bankruptcy. 73

                        c.   Systemic differences between the states under consideration: specialized courts and the predictability of
                             litigation outcomes and the application of law
                  61. Beyond black letter doctrines of corporate governance law, states can differ in the predictability of how
             their courts apply that law. These differences, if significant, can affect a firm’s operations, its overall value, and
             the relative legal rights of its shareholders, directors, officers, and other stakeholders.
                  62. One potential difference between Texas and Delaware is judicial expertise. The Delaware Court of
             Chancery is an experienced and specialized corporate law court. It was the first of its kind in the nation and its
             expertise is often lauded as the main reason for Delaware’s success in attracting charters. While Texas does not
             currently have a similar court system, it is launching a specialized court in September 2024. 74 This signals that
             Texas is committed to developing a similarly specialized business judiciary, but there is some uncertainty about
             how that project will unfold. The newness of the court may make it less predictable. On the other hand, the
             number of judges — only two judges per judicial division in Texas as compared to seven judges on the Delaware
             Court of Chancery — may provide additional litigation predictability in Texas.
                  63. Beyond the judicial expertise, the structure of the law itself can affect predictability. Detailed statutory
             law tends to be more predictable in application than general equitable standards. In the remainder of this section,
             I discuss the ways in which the corporate governance regimes in Delaware and Texas differ along this dimension
             and how those differences may affect the predictability of litigation outcomes and the application of law in each
             state. Once again there is an extensive literature on the topic with regard to Delaware. I review that literature and
             then examine whether and how the Texas regime is likely to be more or less predictable than the Delaware
             regime.

                        i.   Delaware’s indeterminacy
                  64. Within the academic literature on Delaware’s primacy in the market for corporate charters is an
             extensive discussion about the predictability and determinacy of Delaware corporate law. A consensus has
             emerged that Delaware corporate law is largely indeterminate and often unpredictable. This results because the
             law is applied largely through case-specific standards that rely on the ex post judgment of the judges on the
             Delaware Court of Chancery. This view has persisted over time and is largely shared by both critics and
             defenders of the value of Delaware incorporation and by most of the Delaware judges who have written on the
             topic. The following paragraphs present a sampling of this view from scholars and judges on both sides of the
             Delaware debate.
             70
                  Daines (2002).
             71
               See Ann Lipton, Inside Out (or, One State to Rule them All): New Challenges to the Internal Affairs Doctrine ,
             58 Wake Forest L. Rev. 321 (2023).
             72
               Id. (quoting Vice Chancellor Laster from Transcript of Oral Argument at 43, Strategic Funding Source
             Holdings LLC v. Kirincic , No. 2021-0107-JTL (Del. Ch. Oct. 12, 2021)).
             73
                  See Laura N. Coordes, Geography of Bankruptcy , 68 Vand. L. Rev. 381 (2015).
             74
                  Tex. Gov’t Code §§ 25A.


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                 65. Professor Fisch has noted, “Upon closer examination, however, Delaware law is revealed not as
             predictable, but rather as surprisingly indeterminate.” 75 She defends indeterminacy as “particularly appropriate in
             corporate law.” 76 Former Delaware Supreme Court Chief Justice Norman Veasey has echoed this assessment, “I
             agree both that it is indeterminate and that this indeterminacy is good.” 77
                  66. In contrast, Professors Hansmann & Kraakman, noted, “[T]here are signs of growing discomfort with
             the more extreme forms of unpredictable ex post decisionmaking that have sometimes been characteristic of, say,
             the Delaware courts.” 78
                 67. Professors Kahan and Kamar identified Delaware’s indeterminacy as a cost that Delaware imposes on
             corporations:
                         The fact-intensive, standard-based approach of Delaware corporate law necessarily limits the breadth of
                         Delaware precedents. Delaware precedents, however, are narrow for another reason as well. Delaware
                         judges intend their decisions to be interpreted narrowly. Delaware opinions thus frequently include
                         admonitions that they are dependent on a particular set of facts and regularly shy away from announcing
                         general rules that do not leave any escape hatch. … Because the law is standard based and there is
                         uncertainty about which test applies, litigation may ensue even absent factual disputes. And because the
                         precedents are narrow, uncertainties are slowly resolved.” 79
                  68. Former Delaware Supreme Court Chief Justice Leo Strine authored a response to Kahan and Kamar
             arguing in favor of Delaware’s indeterminacy: “I advance the proposition that much of Delaware corporate law’s
             indeterminacy and litigation intensiveness is an unavoidable consequence of the flexibility of the Delaware
             Model, which leaves room for economically useful innovation and creativity.” 80
                  69. Professors Carney and Shepherd have countered that indeterminacy is the great flaw of Delaware law.
             They note a high level of reversal rate for decisions of the Delaware Court of Chancery. 81 They argue that the
             quality of rulings is immaterial to the cost imposed by uncertainty, explaining, “The important observation here is
             not that the rules are difficult to discern once announced, but that new rules have been announced with
             remarkable regularity.” 82 They point out that this uncertainty increases transaction costs. 83

                  70. This is just a small sampling of the extensive literature reflecting the view that Delaware law is
             indeterminate. To be clear, indeterminacy is separate from quality of decisions. It may be that Delaware law is
             responsive to changing dynamics in corporate law. This may mean that the courts are generally reaching the
             “right”

             75
               Jill E. Fisch, The Peculiar Role of the Delaware Courts in the Competition for Corporate Charters , 68 Univ.
             Cinc. L. Rev. 1061, 1071 (2000).
             76
                  Id. at 1099.
             77
                E. Norman Veasey & Christine T. Di Guglielmo, What Happened in Delaware Corporate Law and Governance
             from 1992-2004? A Retrospective on Some Key Developments , 153 U. Pa. L. Rev. 1399, 1412 (2005).
             78
                  Henry Hansmann & Reinier Kraakman, The End of History for Corporate Law , 89 Geo. L. J. 439, 459 (2001).
             79
               Marcel Kahan & Ehud Kamar, Price Discrimination in the Market for Corporate Law , 86 Cornell L. Rev.
             1205, 1239-1240 (2001).
             80
                Leo Strine, Jr., Delaware’s Corporate-Law System: Is Corporate America Buying an Exquisite Jewel or a
             Diamond in the Rough? A Response to Kahan & Kamar’s Price Discrimination in the Market for Corporate Law
             , 86 Cornell L. Rev. 1257, 1259 (2001).
             81
               William J. Carney & George B. Shepherd, The Mystery of Delaware Law’s Continuing Success , 2009 U. Ill. L.
             Rev. 1, 15 (2009) (“One measure of Delaware’s indeterminacy and its costs is the Delaware courts’ relatively
             high reversal rate. Former Chief Justice Veasey has stated that the reversal rate for decisions from the Delaware
             Court of Chancery is approximately 25%.”). They further noted that under their own analysis for corporations
             cases, there were “ten affirmances and nine reversals.” Id.
             82
                  Id. at 16-17.
             83
                Id at 17. See also Antony J. Casey & M. Todd Henderson, The Boundaries of Team Production of Corporate
             Governance , 38 Seattle L. Rev. 365, 384 (2015) (“when [fiduciary] duties are enforced, it is with little
             predictability and sometimes can be used to invalidate a market transaction that should not be governed by
             fiduciary duties”).



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             outcomes in most cases. The defenders of Delaware would laud this as a sign that the law is flexible and
             responsive. The critics would complain that the cost of the “right” rule in this context is the lack of direction for
             those making the decisions. As former Chancellor Allen put it,

                        As a general matter, those who must shape their conduct to conform to the dictates of statutory law
                        should be able to satisfy such requirements by satisfying the literal demands of the law rather than being
                        required to guess about the nature and extent of some broader or different restriction at the risk of an ex
                        post facto determination of error. 84

                  71. In a separate speech, former Chancellor Allen noted the ambiguity in Delaware law and summarized
             the problem in valuing that ambiguity this way:

                        That ambiguity is capable of causing either a net cost (i.e., adding more certainty than is optimum to the
                        governance system) or a net benefit. Whether the corporate law is at one end of this spectrum of
                        economic effects or the other depends on the way the fiduciary duty is enforced. Unfortunately, there is
                        no science currently available that permits the precise measurement of these cross-cutting efficiency
                        effects in general (i.e., systemically) or in a particular firm. Thus, I assert that, at its most sophisticated
                        level, corporation law is presently an artistic enterprise. 85

                  72. Ultimately, whether indeterminacy is a feature or a bug of the Delaware corporate governance regime is
             a question that echoes the fundamental choice in all of law between rules and standards. 86 I have summarized
             this debate in my prior work this way:

                        Standards, on the other hand, are adjudicated after the fact. As a result, lawmakers avoid high up-front
                        design costs. Moreover, when applied after the fact, standards can be [if judges are highly competent]
                        precisely tailored or calibrated to a specific context as it actually arose. But they also generate ex ante
                        uncertainty because regulated actors do not know up front whether their behavior will be deemed by the
                        adjudicator to comply with the standard. 87
                   73. Consistent with this trade-off, proponents of indeterminacy argue that it allows the courts to account for
             new developments with each case. Critics suggest that it leads to uncertainty and imposes costs on directors and
             officers. It is worth noting that the costs of standards might fall disproportionally on certain firms. Specifically,
             standards will impose more uncertainty on large firms that are more likely to be targeted for litigation and on
             innovative firms that are more likely to engage in novel transactions that do not fit the exact pattern of previously
             litigated cases.
                  74. While the consensus view is that Delaware law is — for better or worse — indeterminate, there are a
             few dissenters. For example, Professor Romano suggested in 2001 that “Delaware law is more predictable and
             certain than that of any other state.” 88 Professor Dammann argued in 2013 that English and German corporate
             law were no less indeterminate than Delaware law. 89 Former Chancellor Chandler has similarly argued that there
             is no empirical
             84
                  Speiser v. Baker , 525 A.2d 1001, 1008 (Del. Ch. 1987).
             85
                  William T. Allen, Ambiguity in Corporation Law , 22 Del. J. Corp. L. 894, 898 (1997).
             86
               See Louis Kaplow, Rules Versus Standards: An Economic Analysis , 42 Duke L.J. 557 (1992); Cass R.
             Sunstein, Problems with Rules, 83 Cal. L. Rev. 953 (1995); Isaac Ehrlich & Richard A. Posner, An Economic
             Analysis of Legal Rulemaking , 3 J. Legal Stud. 257 (1974); Kathleen M. Sullivan, The Supreme Court, 1991
             Term — Foreword: The Justices of Rules and Standards , 106 Harv. L. Rev. 22 (1992); Frederick Schauer, The
             Tyranny of Choice and the Rulification of Standards , 14 J. Contemp. Legal Issues 803 (2005); Duncan Kennedy,
             Form and Substance in Private Law Adjudication , 89 Harv. L. Rev. 1685 (1976).
             87
                Anthony J. Casey & Anthony Niblett, Death of Rules and Standards , 92 Ind. L. J. 1401 (2017); see also
             https:// www.youtube.com/watch?v=TnbRApMEumU.
             88
               Roberta Romano, The Need for Competition in International Securities Regulation , 2 Theor. Inq. L. 387, 521
             (2001).
             89
               Jens Dammann, Indeterminacy in Corporate Law: A Theoretical and Comparative Analysis , 49 Stan. J. Int. L.
             54, 58 (2013).



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             evidence that Delaware is more indeterminate than other regimes in the United States. 90 These views represent
             the minority view and are difficult to square with the numerous observations by Delaware’s strongest proponents
             of the argument that flexibility and evolution are the very attributes that draw corporations to Delaware.
                  75. Finally, Professor Hamermesh, and former Justices Jacobs, and Strine — despite their general defense
             of Delaware corporate law — have noted that recent cases in Delaware have “create[d] excessive litigation
             intensity and suboptimal respect for intra-corporate decision-making processes.” 91 They identified several areas
             where Delaware law could be improved by changing rules to make them “more functional and predictable.” 92
             Specifically they identified the following problems with Delaware law:
                    • “[I]nappropriately expanding the range of full discovery and judicial review for fairness” to controlling
                      shareholder transactions outside of the conflicted merger context. 93 In this argument, they specifically
                      flagged the review standard in Tornetta v. Musk as having no basis and noting that “judicial pricing of
                      compensation packages is unmoored in standards that would make any exercise of discretion reviewable in
                      any coherent and consistent way.” 94
                    • “ Enlarging the definition of “controlling stockholders” to include persons having little or no share voting
                      power.” 95 In making this argument they cited the Chancery Court’s decision in In re Tesla Motors, Inc.
                      S’holder Litig. , 96 as the prime illustration.
                    • “Insufficiently distinguishing between transactions involving classic self dealing and transactions in which
                      a fiduciary (whether a director or controlling stockholder) receives an additional benefit only because of
                      being differently situated, thereby extending entire fairness review to a context where it does not fit.” 97
                    • Adopting a demand futility test that is inconsistent with liability standards for controlling shareholders,
                      with the result that the law “rest[s] on incoherent premises about independent directors.” 98
                  76. In making these observations, the authors also flagged the persisting uncertainty about controlling
             shareholder liability in Delaware, given that the Delaware Supreme Court has failed to answer the question:
             “outside of the going private context, what cleansing techniques will change that initial standard from entire
             fairness to business judgment review?” 99 These observations by two former Justices of the Delaware Supreme
             Court (who




             90
               William Chandler, III, & Anthony A. Rickey, Manufacturing Mystery: A Response to Professors Carney and
             Shepherd’s “The Mystery of Delaware Law’s Continuing Success,” 2009 U. Ill. L. Rev. 95.
             91
               Lawrence Hamermesh, Jack Jacobs, Leo Strine, Jr., Optimizing the World’s Leading Corporate Law: A
             Twenty-Year Retrospective and Look Ahead , 77 The Business Lawyer 321, 325 (2022).
             92
                  Id. at 336.
             93
                  Id. at 325.
             94
                  Id. at 342 n. 99.
             95
                  Id at 325.
             96
                  2018 WL 1560293, at *12 (Del. Ch. Mar. 28, 2018).
             97
                  Hamermesh, et al. (2022) at 325.
             98
                Id. at 326. They also noted problems in the Delaware doctrines of substantive coercion and waste, the
             limitation of 102(b)(7) exculpation of officers to direct claims, and the judicial application of section 220 of the
             DGCL. Id. They referred to these doctrines as “old encrustations on Delaware law that make it unclear and do not
             add value.” Id. 379.
             99
                  Id. at 341.


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             were also Chancellors of the Delaware Court of Chancery) and one of the most experienced professors of
             Delaware corporate law suggest that the Delaware courts have become even more unpredictable in recent years.
             100


                         ii.   The unknowns of Texas

                  77. It is difficult to say whether Texas corporate law will be more or less predictable than Delaware. Texas
             has a much less developed body of case law. On the one hand, this creates uncertainty about outcomes. On the
             other, Delaware’s indeterminacy persists despite its extensive case law.

                  78. One view is that Delaware’s indeterminacy arises because of the Delaware General Corporate Law’s
             reliance on case-specific standards. Thus, one would expect less indeterminacy in jurisdictions with more detailed
             statutory guidance. As one article noted in comparing Minnesota and Delaware:

                         Even though the Delaware case law is extensive, Minnesota’s statutory codification creates more
                         certainty than the Delaware case law because of (a) internal ambiguities in many of the Delaware
                         judicial decisions; (b) apparent inconsistencies among certain contemporaneously decided Delaware
                         cases; (c) divergence of certain decisions with the letter of, and apparent policy behind, the Delaware
                         statute; and (d) tendency of the Delaware courts to reverse or ignore precedent and upset expectations.
                         101


                  79. A similar argument could be made in favor of certainty in Texas. For example, Delaware’s corporate
             law statute uses very broad language in describing the potential safe harbors for interested directors. Section 144
             of the DGCL notes that such interested transactions are not void or voidable “solely for this reason” if the
             transaction is approved by a vote of disinterested directors or shareholders. 102 The statute does not make explicit
             whether this provision creates a safe harbor or does something else. It leaves the specifics to the courts, which
             have concluded, “Our case law interpreting Section 144(a)(1) is murky at best.” 103

                     80. In contrast, Texas’s analogous provisions conclude with this language:

                         If at least one of the conditions…is satisfied, neither the corporation nor any of the corporation’s
                         shareholders will have a cause of action against any of the persons described by Subsection (a) for
                         breach of duty. 104

                  81. The clarity of this statutory language would suggest more predictable litigation outcomes on this issue
             in Texas than in Delaware.



             100
                  Similar evidence of the indeterminacy of Delaware law over the years can be found in the language that
             sitting judges have used in describing Delaware law on various questions. Cumming. v. Edens , No. 13007-
             VCS,2018 WL 992877 at *20 (Del. Ch. 2018) (“Our case law interpreting Section 144(a)(1) is murky at best.”);
             In re Cornerstone Therapeutics Inc., Stockholder Litig. , 115 A.3d 1173, 1179 (Del. 2015) (“In answering the
             legal question raised by these appeals [about the 102(b)(7) as an affirmative defense], we acknowledge that the
             body of law relevant to these disputes presents a debate between two competing but colorable views of the
             law.”); Golaine v. Edwards , No. CIV.A. 15404, 1999 WL 1271882 at *4 (Del. Ch. 1999) (“Delaware law has
             struggled to develop a predictable method by which to distinguish the nature [derivative or direct] of claims in
             this context.”); Portnoy v. Cryo-Cell Intern., Inc., 940 A. 2d 43, 66 (Del. Ch. 2008) (“[T]he law of corporations
             has struggled with how to address the subject of so-called “vote buying.”); Stritzinger v. Barba , 2018 WL
             4189535 at *5 (Del. Ch. 2018) (“There appears to be some confusion in our law whether the ‘substantial
             likelihood of liability’ theory used to challenge the impartiality of a director for demand futility purposes fits
             within the analysis contemplated by the first or second prong of Aronson.”).
             101
                 Philip S. Garon, Michael A. Stanchfield, John H. Matheson, Challenging Delaware’s Desirability as a Haven
             for Incorporation , 32 Wm. Mitchell L. Rev. 769, 773 (2006).
             102
                    DGCL § 144(a).
             103
                    Cumming , 2018 WL 992877 at *20.
             104
                    TBOC § 21.418(e).


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                  82. There are other areas of law where neither the Texas statute nor its case law provide guidance. For
             example, the case law in Texas on oversight liability (Caremark claims), 105 judicial review of controlling
             shareholder transactions, 106 and the application of intermediate scrutiny for takeover defenses 107 is not
             well-developed.
                  83. The exact standard of liability and level of judicial review in these contexts is not yet known. For
             example, in the context of a controlling shareholder of closely held corporations, Texas has rejected an
             independent cause for shareholder oppression, but it has also suggested that minority shareholders could protect
             their rights through other causes of action including one for breach of fiduciary duties owed to the corporation.
             108
                 Without more case law on claims against controlling shareholders of publicly held corporations, there is some
             uncertainty in Texas. It is worth noting, however, that Delaware case law on controlling shareholder transactions
             — while much more developed — still does not provide a definitive answer to key questions such as who
             qualifies as a controlling shareholder, what qualifies as a controlling shareholder conflict, the level of judicial
             review for controlling shareholder transactions outside of the merger context, 109 and the operation of safe
             harbors for those transactions. 110




             105
                See In re Life Partners Holding Inc , No. DR-11-CV-43-AM, 2015 WL 8523103 at *11 (W.D. Tex. Nov. 9,
             2015).
             106
                See Ritchie v. Rupe , 443 S.W.3d 856 (Tex. 2014); Matter of Estate of Poe , 648 S.W. 3d 277 (Tex. 2022);
             Riebe v. Nat’l Loan Inv., L.P., 828 F. Supp 453 (N.D. Tex. 1993).
             107
                Hanmi Fin. Corp. v. SWNB Bancorp, Inc., No. CV 4:18-3546, 2019 WL 937195, at *7 (S.D. Tex. Feb. 26,
             2019) (noting the lack of definitive authority in Texas on the question).
             108
                    Ritchie , 443 S.W.3d at 882.
             109
                 After I completed the initial draft of this report, the Delaware Supreme Court issued an opinion in In re Match
             Group, Inc. Derivative Litigation , which addresses the scope of judicial review for controlling shareholder
             transactions. In re Match Group, Inc. Derivative Litig., No. 368, 2022, 2024 WL 1449815 (Del. Apr. 4, 2024). In
             its opinion, the Court rejects arguments for limiting the scope of entire fairness review. While the court leaves the
             door open for further revisions and uncertainty, see id. at * 15 (“We note, however, that these points have long
             been subject to debate and are thus not something to be decided in this appeal on the record before us.”), it
             embraces a rule that seems to cover all transactions where the controlling shareholder receives a non-ratable
             benefit.
             I say “seems” because such a rule taken literally would be impossible to implement. With a controlling
             shareholder who is also an officer, the Court’s rule would require either a shareholder vote or judicial review for
             such mundane transactions as approving vacation time, remodeling one’s office, reimbursing a working meal, or
             even getting a cup of coffee at work. All of these transactions provide a benefit to the controlling shareholder that
             are not realized by the other shareholders. The last example is obviously absurd, and no court of equity would
             entertain such a claim. But that shows that a line still remains to be drawn in defining the scope of the doctrine.
             The Court at one point suggests that for “ordinary course transactions such as compensation decisions and
             intercompany agreements,” the company could look to Rule 23.1 and “our demand review precedent” for
             insulation against frivolous litigation. Id. at *1. This is the exact regime of review that Professor Hamermesh and
             former Justices Jacobs and Strine characterized as “rest[ing] on incoherent premises about independent directors.”
             Hamermesh, et al. (2022) at 326. The Delaware Court responds, “Admittedly, there is a tension in our law in
             these contexts.” In re Match Group at *16.
             110
                    See above at note 99.


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                  84. Similarly, a recent major Delaware Supreme Court case on Caremark liability was viewed by many as a
             surprise. Indeed, in that case, the Delaware Court of Chancery had ruled that the plaintiff’s case “is not a valid
             theory u n d e r … Caremark.”111 It was in reversing that ruling that the Delaware Supreme Court announced the
             now controlling standard for Caremark claims. 112 Litigants are still figuring out the full extent of that standard.
             113

                 85. Finally, it is worth noting that when faced with uncertainty, Texas courts have often looked to Delaware
             precedent as a guide. And specifically in the context of Caremark claims and Unocal defenses, federal courts
             have predicted that Texas courts will follow Delaware authority. 114




             111
                Marchand v. Barnhill , C.A. No. 2017-0586-JRS, 2018 WL 4657159, at *18 (Del. Ch. Sept. 27, 2018), rev’d ,
             212 A.3d 805 (Del. 2019); See In re Life Partners , 2015 WL 8523103 at *11 (W.D. Tex. 2015) (predicting that
             Texas would follow Delaware law on Caremark claims).
             112
                    Marchand v. Barnhill , 212 A.3d 805 (Del. 2019).
             113
                Other recent cases provide examples of Delaware’s continuing trend of expanding the scope of claims that
             meet the hurdle of stating a viable Caremark claim. See, for example, Ontario Provincial Council of Carpenters’
             Pension Tr. Fund v. Walton , No. 2021-0827-JTL, 2023 WL 3093500 (Del. Ch. Apr. 26, 2023) (denying Rule 23.1
             motion to dismiss Caremark and Massey claims); In re McDonald’s Corp. Stockholder Derivative Litig., 289 A.3d
             343 (Del. Ch. 2023) (denying Rule 12(b)(6) motion to dismiss Caremark claims against officer). This expansion
             comes as a particular surprise in light of the Delaware courts’ previous insistences that Caremark claims “were
             possibly the most difficult theory in corporation law upon which a plaintiff might hope to win a judgment.” Stone
             ex rel. AmSouth Bancorporation v. Ritter , 911 A.2d 362, 372 (Del. 2006) (quoting In re Caremark Int’l Inc.
             Deriv. Litig., 698 A.2d 959, 968 (Del.Ch.1996).
             114
                In re Life Partners, 2015 WL 8523103 at *11 (predicting Texas will follow Delaware on Caremark claims);
             Hanmi Fin. Corp. , 2019 WL 937195, at *7 (“Accordingly, this Court concludes that Texas courts would adopt
             Delaware fiduciary law in the merger context and applies Delaware law in its analysis.”).



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                          d.    Differences in specific features of the corporate governance regimes in the states under consideration

                 86. As a result of the convergence discussed above, the bulk of corporate law is the same or equivalent
             across jurisdiction in the United States. Between Texas and Delaware, the business judgment rule, the corporate
             opportunities doctrine, and the rules for director exculpation, indemnification, and advancement of fees are the
             same or equivalent.

                  87. There are, however, some areas of law where the laws of the two states differ. Sometimes these
             differences are merely in the way that each state articulates its rules, with the substance remaining the same. In
             this section of the report, I examine a series of potential differences between Texas and Delaware law identifying
             where the differences are real, where they are marginal, and where they are apparent only.

                          i.    Baseline duties
                  88. Delaware corporate governance law imposes two duties on the directors and officers of a corporation:
             the duty of care and the duty of loyalty. 115

                  89. Texas law imposes three duties on directors and officers: “namely, the duties of obedience, loyalty, and
             due care.” 116 The addition of the duty of obedience in Texas is a difference in form only. This duty requires that
             directors and officers “avoid committing ultra vires acts.” 117 The same obligation to avoid taking unauthorized
             actions is incumbent on directors and officers in Delaware.

                  90. Some Texas cases also refer to other duties, such as the duty of candor. 118 It is unclear whether this is
             an independent duty or a subset of the duties of loyalty and care. In any event, the same duty of candor and
             disclosure exists under the duty of loyalty in Delaware. 119

                  91. The result is that while the nomenclature differs, the baseline fiduciary duties owed by directors and
             officers are the same in Texas and in Delaware.

                          ii.   Officer exculpation in Delaware but not Texas

                  92. Section 102(b)(7) of the DGCL was amended in 2022 to allow corporations to include provisions in
             their certificate of incorporation exculpating the liability of officers for monetary damages for breach of the
             fiduciary duty of care. 120 Previously, the statute had only allowed for the exculpation of director liability. The
             amendment, however, carved out actions against officers “by or in the right of the corporation” as
             non-exculpable. 121 This carve out limits the exculpation of officers to direct shareholder claims for breaches of
             the duty of care. 122

                  93. While section 7.001 of the TBOC provides for similar exculpation of director liability, it does not allow
             for the exculpation of officers. As a result, Texas law provides slightly broader shareholder litigation rights than
             Delaware when it comes to bringing direct duty of care claims against officers.

             115
                    Stone ex rel. AmSouth Bancorporation , 911 A.2d at 370.
             116
                    Gearhart Industries, Inc. v. Smith Intern., Inc. , 741 F.2d 707, 719 (5th Cir. 1984)
             117
                    Id.
             118
                    See Sohani v. Sunesara , No. 01-20-00114-CV, 2023 WL 1112165, at *13 (Tex. App. 1st Dist. 2023).
             119
                See In re Transkaryotic Therapies, Inc., 954 A.2d 346, 358 (Del. Ch. 2008), as revised (June 24, 2008) (“The
             duty of disclosure — sometimes referred to as the duty of candor — was originally most frequently discussed in
             connection with the duty of loyalty.”).
             120
                    DGCL § 102(b)(7).
             121
                    DGCL 102(b)(7)(v).
             122
                 See New Enter. Associates 14, L.P. v. Rich , 295 A.3d 520, 549 (Del. Ch. 2023) (“For officers, the
             combination of exclusions only permits a charter provision to eliminate monetary liability to the stockholders for
             direct claims for breaches of the duty of care.”).



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                         iii. Constituency statute

                  94. Texas, along with thirty-one other states (as of 2021), 123 has adopted a constituency statute that
             explicitly allows directors and officers to consider non-shareholder constituencies in performing their duties. 124
             This statute allows directors to consider long- and short-term interests of shareholders and provides that directors
             and officers may “consider[ ], approv[e], or tak[e] action that promotes or has the effect of promoting a social,
             charitable, or environmental purpose.” 125 Texas’s statute is one of only two constituency statutes (the other being
             Arizona’s) that specifically mention the environment. 126

                     95. Delaware does not have a constituency statute.

                 96. The question of corporate purpose — sometimes framed as one of Corporate Social Responsibility
             (CSR) or considering Environmental, Social, and Governance factors (ESG) — is the subject of a hotly contested
             debate within corporate law scholarship and the more general public discourse. These statutes have large
             symbolic and expressive effects and are intended to signal that corporations can (and perhaps should) consider
             purposes and constituencies beyond mere shareholder profit maximization.

                  97. For a corporation with mission-driven purpose, incorporating in a state with a constituency statute can
             send an important message to employees, customers, and other stakeholders and can enhance the corporation’s
             credibility with regard to that mission. Incorporation in a state — like Delaware — whose prominent judges have
             disavowed the ability of directors to consider non-profit-maximizing goals, 127 can undermine a statement of a
             corporate social mission. 128

                   98. That said, the effect of constituency statutes on actual liability and litigation rights is negligible, if it
             exists at all. To start with, most commentators view Delaware law as permissive of corporations who pursue the
             benefit of non-shareholder constituencies. 129 And the overwhelming majority of cases in Delaware grant broad
             discretion to directors in considering non-shareholder interests. In most cases, the directors’ broad discretion
             under the business judgment rule coupled with the long-term interest of shareholders will be enough to eliminate
             a litigable difference between pursuing shareholder and non-shareholder interests. As Vice Chancellor Will
             recently noted in an interview with Bloomberg,

                     The goal of the board at the end of the day should be to create long-term value for the stockholders. … And
                     if you’re thinking about creating long-term value, you want to have happy employees, you want to have
                     engaged


             123
                See Lucian Bebchuk, Kobi Kastiel, Roberto Tallarita, For Whom Corporate Leaders Bargain , 94 S. Cal. L.
             Rev. 1467 (2021).
             124
                    TBOC §21.401.
             125
                    TBOC § 21.401(e).
             126
                    Bebchuk, et al. (2021) at 1491.
             127
                 See, for example, Leo Strine Jr., The Dangers of Denial: The Need for a Clear-Eyed Understanding of the
             Power and Accountability Structure Established by the Delaware General Corporation Law , available at:
             https://ssrn.com/ abstract=2576389 at 7 (“In the corporate republic, no constituency other than stockholders is
             given any power.”).
             128
                 Professor Kim has presented preliminary evidence that the expressive effect of law can have real impact on
             the pursuit of social purpose even in the absence of enforcement mechanisms. Hajin Kim, Expecting Corporate
             Prosociality , working paper available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4282358 (providing
             empirical evidence that “what matters is key stakeholder perceptions of the law and about appropriate business
             behavior”). Kim notes that constituency statutes that “explicitly permit [directors] to also consider societal
             impacts” can foster prosocial corporate missions by shaping stakeholder expectations “over the proper role of
             business in society.” Id. She contrasts those statutes to Delaware law, which she argues express a norm of
             exclusive profit maximization. Id.
             129
                See id. at n. 9 (collecting a long list of sources, or “deniers,” who believe Delaware law permits the pursuit of
             non-shareholder interests).



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                     customers, you want to have a sustainable business from an environmental standpoint, and so you need to be
                     giving some weight to these different stakeholder interests, depending on your industry, in order to exercise
                     your fiduciary duties anyway. 130
                 99. It is also notable that many Delaware corporations have publicly stated a pursuit of non-shareholder
             purposes and have done so without facing any legal consequences or changing their bylaws or charters. 131
                  100. The only contexts in which the Delaware courts have significantly invoked the exclusive duty to
             shareholders are the narrow context of Revlon transactions — when the firm is being sold in a transaction that
             will cash out shareholders — and the context of extreme affirmative actions to disenfranchise shareholders or
             minority directors. 132 Recent empirical work further suggests that there is little or no effect even in the Revlon
             context. 133

                         iv.   Duties in the Revlon Context
                  101. “ Revlon duties,” arise from the duties of care and loyalty in a certain set of circumstances. In those
             circumstances, Delaware case law construes director and officer duties as to require an attempt to achieve the
             highest and best price in a cash-out transaction. 20 134 The scope of cases in which Revlon duties apply is narrow
             and not clearly demarcated. 135 The prototypical context is an all-cash sale of a firm owned by disperse
             shareholders. Revlon also applies to stock-for-stock transactions that relegate shareholders of a dispersely owned
             firm to a minority position in a majority-controlled firm. Revlon does not apply to a stock-for-stock merger
             between two firms that are owned by disperse shareholders.
                  102. When Revlon does not apply, Delaware law allows directors and officers to proactively oppose
             transactions that are inconsistent with their view of the long-term interest of the corporation. 136
                  103. Texas law more clearly provides by statute that directors and officers may consider “the long-term and
             short-term interests of the corporation and the stockholders of the corporation, including the possibility that those
             interests may be best served by the continued independence of the corporation.” 137
                  104. The result is that Texas and Delaware law treat most transaction in the same way allowing directors
             and officers to consider long-term interests of the corporation and its shareholders. There is, however, a small
             category of takeover cases where the focus of director duties will be different in Delaware and Texas.

                         v.    Duty to shareholders
                  105. Recent Texas cases have emphasized that a “corporate officer or director’s duty is to the corporation
             and its shareholders collectively, not any individual shareholder or subgroup of shareholders, even if that
             subgroup

             130
                 Clare Hudson, Delaware Judge Faces New Era of Politically Charged ESG Cases , (Dec. 13, 2023) available
             at https:// news.bloomberglaw.com/esg/delaware-judge-faces-new-era-of-politically - charged-esg-cases (quoting
             Vice Chancellor Lori Will).
             131
                 See Statement on the Purpose of a Corporation , Bus. Roundtable (Aug. 19, 2019), https://s3.amazonaws.com
             /brt.org/BRT-StatementonthePurposeofaCorporationJuly2021.pdf; see also Lucian Bebchuk & Roberto Tallarita,
             Will Corporations Deliver Value to All Stakeholders? , 75 Vand. L. Rev. 1031 (2022).
             132
                See eBay Dom. Holdings, Inc. v. Newmark , 16 A.3d 1 (Del. Ch. 2010) (a rare case where the directors and
             majority shareholders were prevented from taking actions — which would have coercively diluted the equity and
             voting power of a minority shareholder — because they asserted a non-profit maximizing justification).
             133
                 See Bebchuk, et al. (2021) (finding that officers and directors bargain robustly for shareholder benefits in
             states with constituency statutes at the expense of non-shareholder constituencies).
             134
                    Lyondell Chem. Co. v. Ryan , 970 A.2d 235, 242 (Del. 2009)
             135
                    See Stephen Bainbridge, The Geography of Revlon-Land , 81 Fordham L. Rev. 3277 (2013).
             136
                 Air Products and Chemicals, Inc. v. Airgas, Inc., 16 A.3d 48, 124-25 (Del. Ch. 2011) (“This course of action
             has been clearly recognized under Delaware law: directors, when acting deliberately, in an informed way, and in
             the good faith pursuit of corporate interests, may follow a course designed to achieve long-term value even at the
             cost of immediate value maximization.) (internal quotations omitted).
             137
                    TBOC § 21.401(b).


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             represents a majority of the ownership.” 138 This statement is similar to several pronouncements of the Delaware
             courts that director and officer fiduciary duties run to the corporation and the collective shareholders. 139

                  106. One might read some Texas cases as going further and eliminating the duty to shareholders altogether.
             This is an erroneous reading given the clear statement of the Supreme Court of Texas that the duty runs “to the
             shareholders collectively” and given Texas’s statutory provisions entitling directors to consider “the long-term
             and short-term interests of the corporation and the shareholders of the corporation. ” 140 But even if it were a
             correct reading, it would not have a meaningful impact on liability. Indeed, the idea that directors owe duties to
             shareholders is a commonly misunderstood concept — in Delaware and elsewhere — that provides little real
             guidance. As noted above, the notion has little impact on actual liability and litigation rights. 141 And it often
             confuses the notion of shareholder value (which is maximized by increasing the long-term value of the
             corporation) and shareholder interests (which no corporate law requires directors to consider). Examining this
             confusion, Professors Baird and Henderson have characterized the “duty to shareholders” as “[a]n almost-right
             principle [that] invites sloppy thinking, vague generalities, and a general distortion of the otherwise sound ideas
             that lie close by.” 142 They further note, however, that, “[t]he notion that fiduciary duties are owed to
             shareholders has not yet generated seriously wrong-headed outcomes. (Among other things, the Delaware
             chancellors are generally too smart to let this happen.).” 143

                  107. One Texas case suggests that the lack of a duty to shareholders may be relevant in determining
             whether an action for a cash-out merger is direct or derivative. 144 If other courts follow that reasoning, it would
             create a procedural hurdle to litigants in Texas that does not always exist for litigants in Delaware in the narrow
             context of cash-out merger transactions. Note, however, that if these actions are duty of care claims brought
             against officers, Delaware allows for the full exculpation of those claims where Texas does not. 145 The result
             then is that the protection of shareholders in the context of cash-out mergers may be different in Texas and
             Delaware, with Delaware law definitively eliminating substantive liability in some cases and Texas law
             potentially imposing an additional procedural hurdle in some cases.


             138
                    Ritchie , 443 S.W.3d at 885.
             139
                 The Delaware Court of Chancery court in Frederick Hsu Living Tr. v. ODN Holding Corp oration noted that
             duties ran to “the undifferentiated equity as a collective, without regard to any special rights”. 2017 WL 1437308,
             at *17 (Del. Ch. 2017). The court then included a lengthy footnote collecting similar statements for prior cases:
                  See, e.g., Klaassen v. Allegro Dev. Corp. , 2013 WL 5967028, at *11 (Del. Ch. Nov. 7, 2013) (stating that
                  “corporate directors do not owe fiduciary duties to individual stockholders” but rather “to the entity and to
                  the stockholders as a whole”); Gilbert v. El Paso Corp. , 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988)
                  (“Directors’ fiduciary duties run to the corporation and to the entire body of shareholders generally, as
                  opposed to specific shareholders or shareholder subgroups.”); Phillips v. Insituform of N. Am., Inc. , 1987
                  WL 16285, at *10 (Del. Ch. Aug. 27, 1987) (Allen, C.) (holding that Delaware law “does not recognize a
                  special duty on the part of directors elected by a special class to the class electing them”); J. Travis Laster &
                  John Mark Zeberkiewicz, The Rights and Duties of Blockholder Directors , 70 Bus. Law. 33, 49 (2014)
                  (“The reference [to fiduciary duties running] to ‘stockholders’ means all of the corporation’s stockholders as
                  a collective. It means the stockholders as a whole…, which is what academics refer to as the ‘single owner
                  standard.’”) (footnotes omitted).
                  Id.
             140
                    TBOC § 21.401(b).
             141
                    See above at page 38.
             142
                    Douglas Baird & M. Todd Henderson, Other People’s Money , 60 Stan. L. Rev. 1309 (2008).
             143
                Id. at 1312, see also Henderson & Casey (2015) (noting the damage that can be done by the “spell of the
             shareholder-maximization sirens”).
             144
                    Somers ex rel. EGL, Inc. v. Crane , 295 S.W.3d 5, 8 (Tex. App. 2009).
             145
                    See above at page 36.


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                         vi.   Demand regime for derivative litigation
                 108. Texas corporate law, like Delaware corporate law, requires that shareholders make demand on the
             board of directors before initiating a derivative lawsuit. 146 Unlike Delaware, Texas does not excuse this demand
             requirement upon a showing of futility. Once a shareholder has made demand, the board has 90 days to respond
             before a lawsuit can be filed.
                  109. The board’s response to demand must be determined by a majority of (1) “all independent and
             disinterested directors of the corporation,” ​ ( 2) a committee of independent and disinterested directors, or (3) a
             panel of “independent and disinterested individuals appointed by the court.” 147

                  110. If the shareholder brings suit despite demand having been rejected, the corporation can seek dismissal.
             The dismissal will be granted if the independent directors, committee, or panel “determines in good faith, after
             conducting a reasonable inquiry and based on factors the person or group considers appropriate under the
             circumstances, that continuation of the derivative proceeding is not in the best interests of the corporation.” 148
                  111. The shareholder bringing a derivative action is entitled to discovery as to the independence of the
             directors, committee or panel, the good faith of their review, and the reasonableness of the procedures they
             followed. 149

                   112. Delaware requires demand but will excuse the requirement when the shareholder can show that
             demand was futile. To succeed on an argument of futility, the shareholders must show that a majority of directors
             (i) “received a material personal benefit from the alleged misconduct;” ​ ( ii) “face[ ] a substantial likelihood of
             liability;” or (iii) “lack[ ] independence from someone who received a material personal benefit” … or “who
             would face a substantial likelihood of liability.” 150

                 113. Unlike the litigants challenging demand refusal in Texas, “[i]n general, derivative plaintiffs [in
             Delaware] are not entitled to discovery in order to demonstrate demand futility.” 151 Instead, the shareholders are
             expected to pursue the necessary information through a books and records request under section 220 of the
             DGCL before initiating a derivative proceeding. 152

                  114. In Delaware, if a shareholder makes demand, the shareholder “tacitly acknowledges the absence of
             facts to support a finding of futility.” 153

                  115. While the Texas and Delaware procedures differ, both are designed to achieve the same goal: to have
             suits controlled by an independent board or committee of the board of directors. Both regimes anticipate that
             most cases will result in the board of directors controlling the decision to litigate and deal with those cases in the
             same manner, requiring demand. They differ in how they deal with the exceptional cases where the court will
             allow shareholders to wrest control from the board.
                  116. In Texas, the shareholder makes demand and then — if there is reason to believe that the board was
             not independent in responding to that demand — the shareholder can litigate the question of independence. In
             Delaware, the shareholder generally does not make demand and instead first litigates the question of whether the
             board is independent enough to be trusted in responding to a demand request.
             146
                    TBOC Ch. 21 Subchapter L.
             147
                    TBOC §21.554(a).
             148
                    TBOC §21.558(a).
             149
                    TBOC §21.556(a).
             150
                United Food and Com. Workers Union and Participating Food Indus. Employers Tri-State Pension Fund v.
             Zuckerberg , 262 A.3d 1034, 1059 (Del. 2021).
             151
                    Beam ex rel. Martha Stewart Living Omnimedia, Inc. v. Stewart , 845 A.2d 1040, 1056 (Del. 2004).
             152
                 Id. (“Both this Court and the Court of Chancery have continually advised plaintiffs who seek to plead facts
             establishing demand futility that the plaintiffs might successfully have used a Section 220 books and records
             inspection to uncover such facts.”).
             153
                    Spiegel v. Buntrock , 571 A.2d 767, 775 (Del. 1990).


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                 117. In either event, the litigation in these exceptional cases begins with the question of director
             independence. In Delaware, however, the shareholder plaintiff is limited in the available discovery on the
             question of independence. In Texas, the plaintiff is entitled to more discovery, but must first give the board the
             chance to respond to demand in the appropriate manner.
                   118. Notably in Texas, the shareholder is only prevented from pursuing litigation when there has been an
             independent review of the shareholder’s demand. Given that both states — and the entire foundation of derivative
             litigation — view independent board review as the ideal of corporate fiduciary litigation, Texas procedure to
             guarantee that review cannot and likely will not be viewed as reducing shareholder litigation rights.
                  119. In Delaware, if the shareholder makes demand in the hopes of achieving the ideal of independent
             review, the shareholder has given up any later objection that the board was conflicted in its review. Thus, a
             shareholder might make demand in the hopes that the board would comply with its duty to create an independent
             committee to review the case. If the board instead refuses the demand without creating that committee, the
             shareholder in Delaware has nonetheless conceded that demand is not futile. In contrast, a Texas shareholder
             could still challenge the board’s failure to appoint an independent committee in such a case.
                  120. As a result of these dynamics, the universal demand requirement in Texas is more protective of
             shareholder litigation rights and more effective in promoting an independent board or committee review of
             derivative litigation than the regime in Delaware.

                          vii. Jury trials 154

                 121. In Texas, civil litigants are entitled to demand a jury trial. 155 This right will exist in the Texas
             Business Courts. 156
                     122. There is no right to a jury trial in the Delaware Court of Chancery.

                          viii. Right to call a special meeting
                 123. Texas requires that corporations provide shareholders the right to call a special meeting. The
             corporation can specify the percentage of voting shares required to invoke this right, but that requirement cannot
             exceed 50 percent. 157
                     124. Delaware does not provide this protection to shareholders.

                          ix.   Texas limitation on expanding the board
                  125. Texas provides that if a board increases the number of directors, it may only fill two of the vacancies
             created by that increase between shareholder meetings. 158 This protects against board attempts to thwart
             takeovers or activist campaigns by expanding the board and appointing directors to fill the created vacancies.
                     126. Delaware does not provide this protection to shareholders.

                     V.   Conclusions on Relevant Legal and Corporate Governance Considerations

                          a.    There is no general discernible value premium or discount associated with Delaware, Texas, or any other
                                state.
                  127. Despite decades of searching, academics and other analysts have not been able to conclusively identify
             a change in corporation value (often referred to as a “Delaware premium” or “Delaware discount”) associated
             with

             154
                 The right to a jury trial in Texas does not increase the uncertainty of the law in Texas. As with all other
             jurisdictions in the United States, juries are tasked with deciding factual questions and not legal questions. Thus,
             legal uncertainties would be decided by the courts in these systems and would determine whether cases go to the
             jury at all.
             155
                    Tex. Const. Art. 5. § 10; Tex R. Civ. P. 216.
             156
                    Tex. Gov’t Code §25A.015(a).
             157
                    TBOC §21.354(a).
             158
                    TBOC § 21.410(d).


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             incorporation in Delaware as opposed to other states. The existing literature strongly suggests that such premium
             is non-existent or unknowable. This should not be surprising. While corporate governance laws differ across
             states in some respects, there are more similarities than differences. For most states, and especially for the states
             under consideration here, the core duties of directors and officers and potential avenues of liability are
             substantially similar, even if the legal doctrines are sometimes stated differently.
                 128. The takeaway from any review of the literature on this topic is that one can draw no firm conclusion
             about the existence of a Delaware (or other state) premium or discount. 159 The literature is indeterminate. And
             given the incentives of academics and market actors to prove a definitive answer here and the difficulty of
             proving a negative, the most reasonable conclusion is that no discoverable premium exists.
                  129. Similarly, there is no convincing evidence of a Texas premium or discount, though the issue has not
             received anywhere near the same level of attention. Indeed, empirical studies on the value of incorporating in
             states other than Delaware and Nevada 160 are sparse. 161

                         b.   Delaware law is indeterminate and legal outcomes are often unpredictable. But Texas law lacks a depth of
                              court precedent on questions of corporate law. As a result, the relative predictability of corporate
                              governance law in Texas and Delaware, and any effect of that relative predictability on shareholder value,
                              is unknown.
                  130. Delaware law is indeterminate and litigation intensive. As laid out above, indeterminacy has costs and
             benefits. Those costs are likely to be borne disproportionately by large and innovative companies. As a result, the
             indeterminacy of Delaware law is likely to impose costs on Tesla that reduce its value to shareholders.
                   131. That said, the determinacy of Texas law is not established. Texas has a more detailed statutory
             framework but lacks a depth of precedent. Moreover, Texas often follows the lead of Delaware in filling the gaps
             in its corporate law. In this way, Texas and Delaware law may be equivalently indeterminate with regard to
             certain areas of corporate law — this is likely true in the context of controlling shareholder litigation and
             Caremark liability.

                         c.   Certain features of Texas corporate governance law are likely to create a Tesla-specific benefit for the
                              corporation and its shareholders associated with incorporating in Texas and a potential Tesla-specific cost
                              for the corporation and its shareholders associated with incorporation in Delaware.
                 132. There is value inherent in home-state incorporation, which may favor Texas incorporation for Tesla.
             This value derives from the potential improved access to and relationships with local government actors and
             regulators as well as improved relationships with local constituencies including employees and the communities
             in which Tesla carries on major operations.
                  133. There is also potential value created by the alignment of the Texas Business Organizations Code’s
             constituency provisions with Tesla’s unique corporate mission. Texas explicitly allows directors and officers to
             consider non-shareholder constituencies and purposes including environmental purposes. These constituency
             provisions are aligned with Tesla’s stated corporate mission “to accelerate the world’s transition to sustainable
             energy.” 162 While constituency statutes do not affect liability, they have symbolic effects that can be valuable
             and add credibility when a corporation communicates its mission to its employees, customers, and other
             constituencies.

                 134. Additionally, Delaware’s indeterminacy and litigation intensive environment impose costs that are
             borne largely by large innovative corporations. This effect is exacerbated by the fact that Delaware has no cap on

             159
                 Mark J. Roe, Delaware’s Competition , 117 Harv. L. Rev. 588, 634 (2003) (“The debate is stalemated.”);
             Robert Anderson IV, The Delaware Trap , 91 S. Cal. Rev. 657, 666 (2018) (“Thus, there is no definitive evidence
             that Delaware law increases the value of companies, there is some evidence it does not matter, and there is little
             evidence that it decreases the value of companies.”).
             160
                As noted above, there is significant speculation that incorporation in Nevada may reduce shareholder value,
             but there is no conclusive study showing that.
             161
                The data for such studies would be unreliable given the smaller numbers and the strong selection toward
             home-state incorporation as an alternative to Delaware.
             162
                    https://www.tesla.com/impact.


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             legal fees for plaintiffs in shareholder lawsuits (as opposed to Texas which limits fees based on a multiple and
             lodestar method). The end result is that large innovative companies like Tesla are likely to disproportionately be
             targeted for litigation (and likely by weaker and higher variance claims) in Delaware than in Texas.

                         d.   There is no material difference in aggregate substantive shareholder protections associated with
                              incorporation in either Texas or Delaware. There is a potential increase in aggregate procedural
                              shareholder protections in Texas.
                  135. Neither state’s corporate governance regime provides more substantive protection to the general
             shareholders of large public companies. The differences between the corporate governance rules across states are
             often illusory, marginal, or offsetting. As detailed above, where there are substantive differences in the corporate
             governance laws in the two states under consideration by the committee, those differences are marginal. For
             example, Texas’s prohibition on exculpating officer liability is a substantive difference providing greater
             shareholder litigation rights in Texas. But that is a small difference limited to direct shareholder claims against
             officers for the breach of their fiduciary duty of care. In the aggregate, the bundles of substantive shareholder
             rights in the two states are substantially equivalent.
                  136. Some differences that might appear to make one state more protective of shareholders are superficial,
             exist in name only, or have de minimis effects. These perceived differences are best viewed as neutral in
             analyzing the value and protection each state affords to shareholders. Thus, while the following factors might
             support a claim that Texas is more protective of shareholder rights, I have treated them as neutral in comparing
             shareholder protections: Texas’s additional imposition of a duty of obedience and Texas case law suggesting the
             possibility of heightened scrutiny of directors adopting takeover defenses. Similarly, I have treated the following
             superficial factors, which might support a claim that Delaware is more protective of shareholder rights, as neutral:
             differences in the way courts in Texas and Delaware articulate the fiduciary duty owed to shareholders; Texas’s
             silence on an intermediate scrutiny for takeover defenses; Texas’s adoption of a constituency statute explicitly
             allowing directors to consider “social, charitable, or environmental purposes.” 163

                  137. It is important to note that uncertainty on any particular area of law does not enhance substantive
             shareholder protections. One might be tempted to observe that indeterminacy creates optionality for shareholder
             plaintiffs in filing lawsuits and then (incorrectly) conclude that such optionality protects substantive shareholder
             rights. For example, a shareholder plaintiff in Texas can argue that all takeover defenses are subject to review
             under the entire fairness standard. That argument is foreclosed by precedent in Delaware. On the other side,
             Texas’s statutory clarity on safe harbors might foreclose some arguments that plaintiffs might make in Delaware.
             One might assume that this optionality provides additional shareholder protection (in Texas in the first example
             and in Delaware in the second example). There are two flaws in this reasoning. First, litigation optionality always
             runs in both directions. The more indeterminate the law is on any issue, the more arguments are open to both
             parties . Second, and more importantly, litigation is only protective of shareholder rights if it creates incentives
             for better governance behavior. After all, shareholder rights are best protected when the shareholders do not have
             to bring a lawsuit to realize optimal governance. Clear procedural requirements, standards of review, and safe
             harbors protect shareholders precisely because they encourage directors to follow those procedures without the
             necessity of litigation. The same is not true of vague requirements and unresolved standards of review, which
             leave directors who are acting in good faith unsure about how to proceed. 164
             163
                    TBOC § 21.401(e).
             164
                The Delaware Supreme Court’s ruling in Kahn v. M & F Worldwide Corporation that clear safe harbor rules
             “optimally protect[] the minority stockholders in controller buyouts” rests on this exact reasoning. 88 A.3d 635,
             644 (Del. 2014). The Chancery court in that case made the point a little more colorfully:

                     Uncertainty about the answer to a question that had not been put to our Supreme Court thus left controllers
                     with an incentive system all of us who were adolescents (or are now parents or grandparents of adolescents)
                     can understand. Assume you have a teenager with math and English assignments due Monday morning. If
                     you tell the teenager that she can go to the movies Saturday night if she completes her math or English
                     homework Saturday morning, she is unlikely to do both assignments Saturday morning. She is likely to do
                     only that which is necessary to get to go to the movies — i.e., complete one of the assignments — leaving
                     her parents and siblings to endure her stressful last-minute scramble to finish the other Sunday night.



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                  138. With regard to procedural protections, I conclude that Texas is more protective of shareholder rights
             than Delaware. I base this on Texas shareholders’ right to demand a jury trial, Texas shareholders’ guaranteed
             right to call special meetings, Texas’s limitation on the board’s ability create and fill director vacancies, and
             certain features of the demand procedure in Texas — including the ability to make demand without conceding
             arguments regarding director conflicts, the ability to get discovery about the independence of the demand board,
             and the lower threshold for bringing a derivative suit without first bringing an action to inspect books and
             records. These factors outweigh the protections one might identify on the Delaware side of the comparison, such
             as the option of demand excusal based on futility and the depth of Delaware case law on director liability for lack
             of oversight (Caremark claims).
                  139. As noted above, Texas’s derivative litigation regime more directly achieves the desired outcome of a
             review by an independent board or committee. Delaware law recognizes such a review as the most protective of
             shareholders, and only provides demand excusal when that is not procedurally available. But its tacit concession
             doctrine prevents shareholders from seeking that independent review without surrendering their litigation rights if
             such review is not provided. Universal demand guarantees that review and allows discovery to ensure that such
             review occurred.

                         e.   There is no non-ratable benefit for any directors, officers, or specific shareholders associated with
                              incorporation in either Delaware or Texas
                  140. Academics and litigants have suggested that the corporate governance laws of Nevada, by forcing
             shareholders “to give up the benefits of the duty of loyalty,” 165 favor controlling shareholders at the expense of
             other shareholders. 166 In its recent opinion in Palkon v. Maffei , the Delaware Court of Chancery concluded that
             this outcome could produce a “non-ratable” benefit for a controlling shareholder from reincorporation in Nevada.
             167
                 In light of that analysis, the Committee should consider whether the choice of incorporating Tesla in any state
             creates similar non-ratable benefits for any director, officer, or particular shareholder (including Elon Musk). In
             my view, the question is equally relevant for a decision to stay in Delaware as it is for a decision to reincorporate
             in another state. As such, I provide the analysis for both Delaware and Texas. I conclude that there is no
             non-ratable benefit for any director, officer, or particular shareholder associated with a decision to remain
             incorporated in Delaware. Nor is there any such benefit associated with a decision to reincorporate in Texas.
                 141. Delaware. There are no features of Delaware corporate governance law such that remaining in
             Delaware creates a non-ratable benefit of the sort identified in Palkon v. Maffei . As compared to Texas,
             Delaware law limits shareholder litigation rights in several aspects. Most notably:
                     • Delaware incorporation coupled with an exclusive forum selection provision eliminates shareholder rights
                       to a jury trial.
                     • Delaware incorporation imposes burdens on shareholders in bringing derivative actions by eliminating
                       their ability to make demand without conceding director independence, reducing their ability to get
                       discovery about the independence of the demand board, and imposing a requirement of pre-filing books
                       and records inspection on derivative plaintiffs.
                  142. One might argue that each of these impositions creates non-ratable benefits for directors from deciding
             to remain in Delaware. Conventional wisdom is that plaintiffs do better with jury trials. While this view has not
             been confirmed, survey evidence does show that plaintiffs’ lawyers tend to prefer jury trials to bench trials. 168
             One could argue, then, that director defendants might benefit from a system that eliminates the right of a plaintiff
             to demand a jury. Such a benefit would, however, be likely to fall under the same procedural umbrella as
             exclusive forum provisions about which the Delaware Court of Chancery in Palkon v. Maffei concluded the
             following:

             In re MFW Shareholders Litig., 67 A.3d 496, 500-01 (Del. Ch. 2013).
             165
                    See Palkon , 2024 WL 67820, Verified Complaint at par. 6.
             166
                    See above at notes 61-62.
             167
                    Palkon, 2024 WL 678204 at *19.
             168
                Shari Seidman Diamond, Reasons for the Disappearing Jury Trial: Perspectives from Attorneys and Judges ,
             81 La. L. Rev. 120, 138-39 (2020). There is a robust body of legal scholarship arguing that civil jury trials
             provide special protections to litigants in other contexts.



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                     The bylaw only changes the forum, not the law or the fiduciaries’ litigation exposure. To the extent that
                     plaintiffs might be able to secure greater recoveries in other forums, that is not due to differences in
                     substantive law, but rather the increased volatility that results when courts apply law with which they are
                     less familiar. 169
                     143. The same reasoning would apply to jury trials. The difference is not one related to substantive law.
                  144. The altered rights with regard to derivative litigation are a closer call. Delaware’s forced concession
             that accompanies demand and the curtailed discovery with regard to director independence could be viewed as
             non-ratable benefits to any directors who might later be defendants in derivative actions. The counter argument is
             that these are non-substantive rights affecting litigation procedures without changing underlying duties that
             directors owe or materially altering the directors’ litigation exposure. 170 And, as a practical matter, it is
             extremely unlikely that any Delaware court would find that Delaware’s derivative litigation requirements create a
             non-ratable benefit for directors who fear future lawsuits. To do so would open a floodgate suggesting a fiduciary
             duty among all corporations in Delaware to consider reincorporating elsewhere.
                  145. Texas. Similarly, there are no features of Texas corporate governance law that create non-ratable
             benefits for any directors, officers, or specific shareholders. Texas corporate law does not have any feature
             potentially reducing liability similar to the sort identified in Palkon v. Maffei . There is some uncertainty in Texas
             case law about the exact procedures and mechanisms for enforcing shareholder rights in some contexts, such as
             controlling shareholder litigation. But the controlling precedent makes clear the Texas courts’ intent to protect
             minority shareholder rights through various causes of action. The uncertainty appears to be only in the exact
             forms and procedural mechanism that will control those causes of action. Such uncertainty does not eliminate any
             liability of directors, officers, or controlling shareholders such that they would receive a non-ratable benefit by
             reincorporating into Texas.
                  146. One might argue that Texas’s universal demand requirement imposes a burden on derivative litigation
             that results in non-ratable benefits to any directors who might later be defendants in derivative actions. This
             argument is likely to fail. Just like Delaware’s forced concession rule and demand-discovery limitations, the
             universal demand requirement is best viewed as a non-substantive procedural matter that does not change the
             directors’ underlying duties or materially alter their litigation exposure. 171
                  147. As noted above, the effect of a universal demand requirement is that suits will be reviewed by an
             independent committee of the board of directors. Importantly, this is the same effect that occurs under Delaware
             law when a company expands its board of directors to include additional independent directors to review
             conflicted transactions or demand requests. As with universal demand, the addition of independent directors
             guaranties independent review and eliminates the plaintiffs’ ability to proceed with litigation. The Delaware
             Court of Chancery has identified such an approach as appropriate “to remove the taint” of self-interest and noted
             that its appropriateness would be “obvious to … sophisticated lawyers.”172
                  148. Finally, it is extremely unlikely that any Delaware court would find that any state’s particular
             derivative litigation requirements create a non-ratable benefit for directors who fear future lawsuits. Delaware has
             a unique demand regime and the Model Business Corporations Act and at least 23 states have adopted universal
             demand regimes. For a Delaware court to declare that universal demand creates a non-ratable benefit for directors
             would be to imply a conflict in almost every decision to reincorporate outside of Delaware.




             Anthony J. Casey

             April 10, 2024
             169
                    Palkon, 2024 WL 678204 at *13.
             170
                    Id.
             171
                    Id.
             172
                    Palkon v. Maffei , No. 2023-0449-JTL, 2024 WL 1211688, at *5 (Del. Ch. Mar. 21, 2024).


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                                                                                                                      ANNEX F

                                     AMENDED AND RESTATED CERTIFICATE OF INCORPORATION
                                                                      OF
                                                                 TESLA, INC.
                                                            a Delaware corporation
                  Tesla, Inc., a corporation organized and existing under the laws of the State of Delaware (the “ Corporation
             ”), hereby certifies as follows:
                  A. The name of the Corporation is Tesla, Inc. The Corporation was originally incorporated as Tesla Motors,
             Inc. The Corporation’s original Certificate of Incorporation was filed with the Secretary of State of the State of
             Delaware on July 1, 2003.
                  B. This Amended and Restated Certificate of Incorporation was duly adopted in accordance with
             Sections 242 and 245 of the General Corporation Law of the State of Delaware (the “ DGCL ”), and restates,
             integrates and further amends the provisions of the Corporation’s Amended and Restated Certificate of
             Incorporation that was filed with the Secretary of State of the State of Delaware on July 2, 2010 and
             subsequently amended effective February 1, 2017 (the “ Amended Certificate ”).
                    C. The text of the Amended Certificate is hereby amended and restated to read in its entirety as follows:

                                                                  ARTICLE I
                    The name of the corporation is Tesla, Inc.

                                                                 ARTICLE II
                 The address of the Corporation’s registered office in the State of Delaware is 1209 Orange Street, City of
             Wilmington, County of New Castle, Delaware 19801. The name of its registered agent at such address is The
             Corporation Trust Company.

                                                                 ARTICLE III
                 The nature of the business or purposes to be conducted or promoted by the Corporation is to engage in any
             lawful act or activity for which corporations may be organized under the DGCL.

                                                                 ARTICLE IV
                  4.1. Authorized Capital Stock . The total number of shares of all classes of capital stock which the
             corporation is authorized to issue is 6,100,000,000 shares, consisting of 6,000,000,000 shares of Common Stock,
             par value $0.001 per share (the “ Common Stock ”), and 100,000,000 shares of Preferred Stock, par value $0.001
             per share (the “ Preferred Stock ”).
                  4.2. Increase or Decrease in Authorized Capital Stock . The number of authorized shares of Preferred
             Stock or Common Stock may be increased or decreased (but not below the number of shares thereof then
             outstanding) by the affirmative vote of the holders of a majority in voting power of the stock of the corporation
             entitled to vote generally in the election of directors, irrespective of the provisions of Section 242(b)(2) of the
             DGCL (or any successor provision thereto), voting together as a single class, without a separate vote of the
             holders of the class or classes the number of authorized shares of which are being increased or decreased, unless
             a vote by any holders of one or more series of Preferred Stock is required by the express terms of any series of
             Preferred Stock as provided for or fixed pursuant to the provisions of Section 4.4 of this Article IV.
                    4.3.   Common Stock .
                         (a) The holders of shares of Common Stock shall be entitled to one vote for each such share on each
                    matter properly submitted to the stockholders on which the holders of shares of Common Stock are entitled
                    to vote. Except as otherwise required by law or this certificate of incorporation (this “ Certificate of
                    Incorporation ”



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                    which term, as used herein, shall mean the certificate of incorporation of the corporation, as amended from
                    time to time, including the terms of any certificate of designations of any series of Preferred Stock), and
                    subject to the rights of the holders of Preferred Stock, at any annual or special meeting of the stockholders
                    the holders of shares of Common Stock shall have the right to vote for the election of directors and on all
                    other matters properly submitted to a vote of the stockholders; provided, however, that, except as otherwise
                    required by law, holders of Common Stock shall not be entitled to vote on any amendment to this Certificate
                    of Incorporation that relates solely to the terms, number of shares, powers, designations, preferences, or
                    relative participating, optional or other special rights (including, without limitation, voting rights), or to
                    qualifications, limitations or restrictions thereon, of one or more outstanding series of Preferred Stock if the
                    holders of such affected series are entitled, either separately or together with the holders of one more other
                    such series, to vote thereon pursuant to this Certificate of Incorporation (including, without limitation, by
                    any certificate of designations relating to any series of Preferred Stock) or pursuant to the DGCL.
                         (b) Subject to the rights of the holders of Preferred Stock, the holders of shares of Common Stock
                    shall be entitled to receive such dividends and other distributions (payable in cash, property or capital stock
                    of the corporation) when, as and if declared thereon by the Board of Directors from time to time out of any
                    assets or funds of the corporation legally available therefor and shall share equally on a per share basis in
                    such dividends and distributions.

                         (c) In the event of any voluntary or involuntary liquidation, dissolution or winding-up of the
                    corporation, after payment or provision for payment of the debts and other liabilities of the corporation, and
                    subject to the rights of the holders of Preferred Stock in respect thereof, the holders of shares of Common
                    Stock shall be entitled to receive all the remaining assets of the corporation available for distribution to its
                    stockholders, ratably in proportion to the number of shares of Common Stock held by them.

                    4.4.   Preferred Stock .
                         (a) The Preferred Stock may be issued from time to time in one or more series pursuant to a resolution
                    or resolutions providing for such issue duly adopted by the Board of Directors (authority to do so being
                    hereby expressly vested in the Board of Directors). The Board of Directors is further authorized, subject to
                    limitations prescribed by law, to fix by resolution or resolutions and to set forth in a certification of
                    designations filed pursuant to the DGCL the powers, designations, preferences and relative, participation,
                    optional or other rights, if any, and the qualifications, limitations or restrictions thereof, if any, of any wholly
                    unissued series of Preferred Stock, including without limitation dividend rights, dividend rate, conversion
                    rights, voting rights, rights and terms of redemption (including sinking fund provisions), redemption price or
                    prices, and liquidation preferences of any such series, and the number of shares constituting any such series
                    and the designation thereof, or any of the foregoing.

                         (b) The Board of Directors is further authorized to increase (but not above the total number of
                    authorized shares of the class) or decrease (but not below the number of shares of any such series then
                    outstanding) the number of shares of any series, the number of which was fixed by it, subsequent to the
                    issuance of shares of such series then outstanding, subject to the powers, preferences and rights, and the
                    qualifications, limitations and restrictions thereof stated in the Certificate of Incorporation or the resolution
                    of the Board of Directors originally fixing the number of shares of such series. If the number of shares of
                    any series is so decreased, then the shares constituting such decrease shall resume the status which they had
                    prior to the adoption of the resolution originally fixing the number of shares of such series.

                                                                    ARTICLE V
                  5.1. General Powers . The business and affairs of the corporation shall be managed by or under the
             direction of the Board of Directors.
                    5.2.   Number of Directors; Election; Term .
                         (a) Subject to the rights of holders of any series of Preferred Stock with respect to the election of
                    directors, the number of directors that constitutes the entire Board of Directors of the corporation shall be
                    fixed solely by resolution of the Board of Directors.



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                          (b) Subject to the rights of holders of any series of Preferred Stock with respect to the election of
                    directors, effective upon the closing date (the “ Effective Date ”) of the initial sale of shares of common stock
                    in the corporation’s initial public offering pursuant to an effective registration statement filed under the
                    Securities Act of 1933, as amended, the directors of the corporation shall be divided into three classes as
                    nearly equal in size as is practicable, hereby designated Class I, Class II and Class III. The initial assignment
                    of members of the Board of Directors to each such class shall be made by the Board of Directors. The term
                    of office of the initial Class I directors shall expire at the first regularly-scheduled annual meeting of the
                    stockholders following the Effective Date, the term of office of the initial Class II directors shall expire at
                    the second annual meeting of the stockholders following the Effective Date and the term of office of the
                    initial Class III directors shall expire at the third annual meeting of the stockholders following the Effective
                    Date. At each annual meeting of stockholders, commencing with the first regularly-scheduled annual meeting
                    of stockholders following the Effective Date, each of the successors elected to replace the directors of a
                    Class whose term shall have expired at such annual meeting shall be elected to hold office until the third
                    annual meeting next succeeding his or her election and until his or her respective successor shall have been
                    duly elected and qualified. Subject to the rights of holders of any series of Preferred Stock with respect to
                    the election of directors, if the number of directors that constitutes the Board of Directors is changed, any
                    newly created directorships or decrease in directorships shall be so apportioned by the Board of Directors
                    among the classes as to make all classes as nearly equal in number as is practicable, provided that no
                    decrease in the number of directors constituting the Board of Directors shall shorten the term of any
                    incumbent director.
                         (c) Notwithstanding the foregoing provisions of this Section 5.2, and subject to the rights of holders of
                    any series of Preferred Stock with respect to the election of directors, each director shall serve until his or
                    her successor is duly elected and qualified or until his or her earlier death, resignation, or removal.
                        (d) Elections of directors need not be by written ballot unless the Bylaws of the corporation shall so
                    provide.
                  5.3. Removal . Subject to the rights of holders of any series of Preferred Stock with respect to the
             election of directors, a director may be removed from office by the stockholders of the corporation only for
             cause.
                  5.4. Vacancies and Newly Created Directorships . Subject to the rights of holders of any series of
             Preferred Stock with respect to the election of directors, and except as otherwise provided in the DGCL,
             vacancies occurring on the Board of Directors for any reason and newly created directorships resulting from an
             increase in the authorized number of directors may be filled only by vote of a majority of the remaining members
             of the Board of Directors, although less than a quorum, or by a sole remaining director, at any meeting of the
             Board of Directors. A person so elected by the Board of Directors to fill a vacancy or newly created directorship
             shall hold office until the next election of the class for which such director shall have been assigned by the Board
             of Directors and until his or her successor shall be duly elected and qualified.

                                                                   ARTICLE VI

                 In furtherance and not in limitation of the powers conferred by statute, the Board of Directors of the
             corporation is expressly authorized to adopt, amend or repeal the Bylaws of the corporation.

                                                                  ARTICLE VII
                 7.1. No Action by Written Consent of Stockholders . Except as otherwise expressly provided by the
             terms of any series of Preferred Stock permitting the holders of such series of Preferred Stock to act by written
             consent, any action required or permitted to be taken by stockholders of the corporation must be effected at a
             duly called annual or special meeting of the stockholders and may not be effected by written consent in lieu of a
             meeting.

                  7.2. Special Meetings . Except as otherwise expressly provided by the terms of any series of Preferred
             Stock permitting the holders of such series of Preferred Stock to call a special meeting of the holders of such
             series, special meetings of stockholders of the corporation may be called only by the Board of Directors, the
             chairperson of the Board of Directors, the chief executive officer or the president (in the absence of a chief
             executive officer), and the ability of the stockholders to call a special meeting is hereby specifically denied. The
             Board of Directors may cancel, postpone or reschedule any previously scheduled special meeting at any time,
             before or after the notice for such meeting has been sent to the stockholders.



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                  7.3. Advance Notice . Advance notice of stockholder nominations for the election of directors and of
             business to be brought by stockholders before any meeting of the stockholders of the corporation shall be given
             in the manner provided in the Bylaws of the corporation.

                                                               ARTICLE VIII
                  8.1. Limitation of Personal Liability . To the fullest extent permitted by the DGCL, as it presently exists
             or may hereafter be amended from time to time, a director of the corporation shall not be personally liable to the
             corporation or its stockholders for monetary damages for breach of fiduciary duty as a director. If the DGCL is
             amended to authorize corporate action further eliminating or limiting the personal liability of directors, then the
             liability of a director of the corporation shall be eliminated or limited to the fullest extent permitted by the
             DGCL, as so amended. Any repeal or amendment of this Section 8.1 by the stockholders of the corporation or by
             changes in law, or the adoption of any other provision of this Certificate of Incorporation inconsistent with this
             Section 8.1 will, unless otherwise required by law, be prospective only (except to the extent such amendment or
             change in law permits the corporation to further limit or eliminate the liability of directors) and shall not
             adversely affect any right or protection of a director of the corporation existing at the time of such repeal or
             amendment or adoption of such inconsistent provision with respect to acts or omissions occurring prior to such
             repeal or amendment or adoption of such inconsistent provision.

                  8.2. Indemnification . To the fullest extent permitted by the DGCL, as it presently exists or may hereafter
             be amended from time to time, the corporation is also authorized to provide indemnification of (and advancement
             of expenses to) its directors, officers and agents of the corporation (and any other persons to which the DGCL
             permits the corporation to provide indemnification) through bylaw provisions, agreements with such agents or
             other persons, vote of stockholders or disinterested directors or otherwise.

                                                                ARTICLE IX

                  The corporation reserves the right to amend, alter, change or repeal any provision contained in this
             Certificate of Incorporation (including any rights, preferences or other designations of Preferred Stock), in the
             manner now or hereafter prescribed by this Certificate of Incorporation and the DGCL; and all rights, preferences
             and privileges herein conferred upon stockholders by and pursuant to this Certificate of Incorporation in its
             present form or as hereafter amended are granted subject to the right reserved in this Article IX. Notwithstanding
             any other provision of this Certificate of Incorporation, and in addition to any other vote that may be required by
             law or the terms of any series of Preferred Stock, the affirmative vote of the holders of at least 66 2/3% of the
             voting power of all then outstanding shares of capital stock of the corporation entitled to vote generally in the
             election of directors, voting together as a single class, shall be required to amend, alter or repeal, or adopt any
             provision as part of this Certificate of Incorporation inconsistent with the purpose and intent of, Article V,
             Article VI, Article VII or this Article IX (including, without limitation, any such Article as renumbered as a
             result of any amendment, alteration, change, repeal or adoption of any other Article).




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                  IN WITNESS WHEREOF, Tesla, Inc. has caused this Amended and Restated Certificate of Incorporation to
             be signed by a duly authorized officer of the Corporation on this 4 th day of August, 2022.


                                                             By: /s/ Derek Windham
                                                                 Name: Derek Windham
                                                                 Title: Corporate Secretary




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                                                                                                     ANNEX G




                                   AMENDED AND RESTATED BYLAWS OF TESLA, INC.

                                              (initially adopted on July 17, 2003)
                             (as amended and restated on December 16, 2009 and effective as of the
                                      closing of the corporation’s initial public offering)
                                          (as amended and restated on June 6, 2012)
                                          (as amended and restated on March 3, 2015)
                                                (as amended on June 20, 2016)
                                        (as amended and restated on February 1, 2017)
                                         (as amended and restated on March 30, 2023)




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                                           AMENDED AND RESTATED BYLAWS OF TESLA, INC.

                                                     ARTICLE I — CORPORATE OFFICES

                    1.1 REGISTERED OFFICE
                  The registered office of Tesla, Inc. shall be fixed in the corporation’s certificate of incorporation. References
             in these bylaws to the certificate of incorporation shall mean the certificate of incorporation of the corporation, as
             amended from time to time, including the terms of any certificate of designations of any series of Preferred
             Stock.
                    1.2 OTHER OFFICES
                 The corporation’s board of directors may at any time establish other offices at any place or places where the
             corporation is qualified to do business.

                                               ARTICLE II — MEETINGS OF STOCKHOLDERS
                    2.1 PLACE OF MEETINGS
                  Meetings of stockholders shall be held at any place, within or outside the State of Delaware, designated by
             the board of directors. The board of directors may, in its sole discretion, determine that a meeting of stockholders
             shall not be held at any place, but may instead be held solely by means of remote communication as authorized
             by Section 211(a)(2) of the General Corporation Law of the State of Delaware (the “ DGCL ”). In the absence of
             any such designation or determination, stockholders’ meetings shall be held at the corporation’s principal
             executive office.
                    2.2 ANNUAL MEETING
                  The annual meeting of stockholders shall be held on such date, at such time, and at such place (if any)
             within or without the State of Delaware as shall be designated from time to time by the board of directors and
             stated in the corporation’s notice of the meeting. At the annual meeting, directors shall be elected and any other
             proper business may be transacted.
                    2.3 SPECIAL MEETING
                         (i) A special meeting of the stockholders, other than those required by statute, may be called at any
                    time only by (A) the board of directors, (B) the chairperson of the board of directors, (C) the chief executive
                    officer or (D) the president (in the absence of a chief executive officer). A special meeting of the
                    stockholders may not be called by any other person or persons. The board of directors may cancel, postpone
                    or reschedule any previously scheduled special meeting at any time, before or after the notice for such
                    meeting has been sent to the stockholders.
                         (ii) The notice of a special meeting shall include the purpose for which the meeting is called. Only
                    such business shall be conducted at a special meeting of stockholders as shall have been brought before the
                    meeting by or at the direction of the board of directors, the chairperson of the board of directors, the chief
                    executive officer or the president (in the absence of a chief executive officer). Nothing contained in this
                    Section 2.3(ii) shall be construed as limiting, fixing or affecting the time when a meeting of stockholders
                    called by action of the board of directors may be held.
                    2.4 ADVANCE NOTICE PROCEDURES
                         (i) Advance Notice of Stockholder Business . At an annual meeting of the stockholders, only such
                    business shall be conducted as shall have been properly brought before the meeting. To be properly brought
                    before an annual meeting, business must be brought: (A) pursuant to the corporation’s proxy materials with
                    respect to such meeting, (B) by or at the direction of the board of directors, or (C) by a stockholder of the
                    corporation who (1) is a stockholder of record at the time of the giving of the notice required by this
                    Section 2.4(i) and on the record date for the determination of stockholders entitled to vote at the annual
                    meeting and (2) has timely complied in proper written form with the notice procedures set forth in this
                    Section 2.4(i). In addition, for business to be properly brought before an annual meeting by a stockholder,
                    such business must be a proper matter for stockholder action pursuant to these bylaws and applicable law.
                    Except for proposals properly made in accordance with Rule 14a-8 under the Securities and Exchange Act of
                    1934, and the rules and



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                    regulations thereunder (as so amended and inclusive of such rules and regulations), and included in the
                    notice of meeting given by or at the direction of the board of directors, for the avoidance of doubt, clause
                    (C) above shall be the exclusive means for a stockholder to bring business before an annual meeting of
                    stockholders.
                             (a) To comply with clause (C) of Section 2.4(i) above, a stockholder’s notice must set forth all
                        information required under this Section 2.4(i) and must be timely received by the secretary of the
                        corporation. To be timely, a stockholder’s notice must be received by the secretary at the principal
                        executive offices of the corporation not later than the 45th day nor earlier than the 75th day before the
                        one-year anniversary of the date on which the corporation first mailed its proxy materials or a notice of
                        availability of proxy materials (whichever is earlier) for the preceding year’s annual meeting; provided ,
                        however , that in the event that no annual meeting was held in the previous year or if the date of the
                        annual meeting is advanced by more than 30 days prior to or delayed by more than 60 days after the
                        one-year anniversary of the date of the previous year’s annual meeting, then, for notice by the
                        stockholder to be timely, it must be so received by the secretary not earlier than the close of business on
                        the 120th day prior to such annual meeting and not later than the close of business on the later of (i) the
                        90th day prior to such annual meeting, or (ii) the tenth day following the day on which Public
                        Announcement (as defined below) of the date of such annual meeting is first made. In no event shall
                        any adjournment or postponement of an annual meeting or the announcement thereof commence a new
                        time period for the giving of a stockholder’s notice as described in this Section 2.4(i)(a). “ Public
                        Announcement ” shall mean disclosure in a press release reported by the Dow Jones News Service,
                        Associated Press or a comparable national news service or in a document publicly filed by the
                        corporation with the Securities and Exchange Commission (the “ SEC ”) pursuant to Section 13, 14 or
                        15(d) of the Securities Exchange Act of 1934, as amended, or any successor thereto (the “ 1934 Act ”).
                             (b) To be in proper written form, a stockholder’s notice to the secretary must set forth as to each
                        matter of business the stockholder intends to bring before the annual meeting: (1) a brief description of
                        the business intended to be brought before the annual meeting and the reasons for conducting such
                        business at the annual meeting, (2) the name and address, as they appear on the corporation’s books, of
                        the stockholder proposing such business and any Stockholder Associated Person (as defined below),
                        (3) the class and number of shares of the corporation that are held of record or are beneficially owned
                        by the stockholder or any Stockholder Associated Person and any derivative positions held or
                        beneficially held by the stockholder or any Stockholder Associated Person, (4) whether and the extent to
                        which any hedging or other transaction or series of transactions has been entered into by or on behalf of
                        such stockholder or any Stockholder Associated Person with respect to any securities of the corporation,
                        and a description of any other agreement, arrangement or understanding (including any short position or
                        any borrowing or lending of shares), the effect or intent of which is to mitigate loss to, or to manage the
                        risk or benefit from share price changes for, or to increase or decrease the voting power of, such
                        stockholder or any Stockholder Associated Person with respect to any securities of the corporation,
                        (5) any material interest of the stockholder or a Stockholder Associated Person in such business, and
                        (6) a statement whether either such stockholder or any Stockholder Associated Person will deliver a
                        proxy statement and form of proxy to holders of at least the percentage of the corporation’s voting
                        shares required under applicable law to carry the proposal (such information provided and statements
                        made as required by clauses (1) through (6), a “ Business Solicitation Statement ”). In addition, to be in
                        proper written form, a stockholder’s notice to the secretary must be supplemented not later than ten days
                        following the record date for notice of the meeting to disclose the information contained in clauses
                        (3) and (4) above as of the record date for notice of the meeting. For purposes of this Section 2.4, a “
                        Stockholder Associated Person ” of any stockholder shall mean (i) any person controlling, directly or
                        indirectly, or acting in concert with, such stockholder, (ii) any beneficial owner of shares of stock of the
                        corporation owned of record or beneficially by such stockholder and on whose behalf the proposal or
                        nomination, as the case may be, is being made, or (iii) any person controlling, controlled by or under
                        common control with such person referred to in the preceding clauses (i) and (ii).
                             (c) Without exception, no business shall be conducted at any annual meeting except in accordance
                        with the provisions set forth in this Section 2.4(i) and, if applicable, Section 2.4(ii). In addition,
                        business proposed to be brought by a stockholder may not be brought before the annual meeting if such
                        stockholder or a Stockholder Associated Person, as applicable, takes action contrary to the
                        representations made in the Business Solicitation Statement applicable to such business or if the
                        Business Solicitation Statement



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                        applicable to such business contains an untrue statement of a material fact or omits to state a material
                        fact necessary to make the statements therein not misleading. The chairperson of the annual meeting
                        shall, if the facts warrant, determine and declare at the annual meeting that business was not properly
                        brought before the annual meeting and in accordance with the provisions of this Section 2.4(i), and, if
                        the chairperson should so determine, he or she shall so declare at the annual meeting that any such
                        business not properly brought before the annual meeting shall not be conducted.
                         (ii) Advance Notice of Director Nominations at Annual Meetings . Notwithstanding anything in these
                    bylaws to the contrary, only persons who are nominated in accordance with the procedures set forth in this
                    Section 2.4(ii) shall be eligible for election or re-election as directors at an annual meeting of stockholders.
                    Nominations of persons for election or re-election to the board of directors of the corporation shall be made
                    at an annual meeting of stockholders only (A) by or at the direction of the board of directors, (B) by a
                    stockholder of the corporation who (1) was a stockholder of record at the time of the giving of the notice
                    required by this Section 2.4(ii) and on the record date for the determination of stockholders entitled to vote
                    at the annual meeting and (2) has complied with the notice procedures set forth in this Section 2.4(ii) and the
                    applicable requirements of Rule 14a-19 under the 1934 Act, or (C) by an Eligible Stockholder (as defined in
                    Section 2.15 of these bylaws) who complies with the procedures set forth in Section 2.15 of these bylaws. In
                    addition to any other applicable requirements, for a nomination to be made by a stockholder in accordance
                    with clause (B) of this Section 2.4(ii), the stockholder must have given timely notice thereof in proper
                    written form to the secretary of the corporation.
                             (a) To comply with clause (B) of Section 2.4(ii) above, a nomination to be made by a stockholder
                        must set forth all information required under this Section 2.4(ii) and must be received by the secretary
                        of the corporation at the principal executive offices of the corporation at the time set forth in, and in
                        accordance with, the final three sentences of Section 2.4(i)(a) above.
                             (b) To be in proper written form, such stockholder’s notice to the secretary must set forth:
                                  (1) as to each person (a “ nominee ”) whom the stockholder proposes to nominate for election
                             or re-election as a director: (A) the name, age, business address and residence address of the
                             nominee, (B) the principal occupation or employment of the nominee, (C) the class and number of
                             shares of the corporation that are held of record or are beneficially owned by the nominee and any
                             derivative positions held or beneficially held by the nominee, (D) the information required by
                             Section 2.15(vi)(g) below, (E) whether and the extent to which any hedging or other transaction or
                             series of transactions has been entered into by or on behalf of the nominee with respect to any
                             securities of the corporation, and a description of any other agreement, arrangement or
                             understanding (including any short position or any borrowing or lending of shares), the effect or
                             intent of which is to mitigate loss to, or to manage the risk or benefit of share price changes for, or
                             to increase or decrease the voting power of the nominee, (F) a description of all arrangements or
                             understandings between the stockholder and each nominee and any other person or persons (naming
                             such person or persons) pursuant to which the nominations are to be made by the stockholder, (G) a
                             written statement executed by the nominee acknowledging that as a director of the corporation, the
                             nominee will owe a fiduciary duty under Delaware law with respect to the corporation and its
                             stockholders, and (H) any other information relating to the nominee that would be required to be
                             disclosed about such nominee if proxies were being solicited for the election or re-election of the
                             nominee as a director, or that is otherwise required, in each case pursuant to Regulation 14A under
                             the 1934 Act (including without limitation the nominee’s written consent to being named as a
                             nominee in any proxy statement relating to the applicable meeting of stockholders and to serving as
                             a director if elected or re-elected, as the case may be); and
                                  (2) as to such stockholder giving notice, (A) the information required to be provided pursuant
                             to clauses (2) through (5) of Section 2.4(i)(b) above, and the supplement referenced in the second
                             sentence of Section 2.4(i)(b) above (except that the references to “business” in such clauses shall
                             instead refer to nominations of directors for purposes of this paragraph), (B) a statement that either
                             such stockholder or Stockholder Associated Person intends to solicit the holders of shares
                             representing at least 67% of the voting power of shares entitled to vote in the election of directors,
                             and (C) all other information required by Rule 14a-19 under the 1934 Act (such information
                             provided and statements made as required by clauses (A), (B) and (C) above, a “ Nominee
                             Solicitation Statement ”).



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                           (c) To comply with clause (B) of Section 2.4(ii) above, a stockholder providing notice of any
                      nomination proposed to be made at a meeting of stockholders shall further update and supplement such
                      notice (1) if necessary so that the information provided or required to be provided in such notice
                      pursuant to this Section 2.4(ii) shall be true and correct as of the record date for determining the
                      stockholders entitled to receive notice of and to vote at such meeting of stockholders, and such update
                      and supplement must be received by the secretary of the corporation at the principal executive offices of
                      the corporation not later than five business days following the later of the record date for the
                      determination of stockholders entitled to receive notice of and to vote at the meeting of stockholders
                      and the date notice of the record date is first publicly disclosed and (2) to provide evidence that the
                      stockholder providing the notice has solicited proxies from holders representing at least 67% of the
                      voting power of the shares of capital stock entitled to vote in the election of directors, and such update
                      and supplement must be received by the secretary of the corporation at the principal executive offices of
                      the corporation not later than five business days after the stockholder files a definitive proxy statement
                      in connection with the meeting of stockholders.
                           (d) At the request of the board of directors, any person nominated by a stockholder for election or
                      re-election as a director must furnish to the secretary of the corporation (1) that information required to
                      be set forth in the stockholder’s notice of nomination of such person as a director as of a date
                      subsequent to the date on which the notice of such person’s nomination was given and (2) such other
                      information as may reasonably be required by the corporation to determine the eligibility of such
                      proposed nominee to serve as an independent director or audit committee financial expert of the
                      corporation under applicable law, securities exchange rule or regulation, or any publicly-disclosed
                      corporate governance guideline or committee charter of the corporation and (3) that could be material to
                      a reasonable stockholder’s understanding of the independence, or lack thereof, of such nominee; in the
                      absence of the furnishing of such information if requested, such stockholder’s nomination shall not be
                      considered in proper form pursuant to this Section 2.4(ii).
                           (e) Without exception, no person shall be eligible for election or re-election as a director of the
                      corporation at an annual meeting of stockholders unless nominated in accordance with the provisions set
                      forth in this Section 2.4(ii). In addition, a nominee shall not be eligible for election or re-election if a
                      stockholder or Stockholder Associated Person, as applicable, takes action contrary to the representations
                      made in the Nominee Solicitation Statement applicable to such nominee or if the Nominee Solicitation
                      Statement applicable to such nominee contains an untrue statement of a material fact or omits to state a
                      material fact necessary to make the statements therein not misleading. The chairperson of the annual
                      meeting shall, if the facts warrant, determine and declare at the annual meeting that a nomination was
                      not made in accordance with the provisions prescribed by these bylaws, and if the chairperson should so
                      determine, he or she shall so declare at the annual meeting, and the defective nomination shall be
                      disregarded.
                      (iii)   Advance Notice of Director Nominations for Special Meetings .
                           (a) For a special meeting of stockholders at which directors are to be elected or re-elected,
                      nominations of persons for election or re-election to the board of directors shall be made only (1) by or
                      at the direction of the board of directors or (2) by any stockholder of the corporation who (A) is a
                      stockholder of record at the time of the giving of the notice required by this Section 2.4(iii) and on the
                      record date for the determination of stockholders entitled to vote at the special meeting and (B) delivers
                      a timely written notice of the nomination to the secretary of the corporation that includes the
                      information set forth in Sections 2.4(ii)(b), (ii)(c) and (ii)(d) above. To be timely, such notice must be
                      received by the secretary at the principal executive offices of the corporation not later than the close of
                      business on the later of the 90th day prior to such special meeting or the tenth day following the day on
                      which Public Announcement is first made of the date of the special meeting and of the nominees
                      proposed by the board of directors to be elected or re-elected at such meeting. A person shall not be
                      eligible for election or re-election as a director at a special meeting unless the person is nominated
                      (i) by or at the direction of the board of directors or (ii) by a stockholder in accordance with the notice
                      procedures set forth in this Section 2.4(iii). In addition, a nominee shall not be eligible for election or
                      re-election if a stockholder or Stockholder Associated Person, as applicable, takes action contrary to the
                      representations made in the Nominee Solicitation Statement applicable to such nominee or if the
                      Nominee Solicitation Statement applicable to such nominee contains an untrue statement of a material
                      fact or omits to state a material fact necessary to make the statements therein not misleading.



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                             (b) The chairperson of the special meeting shall, if the facts warrant, determine and declare at the
                        meeting that a nomination or business was not made in accordance with the procedures prescribed by
                        these bylaws, and if the chairperson should so determine, he or she shall so declare at the meeting, and
                        the defective nomination or business shall be disregarded.

                         (iv) Other Requirements and Rights . In addition to the foregoing provisions of this Section 2.4, a
                    stockholder must also comply with all applicable requirements of state law and of the 1934 Act and the rules
                    and regulations thereunder with respect to the matters set forth in this Section 2.4. Nothing in this
                    Section 2.4 shall be deemed to affect any rights of:
                            (a) a stockholder to request inclusion of proposals in the corporation’s proxy statement pursuant
                        to Rule 14a-8 (or any successor provision) under the 1934 Act; or
                            (b) the corporation to omit a proposal from the corporation’s proxy statement pursuant to
                        Rule 14a-8 (or any successor provision) under the 1934 Act.

                    2.5 NOTICE OF STOCKHOLDERS’ MEETINGS
                  Whenever stockholders are required or permitted to take any action at a meeting, a written notice of the
             meeting shall be given which shall state the place, if any, date and hour of the meeting, the means of remote
             communications, if any, by which stockholders and proxy holders may be deemed to be present in person and
             vote at such meeting, the record date for determining the stockholders entitled to vote at the meeting, if such date
             is different from the record date for determining stockholders entitled to notice of the meeting, and, in the case of
             a special meeting, the purpose or purposes for which the meeting is called. Except as otherwise provided in the
             DGCL, the certificate of incorporation or these bylaws, the written notice of any meeting of stockholders shall be
             given not less than 10 nor more than 60 days before the date of the meeting to each stockholder entitled to vote
             at such meeting as of the record date for determining the stockholders entitled to notice of the meeting.

                    2.6 QUORUM
                  The holders of a majority of the stock issued and outstanding and entitled to vote, present in person or
             represented by proxy, shall constitute a quorum for the transaction of business at all meetings of the stockholders.
             Where a separate vote by a class or series or classes or series is required, a majority of the outstanding shares of
             such class or series or classes or series, present in person or represented by proxy, shall constitute a quorum
             entitled to take action with respect to that vote on that matter, except as otherwise provided by law, the certificate
             of incorporation or these bylaws

                  If a quorum is not present or represented at any meeting of the stockholders, then either (i) the chairperson
             of the meeting, or (ii) the stockholders entitled to vote at the meeting, present in person or represented by proxy,
             shall have power to adjourn the meeting from time to time, without notice other than announcement at the
             meeting, until a quorum is present or represented. At such adjourned meeting at which a quorum is present or
             represented, any business may be transacted that might have been transacted at the meeting as originally noticed.
                    2.7 ADJOURNED MEETING; NOTICE

                   When a meeting is adjourned to another time or place, unless these bylaws otherwise require, notice need not
             be given of the adjourned meeting if the time, place, if any, thereof, and the means of remote communications, if
             any, by which stockholders and proxy holders may be deemed to be present in person and vote at such adjourned
             meeting are announced at the meeting at which the adjournment is taken. At the adjourned meeting, the
             corporation may transact any business which might have been transacted at the original meeting. If the
             adjournment is for more than 30 days, a notice of the adjourned meeting shall be given to each stockholder of
             record entitled to vote at the meeting. If after the adjournment a new record date for stockholders entitled to vote
             is fixed for the adjourned meeting, the board of directors shall fix a new record date for notice of such adjourned
             meeting in accordance with Section 213(a) of the DGCL and Section 2.11 of these bylaws, and shall give notice
             of the adjourned meeting to each stockholder of record entitled to vote at such adjourned meeting as of the record
             date fixed for notice of such adjourned meeting.



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                    2.8 CONDUCT OF BUSINESS
                  The chairperson of any meeting of stockholders shall determine the order of business and the procedure at
             the meeting, including such regulation of the manner of voting and the conduct of business. The chairperson of
             any meeting of stockholders shall be designated by the board of directors; in the absence of such designation, the
             chairperson of the board, if any, the chief executive officer (in the absence of the chairperson) or the president (in
             the absence of the chairperson of the board and the chief executive officer), or in their absence any other
             executive officer of the corporation, shall serve as chairperson of the stockholder meeting.
                    2.9 VOTING
                 The stockholders entitled to vote at any meeting of stockholders shall be determined in accordance with the
             provisions of Section 2.11 of these bylaws, subject to Section 217 (relating to voting rights of fiduciaries,
             pledgors and joint owners of stock) and Section 218 (relating to voting trusts and other voting agreements) of the
             DGCL.
                  Except as may be otherwise provided in the certificate of incorporation or these bylaws, each stockholder
             shall be entitled to one vote for each share of capital stock held by such stockholder.
                  Except as otherwise required by law, the certificate of incorporation or these bylaws, the affirmative vote of
             a majority of the voting power of the shares present in person or represented by proxy at the meeting and entitled
             to vote on the subject matter shall be the act of the stockholders. Directors shall be elected by a majority of the
             voting power of the shares present in person or represented by proxy at the meeting and entitled to vote on the
             election of directors, provided, however, that the directors shall be elected by a plurality of the shares represented
             in person or by proxy at any such meeting and entitled to vote on the election of directors and cast in the election
             of directors at any meeting of stockholders for which (i) the secretary of the Company receives a notice that a
             stockholder has nominated a person for election to the Board of Directors in compliance with the advance notice
             requirements for stockholder nominees for director set forth in Section 2.4 of these Bylaws and (ii) such
             nomination has not been withdrawn by such stockholder on or prior to the tenth (10th) day preceding the date
             Company first mails its notice of meeting for such meeting to the stockholders. Where a separate vote by a class
             or series or classes or series is required, in all matters other than the election of directors, the affirmative vote of
             the majority of shares of such class or series or classes or series present in person or represented by proxy at the
             meeting shall be the act of such class or series or classes or series, except as otherwise provided by law, the
             certificate of incorporation or these bylaws.
                    2.10 STOCKHOLDER ACTION BY WRITTEN CONSENT WITHOUT A MEETING
                  Subject to the rights of the holders of the shares of any series of Preferred Stock or any other class of stock
             or series thereof that have been expressly granted the right to take action by written consent, any action required
             or permitted to be taken by the stockholders of the corporation must be effected at a duly called annual or special
             meeting of stockholders of the corporation and may not be effected by any consent in writing by such
             stockholders.
                    2.11 RECORD DATES
                  In order that the corporation may determine the stockholders entitled to notice of any meeting of
             stockholders or any adjournment thereof, the board of directors may fix a record date, which record date shall not
             precede the date upon which the resolution fixing the record date is adopted by the board of directors and which
             record date shall not be more than 60 nor less than 10 days before the date of such meeting. If the board of
             directors so fixes a date, such date shall also be the record date for determining the stockholders entitled to vote
             at such meeting unless the board of directors determines, at the time it fixes such record date, that a later date on
             or before the date of the meeting shall be the date for making such determination.
                  If no record date is fixed by the board of directors, the record date for determining stockholders entitled to
             notice of and to vote at a meeting of stockholders shall be at the close of business on the day next preceding the
             day on which notice is given, or, if notice is waived, at the close of business on the day next preceding the day
             on which the meeting is held.
                  A determination of stockholders of record entitled to notice of or to vote at a meeting of stockholders shall
             apply to any adjournment of the meeting; provided, however, that the board of directors may fix a new record
             date for determination of stockholders entitled to vote at the adjourned meeting, and in such case shall also fix as
             the record date for stockholders entitled to notice of such adjourned meeting the same or an earlier date as that
             fixed



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             for determination of stockholders entitled to vote in accordance with the provisions of Section 213 of the DGCL
             and this Section 2.11 at the adjourned meeting.
                  In order that the corporation may determine the stockholders entitled to receive payment of any dividend or
             other distribution or allotment of any rights or the stockholders entitled to exercise any rights in respect of any
             change, conversion or exchange of stock, or for the purpose of any other lawful action, the board of directors
             may fix a record date, which record date shall not precede the date upon which the resolution fixing the record
             date is adopted, and which record date shall be not more than 60 days prior to such action. If no record date is
             fixed, the record date for determining stockholders for any such purpose shall be at the close of business on the
             day on which the board of directors adopts the resolution relating thereto.
                    2.12 PROXIES
                  Each stockholder entitled to vote at a meeting of stockholders may authorize another person or persons to act
             for such stockholder by proxy authorized by an instrument in writing or by a transmission permitted by law filed
             in accordance with the procedure established for the meeting, but no such proxy shall be voted or acted upon
             after three years from its date, unless the proxy provides for a longer period. The revocability of a proxy that
             states on its face that it is irrevocable shall be governed by the provisions of Section 212 of the DGCL. A written
             proxy may be in the form of a telegram, cablegram, or other means of electronic transmission which sets forth or
             is submitted with information from which it can be determined that the telegram, cablegram, or other means of
             electronic transmission was authorized by the person. Any stockholder directly or indirectly soliciting proxies
             from other stockholders must use a proxy card color other than white, which shall be reserved for the exclusive
             use by the board of directors.
                    2.13 LIST OF STOCKHOLDERS ENTITLED TO VOTE
                  The officer who has charge of the stock ledger of the corporation shall prepare and make, at least 10 days
             before every meeting of stockholders, a complete list of the stockholders entitled to vote at the meeting;
             provided, however, if the record date for determining the stockholders entitled to vote is less than 10 days before
             the meeting date, the list shall reflect the stockholders entitled to vote as of the tenth day before the meeting date.
             The stockholder list shall be arranged in alphabetical order and show the address of each stockholder and the
             number of shares registered in the name of each stockholder. The corporation shall not be required to include
             electronic mail addresses or other electronic contact information on such list. Such list shall be open to the
             examination of any stockholder for any purpose germane to the meeting for a period of at least 10 days prior to
             the meeting (i) on a reasonably accessible electronic network, provided that the information required to gain
             access to such list is provided with the notice of the meeting, or (ii) during ordinary business hours, at the
             corporation’s principal place of business. In the event that the corporation determines to make the list available
             on an electronic network, the corporation may take reasonable steps to ensure that such information is available
             only to stockholders of the corporation. Such list shall presumptively determine the identity of the stockholders
             entitled to vote at the meeting and the number of shares held by each of them.
                    2.14 INSPECTORS OF ELECTION
                  Before any meeting of stockholders, the board of directors shall appoint an inspector or inspectors of
             election to act at the meeting or its adjournment. The number of inspectors shall be either one (1) or three (3). If
             any person appointed as inspector fails to appear or fails or refuses to act, then the chairperson of the meeting
             may, and upon the request of any stockholder or a stockholder’s proxy shall, appoint a person to fill that vacancy.
                  Each inspector, before entering upon the discharge of his or her duties, shall take and sign an oath to execute
             faithfully the duties of inspector with strict impartiality and according to the best of his or her ability. The
             inspector or inspectors so appointed and designated shall (i) ascertain the number of shares of capital stock of the
             corporation outstanding and the voting power of each share, (ii) determine the shares of capital stock of the
             corporation represented at the meeting and the validity of proxies and ballots, (iii) count all votes and ballots,
             (iv) determine and retain for a reasonable period a record of the disposition of any challenges made to any
             determination by the inspectors, and (v) certify their determination of the number of shares of capital stock of the
             corporation represented at the meeting and such inspector or inspectors’ count of all votes and ballots.
                 In determining the validity and counting of proxies and ballots cast at any meeting of stockholders of the
             corporation, the inspector or inspectors may consider such information as is permitted by applicable law. If there



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             are three (3) inspectors of election, the decision, act or certificate of a majority is effective in all respects as the
             decision, act or certificate of all.
                    2.15 PROXY ACCESS
                         (i) Whenever the board of directors solicits proxies with respect to the election of directors at an
                    annual meeting, subject to the provisions of this Section 2.15, the corporation shall include in its proxy
                    statement for such annual meeting, in addition to any persons nominated for election by or at the direction of
                    the board of directors (or any duly authorized committee thereof), the name, together with the Required
                    Information (as defined below), of any person nominated for election (the “ Stockholder Nominee ”) to the
                    board of directors by an Eligible Stockholder (as defined in Section 2.15(iv)) that expressly elects at the time
                    of providing the notice required by this Section 2.15 to have such nominee included in the corporation’s
                    proxy materials pursuant to this Section 2.15. For purposes of this Section 2.15, the “ Required Information ”
                    that the corporation will include in its proxy statement is (A) the information provided to the secretary of the
                    corporation concerning the Stockholder Nominee and the Eligible Stockholder that is required to be
                    disclosed in the corporation’s proxy statement pursuant to Section 14 of the 1934 Act and the rules and
                    regulations promulgated thereunder and (B) if the Eligible Stockholder so elects, a Supporting Statement (as
                    defined in Section 2.15(viii)). For the avoidance of doubt, nothing in this Section 2.15 shall limit the
                    corporation’s ability to solicit against any Stockholder Nominee or include in its proxy materials the
                    corporation’s own statements or other information relating to any Eligible Stockholder or Stockholder
                    Nominee, including any information provided to the corporation pursuant to this Section 2.15. Subject to the
                    provisions of this Section 2.15, the name of any Stockholder Nominee included in the corporation’s proxy
                    statement for an annual meeting shall also be set forth on the form of proxy distributed by the corporation in
                    connection with such annual meeting.
                         (ii) In addition to any other applicable requirements, for a nomination to be made by an Eligible
                    Stockholder pursuant to this Section 2.15, the Eligible Stockholder must have given timely notice of such
                    nomination (the “ Notice of Proxy Access Nomination ”) in proper written form to the secretary of the
                    corporation. To be timely, the Notice of Proxy Access Nomination must be delivered to or be mailed and
                    received by the secretary at the principal executive offices of the corporation not less than 120 days nor
                    more than 150 days prior to the first anniversary of the date that the corporation first distributed its proxy
                    statement to stockholders for the immediately preceding annual meeting. In no event shall any adjournment
                    or postponement of an annual meeting or the announcement thereof commence a new time period (or extend
                    any time period) for the giving of a Notice of Proxy Access Nomination pursuant to this Section 2.15.
                         (iii) The maximum number of Stockholder Nominees nominated by all Eligible Stockholders that will
                    be included in the corporation’s proxy materials with respect to an annual meeting shall not exceed the
                    greater of (A) two or (B) 20% of the number of directors in office as of the last day on which a Notice of
                    Proxy Access Nomination may be delivered pursuant to and in accordance with this Section 2.15 (the “ Final
                    Proxy Access Nomination Date ”) or, if such amount is not a whole number, the closest whole number below
                    20% (such greater number, as it may be adjusted pursuant to this Section 2.15, the “ Permitted Number ”). In
                    the event that one or more vacancies for any reason occurs on the board of directors after the Final Proxy
                    Access Nomination Date but before the date of the annual meeting and the board of directors resolves to
                    reduce the size of the board of directors in connection therewith, the Permitted Number shall be calculated
                    based on the number of directors in office as so reduced. For purposes of determining when the Permitted
                    Number has been reached, each of the following persons shall be counted as one of the Stockholder
                    Nominees: (A) any individual nominated by an Eligible Stockholder for inclusion in the corporation’s proxy
                    materials pursuant to this Section 2.15 whose nomination is subsequently withdrawn, (B) any individual
                    nominated by an Eligible Stockholder for inclusion in the corporation’s proxy materials pursuant to this
                    Section 2.15 whom the board of directors decides to nominate for election to the board of directors and
                    (C) any director in office as of the Final Proxy Access Nomination Date who was included in the
                    corporation’s proxy materials as a Stockholder Nominee for either of the two preceding annual meetings
                    (including any individual counted as a Stockholder Nominee pursuant to the immediately preceding clause
                    (B)) and whom the board of directors decides to nominate for re-election to the board of directors. Any
                    Eligible Stockholder submitting more than one Stockholder Nominee for inclusion in the corporation’s proxy
                    materials pursuant to this Section 2.15 shall rank such Stockholder Nominees based on the order in which
                    the Eligible Stockholder desires such Stockholder Nominees to be selected for inclusion in the corporation’s
                    proxy materials in the event that the total number of Stockholder Nominees submitted by Eligible
                    Stockholders pursuant to this Section 2.15 exceeds the Permitted



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                    Number. In the event that the number of Stockholder Nominees submitted by Eligible Stockholders pursuant
                    to this Section 2.15 exceeds the Permitted Number, the highest ranking Stockholder Nominee who meets the
                    requirements of this Section 2.15 from each Eligible Stockholder will be selected for inclusion in the
                    corporation’s proxy materials until the Permitted Number is reached, going in order of the amount (largest to
                    smallest) of shares of capital stock of the corporation each Eligible Stockholder disclosed as owned in its
                    Notice of Proxy Access Nomination. If the Permitted Number is not reached after the highest ranking
                    Stockholder Nominee who meets the requirements of this Section 2.15 from each Eligible Stockholder has
                    been selected, then the next highest ranking Stockholder Nominee who meets the requirements of this
                    Section 2.15 from each Eligible Stockholder will be selected for inclusion in the corporation’s proxy
                    materials, and this process will continue as many times as necessary, following the same order each time,
                    until the Permitted Number is reached. Notwithstanding anything to the contrary contained in this
                    Section 2.15, the corporation shall not be required to include any Stockholder Nominees in its proxy
                    materials pursuant to this Section 2.15 for any meeting of stockholders for which the secretary of the
                    corporation receives notice (whether or not subsequently withdrawn) that a stockholder intends to nominate
                    one or more persons for election to the board of directors pursuant to the advance notice requirements for
                    stockholder nominees set forth in Section 2.4.
                         (iv) An “ Eligible Stockholder ” is a stockholder or group of no more than 20 stockholders (counting as
                    one stockholder, for this purpose, any two or more funds that are part of the same Qualifying Fund Group
                    (as defined below)) that (A) has owned (as defined in Section 2.15(v)) continuously for at least three years
                    (the “ Minimum Holding Period ”) a number of shares of capital stock of the corporation that represents at
                    least 3% of the corporation’s outstanding capital stock as of the date the Notice of Proxy Access Nomination
                    is delivered to or mailed and received by the secretary of the corporation in accordance with this
                    Section 2.15 (the “ Required Shares ”), (B) continues to own the Required Shares through the date of the
                    annual meeting and (C) satisfies all other requirements of, and complies with all applicable procedures set
                    forth in, this Section 2.15. A “ Qualifying Fund Group ” is a group of two or more funds that are (A) under
                    common management and investment control, (B) under common management and funded primarily by the
                    same employer or (C) a “group of investment companies” as such term is defined in Section 13(d)(1)(G)(ii)
                    of the Investment Company Act of 1940, as amended. Whenever the Eligible Stockholder consists of a group
                    of stockholders (including a group of funds that are part of the same Qualifying Fund Group), (A) each
                    provision in this Section 2.15 that requires the Eligible Stockholder to provide any written statements,
                    representations, undertakings, agreements or other instruments or to meet any other conditions shall be
                    deemed to require each stockholder (including each individual fund) that is a member of such group to
                    provide such statements, representations, undertakings, agreements or other instruments and to meet such
                    other conditions (except that the members of such group may aggregate the shares that each member has
                    owned continuously for the Minimum Holding Period in order to meet the 3% ownership requirement of the
                    “Required Shares” definition) and (B)a breach of any obligation, agreement or representation under this
                    Section 2.15 by any member of such group shall be deemed a breach by the Eligible Stockholder. No person
                    may be a member of more than one group of stockholders constituting an Eligible Stockholder with respect
                    to any annual meeting.
                          (v) For purposes of this Section 2.15, an Eligible Stockholder shall be deemed to “ own ” only those
                    outstanding shares of capital stock of the corporation as to which the stockholder possesses both (A) the full
                    voting and investment rights pertaining to the shares and (B) the full economic interest in (including the
                    opportunity for profit from and risk of loss on) such shares; provided that the number of shares calculated in
                    accordance with clauses (A) and (B) shall not include any shares (1) sold by such stockholder or any of its
                    affiliates in any transaction that has not been settled or closed, (2) borrowed by such stockholder or any of
                    its affiliates for any purposes or purchased by such stockholder or any of its affiliates pursuant to an
                    agreement to resell or (3) subject to any option, warrant, forward contract, swap, contract of sale, other
                    derivative or similar instrument or agreement entered into by such stockholder or any of its affiliates,
                    whether any such instrument or agreement is to be settled with shares or with cash based on the notional
                    amount or value of shares of outstanding capital stock of the corporation, in any such case which instrument
                    or agreement has, or is intended to have, the purpose or effect of (x) reducing in any manner, to any extent
                    or at any time in the future, such stockholder’s or its affiliates’ full right to vote or direct the voting of any
                    such shares and/or (y) hedging, offsetting or altering to any degree any gain or loss realized or realizable
                    from maintaining the full economic ownership of such shares by such stockholder or affiliate. For purposes
                    of this Section 2.15, a stockholder shall “own” shares held in the name of a nominee or other intermediary
                    so long as the stockholder retains the right to instruct how the shares are voted with respect to the election of
                    directors and possesses the full economic interest in the shares. A stockholder’s ownership of shares shall be
                    deemed to continue during any



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                    period in which (A) the stockholder has loaned such shares; provided that the stockholder has the power to
                    recall such loaned shares on five business days’ notice and includes in its Notice of Proxy Access
                    Nomination an agreement that it (1) will promptly recall such loaned shares upon being notified that any of
                    its Stockholder Nominees will be included in the corporation’s proxy materials and (2) will continue to hold
                    such recalled shares through the date of the annual meeting or (B) the stockholder has delegated any voting
                    power by means of a proxy, power of attorney or other instrument or arrangement which is revocable at any
                    time by the stockholder. The terms “owned,” “owning” and other variations of the word “own” shall have
                    correlative meanings. Whether outstanding shares of the capital stock of the corporation are “owned” for
                    these purposes shall be determined by the board of directors (or any duly authorized committee thereof). For
                    purposes of this Section 2.15, the term “ affiliate ” or “ affiliates ” shall have the meaning ascribed thereto
                    under the General Rules and Regulations under the 1934 Act.
                       (vi) To be in proper written form for purposes of this Section 2.15, the Notice of Proxy Access
                    Nomination must include or be accompanied by the following:
                             (a) a written statement by the Eligible Stockholder certifying as to the number of shares it owns
                        and has owned continuously for the Minimum Holding Period, and the Eligible Stockholder’s agreement
                        to provide (1) within five business days following the later of the record date for the determination of
                        stockholders entitled to vote at the annual meeting or the date notice of the record date is first publicly
                        disclosed, a written statement by the Eligible Stockholder certifying as to the number of shares it owns
                        and has owned continuously through the record date and (2) immediate notice if the Eligible
                        Stockholder ceases to own any of the Required Shares prior to the date of the annual meeting;
                             (b) one or more written statements from the record holder of the Required Shares (and from each
                        intermediary through which the Required Shares are or have been held during the Minimum Holding
                        Period) verifying that, as of a date within seven calendar days prior to the date the Notice of Proxy
                        Access Nomination is delivered to or mailed and received by the secretary of the corporation, the
                        Eligible Stockholder owns, and has owned continuously for the Minimum Holding Period, the Required
                        Shares, and the Eligible Stockholder’s agreement to provide, within five business days following the
                        later of the record date for the determination of stockholders entitled to vote at the annual meeting or
                        the date notice of the record date is first publicly disclosed, one or more written statements from the
                        record holder and such intermediaries verifying the Eligible Stockholder’s continuous ownership of the
                        Required Shares through the record date;
                            (c) a copy of the Schedule 14N that has been or is concurrently being filed with the SEC as
                        required by Rule 14a-18 under the 1934 Act;
                             (d) the information and representations that would be required to be set forth in a stockholder’s
                        notice of a nomination pursuant to Section 2.4, together with the written consent of each Stockholder
                        Nominee to being named as a nominee in any proxy statement relating to the annual meeting and to
                        serving as a director if elected;
                              (e) a representation that the Eligible Stockholder (1) will continue to hold the Required Shares
                        through the date of the annual meeting, (2) acquired the Required Shares in the ordinary course of
                        business and not with the intent to change or influence control at the corporation, and does not presently
                        have such intent, (3) has not nominated and will not nominate for election to the board of directors at
                        the annual meeting any person other than the Stockholder Nominee(s) it is nominating pursuant to this
                        Section 2.15, (4) has not engaged and will not engage in, and has not and will not be a “participant” in
                        another person’s, “solicitation” within the meaning of Rule 14a-1(1) under the 1934 Act in support of
                        the election of any individual as a director at the annual meeting other than its Stockholder Nominee(s)
                        or a nominee of the board of directors, (5) has not distributed and will not distribute to any stockholder
                        of the corporation any form of proxy for the annual meeting other than the form distributed by the
                        corporation, (6) has complied and will comply with all laws and regulations applicable to solicitations
                        and the use, if any, of soliciting material in connection with the annual meeting, and (7) has provided
                        and will provide facts, statements and other information in all communications with the corporation and
                        its stockholders that are or will be true and correct in all material respects and do not and will not omit
                        to state a material fact necessary in order to make the statements made, in light of the circumstances
                        under which they were made, not misleading;



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                             (f) an undertaking that the Eligible Stockholder agrees to (1) assume all liability stemming from
                        any legal or regulatory violation arising out of the Eligible Stockholder’s communications with the
                        stockholders of the corporation or out of the information that the Eligible Stockholder provided to the
                        corporation, (2) indemnify and hold harmless the corporation and each of its directors, officers and
                        employees individually against any liability, loss or damages in connection with any threatened or
                        pending action, suit or proceeding, whether legal, administrative or investigative, against the corporation
                        or any of its directors, officers or employees arising out of any nomination submitted by the Eligible
                        Stockholder pursuant to this Section 2.15 or any solicitation or other activity in connection therewith
                        and (3) file with the SEC any solicitation or other communication with the stockholders of the
                        corporation relating to the meeting at which its Stockholder Nominee(s) will be nominated, regardless of
                        whether any such filing is required under Regulation 14A of the 1934 Act or whether any exemption
                        from filing is available for such solicitation or other communication under Regulation 14A of the 1934
                        Act;
                             (g) the written representation and agreement from each Stockholder Nominee that such person
                        (1) is not and will not become a party to (x) any agreement, arrangement or understanding with, and has
                        not given any commitment or assurance to, any person or entity as to how such person, if elected as a
                        director of the corporation, will act or vote on any issue or question (a “ Voting Commitment ”) that has
                        not been disclosed to the corporation in such representation and agreement or (y) any Voting
                        Commitment that could limit or interfere with such person’s ability to comply, if elected as a director of
                        the corporation, with such person’s fiduciary duties under applicable law; (2) is not and will not become
                        a party to any agreement, arrangement or understanding with any person or entity other than the
                        corporation with respect to any direct or indirect compensation, reimbursement or indemnification in
                        connection with service or action as a director that has not been disclosed to the corporation in such
                        representation and agreement; (3) would be in compliance, if elected as a director of the corporation,
                        and will comply with the corporation’s code of business ethics, corporate governance guidelines and any
                        other policies or guidelines of the corporation applicable to directors; and (4) will make such other
                        acknowledgments, enter into such agreements and provide such information as the board of directors
                        requires of all directors, including promptly submitting all completed and signed questionnaires required
                        of the corporation’s directors;
                             (h) in the case of a nomination by a group of stockholders together constituting an Eligible
                        Stockholder, the designation by all group members of one member of the group that is authorized to
                        receive communications, notices and inquiries from the corporation and to act on behalf of all members
                        of the group with respect to all matters relating to the nomination under this Section 2.15 (including
                        withdrawal of the nomination); and
                             (i) in the case of a nomination by a group of stockholders together constituting an Eligible
                        Stockholder in which two or more funds that are part of the same Qualifying Fund Group are counted as
                        one stockholder for purposes of qualifying as an Eligible Stockholder, documentation reasonably
                        satisfactory to the corporation that demonstrates that the funds are part of the same Qualifying
                        Fund Group.
                         (vii) In addition to the information required pursuant to Section 2.15(vi) or any other provision of
                    these bylaws, (A) the corporation may require any proposed Stockholder Nominee to furnish any other
                    information (1) that may reasonably be requested by the corporation to determine whether the Stockholder
                    Nominee would be independent under the rules and listing standards of the principal United States securities
                    exchanges upon which the capital stock of the corporation is listed or traded, any applicable rules of the SEC
                    or any publicly disclosed standards used by the board of directors in determining and disclosing the
                    independence of the corporation’s directors (collectively, the “ Independence Standards ”), (2) that could be
                    material to a reasonable stockholder’s understanding of the independence, or lack thereof, of such
                    Stockholder Nominee or (3) that may reasonably be requested by the corporation to determine the eligibility
                    of such Stockholder Nominee to be included in the corporation’s proxy materials pursuant to this
                    Section 2.15 or to serve as a director of the corporation, and (B) the corporation may require the Eligible
                    Stockholder to furnish any other information that may reasonably be requested by the corporation to verify
                    the Eligible Stockholder’s continuous ownership of the Required Shares for the Minimum Holding Period.
                        (viii) The Eligible Stockholder may, at its option, provide to the secretary of the corporation, at the
                    time the Notice of Proxy Access Nomination is provided, a written statement, not to exceed 500 words, in
                    support



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                    of the candidacy of the Stockholder Nominee(s) (a “ Supporting Statement ”). Only one Supporting
                    Statement may be submitted by an Eligible Stockholder (including any group of stockholders together
                    constituting an Eligible Stockholder) in support of its Stockholder Nominee(s). Notwithstanding anything to
                    the contrary contained in this Section 2.15, the corporation may omit from its proxy materials any
                    information or Supporting Statement (or portion thereof) that it, in good faith, believes would violate any
                    applicable law or regulation.
                         (ix) In the event that any information or communications provided by an Eligible Stockholder or a
                    Stockholder Nominee to the corporation or its stockholders ceases to be true and correct in all material
                    respects or omits to state a material fact necessary in order to make the statements made, in light of the
                    circumstances under which they were made, not misleading, such Eligible Stockholder or Stockholder
                    Nominee, as the case may be, shall promptly notify the secretary of the corporation of any such defect in
                    such previously provided information and of the information that is required to correct any such defect; it
                    being understood that providing such notification shall not be deemed to cure any such defect or limit the
                    remedies available to the corporation relating to any such defect (including the right to omit a Stockholder
                    Nominee from its proxy materials pursuant to this Section 2.15). In addition, any person providing any
                    information to the corporation pursuant to this Section 2.15 shall further update and supplement such
                    information, if necessary, so that all such information shall be true and correct as of the record date for the
                    determination of stockholders entitled to vote at the annual meeting, and such update and supplement shall
                    be delivered to or be mailed and received by the secretary at the principal executive offices of the
                    corporation not later than five business days following the later of the record date for the determination of
                    stockholders entitled to vote at the annual meeting or the date notice of the record date is first publicly
                    disclosed.
                         (x) Notwithstanding anything to the contrary contained in this Section 2.15, the corporation shall not
                    be required to include in its proxy materials, pursuant to this Section 2.15, any Stockholder Nominee
                    (A) who would not be an independent director under the Independence Standards, (B) whose election as a
                    member of the board of directors would cause the corporation to be in violation of these bylaws, the
                    certificate of incorporation, the rules and listing standards of the principal United States securities exchanges
                    upon which the capital stock of the corporation is listed or traded, or any applicable law, rule or regulation,
                    (C) who is or has been, within the past three years, an officer or director of a competitor, as defined in
                    Section 8 of the Clayton Antitrust Act of 1914, (D) who is a named subject of a pending criminal proceeding
                    (excluding traffic violations and other minor offenses) or has been convicted in such a criminal proceeding
                    within the past 10 years, (E) who is subject to any order of the type specified in Rule 506(d) of
                    Regulation D promulgated under the Securities Act of 1933, as amended, or (F) who shall have provided any
                    information to the corporation or its stockholders that was untrue in any material respect or that omitted to
                    state a material fact necessary in order to make the statements made, in light of the circumstances under
                    which they were made, not misleading.
                          (xi) Notwithstanding anything to the contrary set forth herein, if (A) a Stockholder Nominee and/or the
                    applicable Eligible Stockholder breaches any of its agreements or representations or fails to comply with any
                    of its obligations under this Section 2.15 or (B) a Stockholder Nominee otherwise becomes ineligible for
                    inclusion in the corporation’s proxy materials pursuant to this Section 2.15 or dies, becomes disabled or
                    otherwise becomes ineligible or unavailable for election at the annual meeting, in each case as determined by
                    the board of directors (or any duly authorized committee thereof) or the chairman of the annual meeting,
                    (1) the corporation may omit or, to the extent feasible, remove the information concerning such Stockholder
                    Nominee and the related Supporting Statement from its proxy materials and/or otherwise communicate to its
                    stockholders that such Stockholder Nominee will not be eligible for election at the annual meeting, (2) the
                    corporation shall not be required to include in its proxy materials any successor or replacement nominee
                    proposed by the applicable Eligible Stockholder or any other Eligible Stockholder and (3) the board of
                    directors (or any duly authorized committee thereof) or the chairman of the annual meeting shall declare
                    such nomination to be invalid and such nomination shall be disregarded notwithstanding that proxies in
                    respect of such vote may have been received by the corporation. In addition, if the Eligible Stockholder (or a
                    representative thereof) does not appear at the annual meeting to present any nomination pursuant to this
                    Section 2.15, such nomination shall be declared invalid and disregarded as provided in clause (3) above.

                         (xii) Any Stockholder Nominee who is included in the corporation’s proxy materials for a particular
                    annual meeting but either (A) withdraws from or becomes ineligible or unavailable for election at the annual
                    meeting, or (B) does not receive at least 25% of the votes cast in favor of such Stockholder Nominee’s
                    election, will be ineligible to be a Stockholder Nominee pursuant to this Section 2.15 for the next two annual
                    meetings.



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                    For the avoidance of doubt, the immediately preceding sentence shall not prevent any stockholder from
                    nominating any person to the board of directors pursuant to and in accordance with Section 2.4.
                  Other than Rule 14a-19 under the 1934 Act, this Section 2.15 provides the exclusive method for a
             stockholder to include nominees for election to the board of directors in the corporation’s proxy statement.

                                                        ARTICLE III — DIRECTORS
                    3.1 POWERS
                  The business and affairs of the corporation shall be managed by or under the direction of the board of
             directors, except as may be otherwise provided in the DGCL or the certificate of incorporation.
                    3.2 NUMBER OF DIRECTORS
                  The board of directors shall consist of one or more members, each of whom shall be a natural person. Unless
             the certificate of incorporation fixes the number of directors, the number of directors shall be determined from
             time to time solely by resolution of the board of directors. No reduction of the authorized number of directors
             shall have the effect of removing any director before that director’s term of office expires.
                    3.3 ELECTION, QUALIFICATION AND TERM OF OFFICE OF DIRECTORS
                  Except as provided in Section 3.4 of these bylaws, each director, including a director elected to fill a
             vacancy, shall hold office until the expiration of the term for which elected and until such director’s successor is
             elected and qualified or until such director’s earlier death, resignation or removal. Directors need not be
             stockholders unless so required by the certificate of incorporation or these bylaws. The certificate of
             incorporation or these bylaws may prescribe other qualifications for directors.
                    3.4 RESIGNATION AND VACANCIES
                   Any director may resign at any time upon notice given in writing or by electronic transmission to the
             corporation; provided, however , that if such notice is given by electronic transmission, such electronic
             transmission must either set forth or be submitted with information from which it can be determined that the
             electronic transmission was authorized by the director. A resignation is effective when the resignation is delivered
             unless the resignation specifies a later effective date or an effective date determined upon the happening of an
             event or events. Acceptance of such resignation shall not be necessary to make it effective. A resignation which
             is conditioned upon the director failing to receive a specified vote for reelection as a director may provide that it
             is irrevocable. Unless otherwise provided in the certificate of incorporation or these bylaws, when one or more
             directors resign from the board of directors, effective at a future date, a majority of the directors then in office,
             including those who have so resigned, shall have power to fill such vacancy or vacancies, the vote thereon to take
             effect when such resignation or resignations shall become effective.
                  Unless otherwise provided in the certificate of incorporation or these bylaws, vacancies and newly created
             directorships resulting from any increase in the authorized number of directors elected by all of the stockholders
             having the right to vote as a single class shall be filled only by a majority of the directors then in office, although
             less than a quorum, or by a sole remaining director. If the directors are divided into classes, a person so elected
             by the directors then in office to fill a vacancy or newly created directorship shall hold office until the next
             election of the class for which such director shall have been chosen and until his or her successor shall have been
             duly elected and qualified.
                   If, at the time of filling any vacancy or any newly created directorship, the directors then in office constitute
             less than a majority of the whole board of directors (as constituted immediately prior to any such increase), the
             Court of Chancery may, upon application of any stockholder or stockholders holding at least 10% of the voting
             stock at the time outstanding having the right to vote for such directors, summarily order an election to be held to
             fill any such vacancies or newly created directorships, or to replace the directors chosen by the directors then in
             office as aforesaid, which election shall be governed by the provisions of Section 211 of the DGCL as far as
             applicable.
                    3.5 PLACE OF MEETINGS; MEETINGS BY TELEPHONE
                 The board of directors may hold meetings, both regular and special, either within or outside the State of
             Delaware.



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                  Unless otherwise restricted by the certificate of incorporation or these bylaws, members of the board of
             directors, or any committee designated by the board of directors, may participate in a meeting of the board of
             directors, or any committee, by means of conference telephone or other communications equipment by means of
             which all persons participating in the meeting can hear each other, and such participation in a meeting shall
             constitute presence in person at the meeting.
                    3.6 REGULAR MEETINGS
                 Regular meetings of the board of directors may be held without notice at such time and at such place as shall
             from time to time be determined by the board of directors.
                    3.7 SPECIAL MEETINGS; NOTICE
                  Special meetings of the board of directors for any purpose or purposes may be called at any time by the
             chairperson of the board of directors, the chief executive officer, the president, the secretary or a majority of the
             authorized number of directors, at such times and places as he or she or they shall designate.
                    Notice of the time and place of special meetings shall be:

                        (i) delivered personally by hand, by courier or by telephone;
                        (ii) sent by United States first-class mail, postage prepaid;
                        (iii) sent by facsimile; or

                        (iv) sent by electronic mail,
             directed to each director at that director’s address, telephone number, facsimile number or electronic mail address,
             as the case may be, as shown on the corporation’s records.
                  If the notice is (i) delivered personally by hand, by courier or by telephone, (ii) sent by facsimile or (iii) sent
             by electronic mail, it shall be delivered or sent at least 24 hours before the time of the holding of the meeting. If
             the notice is sent by United States mail, it shall be deposited in the United States mail at least four days before
             the time of the holding of the meeting. Any oral notice may be communicated to the director. The notice need not
             specify the place of the meeting (if the meeting is to be held at the corporation’s principal executive office) nor
             the purpose of the meeting.
                    3.8 QUORUM; VOTING
                  At all meetings of the board of directors, a majority of the total authorized number of directors shall
             constitute a quorum for the transaction of business. If a quorum is not present at any meeting of the board of
             directors, then the directors present thereat may adjourn the meeting from time to time, without notice other than
             announcement at the meeting, until a quorum is present. A meeting at which a quorum is initially present may
             continue to transact business notwithstanding the withdrawal of directors, if any action taken is approved by at
             least a majority of the required quorum for that meeting.
                  The vote of a majority of the directors present at any meeting at which a quorum is present shall be the act
             of the board of directors, except as may be otherwise specifically provided by statute, the certificate of
             incorporation or these bylaws. In the event a director or directors abstain or are disqualified from a vote, the
             majority vote of the director or the directors thereof not abstaining or disqualified from voting, whether or not
             such director or directors constitute a quorum, shall be the act of the board of directors.
                  If the certificate of incorporation provides that one or more directors shall have more or less than one vote
             per director on any matter, every reference in these bylaws to a majority or other proportion of the directors shall
             refer to a majority or other proportion of the votes of the directors.
                    3.9 BOARD ACTION BY WRITTEN CONSENT WITHOUT A MEETING
                  Unless otherwise restricted by the certificate of incorporation or these bylaws, any action required or
             permitted to be taken at any meeting of the board of directors, or of any committee thereof, may be taken without
             a meeting if all members of the board of directors or committee, as the case may be, consent thereto in writing or
             by electronic transmission and the writing or writings or electronic transmission or transmissions are filed with
             the



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             minutes of proceedings of the board of directors or committee. Such filing shall be in paper form if the minutes
             are maintained in paper form and shall be in electronic form if the minutes are maintained in electronic form.
                    3.10 FEES AND COMPENSATION OF DIRECTORS
                 Unless otherwise restricted by the certificate of incorporation or these bylaws, the board of directors shall
             have the authority to fix the compensation of directors.
                    3.11 REMOVAL OF DIRECTORS
                    A director may be removed from office by the stockholders of the corporation only for cause.
                  No reduction of the authorized number of directors shall have the effect of removing any director prior to the
             expiration of such director’s term of office.

                                                        ARTICLE IV — COMMITTEES
                    4.1 COMMITTEES OF DIRECTORS
                  The board of directors may designate one or more committees, each committee to consist of one or more of
             the directors of the corporation. The board of directors may designate one or more directors as alternate members
             of any committee, who may replace any absent or disqualified member at any meeting of the committee. In the
             absence or disqualification of a member of a committee, the member or members thereof present at any meeting
             and not disqualified from voting, whether or not such member or members constitute a quorum, may unanimously
             appoint another member of the board of directors to act at the meeting in the place of any such absent or
             disqualified member. In the event a member or members of a committee abstain or are disqualified from a vote,
             the majority vote of the member or members thereof not abstaining or disqualified from voting, whether or not
             such member or members constitute a quorum, shall be the act of such committee. Any such committee, to the
             extent provided in the resolution of the board of directors or in these bylaws, shall have and may exercise all the
             powers and authority of the board of directors in the management of the business and affairs of the corporation,
             and may authorize the seal of the corporation to be affixed to all papers that may require it; but no such
             committee shall have the power or authority to (i) approve or adopt, or recommend to the stockholders, any
             action or matter (other than the election or removal of directors) expressly required by the DGCL to be submitted
             to stockholders for approval, or (ii) adopt, amend or repeal any bylaw of the corporation.
                    4.2 COMMITTEE MINUTES
                 Each committee shall keep regular minutes of its meetings and report the same to the board of directors
             when required.
                    4.3 MEETINGS AND ACTION OF COMMITTEES
                 Meetings and actions of committees shall be governed by, and held and taken in accordance with, the
             provisions of:
                        (i) Section 3.5 (place of meetings and meetings by telephone);
                        (ii) Section 3.6 (regular meetings);

                        (iii) Section 3.7 (special meetings; notice);
                        (iv) Section 3.8 (quorum; voting);
                        (v) Section 3.9 (action without a meeting); and
                        (vi) Section 7.5 (waiver of notice)
             with such changes in the context of those bylaws as are necessary to substitute the committee and its members
             for the board of directors and its members. However :
                        (i) the time of regular meetings of committees may be determined by resolution of the committee;
                        (ii) special meetings of committees may also be called by resolution of the committee; and



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                        (iii) notice of special meetings of committees shall also be given to all alternate members, who shall
                    have the right to attend all meetings of the committee. The board of directors may adopt rules for the
                    government of any committee not inconsistent with the provisions of these bylaws.

                  Any provision in the certificate of incorporation providing that one or more directors shall have more or less
             than one vote per director on any matter shall apply to voting in any committee or subcommittee, unless
             otherwise provided in the certificate of incorporation or these bylaws.
                    4.4 SUBCOMMITTEES
                  Unless otherwise provided in the certificate of incorporation, these bylaws or the resolutions of the board of
             directors designating the committee, a committee may create one or more subcommittees, each subcommittee to
             consist of one or more members of the committee, and delegate to a subcommittee any or all of the powers and
             authority of the committee.

                                                          ARTICLE V — OFFICERS

                    5.1 OFFICERS

                  The officers of the corporation shall be a president and a secretary. The corporation may also have, at the
             discretion of the board of directors, a chairperson of the board of directors, a vice chairperson of the board of
             directors, a chief executive officer, a chief financial officer or treasurer, one or more vice presidents, one or more
             assistant vice presidents, one or more assistant treasurers, one or more assistant secretaries, and any such other
             officers as may be appointed in accordance with the provisions of these bylaws. Any number of offices may be
             held by the same person.

                    5.2 APPOINTMENT OF OFFICERS
                  The board of directors shall appoint the officers of the corporation, except such officers as may be appointed
             in accordance with the provisions of Section 5.3 of these bylaws, subject to the rights, if any, of an officer under
             any contract of employment. A vacancy in any office because of death, resignation, removal, disqualification or
             any other cause shall be filled in the manner prescribed in this Section 5 for the regular election to such office.
                    5.3 SUBORDINATE OFFICERS

                  The board of directors may appoint, or empower the chief executive officer or, in the absence of a chief
             executive officer, the president, to appoint, such other officers and agents as the business of the corporation may
             require. Each of such officers and agents shall hold office for such period, have such authority, and perform such
             duties as are provided in these bylaws or as the board of directors may from time to time determine.
                    5.4 REMOVAL AND RESIGNATION OF OFFICERS

                  Subject to the rights, if any, of an officer under any contract of employment, any officer may be removed,
             either with or without cause, by an affirmative vote of the majority of the board of directors at any regular or
             special meeting of the board of directors or, except in the case of an officer chosen by the board of directors, by
             any officer upon whom such power of removal may be conferred by the board of directors.

                  Any officer may resign at any time by giving written or electronic notice to the corporation; provided,
             however , that if such notice is given by electronic transmission, such electronic transmission must either set forth
             or be submitted with information from which it can be determined that the electronic transmission was authorized
             by the officer. Any resignation shall take effect at the date of the receipt of that notice or at any later time
             specified in that notice. Unless otherwise specified in the notice of resignation, the acceptance of the resignation
             shall not be necessary to make it effective. Any resignation is without prejudice to the rights, if any, of the
             corporation under any contract to which the officer is a party.
                    5.5 VACANCIES IN OFFICES
                 Any vacancy occurring in any office of the corporation shall be filled by the board of directors or as
             provided in Section 5.3.



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                    5.6 REPRESENTATION OF SHARES OF OTHER CORPORATIONS
                  The chairperson of the board of directors, the president, any vice president, the treasurer, the secretary or
             assistant secretary of this corporation, or any other person authorized by the board of directors or the president or
             a vice president, is authorized to vote, represent, and exercise on behalf of this corporation all rights incident to
             any and all shares of any other corporation or corporations standing in the name of this corporation. The authority
             granted herein may be exercised either by such person directly or by any other person authorized to do so by
             proxy or power of attorney duly executed by such person having the authority.
                    5.7 AUTHORITY AND DUTIES OF OFFICERS
                  All officers of the corporation shall respectively have such authority and perform such duties in the
             management of the business of the corporation as may be designated from time to time by the board of directors
             and, to the extent not so provided, as generally pertain to their respective offices, subject to the control of the
             board of directors.

                    5.8 THE CHAIRPERSON OF THE BOARD
                  The chairperson of the board shall have the powers and duties customarily and usually associated with the
             office of the chairperson of the board. The chairperson of the board shall preside at meetings of the stockholders
             and of the board of directors.

                    5.9 THE VICE CHAIRPERSON OF THE BOARD
                  The vice chairperson of the board shall have the powers and duties customarily and usually associated with
             the office of the vice chairperson of the board. In the case of absence or disability of the chairperson of the
             board, the vice chairperson of the board shall perform the duties and exercise the powers of the chairperson of
             the board.
                    5.10 THE CHIEF EXECUTIVE OFFICER

                  The chief executive officer shall have, subject to the supervision, direction and control of the board of
             directors, ultimate authority for decisions relating to the supervision, direction and management of the affairs and
             the business of the corporation customarily and usually associated with the position of chief executive officer,
             including, without limitation, all powers necessary to direct and control the organizational and reporting
             relationships within the corporation. If at any time the office of the chairperson and vice chairperson of the board
             shall not be filled, or in the event of the temporary absence or disability of the chairperson of the board and the
             vice chairperson of the board, the chief executive officer shall perform the duties and exercise the powers of the
             chairperson of the board unless otherwise determined by the board of directors.
                    5.11 THE PRESIDENT

                  The president shall have, subject to the supervision, direction and control of the board of directors, the
             general powers and duties of supervision, direction and management of the affairs and business of the corporation
             customarily and usually associated with the position of president. The president shall have such powers and
             perform such duties as may from time to time be assigned to him or her by the board of directors, the chairperson
             of the board or the chief executive officer. In the event of the absence or disability of the chief executive officer,
             the president shall perform the duties and exercise the powers of the chief executive officer unless otherwise
             determined by the board of directors.
                    5.12 THE VICE PRESIDENTS AND ASSISTANT VICE PRESIDENTS

                  Each vice president and assistant vice president shall have such powers and perform such duties as may from
             time to time be assigned to him or her by the board of directors, the chairperson of the board, the chief executive
             officer or the president.
                    5.13 THE SECRETARY AND ASSISTANT SECRETARIES

                         (i) The secretary shall attend meetings of the board of directors and meetings of the stockholders and
                    record all votes and minutes of all such proceedings in a book or books kept for such purpose. The secretary
                    shall have all such further powers and duties as are customarily and usually associated with the position of



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                    secretary or as may from time to time be assigned to him or her by the board of directors, the chairperson of
                    the board, the chief executive officer or the president.

                         (ii) Each assistant secretary shall have such powers and perform such duties as may from time to time
                    be assigned to him or her by the board of directors, the chairperson of the board, the chief executive officer,
                    the president or the secretary. In the event of the absence, inability or refusal to act of the secretary, the
                    assistant secretary (or if there shall be more than one, the assistant secretaries in the order determined by the
                    board of directors) shall perform the duties and exercise the powers of the secretary.

                    5.14 THE CHIEF FINANCIAL OFFICER AND ASSISTANT TREASURERS

                         (i) The chief financial officer shall be the treasurer of the corporation. The chief financial officer shall
                    have custody of the corporation’s funds and securities, shall be responsible for maintaining the corporation’s
                    accounting records and statements, shall keep full and accurate accounts of receipts and disbursements in
                    books belonging to the corporation, and shall deposit or cause to be deposited moneys or other valuable
                    effects in the name and to the credit of the corporation in such depositories as may be designated by the
                    board of directors. The chief financial officer shall also maintain adequate records of all assets, liabilities
                    and transactions of the corporation and shall assure that adequate audits thereof are currently and regularly
                    made. The chief financial officer shall have all such further powers and duties as are customarily and usually
                    associated with the position of chief financial officer, or as may from time to time be assigned to him or her
                    by the board of directors, the chairperson, the chief executive officer or the president.

                         (ii) Each assistant treasurer shall have such powers and perform such duties as may from time to time
                    be assigned to him or her by the board of directors, the chief executive officer, the president or the chief
                    financial officer. In the event of the absence, inability or refusal to act of the chief financial officer, the
                    assistant treasurer (or if there shall be more than one, the assistant treasurers in the order determined by the
                    board of directors) shall perform the duties and exercise the powers of the chief financial officer.

                                                             ARTICLE VI — STOCK

                    6.1 STOCK CERTIFICATES; PARTLY PAID SHARES

                  The shares of the corporation shall be represented by certificates, provided that the board of directors may
             provide by resolution or resolutions that some or all of any or all classes or series of its stock shall be
             uncertificated shares. Any such resolution shall not apply to shares represented by a certificate until such
             certificate is surrendered to the corporation. Every holder of stock represented by certificates shall be entitled to
             have a certificate signed by, or in the name of the corporation by the chairperson of the board of directors or
             vice-chairperson of the board of directors, or the president or a vice-president, and by the treasurer or an assistant
             treasurer, or the secretary or an assistant secretary of the corporation representing the number of shares registered
             in certificate form. Any or all of the signatures on the certificate may be a facsimile. In case any officer, transfer
             agent or registrar who has signed or whose facsimile signature has been placed upon a certificate has ceased to be
             such officer, transfer agent or registrar before such certificate is issued, it may be issued by the corporation with
             the same effect as if such person were such officer, transfer agent or registrar at the date of issue. The corporation
             shall not have power to issue a certificate in bearer form.

                  The corporation may issue the whole or any part of its shares as partly paid and subject to call for the
             remainder of the consideration to be paid therefor. Upon the face or back of each stock certificate issued to
             represent any such partly-paid shares, or upon the books and records of the corporation in the case of
             uncertificated partly-paid shares, the total amount of the consideration to be paid therefor and the amount paid
             thereon shall be stated. Upon the declaration of any dividend on fully-paid shares, the corporation shall declare a
             dividend upon partly-paid shares of the same class, but only upon the basis of the percentage of the consideration
             actually paid thereon.



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                    6.2 SPECIAL DESIGNATION ON CERTIFICATES
                  If the corporation is authorized to issue more than one class of stock or more than one series of any class,
             then the powers, the designations, the preferences, and the relative, participating, optional or other special rights
             of each class of stock or series thereof and the qualifications, limitations or restrictions of such preferences and/or
             rights shall be set forth in full or summarized on the face or back of the certificate that the corporation shall issue
             to represent such class or series of stock; provided, however , that, except as otherwise provided in Section 202
             of the DGCL, in lieu of the foregoing requirements there may be set forth on the face or back of the certificate
             that the corporation shall issue to represent such class or series of stock, a statement that the corporation will
             furnish without charge to each stockholder who so requests the powers, designations, preferences and relative,
             participating, optional or other special rights of each class of stock or series thereof and the qualifications,
             limitations or restrictions of such preferences and/or rights. Within a reasonable time after the issuance or transfer
             of uncertificated stock, the corporation shall send to the registered owner thereof a written notice containing the
             information required to be set forth or stated on certificates pursuant to this section 6.2 or Sections 156, 202(a) or
             218(a) of the DGCL or with respect to this section 6.2 a statement that the corporation will furnish without
             charge to each stockholder who so requests the powers, designations, preferences and relative, participating,
             optional or other special rights of each class of stock or series thereof and the qualifications, limitations or
             restrictions of such preferences and/or rights. Except as otherwise expressly provided by law, the rights and
             obligations of the holders of uncertificated stock and the rights and obligations of the holders of certificates
             representing stock of the same class and series shall be identical.
                    6.3 LOST, STOLEN OR DESTROYED CERTIFICATES

                  Except as provided in this Section 6.3, no new certificates for shares shall be issued to replace a previously
             issued certificate unless the latter is surrendered to the corporation and cancelled at the same time. The
             corporation may issue a new certificate of stock or uncertificated shares in the place of any certificate theretofore
             issued by it, alleged to have been lost, stolen or destroyed, and the corporation may require the owner of the lost,
             stolen or destroyed certificate, or such owner’s legal representative, to give the corporation a bond sufficient to
             indemnify it against any claim that may be made against it on account of the alleged loss, theft or destruction of
             any such certificate or the issuance of such new certificate or uncertificated shares.
                    6.4 DIVIDENDS

                  The board of directors, subject to any restrictions contained in the certificate of incorporation or applicable
             law, may declare and pay dividends upon the shares of the corporation’s capital stock. Dividends may be paid in
             cash, in property, or in shares of the corporation’s capital stock, subject to the provisions of the certificate of
             incorporation.
                  The board of directors may set apart out of any of the funds of the corporation available for dividends a
             reserve or reserves for any proper purpose and may abolish any such reserve. Such purposes shall include but not
             be limited to equalizing dividends, repairing or maintaining any property of the corporation, and meeting
             contingencies.
                    6.5 TRANSFER OF STOCK

                  Transfers of record of shares of stock of the corporation shall be made only upon its books by the holders
             thereof, in person or by an attorney duly authorized, and, if such stock is certificated, upon the surrender of a
             certificate or certificates for a like number of shares, properly endorsed or accompanied by proper evidence of
             succession, assignation or authority to transfer; provided, however, that such succession, assignment or authority
             to transfer is not prohibited by the certificate of incorporation, these bylaws, applicable law or contract.
                    6.6 STOCK TRANSFER AGREEMENTS
                  The corporation shall have power to enter into and perform any agreement with any number of stockholders
             of any one or more classes of stock of the corporation to restrict the transfer of shares of stock of the corporation
             of any one or more classes owned by such stockholders in any manner not prohibited by the DGCL.



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                    6.7 REGISTERED STOCKHOLDERS
                    The corporation:

                         (i) shall be entitled to recognize the exclusive right of a person registered on its books as the owner of
                    shares to receive dividends and to vote as such owner;
                       (ii) shall be entitled to hold liable for calls and assessments the person registered on its books as the
                    owner of shares; and
                         (iii) shall not be bound to recognize any equitable or other claim to or interest in such share or shares
                    on the part of another person, whether or not it shall have express or other notice thereof, except as
                    otherwise provided by the laws of Delaware.

                                       ARTICLE VII — MANNER OF GIVING NOTICE AND WAIVER
                    7.1 NOTICE OF STOCKHOLDERS’ MEETINGS

                  Notice of any meeting of stockholders, if mailed, is given when deposited in the United States mail, postage
             prepaid, directed to the stockholder at such stockholder’s address as it appears on the corporation’s records. An
             affidavit of the secretary or an assistant secretary of the corporation or of the transfer agent or other agent of the
             corporation that the notice has been given shall, in the absence of fraud, be prima facie evidence of the facts
             stated therein.
                    7.2 NOTICE BY ELECTRONIC TRANSMISSION

                  Without limiting the manner by which notice otherwise may be given effectively to stockholders pursuant to
             the DGCL, the certificate of incorporation or these bylaws, any notice to stockholders given by the corporation
             under any provision of the DGCL, the certificate of incorporation or these bylaws shall be effective if given by a
             form of electronic transmission consented to by the stockholder to whom the notice is given. Any such consent
             shall be revocable by the stockholder by written notice to the corporation. Any such consent shall be deemed
             revoked if:

                        (i) the corporation is unable to deliver by electronic transmission two consecutive notices given by the
                    corporation in accordance with such consent; and

                         (ii) such inability becomes known to the secretary or an assistant secretary of the corporation or to the
                    transfer agent, or other person responsible for the giving of notice.
                  However, the inadvertent failure to treat such inability as a revocation shall not invalidate any meeting or
             other action.

                    Any notice given pursuant to the preceding paragraph shall be deemed given:

                        (i) if by facsimile telecommunication, when directed to a number at which the stockholder has
                    consented to receive notice;

                        (ii) if by electronic mail, when directed to an electronic mail address at which the stockholder has
                    consented to receive notice;

                        (iii) if by a posting on an electronic network together with separate notice to the stockholder of such
                    specific posting, upon the later of (A) such posting and (B) the giving of such separate notice; and

                        (iv) if by any other form of electronic transmission, when directed to the stockholder.
                 An affidavit of the secretary or an assistant secretary or of the transfer agent or other agent of the
             corporation that the notice has been given by a form of electronic transmission shall, in the absence of fraud, be
             prima facie evidence of the facts stated therein.

                  An “ electronic transmission ” means any form of communication, not directly involving the physical
             transmission of paper, that creates a record that may be retained, retrieved, and reviewed by a recipient thereof,
             and that may be directly reproduced in paper form by such a recipient through an automated process.



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                    7.3 NOTICE TO STOCKHOLDERS SHARING AN ADDRESS
                  Except as otherwise prohibited under the DGCL, without limiting the manner by which notice otherwise may
             be given effectively to stockholders, any notice to stockholders given by the corporation under the provisions of
             the DGCL, the certificate of incorporation or these bylaws shall be effective if given by a single written notice to
             stockholders who share an address if consented to by the stockholders at that address to whom such notice is
             given. Any such consent shall be revocable by the stockholder by written notice to the corporation. Any
             stockholder who fails to object in writing to the corporation, within 60 days of having been given written notice
             by the corporation of its intention to send the single notice, shall be deemed to have consented to receiving such
             single written notice.
                    7.4 NOTICE TO PERSON WITH WHOM COMMUNICATION IS UNLAWFUL
                  Whenever notice is required to be given, under the DGCL, the certificate of incorporation or these bylaws, to
             any person with whom communication is unlawful, the giving of such notice to such person shall not be required
             and there shall be no duty to apply to any governmental authority or agency for a license or permit to give such
             notice to such person. Any action or meeting which shall be taken or held without notice to any such person with
             whom communication is unlawful shall have the same force and effect as if such notice had been duly given. In
             the event that the action taken by the corporation is such as to require the filing of a certificate under the DGCL,
             the certificate shall state, if such is the fact and if notice is required, that notice was given to all persons entitled
             to receive notice except such persons with whom communication is unlawful.
                    7.5 WAIVER OF NOTICE
                  Whenever notice is required to be given to stockholders, directors or other persons under any provision of
             the DGCL, the certificate of incorporation or these bylaws, a written waiver, signed by the person entitled to
             notice, or a waiver by electronic transmission by the person entitled to notice, whether before or after the time of
             the event for which notice is to be given, shall be deemed equivalent to notice. Attendance of a person at a
             meeting shall constitute a waiver of notice of such meeting, except when the person attends a meeting for the
             express purpose of objecting at the beginning of the meeting, to the transaction of any business because the
             meeting is not lawfully called or convened. Neither the business to be transacted at, nor the purpose of, any
             regular or special meeting of the stockholders or the board of directors, as the case may be, need be specified in
             any written waiver of notice or any waiver by electronic transmission unless so required by the certificate of
             incorporation or these bylaws.

                                                    ARTICLE VIII — INDEMNIFICATION

                    8.1 INDEMNIFICATION OF DIRECTORS AND OFFICERS IN THIRD PARTY PROCEEDINGS
                  Subject to the other provisions of this Article VIII, the corporation shall indemnify, to the fullest extent
             permitted by the DGCL, as now or hereinafter in effect, any person who was or is a party or is threatened to be
             made a party to any threatened, pending or completed action, suit or proceeding, whether civil, criminal,
             administrative or investigative (a “ Proceeding ”) (other than an action by or in the right of the corporation) by
             reason of the fact that such person is or was a director of the corporation or an officer of the corporation, or
             while a director of the corporation or officer of the corporation is or was serving at the request of the corporation
             as a director, officer, employee or agent of another corporation, partnership, joint venture, trust or other
             enterprise, against expenses (including attorneys’ fees), judgments, fines and amounts paid in settlement actually
             and reasonably incurred by such person in connection with such Proceeding if such person acted in good faith
             and in a manner such person reasonably believed to be in or not opposed to the best interests of the corporation,
             and, with respect to any criminal action or proceeding, had no reasonable cause to believe such person’s conduct
             was unlawful. The termination of any Proceeding by judgment, order, settlement, conviction, or upon a plea of
             nolo contendere or its equivalent, shall not, of itself, create a presumption that the person did not act in good
             faith and in a manner which such person reasonably believed to be in or not opposed to the best interests of the
             corporation, and, with respect to any criminal action or proceeding, had reasonable cause to believe that such
             person’s conduct was unlawful.
                8.2 INDEMNIFICATION OF DIRECTORS AND OFFICERS IN ACTIONS BY OR IN THE RIGHT OF
             THE CORPORATION
                 Subject to the other provisions of this Article VIII, the corporation shall indemnify, to the fullest extent
             permitted by the DGCL, as now or hereinafter in effect, any person who was or is a party or is threatened to be



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             made a party to any threatened, pending or completed action or suit by or in the right of the corporation to
             procure a judgment in its favor by reason of the fact that such person is or was a director or officer of the
             corporation, or while a director or officer of the corporation is or was serving at the request of the corporation as
             a director, officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise
             against expenses (including attorneys’ fees) actually and reasonably incurred by such person in connection with
             the defense or settlement of such action or suit if such person acted in good faith and in a manner such person
             reasonably believed to be in or not opposed to the best interests of the corporation; except that no indemnification
             shall be made in respect of any claim, issue or matter as to which such person shall have been adjudged to be
             liable to the corporation unless and only to the extent that the Court of Chancery or the court in which such
             action or suit was brought shall determine upon application that, despite the adjudication of liability but in view
             of all the circumstances of the case, such person is fairly and reasonably entitled to indemnity for such expenses
             which the Court of Chancery or such other court shall deem proper.
                    8.3 SUCCESSFUL DEFENSE
                  To the extent that a present or former director or officer of the corporation has been successful on the merits
             or otherwise in defense of any action, suit or proceeding described in Section 8.1 or Section 8.2, or in defense of
             any claim, issue or matter therein, such person shall be indemnified against expenses (including attorneys’ fees)
             actually and reasonably incurred by such person in connection therewith.
                    8.4 INDEMNIFICATION OF OTHERS
                  Subject to the other provisions of this Article VIII, the corporation shall have power to indemnify its
             employees and its agents to the extent not prohibited by the DGCL or other applicable law. The board of
             directors shall have the power to delegate the determination of whether employees or agents shall be indemnified
             to such person or persons as the board of determines.
                    8.5 ADVANCED PAYMENT OF EXPENSES
                  Expenses (including attorneys’ fees) incurred by an officer or director of the corporation in defending any
             Proceeding shall be paid by the corporation in advance of the final disposition of such Proceeding upon receipt of
             a written request therefor (together with documentation reasonably evidencing such expenses) and an undertaking
             by or on behalf of the person to repay such amounts if it shall ultimately be determined that the person is not
             entitled to be indemnified under this Article VIII or the DGCL. Such expenses (including attorneys’ fees)
             incurred by former directors and officers or other employees and agents may be so paid upon such terms and
             conditions, if any, as the corporation deems reasonably appropriate and shall be subject to the corporation’s
             expense guidelines. The right to advancement of expenses shall not apply to any claim for which indemnity is
             excluded pursuant to these bylaws, but shall apply to any Proceeding referenced in Section 8.6(ii) or 8.6(iii) prior
             to a determination that the person is not entitled to be indemnified by the corporation.
                    8.6 LIMITATION ON INDEMNIFICATION
                 Subject to the requirements in Section 8.3 and the DGCL, the corporation shall not be obligated to indemnify
             any person pursuant to this Article VIII in connection with any Proceeding (or any part of any Proceeding):
                         (i) for which payment has actually been made to or on behalf of such person under any statute,
                    insurance policy, indemnity provision, vote or otherwise, except with respect to any excess beyond the
                    amount paid;
                         (ii) for an accounting or disgorgement of profits pursuant to Section 16(b) of the 1934 Act, or similar
                    provisions of federal, state or local statutory law or common law, if such person is held liable therefor
                    (including pursuant to any settlement arrangements);
                         (iii) for any reimbursement of the corporation by such person of any bonus or other incentive-based or
                    equity-based compensation or of any profits realized by such person from the sale of securities of the
                    corporation, as required in each case under the 1934 Act (including any such reimbursements that arise from
                    an accounting restatement of the corporation pursuant to Section 304 of the Sarbanes-Oxley Act of 2002 (the
                    “ Sarbanes-Oxley Act ”), or the payment to the corporation of profits arising from the purchase and sale by
                    such person of securities in violation of Section 306 of the Sarbanes-Oxley Act), if such person is held liable
                    therefor (including pursuant to any settlement arrangements);



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                         (iv) initiated by such person against the corporation or its directors, officers, employees, agents or
                    other indemnitees, unless (a) the board of directors authorized the Proceeding (or the relevant part of the
                    Proceeding) prior to its initiation, (b) the corporation provides the indemnification, in its sole discretion,
                    pursuant to the powers vested in the corporation under applicable law, (c) otherwise required to be made
                    under Section 8.7 or (d) otherwise required by applicable law; or
                         (v) if prohibited by applicable law; provided, however , that if any provision or provisions of this
                    Article VIII shall be held to be invalid, illegal or unenforceable for any reason whatsoever: (1) the validity,
                    legality and enforceability of the remaining provisions of this Article VIII (including, without limitation,
                    each portion of any paragraph or clause containing any such provision held to be invalid, illegal or
                    unenforceable, that is not itself held to be invalid, illegal or unenforceable) shall not in any way be affected
                    or impaired thereby; and (2) to the fullest extent possible, the provisions of this Article VIII (including,
                    without limitation, each such portion of any paragraph or clause containing any such provision held to be
                    invalid, illegal or unenforceable) shall be construed so as to give effect to the intent manifested by the
                    provision held invalid, illegal or unenforcebable.
                    8.7 DETERMINATION; CLAIM
                  If a claim for indemnification or advancement of expenses under this Article VIII is not paid in full within
             90 days after receipt by the corporation of the written request therefor, the claimant shall be entitled to an
             adjudication by a court of competent jurisdiction of his or her entitlement to such indemnification or
             advancement of expenses. The corporation shall indemnify such person against any and all expenses that are
             incurred by such person in connection with any action for indemnification or advancement of expenses from the
             corporation under this Article VIII, to the extent such person is successful in such action, and to the extent not
             prohibited by law. In any such suit, the corporation shall, to the fullest extent not prohibited by law, have the
             burden of proving that the claimant is not entitled to the requested indemnification or advancement of expenses.
                    8.8 NON-EXCLUSIVITY OF RIGHTS
                  The indemnification and advancement of expenses provided by, or granted pursuant to, this Article VIII shall
             not be deemed exclusive of any other rights to which those seeking indemnification or advancement of expenses
             may be entitled under the certificate of incorporation or any statute, bylaw, agreement, vote of stockholders or
             disinterested directors or otherwise, both as to action in such person’s official capacity and as to action in another
             capacity while holding such office. The corporation is specifically authorized to enter into individual contracts
             with any or all of its directors, officers, employees or agents respecting indemnification and advancement of
             expenses, to the fullest extent not prohibited by the DGCL or other applicable law.
                    8.9 INSURANCE
                  The corporation may purchase and maintain insurance on behalf of any person who is or was a director,
             officer, employee or agent of the corporation, or is or was serving at the request of the corporation as a director,
             officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise against any
             liability asserted against such person and incurred by such person in any such capacity, or arising out of such
             person’s status as such, whether or not the corporation would have the power to indemnify such person against
             such liability under the provisions of the DGCL.
                    8.10 SURVIVAL
                  The rights to indemnification and advancement of expenses conferred by this Article VIII shall continue as
             to a person who has ceased to be a director, officer, employee or agent and shall inure to the benefit of the heirs,
             executors and administrators of such a person.
                    8.11 EFFECT OF REPEAL OR MODIFICATION
                 Any amendment, alteration or repeal of this Article VIII shall not adversely affect any right or protection
             hereunder of any person in respect of any act or omission occurring prior to such amendment, alteration or
             repeal.
                    8.12 CERTAIN DEFINITIONS
                 For purposes of this Article VIII, references to the “ corporation ” shall include, in addition to the resulting
             corporation, any constituent corporation (including any constituent of a constituent) absorbed in a consolidation



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             or merger which, if its separate existence had continued, would have had power and authority to indemnify its
             directors, officers, employees or agents, so that any person who is or was a director, officer, employee or agent of
             such constituent corporation, or is or was serving at the request of such constituent corporation as a director,
             officer, employee or agent of another corporation, partnership, joint venture, trust or other enterprise, shall stand
             in the same position under the provisions of this Article VIII with respect to the resulting or surviving
             corporation as such person would have with respect to such constituent corporation if its separate existence had
             continued. For purposes of this Article VIII, references to “ other enterprises ” shall include employee benefit
             plans; references to “ fines ” shall include any excise taxes assessed on a person with respect to an employee
             benefit plan; and references to “ serving at the request of the corporation ” shall include any service as a director,
             officer, employee or agent of the corporation which imposes duties on, or involves services by, such director,
             officer, employee or agent with respect to an employee benefit plan, its participants or beneficiaries; and a person
             who acted in good faith and in a manner such person reasonably believed to be in the interest of the participants
             and beneficiaries of an employee benefit plan shall be deemed to have acted in a manner “ not opposed to the best
             interests of the corporation ” as referred to in this Article VIII.

                                                   ARTICLE IX — GENERAL MATTERS
                    9.1 EXECUTION OF CORPORATE CONTRACTS AND INSTRUMENTS
                  Except as otherwise provided by law, the certificate of incorporation or these bylaws, the board of directors
             may authorize any officer or officers, or agent or agents, to enter into any contract or execute any document or
             instrument in the name of and on behalf of the corporation; such authority may be general or confined to specific
             instances. Unless so authorized or ratified by the board of directors or within the agency power of an officer, no
             officer, agent or employee shall have any power or authority to bind the corporation by any contract or
             engagement or to pledge its credit or to render it liable for any purpose or for any amount.
                    9.2 FISCAL YEAR
                  The fiscal year of the corporation shall be fixed by resolution of the board of directors and may be changed
             by the board of directors.
                    9.3 SEAL
                  The corporation may adopt a corporate seal, which shall be adopted and which may be altered by the board
             of directors. The corporation may use the corporate seal by causing it or a facsimile thereof to be impressed or
             affixed or in any other manner reproduced.
                    9.4 CONSTRUCTION; DEFINITIONS
                 Unless the context requires otherwise, the general provisions, rules of construction, and definitions in the
             DGCL shall govern the construction of these bylaws. Without limiting the generality of this provision, the
             singular number includes the plural, the plural number includes the singular, and the term “ person ” includes
             both an entity and a natural person.

                                                       ARTICLE X — AMENDMENTS
                  These bylaws may be adopted, amended or repealed by the stockholders entitled to vote; provided, however ,
             that the affirmative vote of the holders of at least 66 2/3% of the total voting power of outstanding voting
             securities, voting together as a single class, shall be required for the stockholders of the corporation to alter,
             amend or repeal, or adopt any bylaw inconsistent with, the following provisions of these bylaws: Article II,
             Sections 3.1, 3.2, 3.4 and 3.11 of Article III, Article VIII and this Article X (including, without limitation, any
             such Article or Section as renumbered as a result of any amendment, alteration, change, repeal, or adoption of
             any other Bylaw). The board of directors shall also have the power to adopt, amend or repeal bylaws; provided,
             however , that a bylaw amendment adopted by stockholders which specifies the votes that shall be necessary for
             the election of directors shall not be further amended or repealed by the board of directors.

                                                   ARTICLE XI — EXCLUSIVE FORUM
                 Unless the corporation consents in writing to the selection of an alternative forum, the sole and exclusive
             forum for (i) any derivative action or proceeding brought on behalf of the corporation, (ii) any action asserting a



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             claim for or based on a breach of a fiduciary duty owed by any current or former director or officer or other
             employee of the corporation to the corporation or the corporation’s stockholders, including a claim alleging the
             aiding and abetting of such a breach of fiduciary duty, (iii) any action asserting a claim against the corporation or
             any current or former director or officer or other employee of the corporation arising pursuant to any provision of
             the DGCL or the certificate of incorporation or these bylaws (as either may be amended from time to time),
             (iv) any action asserting a claim related to or involving the corporation that is governed by the internal affairs
             doctrine, or (v) any action asserting an “internal corporate claim” as that term is defined in Section 115 of the
             DGCL shall be a state court within the State of Delaware (or, if no state court located within the State of
             Delaware has jurisdiction, the federal district court for the District of Delaware).




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                                                                                                                       Annex H

                                                          TESLA, INC.
                                           PERFORMANCE STOCK OPTION AWARD AGREEMENT

                                               Part I . NOTICE OF STOCK OPTION GRANT

             Participant Name:     Elon Musk
             Address:              1 Rocket Rd
                                   Hawthorne, CA 90250

                  The Participant has been granted a Non-Qualified Stock Option to purchase Common Stock of Tesla, Inc.
             (the “ Company ”) pursuant to the terms and conditions of this Performance Stock Option Award Agreement (the
             “ Agreement ”), as follows. Any capitalized term that is not defined in this Part I of the Agreement titled “Notice
             of Stock Option Grant” has the meaning assigned to such term in Part II of the Agreement titled “Terms and
             Conditions of Stock Option Grant,” attached hereto as Exhibit A (the “ Terms and Conditions ”).

                    Date of Grant                                       January 21, 2018
                    Exercise Price Per Share                            $350.02
                    Total Number of Shares Granted                      20,264,042
                    Total Exercise Price                                $7,092,819,980.84
                    Type of Option                                      Non-Qualified Stock Option
                    Expiration Date                                     January 20, 2028

             I.     Vesting Requirements

                  This Option is a performance-based stock option award and, subject to Participant continuing as (a) the
             Chief Executive Officer of the Company or (b) the Executive Chairman and Chief Product Officer of the
             Company (such roles satisfying either of clauses (a) or (b), the “ Chief Company Executive ”) through each
             vesting event, shall vest and be exercisable upon the satisfaction of both Market Capitalization Milestones and
             Operational Milestones as described in more detail below.

                   As detailed in Table 1 below, the Option is divided into twelve (12) vesting tranches (each a “ Tranche ”),
             with each Tranche representing a portion of the Option covering that number of Shares specified next to the
             applicable Tranche number in Table 1 below. Each Tranche shall vest upon (a) satisfaction of the Market
             Capitalization Milestone set forth next to the applicable Tranche in Table 1 below (each, a “ Market
             Capitalization Milestone ”) and (b) the achievement of one of the Operational Milestones specified in Table 2
             below (each, an “ Operational Milestone ”), other than an Operational Milestone that counted towards the vesting
             of another Tranche, all subject to Participant continuing as the Chief Company Executive through the date the
             Administrator determines, approves and certifies that the requisite vesting conditions for the applicable Tranche
             have been satisfied (a “ Certification ”). Separate Certifications may occur on separate dates with respect to the
             achievement of each of a Market Capitalization Milestone and an Operational Milestone that are required for the
             vesting of any particular Tranche, provided that the vesting date of such Tranche will be the date on which the
             latter Certification necessary in order for the Tranche to vest is completed.
                  The Administrator shall, periodically and upon request of the Participant, assess whether the vesting
             requirements have been satisfied. The maximum term of the Option shall be ten (10) years so that absent earlier
             termination as provided herein, the Option shall expire automatically on the Expiration Date specified above
             (without regard to whether any or all of the Option vested or whether Participant exercised any vested part of the
             Option).




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             Table 1. Vesting Requirements for Performance-Based Option.

                                                                                             Vesting Requirements 1
                                    Number of
                                     Shares              Market
                    Tranche         Subject to         Capitalization
                       #             Option             Milestones 2                                    Operational Milestones 2

                       1            1,688,670    $100,000,000,000              Achievement of any 1 of the 16 milestones listed in Table 2
                       2            1,688,670    $150,000,000,000              Achievement of any 2 of the 16 milestones listed in Table 2
                       3            1,688,670    $200,000,000,000              Achievement of any 3 of the 16 milestones listed in Table 2
                       4            1,688,670    $250,000,000,000              Achievement of any 4 of the 16 milestones listed in Table 2
                       5            1,688,670    $300,000,000,000              Achievement of any 5 of the 16 milestones listed in Table 2
                       6            1,688,671    $350,000,000,000              Achievement of any 6 of the 16 milestones listed in Table 2
                       7            1,688,670    $400,000,000,000              Achievement of any 7 of the 16 milestones listed in Table 2
                       8            1,688,670    $450,000,000,000              Achievement of any 8 of the 16 milestones listed in Table 2
                       9            1,688,670    $500,000,000,000              Achievement of any 9 of the 16 milestones listed in Table 2
                      10            1,688,670    $550,000,000,000             Achievement of any 10 of the 16 milestones listed in Table 2
                      11            1,688,670    $600,000,000,000             Achievement of any 11 of the 16 milestones listed in Table 2
                      12            1,688,671    $650,000,000,000             Achievement of any 12 of the 16 milestones listed in Table 2
                     Total:        20,264,042

             Table 2. Operational Milestones.

                                                                        Operational Milestones 2

                                       Revenue-Based                                                       Adjusted EBITDA-
                                        Operational                                                        Based Operational
                                         Milestones                                                           Milestones

                                    $ 20,000,000,000                                                       $ 1,500,000,000
                                    $ 35,000,000,000                                                       $ 3,000,000,000
                                    $ 55,000,000,000                                                       $ 4,500,000,000
                                    $ 75,000,000,000                                                       $ 6,000,000,000
                                    $100,000,000,000                                                       $ 8,000,000,000
                                    $125,000,000,000                                                       $10,000,000,000
                                    $150,000,000,000                                                       $12,000,000,000
                                    $175,000,000,000                                                       $14,000,000,000



             1      Subject to other terms of this Agreement, in order for a particular Tranche to vest, both the Market
                    Capitalization Milestone set forth next to such Tranche and the required number of Operational Milestones
                    for such Tranche must be achieved. Achievement of the vesting requirements for each Tranche shall be
                    determined, approved and certified by the Administrator, in its sole, good faith discretion. Subject to any
                    applicable clawback provisions, policies or other terms herein, once a milestone is achieved, it is forever
                    deemed achieved for determining the vesting of a Tranche. For purposes of clarity, more than one Tranche
                    may vest simultaneously upon a Certification, provided that the requisite Market Capitalization Milestones
                    and Operational Milestones for each Tranche have been met. For example, assume that none of the Tranches
                    has



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                    vested, and upon a Certification, the Market Capitalization is determined to be $160,000,000,000 and at least
                    2 of the 16 Operational Milestones listed in Table 2 previously were determined to have been met. As of the
                    date of such Certification, and subject to Participant remaining the Chief Company Executive through such
                    date, both Tranches 1 and 2 will become vested.
             2      The Market Capitalization and Operational Milestones are subject to adjustment pursuant to the terms of this
                    Agreement relating to certain corporate transactions. See Section V.

             II.    Determination of Market Capitalization

                    A. Market Capitalization, Generally.
                  For purposes of this Option, “ Market Capitalization ” on a particular day (the “ Determination Date ”) refers
             to either the “Six-month Market Cap” or the “Thirty-day Market Cap,” determined in accordance with the
             following:

                    1.   A trading day refers to a day on which the primary stock exchange or national market system on which
                         the Common Stock trades ( e.g. , the Nasdaq Global Select Market) is open for trading.

                    2.   The Company’s daily market capitalization for a particular trading day is equal to the product of (a) the
                         total number of outstanding Shares as of the close of such trading day, as reported by the Company’s
                         transfer agent, and (b) the closing price per Share as of the close of such trading day, as reported by The
                         Nasdaq Stock Market (“Nasdaq”) (or other reliable source selected by the Administrator if Nasdaq is not
                         reporting a closing price for that day) (such product, the “ Daily Market Capitalization ”).

                    3.   The “ Six-month Market Cap ” is equal to (a) the sum of the Daily Market Capitalization of the
                         Company for each trading day during the six (6) calendar month period immediately prior to and
                         including the Determination Date, divided by (b) the number of trading days during such period.

                    4.   The “ Thirty-day Market Cap ” is equal to (a) the sum of the Daily Market Capitalization of the
                         Company for each trading day during the thirty (30) calendar day period immediately prior to and
                         including the Determination Date, divided by (b) the number of trading days during such period.

                  In order for the Market Capitalization Milestone set forth in Table 1 for any particular Tranche above to be
             met, both the Six-month Market Cap and the Thirty-day Market Cap must equal or exceed the value of such
             applicable Market Capitalization Milestone on any Determination Date.

             III.    Determination of Revenue and Adjusted EBITDA for Operational Milestones

                    A. Revenue

                  For purposes of this Option, “ Revenue ” on a Determination Date shall mean the Company’s total revenues,
             as reported by the Company in its financial statements on Forms 10-Q and 10-K filed with the U.S. Securities
             and Exchange Commission (“ SEC ”), for the previous four (4) consecutive fiscal quarters of the Company.3

                    B. Adjusted EBITDA
                  For purposes of this Option, “ Adjusted EBITDA ” on a Determination Date shall mean the Company’s net
             (loss) income attributable to common stockholders before interest expense, (benefit) provision for income taxes,
             depreciation and amortization, and stock based compensation, as reported by the Company in its financial
             statements on Forms 10-Q and 10-K filed with the SEC, for the previous four (4) consecutive fiscal quarters of
             the Company.4

             IV.    Vesting Determination upon Change in Control of the Company
                  Notwithstanding Sections I, II and III above, in the event of a Change in Control, for purposes of
             determining whether any Tranches vest on or after the Change in Control, the Operational Milestones shall be
             disregarded and only the Market Capitalization Milestones shall be required to be met for the vesting of
             Tranches.

             3      For the avoidance of doubt, for purposes of this Agreement, Revenue shall be such amount without
                    application of any rounding used in reporting the amount in the Company’s Form 10-Q or 10-K, as
                    applicable.



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             4      For the avoidance of doubt, for purposes of this Agreement, Adjusted EBITDA shall be such amount without
                    application of any rounding used in reporting the amount in the Company’s Form 10-Q or 10-K, as
                    applicable.
                  In the event of a Change of Control, the Six-month Market Cap and Thirty-day Market Cap shall be
             disregarded and the Market Capitalization shall equal the product of (a) the total number of outstanding Shares
             immediately prior to the effective time of such Change in Control, as reported by the Company’s transfer agent,
             and (b) the greater of the (i) most recent closing price per Share immediately prior to the effective time of such
             Change in Control, as reported by Nasdaq (or other reliable source selected by the Administrator if Nasdaq is not
             reporting a closing price for that day), or (ii) per Share price (plus the per Share value of any other consideration)
             received by the Company’s stockholders in the Change in Control.
                 To the extent that any Tranche has not vested as of immediately before the effective time of the Change in
             Control and otherwise does not vest as a result of the Change in Control, such unvested Tranche will be forfeited
             automatically as of the effective time of the Change in Control and never shall become vested.

             V.     Milestone Adjustments in the Event of Certain Corporate Transactions

                    A. Milestone Adjustments for Acquisitions
                        1.   Upon and effective as of the closing of an Acquisition with a Purchase Price greater than the
                             Transaction Value Threshold, any and all Market Capitalization Milestones that are unachieved as
                             of immediately before the closing of such Acquisition will be increased by the dollar amount equal
                             to the Purchase Price of such Acquisition.
                        2.   Upon and effective as of the closing of an Acquisition in which the Revenue of Target is greater
                             than the Revenue Threshold, any and all Revenue based Operational Milestones that are unachieved
                             as of immediately before the closing of such Acquisition will be increased by the dollar amount
                             equal to the Revenue of Target applicable to such Acquisition.
                        3.   Upon and effective as of the closing of an Acquisition in which the EBITDA of Target is greater
                             than the EBITDA Threshold, any and all Adjusted EBITDA based Operational Milestones that are
                             unachieved as of immediately before the closing of such Acquisition will be increased by the dollar
                             amount equal to the EBITDA of Target applicable to such Acquisition.

                    B. Milestone Adjustments for Spin-Offs
                        1.   Upon and effective as of the completion of a Spin-Off with a Spin-Off Value greater than the
                             Transaction Value Threshold, any and all Market Capitalization Milestones that are unachieved as
                             of immediately before the completion of such Spin-Off will be decreased by the dollar amount
                             equal to the Spin-Off Value of such Spin-Off.
                        2.   Upon and effective as of the completion of a Spin-Off in which the Revenue of Spin-Off is greater
                             than the Revenue Threshold, any and all Revenue based Operational Milestones that are unachieved
                             as of immediately before the completion of such Spin-Off will be decreased by the dollar amount
                             equal to the Revenue of Spin-Off applicable to such Spin-Off.
                        3.   Upon and effective as of the completion of a Spin-Off in which the EBITDA of Spin-Off is greater
                             than the EBITDA Threshold, any and all Adjusted EBITDA based Operational Milestones that are
                             unachieved as of immediately before the completion of such Spin-Off will be decreased by the
                             dollar amount equal to the EBITDA of Spin-Off applicable to such Spin-Off.

             VI.     Termination Period
                  If the Participant ceases to be the Chief Company Executive for any reason, the Administrator shall promptly
             assess whether any vesting requirements have been satisfied as of the Determination Date on or prior to the date
             the Participant ceases to be the Chief Company Executive, and provide Certification of the same, effective as of
             the date the Participant ceases to be the Chief Company Executive.
                  If Participant ceases to be the Chief Company Executive for any reason, any portion of this Option that has
             not vested by the date of Participant’s cessation as the Chief Company Executive will remain outstanding until
             the



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             date of such final Certification specified in the immediately preceding paragraph (but in no event later than the
             Expiration Date) solely for purposes of such final Certification, and any such portion of the Option that fails to
             vest upon such final Certification will be forfeited automatically and never shall become vested. If, upon
             Participant’s cessation as the Chief Company Executive, Participant continues as an Employee of the Company,
             and so long as Participant continues as an Employee of the Company, any vested and unexercised portion of the
             Option may be exercised until the Expiration Date of the Option.
                  If Participant ceases to be an Employee for any reason, this Option may, to the extent vested as of the date
             of Participant’s cessation as an Employee, be exercised until the one (1) year anniversary of the date of cessation
             as an Employee, but in no event later than the Expiration Date of the Option.
                  Notwithstanding the forgoing, this Option may expire other than as provided in this Section VI as provided
             in Section 7 of the Terms and Conditions.

             VII.    Holding Period

                  During Participant’s lifetime, except as permitted under a cashless exercise in accordance with Section 6(b)
             of the Terms and Conditions and to satisfy tax withholding obligations in accordance with Section 9.2 of the
             Terms and Conditions, Participant shall not sell, transfer or dispose of the Shares acquired upon exercise of the
             Option until after the five (5) year anniversary of the applicable date of exercise of such Shares; provided,
             however, the Participant may conduct transactions that involve merely a change in the form in which Participant
             owns such Shares ( e.g. , transfer Shares to an inter vivos trust for which Participant is the beneficiary during
             Participant’s lifetime), or as permitted by the Administrator consistent with the Company’s internal policies.

             VIII.   Acceptance of Option

                  By Participant’s acceptance of this Agreement either electronically through the electronic acceptance
             procedure established by the Company or through a written acceptance delivered to the Company in a form
             satisfactory to the Company, Participant agrees that this Option is granted under and governed by the terms and
             conditions of this Agreement, including the Terms and Conditions, attached hereto as Exhibit A , all of which are
             made a part of this document. Participant confirms that he has reviewed this Agreement in its entirety, has had an
             opportunity to obtain the advice of counsel prior to executing this Agreement and fully understands all provisions
             of the Agreement. Participant hereby agrees to accept as binding, conclusive and final all decisions or
             interpretations of the Administrator upon any questions relating to the Agreement. Participant further agrees to
             notify the Company upon any change in the residence address indicated above.

                                                          [ Signature page follows ]




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                  In witness whereof, Tesla, Inc. has caused this Agreement to be executed on its behalf by its duly-authorized
             officer on the day and year first indicated above.

                                                                TESLA, INC.

                                                                /s/ Deepak Ahuja
                                                                Name: Deepak Ahuja
                                                                Title: Chief Financial Officer
             Agreed and accepted:
             Participant:
             /s/ Elon Musk
             Elon Musk




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                                                                   EXHIBIT A
                                       Part II. TERMS AND CONDITIONS OF STOCK OPTION GRANT

                    1.   Definitions . As used herein, the following definitions shall apply to the following capitalized terms:
                        1.1. “Acquisition” means any merger of a corporation or other entity with or into the Company by the
                    Company of a corporation or other entity, or purchase by the Company of all or substantially all assets of a
                    corporation or other entity.
                         1.2. “Administrator” means the Board or any committee of Directors or other individuals (excluding
                    Participant) satisfying Applicable Laws appointed by the Board; provided that while Participant is a Director,
                    Participant shall recuse himself from any Board approvals relating to the administration of the Agreement or
                    this Option.
                         1.3. “Agreement” means this Performance Stock Option Agreement between the Company and
                    Participant evidencing the terms and conditions of this Option.
                         1.4. “Applicable Laws” means the legal and regulatory requirements relating to the administration of
                    equity-based awards and the related issuance of shares of common stock, including but not limited to U.S.
                    state corporate laws, U.S. federal and state securities laws, the Code, any stock exchange or quotation system
                    on which the Common Stock is listed or quoted and the laws of any non-U.S. country or jurisdiction
                    applicable to the Option.
                         1.5. “Board” means the Board of Directors of the Company.

                         1.6. “Change in Control” means the occurrence of any of the following events:
                               (a) A change in the ownership of the Company which occurs on the date that any one person, or
                         more than one person acting as a group (“Person”), acquires ownership of the stock of the Company
                         that, together with the stock held by such Person, constitutes more than fifty percent (50%) of the total
                         voting power of the stock of the Company; provided, however, that for purposes of this subsection (i),
                         the acquisition of additional stock by any one Person, who is considered to own more than fifty percent
                         (50%) of the total voting power of the stock of the Company will not be considered a Change in
                         Control. Further, if the stockholders of the Company immediately before such change in ownership
                         continue to retain immediately after the change in ownership, in substantially the same proportions as
                         their ownership of shares of the Company’s voting stock immediately prior to the change in ownership,
                         direct or indirect beneficial ownership of fifty percent (50%) or more of the total voting power of the
                         stock of the Company or of the ultimate parent entity of the Company, such event shall not be
                         considered a Change in Control under this subsection (a). For this purpose, indirect beneficial ownership
                         shall include, without limitation, an interest resulting from ownership of the voting securities of one or
                         more corporations or other business entities which own the Company, as the case may be, either directly
                         or through one or more subsidiary corporations or other business entities; or
                              (b) A change in the effective control of the Company which occurs on the date that a majority of
                         members of the Board is replaced during any twelve (12) month period by Directors whose appointment
                         or election is not endorsed by a majority of the members of the Board prior to the date of the
                         appointment or election. For purposes of this clause (b), if any Person is considered to be in effective
                         control of the Company, the acquisition of additional control of the Company by the same Person will
                         not be considered a Change in Control; or
                              (c) A change in the ownership of a substantial portion of the Company’s assets which occurs on
                         the date that any Person acquires (or has acquired during the twelve (12) month period ending on the
                         date of the most recent acquisition by such person or persons) assets from the Company that have a total
                         gross fair market value equal to or more than fifty percent (50%) of the total gross fair market value of
                         all of the assets of the Company immediately prior to such acquisition or acquisitions; provided,
                         however, that for purposes of this subsection (c), the following will not constitute a change in the
                         ownership of a substantial portion of the Company’s assets: (i) a transfer to an entity that is controlled
                         by the Company’s stockholders immediately after the transfer, or (ii) a transfer of assets by the
                         Company to: (A) a stockholder of the Company (immediately before the asset transfer) in exchange for
                         or with respect to the



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                        Company’s stock, (B) an entity, fifty percent (50%) or more of the total value or voting power of which
                        is owned, directly or indirectly, by the Company, (C) a Person, that owns, directly or indirectly,
                        fifty percent (50%) or more of the total value or voting power of all the outstanding stock of the
                        Company, or (D) an entity, at least fifty percent (50%) of the total value or voting power of which is
                        owned, directly or indirectly, by a Person described in this subsection (c)(ii)(C). For purposes of this
                        subsection (c), gross fair market value means the value of the assets of the Company, or the value of the
                        assets being disposed of, determined without regard to any liabilities associated with such assets.
                  For purposes of this Section 1.6, persons will be considered to be acting as a group if they are owners of a
             corporation that enters into a merger, consolidation, purchase or acquisition of stock, or similar business
             transaction with the Company.
                 Further and for the avoidance of doubt, a transaction will not constitute a Change in Control if: (i) its sole
             purpose is to change the jurisdiction of the Company’s incorporation, or (ii) its sole purpose is to create a holding
             company that will be owned in substantially the same proportions by the persons who held the Company’s
             securities immediately before such transaction.
                         1.7. “Code” means the Internal Revenue Code of 1986, as amended. Reference to a specific section of
                    the Code or regulation thereunder shall include such section, any valid regulation or other guidance
                    promulgated under such section, and any comparable provision of any future legislation or regulation
                    amending, supplementing or superseding such section or regulation.
                        1.8. “Common Stock” means the common stock of the Company.

                        1.9. “Company” means Tesla, Inc., a Delaware corporation, or any successor thereto.

                        1.10. “Director” means a member of the Board.
                        1.11. “Disability” means total and permanent disability as defined in Section 22(e)(3) of the Code.
                         1.12. “EBITDA of Spin-Off” means, for each Spin-Off completed during the term of the Option, the
                    cumulative adjusted EBITDA (net (loss) income attributable to common stockholders before interest
                    expense, (benefit) provision for income taxes, depreciation and amortization, and stock based compensation)
                    of the Spun-Off Entity for the four (4) consecutive fiscal quarters completed as of immediately prior to the
                    completion of such Spin-Off, but only to the extent that such cumulative value is greater than zero ($0). If
                    such Target does not have four (4) fiscal quarters of operating history, the calculation will be annualized
                    based on available quarterly financial data, as determined in good faith by the Administrator.
                         1.13. “EBITDA of Target” means, for each Acquisition completed during the term of the Option, the
                    cumulative adjusted EBITDA (net (loss) income attributable to common stockholders before interest
                    expense, (benefit) provision for income taxes, depreciation and amortization, and stock based compensation)
                    of the Target (or, to the extent applicable, any predecessor to Target) for the four (4) consecutive fiscal
                    quarters completed as of immediately prior to the closing date of such Acquisition, but only to the extent
                    that such cumulative value is greater than zero ($0). If such Target does not have four (4) fiscal quarters of
                    operating history, the calculation will be annualized based on available quarterly financial data, as
                    determined in good faith by the Administrator.
                     1.14. “EBITDA Threshold” means a dollar amount equal to one hundred million dollars
             ($100,000,000).
                         1.15. “Employee” means any person, including Officers and Directors, employed by the Company or
                    any Parent or Subsidiary of the Company. Neither service as a Director nor payment of a director’s fee by
                    the Company will be sufficient to constitute “employment” by the Company.
                        1.16. “Exchange Act” means the Securities Exchange Act of 1934, as amended.
                        1.17. “Fair Market Value” means, as of any date, the value of Common Stock determined as follows:
                             (a) If the Common Stock is listed on any established stock exchange or a national market system,
                        including without limitation the New York Stock Exchange, the Nasdaq Global Select Market, the
                        Nasdaq Global Market or the Nasdaq Capital Market of The Nasdaq Stock Market, its Fair Market
                        Value will be the closing sales price for the Common Stock (or the closing bid, if no sales were
                        reported) as quoted on



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                        such exchange or system on the day of determination (or if the day of determination is not a day on
                        which the exchange or system is not open for trading, then the last day prior thereto on which the
                        exchange or system was open for trading), as reported in The Wall Street Journal or such other source
                        as the Administrator deems reliable;

                             (b) If the Common Stock is regularly quoted by a recognized securities dealer but selling prices
                        are not reported, the Fair Market Value of a Share will be the mean between the high bid and low asked
                        prices for the Common Stock on the day of determination (or if the day of determination is not a day on
                        which the dealer is not open for trading, then the last day prior thereto on which the dealer was open for
                        trading), as reported in The Wall Street Journal or such other source as the Administrator deems
                        reliable; or
                             (c) In the absence of an established market for the Common Stock, the Fair Market Value will be
                        determined in good faith by the Administrator.
                         1.18. “Non-Qualified Stock Option” means a stock option that by its terms does not qualify or is not
                    intended to qualify as an incentive stock option within the meaning of Section 422 of the Code.
                         1.19. “Notice of Grant” means the written notice, in Part I of this Agreement titled “Notice of Stock
                    Option Grant,” evidencing certain terms and conditions of this Option. The Notice of Grant constitutes a part
                    of the Agreement.
                         1.20. “Officer” means a person who is an officer of the Company within the meaning of Section 16 of
                    the Exchange Act and the rules and regulations promulgated thereunder.
                        1.21. “Option” means this stock option to purchase Shares granted pursuant to this Agreement.

                         1.22. “Parent” means a “parent corporation,” whether now or hereafter existing, as defined in
                    Section 424(e) of the Code.

                        1.23. “Participant” means the person named as the “Participant” in the Notice of Grant.
                         1.24. “Purchase Price” means, for each Acquisition, the purchase price as determined reasonably and
                    in good faith by the Administrator, taking into account, without limitation, the value of consideration paid or
                    issued, future payments to be paid, assets acquired or liabilities discharged or assumed by the Company in
                    the Acquisition.

                         1.25. “Revenue of Spin-Off” means, for each Spin-Off completed during the term of the Option, the
                    cumulative revenue of the Spun-Off Entity for the four (4) consecutive fiscal quarters prior to the completion
                    of such Spin-Off. If such entity does not have four (4) fiscal quarters of operating history, the calculation
                    will be annualized based on available quarterly financial data, as determined in good faith by the
                    Administrator.

                         1.26. “Revenue of Target” means, for each Acquisition completed during the term of the Option, the
                    cumulative revenue of the Target (or, to the extent applicable, any predecessor to Target) for the four
                    (4) consecutive fiscal quarters as of immediately prior to the closing date of such Acquisition. If such Target
                    does not have four (4) fiscal quarters of operating history, the calculation will be annualized based on
                    available quarterly financial data, as determined in good faith by the Administrator.

                     1.27. “Revenue Threshold” means a dollar amount equal to five hundred million dollars
             ($500,000,000).

                        1.28. “Share” means a share of the Common Stock, as adjusted in accordance with Section 7 of this
                    Agreement.

                        1.29. “Spin-Off” means any split-up, spin-off or divestiture transaction by the Company.
                         1.30. “Spin-Off Value” means, for each Spin-Off, the enterprise value of the split-up, spun-off or
                    divested portion of the Company (the “ Spun-Off Entity ”), as determined reasonably and in good faith by
                    the Administrator.

                         1.31. “Subsidiary” means a “subsidiary corporation,” whether now or hereafter existing, as defined in
                    Section 424(f) of the Code.



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                         1.32. “Target” means any corporation or other entity acquired by the Company or merged with or into
                    the Company, or from which all or substantially all assets of such corporation or other entity are acquired by
                    the Company, in an Acquisition.

                          1.33. “Tax Obligations” means any tax and/or social insurance liability obligations and requirements in
                    connection with the Option, including, without limitation, (i) all federal, state, and local taxes (including
                    Participant’s Federal Insurance Contributions Act (FICA) obligation) that are required to be withheld by the
                    Company or other payment of tax-related items related to the Option and legally applicable to Participant,
                    (ii) Participant’s and, to the extent required by the Company, the Company’s fringe benefit tax liability, if
                    any, associated with the grant, vesting, or exercise of the Option or sale of Shares, and (iii) any other
                    Company taxes the responsibility for which Participant has, or has agreed to bear, with respect to the Option
                    (or exercise thereof or issuance of Shares thereunder).
                      1.34. “Transaction Value Threshold” means a dollar amount equal to one billion dollars
             ($1,000,000,000).

                  2. Grant of Option . The Company hereby grants to Participant named in the Notice of Grant the Option
             to purchase the number of Shares, as set forth in the Notice of Grant, at the Exercise Price Per Share set forth in
             the Notice of Grant (the “ Exercise Price ”), subject to all of the terms and conditions in this Agreement. Shares
             may be authorized, but unissued, or reacquired Common Stock.

                  3. Vesting Requirements . The Option awarded by this Agreement will vest in accordance with the
             vesting provisions set forth in the Notice of Grant. Shares scheduled to vest upon the occurrence of a certain
             condition will not vest in Participant in accordance with any of the provisions of this Agreement, unless
             Participant will have been continuously the Chief Company Executive from the Date of Grant set forth in the
             Notice of Grant (“ Date of Grant ”) until the date such vesting occurs.

                    4.   Exercise of Option .
                        4.1. Right to Exercise . This Option may be exercised only within the term set out in the Notice of
                    Grant, and may be exercised during such term only in accordance with the terms of this Agreement.
                         4.2. Method of Exercise . This Option is exercisable by delivery of an exercise notice, in a form
                    approved by the Administrator (the “Exercise Notice”), or in a manner and pursuant to such procedures as
                    the Administrator may determine, which will state the election to exercise the Option, the number of Shares
                    in respect of which the Option is being exercised (the “ Exercised Shares ”), and such other representations
                    and agreements as may be required by the Company pursuant to the provisions of the Agreement. The
                    Exercise Notice will be completed by Participant and delivered to the Company. The Exercise Notice will be
                    accompanied by payment of the aggregate Exercise Price as to all Exercised Shares together with any Tax
                    Obligations. This Option will be deemed to be exercised upon receipt by the Company of such fully
                    executed Exercise Notice accompanied by such aggregate Exercise Price.

                  5. Term of Option . Subject to Section 7, this Option may be exercised only within the term specified in
             the Notice of Grant, and may be exercised during such term only in accordance with the terms and conditions of
             this Agreement. In the event that the Company’s stockholders (a) do not approve the Option within twelve (12)
             months following the Date of Grant, or (b) vote upon the Option at any meeting of the Company’s stockholders
             and do not approve the Option by the requisite vote, in each case in accordance with the applicable rules of the
             Nasdaq Stock Market LLC (or other primary stock exchange or national market system on which the Common
             Stock trades), the Option automatically will be forfeited as of such date and Participant shall have no further
             rights to the Option or any Shares underlying the Option. In no event may the Option or any portion thereof be
             exercised before the Company’s stockholders approve the Option, notwithstanding any vesting of all or a portion
             of the Option prior to such stockholder approval.
                6. Method of Payment . Payment of the aggregate Exercise Price will be by any of the following, or a
             combination thereof, at the election of Participant.
                             (a) cash; or

                             (b) consideration received by the Company under a cashless exercise program, whether through a
                         broker or otherwise, implemented by the Company in connection with the Option.



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                    7.   Adjustments; Dissolution of Liquidation; Merger or Change in Control .
                         7.1.     Adjustments .
                                     7.1.1. In the event that any dividend or other distribution (whether in the form of cash,
                                Shares, other securities, or other property), recapitalization, stock split, reverse stock split,
                                reorganization, merger, consolidation, split-up, spin-off, combination, repurchase, or exchange of
                                Shares or other securities of the Company, or other change in the corporate structure of the
                                Company affecting the Shares occurs, the Administrator, in order to prevent diminution or
                                enlargement of the benefits or potential benefits intended to be made available under the Agreement
                                (and in a manner that will not provide Participant with any greater benefit or potential benefits than
                                intended to be made available under the Agreement, other than as may be necessary solely to
                                reflect changes resulting from any such aforementioned event), will adjust the number, class, and
                                exercise price of shares covered by the Option.
                                     7.1.2. It is intended that, if possible, any adjustments contemplated by this Section 7.1 be
                                made in a manner that satisfies applicable legal, tax (including, without limitation and as applicable
                                in the circumstances, Section 409A of the Code) and accounting (so as not to trigger any charge to
                                earnings with respect to such adjustment) requirements.
                        7.2. Dissolution or Liquidation . In the event of the proposed dissolution or liquidation of the
                    Company, the Administrator will notify Participant as soon as practicable prior to the effective date of such
                    proposed transaction. To the extent it has not been previously exercised, the Option will terminate
                    immediately prior to the consummation of such proposed action.
                         7.3. Merger or Change in Control . In the event of a merger or Change in Control, the Option will
                    be assumed or an equivalent option or right substituted by the successor corporation or a Parent or
                    Subsidiary of the successor corporation, provided that the Administrator may not accelerate the vesting of
                    any portion of the Option, and any portion of the Option that is unvested as of the effective time of a
                    Change in Control will terminate automatically upon such effective time. Notwithstanding anything to the
                    contrary herein, upon a Change in Control, any vested and unexercised portion of the Option will be
                    exercisable until the Expiration Date of the Option. For the purposes of this Section 7.3, the Option will be
                    considered assumed if, following the Change in Control, the Option confers the right to purchase or receive,
                    for each Share subject to the Option immediately prior to the Change in Control, the consideration (whether
                    stock, cash, or other securities or property) received in the Change in Control by holders of Common Stock
                    for each Share held on the effective date of the transaction (and if holders were offered a choice of
                    consideration, the type of consideration chosen by the holders of a majority of the outstanding Shares);
                    provided, however, that if such consideration received in the Change in Control is not solely common stock
                    of the successor corporation or its Parent, the Administrator may, with the consent of the successor
                    corporation, provide for the consideration to be received upon the exercise of the Option, for each Share
                    subject to such Award, to be solely common stock of the successor corporation or its Parent equal in fair
                    market value to the per share consideration received by holders of Common Stock in the Change in Control.
                    Notwithstanding anything in this Section 7.3 to the contrary, the Option will not be considered assumed if
                    the Company or its successor modifies any performance goals under this Agreement without the Participant’s
                    consent; provided, however, a modification to such performance goals only to reflect the successor
                    corporation’s post-Change in Control corporate structure or in accordance with Section 7.1 will not be
                    deemed to invalidate an otherwise valid Option assumption.
                 8. Leave of Absence . Unless the Administrator provides otherwise, vesting of the Option will be
             suspended during any unpaid leave of absence.
                    9.   Tax Matters .
                         9.1. Tax Obligations . Participant acknowledges that, regardless of any action taken by the Company,
                    the ultimate liability for any Tax Obligations is and remains Participant’s responsibility and may exceed the
                    amount actually withheld by the Company. Participant further acknowledges that the Company (A) makes no
                    representations or undertakings regarding the treatment of any Tax Obligations in connection with any aspect
                    of the Option, including, but not limited to, the grant, vesting or exercise of the Option, the subsequent sale
                    of Shares acquired pursuant to such exercise and the receipt of any dividends or other distributions, and
                    (B) does not commit to and is under no obligation to structure the terms of the grant or any aspect of the
                    Option



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                    to reduce or eliminate Participant’s liability for Tax Obligations or achieve any particular tax result. Further,
                    if Participant is subject to Tax Obligations in more than one jurisdiction between the Date of Grant and the
                    date of any relevant taxable or tax withholding event, as applicable, Participant acknowledges that the
                    Company may be required to withhold or account for Tax Obligations in more than one jurisdiction. If
                    Participant fails to make satisfactory arrangements for the payment of any required Tax Obligations
                    hereunder at the time of the applicable taxable event, Participant acknowledges and agrees that the Company
                    may refuse to issue or deliver the Shares.
                         9.2. Tax Withholdings . Pursuant to such procedures as the Administrator may specify from time to
                    time, the Company shall withhold the amount required to be withheld for the payment of Tax Obligations.
                    The Administrator, in its sole discretion and pursuant to such procedures as it may specify from time to time,
                    may permit Participant to satisfy such Tax Obligations, in whole or in part (without limitation), if
                    permissible by Applicable Laws, by (i) paying cash, or (ii) selling a sufficient number of such Shares
                    otherwise deliverable to Participant through such means as the Company may determine in its sole discretion
                    (whether through a broker or otherwise) equal to the minimum amount that is necessary to meet the
                    withholding requirement for such Tax Obligations (or such greater amount as Participant may elect if
                    permitted by the Administrator, if such greater amount would not result in adverse financial accounting
                    consequences).

                         9.3. Code Section 409A . Under Code Section 409A, a stock right (such as the Option) granted with
                    a per Share exercise price that is determined by the Internal Revenue Service (the “IRS”) to be less than the
                    fair market value of a Share on the date of grant (a “Discount Option”) may be considered “deferred
                    compensation” and subject the holder of the Discount Option to adverse tax consequences. Participant agrees
                    that if the IRS determines that the Option was granted with a per Share exercise price that was less than the
                    fair market value of a Share on its date of grant, Participant will be solely responsible for Participant’s costs
                    related to such a determination. In no event will the Company or any Parent or Subsidiary of the Company
                    have any liability or obligation to reimburse, indemnify, or hold harmless Participant for any taxes, interest,
                    or penalties that may be imposed, or other costs incurred, as a result of Section 409A or any state law
                    equivalent.
                         9.4. Tax Consequences . Participant has reviewed with Participant’s own tax advisors the U.S.
                    federal, state, local and non-U.S. tax consequences of this investment and the transactions contemplated by
                    this Agreement. With respect to such matters, Participant relies solely on such advisors and not on any
                    statements or representations of the Company or any of its agents, written or oral. Participant understands
                    that Participant (and not the Company) shall be responsible for Participant’s own Tax Obligations and any
                    other tax-related liabilities that may arise as a result of this investment or the transactions contemplated by
                    this Agreement.
                  10. Rights as Stockholder . Neither Participant nor any person claiming under or through Participant will
             have any of the rights or privileges of a stockholder of the Company in respect of any Shares deliverable
             hereunder unless and until certificates representing such Shares (which may be in book entry form) will have
             been issued, recorded on the records of the Company or its transfer agents or registrars, and delivered to
             Participant (including through electronic delivery to a brokerage account). After such issuance, recordation and
             delivery, Participant will have all the rights of a stockholder of the Company with respect to voting such Shares
             and receipt of dividends and distributions on such Shares.
                11. No Guarantee of Continued Service . PARTICIPANT ACKNOWLEDGES AND AGREES THAT
             THE VESTING OF SHARES PURSUANT TO THE VESTING PROVISIONS HEREOF IS EARNED ONLY BY
             (AMONG OTHER THINGS) CONTINUING AS THE CHIEF COMPANY EXECUTIVE AT THE WILL OF
             THE COMPANY AND NOT THROUGH THE ACT OF BEING HIRED, BEING GRANTED THE OPTION OR
             ACQUIRING SHARES HEREUNDER. PARTICIPANT FURTHER ACKNOWLEDGES AND AGREES THAT
             THIS AGREEMENT, THE TRANSACTIONS CONTEMPLATED HEREUNDER AND THE VESTING
             PROVISIONS SET FORTH HEREIN DO NOT CONSTITUTE AN EXPRESS OR IMPLIED PROMISE OF
             CONTINUED ENGAGEMENT AS THE CHIEF COMPANY EXECUTIVE FOR ANY PERIOD, OR AT ALL,
             AND WILL NOT INTERFERE IN ANY WAY WITH PARTICIPANT’S RIGHT OR THE RIGHT OF THE
             COMPANY (OR THE PARENT OR SUBSIDIARY EMPLOYING OR RETAINING PARTICIPANT) TO
             TERMINATE PARTICIPANT’S RELATIONSHIP AS THE CHIEF COMPANY EXECUTIVE OR AS A
             SERVICE PROVIDER OF THE COMPANY OR ANY PARENT OR SUBSIDIARY OF THE COMPANY AT
             ANY TIME, WITH OR WITHOUT CAUSE.



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                  12. Forfeiture Events . The Administrator shall require, in all appropriate circumstances, forfeiture or
             repayment with respect to this Option, where: (a) the vesting of the Option, or any portion of the Option, was
             predicated upon achieving certain financial results that subsequently were the subject of a financial restatement of
             the Company’s financial statements previously filed with the SEC (such restated financial results, the “ Restated
             Financial Results ”); and (b) a lesser portion of the Option would have vested based upon the restated financial
             results. In each such instance, (i) Participant shall forfeit the vested portion of the Option that would not have
             vested based on the Restated Financial Results (the “ Forfeited Portion ”); provided that (ii) to the extent that
             Participant has exercised any Shares subject to the Forfeited Portion (the “ Purchased Shares ”), the Purchased
             Shares shall be forfeited to the Company; and provided further, that (iii) to the extent Participant transferred or
             disposed of in any manner any Purchased Shares, Participant shall pay to the Company the gross amount of the
             proceeds resulting from the transfer or other disposition of such Purchased Shares, in a single cash lump sum no
             later than thirty (30) days following written notice by the Company. For purposes of the immediately preceding
             sentence, any forfeiture or repayment required under this Section 12 shall be net of any payments made to
             Company to exercise this Option, as applicable, and shall be satisfied (A) first via forfeiture of any vested and
             outstanding portion of the Option in accordance with clause (i) of this Section, (B) next via the forfeiture, of any
             Shares exercised under the Option Participant holds, in accordance with clause (ii) of this Section, as applicable,
             and (C) lastly by requiring repayment pursuant to clause (iii) of this Section, as applicable. Notwithstanding any
             provisions to the contrary under this Agreement, the Option shall be subject to any clawback policy of the
             Company currently in effect or that may be established and/or amended from time to time that applies to this
             Option (the “ Clawback Policy ”), provided that the Clawback Policy does not discriminate solely against
             Participant except as required by Applicable Laws, and provided further that if there is a conflict between the
             terms of this Option and the Clawback Policy, the more stringent terms, as determined by the Administrator in
             good faith, shall apply. The Administrator may require Participant to forfeit, return or reimburse the Company all
             or a portion of the Option and any amounts paid thereunder pursuant to the terms of the Clawback Policy or as
             necessary or appropriate to comply with Applicable Laws.
                 13. Address for Notices . Any notice to be given to the Company under the terms of this Agreement will
             be addressed to the Company, in care of its General Counsel at Tesla, Inc., 3500 Deer Creek Road, Palo Alto, CA
             94304, or at such other address as the Company may hereafter designate in writing.
                  14. Non-Transferability of Option . This Option may not be transferred in any manner otherwise than by
             will or by the laws of descent or distribution and may be exercised during the lifetime of Participant only by
             Participant.
                  15. Successors and Assigns . The Company may assign any of its rights under this Agreement to single
             or multiple assignees, and this Agreement shall inure to the benefit of the successors and assigns of the Company.
             Subject to the restrictions on transfer herein set forth, this Agreement shall be binding upon Participant and
             Participant’s heirs, legatees, legal representatives, executors, administrators, successors and assigns. The rights
             and obligations of Participant under this Agreement may be assigned only with the prior written consent of the
             Company.

                  16. Additional Conditions to Issuance of Stock . If at any time the Company will determine, in its
             discretion, that the listing, registration, qualification or rule compliance of the Shares upon any securities
             exchange or under any state, federal or non-U.S. law, the tax code and related regulations or under the rulings or
             regulations of the SEC or any other governmental regulatory body or the clearance, consent or approval of the
             SEC or any other governmental regulatory authority (together, the “ Issuance Requirements ”) is necessary or
             desirable as a condition to the purchase by, or issuance of Shares to, Participant (or Participant’s estate)
             hereunder, such purchase or issuance will not occur unless and until such Issuance Requirements will have been
             completed, effected or obtained free of any conditions not acceptable to the Company. Shares will not be issued
             pursuant to the exercise of the Option unless the exercise of the Option and the issuance and delivery of such
             Shares will comply with Applicable Laws and, to the extent the Company determines to be appropriate, will be
             further subject to the approval of counsel for the Company with respect to such compliance. Subject to the terms
             of the Agreement, the Company shall not be required to issue any certificate or certificates for Shares hereunder
             prior to the lapse of such reasonable period of time following the date of exercise of the Option as the
             Administrator may establish from time to time for reasons of administrative convenience. The Company will
             make all reasonable efforts to meet the Issuance Requirements. Assuming such satisfaction of the Issuance
             Requirements, for income tax purposes the Exercised Shares will be considered transferred to Participant on the
             date the Option is exercised with respect to such Exercised Shares. The inability of the Company to meet the
             Issuance Requirements deemed by the Company’s counsel to be necessary



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             or advisable for the issuance and sale of any Shares hereunder, will relieve the Company of any liability in
             respect of the failure to issue or sell such Shares as to which such Issuance Requirements will not have been met.
             As a condition to the exercise of the Option, the Company may require the person exercising the Option to
             represent and warrant at the time of any such exercise that the Shares are being purchased only for investment
             and without any present intention to sell or distribute such Shares if, in the opinion of counsel for the Company,
             such a representation is required.
                  17. Administrator Authority . The Administrator will have the power and authority to construe and
             interpret this Agreement and to adopt such rules for the administration, interpretation and application of the
             Agreement as are consistent therewith and to interpret or revoke any such rules (including, but not limited to, the
             determination of whether or not any Shares subject to the Option have vested and whether any Change in Control
             or any Acquisition has occurred). No acceleration of vesting of any portion of this Option will be permitted on a
             discretionary basis without the approval of the Company’s stockholders. All actions taken and all interpretations
             and determinations made by the Administrator in good faith will be final and binding upon Participant, the
             Company and all other interested persons. No member of the Administrator will be personally liable for any
             action, determination or interpretation made in good faith with respect to this Agreement.
                  18. Electronic Delivery . The Company may, in its sole discretion, decide to deliver any documents
             related to Options awarded under this Agreement or future options that may be awarded by the Company by
             electronic means or request Participant’s consent to participate in any equity-based compensation plan or program
             maintained by the Company by electronic means. Participant hereby consents to receive such documents by
             electronic delivery and agrees to participate in such plan or program through any on-line or electronic system
             established and maintained by the Company or another third party designated by the Company.
                  19. Captions . Captions provided herein are for convenience only and are not to serve as a basis for
             interpretation or construction of this Agreement.
                 20. Agreement Severable . In the event that any provision in this Agreement will be held invalid or
             unenforceable, such provision will be severable from, and such invalidity or unenforceability will not be
             construed to have any effect on, the remaining provisions of this Agreement.

                  21. Modifications to the Agreement . This Agreement constitutes the entire understanding of the parties
             on the subjects covered. Participant expressly warrants that he or she is not accepting this Agreement in reliance
             on any promises, representations, or inducements other than those contained herein. Modifications to this
             Agreement can be made only in an express written contract executed by a duly authorized officer of the
             Company. Notwithstanding anything to the contrary in this Agreement, the Company reserves the right to revise
             this Agreement as it deems necessary or advisable, in its sole discretion and without the consent of Participant, to
             comply with Code Section 409A or otherwise to avoid imposition of any additional tax or income recognition
             under Code Section 409A in connection with this Option.

                  22. No Waiver . Either party’s failure to enforce any provision or provisions of this Agreement shall not
             in any way be construed as a waiver of any such provision or provisions, nor prevent that party from thereafter
             enforcing each and every other provision of this Agreement. The rights granted both parties herein are cumulative
             and shall not constitute a waiver of either party’s right to assert all other legal remedies available to it under the
             circumstances.
                  23. No Advice Regarding Grant . The Company is not providing any tax, legal or financial advice, nor is
             the Company making any recommendations regarding this Agreement, or Participant’s acquisition or sale of the
             underlying Shares. Participant is hereby advised to consult with Participant’s own tax, legal and financial advisors
             regarding this Agreement before taking any action related to this Agreement.
                  24. Governing Law and Venue . This Agreement will be governed by the laws of the State of California,
             without giving effect to the conflict of law principles thereof. For purposes of litigating any dispute that arises
             under this Option or this Agreement, the parties hereby submit to and consent to the jurisdiction of the State of
             California, and agree that such litigation will be conducted in the courts of Santa Clara County, California, or the
             federal courts for the United States for the Northern District of California, and no other courts, where this Option
             is made and/or to be performed.



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                                                                                                                      ANNEX I

                                    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

             RICHARD J. TORNETTA, Individually            )
             and on Behalf of All Others Similarly        )
             Situated and Derivatively on Behalf of       )
             Nominal Defendant TESLA, INC.,               )
                                                          )
                             Plaintiff,                   )
                                                          )
                     v.                                   )   C.A. No. 2018-0408-KSJM
                                                          )
             ELON MUSK, ROBYN M. DENHOLM,                 )
             ANTONIO J. GRACIAS, JAMES                    )
             MURDOCH, LINDA JOHNSON RICE,                 )
             BRAD W. BUSS, and IRA                        )
             EHRENPREIS,                                  )
                                                          )
                             Defendants, and              )
                                                          )
             TESLA, INC., a Delaware Corporation,         )
                                                          )
                             Nominal Defendant.           )

                                                          POST-TRIAL OPINION
                                                      Date Submitted: April 25, 2023
                                                      Date Decided: January 30, 2024

             Gregory V. Varallo, Glenn R. McGillivray, BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP,
             Wilmington, Delaware; Jeroen van Kwawegen, Margaret Sanborn-Lowing, BERNSTEIN LITOWITZ BERGER &
             GROSSMANN LLP, New York, New York; Peter B. Andrews, Craig J. Springer, David M. Sborz, Andrew J.
             Peach, Jackson E. Warren, ANDREWS & SPRINGER LLC, Wilmington, Delaware; Jeremy S. Friedman, Spencer
             M. Oster, David F.E. Tejtel, FRIEDMAN OSTER & TEJTEL PLLC; Bedford Hills, New York; Counsel for
             Plaintiff Richard J. Tornetta .

             David E. Ross, Garrett B. Moritz, Thomas C. Mandracchia, ROSS ARONSTAM & MORITZ LLP, Wilmington,
             Delaware; Evan R. Chesler, Daniel Slifkin, Vanessa A. Lavely, CRAVATH, SWAINE & MOORE LLP, New York,
             New York; Counsel for Defendants Elon Musk, Robyn M. Denholm, Antonio J. Gracias, James Murdoch, Linda
             Johnson Rice, Brad W. Buss, and Ira Ehrenpreis .

             Catherine A. Gaul, Randall J. Teti, ASHBY & GEDDES, P.A., Wilmington, Delaware; Counsel for Nominal
             Defendant Tesla, Inc.

             McCORMICK, C.
                  Was the richest person in the world overpaid? The stockholder plaintiff in this derivative lawsuit says so. He
             claims that Tesla, Inc.’s directors breached their fiduciary duties by awarding Elon Musk a performance-based
             equity-compensation plan. The plan offers Musk the opportunity to secure 12 total tranches of options, each
             representing 1% of Tesla’s total outstanding shares as of January 21, 2018. For a tranche to vest, Tesla’s market
             capitalization must increase by $50 billion and Tesla must achieve either an adjusted EBITDA target or a revenue
             target in four consecutive fiscal quarters. With a $55.8 billion maximum value and $2.6 billion grant date fair
             value, the plan is the largest potential compensation opportunity ever observed in public markets by multiple
             orders of magnitude— 250 times larger than the contemporaneous median peer compensation plan and over 33
             times larger than the plan’s



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             closest comparison, which was Musk’s prior compensation plan. This post-trial decision enters judgment for the
             plaintiff, finding that the compensation plan is subject to review under the entire fairness standard, the defendants
             bore the burden of proving that the compensation plan was fair, and they failed to meet their burden.
                  A board of director’s decision on how much to pay a company’s chief executive officer is the quintessential
             business determination subject to great judicial deference. But Delaware law recognizes unique risks inherent in a
             corporation’s transactions with its controlling stockholder. Given those risks, under Delaware law,
             the presumptive standard of review for conflicted-controller transactions is entire fairness. To invoke the entire
             fairness standard, the plaintiff argues that Musk’s compensation plan was a conflicted-controller transaction. The
             plaintiff thus forces the question: Does Musk control Tesla?
                   Delaware courts have been presented with this question thrice before, when more adroit judges found ways
             to avoid definitively resolving it. 1 This decision dares to “boldly go where no man has gone before,” 2 or at least
             where no Delaware court has tread. The collection of features characterizing Musk’s relationship with Tesla and
             its directors gave him enormous influence over Tesla. In addition to his 21.9% equity stake, Musk was the
             paradigmatic “Superstar CEO,” 3 who held some of the most influential corporate positions (CEO, Chair, and
             founder), enjoyed thick ties with the directors tasked with negotiating on behalf of Tesla, and dominated the
             process that led to board approval of his compensation plan. At least as to this transaction, Musk controlled
             Tesla.
                  The primary consequence of this finding is that the defendants bore the burden of proving at trial that the
             compensation plan was entirely fair. Delaware law allows defendants to shift the burden of proof under the entire
             fairness standard where the transaction was approved by a fully informed vote of the majority of the minority
             stockholders. And here, Tesla conditioned the compensation plan on a majority-of-the-minority vote. But the
             defendants were unable to prove that the stockholder vote was fully informed because the proxy statement
             inaccurately described key directors as independent and misleadingly omitted details about the process.
                  The defendants were thus left with the unenviable task of proving the fairness of the largest potential
             compensation plan in the history of public markets. If any set of attorneys could have achieved victory in these
             unlikely circumstances, it was the talented defense attorneys here. But the task proved too tall an order.
                   The concept of fairness calls for a holistic analysis that takes into consideration two basic issues: process
             and price. The process leading to the approval of Musk’s compensation plan was deeply flawed. Musk had
             extensive ties with the persons tasked with negotiating on Tesla’s behalf. He had a 15-year relationship with the
             compensation committee chair, Ira Ehrenpreis. The other compensation committee member placed on the working
             group, Antonio Gracias, had business relationships with Musk dating back over 20 years, as well as the sort of
             personal relationship that had him vacationing with Musk’s family on a regular basis. The working group
             included management members who were beholden to Musk, such as General Counsel Todd Maron who was
             Musk’s former divorce attorney and whose admiration for Musk moved him to tears during his deposition. In
             fact, Maron was a primary go-between Musk and the committee, and it is unclear on whose side Maron viewed
             himself. Yet many of the documents cited by the defendants as proof of a fair process were drafted by Maron.
                  Given the collection of people tasked with negotiating on Tesla’s behalf, it is unsurprising that there was no
             meaningful negotiation over any of the terms of the plan. Ehrenpreis testified that he did not view the negotiation
             as an adversarial process. He said: “We were not on different sides of things.” Maron explained that he viewed
             the process as “cooperative” with Musk. Gracias admitted that there was no “positional negotiation.” This
             testimony came as close to admitting a controlled mindset as it gets. And consistent with this specific-to-Musk
             approach, the committee avoided using objective benchmarking data that would have revealed the unprecedented
             nature of the compensation plan.
                  In credit to these witnesses, their testimony was truthful. They did not take a position “on the other side” of
             Musk. It was a cooperative venture. There were no positional negotiations. Musk proposed a grant size and
             structure,

             1
               In re Tesla Motors, Inc. S’holder Litig. , 2018 WL 1560293 (Del. Ch. Mar. 28, 2018) [hereinafter “ SolarCity I
             ”]; In re Tesla Motors, Inc. S’holder Litig. , 2022 WL 1237185 (Del. Ch. Apr. 27, 2022) [hereinafter “ SolarCity
             II ”], aff’d , 298 A.3d 667 (Del. 2023) [hereinafter “ SolarCity III ”].
             2
                 Star Trek: The Original Series (Paramount Pictures 1968).
             3
               Assaf Hamdani & Kobi Kastiel, Superstar CEOs and Corporate Law , 100 Wash. U. L. Rev. 1353 (2023)
             [hereinafter “ Superstar CEOs ”].



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             and that proposal supplied the terms considered by the compensation committee and the board until Musk
             unilaterally lowered his ask six months later. Musk did not seem to care much about the other details. They got
             ironed out.
                  In this litigation, the defendants touted as concessions certain features of the compensation p l a n — a five-year
             holding period, an M&A adjustment, and a 12-tranche structure that required Tesla to increase market
             capitalization by $100 billion more than Musk had initially proposed to maximize compensation under the plan.
             But the holding period was adopted in part to increase the discount on the publicly disclosed grant price,
             the M&A adjustment was industry standard, and the 12-tranche structure was reached in an effort to translate
             Musk’s fully-diluted-share proposal to the board’s preferred total-outstanding-shares metric. It is not accurate to
             refer to these terms as concessions.
                  The defendants also point to the duration of the process (nine months) and the number of board and
             committee meetings (ten) as evidence that the process was thorough and extensive. The defendants’ statistics,
             however, elide the lack of substantive work. Time spent only matters when well spent. Plus, most of the work on
             the compensation plan occurred during small segments of those nine months and under significant time pressure
             imposed by Musk. Musk dictated the timing of the process, making last-minute changes to the timeline or
             altering substantive terms immediately prior to six out of the ten board or compensation committee meetings
             during which the plan was discussed.
                  And that is just the process. The price was no better. In defense of the historically unprecedented
             compensation plan, the defendants urged the court to compare what Tesla “gave” against what Tesla “got.” This
             structure set up the defendants’ argument that the compensation plan was “all upside” for the stockholders. The
             defendants asserted that the board’s primary objective with the compensation plan was to position Tesla to
             achieve transformative growth, and that Tesla accomplished this by securing Musk’s continued leadership. The
             defendants offered Musk an opportunity to increase his Tesla ownership by about 6% (from about 21.9% to at
             most 28.3%) if, and only if, he increased Tesla’s market capitalization from approximately $50 billion to
             $650 billion, while also hitting the operational milestones tied to Tesla’s top-line (revenue) or bottom-line
             (adjusted EBITDA) growth. According to the defendants, the deal was “6% for $600 billion of growth in
             stockholder value.”
                  At a high level, the “6% for $600 billion” argument has a lot of appeal. But that appeal quickly fades when
             one remembers that Musk owned 21.9% of Tesla when the board approved his compensation plan. This
             ownership stake gave him every incentive to push Tesla to levels of transformative growth—Musk stood to gain
             over $10 billion for every $50 billion in market capitalization increase. Musk had no intention of leaving Tesla,
             and he made that clear at the outset of the process and throughout this litigation. Moreover, the compensation
             plan was not conditioned on Musk devoting any set amount of time to Tesla because the board never proposed
             such a term. Swept up by the rhetoric of “all upside,” or perhaps starry eyed by Musk’s superstar appeal, the
             board never asked the $55.8 billion question: Was the plan even necessary for Tesla to retain Musk and achieve
             its goals?

                  This question looms large in the price analysis, making each of the defendants’ efforts to prove fair price
             seem trivial. The defendants proved that Musk was uniquely motivated by ambitious goals and that Tesla
             desperately needed Musk to succeed in its next stage of development, but these facts do not justify the largest
             compensation plan in the history of public markets. The defendants argued the milestones that Musk had to meet
             to receive equity under the package were ambitious and difficult to achieve, but they failed to prove this point.
             The defendants maintained that the plan is an exceptional deal when compared to private equity compensation
             plans, but they did not explain why anyone would compare a public company’s compensation plan with a private-
             equity compensation plan. The defendants insisted that the plan worked in that it delivered to stockholders all that
             was promised, but they made no effort to prove causation. They also made no effort to explain the rationale
             behind giving Musk 1% per tranche, as opposed to some lesser portion of the increased value. None of these
             arguments add up to a fair price.
                  In the final analysis, Musk launched a self-driving process, recalibrating the speed and direction along the
             way as he saw fit. The process arrived at an unfair price. And through this litigation, the plaintiff requests a
             recall.

                  The plaintiff asks the court to rescind Musk’s compensation plan. The plaintiff’s lead argument is that the
             court must rescind the compensation plan due to disclosure deficiencies because the plan was conditioned on
             stockholder approval. This argument, although elegant in its simplicity, is overly rigid and wrong. The plaintiff
             offers no legal authority for why rescission must automatically follow from an uninformed vote. Generally, a
             court of equity enjoys broad discretion in fashioning remedies for fiduciary breach, and that general principle
             applies here.



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                  Although rescission does not automatically result from the disclosure deficiencies, it is nevertheless an
             available remedy. The Delaware Supreme Court has referred to recission as the “preferrable” ​ ( but not t h e
             exclusive) 4 remedy for breaches of fiduciary duty when rescission can restore the parties to the position they
             occupied before the challenged transaction. Rescission can achieve that result in this case, where no third-party
             interests are implicated, and the entire compensation plan sits unexercised and undisturbed. In these
             circumstances, the preferred remedy is the best one. The plaintiff is entitled to rescission.
             I.         FACTUAL BACKGROUND

                      Trial took place over five days. The record comprises 1,704 trial exhibits, live testimony from nine fact and
                 four expert witnesses, video testimony from three fact witnesses, deposition testimony from 23 fact and five
                 expert witnesses, and 255 stipulations of fact. These are the facts as the court finds them after trial. 5
                       A.       Tesla And Its Visionary Leader

                  Tesla is a vertically integrated clean-energy company. 6 Tesla and its employees “design, develop,
             manufacture, sell and lease high-performance fully electric vehicles and energy generation and storage systems.”
             7
               As of December 31, 2021, Tesla and its subsidiaries had nearly 100,000 full-time employees worldwide, 8 and
             its market capitalization was over $1 trillion. 9

                  Tesla’s success came relatively recently and, by all accounts, was made possible by Musk. In 2004, Musk led
             Tesla’s Series A financing round, investing $6.5 million. 10 He would invest considerably more before the
             company went public, take on the role of chairman of Tesla’s Board of Directors (the “Board”) (from April 2004
             to November 2018), and, ultimately, become Tesla’s CEO (since October 2008). 11 Musk possesses the ability to
             “dr[aw] others into his vision of the possible” and “inspir[e] . . . his workers to achieve the improbable.” 12 And
             although Musk was not at the helm of Tesla at its inception, he became the driving visionary responsible for
             Tesla’s growth. He earned the title “founder.” 13




             4
               Lynch v. Vickers Energy Corp. , 429 A.2d 497, 501 (Del. 1981) (describing rescission as the “preferrable”
             remedy), overruled in part by Weinberger v. UOP, Inc. , 457 A.2d 701, 703−04 (Del. 1983) (“We therefore
             overrule [ Vickers ] to the extent that it purports to limit a stockholder’s monetary relief to a specific damage
             formula.”).
             5
               This decision cites to: C.A. No. 2018-0408-KSJM docket entries (by docket “Dkt.” number); trial exhibits (by
             “JX” number); trial demonstratives (by “PDX” and “DDX” number); the trial transcript, Dkts. 245−49 (“Trial
             Tr.”); and stipulated facts set forth in the Parties’ Stipulation and Pre-Trial Order, Dkt. 243 (“PTO”). The
             witnesses in order of appearance were: Ira Ehrenpreis, Todd Maron, Robyn M. Denholm (remotely), Deepak
             Ahuja, Phoung Phillips (through deposition clips), Elon Musk, Antonio J. Gracias, James Murdoch, Andrew
             Restaino, Brian Dunn, Jon Burg (through deposition clips), Kimbal Musk (through deposition clips), Jonathan
             Chang (through deposition clips), Paul Gompers, Kevin Murphy, Brad W. Buss, and Thomas Brown. The
             transcripts of the witnesses’ respective depositions are cited using the witnesses’ last names and “Dep. Tr.”
             6
                  PTO ¶ 26.
             7
                  JX-1440 at 5; PTO ¶ 29.
             8
                  JX-1440 at 14.
             9
              JX-1510 at 5. As of the start of trial in November 2022, it was $618 billion. JX-1510 at 1. After trial, Tesla’s
             market capitalization dropped to approximately $380 billion. See Dkt. 263 (“Defs.’ Post-Trial Opening Br.”) at
             9–10.
             10
                  JX-1386 (“Murphy Opening Expert Rep.”) at 11 (giving background on Tesla’s early years).
             11
                  Id. at 11−12; PTO ¶¶ 44−45.
             12
                Richard Waters, Elon Musk, billionaire tech idealist and space entrepreneur , Fin. Times (Sept. 30, 2016),
             https:// www.ft.com/content/8ca82034-86d0-11e6-bcfc-debbef66f80e.
             13
                See, e.g. , Trial Tr. at 729:19–730:3 (Gracias) (describing Musk as a “founder CEO” and the “strategic
             visionary” of Tesla).



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                               1.     The Master Plan
                   At the time of Musk’s initial investment, Tesla was a small-scale startup producing small quantities of a
             single vehicle: the Tesla “Roadster,” a high-end, battery-powered sports car. 14 By 2006, however, Tesla had
             broadened its goals. That year, then-chairman Musk published on Tesla’s blog “The Secret Tesla Motors Master
             Plan” 15 (a.k.a., the “Master Plan”), which provided a roadmap for Tesla’s future. Distilled, Musk’s vision was to
             start by building the Roadster sports car, to use “that money to build an affordable car,” to use “that money to
             build an even more affordable car,” and to “provide zero emission electric power generation options” while
             accomplishing these production milestones. 16 The plan advanced what Musk described as Tesla’s “overarching
             purpose”—to move toward a sustainable energy economy, or, as he wrote at the time, to “expedite the move from
             a mine-and-burn hydrocarbon economy towards a solar electric economy.” 17
                  The Master Plan was bold. Although it might seem difficult to believe now, back then, the market for
             electric vehicles was unproven. Electric-vehicle technology was “described as impossible.” 18 Even traditional
             automotive startups faced an “incredibly challenging” environment in which many failed. 19 In fact, no new
             domestic car company since Chrysler in the 1920s had achieved financial success. 20
             Given the risks, Musk himself viewed the probability of Tesla completing the Master Plan as “extremely
             unlikely.” 21
                   To even Musk’s surprise, the Master Plan came to fruition. In abbreviated form, the events played out like
             this: In 2006, Tesla announced that it would begin to sell the Signature 100 Roadster for approximately $100,000.
             22
                By August 2007, Tesla had pre-sold 570 Roadsters, 23 which became available in 2008, 24 the same year that
             Musk became Tesla’s CEO. 25 Tesla went public in January 2010, raising $226.1 million. 26 In June 2012, Tesla
             launched the Model S, delivering 2,650 vehicles by year’s end. 27 Model S sales increased to approximately
             22,000 in 2013, 32,000 in 2014, and 50,000 in 2015. 28 Over this period, Tesla developed stationary energy
             storage products for commercial and residential use, which it began selling in 2013. 29 In 2014, Tesla announced
             its intent to build its first battery “Gigafactory” and work with suppliers to integrate battery precursor material. 30
             The factory went live in 2015. 31 In September 2015, Tesla launched the Model X, a midsize SUV crossover. 32

             14
                  Murphy Opening Expert Rep. at 11−12.
             15
                  JX-48. Musk wrote this document. PTO ¶ 47.
             16
                  JX-48 at 4 (emphasis omitted).
             17
                  Id. at 1.
             18
                  Trial Tr. at 15:21−16:18 (Ehrenpreis).
             19
                  Id.
             20
                  Id.
             21
                  Id. at 567:20−23 (Musk).
             22
               See Murphy Opening Expert Rep. at 12 (citing Google, Paypal founders fund battery-electric sports car , The
             Globe and Mail (July 21, 2006), https://www.theglobeandmail.com/report-on-business/google-paypal-founders-
             fund-battery-electric-sports-car/article18168182/).
             23
                  Id. (citing Tesla all-electric Roadster to hit road by year end , Reuters News (August 7, 2007)).
             24
                  PTO ¶ 31; Murphy Opening Expert Rep. at 12.
             25
                  PTO ¶ 45.
             26
                  Murphy Opening Expert Rep. at 13.
             27
                  Id. at 14.
             28
                  Id.
             29
                  JX-178 at 8 (2/26/14 Form 10-K).
             30
                  Id. at 13−14.
             31
                  JX-248 at 5 (2/24/16 Form 10-K).
             32
                  PTO ¶ 35; see also JX-248 at 4.


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                               2.     The Master Plan, Part Deux

                  By 2016, Tesla had reached the final phase of the Master Plan, 33 and Musk began contemplating the next
             chapter of Tesla’s development. In July 2016, he published a new strategic document: “Master Plan, Part Deux”
             (a.k.a., “Part Deux”). 34

                  That year, Tesla unveiled a long-range, compact sedan called the “Model 3.” 35 Tesla projected that it would
             begin mass production of the Model 3 in 2017. That endeavor proved the crucible for Tesla. As the company
             disclosed on March 1, 2017: “Future business depends in large part on our ability to execute on our plans to
             develop, manufacture, market and sell the Model 3 vehicle . . . .” 36 Tesla announced another ambitious deadline,
             stating that its goal was “to achieve volume production and deliveries of this vehicle in the second half of 2017.”
             37


                  No one thought Tesla could mass produce the Model 3. 38 Musk stated in Part Deux that, “[a]s of 2016, the
             number of American car companies that haven’t gone bankrupt is a grand total of two: Ford and Tesla.” 39 Tesla
             had come close to bankruptcy in its early years. 40 And as of March 2017, approximately 20% of Tesla’s total
             outstanding shares were sold short, making it the most shorted company in U.S. capital markets at that time. 41
             Everyone was betting against Tesla and the man at its helm.

                               3.     Musk’s Backstory And Motivations

                   Musk is no stranger to a challenge, having led the life of a serial entrepreneur. 42 He and his brother, Kimbal
             Musk, 43 launched Musk’s first start-up in 1995. 44 Musk later co-founded an electronic payment system called
             X.com, which would be acquired and renamed PayPal. 45 He also founded: in 2002, a rocket
             development and launch company, Space Exploration Technologies Corporation (“SpaceX”); 46 in 2015, an
             artificial intelligence research organization, OpenAI Inc.; 47 in 2016, a neurotechnology company, Neuralink
             Corp.; 48 and, in 2017, a private tunnel-boring company, The Boring Company. 49


             33
                  See JX-335 at 4−5 (3/1/17 Form 10-K).
             34
                  JX-274.
             35
                  JX-335 at 4.
             36
                  Id. at 17.
             37
                  Id.
             38
               Trial Tr. at 450:17–21 (Ahuja); see, e.g. , JX-329 at 1 (2/23/17 Morgan Stanley report dated February 23, 2017,
             expecting “no more than a small/modest amount of customer deliveries” in 2018).
             39
                  JX-274 at 1.
             40
                  Trial Tr. at 17:2−6 (Ehrenpreis).
             41
                  See JX-995.
             42
               See Murphy Opening Expert Rep. at 10−11, 112; see also Trial Tr. at 495:23−496:11 (Ahuja) (“Elon is a
             unique individual who is extremely motivated by super-difficult challenges. . . . [V]ery few people in this world
             can accept . . . the risk level[] that Elon can.”).
             43
                This decision refers to Kimbal Musk as “Kimbal” solely to distinguish him from his brother. No disrespect is
             intended.
             44
                  PTO ¶ 49.
             45
                  Id. ¶¶ 50–52.
             46
                  Id. ¶¶ 53−55, 62.
             47
                  Id. ¶ 61; Trial Tr. at 21:2−5 (Ehrenpreis).
             48
                  PTO ¶ 59; JX-350; Trial Tr. at 21:6−7 (Ehrenpreis).
             49
                  PTO ¶ 57; Trial Tr. at 21:8−10 (Ehrenpreis).


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                 In 2017 through 2018, in addition to his positions at Tesla, Musk was the CEO, CTO, and board chairman of
             SpaceX and the board co-chair of OpenAI. 50 Musk divided most of his time between SpaceX and Tesla as of
             June 2017, 51 but he increased the amount of time he spent at Tesla by the end of 2017. 52

                  Musk is motivated by ambitious goals, the loftiest of which is to save humanity. Musk fears that artificial
             intelligence could either reduce humanity to “the equivalent of a house cat” 53 or wipe out the human race
             entirely. 54 Musk views space colonization as a means to save humanity from this existential threat. 55 Musk seeks
             to make life “multiplanetary” by colonizing Mars. 56 Reasonable minds can debate the virtues and consequences
             of longtermist beliefs like those held by Musk, but they are not on trial. 57 What is relevant here is that Musk
             genuinely holds those beliefs.

                  Colonizing Mars is an expensive endeavor. 58 Musk believes he has a moral obligation to direct his wealth
             toward that goal, 59 and Musk views his compensation from Tesla as a means of bankrolling that mission. 60
             Musk sees working at Tesla as worthy of his time only if that work generates “additional economic resources . . .
             that could . . . be applied to making life multi-planetary.” 61

             50
                  PTO ¶ 62.
             51
                Trial Tr. at 568:16−569:9, 661:7−15 (Musk); JX-408 at 13. In 2017, Musk typically spent Monday and
             Thursday at SpaceX, and Tuesday, Wednesday, and Friday at Tesla, with additional work for Tesla interspersed
             throughout the week. Trial Tr. at 661:7−15 (Musk); JX-1256 at 34 (“Mr. Musk estimates he split the bulk (at least
             90%) of his work hours, approximately 80 to 90 hours per week, between Tesla and SpaceX, with an allocation
             of 60% to Tesla and 40% to SpaceX. He allocated his remaining work hours (8−9 hours per week) between
             Neuralink, The Boring Company and Open AI.”).
             52
               Trial Tr. at 569:10−18 (Musk) (testifying that “later in 2017, when things got very difficult for Tesla, [his] time
             was almost 100 percent Tesla”).
             53
                  Musk Dep. Tr. at 110:5−111:3.
             54
                  Id. at 108:20−110:4.
             55
                See id. at 117:10−16 (stating the mission of SpaceX is “[t]o extend the light of consciousness beyond Earth in
             a sustained, permanent manner” by “becoming multiplanetary”); Trial Tr. at 647:10−20 (Musk) (confirming
             SpaceX’s mission).
             56
                  Trial Tr. at 647:10−20 (Musk).
             57
               Compare William MacAskill, What We Owe The Future (2022), with The Good It Promises, the Harm It Does:
             Critical Essays on Effective Altruism (Carol J. Adams, Alice Crary, and Lori Gruen eds., 2023) .
             58
                  The court takes judicial notice of this fact.
             59
               Musk does not dally in the conventional amenities of ordinary billionaires. For example, he owns only one
             home. Musk Dep. Tr. at 118:14−21 (“I tried to put it on Airbnb, but they banned Airbnb in Hillsborough. They’re
             so uptight.”).
             60
                Trial Tr. at 77:9−15 (Ehrenpreis) (“Q. Fair for me to understand that your takeaway from speaking with
             Mr. Musk about this compensation plan was that he never wavered on his love for Tesla, that he was trying to
             determine whether he could achieve his big aspirations to colonize Mars through Tesla; right? A. Correct.”); id. at
             367:9−18 (Denholm) (“Q. And I think you testified, and I just want to make sure it’s clear, that one of the things
             that Mr. Musk told you was that he had a quest to put a mission on Mars and where he spent his time and energy
             needed to help him generate capital to fulfill that quest to put a mission on Mars; right? A. Yes. I mean,
             something like that is what I said before. I was talking about — I mentioned interplanetary travel, but in the
             conversation he did mention Mars.”); id. at 420:8−12 (Maron) (affirming that “Elon wanted this new stock grant
             to make humans an interplanetary species and to colonize Mars”); id. at 666:22−667:10 (Musk) (“Q. What you
             did was you told Robyn and Ira that the benefit you saw in working hard at Tesla to achieve the plan was that
             you would have money to go to Mars. Fair to say? A. Well, not me. To get humanity to Mars. Q. That there
             would be funds available to pursue your long-term goal of making life interplanetary? A. Yes. Q. Saving the
             world? A. Well, saving civili — consciousness, yes.”).
             61
               Id. at 665:2−667:10 (Musk); see also Musk Dep. Tr. at 115:24−117:16, 163:14−165:5 (discussing space
             colonization plans and tradeoffs of spending time on Tesla).



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                        B.     Musk’s Prior Compensation Plans

                  Prior to the challenged transaction, Musk received two compensation plans from Tesla—one in 2009 and one
             in 2012. Both were equity linked. The first included a performance-based component. The second was entirely
             performance based.

                               1.      The 2009 Grant

                  On December 4, 2009, the Board approved Musk’s first compensation plan (the “2009 Grant”). 62 The 2009
             Grant comprised two parts, each of which offered Musk stock options to purchase 4% of Tesla’s fully diluted
             shares as measured at the grant date. 63

                  The first part of the 2009 Grant vested automatically in tranches, with 1/4th vesting immediately and 1/48th
             vesting each month over the following three years, assuming that Musk continued to work at Tesla. 64

                  The second part of the 2009 Grant was performance based, offering Musk an additional 4% of Tesla’s fully
             diluted shares prior to the grant date for achieving each of the following: “successful completion of the Model S
             Engineering Prototype”;

             “successful completion of the Model S Vehicle Prototype”; “completion of the first Model S Production Vehicle”;
             and “completion of the 10,000th Model S Production Vehicle.” 65 The 2009 Grant required that Musk meet these
             milestones within four years; otherwise, he forfeited his right to the unvested portions. 66

                 Tesla began delivering its next electric car model, the Model S, in June 2012 and Musk achieved all the
             2009 Grant’s performance milestones by December 31, 2013. 67

                                  2.    The 2012 Grant

                  Before the 2009 Grant milestones had been achieved, on August 1, 2012, the Board approved a second
             compensation plan for Musk (the “2012 Grant”). 68 The 2012 Grant involved ten tranches, each offering options
             representing 0.5% of Tesla’s outstanding common stock as of August 2012. 69

                  For a tranche to vest, Tesla would have to achieve both a market capitalization milestone and an operational
             milestone. 70 Each tranche required Musk to increase Tesla’s market capitalization by $4 billion—an increment
             greater than Tesla’s $3.2 billion market capitalization 18 trading days before the Board approved the 2012 Grant.
             71
                The operational milestones required Tesla to accomplish specified product-related goals, such as developing
             and launching the Model X and the Model 3, and reaching aggregate production of 300,000 vehicles. 72 The
             milestones worked in tandem. For example, one tranche would vest if Tesla achieved one of the operational
             milestones and a



             62
                  JX-68 at 2−3 (1/29/10 Form S-1 (Excerpt)).
             63
                  Id.
             64
                  Id. (stating “1/48th of the shares [are] scheduled to vest each month over the subsequent three years”).
             65
                  Id. at 3.
             66
                  Id.
             67
                  PTO ¶¶ 32, 191; JX-178 at 114.
             68
                  PTO ¶ 192; JX-135 at 77 (8/2/12 Form 10-Q for Q2).
             69
                  JX-135 at 77.
             70
                  Id.
             71
                  Id. ; JX-154 at 26 (4/17/13 Tesla Schedule 14A Proxy).
             72
                  JX-135 at 77; JX-154 at 26.


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             market capitalization increase of $4 billion, while two tranches would vest if Tesla achieved two of its
             operational milestones and a market capitalization increase of $8 billion. 73 The 2012 Grant had a ten-year term.
             74


                  By the end of 2016, Tesla had achieved seven of the market capitalization milestones and five of the
             operational milestones of the 2012 Grant, with another four operational milestones “considered probable of
             achievement.” 75 By March 2017, seven of the 2012 Grant’s ten tranches had vested. 76

                  From the Board’s perspective, the 2012 Grant was successful. In only five years, Tesla’s market
             capitalization grew by over 15x from $3.2 billion to $53 billion. 77 Tesla saw significant operational growth as
             well, designing and launching the Model S, Model X, and Model 3, and increasing its total annual vehicle
             production from approximately 3,000 total vehicles in 2012 78 to more than 250,000 vehicles in 2017. 79 Musk
             worked hard toward these goals. And he was paid extremely well. In the end, the value of Musk’s holdings
             increased from approximately $981 million to $13 billion, meaning that Musk ultimately received approximately
             52x the 2012 Grant’s grant date fair value. 80

                      C.        The Compensation Process Takes Off.

                  In 2017, Tesla was already nearing completion of the 2012 Grant milestones, even though the 2012 Grant
             had a ten-year term. This prompted a discussion that led to the compensation plan at issue in this litigation (the
             “2018 Grant” or the “Grant”). By this time, Musk had accumulated beneficial ownership of 21.9% of the
             outstanding shares of Tesla common stock through his early investments and the two prior grants. 81

                               1.     Meet The Decision Makers.

                 At all relevant times, Tesla had a nine-person Board comprising Musk, Kimbal, Brad W. Buss, Robyn M.
             Denholm, Ira Ehrenpreis, Antonio J. Gracias, Steve Jurvetson, James Murdoch, and Linda Johnson Rice. 82 The
             Board had a standing compensation committee (the “Compensation Committee”), which was responsible for
             negotiating Musk’s compensation plan. 83 Ehrenpreis, Buss, Denholm, and Gracias served on the Compensation
             Committee, with Ehrenpreis as chair. 84 Musk and Kimbal recused themselves from most of the meetings and all
             of


             73
                  JX-135 at 77; JX-154 at 26.
             74
                  JX-137 at 1 (stating the 2012 Grant expired on August 13, 2022); JX-68 at 3.
             75
                  JX-335 at 45.
             76
                  PTO ¶ 206.
             77
               Tesla’s market capitalization was approximately $59 billion as of the proxy statement’s publication
             (February 2018) and $53 billion as of the stockholder approval (March 2018). JX-154 at 26; JX-878 at 24 (2/8/18
             Schedule 14A Proxy Statement); JX-1510 at 26.
             78
                  JX-147 at 4 (3/7/13 Form 10-K).
             79
                  JX-1105 at 45 (2/19/19 Form 10-K).
             80
                JX-1384 (“Dunn Opening Expert Rep.”) at 103. This is the measure of the compensation expense for all
             stock-based compensation awards under the Financial Accounting Standards Board (FASB) Accounting Standards
             Codification Topic (ASC) 718. Murphy Opening Expert Rep. at 94−96 “ASC 718 allows companies to use a
             variety of methodologies to measure the company’s cost of granting employee stock options, including Black-
             Scholes, binomial and lattice models, and Monte Carlo simulations. . . [T]he value of options can be estimated by
             computing the expected value of the option upon exercise assuming that the expected return on the stock is equal
             to the risk-free rate, and then discounting the expected value to the grant using the risk-free grant.” Id.
             81
                  PTO ¶ 64.
             82
                  Id. ¶¶ 44, 73, 82, 87, 98, 122, 127, 132, 143.
             83
                  Id. ¶¶ 155, 214, 218, 220, 222, 224, 226, 228, 229.
             84
                  Id. ¶¶ 74, 84, 88, 106.


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             the votes on the 2018 Grant, and Jurvetson had prolonged leaves of absence during the relevant period. 85 The
             fiduciaries responsible for Tesla in connection with the 2018 Grant, therefore, were the Compensation Committee
             members plus Murdoch and Johnson Rice.

                                       a.      The Compensation Committee Members

                                                i.       Ehrenpreis

                  Ehrenpreis is a founder and managing partner of DBL Partners, an impact-investing venture-capital firm that
             focuses on driving environmental change through investments. 86 Ehrenpreis and DBL have invested tens of
             millions of dollars in Musk-controlled companies. 87

                  Ehrenpreis had been a member of the Board since 2007 and chair of both the Compensation Committee and
             the Nominating and Corporate Governance Committee since 2009. 88 Between 2011 and 2015, Ehrenpreis was
             granted 865,790 Tesla options. 89 He exercised less than a quarter of those options in 2021, netting over
             $200 million. 90 Being a Tesla director had “been a real benefit in fundraising” for Ehrenpreis’s funds. 91

                  Ehrenpreis and the Musk brothers have known each other for over 15 years. 92 As Ehrenpreis acknowledged,
             his personal and professional relationship with the Musk brothers has had a “significant influence on his
             professional career[.]” 93

                  To argue that Ehrenpreis’s relationship with Musk was weighty in other ways, the plaintiff points to a
             July 2017 tweet in which Ehrenpreis professed his love for Musk. 94 But the exchange does not reveal the deep
             relationship that the plaintiff described. It was an irrelevant joke. 95




             85
               Id. ¶¶ 133, 232; JX-631 at 1; JX-791 at 1; Trial Tr. at 48:5−10 (Ehrenpreis); id. at 837:1−5 (Murdoch); id. at
             1438:3−8, 1463:19−22 (Brown).
             86
                  PTO ¶ 91; Trial Tr. at 11:8−15 (Ehrenpreis).
             87
               PTO ¶¶ 92−95. These investments included roughly $40 million in SpaceX, $10 million in The Boring
             Company, and approximately $1 million in Neuralink. Id ; Ehrenpreis Dep. Tr. at 392:24−393:16.
             88
                  PTO ¶¶ 87−89.
             89
                JX-1701 at 1; Trial Tr. at 202:23−204:1 (Ehrenpreis). He sold only enough of these shares to cover the exercise
             price and taxes. Trial Tr. at 207:8−17 (Ehrenpreis).
             90
                  JX-1701 at 1; Trial Tr. at 204:2−207:19 (Ehrenpreis).
             91
                  Trial Tr. at 192:15−18 (Ehrenpreis).
             92
                  Kimbal Dep. Tr. at 59:17−66:4.
             93
                  Trial Tr. at 192:6−10 (Ehrenpreis).
             94
                  JX-518 at 1.
             95
                To dive into the minutia of the tweet, Ehrenpreis had the right to purchase the first Model 3, but he gifted that
             right to Musk, tweeting, “[Musk] you deserve it!!! Much love and respect for everything you do for [Tesla].”
             JX-518 at 1 (7/8/17 Musk tweet, https://www.twitter.com/elonmusk/status/883848060119527424); JX-1586 at 1
             (7/8/17 Ira Ehrenpreis tweet). Also in that tweet thread, Ehrenpreis jokingly proposed a “romantic dinner” with
             Musk on the tenth anniversary of the start of Tesla Roadster production. JX-967 at 1 (3/17/18 Ehrenpreis tweet).
             Ehrenpreis testified at trial that he was not “being literal” and that he “did not have a romantic dinner with
             [Musk] or anybody.” Trial Tr. at 199:7−13 (Ehrenpreis). He remarked that “clearly humor doesn’t translate” and
             that he and Musk had a “collaborative working relationship” instead. Id. at 66:11−17, 199:7−13 (Ehrenpreis). In
             the end, the tweet was just a bad joke; it does not inform the control analysis. See generally Kimbal Dep Tr. at
             59:9−66:4; Trial Tr. at 193:19−21 (Ehrenpreis).



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                  Ehrenpreis is a close friend to Kimbal. They had known each other since at least 1999, and Ehrenpreis
             attended Kimbal’s wedding in Spain. 96 Ehrenpreis also invested in Kimbal’s company, The Kitchen G r o u p — a
             family of restaurants based in Colorado and Chicago. 97

                                            ii.       Buss

                 Buss joined the Board and the Compensation Committee in 2009. 98 He worked as an accountant and in the
             semiconductor field until his retirement in 2014, and then served as CFO of SolarCity Corp. 99 until
             February 2016. 100 Buss had no personal relationship with Musk or other members of the Board and has never
             invested in any of Musk’s other businesses. 101

                 From 2014 through 2016, Buss’s held assets valued at between $30 and $60 million, not including his Tesla
             and SolarCity holdings. 102 He earned about $2 million in total compensation from his work with SolarCity. 103
             Between 2011 and 2018, Buss reported that compensation as a Tesla director was approximately $17 million. 104
             He realized about $24 million for sales of Tesla shares that he received as compensation prior to January 21,
             2018. 105

                 Buss owed roughly 44% of his net worth to Musk entities. 106 Buss lacked any other personal or business
             connections to Tesla and left the Board soon after the Board approved the 2018 Grant. 107




             96
                  Kimbal Dep. Tr. at 59:9−10; Trial Tr. at 193:19−21 (Ehrenpreis).
             97
                  Trial Tr. at 193:13−15 (Ehrenpreis); Kimbal Dep. Tr at 48:11−18.
             98
               PTO ¶¶ 73−75. Buss also served on the Nominating and Corporate Governance Committee and the Audit
             Committee. Id.
             99
               SolarCity is a solar technology company that Tesla acquired in November 2016. PTO ¶ 56. Musk served as
             SolarCity’s board chair from July 2006 until November 2016. Id.
             100
                    Trial Tr. at 1375:7−22, 1377:7−10, 1377:17−1378:15 (Buss); PTO ¶¶ 77–78.
             101
                    Trial Tr. at 1381:6−17 (Buss).
             102
                 Compare JX-1167 ¶ 26 (9/24/19 Declaration of Brad W. Buss in Connection with the Director Defendants’
             Brief in Opposition to Plaintiff’s Motion for Partial Summary Judgment, filed in In re Tesla Motors, Inc. S’holder
             Litig. , Consol. C.A. No. 12711-VCS) (“during 2014-2016, I had net assets, exclusive of all Tesla and SolarCity
             holdings, conservatively estimated at in excess of $30 million”), with , Trial Tr. at 1426:15−1427:13 (Buss) (“my
             number was bigger than [$30 million]. . . . It wasn’t double or triple that, but it was substantially higher and has
             done very well by itself.”).
             103
                Trial Tr. at 1384:6−9 (Buss). Buss stepped down from his committee assignments while working for SolarCity
             but returned to these positions in mid-2017, in time to participate in the development of the 2018 Grant. PTO ¶¶
             74−76; Trial Tr. at 1386:12−18 (Buss). Although the exact date on which Buss rejoined the Compensation
             Committee is unclear, he attended the first meeting at which the 2018 Grant was discussed. JX-439 (6/23/17
             Compensation Committee meeting minutes listing Buss as “present”).
             104
                    Trial Tr. at 1409:13−21 (Buss).
             105
                JX-1587 (Brad Buss Form 4s from June 25, 2010 to May 20, 2019); Trial Tr. at 1410:13−1411:12 (Buss).
             Buss left the Board in June 2019. PTO ¶ 81.
             106
                 JX-1167 ¶ 26; Trial Tr. at 1409:13−14:11:12, 1413:15−1416:8, 1426:15−1427:13 (Buss); see also SolarCity II
             , 2022 WL 1237185, at *4 & n.26. Buss was somewhat evasive when estimating this number at trial, testifying
             that his net assets exclusive of all Tesla and SolarCity holdings were higher than a certain amount but not
             “double or triple that.” Trial Tr. at 1426:15−1427:13 (Buss).
             107
                    PTO ¶ 81.


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                                             iii.       Denholm

                  Denholm joined the Board and the Compensation Committee in 2014. 108 Her background is in accounting
             and telecommunications. 109 She was recruited to the Board by Buss, who she knew professionally. 110 Musk
             asked Denholm to be Board chair in 2018 following a settlement with the SEC (the “SEC Settlement”) that
             required Musk to relinquish his chairmanship. 111

                  Denholm does not appear to have had any personal relationship with Musk outside of her service on the
             Board. Denholm derived the vast majority of her wealth from her compensation as a Tesla director. Denholm’s
             compensation from Tesla between 2014 and 2017 was valued at about $17 million when it was issued, an amount
             she acknowledged was material to her at the time. 112 Denholm ultimately received $280 million through sales in
             2021 and 2022 of just some of the Tesla options she received as part of her director compensation. 113 She
             described this transaction as “life-changing.” 114 Denholm testified that between 2017 and 2019, she received
             approximately $3 million per year in her non-Tesla position. 115 Even assuming Denholm valued her Tesla
             compensation at a fraction of its Black-Scholes value, her Tesla compensation far exceeded the compensation she
             received from other sources.

                                             iv.        Gracias

                     Gracias joined the Board in 2007 and the Compensation Committee in 2009. 116

             He founded and continues to manage Valor Equity Partners (“Valor”), a private-equity firm with approximately
             $16 billion under management. 117 For years, Valor has also been “deeply operationally engaged in” Tesla. 118
             Valor actively assisted management in trying to drive sales for and lower the cost of production of Tesla’s
             Roadster model. 119

                  Gracias has amassed “dynastic or generational wealth” from investing in Musk’s companies. 120 Gracias
             invested in PayPal in the 1990s, returning “roughly 3x to 4x.” 121 Valor began investing in Tesla at Musk’s
             invitation in 2005. By 2007, Valor had invested $15 million. 122 Valor ultimately distributed some of its Tesla
             shares to its investors, including Gracias. 123 As of 2017, Gracias was the third-largest individual investor in
             Tesla, with virtually all of his Tesla shares held in trust for his children. 124 As of 2021, that Tesla stock was
             worth approximately

             108
                    Id. ¶¶ 82, 84. She is also chair of the Audit Committee. See id. ¶ 85.
             109
                    Trial Tr. at 313:14−314:14 (Denholm).
             110
                    Id. at 312:3−15 (Denholm).
             111
                    Denholm Dep. Tr. at 93:8−95:18; PTO ¶ 83.
             112
                    Trial Tr. at 395:8−23 (Denholm).
             113
                    Id. at 396:8−397:12 (Denholm).
             114
                    Id. at 397:6−12 (Denholm).
             115
                    Id. at 397:17−398:11 (Denholm); Denholm Dep. Tr. at 10:4−12.
             116
                    PTO ¶¶ 98, 106. He is also on the Nominating and Governance Committee. Id. at ¶ 107.
             117
                    Id. ¶ 100; Trial Tr. at 698:16−699:8 (Gracias).
             118
                    Trial Tr. at 707:16−24 (Gracias).
             119
                    Id. at 708:1−710:2 (Gracias).
             120
                    Id. at 774:22−24 (Gracias).
             121
                    Id. at 767:14−15 (Gracias).
             122
                 Id. at 705:18−707:24, 767:17−768:21 (Gracias); Gracias Dep. Tr. at 38:4−14. At one point during his trial
             testimony, Gracias stated that this investment was $50 million. Trial Tr. at 707:16−24 (Gracias). Given the
             phonological similarity between “15” and “50” and the more detailed testimony supporting a $15 million total
             investment, it is likely that Gracias’s statement that the investment was $50 million was in error.
             123
                    Trial Tr. at 711:17−712:9 (Gracias).
             124
                    Id. at 712:15−713:7 (Gracias); PTO ¶ 109.


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             $1 billion. 125 Valor and Gracias have invested hundreds of millions of dollars in SpaceX, SolarCity, The Boring
             Company, and Neuralink, all of which significantly increased in value. 126
                 All told, Gracias and his fund have netted billions of dollars by investing in Musk’s companies, many of
             which were made only with Musk’s personal invitation. 127 Gracias has touted endorsements from Musk in
             marketing his own fund. 128
                  Musk and Kimbal have invested in Gracias’s ventures. At Gracias’s request, Musk invested $2 million in
             Valor no later than 2003 and an additional $2 million in 2007. 129 Musk planned to invest in another Valor fund
             in 2013, but he ultimately did not because Gracias was concerned about conflicting fiduciary duties. 130 Kimbal
             also invested $1 million to $2 million in Valor, and Valor invested a total of between $15 million and $20 million
             in two of Kimbal’s ventures. 131 Gracias personally donated up to $500,000 to Kimbal’s charity and served on its
             board. 132

                   Gracias and Musk are “close friends.” 133 Gracias once personally loaned $1 million to Musk and could not
             recall if he charged Musk interest. 134 They meet outside of work as frequently as once a month. 135 They have
             spent the night at each other’s homes. 136 They have vacationed together with their respective families, including
             a trip to illusionist David Copperfield’s Bahamian island, a trip to Africa, and a ski trip. 137 They have spent
             Christmas together. 138 They have a long-standing tradition of spending Presidents’ Day weekend together with
             their families at Gracias’s home in Jackson Hole. 139 Gracias attended Musk’s second wedding and was a
             groomsman at Kimbal’s wedding in 2018. 140 Gracias has attended birthday parties for both Musk brothers and
             their children. 141 Gracias is friends with two of Musk’s cousins and has taken numerous vacations with them. 142
             Gracias is also friendly with Musk’s mother and sister. 143




             125
                    Trial Tr. at 769:6−9 (Gracias); PTO ¶ 110.
             126
                Valor invested between $400 million and $500 million in SpaceX, a stake valued between $2 billion and
             $3 billion as of May 2021. Trial Tr. at 769:14−770:19, 771:20−772:4 (Gracias); PTO ¶ 115. Valor invested
             approximately $24 million in SolarCity in 2012, yielding proceeds of approximately $ 136 million. Trial Tr. at
             772:6−11 (Gracias); PTO ¶ 111. Valor invested between approximately $15 million and $20 million in The
             Boring Company as of May 2021. Trial Tr. at 772:12−16 (Gracias); PTO ¶ 119. Valor invested between
             approximately $15 and $20 million in Neuralink as of May 2021. Trial Tr. at 773:22−774:7 (Gracias); PTO ¶ 118.
             127
                    Trial Tr. at 711:17−712:9, 767:17−774:24 (Gracias).
             128
                    JX-1472 at 2.
             129
                    Trial Tr. at 713:11−24, 775:7−22 (Gracias).
             130
                    Id. at 714:1−21 (Gracias).
             131
                    Trial Tr. at 776:5−17 (Gracias); PTO ¶¶ 103−04, 149.
             132
                    Trial Tr. at 776:18−777:2 (Gracias); PTO ¶¶ 101−02.
             133
                    Trial Tr. at 715:2−6 (Gracias).
             134
                    Id. at 755:3−756:17 (Gracias).
             135
                    Id. at 715:16−22 (Gracias).
             136
                    Id. at 757:14−16 (Gracias).
             137
                    Id. at 757:20−759:1 (Gracias); id. at 1080:13−21 (Kimbal).
             138
                    Id. at 760:17−761:3 (Gracias).
             139
                    Id. at 759:2−17 (Gracias).
             140
                    Id. at 757:17−19, 761:10−20 (Gracias).
             141
                    Id. at 759:18−760:10 (Gracias).
             142
                    Id. at 760:11−16 (Gracias).
             143
                    Id. at 762:15−17 (Gracias). Gracias left the Board in October 2021. PTO ¶ 98.


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                                       b.         The Other Directors

                                                  i.      Murdoch

                  Murdoch’s professional background is in media and entertainment. 144 At the time he joined the Tesla Board,
             he was the CEO of 21st Century Fox. 145 Murdoch met Musk in the late 1990s, but they lost touch until Murdoch
             purchased a Tesla Roadster in 2006 or 2007. 146 The two became friends thereafter, meeting when they happened
             to be in the same city. 147 Before he joined the Board, Murdoch, and Musk took family vacations together to
             Israel, Mexico, and the Bahamas. 148 During one of these trips, which Gracias and Kimbal also attended, 149
             Musk asked Kimbal to help him decide whether to add Murdoch to the Board. 150 After the trip, Gracias and
             Musk invited Murdoch to join the Board, and he agreed. 151 Murdoch and Kimbal are also friendly, and Murdoch
             attended Kimbal’s wedding in 2018. 152

                  As of December 31, 2017, Murdoch owned 10,485 Tesla shares through a family trust. 153 He bought these
             shares on the market before anyone approached him to become a director. 154 Murdoch now runs a private-
             investment company, which invested approximately $50 million in SpaceX in 2019 and 2020. 155 Murdoch also
             personally invested approximately $20 million in SpaceX in 2019. 156

                 Murdoch received total compensation of approximately $35,000 in cash for his service as a Tesla director in
             2017 and 2018. 157




             144
                    Trial Tr. at 815:1−24 (Murdoch).
             145
                    Id. at 816:4−8 (Murdoch).
             146
                    Id. at 817:21−818:19 (Murdoch).
             147
                    Id. at 819:2−16 (Murdoch).
             148
                    Id. at 820:20−821:2, 847:5−849:15 (Murdoch).
             149
                    Id. at 821:3−13 (Murdoch).
             150
                    Id. at 1080:13−21 (Kimbal).
             151
                 Id. at 821:21−822:21 (Murdoch). There are some minor conflicting details in the story of Murdoch’s addition
             to the Board. Gracias testified that he was the first to suggest adding Murdoch to the Board during a dinner with
             Murdoch in New York. Id. at 780:23−781:1 (Gracias); Gracias Dep. Tr. at 109:25−110:11. Gracias further
             testified that he did not speak to Musk about Murdoch joining the Board prior to this dinner. Gracias Dep. Tr. at
             109:25−110:11. It is not clear from Gracias’s testimony whether this dinner with Murdoch occurred before or
             after the Bahamas trip. Murdoch testified that Gracias suggested him joining the Board during a lunch (not a
             dinner) in New York that occurred after the Bahamas trip. Trial Tr. at 821:21−822:17 (Murdoch). Murdoch’s
             lunch and Gracias’s dinner are presumably the same event (they ate), which took place after the Bahamas trip.
             But Kimbal testified that Musk asked him to help decide whether Murdoch should join the Board while they were
             on the Bahamas trip, before the New York meal. Id. at 1080:13−21 (Kimbal). This suggests two possibilities: one
             of these three witnesses has confused or misunderstood a detail, or Musk and Gracias independently decided to
             consider adding Murdoch as a Board member (Musk did not testify about this). In either case, it appears more
             likely than not that Musk supported Murdoch being added to the Board early in the process.
             152
                    Id. at 850:19−24 (Murdoch).
             153
                    PTO ¶ 123.
             154
                    Trial Tr. at 827:12−828:17 (Murdoch).
             155
                    PTO ¶¶ 124−25.
             156
                    Id. ¶ 126.
             157
                JX-1210 at 20 (3/2/20 James Murdoch’s Responses and Objections to Interrogatory Nos. 2, 3, 4, 8, and 11–39
             from Plaintiff’s First Set of Interrogatories).



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                                                   ii.     Johnson Rice

                  Johnson Rice joined the Board on Gracias’s recommendation. 158 She and Gracias were friends and ran in the
             same social circle in Chicago. 159 Johnson Rice’s sole employer before and during her time at Tesla was a family
             business, Johnson Publishing Company, which published the magazines Ebony and Jet . 160 She has also served
             on a number of other boards. 161 Johnson Rice declined to stand for re-election in 2019. 162 Although she
             received Tesla options as compensation for her work as a director, they expired without being exercised. 163

                                   2.       Musk Proposes Terms Of A Compensation Plan.
                  The first mention in the record of what would become the 2018 Grant is a text from Ehrenpreis to Musk sent
             on April 8, 2017—one day after Tesla’s Compensation Committee certified vesting of the 2012 Grant’s sixth
             tranche. 164 Ehrenpreis asked Musk to discuss “a few comp related issues.” 165 They spoke by phone on April 9.
             166
                 Ehrenpreis testified that he had reached out to Musk to see if he was “ready to recommit” 167 and “to figure
             out . . . was his head in a place that he wanted to recommit over a longer duration to Tesla[?]” 168

                  Musk put forward terms of a new compensation plan during the April 9 call. 169 He envisioned a purely
             performance-based compensation plan, structured like the 2012 Grant but with more challenging market
             capitalization milestones 170 and proposed 15 milestones of $50 billion in market capitalization—a total possible
             award of 15% of Tesla’s outstanding shares. 171




             158
                    Gracias Dep. Tr. at 123:24–124:3.
             159
                    Id. at 122:23–123:21.
             160
                    Johnson Rice Dep. Tr. at 10:11–20.
             161
                    Id. at 12:4–18.
             162
                    Id. at 45:1–46:5.
             163
                    Id. at 41:14–24.
             164
                    JX-362 at 2; Trial Tr. at 99:3–101:7 (Ehrenpreis); JX-361 at 75.
             165
                    JX-362 at 2.
             166
                 See Trial Tr. at 98:11–105:24 (Ehrenpreis); see also JX-362 at 2 (4/8/17 text from Ehrenpreis to Musk asking
             to “pls chat for a few minutes this weekend re a few comp related issues”); JX-1598 (1/7/18 email from Maron
             containing draft proxy language describing April 9, 2017 call).
             167
                    Trial Tr. at 24:5–19 (Ehrenpreis).
             168
                    Id.
             169
                    See JX-1700 at 12 (1/12/18 Draft Schedule 14A Proxy).
             170
                    Id.
             171
                Id. ; see also Trial Tr. at 269:17–270:8 (Maron) (testifying that “at the beginning of the process . . . the
             conception of the plan at a high level was to have $50 billion market cap increments”).



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                  To put Musk’s proposal in perspective, each market capitalization milestone increase of $50 billion required
             Tesla to grow in size roughly equal to the market capitalizations of each of Tesla, Ford, and GM as of early 2018.
             172
                 So, Tesla would have to grow an amount in market capitalization equal to that of the most significant
             domestic car manufacturers for Musk to earn a single tranche of compensation. 173 Musk viewed this proposal as
             “really crazy.” 174

                 Musk’s initial proposal is reflected in a draft of the proxy statement issued in connection with the 2018
             Grant. The draft states:

                              On April 9, 2017, . . . Ira Ehrenpreis, the Chairman of the Compensation Committee,
                              and Mr. Musk discussed the possibility of a new performance award that would have
                              an incentive structure similar to the 2012 Performance Award but with even more
                              challenging performance hurdles.

                              Mr. Musk expressed interest in such an arrangement and suggested a compensation
                              structure that would incentivize management to grow Tesla into one of the most
                              valuable companies in the world.

                              During this meeting, Mr. Musk suggesting performance milestones that would trigger
                              stock option awards of 1 % of the Company’s current total outstanding shares
                              based on incremental $50 billion increases in market capitalization, such that if Tesla
                              grew by $750 billion, a maximum possible award would amount to 15% of the
                              Company’s current total outstanding shares.

                              Mr. Musk indicated that such an award structure would align his incentives with
                              those of stockholders and incentivize him to continue leading the management of the
                              Company over the long-term.

                              Mr. Ehrenpreis indicated that the Compensation Committee would consider
                              Mr. Musk’s perspectives as part of its analysis. 175




             172
                 JX-1700 at 12; JX-1510 at 27 (cumulative market capitalization of Tesla was approximately $56 billion as of
             January 10, 2018); JX-757 at 2 (12/31/17 Ford Form 10-K) (aggregate market value of common stock was
             approximately $42.8 billion as of December 31, 2017); JX-1104 at 1 (2/6/19 GM Form 10-K) (aggregate market
             value of voting stock was approximately $55.5 billion as of June 30, 2018); see Trial Tr. at 1268:2–20 (Murphy)
             (“You know, with the 2012 plan everybody liked basically we started off by saying we got to double the market
             cap for you to get anything. Well, now the market cap had grown to 50 billion and it was up to 59 billion by the
             time they actually approved the plan. But this idea, 50 billion, that’s a nice round number. I think at the end of
             2017, Ford was worth about 49 billion. I think that GM was worth about 58 billion. So this is: Every time we’ll
             get another Ford or a GM. I think that just kind of resonated.”); Trial Tr. at 231:11–16 (Ehrenpreis) (“Q. . . . So
             these options, by the way, are worth roughly the value, the market cap of Ford; right? A. That’s true.”); id. at
             1397:1–5 (Buss) (“I mean, again, those market cap goals, you know, were totally insane. I mean, you literally had
             to create a Ford, GM, or FedEx every ten months. Every ten months. And maintain it, right? So, okay, wow,
             that’s pretty nuts.”).
             173
                JX-1700 at 12; JX-1510 at 27; JX-757 at 2; JX-1104 at 1; see Trial Tr. at 1268:2–20 (Murphy); id. at
             231:11–16 (Ehrenpreis); id . at 1397:1–5 (Buss).
             174
                    JX-398.
             175
                    JX-1700 at 12.


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             Language like the above appears in other drafts but not in the final proxy statement. 176
                  The draft proxy statement is the most reliable (indeed, the only) evidence of the substance of the April 9
             discussion. Neither Musk nor Ehrenpreis took contemporaneous notes or otherwise memorialized their April 9
             discussion. By the time of discovery and then trial in this action, Musk had only vague memories of the
             discussion, and Ehrenpreis had no memory of it at all. 177
                   It is unclear who prepared the draft proxy statement, but Maron, Tesla’s General Counsel, was responsible
             for it. Maron testified he spoke to Ehrenpreis within hours of the April 9 call and reviewed the draft. 178




             176
                 See JX-1597 at 9 (1/8/17 Draft Schedule 14A Proxy); JX-1598 at 3 (1/7/18 draft language for Schedule 14A
             Proxy); JX-1599 at 14 (1/10/18 Draft Schedule 14A Proxy); see also JX-878 at 9–12 (2/8/18 Schedule 14A Proxy
             Statement) (background section of the final proxy omitting any mention of the April 9 conversation). There were
             minor changes in language between the proxy drafts. Compare, e.g. , JX-1598 at 3 (“Mr. Musk indicated an
             interest in such a structure, and mentioned the possibility of setting 15 milestones in which each would require a
             market capitalization increase of $50 billion[.]” ​ ( emphasis added)), with , JX-1700 at 12 (“Mr. Musk expressed
             interest in such an arrangement and suggested a compensation structure that would incentivize management to
             grow Tesla into one of the most valuable companies in the world. During this meeting, Mr. Musk suggesting [sic]
             performance milestones that would trigger stock option awards of 1% of the Company’s current total outstanding
             shares based on incremental $50 billion increases in market capitalization[.]” ​ ( emphasis added)).
             177
                 See Trial Tr. at 70:6–72:18, 79:13–20, 97:20–102:7 (Ehrenpreis); id. at 631:3–632:6, 633:24–635:7,
             694:6–695:9 (Musk). Ehrenpreis did not remember the substance of their April 9, 2017 conversation prior to
             reviewing documents in preparation for his deposition. Id. at 70:13–71:13 (Ehrenpreis). Despite his vague
             recollection, Musk offered an alternative account of the April 9 discussion during his deposition and at trial.
             When asked about the April 9 call, Musk testified that he might have instead proposed a grant of “10 percent of
             the company, incrementally taking into account dilution of [his] own shares.” Musk Dep. Tr. at 144:13–150:3; see
             also Trial Tr. at 632:18–633:2 (Musk). Ultimately, when pressed, neither Musk nor Ehrenpreis disputed the draft
             proxy statement’s account. Trial Tr. at 633:15–635:7 (Musk) (not disputing the relevant language in JX-1597); id.
             at 91:2–97:24 (Ehrenpreis) (not disputing “Mr. Musk asked for a 15 percent plan” based in part on the proxy
             statement drafts). Musk stated in an interrogatory answer that he did not “specifically recall the dates or
             substance” of any discussions of a new stock option award before June 23, 2017. JX-1256 at 9–10 (8/3/2020
             Musk’s Amended Responses and Objections to Plaintiff’s First Set of Interrogatories Directed to All Defendants
             and Nominal Defendant Tesla, Inc.). Musk reaffirmed his interrogatory answer at trial. Trial Tr. at 631:3–632:6
             (Musk). When offering his alternative account, he was equivocal, stating that the proposal “ might have
             happened[.]” Id. at 632:18–633:2 (Musk) (emphasis added). He also stated, “I think I proposed . . . 10 percent[.]”
             Musk Dep. Tr. at 144:13–146:6 (emphasis added).
             178
                 See Trial Tr. at 100:22–102:7 (Ehrenpreis); id. at 239:12–15 (Maron); Maron Dep. Tr. at 127:13–128:12;
             JX-1700 at 2 (“Todd will review all of our comments on these sections of the proxy and press release and give
             WSGR the final draft. . . . Todd/Phil[ip Rothenberg] [w]ill work to provide an updated draft Background
             section”); Trial Tr. at 239:9–15 (Maron) (stating that he heard about the possibility of a new compensation plan
             for Musk from Ehrenpreis in April 2017); see also JX -369 at 2–3 (email thread between Maron and Ahuja dated
             April 9, 2017 discussing the new compensation plan for Musk); Trial Tr. at 105:18–24 (Ehrenpreis) (stating that
             Maron was cued into discussions of Musk’s new compensation plan on April 9 and 10).



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                   Maron was totally beholden to Musk, lending credibility to the accuracy of the draft proxy statement. But his
             relationship with Musk raises concerns as to other aspects of the process during which Maron advised the Board
             and Compensation Committee. Maron joined Tesla as Deputy General Counsel in September 2013, and was
             promoted to General Counsel in September 2014, reporting directly to Musk. 179 Before joining Tesla, Maron was
             Musk’s divorce attorney. 180 Maron neither socialized with Musk nor considered himself a friend of Musk when
             he worked at Tesla, but he owed his career to and had genuine affection for Musk. 181 Both in his deposition and
             at trial, Maron held back tears when asked about his departure from Tesla in January 2019, describing it as “the
             most difficult decision[]” he had made to date. 182

                 After speaking to Ehrenpreis on April 9, Maron enlisted other Tesla employees to help him model Musk’s
             proposal. All told, 13 in-house Tesla executives worked on the 2018 Grant. 183 The key executive in addition to
             Maron was Ahuja, Tesla’s CFO. 184

                 At the outset of his involvement, Ahuja recommended one substantive change to the structure—pairing the
             market capitalization milestones with operational milestones. 185 He recommended this change for accounting
             purposes. Maron relayed the change to Ehrenpreis, who questioned whether operational milestones were
             necessary. 186 Maron explained that “there’s an important account[ing] reason” for having operational milestones.
             187


                  Maron’s team began analyzing Musk’s initial proposal on April 10, roping in Tesla’s legal counsel at Wilson
             Sonsini Goodrich & Rosati (“Wilson Sonsini”) 188 and lining up compensation consultants. Maron proposed
             retaining Compensia, Inc., a compensation consulting firm that Tesla had engaged in connection with the 2009
             and 2012 Grants, 189 but he also provided four other options for Ehrenpreis to consider. 190

             179
                    PTO ¶¶170–71; Maron Dep. Tr. at 23:21–24.
             180
                    Maron Dep. Tr. at 19:23–20:8.
             181
                Id. at 20:9–18 (stating that he and Musk did not socialize and that he never met Musk’s family); id. at
             199:7–200:5 (Maron) (stating that, although he and Musk were not “friends,” he “cared about [Musk] a
             tremendous amount . . . [he’s] always cared about him and wanted him to have . . . success in life. . . . [he] just
             want him to be happy as you would with anyone that you care about”).
             182
                 Id. at 74:10–17 (becoming “emotional” about the decision to leave Tesla); id. at 200:9–15 (“Unfortunately I
             lost my cool earlier and cried because I love the company so much, and I loved my teammates and my colleagues
             and the people on the executive team.”); Trial Tr. at 275:10–24 (Maron) (confirming he “choked up” at his
             deposition about his “incredible experience[]” at Tesla and the “very emotional decision” to leave Tesla).
             183
                    Trial Tr. at 110:8–112:14 (Ehrenpreis).
             184
                Ahuja was Tesla’s CFO from August 2008 to November 2015 and from March 2017 to March 2019. PTO ¶¶
             180–81.
             185
                 JX-369 at 3 (Ahuja explaining that “[i]f the award only has a market condition, the SBC expense will start on
             the date of the grant,” but “[i]f the award has both a market and performance condition, the expense is first
             recorded when probability of achievement exceeds 70%[.]”).
             186
                JX-367 at 1 (Maron explaining to Ehrenpreis the need for operational milestones); Trial Tr. at 105:5–24
             (Ehrenpreis) (confirming that Maron contacted him in response to Musk asking for market cap milestones and his
             request that Maron and Ahuja address the issue); JX-418 at 2 (“[O]ne thing Ira wanted to pressure test is whether
             we really do need the operational milestones[.]”).
             187
                 JX-367 at 1. Despite this explanation, Ehrenpreis later advocated for removing the operational milestones,
             directing the Tesla team to “pressure test” the feasibility of that structure in mid-June 2017. Trial Tr. at 112:15
             –113:17 (Ehrenpreis); id. at 285:18–286:20 (Maron). He was again informed that operational milestones were
             necessary for accounting purposes. JX-423 at 1 (Maron emailing Ehrenpreis that he “wanted to pressure test . . .
             whether we really do need operational milestones in addition to the market cap milestones. If we could only do
             the latter, that’s what he would prefer, but I remember you telling me that there were accounting reasons for why
             we needed both.”).
             188
                    JX-371.
             189
                    JX-368; PTO ¶¶ 153, 155–56.
             190
                JX-374 (proposing FW Cook, Pearl Meyer, Semler Brossy, and Radford as alternative compensation
             consultants).


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                                    3.   Musk States That He Is Committed To Tesla For Life.

                   Little progress was made on Musk’s new compensation plan through May 2017. During a May 3 earnings
             call, an analyst asked about Musk’s “view of staying actively in place with Tesla longer into the future[.]” 191
             Musk responded that he should not be “CEO forever.” 192 He further indicated that he was going to reevaluate his
             position after Tesla achieved volume production of the Model 3. 193

                  The plaintiff argues that Musk’s statement about not being “CEO forever” was intended to pressure Tesla in
             negotiations over Musk’s compensation plan, but the record does not support that conclusion. Musk clarified his
             statement later in the May 3 earnings call, saying:

                              Well, maybe I wasn’t clear. I intend to be actively involved with Tesla for the rest of
                              my life. Hopefully, stopping before I get too o l d — o r too crazy, I don’t know. But
                              essentially for as long as I can positively contribute to Tesla, I intend to b e — t o have
                              a significant involvement with Tesla. 194

                  In other words, Musk had every intention of remaining “significant[ly] involved” in some leadership role at
             Tesla, even though he did not envision himself being “CEO forever.” Musk repeated this assertion at trial, stating
             unequivocally that he would have remained at Tesla even if stockholders had rejected a new compensation plan
             because he was “heavily invested in Tesla, both financially and emotionally, and viewed Tesla as part of his
             family.” 195 Trial witnesses similarly testified that they never heard Musk say he had any plans to quit Tesla. 196
             And even though Musk did not intend to stay CEO forever, he had no immediate plans to resign from that
             position. Corroborating that fact is lack of any succession plans during the relevant period. That is, before 2021,
             neither Musk nor Tesla had identified a potential successor for the role of Tesla CEO. 197




             191
                    JX-390 at 20.
             192
                    Id. at 20–21.
             193
                 JX-185 at 12 (“I think I was — yes, certainly be CEO for like, say, 4 or 5 years and then it’s sort of TBD after
             that. Yes, but that’s the commitment I made to people at Tesla and also to investors is that I’m going to make
             sure that we execute through the high-volume, affordable car at a minimum and then we’ll evaluate it at that
             point.”); Trial Tr. at 574:14–18 (Musk) (testifying that the “high-volume, affordable car” Musk was referring to in
             JX-185 was the Model 3).
             194
                    JX-390 at 20.
             195
                Trial Tr. at 643:24–644:15 (Musk); see also JX-912 at 75 (2/26/18 draft CEO performance award investor
             presentation) (“Elon is heavily invested in Tesla, both financially and emotionally, and views Tesla as part of his
             family.”).
             196
                 Trial Tr. at 278:3–9 (Maron) (“Q. Now, during the 2017, 2018 time frame, Elon never really told you that he
             was planning to leave Tesla, right? A. He never said that to me. Q. Never expressed to you that he was no longer
             interested in an executive role at Tesla? A. No, never said that.”); id. at 526:14–19 (Ahuja) (“Q. And thinking
             about Elon, during your time as CFO, Elon never told you that he was planning to stop his involvement with
             Tesla? A. He did not, though I would not expect any CEO to tell that to the CFO or the management team.”); id.
             at 784:16–18 (Gracias) (“Q. And you never heard Elon Musk say he was going to quit Tesla; correct? A. I did
             not.”); id. at 785:8–11 (Gracias) (“Q. And Elon Musk certainly never said he would quit Tesla if he felt he was
             inadequately compensated; correct? A. Correct.”).
             197
                 Id. at 1421:9–13 (Buss) (“Q. Shifting gears, during your board tenure, the Tesla board had no formal
             documented succession plan to replace Mr. Musk; correct? A. Formally documented, no. We had various
             discussions. But correct, nothing documented.”); id. at 857:9–858:10 (Murdoch) (confirming Musk had not
             identified a successor until the months after his 2021 deposition).



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                                   4.   The First (And Forgettable) Board Discussion

                 By June 5, 2017, Tesla had met all ten CEO market capitalization milestones for the 2012 Grant and had
             only three tranches of operational milestones left to achieve. 198 The Board first discussed the prospect of a new
             compensation plan for Musk during a June 6, 2017 Board meeting. Musk chaired the meeting. 199

                  The Board’s conversation during the June 6 meeting concerning Musk’s compensation was brief and,
             apparently, forgettable. During that meeting, Ehrenpreis updated the Board on the near fulfillment of the 2012
             Grant milestones and stated that “plans were underway to design the next compensation program” for Musk. 200
             The minutes of that meeting are three pages long, and the discussion of a new compensation plan
             was limited to a sentence. 201 At least one director who served on the Compensation Committee, Denholm, did
             not recall the June 6 Board discussion at all. 202 She testified at trial that any discussion of a new compensation
             plan during the June 6 Board meeting must not have been substantive. 203

                                   5.   Musk Accelerates The Process.

                  On June 18, 2017, Maron emailed the Compensation Committee stating: “We would like to . . . discuss
             Elon’s next stock grant.” 204 This sort of outreach from Maron was common during the process. Although he was
             counsel to Tesla, he would reach out and prompt action by the Compensation Committee to benefit Musk (the
             “we” in the prior quote).

                  A few days prior, on June 15, 2017, Maron’s team had prepared an aggressive timeline for approving a
             compensation plan. The timeline scheduled the Compensation Committee and Board to approve the plan by
             July 17 or by July 24 at the latest. 205 The initial June 15 plan contemplated only two Compensation
             Committee meetings prior to final approval and allotted the committee just over a month to do its job. 206 A
             later June 26 version of the timeline was even more rushed, proposing only one Compensation Committee
             meeting (with an additional meeting if necessary) and giving the committee less than three weeks to complete its
             task. 207 That timeline envisioned that on July 7, the Compensation Committee would “[g]ain agreement on
             proposed approach, award size and metrics/goals” and “[g]ain preliminary approval of grant agreement[.]” 208

                  The timeline reflected a reckless approach to a fiduciary process, given that the Compensation Committee
             had not yet discussed any substantive terms nor met concerning the Grant. Despite the break-neck speed
             contemplated by the timeline, Maron reported to counsel on June 18 that Ehrenpreis was “aligned on the plan and
             timing.” 209


             198
                    JX-404.
             199
                    PTO ¶ 211; JX-407 at 1 (6/6/17 Board meeting minutes).
             200
                    JX-407 at 2.
             201
                    Id.
             202
                 Denholm Dep. Tr. at 214:14–19 (“Q. Just so we’re clear, focus on June 18th, the Todd Maron email, was that
             the first time you heard or learned about a potential new compensation plan for Mr. Musk? A. Yes. I believe so,
             yes.”).
             203
                Trial Tr. at 357:19–359:14 (Denholm) (stating that the first substantive discussions regarding the 2018 Plan
             took place on June 23, 2017).
             204
                    JX-420 at 1.
             205
                    JX-423 (6/19/17 email from Matt Tolland to Maron re “Re: Privileged - Comp Comm Process”).
             206
                    Id.
             207
               JX-456 at 2 (6/26/17 email from Phoung Phillips to Ira Ehrenpreis and Todd Maron re: “Tesla | Executive
             Compensation Timeline”).
             208
                    Id.
             209
                    JX-423 at 1.


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                   After Musk asked to discuss his compensation plan, the Maron-led team was supercharged. They conducted
             initial calls with five potential compensation consultants and selected three for Maron and Ehrenpreis to
             interview. 210 During the initial calls, the consultants were informed of Musk’s initial proposal and the aggressive
             timeline leading to a late-July approval. 211 Maron and Ehrenpreis updated Musk about the process on June 20,
             2017. 212

                                   6.    The First Compensation Committee Discussion

                 The Compensation Committee discussed Musk’s compensation plan for the first time on June 23, 2017. 213
             The committee formally resolved to retain Wilson Sonsini and Compensia as legal advisor and compensation
             consultant, respectively. 214 A few days later, Tesla retained Jon Burg at Aon Hewitt Radford (“Radford”) to
             value the 2018 Grant in light of the market-based milestones and to advise on the accounting treatment of the
             2018 Grant in light of the performance-based milestones. 215

                 During the meeting, Ehrenpreis stated that the Compensation Committee’s aim was to create a new
             compensation plan similar to the 2012 Grant. The committee then set out the goals for the compensation plan in
             broad strokes. The minutes of the meeting describe that discussion as follows:

                              The Committee discussed how Mr. Musk had been and would likely remain a key
                              drive of the Company success and its prospects for growth, and that, accordingly, it
                              would be in Tesla’s interest, and in the interest of its stockholders, to structure a
                              compensation package that would keep Mr. Musk as the Company’s fully engaged
                              CEO. The Committee also discussed the fact that unlike most other Chief Executive
                              Officers Mr. Musk manages multiple successful large companies. The Committee
                              discussed the importance of keeping Mr. Musk focused and deeply involved in the
                              Company’s business, and the corresponding need to formulate a compensation
                              package that would best ensure that Mr. Musk focuses his innovation, strategy and
                              leadership on the Company and its mission. 216

                 The minutes do not reflect any discussion by the committee concerning the effect of Musk’s pre-existing
             21.9% equity stake on these goals.




             210
                 JX-424 at 1 (6/19/17 email from Phillips to Maron stating, “[w]e are just doing prep calls with these other
             folks (so they are slightly prepared when speaking to Ira). Also, Yun and I are hoping to take 5 down to 3 teams
             so we don’t waste Ira’s time. Do you want to be included in the preliminary meetings - we realized it takes about
             30 minutes to explain what we want and we want to see if they even understand what we are asking before we
             present them in front of you and Ira.”); see also JX-432 at 1 (noting the three calls with the compensation
             consultants).
             211
                 See, e.g. , JX-434 at 4 (Brown’s handwritten notes of June 19 and 20 calls stating under the heading “Goals . .
             . Timing . . . 2-3 wks”); Trial Tr. at 1434:7–16 (Brown) (noting what was to be discussed in the calls).
             212
                JX-428 (6/20/17 email from Maron to Ahuja stating, “I’m going to be meeting with Elon in part to update him
             on this plan, and that meeting is currently scheduled for 4pm[.]”); JX-425 at 2 (6/20/17 Ehrenpreis text message
             asking, “[c]an we chat about board and comp. . . . Calling in 5 to 10.”); Maron Dep. Tr. at 183:19–184:20
             (confirming he kept Musk “abreast at a high level” of the process); Ehrenpreis Dep. Tr. at 155:3–156:18
             (confirming “check-ins” with Musk).
             213
                The topic did not come up during their meeting held on June 5, although that was the day before the Board
             was informed that “plans are underway.” JX-405 (6/5/17 Compensation Committee meeting minutes) (no mention
             of Musk’s package); JX-407 6/6/17 Board meeting minutes) (first mention of plans for the 2018 Grant); see also
             JX-420 (6/18/17 email from Maron to Compensation Committee proposing June 23 meeting to discuss Musk
             compensation).
             214
                    See JX-439 at 2; PTO ¶ 214.
             215
                    PTO ¶151; JX-455 (6/26/17 Radford engagement authorization form).
             216
                    JX-439 at 1.


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                  The committee was not presented with any proposed terms for a compensation plan, and it did not consider
             any. This was the case even though, behind the scenes, Ehrenpreis and Musk had discussed Musk’s initial
             proposal, which Musk’s team had already modeled. 217

                  Although the committee had no idea what the terms of the plan might be, they were told to be prepared to
             approve it in July. 218 Brown thought the timeline was unwise. 219 Brown called Ehrenpreis to ask for more time
             to work on the matter, 220 but Ehrenpreis responded that “this is the timeline we are working with.” 221 A member
             of Maron’s team would later repeat that message, telling both Brown and Burg that “we are running up against a
             short deadline and we have to make sure this keep [sic] moving.” 222 The message was clear—move at full tilt.
             Other than Brown, there is no evidence that anyone questioned the timeline.

                                7.       The First Working Group Meeting

                   After the June 23 Compensation Committee meeting, Ehrenpreis formed a “Working Group.” The group
             consisted of Maron and at least two in-house attorneys who reported to him (Phillip Chang and Phuong Phillips),
             Ahuja, Brown, Burg, and attorneys from Wilson Sonsini. 223 Ehrenpreis and Gracias were in the Working Group,
             but the Compensation Committee decided that the two members with less extensive ties to Musk—Denholm and
             B u s s — were “optional” attendees. 224



             217
                 Specifically, on June 23, Tesla’s Deputy General Counsel Phil Rothenberg sent an Excel spreadsheet titled
             “Elon Grant 2017” to Kenneth Moore, another Tesla employee. JX-445 at 3–4. The spreadsheet models a
             15-tranche structure with operational milestones. The model also includes a “Performance Milestone” column
             with each row marked “tbd.” There are some quirks with the terms reflected in the June 23 spreadsheet, which
             make it clear that the spreadsheet was an early model that needed to be refined, but to mention them briefly:
             Each tranche triggers as Tesla’s stock price rises from $300 to $4,800 at $300 increments per tranche over 15
             tranches, each of which gives Musk the right to purchase 1.6 million shares at $300 per share. The grant value of
             each tranche is calculated by multiplying 1.6 million by the differential between the market price of Tesla stock
             and the $300 exercise price. The result is $480 million for tranche one (at a market price of $600 per share),
             $980 million for tranche two (at a market price of $ 900 per share), and so on. Adding up all 15 tranches this
             way yields $57.6 billion. The $57.6 billion figure, however, is not the total possible award that Musk could reach
             under this proposal. Triggering all 15 tranches would result in a total grant value of $108 billion.
             218
                 JX-1592 at 9 (6/23/17 email from Chang to Ehrenpreis) (listing approval date in July); JX-437 at 7 (same).
             Trial Tr. at 130:7–13 (Ehrenpreis) (“Q. It’s also true, though, isn’t it, that at the June 23rd compensation
             committee meeting, the committee wasn’t shown any of the specific metrics that had been working — that the
             group had been working on, like 1 percent tranches or $50 billion market caps? A. No, that was — no.”); see also
             JX-439 (7/23/17 Compensation Committee meeting minutes making no mention of these features or the
             discussion with Musk); Trial Tr. at 557:9–559:13 (Phillips) (affirming that the minutes are a fair summary of the
             meeting and that they do not reflect discussion of the grant features or the discussion with Musk, but disclaiming
             any recollection of the substance of the meeting); Trial Tr. at 359:15–360:19 (Denholm) (stating that she had no
             recollection of whether Ehrenpreis mentioned his conversation with Musk when Ehrenpreis and Denholm first
             discussed the 2018 Grant).
             219
                    Trial Tr. at 1487:21–23, 1488:3–21 (Brown).
             220
                    Id.
             221
                    Id. at 1487:21–1488:17 (Brown).
             222
                JX-472 at 1–2 (6/30/17 email from Phillips to Burg, Brown, and Chang); see also JX-418 at 2 (Matt Tolland,
             a Tesla Employee, stating in an internal email to Maron that the proposed timeline “may be a bit accelerated, and
             may require pushing the Comp Consultant to keep up”).
             223
                JX-475 (6/30/17 email invite to Working Group members); Trial Tr. at 33:4–13 (Ehrenpreis); Burg Dep. Tr. at
             141:3–142:7, 174:14–177:1, 179:17–181:7 (Burg testifying that he attended at the Working Group meetings after
             he was retained).
             224
                    JX-474 (6/30/17 email from Chang to Denholm and Buss).


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                  The Working Group first met on June 30. Phillips proposed the agenda, 225 and Brown prepared a slide deck
             with a high-level overview of the suggested terms of Musk’s new equity plan. 226 In relevant part, the
             presentation included: a few slides summarizing the 2012 Grant; 227 a slide titled “Preliminary Concept,”
             reflecting the 15-tranche combined market and operational goals structure; 228 and three slides titled “Key
             Program Terms: Alternatives and Considerations,” which identified terms of the compensation plan under the title
             “Preliminary Alternatives” and considerations relevant to each term under the title “Considerations/Decision
             Points.” 229

                  The presentation identified the following question for discussion: “Will both operational and company
             valuation goals be used?” 230 By framing the structure as a question, the presentation suggests that it was an open
             issue. Brown’s notes on a June 26 draft version of this presentation, however, reflect that the issue had in fact
             been resolved. 231 He wrote that: “there will be 15 goals of each type[,]” referring to both market capitalization
             and operational goals, and “the market cap goals are increments of $50B, for a total of $750B of incremental
             market cap growth for all 15 tranches (yes, there [sic] numbers are what they are thinking!)[.]” 232 In part,
             therefore, the presentation was a vehicle for getting the Compensation Committee members up to speed on the
             work done behind the scenes prior to that time.

                  After the June 30 meeting, the Working Group stood poised to move forward. Chang emailed members of
             the group about developing operational milestones, including a structure in which each market capitalization
             milestone would also require an increase of $15 billion in GAAP revenue. 233 Chang stated that Tesla should
             “expect to achieve a milestone roughly once every 12 to 15 months over the next 3 years.” 234

                                    8.   Musk Decelerates The Process.

                  The Working Group met again on July 6, the day before the next Compensation Committee meeting. After
             this meeting, Maron informed Chang, Ahuja, and others that “we’re now going on a slower track with the CEO
             grant. We’re now looking to issue it in August or September instead of within the next couple of weeks.” 235

                  Maron professed ignorance as to why the timeline decelerated. 236 Chang and Phillips too lacked any
             recollection. 237 Ehrenpreis testified that “it was way too complex to do under what was originally described as a
             preliminary timeline” but did not recall additional details. 238 Brown testified that he received pushback when he
             asked to extend the timeline, so he was not the impetus for the delay. 239 Maron would not have made the
             determination


             225
                    JX-473.
             226
                    JX-475.
             227
                    Id. at 3, 10.
             228
                    Id. at 4.
             229
                    Id. at 5–7.
             230
                JX-464 at 7. An earlier June 26 draft version of this presentation included a note from Brown: “Their starting
             place is 15 goals of each type.” JX-1703 at 5.
             231
                    JX-1703.
             232
                    Id. at 6.
             233
                    JX-480.
             234
                    Id.
             235
                    JX-503 at 1.
             236
                    Maron Dep. Tr. at 190:4–192:22.
             237
                Chang Dep. Tr. at 373:23–375:13; Phillips Dep. Tr. at 237:23–239:7; see also JX-502 at 1 (7/6/17 email from
             Chang to Tesla employees saying: “I haven’t gotten the full details as to why the postponement[.]”).
             238
                    Trial Tr. at 123:21–124:10 (Ehrenpreis).
             239
                    Id. at 1488:3–21 (Brown).


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             to extend the timeline to August or September unilaterally. The reality is that Maron answered to and spoke for
             Musk in this context. It was Musk who either asked to slow things down or stopped pushing to get them done so
             quickly. 240

                  Phillips circulated “the proposed new timeline for Elon’s equity grant” to the Working Group on the evening
             of July 6. 241 The initial timeline contemplated preliminary approval by the Compensation Committee on July 7
             and final approval by the committee and Board approval by July 24. The revised timeline pushed final approval
             by the committee and Board out to September 8 and September 19, respectively. 242

                                   9.    The First Compensation Committee Discussion Of The Substantive Terms

                 The July 7 Compensation Committee went forward as scheduled, but the agenda was revised given the new
             timeline. The revised agenda included “a short presentation re the CEO grant” from Brown. 243 This was the first
             meeting where the committee would be presented with terms of a compensation plan.

                  In addition to the $50 billion market capitalization milestones that Musk had proposed, Brown’s presentation
             covered alternatives—a flat $25 billion increase or graduated milestones beginning at $10 billion and increasing
             to $50 billion. 244 These different market capitalization approaches corresponded to different award sizes, ranging
             from 7.5% of total outstanding shares to Musk’s proposed 15%. 245

                  Although the presentation identified alternatives to Musk’s proposal, the presentation included a valuation
             only for Musk’s proposal. 246 The presentation was therefore biased toward Musk’s proposal, although this was
             the first meeting at which the committee had considered any terms.

                  In addition to the market capitalization and operational milestones, the presentation identified other potential
             grant features, including the following:
                     • A “Clawback Provision.” 247 Around April 2015, the Board adopted new Corporate Governance
                       Guidelines (the “Guidelines”) providing that Tesla’s “executive officers [are] subject to a clawback policy
                       relating to the repayment of certain incentives if there is a restatement of our financial statements.’” 248
                       The presentation contained the following question: “Is the current clawback provision sufficient protection
                       for the Company?” 249 There is no evidence that the committee discussed this question or ever demanded a
                       more protective Clawback Provision. The final version of the Grant included a Clawback Provision based
                       on the Guidelines. 250

             240
                 Musk denied aspects of this finding. See Musk Dep. Tr. at 172:19–174:1 (denying that he was “pushing for”
             the grant to “happen quickly” in early July 2017, and stating that he was “generally erring on the side of . . .
             [going] slowly[,]” and did not “recall the exact reason” why the process slowed down in early July). But his
             recollection of relevant events was generally spotty.
             241
                    JX-495.
             242
                    JX-423 at 2–3; JX-456 at 2; JX-495 at 6–7.
             243
                    JX-503 at 1.
             244
                    JX-510 at 1, 12.
             245
                    Id. at 13.
             246
                    Id. at 24.
             247
                 JX-475 at 7. The Clawback Provision was also discussed at the June 30 Working Group meeting. JX-464 at 1,
             8 (6/ 27/17 email from Brown to Ehrenpreis attaching draft slides with Clawback Provision questions for Tesla
             Working Group meeting on June 30, 2017).
             248
                    PTO ¶ 252.
             249
                    JX-464 at 8.
             250
                 JX-878 at 64–65 (appendix to the proxy statement attaching performance stock option agreement) (stating that
             the Clawback Provision was consistent with Tesla’s internal guidelines).



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                     • An “M&A Adjustment,” which is a provision that accounts for the impact of financing or acquisitions on
                       the market capitalization milestones (“M&A Adjustment”). 251 These provisions are standard. 252
                     • A “Hold Period,” which was a period post-exercise during which Musk would be prohibited from selling
                       his stock. The presentation noted that “post-exercise hold periods decrease the grant/accounting value” of
                       the stock as follows: “2 year = -15%; 3 years = -18%; and 5 years = -22%.” 253

                  Benchmarking analyses were on the advisors’ minds. Prior to the first Working Group meeting, Phuong
             suggested an agenda item addressing “[b]enchmark companies – risks associated with such grant.” 254 And
             Brown’s presentation for the July 7 Compensation Committee meeting contained an appendix listing the “Largest
             CEO Pay Packages in 2016”; summaries of other executive compensation plans at SolarCity, Nike, Avago
             Technologies, and Apple; Radford’s $3.1 billion valuation of a grant featuring $50 billion market capitalization
             milestones and awarding 15% of total outstanding shares; and Radford’s additional preliminary models based on
             different market capitalization approaches. 255 But the appendix data does not constitute a traditional
             benchmarking study, 256 and it is unclear whether the committee discussed this information or the “risks
             associated with such grant” in any event.

                                   10.    Stockholder Outreach

                  During the July 7 meeting, the Compensation Committee tasked Ehrenpreis and Maron with contacting
             Tesla’s largest institutional stockholders to discuss Musk’s new compensation plan. 257 Maron’s team worked with
             outside counsel to prepare talking points to use during the calls. 258 They ultimately spoke to 15 stockholders
             between July 7, 2017, and August 1, 2017. 259 Maron’s subordinates joined these calls and took notes. 260

                   As scripted, Ehrenpreis was to: introduce himself and Maron and identify his objectives as Compensation
             Committee chair (to “keep executives engaged and performing their best”); sing Musk’s praises (“I think we can
             all agree that he’s an extraordinary leader and continues to accomplish incredible things for Tesla and
             its stockholders”); remind the stockholders of the “[i]ncredible success of the 2012 Grant”; and explain that they
             are considering a new compensation structure for Musk and that “[o]bviously, the goals of the new program will
             be similar to the 2012 grant[.]” 261

                  In this litigation, the defendants report that the stockholders to whom Ehrenpreis and Maron spoke “were
             pleased with the 2012 Plan’s results and supported a similar approach for a new compensation plan,” 262 and that

             251
                 JX-464 at 7 (“If market cap/enterprise value used, how to account for the impact of financing or acquisition
             activities, where market cap increases may not translate to stock price increases? Will the use of enterprise value
             encourage debt financings?”).
             252
                 Trial Tr. at 1010:22–24 (Dunn) (testifying that the M&A adjustment provision was both “smart” and “pretty
             standard[]” for the Board to include).
             253
                    JX-510 at 10.
             254
                    JX-473.
             255
                    JX-510 at 18, 19-22, 24-29.
             256
                    Trial Tr. at 1475:20-24 (Brown) (describing traditional benchmarking).
             257
                Id. at 252:23–254:1 (Maron); JX-509 at 2 (7/7/17 Compensation Committee meeting minutes) (“Ehrenpreis
             and Maron then reviewed upcoming plans to discuss CEO compensation generally with the Company’s largest
             shareholders, and solicit their feedback and input for any new program.”).
             258
                    See, e.g. , JX-517 (7/8/17 email with comments from outside counsel re: SH Talking Points).
             259
                 JX-878 at 11 (2/8/18 Schedule 14A Proxy Statement); Trial Tr. at 252:23–253:10 (Maron) (verifying accuracy
             of 2019 proxy).
             260
                See, e.g. , JX-522 (7/11/17 Maron notes from call with Jennison Associates); JX-546 (7/21/17 Maron notes
             from call with Fidelity); JX-551 at 1(7/24/17 Maron notes from call with Baillie Gifford).
             261
                    JX-517 at 5.
             262
                    Defs.’ Post-Trial Opening Br. at 29.


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             stockholders also provided suggestions for the new compensation plan that the Board ultimately adopted. 263 It is
             difficult to credit the defendants’ narrative for two reasons. First, the script reads like a loaded questionnaire
             intended to solicit positive stockholder feedback and not a method for gaining objective stockholder perspectives
             on a potential new plan. There is nothing inherently wrong with the script; it simply undermines the evidentiary
             weight of the resulting communications. Second, what the stockholders said in response to these inquiries is
             hearsay and untested by the adversarial process, including cross examination. 264

                                   11.   The Working Group Develops Operational Milestones.

                  The Working Group next met on July 17. 265 One of the objectives for the meeting was to establish a metric
             for operational milestones. Brown prepared a presentation for the meeting that listed the following potential
             operational metrics: “EBITDA; operating income; free cash flow; gross margin; strategic/execution goals” ​ ( such
             as introducing a new model or producing a certain number of units, as in the 2012 Grant); and “Return Metrics
             (ROA, ROIC, ROE),” with each option paired with a handful of “advantages” and “disadvantages.” 266

                  Ahuja had developed the strategic milestones for the 2012 Grant, and he took responsibility for developing
             the operational milestones for the 2018 Grant. 267 On July 19, Burg sent Ahuja and other members of the
             Working Group an analysis of the historical market capitalization-to-revenue ratio of large U.S. companies. 268
             Ahuja used this data to propose starting with a 6.5x revenue-to-market-capitalization-milestone ratio, which could
             be used to determine the initial revenue milestones—$7.5 billion additional revenue for each $50 billion in
             market capitalization. The revenue milestones then declined to 4x for the final tranches at increments of
             $12.5 billion for each $50 billion market capitalization increment. 269

                 On July 23, Ahuja suggested four EBITDA milestones in addition to the 15 revenue-based milestones:
             $4 billion, $8 billion, $12 billion, and $16 billion. 270 Ahuja projected that Tesla “should be able to get to $12B
             EBITDA in the next 4–5 years depending on volumes . . . and margin assumptions[.]” 271

             263
                    Id. at 30.
             264
                See JX-522 at (notes on Jennison call); JX-546 at 1 (notes on Fidelity call); JX-551 at 1 (notes on Baillie
             Gifford call); JX-552 at 1 (notes on Baron call); JX-531 at 5 (slide featuring comments from T. Rowe, PrimeCap,
             and Jennison); Trial Tr. at 38:9–39:10 (Ehrenpreis) (the plaintiff’s hearsay objection to JX-551 and the court’s
             overruling of that objection for the limited purpose of what Ehrenpreis was told); id. at 40:3–10 (Ehrenpreis) (the
             defendants’ acknowledgement of same limited purpose for JX-546).
             265
                    JX-527 at 3.
             266
                 Id. at 6; JX-530 at 6. Of these options, Ahuja and Maron preliminarily expressed in advance of the meeting
             that they favored revenue. JX-526 at 1–3 (7/10/17 emails between Ahuja, Maron, and Chang re: Operational
             Metrics). Consistent with this preference, the presentation makes a case for revenue, describing it as “the most
             objective financial metric” and noting that the only listed downsides could be mitigated with other, already-
             discussed plan features. JX-530 at 5 (“Disadvantages . . . [1.] Requires adjustments for acquisition activities (e.g.,
             goal increases for acquired companies)[;] [2.] Ignores profitability and may incentivize price cutting/lower
             margins; however, this concern mitigated if paired with long-term market cap goals[.]”). All of the other metrics
             are accompanied by multiple downsides, and none of the downsides for the non-revenue metrics included
             explanations of how those downsides could be mitigated or obviated by other plan features. Id. at 5–6.
             267
                Trial Tr. at 451:3–5 (Ahuja) (“My role was to provide information to the Board and Compensation Committee
             about potential operations milestones that could be used.”); see generally JX-622 (collection of Ahuja’s emails
             concerning milestone development).
             268
                    JX-538.
             269
                    JX-622 at 3 (7/19/17 email from Ahuja to Compensia, Radford, and Tesla in-house attorneys).
             270
                    JX-549.
             271
                 Id. In this litigation, Ahuja testified that by the end of 2017 it became clear that these assumptions were no
             longer reasonable. Ahuja Dep. Tr. at 308:8–312:12. As discussed infra , however, there is a lot of competing
             testimony on the reliability of Tesla’s projections.



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                  The agenda for the July 17 Working Group Meeting included discussion of an M&A Adjustment and a Hold
             Period. 272 Brown prepared a detailed slide on the M&A Adjustment, but there are no contemporaneous
             communications reflecting discussion of the adjustment beyond that slide. 273

                  As to the Hold Period, the presentation noted that the Guidelines required a six-month post-vesting Hold
             Period. 274 The next day, Phillips emailed Burg and Brown a question from Ehrenpreis about “creative options”
             they could employ to “solve for getting a bigger discount” on the publicly reported grant date fair value, 275 such
             as extending the Hold Period to five years (the “Five-Year Hold Period”). 276 Burg provided holding periods
             ranging from one to ten years and types of options with corresponding discounts. 277

                  After the July 17 meeting, the Working Group began planning for an August 1, 2017 Compensation
             Committee meeting. 278 The agenda for the meeting included an update for the full Board (excluding Musk and
             Kimbal) on the structure under discussion for the compensation plan and on stockholder feedback on the
             structure. 279 Maron sent an email to the full Board on July 27, summarizing the process to date and asking
             everyone to attend upcoming Compensation Committee meetings. 280

                                   12.   Musk Hits The Brakes.

                  Late July 2017 proved a busy time for Tesla, which delivered the first Model 3 on July 29. This triggered the
             eighth milestone in Musk’s 2012 Grant. 281 It also prompted Musk to, once again, reset the Compensation
             Committee’s timeline. In Maron’s view, given the struggles with the Model 3 launch, Musk’s desired to extend
             the timeline either because he was unsure whether to commit to Tesla (which Musk denied) or simply did not
             want to focus on compensation during a busy time. 282

                  Whatever the reason, Musk hit the brakes on the process. On June 30, two days before the planned
             Compensation Committee meeting, Musk sent Maron a brief email asking to put the discussion of his
             compensation “on hold for a few weeks[.]” 283 Maron replied that he would “rather keep cranking on it . . .
             because there’s a fair amount to it that we’ve been working on with the board and there’s lead time involved.” 284
             Musk agreed to let Maron proceed, stating that he “[j]ust want[ed] to make sure Tesla interests come first.” 285
             Musk reminded Maron that “[t]he added comp is just so that I can put as much as possible towards minimizing
             existential risk by putting the money towards Mars if I am successful in leading Tesla to be one of the world’s
             most valuable companies. This is kinda crazy, but it is true.” 286

             272
                    JX-530 at 3 (7/17/17 Working Group discussion document).
             273
                    Id. at 10.
             274
                    Id. at 8.
             275
                 JX-535 at 1–2 (7/18/17 email from Phillips to Radford and Compensia asking them to compute what the
             discount would be if “Elon had to hold all exercised shares for 5 years?”).
             276
                    Id.
             277
                JX-544 at 1–2 (7/21/17 email from Burg to Compensia, Chang, Ahuja, and other Tesla team members re:
             “Update to Slide Per Ira’s Request”).
             278
                    JX-554 at 1.
             279
                    Id.
             280
                    JX-559 (7/27/17 email from Maron to Gracias, et al. re “CEO Comp planning”).
             281
                    JX-563 (7/30/17 email from Gracias to Maron re: “Tesla UWC - Milestone Achievement”).
             282
                    Maron Dep. Tr. at 197:1–199:6; Trial Tr. at 249:16–250:12 (Maron).
             283
                    JX-564 (7/30/17 email from E. Musk to T. Maron re “Re: My comp stuff”).
             284
                    Id.
             285
                    Id.
             286
                    Id.


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                       D.      The Process Goes Off Course.
                  By August 2017, Musk remained hyper-focused on Model 3 production, which was proving slow and
             painful. 287 As Musk described at trial, “[t]he sheer amount of pain required to achieve that goal, there are no
             words to express.” 288 This aspect of Musk’s testimony was totally credible.
                  Although Musk agreed to allow Maron to “keep cranking,” progress on Musk’s compensation plan had
             slowed to a halt. 289 From August through September, there was some discussion of Musk’s compensation plan
             but no action, and there were no meaningful discussions of the 2018 Grant in October. 290 The highlights of this
             interregnum are discussed in brief below.




             287
                JX-615 at 4 (9/5/17 email from Musk describing “[t]he slow progress” as “extremely alarming,” demanding
             production of 1,000 Model 3 vehicles in the final week of September, stating “[c]ome hell or high water that
             1000 unit number is going to f***ing happen if I have to help build them myself. . . . I’m going to be draconian
             because I have to be[,]” and warning that “Tesla’s life is at stake” ​ ( asterisks added)).
             288
                    Trial Tr. at 673:13–17 (Musk).
             289
                 See, e.g. , JX-596 at 1 (8/12/17 email from Brown telling another Compensia employee that there was “no
             need to spend time on [a presentation relating to the 2018 Grant] for now” and noting that “Elon and the Board
             are negotiating a little bit, which may impact where they land on some of the key program points[,]” although the
             record does not reflect any such negotiations at that time); JX-599 (8/17/17 email from Phillips tacitly noting the
             pause by stating that “[w]e would like to proceed with Elon’s grant. I am hoping we can get on a call tomorrow
             with this small group to discuss next steps, proposed timeline and slides,” although it does not appear that any
             call took place); JX-604 at 1 (8/27/17 email from Ahuja to Working Group members stating “[i]t was decided to
             defer [] action by a few months”).
             290
                Materials for the October 5 Compensation Committee meeting, for instance, make no mention of the 2018
             Grant. See JX-650.



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                  The Compensation Committee held a telephonic meeting on August 1, and Compensia made a presentation
             during that meeting that summarized the committee’s progress to date. 291 The most notable aspect of this
             meeting concerned the following “key question” that went undiscussed: “Is additional compensation for the CEO
             required given his current ownership and its potential appreciation with Company performance?” 292 Musk had
             made his initial proposal in April 2017, and the original timeline had the process wrapping up by July 2017, but
             this was the first time that this “key question” had been posed—did Musk require additional compensation? The
             most curious thing about this question is that there is no evidence that any director deliberated over it, and it did
             not appear in any other Board or committee materials. 293
                  The next event of interest occurred on September 8, when Ehrenpreis and Denholm spoke to Musk to discuss
             his compensation plan. 294 Once again, the most notable aspect of this conversation concerns a question that went
             undiscussed. The agenda for the September 8 call identified the following topic for discussion: “Should some
             type of commitment be included as part of comp structure?” 295 Trial testimony revealed that no one raised this
             issue with Musk. 296 Ehrenpreis recalled discussing Musk’s dedication to Tesla generally. 297 And Maron’s
             summary of the call reflects that the participants discussed the “opportunity costs” of Musk devoting time to
             Tesla. 298 Although Musk didn’t “have a good recollection of [the September 8] call,” 299 he was confident that
             they did not discuss a time or attention commitment “vis-à-vis [Musk’s] other interests.” 300 Musk said “that
             would be silly.” 301




             291
                JX-566 at 10–15 (8/1/17 slide deck for Compensation Committee meeting, with a slide titled: “For Reference:
             Preliminary Work to Date”).
             292
                    Id. at 7–8.
             293
                 The presentation also: reflected Musk’s proposed 15-tranche structure; described the operational milestones as
             “TBD”; and included questions about a Clawback Provision (“Should there be an expanded clawback provision,
             or is the current provision from the Corporate Governance Guidelines adequate?”), an M&A Adjustment (“How
             should corporate transactions and potential changes in control be addressed?”), and a Hold Period (“What
             limitations should there be on the form of exercise, and should extended post-exercise holding period(s) for
             earned shares be established?”). Id. at 8.
             294
                PTO ¶ 223; JX-610. Although Maron was invited to the call, he did not attend and did not have a substantive
             recollection of what was discussed. Maron Dep. Tr. 221:7−223:18.
             295
                    JX-612 at 2.
             296
                 JX-617 at 2 (9/8/17 Compensation Committee meeting minutes indicating that a call occurred but providing
             no substance); Trial Tr. at 140:4−141:1 (Ehrenpreis) (testifying that he could not recall if Musk or Denholm had
             discussed with him “anything about . . . Musk[] devoting his time and attention to Tesla” as opposed to his other
             companies).
             297
                    Ehrenpreis Dep Tr. at 309:11–311:6.
             298
                    JX-629 at 2; see also Trial Tr. at 665:2–667:10 (Musk) (discussing opportunity costs).
             299
                    Musk Dep Tr. at 154:12–22.
             300
                    Id. at 160:11–18.
             301
                    Id.


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                  The Board met on September 19, but the meeting was not terribly interesting. Ehrenpreis reported on the
             committee’s progress 302 and the September 8 conversation with Musk. 303 Brown gave a presentation covering
             much of the same ground as the August 1 presentation. Brown valued the 15% market capitalization option at a
             $2–3 billion grant date fair value. 304 According to the meeting minutes, “[t]he Board expressed its general
             support for the overall structure of” the Grant, meaning the 15-tranche structure. 305 The Board favored “a
             long-term stock option grant . . . with performance-based vesting, primarily keyed to the market capitalization of
             the Company[.]” 306 The Board noted that “Musk was driven by large goals[,]” and “viewed the discussed targets
             as achievable given the potential of the Company and believed that Mr. Musk would as well.” 307

                  Before this period of inactivity, the only milestones that had been discussed were the $50 billion market
             capitalization milestones. Operational milestones remained “TBD,” 308 but Ahuja gave some thought to them in
             August and September. There was a Working Group meeting on August 3, 309 and after that time, discussions
             focused on adjusted EBITDA. 310 It is unclear who made the decision to focus on that metric.

                  On August 17, Ahuja asked one of his employees for “operational metrics [that] will line up with 15
             increments of $50B in market cap.” 311 Ahuja envisioned 15 adjusted EBITDA milestones “ranging from $2B to
             $25B” and requested comparisons to historic EBITDA/market capitalization correlations for Apple, Amazon, and
             Google. 312 After pulling the data, members of Ahuja’s team responded that they “didn’t see immediate parallels
             to where we are.” 313 Ahuja requested more information on the data they gathered concerning “% Adjusted
             EBITDA/Revenue and Market Cap to Adjusted EBITDA multiple.” 314

                  The day after the September 19 Board meeting, Ahuja reached out to his team for help developing “10
             Adjusted EBITDA based metrics that end at a revenue of about $150B and market cap of about $800B using %
             and multiples which start high and progressively become lower.” 315 He explained that “[t]he thinking is that we
             will develop EBITDA

             302
                 PTO ¶ 225; JX-631 (9/19/17 special Board meeting minutes); JX-629 at 3 (9/18/17 email from Maron to the
             Board attaching a document stating, “[d]ecisions to be made at this meeting: 1. With Ira’s assistance, have
             compensation committee determine the following: a. Whether to maintain basic 2012 award structure (tranches
             tied to paired operational and market cap goals) and determine approach to goals b. Appropriate award size
             (e.g., number and size of tranches)”); JX-632 at 3 (9/19/17 email from Maron to the Board attaching a document
             stating, “[d]ecisions to be Made -Whether to maintain basic 2012 award structure (tranches tied to paired
             operational and market cap goals) - Appropriate award size (e.g., number and size of tranches)”).
             303
                 JX-631 at 1 (9/19/17 special Board meeting minutes stating: “Mr. Ehrenpreis provided an update on the
             activity regarding the CEO Compensation Program. Mr. Ehrenpreis reviewed the continuing work by members of
             the Compensation Committee, Company management and outside advisors, including Compensia, Radford and
             Wilson Sonsini Goodrich & Rosati. The Compensation Committee had developed key points and met with
             Mr. Musk to discuss various aspects of the CEO Compensation Program. . . . Mr. Ehrenpreis and Ms. Denholm
             updated the Board regarding their last meeting with Mr. Musk.”).
             304
                    JX-632 at 7, 21.
             305
                    JX-631 at 2.
             306
                    Id.
             307
                    Id.
             308
                    JX-566 at 28.
             309
                    JX-584 (8/3/17 email from Phillips to Maron with Working Group agenda).
             310
                JX-640 at 3–4 (8/17/17 email from Ahuja to a subordinate stating that “the thinking now is to focus more on
             adjusted EBITDA . . . rather than revenue metrics”).
             311
                    Id. at 3.
             312
                    Id.
             313
                    Id. at 2.
             314
                    Id.
             315
                    Id. at 1.


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             based operational metrics rather than [r]evenue based.” 316 It is unclear who dictated that “thinking” at the time.
             A Tesla employee responded to Ahuja’s request on September 21, providing ten potential EBITDA milestones
             (going from $2 billion to $20 billion in even increments of $2 billion, similar to Ahuja’s range). 317 The data
             reflected adjusted EBITDA/revenue ratios of Tesla and its peers ( e.g. , Apple (34%) and Google (42%)). 318 The
             employee found that Ahuja’s proposed EBITDA milestones range would necessitate an EBITDA-to-market-
             capitalization multiple well above that of Amazon, Apple, or Google. 319

                          E.    The Process Restarts.
                  By the end of October, Tesla’s production difficulties seemed to be easing. A “Quarterly Update Letter”
             signed by Musk and Ahuja for the Board’s audit committee (the “Audit Committee”) at its October 31, 2017
             meeting was generally optimistic. It stated that the “production rate will soon enter the steep portion of the
             manufacturing S-curve,” which would create “non-linear production growth” in the following weeks. 320 With
             Tesla’s production stabilizing, Musk turned his attention back to his compensation plan.

                                   1.      Musk Lowers His Ask.
                   In the early hours of November 9, Musk sent Maron an email stating that he wanted to “move forward with
             [his compensation plan] now, but in a reduced manner from before.” 321 Musk testified that by “reduced,” he
             meant something less than 15% of total outstanding shares. 322 It is unclear why Musk decided to lower his ask.
             It is possible that he was just trying to single-handedly calibrate the compensation package to terms that were
             more reasonable. Later that morning, Musk told Maron that he would “like to take board action as soon as
             possible if they feel comfortable and then it would go to shareholders.” 323 Musk stated:
                                   I think the amount should be reduced to a 10% increment in my Tesla
                                   ownership if I can get us to a $550B valuation, but that should be a fully
                                   diluted 10%, factoring in that it dilutes me too. So if it hypothetical [sic] was
                                   awarded to me now and I own (probably) ~20% fully diluted, then I would
                                   have ~30%. Of course there will be future dilution due to employee grants
                                   and equity raises, so probably this is more like 25% or so in 10 years when it
                                   has some chance of being fully awarded. 324
                  The implication of Musk’s proposal to use a 10% fully diluted figure at 1% per tranche is that he now sought
             a ten-tranche structure.
                     Moments later, Musk sent Maron another email stating:
                                   Given that this will all go to causes that at least aspirationally maximize the
                                   probability of a good future for humanity, plus all Tesla shareholders will be
                                   super happy, I think this will be received well. It should come across as an
                                   ultra bullish view of the future, given that this comp package is worth
                                   nothing if ‘all’ I do is almost double Tesla’s market cap. 325



             316
                    Id.
             317
                    JX-641 at 1.
             318
                    Id. at 4; JX-642; JX-643.
             319
                    JX-641 at 1; see also JX-642 (9/21/17 Spreadsheet of Milestones, Sheet Two, Columns F, N).
             320
                    JX-1540 at 84 (10/31/17 Audit Committee meeting materials).
             321
                    JX-664.
             322
                    Trial Tr. at 676:18–677:1 (Musk).
             323
                    JX-664.
             324
                    Id.
             325
                    Id.


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                 Ehrenpreis relayed Musk’s revised proposal to the Board at a special meeting on November 16, 2017. 326 In
             advance of that meeting, Chang sent Ehrenpreis a list of talking points, stating the “[n]umbers we are talking
             about are now lower than before . . . 10 tranches to $550 billion; 1% per tranche[.]” 327

                                   2.     Some Turbulence

                  Meanwhile, on November 13, Jurvetson began a leave of absence. 328 At the time, Jurvetson had been a
             managing director of Draper Fisher Jurvetson (“DFJ”), a venture capital firm with investments in Tesla and other
             Musk-related businesses. 329 Following a scandal, Jurvetson was removed from DFJ. This became a “PR
             problem” for Tesla. 330 Jurvetson returned to the Board in April 2019 but left again in September 2020. 331 On
             November 14, Musk emailed Maron again, asking to “pause for a week or two” on his compensation plan as it
             would be “terrible timing.” 332 At trial, Musk did not recall the nature of the problem. He is a smart person,
             though, and it is possible that he thought it was better to avoid releasing controversial news on the heels of
             controversial news. 333

                                   3.     Musk Further “Negotiates Against Himself.”

                  Musk’s November 9 proposal had the unintended consequence of raising Musk’s demand. According to
             Chang, Musk’s demand to increase his current percentage of fully diluted shares (approximately 18.9%) by
             ten percentage points (to approximately 28.9%) would require an award of 28,959,496 shares, which equaled
             approximately 17.23% of total outstanding shares as of November 2017. 334 Musk’s November 9 request,
             therefore, turned out to be larger than his initial proposal, contrary to Musk’s desire for a “reduced” amount. 335

                  Maron sent Chang’s calculations to Musk on November 29. 336 Maron presented to Musk both (i) the total
             amount of shares Musk would receive based on his November 9 request for an additional 10% on a fully diluted
             basis (28,959,456 shares); and (ii) the total amount of shares Musk would receive based on his March 2017
             request for an award of 15% of total outstanding, non-diluted shares (25,217,325 shares). 337

                  Musk responded on December 1 telling Maron: “That is more than intended. Let’s go with 10% of the
             current FDS number, so 20.915M.” 338 Musk arrived at this number by multiplying Tesla’s FDS (fully diluted
             share) total as of November 2017 by 10%, or by factoring in dilution on a pre-grant basis.

             326
                    JX-669 (11/16/17 special Board meeting minutes).
             327
                    JX-670 (11/15/17 email from Chang to Ehrenpreis in advance of a Board meeting the following day).
             328
               PTO ¶ 133. Jurvetson had joined both the Tesla Board and the SpaceX board in June 2009, and he joined the
             Audit Committee in January 2010. Id. ¶¶ 132, 134, 136.
             329
                 Id. ¶¶ 130, 135 (6,546,420 shares of SpaceX collectively with affiliated funds); id. ¶¶ 138–39 (stating that
             DFJ was also SolarCity’s third-largest institutional stockholder, owning 4,827,000 SolarCity shares (worth
             $98,229,450.00) as of its acquisition by Tesla). Jurvetson has other personal and professional ties with Musk. For
             instance, he personally beneficially owned 114,576 shares of Tesla common stock as of December 31, 2017. Id.
             ¶ 135. Jurvetson is an investor in Musk’s Boring Company and Kimbal’s The Kitchen Restaurant Group. See id.
             ¶¶ 140–41.
             330
                    Gracias Dep. Tr. at 96:12–21, 98:3–16. The details of the incident do not appear in the record.
             331
                    PTO ¶¶ 132–33.
             332
                    JX-668.
             333
                Trial Tr. at 640:8–641:4 (Musk) (“I’d asked to just pause any discussions of compensation given the crisis
             level at the company was too high to think about anything else.”).
             334
                    JX-673.
             335
                    JX-664.
             336
                    JX-678.
             337
                    Id. at 1.
             338
                    JX-682 at 1.


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                  When asked about his December 1 proposal, Musk volunteered an answer that the plaintiff’s counsel has
             gleefully emphasized at every opportunity. He said that the December 1 proposal “was, I guess, me negotiating
             against myself.” 339

                                   4.   A Surge Of Activity

                 The parties crammed a lot of work into a few days in December. During a five-day period that month, the
             Compensation Committee met twice (on December 8 and 10), 340 and the Board met once (December 12). 341
             There was a renewed sense of urgency after the December 8 meeting, as reflected by email chatter on
             December 10 and 11 among high-ranking Tesla employees enlisted to work on the Grant. 342

                  During the December 10 meeting, the Compensation Committee approved a 12-tranche Grant structure and a
             set of operational milestones. Ehrenpreis reported that Musk “appeared prepared to accept” the structure, which
             the minutes described at the “lower end of the previously contemplated range of 12% of the total outstanding
             shares.” 343 The December 12 meeting minutes also identify other terms under consideration.

                                        a.      The 12%/12-Tranche Structure

                  All pre-November 9 discussions had assumed 15 tranches, in line with Musk’s proposals. 344 And on
             November 9, Musk proposed ten tranches measured by fully diluted shares. On December 10, however, the
             Compensation Committee approved a 12-tranche structure, which was presented to the Board two days later. The
             parties dispute the evolution of the 12-tranche structure.

                  According to Ehrenpreis, the 12-tranche structure was intended to counter Musk’s offer for a fully diluted
             10% and its corollary ten-tranche structure. 345 This may appear counterintuitive, because 12% of total
             outstanding shares equals approximately 10% fully diluted—thus, making it seem like there was no real upside to
             using the 12% figure. The difference, however, is that adding two more tranches on top of Musk’s suggested ten
             tranches required Tesla to hit the $50 billion market capitalization target two more times to generate an additional
             $100 billion in


             339
                    Musk Dep Tr. at 263:2–4.
             340
               JX-697 (12/8/17 Compensation Committee meeting minutes); PTO ¶ 229 (noting the Compensation
             Committee met on 12/10/17).
             341
                    JX-729 (12/12/17 special Board meeting minutes).
             342
                 JX-717 at 1 (12/10/17 email noting the “importance and the timing on getting” an analysis of the stock-based
             compensation effects of the grant “out quickly” because of a valuation deadline the next day); id. (12/11/17
             email marked as “high” importance stating, “[w]e are back on with a vengeance (apologies in advance). . . . I am
             just now digesting myself”); JX-718 at 1 (12/11/17 email stating that “[o]ur CEO grant[] is back and on a fast
             track now”).
             343
                    JX-729 at 1.
             344
                 See JX-1598 at 3 (15 tranches, 1% of total outstanding shares each); JX-434 at 3 (15 tranches, 1% of total
             outstanding shares each); JX-445 (15 tranches, 1% of total outstanding shares each); JX-464 at 5–7; (15 tranches,
             1% of total outstanding shares each); JX-486 at 1 (15 tranches, 1% of total outstanding shares each); JX-510 at
             12 (15 tranches, varying total outstanding shares awards each); JX-530 at 9, 13 (15 tranches, varying total
             outstanding shares awards each); JX- 566 at 11, 14 (15 tranches, varying total outstanding shares awards each);
             JX-640 at 3 (15 tranches); JX-632 at 4 (15 tranches, varying total outstanding shares awards each). One
             Compensia presentation from September 19 provides “5 to 10” tranches as a possible range, but this is clearly an
             error as the rest of the presentation, including the slide where this range appears, assumes an award with 15
             tranches. See JX-628 at 6. Ehrenpreis’s testimony that “5 to 10 . . . was the range of the number of tranches that
             was being considered at that time” is not credible, and he acknowledged on redirect that the rest of the
             presentation envisioned 15 tranches. Trial Tr. at 51:18–24, 214:20–215:6 (Ehrenpreis).
             345
                Trial Tr. at 58:15–59:11 (Ehrenpreis) (“And essentially — and getting him to agree to the total outstanding
             share framework, we added two more vesting tranches, which would have required, for him to achieve the
             equivalent in number of shares, $100 billion market cap more.”).



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             market capitalization. 346 So, the 12-tranche structure made it harder for Musk to achieve the maximum payout of
             the Grant. Musk testified that the shift from fully diluted to total outstanding shares was one of “two areas . . .
             where the board pushed significantly, which I conceded[.]” 347

                  This testimony, however, finds no support in the contemporaneous record. Although there are benefits of a
             12-tranche structure to minority stockholders, the move to 12% and 12 tranches was driven by the Board’s
             preference to base the Grant on total outstanding shares rather than fully diluted shares.

                  The issue first arose during the November 16 Board meeting. There, the Board discussed a move from
             Musk’s proposed fully diluted shares to the Board’s preferred total outstanding shares. 348 The Board viewed total
             outstanding shares as a simpler metric and had used it when issuing the 2012 Grant. 349

                 On December 10, the Compensation Committee held a special meeting to discuss the Grant. 350 There are no
             minutes for the December 10 meeting. Chang attended and took notes, which he circulated by email later that
             evening. 351 His notes state:

                                 Todd Introduction/led discussion re review of terms
                                 o We seem to be at the right place as far as size: 10% of
                                 FDS (~12% of TOS)
                                 o #of tranches?
                                 Simplicity of 10
                                 10 means that the end goal is smaller
                                 Agreed to 12 tranches of 1% each. 352

             Translating the above, the Board agreed to the size demanded by Musk but preferred to base it on total
             outstanding shares, consistent with their discussion during the November 16 meeting. With his meeting notes,
             Chang indicated that he would “send another email shortly with the grant size numbers.” 353 A few minutes later,
             he sent an email to the same people attaching a spreadsheet and stating the following:

                              Contemplated size of grant is here. Details attached.

                                 This is based on 12% of total outstanding shares (TOS as of 11/8, should
                                 update to close to grant, but this should still get us very close).

                              Grant size would be 20,173,860 shares.
                         • 12% of TOS

             346
                 Where each tranche is 1%, and there is a $50 billion market capitalization target per tranche, adding two
             tranches increases the total market capitalization goal by $50 billion x 2 = $100 billion.
             347
                    Id. at 584:9–19 (Musk). The other area was the Five-Year Hold Period, discussed below.
             348
                JX-669 (noting the Board “expressed a general preference” for a non-diluted award and a structure of “1% of
             current total outstanding shares as the award for each vesting tranche” accompanied by $50 billion market
             capitalization increases and a “matching operational milestone”).
             349
                Maron Dep. Tr. at 407:17–25 (stating that the Board used total outstanding shares, instead of fully diluted
             shares, because “it was a simpler approach”); JX-135 at 77 (showing 2012 Grant using total outstanding shares as
             well). The 2009 Grant used a diluted approach. JX-68 at 2–3.
             350
                    PTO ¶ 229.
             351
                    JX-701.
             352
                Id. There is some indication that the 12-tranche structure was being considered prior to this meeting. On
             December 6, Ahuja circulated a spreadsheet concerning operational milestones to Chang and Maron. That
             spreadsheet reflected a 12-tranche structure, suggesting that Ahuja, Chang, and Maron had discussed this
             possibility prior to that time. JX-688.
             353
                    JX-701.


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                                         354
                         • 9.8% of FDS

                 On December 11, Ahuja emailed Chang and Tesla’s corporate controller to confirm that the 2018 Grant
             would award 20,173,860 shares (12% of total outstanding or 9.8% of fully diluted) over 12 tranches. 355

                     On December 12, Ehrenpreis told the Board that Musk was prepared to accept this Grant size. 356
                  There is no discussion in any of the minutes or notes of the November 16, or December 8, 10, or 12
             meetings indicating that the Board desired 12 tranches because it was better for the minority stockholders. To the
             contrary, the only explanation in the record for the 12-tranche structure is that the Board preferred to measure the
             Grant by total outstanding shares for simplicity’s sake.
                  There is also no evidence that the Board pushed for the 12%/12-tranche structure. Maron did not recall the
             Board pushing or Musk conceding anything. He testified that although “the size of the overall plan” was one of
             the features that was “different than I think were initially thought of by Elon . . . I don’t want to say that it was
             necessarily over his objection.” 357 Reinforcing the similarity between Musk’s 10% fully diluted ask and the
             Board’s 12% total outstanding offer, Musk confused the two at trial, mistakenly testifying that the Grant awarded
             “10 percent.” 358

                                         b.       The Operational Milestones

                 During the November 16 Board meeting, the Board “discussed the structure of the operational milestones,”
             came to a consensus to use both sales and profits metrics, and “directed the Compensation Committee and
             management to develop operational milestones” using revenue and EBITDA. 359
                  Ahuja and his team took up the mantle. On December 7 and 8, Ahuja developed a number of alternatives
             using a comparatively low 10% EBITDA/revenue margin. 360 By December 10, Ahuja had refined the model to
             three options for six, eight, or 12 of each of revenue and adjusted EBITDA milestones, all at a 10% EBITDA/
             revenue margin. 361

                  Recall that, in September 2017, Tesla sought to develop achievable operational milestones and analyzed
             information regarding the adjusted EBITDA/revenue ratios certain peers ( e.g. , Amazon (8%), Apple (34%), and
             Google (42%)). 362 The 10% EBITDA/revenue ratio modeled by Ahuja, therefore, was comparatively low and
             thus easier to achieve. 363 Tesla ultimately based the Grant’s EBITDA milestones on an 8% EBITDA/revenue
             margin, 364 making them even easier to achieve. 365

             354
                    JX-702.
             355
                    JX-715.
             356
                    JX-729 (12/12/17 special Board meeting minutes).
             357
                    Maron Dep Tr. at 428:20–430:3.
             358
                 Trial Tr. at 581:13–582:6 (Musk) (“Q. You think it was half a percent for the 2018 plan as opposed to the
             2012 plan? A. Sorry. 2012 — I think — I think it was 12 tranches for normally 10 percent -ish, approximately.”).
             Musk also testified that during the first conversation about the 2018 Grant he proposed a 10% incremental
             increase to his Tesla holdings. Musk Dep Tr. at 144:13–146:6. In context, this explanation appears implausible.
             359
                    JX-669 at 2.
             360
                JX-691 (12/8/17 email from Ahuja to Maron laying out four alternatives for revenue and EBITDA as
             operational milestones); JX-694 (Ahuja, Chang, and Maron planning to discuss milestone approach on
             December 8); JX-698 at 1 (12/9/17 email from Ahuja to Maron and Chang re: Revised CEO Comp alternatives,
             with attachment).
             361
                    JX-698 at 1.
             362
                    JX-641 at 4; JX-643; JX-733 at 6.
             363
                    Trial Tr. at 893:18–894:21 (Restaino).
             364
                    JX-733 at 6.
             365
                    Trial Tr. at 893:18–894:21 (Restaino).


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                  Ahuja explained his methodology at trial. He “started with” the $50 billion market capitalization milestones
             and backed into the revenue and EBITDA targets. 366 Chang similarly explained that the operational and market
             capitalization milestones “have to be somewhat aligned. It has to make sense to be able to be achieved around the
             same time or what you think is the same time.” 367 So to establish the operational milestones, the Working Group
             asked: “at this valuation what would . . . revenue and EBITDA look like . . . ?” 368

                  During the December 12 meeting, the Board also reviewed Tesla’s then-current operating plan and
             projections. 369 Ahuja developed, and Musk approved, the projections in December prior to the meeting (the
             “December 2017 Projections”). 370 The one-year projections underlying the operating plan forecasted $27.4B in
             total revenue and $4.3B in adjusted EBITDA by late 2018, and thus predicted achievement of three milestones in
             2018 alone. 371 The three-year long-run projections (“LRP”) underlying that plan reflected that, by 2019 and
             2020, Tesla would achieve seven and eleven operational milestones, respectively. 372 The following chart reflects
             the corollaries:

                                                    Revenue                                       Adjusted EBITDA
                                   2017 3-Yr LRP                               The Grant                      2017 3-Yr LRP
               FY2018                 $27.5B                    $20B                       $1.5B                    $3.8B
               FY2019                 $41.9B                    $35B                       $3B                      $8.1B
               FY2020                 $69.6B                    $55B                       $4.5B                    $14.4B
                                                                $75B                       $6B
                                                                $100B                      $8B
                                                                $125B                      $10B
                                                                $150B                      $12B
                                                                $175B                      $14B

                       F.      The Last Leg

                  The day after the December 12 Board meeting, Chang provided Burg and Brown the “near final” term sheet
             (the “December 13 Term Sheet”), stating that Musk was “well aligned” on the terms and that he expected Board
             approval in early January 2018. 373 The key terms concerning structure and milestones had been finalized, which
             allowed Burg to complete the grant date fair value. Other terms, such as a Leadership Requirement (defined
             below), the Hold Period, and the M&A Adjustment would fall into place in the weeks ahead.




             366
                    Id. at 463:15–464:8 (Ahuja).
             367
                 Id. at 1094:17–1095:14 (Chang); see also, e.g. , id. at 1061:23–1064:21 (Burg) (“Question: And was that work
             in connection with looking at revenue to market cap ratio, was that related to some sort of correlation between
             market cap, on the one hand, and revenue, on the other, and/or how an increase in one of those inputs might
             impact the other one? Answer: Yes. Essentially, it was trying to get a feel for — trying to get a feel for market
             cap to revenue ratios and how those change over time as companies grow very big.”).
             368
                    See id. at 1093:7–12 (Chang).
             369
                JX-740 at 2 (email attaching 2018 operating plan 12/12/17 slide deck); Trial Tr. at 523:12–16 (Ahuja)
             (confirming the full Board saw the projections before approving the Grant, including in December 2017).
             370
                JX-728 at 1–2; JX-372 at 6 (text messages between Maron and Ahuja); Trial Tr. at 515:18–516:7,
             517:8–518:11 (Ahuja).
             371
                    JX-749 at 20; Trial Tr. at 518:18–519:5 (Ahuja).
             372
                    JX-529 at 2; JX-543 at 2; JX-555 at 5; JX-573 at 408; JX-582 at 4; JX-587.
             373
                    JX-743 at 1.


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                                    1.    The Leadership Requirement
                 The December 13 Term Sheet reflected agreement on a “Leadership Requirement,” conditioning vesting
             under the Grant on Musk being “CEO or Executive Chairman and Chief Product Officer[.]” 374
                  The 2012 Grant contained a stricter Leadership Requirement, which conditioned vesting on Musk remaining
             CEO. 375 The Board materials for the September 19 meeting reflect that the Board considered a Leadership
             Requirement similar to that in the 2012 Grant. 376 At some point between September 19 and December 13, the
             Board relaxed its request to allow vesting if Musk was not CEO but was Executive Chairman and Chief Product
             Officer. 377 There is no indication how or when the decision was made, whether it was raised with Musk, or when
             the term was finalized, but it appears in the final Grant.
                  At trial, Gracias explained that the more lenient Leadership Requirement reflected the Board’s belief that
             Musk’s “most valuable function[]” was as the “chief product officer,” not as the CEO. 378 There is no evidence
             that the Board ever discussed or negotiated this with Musk.

                                    2.    The M&A Adjustment

                  The December 13 Term Sheet reflected the Board’s intent to include an M&A Adjustment in the Grant. 379
             The 2018 Grant included an M&A Adjustment, which had been under discussion since at least the June 23
             Compensation Committee meeting. 380 In its final form, the M&A Adjustment excluded from the market
             capitalization milestone acquisitions with a purchase price over $1 billion, and the revenue and adjusted EBITDA
             milestones excluded amounts attributable to acquisitions providing more than $500 million or $100 million of
             each, respectively. 381
                   At trial, Ehrenpreis described this as a negotiated term, testifying that Musk wanted “the M&A adjustments
             just to apply to a single milestone at the point of M&A, and we ultimately got those adjustments to apply across
             the entire basis of the — of all the milestones.” 382 Ehrenpreis was referring to a January 16 demand from Musk
             to Maron that the M&A Adjustment threshold be 5% of the then-current market capitalization rather than a flat
             $5 billion. 383 Musk also told Maron that adjusting the revenue and adjusted EBITDA milestones would be too
             complicated and unnecessary. 384

                 Musk, however, would eventually come around to the M&A Adjustment as proposed by the Board and even
             suggested stricter terms. After speaking to Ahuja, on January 16, Maron proposed a threshold that would exclude
             acquisition-based market capitalization growth amounting to the lesser of (i) 5% market capitalization at the time
             of

             374
                    Id. at 4–5.
             375
                    JX-137 at 1 (2012 Grant).
             376
                 Id. ; JX-633 at 9 (“Based on the 2012 Award, should the Company continue to require Mr. Musk to be CEO
             in order to continue vesting under the new award?”).
             377
                    JX-878 at 52 (2/8/18 Schedule 14A Proxy Statement).
             378
                    Trial Tr. at 726:4–15 (Gracias).
             379
                    JX-743 at 4–5.
             380
                    JX-475 at 6.
             381
                    JX-878 at 19 (2/8/18 Schedule 14A Proxy Statement).
             382
                 Trial Tr. at 227:9–13 (Ehrenpreis); see id. at 63:5–15 (Ehrenpreis) (“We further negotiated the idea of creating
             adjustments to both the revenue and EBITDA and market cap numbers if there was M&A that caused — if,
             through acquisition, either the market cap or those financial metrics increased. And so there was a negotiation
             around the idea that we didn’t want the plan to have the unintended consequence of Elon being able to buy his
             way into it through M&A.”); see also JX-783 at 1–2 (1/16/18 email from Maron to Compensation Committee
             stating that Musk wanted that “[a]ny M&A in which [Tesla] buy[s] a company for no more than 5% of [Tesla’s]
             then current market cap will have no adjustment”).
             383
                    JX-783 at 2.
             384
                    See id. at 1.


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             the acquisition and (ii) a flat number between $5 and $10 billion. 385 Musk countered—again, against
             himself—with a threshold at the lower of 2% of then-current market capitalization or $1 billion.386 He told
             Maron and Ahuja, “I don’t think we will be making big acquisitions[]” and “[t]here is no chance I will game the
             economics here, so I’m fine with limits that prevent that.” 387 After discussing the issue with the Compensation
             Committee, all agreed to the following exclusion triggers for acquisition-based growth: the lower of 2% of
             then-current market capitalization or $1 billion for market capitalization milestones; revenue exceeding
             $500 million for the revenue milestones; and adjusted EBITDA exceeding $100 million for the adjusted EBITDA
             milestones. 388

                                   3.    The Hold Period

                 The December 13 Term Sheet reflected that the duration of the Hold Period was an open issue. 389 The
             December 13 Term Sheet stated that the Hold Period was “likely to be 5 years,” but it was still uncertain. 390 The
             2018 Grant included the Five-Year Hold Period.
                  At trial, Ehrenpreis described the Five-Year Hold Period as a negotiated term. 391 Musk similarly testified
             that the Board “pushed” for this term, which was his “biggest concern, because it would mean that either [he]
             would need to run the company for another five years after the stock vested or [he] would need to find someone
             who would run the company well enough to not cause the valuation to subsequently decline significantly. . . . A
             lot can happen in five years.” 392
                  But there is nothing in the record reflecting any actual negotiation with Musk over this term. The only
             explanation in the record for a five-year period came in July, when Ehrenpreis raised the possibility as a “creative
             option[]” for “getting a bigger discount[]” on the publicly disclosed value of the Grant. 393

                                   4.    The Grant Date Fair Value

                 On December 22, Burg provided a valuation letter based on the December 13 Term Sheet. 394 Burg used
             Monte Carlo simulations to estimate the probability of hitting the market capitalization milestones, which is a
             “generally

             385
                JX-781 at 2 (1/16/18 email from Maron to Musk stating, “Deepak and I were just talking and think we should
             make a slight tweak to what we discussed. Because setting the threshold at 5% of our then current market cap
             could result in pretty big numbers as we grow, and thus one deal that’s under 5% could still be a big chunk of a
             $50B market cap increment, we propose setting the threshold at the *lesser* of (a) 5% of our then current market
             cap or (b) some number between $5B and $10B.”).
             386
                    JX-781 at 1.
             387
                    Id. at 1–2.
             388
                    JX-782 at 1.
             389
                    JX-743 at 4–5.
             390
                Id. at 5 (12/13/17 term sheet); see also JX-746 at 3 (Liu 12/13/17 email stating “[i]t seems we’ll likely have
             5 years holding period after exercise”).
             391
                 Trial Tr. at 63:20–64:1 (Ehrenpreis) (stating the Board “negotiated an agreement that [Musk] would hold for
             five years after both the achievement and vesting and exercise of the options”); id. at 210:24–211:2 (Ehrenpreis)
             (“It did. I mean, we didn’t have one in the beginning, and we ultimately were able to get five years.”); see also
             id. at 342:15–21 (Denholm) (“There were also some questions or some comments about the retention period after,
             you know, assuming that the plan was achieved over a period of time, that he needed to hold the equity for
             five years. I remember that coming up as being a virtuous feature of the actual program, because it, again,
             aligned shareholder interest.”).
             392
                    Id. at 584:12–585:2 (Musk).
             393
                 JX-535 at 1–2 (7/18/17 email from Phillips to Radford and Compensia asking them to compute what the
             discount would be if “Elon had to hold all exercised shares for 5 years?”); see also JX-792 at 7 (1/21/18 Radford
             report) (stating that five year hold period would result in an “illiquidity discount”); Trial Tr. at 133:5–134:4
             (Ehrenpreis) (agreeing that imposing a five-year hold period would produce the highest discount).
             394
                JX-752 (12/22/17 email from Burg to Radford, other Tesla employees, and PricewaterhouseCoopers attaching
             a valuation letter).



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             accepted statistical technique” that “simulate[s] a range of possible future” outcomes over a given timeframe
             using constantly repeating, random potential scenarios. 395
                  Burg determined that the first market capitalization goal—described as $100 billion, or $50 billion of
             growth— would occur 45.55% of the time, after which the likelihood of achieving subsequent milestones rapidly
             declined to below 10% from milestone six onward. 396 The Monte Carlo valuation did not account for the
             probability of hitting the operational milestones, nor did it incorporate Tesla’s internal projections. 397
                 Based on these estimates, Burg reached an initial grant date fair value for the 2018 Grant of $2,656,430,639.
             He then applied a 10.52% illiquidity discount based on the Five-Year Hold Period, arriving at a final value of
             $2,377,077,626. 398 Burg and Ahuja’s team continued to refine this valuation in the following weeks by tweaking
             assumptions, including the holding period and dilution rate. 399

                  Burg provided an updated valuation letter on January 19. 400 This letter included a slightly higher final
             valuation of $2,575,342,854 (again taking into account the holding period illiquidity discount) compared to the
             December 22 valuation of $2,377,077,626. 401 Another updated letter, dated January 21, provided a still higher
             final valuation of $2,615,190,052, resulting from intervening increases in the total number of shares, a higher
             stock price, and slight changes to other assumptions. 402

                        G.        The Board Approves The Grant.

                 On January 21, 2018, the Board held a special meeting to approve the 2018 Grant. 403 Musk and Kimbal
             recused themselves and Jurvetson was on leave. 404 The other six directors—Ehrenpreis, Denholm, Gracias, Buss,
             Murdoch, and Johnson Rice—unanimously approved the 2018 Grant.405




             395
                    See id. at 5, 11 (describing the Monte Carlo simulation method and showing formula).
             396
                    Id. at 12.
             397
                    See id. at 4–5.
             398
                    Id. at 6–9.
             399
                    See JX-767 at 1–4; JX-772 at 1–2.
             400
                    JX-785 at 1–2.
             401
                    Compare JX-785 at 10, with , JX-752 at 6–9.
             402
                    JX-792 at 7; JX-799 at 3.
             403
                    See PTO ¶¶ 231–33.
             404
                    JX-791 at 1 (1/21/18 special Board meeting minutes).
             405
                    Id. at 1–2.


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                  In its final form, the 2018 Grant is divided into 12 vesting tranches. 406 Each tranche vests upon satisfaction
             of one market capitalization milestone and achievement of one operational milestone. 407 The 12 market
             capitalization milestones increase in $50 billion increments, beginning at $100 billion and ending at $650 billion.
             408
                 The 2018 Grant has 16 operational milestones: eight based on revenue and eight based on adjusted EBITDA.
             409
                  For each tranche to vest, the achievement of any one of the operational milestones can be paired with
             achievement of any one of the market capitalization milestones. 410 The increments of the operational milestones
             are shown in the table below. 411

                                                        Revenue-Based                   Adjusted
                                                         Operational                 EBITDA-Based
                                                          Milestones                  Operational
                                                         (in billions)                 Milestones
                                                                                      (in billions)
                                          1                     $20.0                     $1.5
                                          2                     $35.0                     $3.0
                                          3                     $55.0                     $4.5
                                          4                     $75.0                     $6.0
                                          5                 $100.0                        $8.0
                                          6                 $125.0                       $10.0
                                          7                 $150.0                       $12.0
                                          8                 $175.0                       $14.0

                  To complete each tranche, the Grant requires that Tesla achieve one market capitalization milestone and one
             operational milestone. 412 Each completed tranche earns Musk options to purchase 1% of Tesla’s common stock
             outstanding as of January 19, 2018. Before a five-for-one stock split in 2020 and a three-for-one stock split in
             2022, this 1% was equivalent to 1,688,670 shares. 413 If fully vested, the 2018 Grant would therefore grant Musk
             options to purchase 20,264,042 (pre-split) shares. 414 The strike price of these options was $350.02, the closing
             price of Tesla’s common stock on January 19, 2018. 415 Adjusting for Tesla’s two stock splits, the strike price
             was $23.33. 416

             406
                    PTO ¶ 238.
             407
                    Id.
             408
                 See id. ¶ 241. Market capitalization was measured by “(i) the sum of Tesla’s daily market capitalization for
             each trading day during the six (6) calendar month period immediately prior to and including the determination
             date, divided by the number of trading days during such period and (ii) the sum of Tesla’s daily market
             capitalization for each trading day during the thirty (30) calendar day period immediately prior to and including
             the determination date, divided by the number of trading days during such period.” Id. ¶ 242.
             409
                 Id. ¶ 244; see also id. ¶ 245 (defining revenue as “total Tesla revenues, as reported in Tesla’s financial
             statements on Forms 10-Q or 10-K filed with the SEC for the previous four consecutive fiscal quarters”); id. ¶
             246 (defining adjusted EBITDA “as (i) net income (loss) attributable to common stockholders before (ii) interest
             expense, (iii) (benefit) provision for income taxes, (iv) depreciation and amortization, and (v) stock-based
             compensation, as each such item is reported in Tesla’s financial statements on Forms 10-Q or 10-K filed with the
             SEC for the previous four consecutive fiscal quarters”).
             410
                    Id. ¶ 243.
             411
                    Id. ¶ 244.
             412
                    Id. ¶ 238.
             413
                    Id. ¶¶ 42–43, 239.
             414
                    Id. ¶ 236.
             415
                    Id. ¶ 237.
             416
                    Calculated as $350.02 divided by (5 x 3).


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                 The Grant also included the Clawback Provision, Leadership Requirement, M&A Adjustment, and Five-Year
             Hold Period. Like the 2012 Grant, the 2018 Grant expired after ten years. 417

                        H.       The Stockholders Approve The Grant.

                 Board approval was not the finish line, because the Board conditioned the 2018 Grant on approval by a
             majority vote of disinterested stockholders. 418

                                 1.      The Proxy Statement

                 Tesla announced the 2018 Grant to the public and filed a preliminary proxy statement on January 23, 2018.
             419
                Tesla filed its definitive proxy statement (the “Proxy”) on February 8, which notified stockholders of a vote to
             approve the 2018 Grant on March 21, 2018. 420

                  The Proxy included statements at issue in this litigation. It described all Compensation Committee members
             as “independent directors,” despite Gracias’s close relationship with Musk. 421 The Proxy did not disclose the
             financial or personal connections between the members of the Compensation Committee and Musk.

                  The Proxy did not disclose the April 9 conversation between Musk and Ehrenpreis, during which Musk
             established the key terms of the 2018 Grant. A discussion of this conversation appeared in at least four earlier
             drafts of the Proxy. 422 In its final form, the Proxy states:

                                  With the 2012 Performance Award nearing completion, the Board engaged in
                                  more than six months of active and ongoing discussions regarding a new
                                  compensation program for Mr. Musk, ultimately concluding in its decision to
                                  grant the CEO Performance Award. These discussions first took place among
                                  the members of the Compensation Committee of the Board (the ‘
                                  Compensation Committee ’), all of whom are independent directors, and then
                                  with the Board’s other independent directors, including its two newest
                                  independent directors, Linda Johnson Rice and James Murdoch. 423

                  The Proxy stated that: “each of the requirements underlying the performance milestones was selected to be
             very difficult to achieve”; 424 the Board “based this new award on stretch goals”; 425 the Grant’s milestones were
             “ambitious” and “challenging”; 426 “[l]ike the Revenue milestones described above, the Adjusted EBITDA
             milestones are designed to be challenging”; 427 and “[t]he Board considers the Market Capitalization Milestones
             to be challenging hurdles.” 428

                  The Proxy disclosed that, when setting the milestones, “the Board carefully considered a variety of factors,
             including Tesla’s growth trajectory and internal growth plans and the historical performance of other high-growth

             417
                    JX-878 at 52 (stating that the Grant expires on January 20, 2028); JX-137 at 1.
             418
                    PTO ¶ 233; JX-791 at 4–5.
             419
                    PTO ¶ 234.
             420
                    Id. ¶ 235; see also JX-878 at 29.
             421
                    JX-878 at 10. The Proxy also describes Johnson Rice and Murdoch as independent. Id.
             422
                    See JX-1597 at 9; JX-1598 at 3; JX-1599 at 14; JX-1700 at 12.
             423
                    JX-878 at 10.
             424
                    Id. at 41.
             425
                    Id. at 4.
             426
                    Id. at 22.
             427
                    Id. at 18.
             428
                    Id. at 17.


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             and high-multiples companies in the technology space that have invested in new businesses and tangible assets.”
             429
                 “Internal growth plans” referred to Tesla’s projections. 430

                  Tesla prepared three sets of projections during the process. During July 2017, Tesla updated its internal
             three-year financial projections (“July 2017 Projections”). 431 The July 2017 Projections reflected that the
             S-curve’s exponential growth phase was imminent. 432 Tesla shared the July 2017 Projections, which the Audit
             Committee approved, 433 with S&P and Moody’s in connection with a debt offering. 434 The 2017 Projections
             showed revenue growth of $69.6B and adjusted EBITDA growth of $14.4B in 2020. 435 Under the July 2017
             Projections, Tesla would achieve three of the revenue milestones and all of the adjusted EBITDA milestones in
             2020. The Proxy did not disclose this.

                  Ahuja developed and Musk approved a new operating plan and projections in December—the
             December 2017 Projections. 436 As discussed above, the Board reviewed those projections on December 12. 437
             The one-year projections underlying the operating plan forecasted $27.4B in revenue and $4.3B in EBITDA by
             late 2018, and thus predicted achievement of three milestones in 2018 alone. 438 The longer three-year projections
             underlying that plan reflected that by 2019 and 2020, Tesla would achieve seven and eleven operational
             milestones, respectively. 439 The Proxy did not disclose this.

                  After Tesla issued the Proxy, but before the stockholder vote, Ahuja presented the Board with a three-year
             operating plan (the “March 2018 Projections”), which Tesla later shared with Moody’s. 440 Musk reviewed and
             approved the March 2018 Projections before they were presented to the Board. 441 The March 2018 Projections
             were more pessimistic than previous projections but still predicted achievement of one revenue and two adjusted
             EBITDA milestones by March 31, 2019, and further two revenue and four adjusted EBITDA milestones by the
             end of 2020. 442 As discussed below, Tesla would issue a supplemental disclosure with this information, but not
             until after the stockholder vote.




             429
                    Id. at 18.
             430
                    Trial Tr. at 481:14–481:24 (Ahuja).
             431
                JX-529 at 2. JX-529 at 2. The Model 3 was Tesla’s first mass production vehicle. See Trial Tr. at 574:14–18
             (Musk). When mass production is successful, the production curve resembles the letter S. Id. at 1197:9–13
             (Gompers); JX-1539. Musk explained: “[T]he production starts off slowly and then you gradually eliminate the
             constraints and eventually it starts taking off exponentially.” JX-390 at 9; Trial Tr. at 667:11–16 (Musk).
             432
                JX-1540 at 84 (10/31/17 Audit Committee meeting materials) (“The production rate will soon enter the steep
             portion of the manufacturing S-curve, which should result in non-linear production growth in the weeks ahead.”).
             433
                 JX-580 at 1; JX-573 at 1; Trial Tr. at 521:16–522:21 (Ahuja) (testifying that he discussed the projections with
             the Audit Committee, including Denholm, Gracias, and Buss).
             434
                    Trial Tr. at 466:14–469:24 (Ahuja).
             435
                    JX-529 at 2.
             436
                JX-728 at 1–2; JX-372 at 6 (text messages between Maron and Ahuja); Trial Tr. at 515:18–516:7,
             517:8–518:11 (Ahuja).
             437
                 JX-740 at 1–2; Trial Tr. at 523:12-16 (Ahuja) (confirming the full Board saw the projections before approving
             the Grant, including in December 2017).
             438
                    JX-740 at 18; Trial Tr. at 518:18–519:5 (Ahuja).
             439
                    JX-529 at 2; JX-543 at 2; JX-555 at 5; JX-573 at 408; JX-582 at 4; JX-587.
             440
                    JX-948 at 2 (3/13/18 Board meeting minutes); JX-973 at 1; JX-974 (March 13 Projections).
             441
                    Trial Tr. at 511:8–19 (Ahuja).
             442
                    JX-974; JX-1023 at 6.


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                                   2.     The Public Reaction

                 Tesla tracked support and opposition to the 2018 Grant among stockholders and engaged in outreach. 443 The
             two largest proxy advisors, ISS and Glass Lewis, both recommended voting against the 2018 Grant. 444
                   Glass Lewis expressed concern with the size and potential dilutive effect of the grant, noting that “any
             relative comparison of the grant’s size would be akin to stacking nickels against dollars[]”and that “the lower
             tiers of the goals are relatively much more attainable given the time periods in question, potentially allowing for
             sizable payments without commensurately exceptional achievement.” 445

                  ISS described the grant value as “staggering” and concluded that even the “challenging” and “far-reaching
             performance goals do not justify the extraordinary grant magnitude[.]” 446 In an internal email, ISS noted that it
             “steered clear of getting too deep into this[]” because “making that argument essentially puts us in the situation
             of saying Tesla’s board is not strong enough to stand up to Musk[.]” 447




             443
                    See JX-901 at 3–7.
             444
                JX-987 at 6 (3/21/18 ISS proxy analysis & benchmark policy voting recommendations); JX-931 at 7 (3/6/18
             Glass Lewis proxy paper on Tesla).
             445
                    JX-931 at 5, 7.
             446
                    JX-987 at 3, 6. An earlier internal ISS email also described the amount as “just absurd.” JX-841 at 1.
             447
                    JX-940 at 1.


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                  Also, both recommendations expressed concern with Musk’s non-Tesla interests, although Glass Lewis stated
             that “Musk’s extracurricular exploits undoubtedly contribute to his value to the Company[.]” 448

                  Stockholders also criticized the Grant, noting that Musk’s Tesla equity provided sufficient motivation for
             Musk to perform, 449 the Grant’s size and dilutive effects were excessive, 450 the EBITDA milestones were too
             low, 451 and that linear milestones were inappropriate for an “exponential company” like Tesla. 452

                  Five days before the stockholder vote, on March 16, Maron informed the Board that the outcome of the
             stockholder vote was “not yet clear.” 453 Maron reported that although initial vote tallies were favorable, many
             big stockholders had not yet voted and their intentions remained unclear. 454

                  By March 20, Maron informed Musk that the Grant would likely receive approval, but that two large Tesla
             stockholders were voting against the Grant on the grounds that its size was excessive. 455 In response, Musk
             asked Maron to tell one of the large stockholders that he was “very offended by their action if they choose to
             vote that way, but but [sic] by all means do so.” 456 Musk also asked Maron to set up a call with one of the
             stockholders following the vote, during which Musk would “convince them to divest from Tesla and any of [his]
             companies ever. They are not welcome.” 457 It appears that a non-Musk employee at Tesla called that stockholder
             after the vote. 458

                                   3.    The Stockholder Vote
                  The stockholders approved the Grant at a special stockholder meeting on March 21, 2018, with 73% of votes
             cast at the meeting (excluding Musk’s and Kimbal’s ownership) in favor. 459

                     I.   Subsequent Events

                  Events relevant to evaluating the fairness of the Grant occurred after stockholders approved the Grant.
             Namely, Tesla disclosed that several Grant milestones were greater than 70% probable of achievement, nearly all
             the tranches vested, Musk got in trouble with the SEC, named himself Technoking, and acquired Twitter, Inc.

                                   1.    Tesla Discloses That Several Of The Grant’s Milestones Are Probable Of Achievement.

                  For accounting purposes, on March 27, Burg provided a final fair value letter arriving at a grant date fair
             value of $2,283,988,223. 460 Ahuja and his team then had to determine when Tesla was likely to hit the
             performance

             448
                    JX-931 at 7; JX-987 at 6.
             449
                    JX-547.
             450
                    JX-968 at 3; JX-1541 at 1.
             451
                    JX-838 at 1–2; JX-899.
             452
                    JX-899.
             453
                    JX-964 at 1.
             454
                    Id.
             455
                 JX-972 at 1–2 (stating Vanguard found the size was “simply too high[]” and Capital most likely opposed “the
             size”).
             456
                    Id. at 1.
             457
                    Id.
             458
                Trial Tr. at 441:11–24 (Maron); see JX-1017 at 1 (4/11/18 email from Musk to Maron asking about the call
             with Capital).
             459
                    JX-979 at 3 (3/21/18 Form 8-K dated March 21, 2018).
             460
                JX-997 at 7. $2,562,885,538 before applying a 10.88% illiquidity discount due to the Five-Year Hold Period.
             See id. Changes from previous valuations are primarily due to an intervening decline in the stock price. See
             JX-1003 at 1.



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             milestones, which Tesla needed to disclose to stockholders in its March 31, 2018 Form 10-Q (the “March 31
             10-Q”). 461 Tesla determined that three operational milestones were “considered probable of achievement,” which
             meant that they were greater than 70% probable of achievement within approximately one year of the Grant date.
             462


                  Tesla’s methodology to determine the probability of milestone achievement was to “us[e] the operating plan
             of record[.]” 463 Tesla’s operating plan was a set of internal one-year forecasts. 464 Tesla developed and updated
             one-year and three-year internal projections on a regular basis. 465 They were not the product of bottom-up
             forecasting. They were used to drive and motivate rather than plan, and Tesla frequently missed its projections.
             466
                 They reflected what Tesla would need to do to reach aggressive goals set by Musk. 467

                  Tesla based the March disclosures on the March 2018 Projections. Ahuja described the March 2018
             Projections as “extremely aggressive and challenging” based on “stretch goals” and “very large . . . risks[.] 468
             Yet Tesla disclosed that “the following performance milestones were considered probable of achievement: total
             revenue of $20.0 billion; adjusted EBITDA of $1.5 billion; and adjusted EBITDA of $3.0 billion.” 469 The
             March 31 10-Q included the usual disclaimer, stating that “[t]he probability of meeting an operational milestone
             is based on a subjective assessment of our future financial projections.” 470 According to Ahuja, this disclosure
             meant that “the three operational milestones . . . are 70 percent probable of achievement in the late 2018 and
             2019 time frame.” 471

                  Ahuja characterized the probability assessment as an inherently “conservative approach” from an accounting
             perspective. 472 Still, it is not clear how Tesla management reconciled their views that the milestones were both
             “risky” and a “stretch” yet simultaneously more than 70% likely to occur.

                  Regardless, management stuck to its guns. On April 3, Ahuja told his team that “to be consistent in our
             methodology of using the operating plan of record, we should assume that the second EBITDA milestone has
             greater than 70% chance of vesting by 6/30/2019.” 473 And an Audit Committee presentation dated April 27,
             2018 indicated that, based on the March 2018 Projections, Tesla considered the $20 billion revenue milestone and
             the $1.5 billion adjusted EBITDA milestone more than 70% likely by December 31, 2018, and the $3 billion
             adjusted

             461
                    See JX-990 at 1; JX-1004 at 1; JX-1019 at 2; JX-1011 (3/31/18 Form 10-Q for Q1).
             462
                    JX-1011 at 27.
             463
                 JX-1019 at 2; Trial Tr. at 743:11-23 (Gracias) (“[T]here’s only one plan. . . . We didn’t show anything else to
             the banks . . . or to The Street, literally one set of numbers. That’s it.”); Trial Tr. at 791:13–792:2 (Gracias)
             (confirming Tesla had one financial plan as of 2017 and 2018, and during that period everyone—including
             Musk—relied on that plan to run Tesla, and “Musk himself was integrally involved in creating Tesla’s operating
             plan”); see id. at 498:1–499:2 (Ahuja) (confirming Musk was “extremely involved” in the three-year financial
             plan).
             464
                    See JX-953 (2018 operating plan slide deck).
             465
                    Id. at 466:14–19, 467:18–468:2 (Ahuja).
             466
                 Id. at 223:8–224:1 (Ehrenpreis) (testifying that the “projections . . . were mostly used to drive the company . .
             . [so he] was absolutely not surprised at the number of misses and the frequency of new forecasts”); see id. at
             746:11–20 (Gracias) (describing these projections as “a very aggressive stretch plan[] . . . to get people motivated
             and incented[] . . . to drive the internal operations”); id. at 333:20–334:18 (Denholm) (testifying that the
             projections reflected what “we’re trying to achieve” and the Board did not view the projections “as being realistic
             and achievable plans”).
             467
                Id. at 466:23–467:7 (Ahuja) (testifying that Tesla set “really stretch goals, which reflected Elon’s general
             philosophy of really pushing himself and the team to deliver impossible things”).
             468
                    Id. at 488:12–489:24; 504:24–505:5 (Ahuja).
             469
                    JX-1011 at 27.
             470
                    Id.
             471
                    Trial Tr. at 493:21–494:5 (Ahuja); id. at 503:18–22 (Ahuja).
             472
                    Id. at 488:1–489:24 (Ahuja).
             473
                    JX-1019 at 2.


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             EBITDA milestone more than 70% likely by March 31, 2019. 474 On May 7, 2018, Tesla filed a Form 10-Q
             disclosing to stockholders that, as of March 31, 2018, three operational milestones “were considered probable of
             achievement[.]” 475

                                 2.       Tesla’s Performance

                 The Grant began vesting in 2020 as Tesla’s business took off. Although Tesla’s business performance
             between 2018 and 2020 fell short of the March 2018 Projections, Tesla slightly exceeded its projected adjusted
             EBITDA for 2018. 476 Four tranches vested by the end of 2020, and three more vested the following year. 477 As
             of April 29, 2022, eleven of the Grant’s 12 tranches had vested. 478 As of June 30, 2022, all market capitalization
             milestones had been achieved, all adjusted EBITDA milestones had been achieved, and three revenue milestones
             had been achieved, with one more deemed probable of achievement. 479

                                 3.       The SEC Settlement

                  On September 29, 2018, the SEC announced that it had reached a settlement with Musk over fraud charges
             stemming from a tweet he sent in August 2018. 480 As part of the settlement, Musk agreed to pay a penalty of
             $20 million, resign as Chair of the Tesla Board, submit communications relating to the company for pre-approval
             subject to procedures implemented by Tesla, and not “make . . . any public statement denying, directly or
             indirectly, any allegation in the complaint or creating the impression that the complaint is without factual
             basis[.]” 481

                  Tesla also agreed to add two new independent directors and create a permanent committee of independent
             directors charged with overseeing implementation of the settlement, controls regarding Tesla’s public statements,
             and the “review and resolution of human resources issues or conflict of interest issues” involving Tesla’s
             management. 482

                  On April 30, 2019, the final judgment enshrining the SEC Settlement was amended to clarify that Musk must
             “obtain the pre-approval of an experienced securities lawyer employed by the company (‘Securities Counsel’) of
             any written communication that contains information regarding” a long list of topics, including Tesla’s finances,
             its non-public projections, and “events regarding the Company’s securities.” 483




             474
                    JX-1023 at 6.
             475
                    JX-1031 at 27 (5/7/18 Form 10-Q for Q1).
             476
                    Trial Tr. at 479:6–21 (Ahuja).
             477
                    PTO ¶¶ 265–71.
             478
                    Id. ¶¶ 272–75.
             479
                    Id. ¶ 276.
             480
                JX-1070 at 1 (9/29/18 SEC Press Release: Elon Musk Settles SEC Fraud Charges; Tesla Charged With and
             Resolves Securities Law Charge). On August 7, 2018, Musk tweeted: “Am considering taking Tesla private at $
             420. Funding Secured.” JX-1057 (Aug. 7, 2018, 12:48 p.m. Musk tweet). The SEC charged that Musk’s Tweet
             was misleading because he had not “discussed specific deal terms, including price, with any potential financing
             partners.” JX-1070 at 1.
             481
               JX-1075 ¶ 13 (10/16/18 Consent Motion for Entry of Final Judgment, United States Sec. & Exch. Comm’n v.
             Musk , C.A. No. 1:18-cv-8865-AJN-GWG (S.D.N.Y.)).
             482
                    JX-1076 at 2 (10/16/18 Form 8-K).
             483
                    JX-1075 at 15–16.


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                 As part of the settlement, Musk stepped down as Board chair. 484 Kimbal proposed that Denholm replace
             him. 485 Denholm initially declined, but then Musk asked Denholm to reconsider. 486 Denholm agreed, and the
             Board appointed Denholm chair on November 7, 2018. 487

                  To comply with the terms of the SEC Settlement, which required the Board to establish a new independent
             committee, the Board created a “Disclosure Committee.” 488 Denholm’s testimony revealed a lack of
             understanding concerning how this committee worked. She testified that she did not know whether the Disclosure
             Committee “received reports concerning human resource issues or conflicts of interest involving senior
             management” 489 in order to fulfill its mandate. Denholm testified that “issues of conflict are reviewed by the
             audit committee, which is a group of independent board members who are also members of the disclosure
             committee.” 490

                  Musk testified that he complies with the SEC Settlement using the following process: He “decide[s] a tweet
             might be one that is required to be reviewed under the settlement . . . submit[s] it to an in-house lawyer in
             advance of making it, wait[s] for some period of time that [he] decide[s] upon, and then tweet[s] if the lawyer
             hasn’t given comments[.]” 491

                 Denholm described this process as “self-regulat[ing]” and was “aware that [Musk] waits for some
             unspecified period of time and then just [tweets] if he doesn’t hear back[.]” 492 After the SEC Settlement was
             amended, Musk made public statements about Tesla’s business prospects or plans without clearing them with
             anyone first. 493

                  At trial, Musk stated that the SEC Settlement “was made under duress” because “lenders put a gun to [his]
             head.” 494 He also conceded that he had previously given public interviews where he stated that the SEC was
             wrong and that he had actually secured funding to take Tesla private. 495 He did so despite the requirement as
             part of the SEC Settlement that Musk not “make . . . any public statement denying, directly or indirectly, any
             allegation in the complaint or creating the impression that the complaint is without factual basis[.]” 496 Musk has
             also publicly referred to the SEC’s San Francisco office as “bastards[]” and “shameless puppets of Wall Street
             short seller sharks who did nothing to protect actual shareholders[.]” 497

                                 4.      The Technoking

                  On March 15, 2021, Musk changed his title to “Technoking of Tesla.” 498 Musk testified that this role was
             distinguishable from a traditional chief technology officer role by the presence of “panache” and joked that a
             Technoking had “[g]reat dance moves and sick beats.” 499 During his deposition, Musk testified that he did not

             484
                    Trial Tr. at 1081:23–1082:5 (Kimbal).
             485
                    Id. at 1082:6–10 (Kimbal).
             486
                    Denholm Dep. Tr. at 95:11–18.
             487
                    JX-1083 at 4.
             488
                    Trial Tr. at 372:6–373:22, 375:1–8 (Denholm).
             489
                    Id. at 375:9–22 (Denholm).
             490
                    Id. at 378:11–18 (Denholm).
             491
                    Id. at 616:3–11 (Musk).
             492
                Id. at 386:8–12 (Denholm); id. at 382:5–12 (Denholm) (“A. Do you mean does he self-regulate under the
             policy? Q. You bet. That’s exactly what I mean. A. So he does self-regulate under the policy, yes.”).
             493
                    See id. at 619:12–622:3 (Musk).
             494
                    Id. at 624:3–625:21 (Musk).
             495
                    Id. at 625:14–21 (Musk).
             496
                    JX-1075 ¶ 13.
             497
                    Trial Tr. at 623:4–22 (Musk).
             498
                    JX-1331 at 2 (3/15/21 Form 8-K).
             499
                    Musk Dep Tr. at 24:11–25:9.


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             consult with the Board about this new title, but that it was communicated to at least Denholm before Tesla filed
             the 8-K announcing the new title. 500 At trial, Musk testified he did in fact consult with the Board before giving
             himself the title. 501

                                   5.     Then Came Twitter

                 On April 25, 2022, Twitter, Inc. and Musk announced the execution of a merger agreement in which Musk
             would acquire Twitter. 502 Musk subsequently sought to terminate the merger agreement, and Twitter sued for
             specific enforcement. 503
                  The amount of time Musk spent on the Twitter acquisition was undoubtedly a concern at Tesla. Also, in the
             Twitter litigation, Musk filed a pleading affirming that no one at Tesla is authorized to view his Tesla email
             accounts without his consent, except to the extent legally required. 504 Musk ultimately acquired Twitter and
             named himself “chief twit,” a role analogous to CEO. 505 Musk also testified that he asked approximately 50
             Tesla engineers to “volunteer” to help him evaluate Twitter’s engineering team. 506 No one on the Board called
             Musk to tell him not to do this. 507 In the weeks prior to trial, Musk spent the “lion’s share” of his time at
             Twitter. 508

                       J.       This Litigation

                  Plaintiff Richard Tornetta (“Plaintiff”), a Tesla stockholder, filed his complaint on June 5, 2018. 509 His
             original complaint asserted four counts: Count I for breach of fiduciary duty against Musk in his capacity as a
             then-controlling stockholder; Count II for breach of fiduciary duty against Musk, Kimbal, Gracias, Jurvetson,
             Ehrenpreis, Buss, Denholm, Murdoch, and Johnson Rice as directors (together, “Defendants”); Count III for
             unjust enrichment against Musk; and Count IV for waste. 510 Counts I and II were asserted as both direct and
             derivative claims. Counts III and IV were asserted as derivative claims. 511

                   Defendants moved to dismiss the complaint, and the court denied the motion as to Counts I through III,
             dismissing only the waste claim. 512 For purposes of the motion to dismiss, Defendants conceded that Musk
             controlled Tesla. 513 Defendants argued that the stockholder vote approving the Grant qualified as a ratifying vote
             justifying business judgment deference under Section 216 of the Delaware General Corporation Law (“DGCL”).
             514

             500
                    Id. at 25:13–22.
             501
                 Trial Tr. at 599:4–10 (Musk); but see id. at 1085:1–7 (Kimbal) (“Question: Have you heard the word
             ‘Technoking’ before? Answer: Yes, I have. Question: When did you first hear that word? Answer: I heard it over
             Twitter, when Elon changed his Twitter account.”); id. at 854:21– 855:3 (Murdoch) (“Q. Now, you’re aware that
             Elon Musk has added Technoking to his Tesla title. Correct? A. Yes, I am aware of that. Q. And you believe you
             likely first learned about that development via a tweet. Is that correct? A. I might have. I think so. Yeah.”).
             502
                    JX-1457 at 2 (4/25/22 Twitter, Inc. Form 8-K).
             503
                    Twitter, Inc. v. Elon R. Musk, et al. , C.A. No. 2022-0613-KSJM.
             504
                    Trial Tr. at 602:2–10 (Musk).
             505
                    Id. at 614:13–23 (Musk).
             506
                    Id. at 656:6–657:20 (Musk).
             507
                    Id. at 657:9–658:2 (Musk).
             508
                    Id. at 662:4–9 (Musk).
             509
                    Dkt. 1 (“Compl.”).
             510
                    See Compl. ¶¶ 106–23.
             511
                    See id.
             512
                    See Dkt. 10.
             513
               See Tornetta v. Musk , 250 A.3d 793, 805 (Del. Ch. 2019) (“Defendants acknowledge (for purposes of this
             motion only) that Musk is a controlling shareholder and that he dominated the Board and the Compensation
             Committee during the time the Award was negotiated and approved.”).
             514
                    Tornetta , 250 A.3d at 806–07 (Del. Ch. 2019).


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             Vice Chancellor Joseph R. Slights III rejected this argument, concluding that a fully informed stockholder vote
             was insufficient to restore business judgment deference in a conflicted-controller transaction like the Grant. 515
             The Vice Chancellor held that MFW provides the “roadmap” for a controller seeking to avoid review under the
             entire fairness standard, even outside of the squeeze-out context. 516 The Vice Chancellor also rejected
             Defendants’ alternative dismissal argument—that the complaint lacked well-pled allegations that the Grant was
             unfair. 517

                  The case proceeded to discovery. On January 25, 2021, the court entered a stipulated order granting class
             certification. 518

                  On September 20, 2021, the Delaware Supreme Court issued Brookfield Asset Management, Inc. v. Rosson ,
             which overturned Gentile v. Rossette 519 and thus eliminated the legal basis for the dual-natured Counts I and II.
             520
                 Brookfield determined that fiduciary duty claims alleging overpayment or dilution of voting power are
             categorically derivative, rather than dual-natured, even when asserted against a controlling stockholder. 521 As a
             result of Brookfield , Plaintiff filed a motion for leave to amend his complaint on September 30, 2021. 522 The
             proposed amended complaint asserted the same claims as the original complaint, but asserted Counts I and II as
             entirely derivative rather than dual-natured. 523

                  The next day, Plaintiff and Defendants Kimbal and Jurvetson cross-moved for summary judgment. 524
             Plaintiff argued that the 2018 Grant was invalid because it was conditioned on stockholder approval, but that the
             Proxy failed to disclose material information. For instance, Plaintiff argued that Tesla failed to disclose how
             achievable Tesla management thought the milestones were, or to fully appraise stockholders
             of the close professional and personal relationships Ehrenpreis and Gracias each had with Musk. 525 Kimbal and
             Jurvetson moved for summary judgment on all Counts on the grounds that they had minimal or non-existent roles
             in the 2018 Grant process. 526

                  While these motions were pending, on October 27, 2021, the parties stipulated to decertify the class, dismiss
             the direct claim components of Counts I and II, and to voluntarily dismiss all claims against Kimbal and
             Jurvetson with prejudice. 527 The stipulation preserved Plaintiff’s motion for leave to file the amended complaint
             to change the action from a direct to a derivative action under Court of Chancery Rule 23.1. 528 Collectively,
             those moves averted the Gentile issue at the heart of the original complaint.

                 The court granted the stipulation on October 27, 2021. 529 The remaining Defendants sought summary
             judgment on November 19, 2021, advancing a ratification theory on the basis that Tesla stockholders received all
             material information ahead of the vote. 530

             515
                    Id. at 807–09.
             516
                    Id. at 810–12.
             517
                    Id. at 812–13.
             518
                    Dkt. 94.
             519
                    906 A.2d 91 (Del. 2006).
             520
                    261 A.3d 1251.
             521
                    Id. at 1275.
             522
                    Dkt. 161.
             523
                    Dkt. 161, Ex. A ¶¶ 284–93.
             524
                    Dkts. 162, 163.
             525
                    See Dkt. 163 at 20–26.
             526
                    See Dkt. 162 at 6–12.
             527
                    Dkt. 173.
             528
                    See Dkt. 173 ¶ 1; Dkt. 174.
             529
                    Dkt. 175.
             530
                    See Dkt. 184 at 64–65; Dkt. 188.


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                   The court substituted jurists on January 12, 2022, in light of Vice Chancellor Slights’ retirement from the
             bench. 531 This court held a status conference on February 7, 2022, 532 and resolved the pending motions to
             amend and for summary judgment in a letter decision dated February 24, 2022. 533 The court granted Plaintiff’s
             motion for leave to amend but denied the cross-motions for summary judgment, voicing “skeptic[ism] that this
             litigation can be resolved based on the undisputed facts.” 534

                  Plaintiff filed his amended complaint on March 2, 2022. 535 The court entered a revised case schedule on
             August 12, 2022. 536 The parties tried their case from November 14 through 18, 2022. 537 The court heard
             post-trial oral argument on February 21, 2023. 538
                 Post-trial oral argument revealed several topics that warranted further development. The court requested
             supplemental briefing in a letter to counsel dated February 22. 539 The parties completed supplemental briefing on
             April 11. 540

             II.     LEGAL ANALYSIS
                  Plaintiff claims that awarding the Grant constituted a breach of fiduciary duty. 541 He argues that the entire
             fairness standard governs for two independent reasons—because the Grant was a conflicted-controller transaction
             and, separately, because the Grant was approved by a majority conflicted Board. He further argues that
             Defendants failed to demonstrate that the Grant was fair, and that the court should invalidate and rescind the
             Grant either in its entirety or in part. Defendants dispute that the entire fairness standard applies and argue that, if
             entire fairness applies, Plaintiff bears the burden of proof because the stockholder vote was fully informed.
                   This analysis proceeds in four parts. The court first addresses the gating issue—the standard of review—and
             concludes that entire fairness applies because Musk exercised control over the Grant. The court next addresses
             Defendants’ argument that the stockholder vote shifted the burden under the entire fairness standard to Plaintiff,
             concluding that Defendants retain the burden because the stockholder vote was not fully informed. The court then
             evaluates the Grant under the entire fairness standard, concluding that Defendants failed to prove that the Grant
             was entirely fair. The court last turns to the remedy, concluding that Plaintiff is entitled to rescission of the Grant
             in its entirety.
             531
                    Dkt. 199.
             532
                    Dkt. 206.
             533
                    Dkt. 207.
             534
                    See id. at 2.
             535
                    Dkt. 209.
             536
                    Dkt. 219. There were earlier case schedules that this one amended. But that fuller history is irrelevant.
             537
                    Dkt. 244.
             538
                Dkt. 281. See Defs.’ Post-Trial Opening Br.; Dkt. 264 (“Pl.’s Post-Trial Opening Br.”); Dkt. 274 (“Pl.’s
             Post-Trial Answering Br.”); Dkt. 275 (“Defs.’ Post-Trial Answering Br.”); Dkt. 284 (“Post-Trial Oral Arg. Tr.”).
             539
                 Dkt. 280. The letter specified the following topics for supplemental briefing: (i) whether a material omission
             in the Proxy invalidates the Grant; (ii) whether focusing on the give-get exchange within an entire fairness fair
             price analysis is an accurate framing of the inquiry, as Defendants asserted; (iii) whether disclosures about the
             Grant development process are unlikely to be material here because the key economic terms were fully disclosed;
             and (iv) any responses to the amicus brief filed by Professor Charles M. Elson to aid the court in understanding
             the origin and purpose of equity-linked compensation and how it relates to the Grant here. See Dkt. 266 (“Elson
             Amicus Br.”).
             540
                See Dkt. 285 (“Defs.’ Post-Trial Suppl. Opening Br.”); Dkt. 288 (“Pl.’s Post-Trial Suppl. Answering Br.”);
             Dkt. 289 (“Defs.’ Post-Trial Suppl. Reply. Br.”).
             541
                 Plaintiff asserts a derivative claim and, typically, litigation of a derivative claim would begin with an
             assessment of whether the plaintiff met the demand requirement. Demand futility is a gating issue that must be
             raised (and, in this jurist’s view, should only be raised) at the pleading stage. See generally In re McDonald’s
             Corp. S’holder Deriv. Litig., 291 A.3d 652, 699–700 (Del. Ch. 2023) (“The defendants generally should expect
             one bite at the demand-futility apple.”). In this case, however, Defendants did not argue demand futility at the
             pleading stage due to this court’s decision in another action involving Tesla. See SolarCity I , 2018 WL 1560293,
             at *17–19 (holding that the plaintiffs had adequately alleged that demand was excused with respect to a majority
             of the Tesla Board).



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                          A.    The Entire Fairness Standard Applies Because Musk Is A Controller.
                  When determining whether corporate fiduciaries have breached their duties, a court applying Delaware law
             evaluates the fiduciaries’ conduct through a standard of review. 542 Delaware law has three levels of transactional
             standards of review: business judgment, enhanced scrutiny, and entire fairness. 543
                  Plaintiff argues that Delaware’s most onerous standard of review, entire fairness, applies because the Grant
             was a conflicted-controller transaction. 544 Alternatively, Plaintiff argues that entire fairness applies because half
             of the directors who approved the Grant lacked independence from Musk. 545 Plaintiff wins on the first
             argument— Musk is a controller. Because Plaintiff wins on the first argument, the court does not address the
             second argument. 546

                  Delaware law imposes fiduciary duties on those who control a corporation. 547 Why? Because fiduciary
             duties exist in part to minimize agency costs caused by the divide between economic ownership and legal control.
             548
                 Delaware law vests control over a corporation in a board of directors and imposes attendant fiduciary
             obligations on the board as a consequence. 549 When a controller displaces or neutralizes a board’s power to
             direct corporate action, then the controller assumes fiduciary obligations. 550
                  The most straightforward way for a plaintiff to demonstrate control is to show that a defendant holds a
             mathematical majority of the corporation’s voting power. 551 This is so because the DGCL requires stockholder
             approval of transformational transactions. 552 The DGCL also permits stockholder action by written consent,
             through which a majority stockholder can remove directors and fill vacancies. 553 “A stockholder who owns a
             mathematical majority of the corporation’s voting power,” therefore, “has the ability to exercise affirmative
             control”



             542
                 See Chen v. Howard-Anderson , 87 A.3d 648, 666 (Del. Ch. 2014); In re Trados Inc. S’holder Litig. , 73 A.3d
             17, 35–36 (Del. Ch. 2013).
             543
                    Chen , 87 A.3d at 666 (quoting Reis v. Hazelett Strip-Casting Corp ., 28 A.3d 442, 457 (Del. Ch. 2011)).
             544
                    Pl.’s Post-Trial Opening Br. at 82.
             545
                    Id.
             546
                The factual findings that render Musk a controller, however, support a finding that the majority of the Board
             lacked independence.
             547
                 Kahn v. Lynch Commc’n Sys., Inc. , 638 A.2d 1110, 1113 (Del. 1994) (“This Court has held that a shareholder
             owes a fiduciary duty only if it owns a majority interest in or exercises control over the business affairs of the
             corporation.” ​ ( cleaned up)); Citron v. Fairchild Camera & Instrument Corp ., 569 A.2d 53, 70 (Del. 1989)
             (holding that a stockholder who dominates and has actual control of the corporation’s activities has fiduciary
             status); Ivanhoe P’rs v. Newmont Mining Corp., 535 A.2d 1334, 1344 (Del. 1987) (“A shareholder owes a
             fiduciary duty . . . if it . . . exercises control over the business affairs of the corporation.”).
             548
                    See generally Adolf Berle & Gardiner Means, The Modern Corporation and Private Property (2d ed. 1991).
             549
                    8 Del. C. § 141(a).
             550
                See, e.g. , Harris v. Carter , 582 A.2d 222, 234 (Del. Ch. 1990) (“[W]hen a shareholder presumes to exercise
             control over a corporation, to direct its actions, that shareholder assumes a fiduciary duty of the same kind as that
             owed by a director to the corporation.” ​ ( citingSterling v. Mayflower Hotel Corp. , 93 A.2d 107, 109–10 (Del.
             1952)).
             551
                 Lynch , 638 A.2d at 1113 (noting that a stockholder becomes a fiduciary if he or she “owns a majority interest
             in . . . the corporation” ​ ( quotingNewmont, 535 A.2d at 1344); In re PNB Hldg. Co. S’holders Litig. , 2006 WL
             2403999, at *9 (Del. Ch. Aug. 18, 2006) (“Under our law, a controlling stockholder exists when a stockholder . .
             . owns more than 50% of the voting power of a corporation[.]” ​ ( citation omitted)); Williamson v. Cox Commc’ns,
             Inc. , 2006 WL 1586375, at *4 (Del. Ch. June 5, 2006) (“A shareholder is a ‘controlling’ one if she owns more
             than 50% of the voting power in a corporation[.]” ​ ( citation omitted))).
             552
                Voigt v. Metcalf , 2020 WL 614999, at *17 (Del. Ch. Feb. 10, 2020) (citing 8 Del. C. §§ 242(b)(1), 251(c),
             275(b)).
             553
                    Id. (citing 8 Del. C. §§ 141(k), 211(b), 216(2)).


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             by directing the outcome of a stockholder vote or acting by written consent. 554 Musk controlled only 21.9% of
             Tesla’s voting power, so he lacked mathematical voting control.
                  Mathematical voting control, however, is only one method of establishing controller status. 555 “[C]ontrol of
             the ballot box is not always dispositive of the controlling stockholder inquiry[.]” 556 A plaintiff can establish
             controller

             554
                Id. at *17; see also Paramount Commc’ns Inc. v. QVC Network Inc. , 637 A.2d 34, 42 (Del. 1994) (“In the
             absence of devices protecting the minority stockholders, stockholder votes are likely to become mere formalities
             where there is a majority stockholder.”).
             555
                    In re Crimson Exploration Inc. S’holder Litig. , 2014 WL 5449419, at *10 (Del. Ch. Oct. 24, 2014).
             556
                 SolarCity I , 2018 WL 1560293, at *14 (citing cases); see, e.g., In re Pattern Energy Gp. Inc. S’holders Litig.,
             2021 WL 1812674, at *41–46 (Del. Ch. May 6, 2021) (finding it reasonably conceivable on a motion to dismiss
             that a stockholder owning “ slightly more than 10% ” was a controller who had consent rights and threatened to
             use it in order to control decisions); Skye Mineral Invs., LLC v. DXS Cap. (U.S.) Ltd., 2020 WL 881544, at
             *24–29 (Del. Ch. Feb. 24, 2020) (finding it reasonably conceivable on a motion to dismiss that a group of
             investors collectively owning 28.07% of the company’s equity was a control group because it had contractual
             blocking rights that could restrict capital raises and drive the company into bankruptcy); Reith v. Lichtenstein ,
             2019 WL 2714065, at *7–10 (Del. Ch. June 28, 2019) (finding it reasonably conceivable on a motion to dismiss
             that a stockholder owning 35.6% of the company’s stock was a controller where the controller’s affiliates and
             former executives took on senior leadership roles, provided key investment banking services, and significantly
             “influenced management”); FrontFour Cap. Gp. LLC v. Taube , 2019 WL 1313408, at *21–24 (Del. Ch. Mar. 11,
             2019) (finding post-trial that stockholders who collectively owned “ less than 15% ” of the company’s stock were
             controllers where the stockholders were the founders and officers of the company, managed the day-to-day
             operations, and had control of deal structures and information flow); SolarCity I , 2018 WL 1560293, at *19
             (finding it reasonably conceivable on a motion to dismiss that Musk, who owned 22% of company’s common
             stock, was a controller based on well-pled allegations related to “Musk’s voting influence, his domination of the
             Board during the process leading up to the [challenged acquisition] against the backdrop of his extraordinary
             influence within the Company generally, the Board level conflicts that diminished the Board’s resistance to
             Musk’s influence, and the Company’s and Musk’s own acknowledgements of his outsized influence”); Calesa
             Assocs. v. Am. Cap., Ltd. , 2016 WL 770251, at *10–12 (Del. Ch. Feb. 29, 2016) (finding it reasonably
             conceivable on a motion to dismiss that a stockholder owning 26% of the company’s stock exercised actual
             control where the plaintiff alleged instances of actual control beyond the fact that the stockholder “exercised duly
             obtained contractual rights to its benefit and to the detriment of the company” ​ ( emphasis in original)); In re
             Zhongpin Inc. S’holders Litig. , 2014 WL 6735457, at *7–8 (Del. Ch. Nov. 26, 2014) (finding it reasonably
             conceivable on a motion to dismiss that a stockholder owning 17.3% of the company’s stock was a controller
             because the stockholder was CEO and the company’s 10-K stated that the stockholder effectively controlled the
             company), rev’d on other grounds sub nom. In re Cornerstone Therapeutics Inc. S’holder Litig ., 115 A.3d 1173
             (Del. 2015); In re Loral Space & Commc’ns Inc ., 2008 WL 4293781, at *21–22 (Del. Ch. Sept. 19, 2008)
             (finding post-trial that a stockholder owning 35.9% of the company’s stock was a controller where the controller
             had rights to block important strategic initiatives, was a significant creditor that could unilaterally force
             redemption of notes, and maintained publicly that it controlled the board); Cox Commc’ns , 2006 WL 1586375, at
             *4–5 (finding it reasonably conceivable on a motion to dismiss that two stockholders, owning collectively 17.1%
             of the company’s stock, jointly controlled the company based on their ability to nominate two of the five
             directors, their ability to influence the flow of revenue into the corporation, and their potential “veto” power over
             certain corporate decisions); In re Cysive, Inc. S’holders Litig. , 836 A.2d 531, 535, 551–52 (Del. Ch. 2003)
             (finding post-trial that a stockholder owning 35% of the company’s stock controlled the company because he was
             a “hands-on” “Chairman and CEO of [the company],” and because he had the ability to “elect a new slate [of
             independent directors] more to his liking without having to attract much, if any, support from public
             stockholders[,]” through his familial ties with the company’s other stockholders); O’Reilly v. Transworld
             Healthcare, Inc. , 745 A.2d 902, 912–13, 915–16 (Del. Ch. 1999) (finding it reasonably conceivable on a motion
             to dismiss that a stockholder owning 49% of the company’s stock exercised actual control where the plaintiff
             alleged that the stockholder forced the board to comply with its terms on the merger through threats). See also
             Voigt , 2020 WL 61499 at *19 n.20 (noting “that ‘[t]his Court and others have recognized that substantial
             minority interests ranging from 20% to 40% often provide the holder with working control’” ​ ( quotingRobbins &
             Co. v. A.C. Israel Enters., Inc. , 1985 WL 149627, at *5 (Del. Ch. Oct. 2, 1985) (alteration in original))); 8 Del.
             C. § 203(c)(4) (“[a] person who is the owner of 20% or more of the outstanding voting stock of any corporation,
             partnership, unincorporated association or other entity shall be presumed to have control of such entity, in the



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             status by demonstrating that the defendant “exercises control over the business affairs of the corporation.” 557 For
             this purpose, a plaintiff need not argue that the defendant exercised general control over the business and affairs
             of the corporation. Although a showing of “general control” is sufficient to establish fiduciary status, a plaintiff
             can establish fiduciary status by demonstrating that the defendant controlled the particular transaction at issue,
             referred to as “transaction-specific” control. 558

                  To establish general control, a plaintiff must show “that a defendant or group of defendants exercised
             sufficient influence ‘that they, as a practical matter, are no differently situated than if they had majority voting
             control.’” 559 “One means of doing so is to show that the defendant, ‘as a practical matter, possesses a
             combination of stock voting power and managerial authority that enables him to control the corporation, if he so
             wishes.’” 560 The analysis of effective control looks to a stockholders’ ability to exert influence as a stockholder,
             in the boardroom, and outside of the boardroom through managerial roles. Breaking these categories down to
             “indicia of effective control,” the factors include:
                     • “ownership of a significant equity stake (albeit less than a majority),”
                     • “the right to designate directors (albeit less than a majority),”
                     • “decisional rules in governing documents that enhance the power of a minority stockholder or board-level
                       position,” and
                     • “the ability to exercise outsized influence in the board room, such as through high-status roles like CEO,
                       Chairman, or founder.” 561

                  To establish transaction-specific control, a plaintiff must show that the stockholder “exercise[d] actual
             control over the board of directors during the course of a particular transaction[.]” 562 This analysis often focuses
             on relationships “with key managers or advisors who play a critical role in presenting options, providing
             information, and making recommendations[.]” 563 It can also address “the exercise of contractual rights to
             channel the corporation into a particular outcome by blocking or restricting other paths,” and “commercial
             relationships,” although those factors are less relevant here. 564 Ultimately, “[i]t is impossible to identify or
             foresee all of the possible sources of influence that could contribute to a finding of actual control over a
             particular decision.” 565

                 Both general control and transaction-specific control call for a holistic evaluation of sources of influence.
             “Rarely (if ever) will any one source of influence or indication of control, standing alone, be sufficient to make
             the

             absence of proof by a preponderance of the evidence to the contrary”); Rosenthal v. Burry Biscuit Corp. , 60 A.2d
             106, 110–11 (Del. 1948) (finding ten percent ownership of the outstanding common stock sufficient to infer
             control).
             557
                    Newmont , 535 A.2d at 1344 (citations omitted).
             558
                Voigt , 2020 WL 614999, at *11–12; Basho Techs. Holdco B, LLC v. Georgetown Basho Invs., LLC , 2018 WL
             3326693, at *25 (Del. Ch. July 6, 2018) (“The requisite degree of control can be shown to exist generally or with
             regard to the particular transaction that is being challenged.” ​ ( quotingCarsanaro v. Bloodhound Techs., Inc. , 65
             A.3d 618, 659 (Del. Ch. 2013)), aff’d sub nom. Davenport v. Basho Techs. Holdco B, LLC , 221 A.3d 100 (Del.
             2019) (TABLE).
             559
                    Basho , 2018 WL 3326693, at *25 (quoting PNB , 2006 WL 2403999, at *9).
             560
                    Id. (quoting Cysive , 836 A.2d at 553).
             561
                    Id. at *27 (citations omitted).
             562
                    In re W. Nat’l Corp. S’holders Litig. , 2000 WL 710192, at *20 (Del. Ch. May 22, 2000) (citation omitted).
             563
                Basho , 2018 WL 3326693, at *26 (concluding on a motion to dismiss that the defendant’s relationship with
             management, including tips received by defendant from company’s officers that provided negotiating leverage,
             supported an inference of control (citing OTK Assocs., LLC v. Friedman , 85 A.3d 696, 704, 706–07, 715, n.1
             (Del. Ch. 2014)).
             564
                Basho , 2018 WL 3326693, at *26 (citations omitted); see also Skye Mineral, 2020 WL 881544, at *26–27;
             Cox Commc’ns, 2006 WL 1586375, at *4.
             565
                    Basho , 2018 WL 3326693, at *26.


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             necessary showing.” 566 “Different sources of influence that would not support an inference of control if held in
             isolation may, in the aggregate, support an inference of control.” 567 “Sources of influence and authority must be
             evaluated holistically, because they can be additive.” 568 “Invariably, the facts and circumstances surrounding the
             particular transaction will loom large.” 569

                  Here, Plaintiff advances theories of both general and transaction-specific control. To streamline the sprawling
             set of issues presented, this analysis addresses whether Musk held transaction-specific control with respect to the
             Grant. Because “[b]roader indicia of effective control also play a role in evaluating whether a defendant exercised
             actual control over a decision[,]” 570 the sources of influence identified by Plaintiff in support of a finding of
             general control factor into the transaction-specific analysis.
                  Plaintiff’s argument that Musk controls Tesla might conjure a sense of déjà vu . That is because Delaware
             courts have confronted this precise issue before in a prior lawsuit challenging Tesla’s 2016 acquisition of
             SolarCity when Musk was SolarCity’s largest stockholder and board chair. Although the SolarCity case resulted
             in three opinions, none of them included a finding concerning Musk’s status as a controller. In the first,
             Vice Chancellor Slights denied the defendants’ motion to dismiss where it was reasonably conceivable that Musk
             controlled Tesla. 571 On a motion to dismiss, however, a court must assume the truth of the plaintiff’s factual
             allegations. Accordingly, the Vice Chancellor’s dismissal decision did not constitute a finding that Musk was a
             controller. Post-trial, the Vice Chancellor held that even if Musk were a controller so as to trigger entire fairness,
             the transaction was entirely fair. 572 For this reason, it was unnecessary to make a post-trial finding on whether
             Musk controlled Tesla. The Vice Chancellor’s approach dexterously relieved the Delaware Supreme Court from
             the burden of resolving the issue when affirming the post-trial decision. 573
                 This question of whether Musk controls Tesla has thus proven evasive. It is as good a time as any to run it to
             ground. And so, “[o]nce more unto the breach, dear friends, once more.” 574

                  The analysis begins by discussing Musk’s stock ownership, which is a significant but not dispositive
             indicium of control. The analysis then turns to the factors that play a bigger role in the court’s conclusion, which
             are Musk’s influence over managerial decisions, decision makers, and the process. Musk wielded the maximum
             influence that a manager can wield over a company. His ties to three of the eight directors (Kimbal, Gracias, and
             Murdoch) rendered those directors beholden to him; with Musk, they comprised half of the Board (given
             Jurvetson’s departure).
             566
                    Id. at *28 (citations omitted).
             567
                    Voigt , 2020 WL 614999, at *13.
             568
                    Id.
             569
                    Basho , 2018 WL 3326693, at *28.
             570
                    Id. at *27.
             571
                 SolarCity I , 2018 WL 1560293, at *13 (finding it reasonably conceivable that Musk controlled Tesla due to
             allegations concerning: Musk’s ability to influence the stockholder vote through his 21.9% ownership; Musk’s
             influence over the board as Tesla’s visionary, CEO, and chairman; Musk’s strong connections with members of
             the board and the fact that a majority of the board was interested in the transaction; and Tesla’s acknowledgment
             of Musk’s control in public filings).
             572
                 SolarCity II , 2022 WL 1237185, at *2. Although the Vice Chancellor found that there were significant flaws
             in the process that led to the SolarCity acquisition, the court held that “any control [Musk] may have attempted to
             wield in connection with the Acquisition was effectively neutralized by a board focused on the bona fides of the
             Acquisition, with an indisputably independent director leading the way.” Id. at *33 (citation omitted). In reaching
             this conclusion, the Vice Chancellor emphasized that the board rebuffed multiple of Musk’s demands during the
             process, that Denholm “emerged as an independent, powerful and positive force during the deal process who
             doggedly viewed the Acquisition solely through the lens of Tesla and its stockholders,” and was an “effective
             buffer between” Musk and the conflicted board. Id. at *37–38. The Vice Chancellor then credited as evidence of
             a fair price the fully informed stockholder vote, SolarCity’s unaffected trading price, SolarCity’s cash flows, the
             financial advisor’s fairness opinion, and potential synergies.
             573
                    SolarCity III , 298 A.3d at 699.
             574
                    William Shakespeare, Henry V act 3 sc. 1, lns. 1–2.


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             The rest of the fiduciaries acted beholden to Musk in the process leading to the Grant, allowing Musk to dictate
             the timing of the process and the terms of the Grant. Ultimately, the key witnesses said it all—they were there to
             cooperate with Musk, not negotiate against him. This unique suite of allegations makes it undeniable that, with
             respect to the Grant, Musk controlled Tesla.

                                 1.          Stock Ownership

                  “All else equal, a relatively larger block size should make an inference of actual control more likely[]” for a
             few reasons discussed at length by Vice Chancellor J. Travis Laster in Voigt . 575 This is due in part to quorum
             requirements and stockholder turnout, which give a 40% block holder the same effective power in most
             circumstances as the holder of a mathematical majority. 576 Meanwhile, “stockholders who oppose the
             blockholder’s position can only prevail by polling votes at supermajority rates.” 577 Relatedly, compared to a
             small blockholder, a large blockholder needs the support of fewer other investors to carry a vote. 578
                  Musk wields significant influence over Tesla by virtue of his stock holdings. Just prior to the Board’s
             approval of the Grant, Musk owned approximately 21.9% of Tesla’s outstanding common stock. 579 Applying the
             assumptions used in Voigt , if the holder of a 21.9% block favors a particular outcome, then the holder will win
             as long as holders of approximately one-in-three shares vote the same way. 580 By contrast, an opponent must
             garner approximately 71% of the unaffiliated shares to win.
                  It is thus no surprise that this court has found that holders of similar or lesser percentages of stock are
             controlling stockholders. 581 It is also no surprise that under Section 203 of the DGCL, “[a] person who is the
             owner of 20% or more of the outstanding voting stock of any corporation . . . shall be presumed to have control
             of such entity, in the absence of proof by a preponderance of the evidence to the contrary.” 582 Nor is it any
             surprise that the original stockholder rights plan triggered at 20% ownership, or that rights plans now routinely
             cap ownership at 15% or less, thereby forcing a stockholder to stop short of the 20% figure. 583 At a minimum, a
             21.9% holding supplies a powerful “rhetorical card[] to play in the boardroom.” 584
                 For Musk, his significant block operated in conjunction with a supermajority voting requirement for any
             amendment to Tesla’s bylaws governing stockholder meetings, directors, indemnification rights, and the
             supermajority voting requirement itself. 585 Assuming an 80% turn-out, Musk needed the support of less than
             10% of the minority stockholders to block a bylaw amendment at a stockholder meeting. By contrast, a proponent
             would

             575
                    Voigt , 2020 WL 614999, at *17–19 (emphasis omitted).
             576
                 Id. at *18 (“[O]nce a quorum is present, the general standard for taking action is the affirmative vote of a
             majority of the shares present and entitled to vote. For the election of directors, the general standard is a plurality
             of the shares present and entitled to vote. Meetings typically attract participation from just under 80% of the
             outstanding shares. At that level, the holder of a 40% block can deliver the vote needed to prevail at a meeting.”
             (citations omitted)).
             577
                 Id. at *18 (citation omitted). For example, “assuming a meeting where holders with 80% of the voting power
             turn out, and the standard is a majority of the shares present and entitled to vote . . . if the holder of a 35% block
             favors a particular outcome at a meeting, then the blockholder will win as long as holders of 1-in-7 shares vote
             the same way. The opponents must garner over 90% of the unaffiliated shares to win.” Id.
             578
                    See generally id. at *18–19 (discussing the mathematics behind this principle in detail).
             579
                    PTO ¶ 64.
             580
                    Voigt , 2020 WL 614999, at *18.
             581
                    See supra note 556.
             582
                    8 Del. C. § 203(c)(4).
             583
               See Williams Cos. S’holder Litig. , 2021 WL 754593, at *1 (Del. Ch. Feb. 26, 2021) (citing Marcel Kahan &
             Edward Rock, Anti-Activist Poison Pills , 99 B.U. L. Rev. 915, 922 (2019)).
             584
                    Voigt , 2020 WL 614999 at *19.
             585
               JX-323 at 33 (2/1/17 Form 8-K) (stating that Article X requires a supermajority of outstanding shares vote to
             amend Articles II, VIII, and X, and certain provisions of Article III).



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             have to garner over 93% of the unaffiliated shares to win. This means that, with the support of insiders or
             directors, Musk can easily block bylaw amendments that require a supermajority vote. Indeed, Musk has been
             able to do so two separate times. 586
                 Musk’s 21.9% block, therefore, gives him a sizable leg-up for stockholder votes generally and the ability to
             block specific categories of bylaw amendments. The block also gives him great influence in the boardroom. This
             undoubtedly contributes to his clout and sway.
                 If this case involved a failed bylaw amendment subject to a supermajority vote, then Musk’s stock holdings
             would likely prove dispositive to the control analysis. But that is not the situation, so Musk’s stock holdings must
             be considered in connection with the other indicia of control.

                                2.      Boardroom And Managerial Supremacy

                 “[T]he ability to exercise outsized influence in the board room[]”can contribute to a finding of control. 587
             Boardroom influence can come in a variety of forms. An individual might hold “high-status roles like CEO,
             Chairman, or founder.” 588 Or an individual might have other key executive or managerial roles. An individual
             can wield influence if he can interfere with or kibosh management decisions. 589 An individual will have
             substantial influence if he can replace management. 590
                  Musk wields considerable power in the boardroom by virtue of his high-status roles and managerial
             supremacy. Indeed, describing Musk’s role at Tesla as “high-status” 591 would be a dramatic understatement. At
             relevant times, Musk occupied the most powerful trifecta of roles within a corporation—CEO, chair, and founder.
             He also exercised managerial authority over all aspects of Tesla and often without regard to Board authority,
             rendering

             586
                JX-1234 at 25–26 (5/28/20 Schedule 14A) (noting Tesla’s successful opposition to the 2014 and 2016
             proposals to move to simple majority voting).
             587
                Basho , 2018 WL 3326693, at *27, n.322 (“[T]he explicit or implicit threat of retaliation will carry much
             more weight if it comes from a . . . defendant who controls 25% of the voting power of the company, . . . and
             serves as Chairman of the Board with the power to call board meetings and set the agenda.”); see also Cysive ,
             836 A.2d at 551–53 (incorporating defendants’ status as CEO and chairman into the control analysis).
             588
                 Basho , 2018 WL 3326683, at *27 (citations omitted); SolarCity I , 2018 WL 1560293, at *13 (considering
             for purposes of the control analysis “Musk’s influence over the Board as Tesla’s visionary, CEO and Chairman of
             the Board”); Zhongpin , 2014 WL 6735457, at *9 (denying a motion to dismiss where it was reasonably
             conceivable that the defendant was a controller, in part because “[t]he Company relied so heavily on him to
             manage its business and operations that his departure from [the Company] would have had a material adverse
             impact on the Company”), rev’d on other grounds sub nom. , Cornerstone , 115 A.3d 1173; Cysive , 836 A.2d at
             551–53 (finding post-trial that a minority stockholder had controller status where the stockholder was the
             chairman and CEO “and a hands-on one, to boot[,]” was “by admission, involved in all aspects of the company’s
             business, was the company’s creator” and “inspirational force”). Although this court has held that high-status
             roles contribute to a finding of control, this court has declined to find that a defendant held controller status
             based solely on those roles. See In re GGP, Inc. S’holder Litig. , 2021 WL 2102326, at *23–24 (Del. Ch. May 25,
             2021) (granting motion to dismiss where the alleged controller was the chairman and no other factors were
             present), aff’d in part, rev’d in part and remanded , 282 A.3d 37 (Del. 2022); In re Rouse Props., Inc ., 2018 WL
             1226015, at *19–20 (Del. Ch. Mar. 9, 2018) (same, where no facts of actual control alleged); Larkin v. Shah ,
             2016 WL 4485447, at *13–15 (Del. Ch. Aug. 25, 2016) (same); In re Morton’s Rest. Gp., Inc. S’holders Litig., 74
             A.3d 656, 664 (Del. Ch. 2013) (same, where alleged controller previously owned the company but did not exert
             actual control).
             589
                 See, e.g. , Basho , 2018 WL 3326693, at *32 (finding post-trial that a minority stockholder had controller
             status, in part because the stockholder “exerted control over management” who would “subvert . . . , threaten . . .
             or get rid of” any “member of management [who] did not support” the stockholder’s interests).
             590
                 See, e.g. , Reith , 2019 WL 2714065, at *8 (denying a motion to dismiss where it was reasonably conceivable
             that the defendant was a controller, in part because the defendant had “replaced the company’s management with
             alleged affiliates . . . and the Company paid an affiliated entity significant funds every month under the
             Management Services Agreement”).
             591
                    Voigt, 2020 WL 614999, at *12.


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             Tesla highly dependent on him. Truly, the avalanche of evidence on this point is so overwhelming that it is
             burdensome to set out in prose, hence these blunt bullet points:
                     • Tesla and Musk are intertwined, almost in a Mary Shelley (“You are my creator . . .”) sort of way. 592 As
                       Kimbal explained, “Tesla created Elon Musk’s persona and Elon Musk’s persona is attached to Tesla.” 593
                       Musk is Tesla’s public face, and he describes Tesla as “my company.” 594
                     • Tesla’s entire corporate strategy is Musk’s brainchild—he conceived both the “Master Plan” and “Master
                       Plan, Part Deux.” 595
                     • Tesla is highly dependent on Musk, as it has made clear in public disclosures. 596 Musk did not dispute
                       this characterization or that his departure would “likely” cause such disruptions. 597
                     • Musk has admitted that he has “the power to direct operational decisions at Tesla[.]” 598
                     • Gracias testified that Musk “could have sold the entire company if he wanted to.” 599
                     • Musk is extremely involved in financial planning and supplies inputs for models and plans. 600 All
                       financial plans must be approved by Musk. 601
                     • Musk makes the hiring, compensation, and firing decisions for high-level positions. 602 Tesla employees
                       described Musk as having a reputation among employees as a “tyrant” who fires people “on a whim.” 603
                     • Musk operates under his own set of rules at Tesla. For example, due to his “special position of trust” at
                       Tesla, no one at Tesla could review his email account without permission except when legally required. 604




             592
                See generally Mary Shelley, Frankenstein; or, The Modern Prometheus (Lackington, Hughes, Harding, Mavor
             & Jones, 1st ed. 1818).
             593
                Trial Tr. at 1085:11–24 (Kimbal); see also id. at 644:11–15 (Musk) (Musk agreeing that, as of May 2017, he
             was “heavily invested in Tesla, both financially and emotionally and . . . viewed Tesla as part of [his] family”).
             594
                 Id. at 625:22–626:21 (Musk); see also JX-1031 at 52 (Tesla disclosing that “[w]e are highly dependent on the
             services of Elon Musk, our Chief Executive Officer, Chairman of our Board of Directors and largest
             stockholder.”).
             595
                 Trial Tr. at 566:11–18, 610:24–611:2 (Musk) (Musk agreeing at trial that Part Deux is “still guiding Tesla’s
             strategy”); PTO ¶¶ 47–48.
             596
                 JX-335 at 25–26 (“The loss of the services of any of our key employees could disrupt our operations, delay
             the development and introduction of our vehicles and services, and negatively impact our business, prospects and
             operating results. In particular, we are highly dependent on the services of Elon Musk, our Chief Executive
             Officer, and Jeffrey B. Straubel, our Chief Technical Officer.”); JX-1031 at 52 (“We are highly dependent on the
             services of Elon Musk, our Chief Executive Officer, Chairman of our Board of Directors and largest
             stockholder.”).
             597
                    Trial Tr. at 603:12–20 (Musk).
             598
                    Id. at 601:6–10 (Musk).
             599
                    Id. at 782:5–22 (Gracias).
             600
                    Id. at 498:22–499:7 (Ahuja).
             601
                    Id. at 511:8–19 (Ahuja).
             602
                    Id. at 851:6–852:5 (Murdoch); id. at 612:23–613:6 (Musk).
             603
                JX-924 at 6 (Tesla employee survey); see also JX-857 at 1 (Tesla’s former chief people officer, in a
             January 2018 email, stating: “Elon will fire me Tuesday anyway for sending market rate compensation to him”).
             604
                    Trial Tr. at 601:11–602:10 (Musk).


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                     • Musk has made up positions and titles for himself. In 2021, without first consulting with the Board, 605
                       Musk appointed himself “Technoking”—a position he compared to being a monarch.606 Ehrenpreis
                       described that decision as “Elon being Elon[,]” 607 which suggests that the behavior is not unusual for
                       Musk. Musk testified that the title was intended as a joke, 608 but that is a problem in itself.
                       Organizational structures, including titles, promote accountability by clarifying responsibilities. They are
                       not a joke.
                     • Musk operates as if free of Board oversight, as shown by his treatment of the SEC Settlement. 609 Musk’s
                       “self-regulat[ory] 610 process for compliance and the Board’s desultory enforcement paint a vivid picture
                       of their inability or unwillingness to rein in Musk. 611 Even after the settlement, the Disclosure Committee
                       did not review his tweets. 612 At trial, Denholm was not sure whether the Disclosure Committee was
                       fulfilling its obligations under the SEC Settlement. 613
                     • Musk has ignored specific Board directives, such as unilaterally pausing Tesla’s acceptance of Bitcoin
                       after the Board approved it. 614 Other surprise announcements include Musk discussing the idea of Tesla
                       repurchasing billions of dollars of stock during an earnings call and without Board knowledge. 615
                     • Musk regularly uses Tesla resources to address projects at other companies he owns. For example, after
                       Musk acquired Twitter, he asked approximately 50 Tesla engineers to “volunteer” to help him evaluate
                       Twitter’s engineering team. 616 No one on the Board challenged this decision. 617 Murdoch testified that
                       this was “being monitored by the [Audit Committee] and being paid for.” 618 But Murdoch was not able to
                       even “ballpark” the number of Tesla engineers involved, even though the monitoring he described had
                       taken place at most “a few weeks” prior to his testimony. 619 Murdoch’s testimony also showed that any
                       monitoring by the Audit Committee, such as it was, took place after the fact. 620 Similarly, in 2020, Musk
                       directed Tesla management to send Tesla’s “smartest micro grid designer [] with a bunch of Powerpacks to
                       [SpaceX][.]” 621

             605
                 Id. at 1085:1–7 (Kimbal) (“Question: Have you heard the word ‘Technoking’ before? Answer: Yes, I have.
             Question: When did you first hear that word? Answer: I heard it over Twitter, when Elon changed his Twitter
             account.”); id. at 854:21–855:3 (Murdoch) (“Q. Now, you’re aware that Elon Musk has added Technoking to his
             Tesla title. Correct? A. Yes, I am aware of that. Q. And you believe you likely first learned about that
             development via a tweet. Is that correct? A. I might have. I think so. Yeah.”); Musk Dep. Tr. at 25:13–25 (“Q . . .
             Did you consult with the board about the new title before — before filing it on 8-K? A. No, but it was
             communicated to the board.”); but see Trial Tr. at 599:4–10 (Musk) (stating that he was “wrong” in his deposition
             when he stated he did not consult the Board before giving himself the title of Technoking); see also JX-1331 at 2
             (3/15/21 Form 8-K announcing the name change).
             606
                    Musk Dep. Tr. at 22:24–23:1.
             607
                    Trial Tr. at 189:19–24 (Ehrenpreis).
             608
                    See id. at 599:16–22 (Musk).
             609
                See JX-1070 at 1 (9/29/18 SEC Press Release: Elon Musk Settles SEC Fraud Charges; Tesla Charged With
             and Resolves Securities Law Charge).
             610
                    Trial Tr. at 382:5–12 (Denholm).
             611
                 See id. at 616:3–11, 619:12–622:3 (Musk); id. at 382:5–12, 386:8–12 (Denholm).
             612
                 Id. at 615:8–616:2 (Musk); JX-1550 at 3–4 (12/9/18 60 Minutes interview transcript).
             613
                    Trial Tr. at 379:7–380:7 (Denholm).
             614
                    Id . at 613:19–614:10 (Musk).
             615
                Id. at 619:13–24 (Musk). Musk’s general aversion to oversight extends to the SEC. See generally id. at
             623:4–22, 624:3–625:21 (Musk); JX-1555 (7/2/20 tweet from Musk stating: “SEC, three letter acronym, middle
             word is Elon’s”).
             616
                    Trial Tr. at 656:6–657:20 (Musk).
             617
                    Id. at 657:9–658:2 (Musk).
             618
                    Id. at 870:18–871:2 (Murdoch).
             619
                    Id. at 869:14–870:17 (Murdoch).
             620
                    Id. at 870:18–871:2 (Murdoch).
             621
                    JX-1195 at 1.


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                  This evidence, though not exhaustive, demonstrates the scope of Musk’s influence as a member of
             management and in the Boardroom. Based on this list alone, it could be said that Musk wields unusually
             expansive managerial authority, equaling or even exceeding the imperial CEOs of the 1960s. 622
                  One set of scholars have created a term for this sort of person—a “Superstar CEO,” defined as an
             “individual[] who directors, investors, and markets believe make a unique contribution to company value.” 623 As
             the authors explain, the reasons for believing that a CEO is uniquely valuable to the corporation might vary, and
             those beliefs could be wrongly held. 624 But the reasons and their accuracy are irrelevant. 625 “[W]hat matters is
             only that such a belief does exist.” 626
                  CEO superstardom is relevant to controller status because the belief in the CEO’s singular importance shifts
             the balance of power between management, the board, and the stockholders. When directors believe a CEO is
             uniquely critical to the corporation’s mission, even independent actors are likely to be unduly deferential.
             They believe that “letting the CEO go would be harmful to the company and that alienating the CEO might have
             a similar effect.” 627 They “doubt their own judgment and hesitate to question the decisions of their superstar
             CEO.” 628 They view CEO self-dealing as the trade-off for the CEO’s value. 629 In essence, Superstar CEO status
             creates a “distortion field” 630 that interferes with board oversight. As discussed later in this analysis, the
             distortion field can weaken mechanisms by which stockholders hold fiduciaries accountable, a risk that becomes
             more severe when the Superstar CEO owns a large block of shares. 631




             622
                    See generally Myles L. Mace, Directors: Myth and Reality 77–85 (1971).
             623
                    Superstar CEOs at 1367.
             624
                 Id. at 1367–68 (“Markets may believe, for example, that only the CEO possesses the idiosyncratic vision that
             is essential to make the company outperform the competition. Or that only she possesses exceptional skills or
             other rare qualities that are crucial for implementing the company’s strategy. Another explanation is that the CEO
             possesses the charisma and ability to sell their vision that is crucial for attracting investors, employees, or other
             constituencies. . . . [T]hese are CEOs who directors, investors, and markets believe have charismatic power or
             other extraordinary qualities that set them apart from other ordinary CEOs . . . .” ​ ( emphasis in original)); id. at
             1368 (“Moreover, the perception that a CEO is uniquely valuable could be wrong as a matter of principle or in
             the case of certain individuals.”).
             625
                    Id.
             626
                    Id. (emphasis omitted).
             627
                    Id. at 1379.
             628
                    Id.
             629
                See, e.g. , id. at 1392 (“As long as the CEO is perceived as a star and the company depends on her vision and
             leadership, investors are less likely to challenge the CEO. Regardless of their financial savvy, investors might
             even approve self-dealing and other value reducing transactions. They will not rush to discipline CEOs with star
             qualities even when they engage in misconduct. They will challenge the CEO only when they believe that [s]he
             has lost h[er] magic touch or that the harm from h[er] misconduct exceeds her singular contribution to company
             value.”).
             630
                This phrase, first used to describe Steve Jobs, applies here. See Elson Amicus Br. at 1 (citing Waters supra
             note 12).
             631
                    Superstar CEOs at 1400–02.


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                  Faith in a Superstar CEO changes the dynamics of corporate decision making. That is true for all corporate
             decisions, but the risk becomes more acute for issues where the Superstar CEO’s interests are directly concerned.
             Nowhere is that truer than the Superstar CEO’s compensation. In the face of a Superstar CEO, it is even more
             imperative than usual for a company to employ robust protections for minority stockholders, such as staunchly
             independent directors. In this case, Tesla’s fiduciaries were not staunchly independent—quite the opposite, as
             discussed next. 632

                                3.      Relationships With The Board
                  A director lacks independence if he or she is “so beholden to an interested director that his or her discretion
             would be sterilized.” 633 Both past and future rewards are relevant to this analysis. 634 The inquiry is “highly fact
             specific” and there is “no magic formula to find control.” 635
                  Nine directors served on the Board at relevant times. Jurvetson can be excluded given his early departure. Of
             the remaining eight, Musk was one and his brother another. 636 That is one fourth of the relevant directors. The
             other six had varying degrees of ties to Musk. The analysis begins with the four Compensation Committee
             members (Ehrenpreis, Buss, Denholm, and Gracias) and then turns to Murdoch and Johnson Rice.

                  Gracias had the most extensive business and personal dealings with Musk and Kimbal. Prior to approving
             the Grant, Gracias held interests worth over $1 billion in Musk-controlled entities, which Gracias admitted
             provided him “dynastic or generational wealth.” 637 Gracias and Musk had a decades-long relationship, which
             included joint family vacations and attendance at family birthday parties. Gracias had a 20-year friendship with
             Kimbal and was an investor in Kimbal’s business ventures. Gracias also received millions in Valor investments
             from Musk and Kimbal, and was a director of SpaceX and SolarCity, the latter until its acquisition by Tesla.




             632
                 To be sure, the Superstar CEO designation lacks definitional precision. It is hard to distinguish between an
             executive who is valuable to a corporation and a Superstar who is singularly or uniquely valuable to a
             corporation. As the scholars have acknowledged, this definitional imprecision could lead to “vague standards”
             that “create uncertainty and encourage litigation[,]” thus diminishing the utility of the Superstar CEO label. Id. at
             1400–02; see also Lawrence Hamermesh, Jack B. Jacobs, and Leo E. Strine, Jr., Optimizing the World’s Leading
             Corporate Law: A Twenty-Year Retrospective And Look Ahead , 77 Bus. Law. 321, 346 (2022) (raising concerns
             with the theory, noting that a CEO’s value to a company standing alone does not make the CEO a controlling
             stockholder). For that reason, the concept should not be deployed far and wide. When deployed, doubtless there
             will be close cases. But not here. Musk is a dead ringer. See generally Superstar CEOs at 1354–56 (identifying
             Musk as the paradigmatic Superstar CEO). If nothing else, the Superstar CEO concept is valuable for its
             descriptive power, because it explains what took place in this case.
             633
                    Highland Legacy Ltd. v. Singer , 2006 WL 741939, at *5 (Del. Ch. Mar. 17, 2006) (citing cases).
             634
                 See generally Da Lin, Beyond Beholden , 44 J. Corp. L. 515, 550 (2019). Prospective rewards might be more
             difficult to prove than past relationships, but that does not mean they do not exist.
             635
                    Calesa , 2016 WL 770251, at *11 (citing Crimson , 2014 WL 5449419, at *10).
             636
                Defendants do not dispute this; nor could they. Kimbal is Musk’s brother and business partner, and he recused
             himself from discussion of or voting on the 2018 Grant due to this conflict. PTO ¶ 232; see JX-791 at 1.
             637
                    Trial Tr. at 774:22–24 (Gracias).


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                  Gracias’s business ties to Musk, standing alone, support a finding that Gracias lacked independence from
             Musk. 638 Similarly, Gracias’s personal relationship with Musk, standing alone, support a finding that Gracias
             lacked independence from Musk. 639 The combination of business and personal ties make it undeniable that
             Gracias lacked independence from Musk.
                   Ehrenpreis also had extensive business and personal relationships with Musk. Prior to the Grant, Ehrenpreis
             held interests worth at least $75 million in Musk-controlled companies other than Tesla and had invested in
             Kimbal’s business ventures. Ehrenpreis also had longstanding personal and professional relationships with Musk
             and Kimbal that Ehrenpreis admitted had a “significant influence” on his professional career. 640 Although
             Ehrenpreis’s relationship with Musk was not as thick as that enjoyed by Gracias, it was weighty. Given the
             critical role he played as chair of the Compensation Committee, it was too weighty. Even if one could debate
             whether these ties rendered Ehrenpreis beholden to Musk in general, his actions in connection with the Grant
             demonstrate that he was beholden for that purpose.




             638
                 See generally Sandys v. Pincus, 152 A.3d 124, 134 (Del. 2016) (finding it reasonably conceivable on appeal
             from a dismissal decision that two directors were not independent of a controller for purposes of Rule 23.1 where
             they had “a mutually beneficial network of ongoing business relations” based on past investments and service on
             company boards); SolarCity I , 2018 WL 1560293, at *18 (finding it reasonably conceivable on a motion to
             dismiss that a director lacked independence where the controller was a “frequent investing partner” in the
             director’s venture); Cumming v. Edens , 2018 WL 992877, at *15 (Del. Ch. Feb. 20, 2018) (finding it reasonably
             conceivable on a motion to dismiss that a director was not independent for demand futility purposes because the
             director and the controller owned a professional sports team together and worked together to build a new
             stadium); Trados , 73 A.3d at 54–55 (finding post-trial that a director lacked independence where, among other
             allegations, the director “had a long history with” the controller, had served previously as an executive at one of
             the controller’s portfolio companies, was asked “to work with [the controller] on other companies,” and invested
             “about $300,000 in three [controller] funds”); In re New Valley Corp. Deriv. Litig. , 2001 WL 50212, at *7 (Del.
             Ch. Jan. 11, 2001) (finding it reasonably conceivable on a motion to dismiss that directors were not disinterested
             and independent based on intertwined, long-standing business relationships such as being paid to be a director
             nominee in a separate proxy bid); Loral , 2008 WL 5293781, at *20–22 (finding post-trial that a director lacked
             independence where, among other things, the director had successfully solicited investments from the controller’s
             companies).
             639
                 See generally Marchand v. Barnhill , 212 A.3d 805, 819 (Del. 2019) (finding it reasonably conceivable on
             appeal that a director’s long-standing personal ties to the controller compromised independence); Del. Cty. Emps.
             Ret. Fund v. Sanchez , 124 A.3d 1017, 1022 (Del. 2015) (finding it reasonably conceivable on appeal from a
             dismissal decision that a director lacked independence because the director had a friendship of over 50 years with
             an interested party); Sandys , 152 A.3d at 130 (finding it reasonably conceivable on appeal from a dismissal
             decision that co-owning a private plane with a close friend indicates a lack of independence because it is unusual
             and would require close cooperation in use and a continuing, close personal friendship); In re BGC P’rs, Inc.
             Deriv. Litig. , 2019 WL 4745121, at *11–12 (Del. Ch. Sept. 30, 2019) (finding it reasonably conceivable on a
             motion to dismiss that a director lacked independence where the director and the controller attended exclusive
             events together and had a close relationship for 20 years).
             640
                    Trial Tr. at 192:6–10 (Ehrenpreis).


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                  The same is true of Denholm and Buss. Their most significant, potentially comprising factor is the
             compensation each received as a Tesla director. For Denholm, it was “life-changing.” 641 For Buss, it was a large
             portion of his wealth. 642 Ordinary, market-rate compensation does not compromise a director’s independence. 643
             Outsized director compensation can. 644 But Plaintiff does not argue that Musk established Buss and Denholm’s
             compensation so as to render them beholden. 645 Instead, it is a factor that must be considered when evaluating
             how Denholm and Buss acted when negotiating the Grant.
                  The remaining directors present clearer calls. Murdoch lacked independence due to personal connection with
             Musk. He was a long-time friend of Musk before he joined the Board and they repeatedly vacationed together
             with their respective families. 646 It was during one such trip that Musk, Kimbal, and Gracias recruited Murdoch
             to the Board. 647
                Johnson Rice, by contrast, had no compromising personal or business ties to Musk. Plaintiff concedes as
             much.
                 Summing it up, it is easy to conclude based on the nature of their relationships with Musk that Kimbal,
             Gracias, and Murdoch lacked independence from Musk. After Jurvetson’s departure, and along with Musk, that
             was half the Board. The rest of the Director Defendants fall along a spectrum ranging from Ehrenpreis’s
             extensive relationships with Musk to Johnson Rice’s lack thereof.




             641
                    Id. at 397:6–12 (Denholm).
             642
                    See supra § I.C.1.a.ii.
             643
                 See generally In re Kraft Heinz Co. Deriv. Litig. , 2021 WL 6012632, at *11 (Del. Ch. Dec. 15, 2021)
             (finding standard director compensation “alone cannot create a reasonable basis to doubt a director’s
             impartiality[]” ​ ( quotingRobotti & Co., LLC v. Liddell , 2010 WL 157474, at *15 (Del. Ch. Jan. 14, 2010))).
             644
                See, e.g. , Kahn v. Tremont Corp. , 694 A.2d 422, 430 (Del. 1997) (finding that a director was beholden to
             majority stockholder where, three years previously, the company had retained his consulting services for $10,000
             per month and awarded more than $ 325,000 in bonuses); Kahn v. Portnoy , 2008 WL 5197164, at *8–9 (Del. Ch.
             Dec. 11, 2008) (finding it reasonably conceivable that directors’ fees derived from controller’s companies, which
             exceeded compensation from other employment, rendered the director beholden to the controller); see also
             Cumming , 2018 WL 992877, at *17 (finding it reasonably conceivable on a motion to dismiss that a director
             lacked independence from a controller where the director was alleged to have derived 60% of his publicly
             reported income from service on a board to which the controller appointed him).
             645
                 As to Denholm, this court previously held that Denholm was “an independent, powerful and positive force
             during the deal process” that led to the SolarCity acquisition. SolarCity II , 2022 WL 1237185, at *37–38. And
             that was surely true at the time. But it was not a factual finding that carries forward for all time. Moreover,
             Denholm’s approach to enforcement of the SEC Settlement, including unawareness of one of its key
             requirements, suggests a new lackadaisical approach to her oversight obligations. See supra § I.I.3.
             646
                    Trial Tr. at 819:2–16, 820:20–821:2, 847:5–849:15 (Murdoch).
             647
                    Id. at 780:23–781:2 (Gracias); id. at 821:3–822:21 (Murdoch); id. at 1080:13–21 (Kimbal).


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                                 4.         The Process

                   When assessing independence, Delaware courts consider not only the directors’ relationships with the party
             to whom they are allegedly beholden, but also how they acted with respect to that party. 648 Directors with strong
             ties to a controller may demonstrate their independence. 649 And directors without strong individual ties to a
             controller may fall victim to a “controlled mindset.” 650 A controlled mindset can be evidenced by the directors
             approaching negotiations seeming “less intent on negotiating with [the controller] and more interested in
             achieving the result that [the controller] wanted[.]” 651

                 When evaluating control allegations in the context of a challenge to a merger, Chief Justice (then-Vice
             Chancellor) Strine once observed:

                         [T]he question of whether the large block holder has “control” may be relevant, and
                         intertwined with, the question of whether the merger was approved by uncoerced,
                         independent directors seeking solely to advance the interests of the corporation and its
                         disinterested stockholders rather than by supine servants of an overweening master. 652

                  The references to “supine servants” and “an overweening master” is hyperbolic, and no doubt deliberately so
             to give emphasis to the difficulty of the standard. But it hits home here. There is no greater evidence of Musk’s
             status as a transaction-specific controller than the Board’s posture toward Musk during the process that led to the
             Grant. Put simply, neither the Compensation Committee nor the Board acted in the best interests of the Company
             when negotiating Musk’s compensation plan. In fact, there is barely any evidence of negotiations at all. Rather
             than negotiate against Musk with the mindset of a third party, the Compensation Committee worked alongside
             him, almost as an advisory body.

                 Multiple aspects of the process reveal Musk’s control over it, including the timeline, the absence of
             negotiations over the magnitude of the Grant or its other terms, and the committee’s failure to conduct a
             benchmarking analysis. In the end, the key witnesses said it all by effectively admitting that they did not view the
             process as an arm’s length negotiation.

                                       a.        Musk Controlled The Timing.

                  Defendants emphasize that nine months passed after the initial April 9 call between Musk and Ehrenpreis
             until the Board approved the Grant. In reality, however, most of the work on the Grant occurred during small
             segments of that nine-month timeline and under significant time pressure imposed by Musk.

                 Before the Board or Compensation Committee had any substantive discussion concerning the Grant, Musk’s
             team proposed a highly accelerated schedule that contemplated approval of the Grant within less than
             two months. 653 A later version of the timeline was even more rushed, proposing only one Compensation
             Committee meeting

             648
                 In re Viacom Inc. S’holders Litig. , 2020 WL 7711128, at *24 (noting that analysis of controller’s influence on
             special committee focuses on how the committee actually negotiated the deal rather than just how the committee
             was set up); In re S. Peru Copper Corp. S’holder Deriv. Litig. , 52 A.3d 761, 789 (Del. Ch. 2011) (same)
             (citations omitted), aff’d sub nom. , Ams. Mining Corp. v. Theriault , 51 A.3d 1213 (Del. 2012).
             649
                 See In re Dole Food Co., Inc., S’holder Litig. , 2015 WL 5052214, at *16 (Del. Ch. Aug. 27, 2015) (“Before
             trial, Conrad’s role as Chair was not a reassuring fact. It was reasonable to infer from Conrad’s ties to Murdock,
             the events surrounding Weinberg’s resignation, and the insiders’ desire to have Conrad as Chair that Conrad
             would be cooperative, if not malleable, when facing Murdock. But after hearing Conrad testify and interacting
             with him in person at trial, I am convinced that he was independent in fact.”).
             650
                S. Peru , 52 A.3d at 798 (finding that, “from inception, the Special Committee fell victim to a controlled
             mindset and allowed [the controlling stockholder] to dictate the terms and structure of the Merger”).
             651
                    Frederick Hsu Living Tr. v. Oak Hill Cap. P’rs III, L.P. , 2020 WL 2111476, at *35 (Del. Ch. May 4, 2020).
             652
                    Cysive , 836 A.2d at 550–51.
             653
                    JX-423 at 2–3 (6/19/17 email from Matt Tolland to Maron re “Re: Privileged - Comp Comm Process”).


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             (with an additional meeting if necessary) and giving the committee less than three weeks to complete its task. 654
             This was a recklessly fast approach, yet Ehrenpreis did not question it. 655 In fact, not one but Brown questioned
             it. And Brown’s concerns were ignored.
                  The process decelerated to a reasonable pace only because Musk made it so. On July 6, a day before the first
             Compensation Committee meeting, Maron announced that the new goal was to issue a grant in August or
             September. 656 On July 30, a day before another Compensation Committee meeting, Musk emailed Maron to put
             the process on hold. 657 Although Musk agreed by email to let Maron “keep cranking[,]” 658 the wheels ground to
             a halt for several months. By August 12, Brown was telling his team there was “no need to spend any time” on a
             presentation relating to the 2018 Grant due to negotiations between Musk and the Board. 659 Similarly, on
             August 27, Ahuja told members of his team “[i]t was decided to defer this action by a few months.” 660 And
             Ahuja’s statement on September 17 that “[w]e are back on track to finalize a CEO comp package[]” turned out to
             be a false start. 661
             There was no meaningful activity through the end of October.

                  Defendants exaggerate how much work occurred in August and September. 662 Although the Compensation
             Committee did meet on August 14, there is no indication that this meeting involved a substantive discussion of
             the Grant. 663 The committee also met on September 8, but the minutes of that meeting describe the discussion of
             the Grant as featuring only a “brief update” and an agreement to “provide additional details to the broader Board
             group at the next Committee meeting.” 664
                  Musk restarted discussions on the Grant on the morning of November 9, just before a scheduled
             Compensation Committee meeting, telling Maron that he would “like to take board action as soon as possible if
             they feel comfortable and then it would go to shareholders.” 665 This message was not relayed during the
             November 9 meeting. 666 But Maron conveyed the urgency three days later, emailing the full Board and members
             of the Working Group with a request for “another meeting on the issue of CEO compensation at everyone’s first
             available opportunity.” 667
                 Musk tried to pause the process again on November 14 with another email to Maron, stating: “Given recent
             developments, let’s pause for a week or two. This would be terrible timing[.]” 668 The Board held a special
             meeting to discuss the Grant on November 16, during which Ehrenpreis and Maron proposed approving the plan
             in

             654
                 JX-456 at 2 (6/26/17 email from Phillips to Ehrenpreis and Maron re: “Tesla | Executive Compensation
             Timeline”). This timeline envisioned that on July 7, the Compensation Committee would “[g]ain agreement on
             proposed approach, award size and metrics/goals” and “[g]ain preliminary approval of grant agreement.” JX-456
             at 2.
             655
                    Trial Tr. at 124:11–125:11 (Ehrenpreis).
             656
                    JX-503 at 1.
             657
                    JX-564 at 1.
             658
                    Id. at 1.
             659
                    JX-596 at 1.
             660
                    JX-604 at 1.
             661
                 JX-640 at 3; id. at 1 (Ahuja stating on September 20 that “the priority on this effort has again been lowered[,]
             [s]o not critical at this point”).
             662
               See Defs.’ Post-Trial Answering Br. at 17 (“[I]n August and September 2017, there were three Compensation
             Committee meetings, a Working Group call, and a Board meeting discussing the Plan.” ​ ( citing DDX-1 at 2)).
             663
                JX-597 at 2 (“Mr. Ehrenpreis updated the Committee regarding the continuing efforts to develop Elon Musk’s
             next compensation package. Questions were asked and discussion ensued.”).
             664
                    JX-617 at 2.
             665
                    JX-664 at 1.
             666
                See JX-663 at 3 (“Ehrenpreis provided an update regarding continued development of Elon Musk’s next
             compensation package. Questions were asked and discussion ensued.”).
             667
                    JX-667 at 1.
             668
                    JX-668 at 1.


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             December 2017 and seeking stockholder approval in early 2018. 669 The final timeline, however, included the
             delay Musk requested and extended into January 2018. Although Musk’s November 14 attempt to pause work on
             the 2018 Grant did not stop a Board meeting in the following days, it had enough of an effect that those working
             on the Grant did not consider the process “back on” until well until December, which is when another period of
             urgency commenced. 670
                  To sum it up, Musk unilaterally set the timeline or made last-minute proposals to the Board prior to six out
             of the ten Board or Compensation Committee meetings during which the Grant was discussed. 671 Musk dictated
             when the game clock started and stopped, thereby artificially compressing the work into short bursts that took
             place when he wished to move forward. Musk’s habit of shaking things up just before meetings also made it
             tough for the committee and its advisors to be prepared. Musk’s persistent pattern cannot be chalked up to
             coincidence. Musk controlled the timing.

                                       b.      There Was No Negotiation Over The Size Of The Grant.
                 The most striking omission from the process is the absence of any evidence of adversarial negotiations
             between the Board and Musk concerning the size of the Grant. Musk made an initial proposal, and that proposal
             was the only one seriously considered until Musk unilaterally changed it six months later.

                  Defendants did their best to paint a different picture, but the contemporaneous evidence betrayed them. They
             cannot meaningfully deny that Musk made the initial proposal. Although Ehrenpreis initiated the April 9
             discussion, 672 Musk proposed the terms during that call. 673 Musk told Ehrenpreis that he wanted a grant with
             15 tranches awarding 1% of Tesla’s total outstanding shares for each market capitalization increase of $50 billion.
             674
                 This proposal set the size and structure for the Grant until November 9. 675

             669
                    JX-669 at 2.
             670
                 JX-717 at 1 (12/10/17 email noting the “importance and the timing on getting” an analysis of the stock-based
             compensation effects of the Grant “out quickly” because of a valuation deadline the next day); JX-717 at 1 (12/
             11/17 email marked as “high” importance stating, “[w]e are back on with a vengeance (apologies in advance). . . .
             I am just now digesting myself”); JX-718 at 1 (12/11/17 email stating that “[o]ur CEO grant[] is back and on a
             fast track now”).
             671
                 JX-423 (6/19/17 email circulating, four days before the first Compensation Committee meeting, an accelerated
             timeline); JX-503 at 1 (7/6/17 email from Maron stating, a day before the Compensation Committee was
             supposed to give preliminary approval to the Grant, that “we’re now going on a slower track with the CEO
             grant”); JX-564 at 1 (7/30/17 email from Musk stating, a day before the first Compensation Committee meeting,
             to “put [it] on hold for a few weeks”); JX-596 at 1 (8/12/17 email from Brown stating, two days before a
             Compensation Committee meeting, “no need to spend any time on this for now. Sounds like Elon and the Board
             are negotiating a little bit, which may impact where they land on some of the key program points”); JX-640 at 3
             (9/17/17 email from Ahuja stating, two days before the Board meeting, that “[w]e are back on track to finalize a
             CEO comp package”); id. at 1 (9/ 20/17 email from Ahuja stating, the day after the Board meeting, that “the
             priority on [the CEO grant] has again been lowered”); JX-664 at 1 (11/9/17 email from Musk proposing a
             “reduced” award only hours before a Compensation Committee meeting); JX-668 (11/14/17 email from Musk
             stating, two days before another Board meeting at which the Grant was to be discussed, “let’s pause for a week or
             two”); JX-717 at 1 (12/11/17 email from Tesla employee stating, a day before the December 12 special meeting
             of the Board to discuss the 2018 Grant, that “[w]e are back on with a vengeance”); JX-718 (12/11/17 email
             stating that “[o]ur CEO grant[] is back and on a fast track now”). The substance of the Compensation
             Committee’s September 8 and December 8 meetings seemed to escape Musk’s meddling, but neither were
             particularly substantial. See JX-697 at 3. The other untouched meetings were the very first meeting on June 6
             (where the Board’s discussion was forgettable) and the last on January 21 where the Board approve the 2018
             Grant. See JX-407; JX-743 at 1; JX-773 at 4.
             672
                    JX-362 at 2.
             673
                    See JX-1700 at 12 (1/12/18 Draft Schedule 14A Proxy).
             674
                See id. ; see also Trial Tr. at 269:17–270:8 (Maron) (testifying that “at the beginning of the process . . . the
             conception of the plan at a high level was to have $50 billion market cap increments”).
             675
                    See JX-445 at 3–4; JX-464 at 5–7; JX-490 at 5–7; JX-640 at 3.


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                  Defendants cannot deny that, on November 9, Musk unilaterally lowered his ask. He proposed what he
             believed was a “reduced” compensation plan, which would award him a fully diluted 10% increment in his Tesla
             ownership if he reached a $550 billion market capitalization. 676 After Musk learned that this proposal would
             result in greater compensation than his initial proposal, he changed it again. On December 1, he stated: “That is
             more than intended. Let’s go with 10% of the current [fully diluted share] number[.]” 677 Defendants tout the
             reduced proposal of December 1 as a “negotiated price,” 678 but Musk was more honest. Unprompted, he
             described his “proposal on December 1” as “me negotiating against myself.” 679

                  To blunt the blow of Musk’s candor, Defendants vigorously argue secondary points. For example, they
             contend that the Compensation Committee considered a variety of award sizes prior to Musk’s new proposal on
             November 9. 680 They cite to the August 1 Compensia presentation, which identifies alternative market
             capitalization increments and corresponding award sizes of 7.5% and 10%. 681 But the presentation valued the
             15% award only, and there is no record of any actual discussions concerning the alternative award sizes. 682 The
             minutes for the November 16, 2017 Board meeting suggest that there was no actual discussion concerning
             alternatives. 683 And when Maron received Musk’s new offer, he compared it to Musk’s original proposal and not
             any alternatives. 684 By July 2017, Musk’s 15-tranche was locked-in as the operating assumption. The
             Compensation Committee did not consider alternatives.

                  As another example, Defendants emphasize that the Grant ultimately included 12 tranches, each awarding
             1% of total outstanding shares and requiring $50 billion in market capitalization growth. 685 According to
             Defendants, this represented “an appreciation in market capitalization that was $100 billion more than what Musk
             had proposed in exchange for the same percentage of options.” 686 Although Defendants are correct that, all else
             equal, requiring more market capitalization growth for the same number of shares means a better deal for
             stockholders, there is simply no credible evidence that the shift from ten tranches to 12 was the result of any
             actual negotiation with Musk. To the contrary, the record reflects that the Board preferred the simplicity of total
             outstanding shares. 687 Toward this




             676
                    JX-664 at 1.
             677
                    JX-682 at 1.
             678
                    Defs.’ Post-Trial Opening Br. at 64-65; see also Trial Tr. at 584:9–19 (Musk).
             679
                    Trial Tr. at 696:7–697:7 (Musk).
             680
                 Defs.’ Post-Trial Opening Br. at 60–61 (citing JX-566 at 14–16); id. at 33 (citing JX-566 at 14–16); Trial Tr.
             at 213:14–23 (Ehrenpreis).
             681
                    Defs.’ Post-Trial Opening Br. at 60–61 (citing JX-566 at 14–16); id. at 33 (citing JX-566 at 14–16).
             682
                 JX-566 at 13–16, 23–24; see JX-633 at 17–21 (9/19/17 slide deck assuming 15% of total outstanding shares
             and providing 7.5% and 10% chart for comparison). The August 1 presentation included other possibilities and
             key questions that were never discussed. See JX-566 at 8 (8/1/17 slide deck) (asking “Should a new award be
             stock option-based? Should it be multi-year and highly performance-based or structured as a more traditional
             annual award?”).
             683
                 JX-669 at 2 (“As discussed in previous meetings and again at this meeting, the Board continued to consider
             1% of current total outstanding shares as the award for each vesting tranche, achievement of which required both
             an increase of $50 billion in the Company’s market capitalization and a matching operational milestone.”).
             684
                    JX-678 at 1.
             685
                    Defs.’ Post-Trial Opening Br. at 64–65.
             686
                    Id. at 65 (citing Trial Tr. at 225:21–227:18 (Ehrenpreis)).
             687
                 See JX-669 at 2 (11/16/17 Board meeting minutes) (“the directors expressed a general preference to measure
             the size of the grant as a percentage of total outstanding shares, and not allow for known dilution protection for
             Mr. Musk”); Maron Dep. Tr. at 407:17–25 (stating he believed the Board used TOS, instead of FDS, because “it
             was a simpler approach”).



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             end, they backed into 12 tranches when translating Musk’s demand of 10% of fully diluted shares into a
             round percentage of total outstanding shares while maintaining the $50 billion/1% per tranche approach that
             Musk proposed in April. 688

                  The testimony from Ehrenpreis that Defendants cite does not support a finding that negotiations over the
             12%/12-tranches occurred. 689 Ehrenpreis simply confirmed that he generally recalled “negotiations in the late
             part of 2017 about the terms of the” Grant. 690 When asked “[w]hat, if anything happened to the total amount of
             market capitalization that would accrue to the shareholders if Mr. Musk hit all of the targets in the plan as
             between the time of the negotiation and then the final plan,” Ehrenpreis responded “[d]uring that period of time,
             the market cap milestones increased by $100 billion.” 691 Although this describes what happened, it does not
             establish the existence of a negotiation. In a follow-up question, Ehrenpreis avoided saying that he or anyone else
             negotiated with Musk about the market capitalization increase, again merely describing the changes that took
             place. 692

                  Maron also stopped short of describing this aspect of the process as a negotiation. He testified that although
             the final terms included the “size of the overall plan . . . were all different than I think were initially thought of
             by Elon. . . . I don’t want to say that it was necessarily over his objection. They weren’t things he thought of.
             They were things that the Board thought of and that he ultimately agreed to.” 693 Aspects of this testimony ring
             true—Musk’s various proposals lacked the detail necessary to implement them.

                 In short, the Compensation Committee and the Board failed to negotiate the overall size or difficulty of the
             Grant with Musk.

                                          c.      There Was No Meaningful Negotiation Over The Other Terms Of The Grant.

                  The other key terms of the Grant were: the Clawback Provision, the Leadership Requirement, the Five-Year
             Hold Period, and the M&A Adjustment. As to these terms, the only back-and-forth in the record concerned the
             M&A Adjustment, but Musk himself conceded that this was at most a minor feature of his compensation plan
             that he did not care about. He stated, at the end of negotiations on this point, “I don’t think we will be making
             big acquisitions[]” and “[t]here is no chance I will game the economics here, so I’m fine with limits that prevent
             that.” 694 He then proceeded to propose a stricter M&A Adjustment than was on the table. 695

                   Defendants argue that the Five-Year Hold Period was a negotiated point and a major concession. 696 But
             neither the documentary record nor the witness testimony corroborates Musk’s recollection of vigorous
             negotiation. The closest testimony on point is to the contrary, where Maron stated “[w]hen you talk about holding
             periods and the M&A adjustments and the size of the overall plan, these were all different than I think were
             initially thought of by Elon. But I don’t want to say that it was necessarily over his objection. They weren’t
             things that he thought of.” 697

                 Meanwhile, one of the biggest purported concerns expressed by the Board was their desire to keep Musk
             engaged in Tesla despite his significant time commitments at his other companies, which included SpaceX, The

             688
                JX-743 at 4–5; see JX-701 at 1 (12/10/17 email from Chang providing contemporaneous notes of the 12/10/17
             special Compensation Committee meeting) (“We seem to be at the right place as far as size: 10% of FDS (~12%
             of TOS)”).
             689
                    See Defs.’ Post-Trial Opening Br. at 65 (citing Trial Tr. at 225:21–227:18 (Ehrenpreis)).
             690
                    Trial Tr. at 225:21–24 (Ehrenpreis).
             691
                    Id . at 225:21–226:7 (Ehrenpreis).
             692
                    See id. at 226:17–227:18 (Ehrenpreis).
             693
                    Maron Dep. Tr. at 428:20–430:3.
             694
                    JX-781 at 1–2.
             695
                    JX-874 at 2.
             696
                    Trial Tr. at 584:9–585:2 (Musk) (testifying that the Board “pushed significantly” on this point).
             697
                    Maron Dep. Tr. at 429:7–13; see also id. 428:20–430:3.


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             Boring Company, Neuralink, and later, Twitter. 698 The Grant could have addressed this issue. The most obvious
             way would have been a requirement that Musk devote substantially all of his professional time and attention to
             Tesla-related matters. Another option could have been a restriction on the amount of time and attention he could
             devote to companies other than Tesla. 699 Still other possibilities might include a forfeiture or clawback provision
             if Musk failed to provide the requisite level of time and attention. 700 Yet no one proposed anything like that to
             Musk.
                  Delaware law recognizes that “asking the controlling stockholder to consider alternative options can change
             the negotiating dynamic.” 701 Whether Musk should commit a level of time to Tesla was a planned topic of
             discussion for a September 8 call with Denholm, Ehrenpreis, and Musk. 702 During the September 8 call,
             however, none of the participants raised the issue. 703 According to Musk, the issue “was not raised in this
             compensation structure” because the idea was “silly.” 704 Maron testified that the Board did not ask for such a
             requirement because “[t]hat would have been like saying goodbye to Elon[.]” 705 Defendants claim Musk would
             have rejected such restrictions, but the court will “never know because the . . . Committee and its advisors never
             had the gumption to give it even the weakest of tries.” 706




             698
                 Trial Tr. at 328:9–24 (Denholm) (“Elon had other business interests that competed for his time.”); JX-612 at 2
             (“How can the comp comm/board/shareholders be assured that [Musk] will devote adequate time to Tesla given
             his other commitments/businesses/. Should some type of commitment be included as part of comp structure?”);
             Murdoch Dep. Tr. at 292:1–293:20 (“But obviously as [SpaceX] grew and depending on … where Elon thinks his
             time is going to be most useful in terms of both … his own incentives as an executive, apropos of this plan, and
             also … where he can make the biggest impact, … we wanted to make sure that … Tesla was top of mind.”);
             Ehrenpreis Dep. Tr. at 51:6–13 (“And so my thinking and the goal was how do we find a way to make sure that
             Elon still stays in this seat, number one.”).
             699
                    See Dunn Opening Expert Rep. at 14–15.
             700
                    See, e.g., id.
             701
                 S. Peru, 52 A.3d at 800 (“[A]sking the controlling stockholder to consider alternative options can change the
             negotiating dynamic . . . . [T]he Special Committee might discover certain weaknesses of the controlling
             stockholder, thus creating an opportunity for the committee to use this new-found negotiating leverage to extract
             benefits for the minority.”).
             702
                    JX-612 at 1–2.
             703
                See JX-629 at 2–3 (summary of call omitting the issue); Trial Tr. at 139:17–141:1 (Ehrenpreis); Denholm
             Dep. Tr. at 389:15–390:20 (“I don’t recall the specifics of that other than in general terms we talked mainly about
             energy, focus, and commitment as opposed to time.”); Musk Dep. Tr. at 154:12–21, 160:11–161:4.
             704
                    Musk Dep. Tr. at 160:11–161:4.
             705
                    Trial Tr. at 263:11–264:1 (Maron).
             706
                    Loral , 2008 WL 4293781, at *25.


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                                    d.      There Was No Benchmarking Analysis.

                  The Grant process lacked a traditional benchmarking analysis, which compares a proposed compensation
             plan to plans at comparable firms. 707 Benchmarking “provides the compensation committee with a frame of
             reference with respect to what other companies are doing with respect to compensation[.]” 708 Benchmarking is
             the foundation of a compensation advisor’s analysis. 709

                  The witnesses agreed that benchmarking is typical and critical. Defendants’ expert, Professor Kevin Murphy,
             previously opined that “the market for similarly situated executives provides a critical benchmark” the “board
             must consider in deciding whether to pursue” an executive and “how much to offer.” 710 Plaintiff’s expert,
             Professor Brian D. Dunn, opined that benchmarking is a “critical aspect and requirement of an
             effective compensation plan process.” 711 Brown confirmed that Compensia typically provides benchmarking
             consisting of an identified peer group and comparable positions at peer companies. 712 Burg too recognized that
             providing such information is necessary for the Compensation Committee’s advisors to “fulfill their
             responsibilities.” 713 Nevertheless, no traditional benchmarking study was conducted in connection with the
             Grant. 714

                  Defendants proffered reasons for not performing a traditional benchmarking study, but each rang hollow. For
             starters, Defendants argued that the Board considered “a lot of data that all fit within the overall bucket of
             benchmarking” throughout the process. 715 The primary evidence is the Compensia presentation from the July 7,
             2017 meeting, which included information about other CEOs. 716 For example, one of the slides lists the largest
             CEO pay packages in 2016. But no one contends that this market data constituted a benchmarking analysis. And
             none of the slides involved direct comparisons to the Grant. 717




             707
                Trial Tr. at 1461:10–1462:6 (Brown) (“Q. So did Compensia’s work on the 2018 plan include such traditional
             benchmarking? A. It did not for a few reasons.”).
             708
                    Id. at 1475:20–24 (Brown).
             709
                 Id. at 1058:7–1059:18 (Burg) (testifying that compensation advisors provide benchmarking data to “fulfill
             their responsibilities”); id. at 1312:8–12 (Murphy) (agreeing that benchmarking studies are “customary” when
             setting CEO compensation), 1313:10–13 (confirming that competitive pay analysis is “industry standard” in
             advising clients on executive compensation), 1315:2–16 (prior testimony stating benchmarking is “absolutely
             routine” and “what every compensation consultant will do”), 1317:10–1319:3 (prior testimony that “the market
             for similarly situated executives provides a critical benchmark that [the] board must consider in deciding whether
             to pursue [the CEO candidate] and in deciding how much to offer” ​ ( emphasis added)); id. at 786:12–21 (Gracias)
             (confirming it is “wise” for the Compensation Committee to have benchmarking information); id. at 347:3–10,
             350:7–11, 351:2–7 (Denholm) (acknowledging prior use of benchmarking data for other executives).
             710
                Trial Tr. at 1317:10–1319:3 (Murphy); see, e.g. , id. at 1312:8–12 (Murphy) (agreeing that benchmarking
             studies are “customary”), 1313:10–13 (confirming that competitive pay analysis is “industry standard”),
             1315:2–16 (prior testimony stating benchmarking is “what every compensation consultant will do”).
             711
                    Dunn Opening Expert Rep. at 83; see also Trial Tr. at 983:3–22 (Dunn).
             712
                    Trial Tr. at 1461:10–1462:4 (Brown); id. at 1475:16–1476:24 (Brown).
             713
                    Id. at 1058:7–1059:18 (Burg).
             714
                 Id. at 1477:1–5 (Brown) (affirming that Compensia did not conduct a benchmarking study for the Grant); id.
             at 786:12–21, 787:5–10 (Gracias) (same); id. at 1059:19–1060:5 (Burg) (stating that he had no memory of
             benchmarks being presented in connection with the 2018 Grant).
             715
                    Id. at 1293:10–1294:9 (Murphy).
             716
                    JX-512 at 16–20.
             717
                    Id.


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                  Brown also testified that it would have been difficult to find comparable companies for a benchmarking
             study. 718 At trial, Brown conceded that he could have developed a peer group after using “some judgment” in a
             timeframe “similar to [developing] any peer group.” 719 Dunn created a benchmarking analysis, demonstrating it
             was possible. 720
                  More telling, Brown took the position that benchmarking was unnecessary because the award would be too
             large for useful comparison. Brown testified that he had a “really good idea” of what would happen if Compensia
             performed a traditional benchmarking study, and that “it wasn’t going to be useful information for the committee”
             because the Grant was so divorced from the market for comparable executives. 721 In a similar vein, Defendants
             argue that benchmarking was not needed because the 2018 Plan was “unprecedented” in that “no other CEO had
             been willing to condition his compensation on such audacious milestones,” especially at a time when a company
             was struggling. 722 They contend: “Traditional benchmarking is inapt if the companies, executives, and plans are
             not comparable.” 723
                  That is a hard sell. As CEO, Musk’s job was the same as every other public company CEO: improve
             earnings and create value. A benchmarking study would have shown the committee what other companies paid
             for executives to perform that same task. Moreover, the extraordinary nature of the Grant should have made
             benchmarking more critical, not less. Benchmarking would have informed the decision makers of the magnitude
             of difference between the Grant and market comparables. 724

                                      e.       The Key Negotiators Said It All.
                 In the end, the defense witnesses said it all. Ehrenpreis and Gracias took the lead on the Grant for the
             Compensation Committee (recall that attendance at Working Group meetings was “optional” for Denholm and
             Buss). 725 Maron was one of the primary go-betweens. 726 When asked to describe the process, none viewed the
             process as an arm’s length negotiation. Each viewed it is as a form of collaboration with Musk.

                  Ehrenpreis testified that “during the entire process, there were check-ins with Elon. We were not on different
             sides of things. We were trying to make sure if we were going to go through this exercise that he was on board.”
             727


             718
                    Trial Tr. at 1462:5–1463:7 (Brown).
             719
                    Id. at 1477:19–1478:6 (Brown).
             720
                  Id. at 983:3–985:1, 990:3–992:7 (Dunn); id. at 1477:14–1478:12 (Brown) (confirming Compensia could
             h a v e — but did not—benchmark); PDX-2 at 5–6.
             721
                Trial Tr. at 1462:5–1463:1 (Brown); see also id. at 786:12–21, 787:5–10 (Gracias); id. at 347:3–10, 350:7–11,
             351:2–7, 362:10–13 (Denholm); Denholm Dep. Tr. at 287:12–21 (“[I]t was very difficult to find comparables in
             terms of the ambitious nature of this plan.”).
             722
                    Defs.’ Post-Trial Suppl. Reply Br. at 10–11.
             723
                    Id. at 10 n.44.
             724
                See Julian v. E. States Const. Serv., Inc ., 2008 WL 2673300, at *19 (Del. Ch. July 8, 2008) (holding that the
             lack of historical precedent does not mean the size of the compensation plan can just be plucked out of thin air);
             Trial Tr. 1320:18–1321:16 (Murphy) (confirming that in a prior trial he testified that there should have been
             benchmarking for an executive if even he was the only person in the United States who was believed to be
             qualified and available to take that position).
             725
                    JX-474 (6/30/17 email from Chang to Denholm and Buss).
             726
                 See, e.g. , JX-783 at 1–2 (1/16/18 email from Maron to the Compensation Committee) (stating Musk wanted
             that “[a]ny M&A in which [Tesla] buy[s] a company for no more than 5% of [Tesla’s] current market cap will
             have no adjustment”); see JX-664 at 1 (11/9/17 email from Musk to Maron stating Musk would “like to take
             board action as soon as possible” on his compensation plan); JX-667 at 1 (11/12/17 email from Maron to Board
             stating: “We’d like to have another meeting on the issue of CEO compensation[.]”); JX-668 (11/14/17 email from
             Musk telling Maron to “pause for a week or two[,]” his compensation plan discussions); JX-718 (12/11/17 email
             stating the CEO compensation plan discussions are “back and on a fast track now”).
             727
                    Ehrenpreis Dep. Tr. at 139:18–140:3 (emphasis added).


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                     Gracias explained his understanding of “fairness” in this context and his approach to the process as follows:

                         [W]hat is important is that [CEOs] feel like they’re treated fairly. These plans are about
                         incenting behavior. Behavior is a feeling. It comes from inside the mind. And so we focus
                         on what’s fair and what feels fair to people and what’s fair to the shareholders, what’s
                         fair to us as investors, what’s fair to the executives. That’s how we think about it. We
                         never engage in these positional negotiations , I want 10, you want 3, let’s yell about it.
                         That’s not how we do things, not how anyone does things. 728

             That is, in lieu of objective market data and arm’s length negotiation, the Compensation Committee opted for
             subjective feelings—“what feels fair.” The committee did not take “positional negotiations” against Musk.729

                  Maron described the process similarly: “It was a cooperative, collaborative process. It wasn’t acrimonious.
             So when I say there wasn’t a conflict of interest, I think I’m thinking in my own mind was there an actual active
             conflict between the two parties; and I don’t think that there was. I think it was a cooperative collaborative
             process.” 730 To deal with a conflict, one must first recognize a conflict. “Conflict blindness and its lesser cousin,
             conflict denial, have long afflicted the financially sophisticated.” 731 Maron could not perceive the conflict, much
             less help deal with it.

                  The testimony from the key witnesses is perhaps as close to an admission of a controlled mindset as a
             stockholder-plaintiff will ever get. 732 The Compensation Committee and Musk were not on different sides. They
             did not acknowledge the existence of a conflict. It was a cooperative and collaborative process. 733




             728
                    Trial Tr. at 808:16–809:14 (Gracias) (emphasis added).
             729
                 Id. ; see also Gracias Dep Tr. at 244:25–245:20 (“I did not have a positional negotiation with [Musk] about,
             hey, we want to give you one [tranche], and you want two and let’s go negotiate back and forth. . . . I did not
             have a negotiation starting lower and going higher with him about the tranches or the size of the award.”); id. at
             255:22–256:9 (“Q. Okay. As a Tesla director and compensation committee member, do you think you have a duty
             to the company and the stockholders to try to negotiate for the smallest compensation package for Mr. Musk that
             would adequately incentivize him? A. That is not how I think about it, no. Q. Can you explain to me how you
             think about it? A. I think about compensation packages generally as what is fair to the executive and what is fair
             to the company. I don’t think about it as trying to get the very smallest thing possible ever. That’s just not my
             modus operandi with any company I deal with. I think about fairness.”).
             730
                    Maron Dep. Tr. at 100:2–102:11.
             731
                    Trados , 73 A.3d at 64.
             732
                See S. Peru , 52 A.3d at 798 (“[F]rom inception, the Special Committee fell victim to a controlled mindset
             and allowed [the controller] to dictate the terms and structure of the [transaction].”).
             733
                 Defendants concede that “[t]he Directors worked with Musk ‘in a collaborative, cooperative way to get to the
             end point.’” Defs.’ Post-Trial Opening Br. at 66 (quoting Trial Tr. at 243:15–244:3 (Maron)). They justify that
             soft approach by reasoning that “the board has to have an ongoing relationship with the CEO,” and “it would be
             atypical for compensation negotiations between a board and a CEO to be adversarial.” Id. In essence, they argue
             that, because the Grant was for a sitting CEO, the Board was justified in conducting a process short of “an
             effective proxy for arms-length bargaining, such that a fair outcome equivalent to a market-tested deal resulted.”
             Loral , 2008 WL 4293781, at *22 (citations omitted). The court recognizes that negotiations over CEO
             compensation give rise to strange dynamics because the parties need to work collaboratively after the negotiations
             have ceased, but that is true in many negotiations and in virtually every salary negotiation.
             There is a huge gap between being respectful and civil versus cooperating with the CEO to give him exactly what
             he wants. Even assuming that some level of cooperation and collaboration is called for, what took place here
             went beyond it. And this was also not the place for it. When considering the largest compensation plan in the
             history of the public markets, the directors needed to do more than accommodate the CEO.



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                     B.       Defendants Bore The Burden Of Proving That The Grant Was Entirely Fair.
                  Because Musk exercised transaction-specific control over the Grant, entire fairness is the standard of review,
             and Defendants presumptively bear the burden of proof. 734 In Kahn v. Lynch Communication Systems, Inc. , 735
             the Delaware Supreme Court “held that when the entire fairness standard applies, the defendants may shift the
             burden of persuasion by one of two means: first, they may show that the transaction was approved by a
             well-functioning committee of independent directors; or second, they may show that the transaction was approved
             by an informed vote of a majority of the minority shareholders.” 736 There was no well-functioning committee of
             independent directors here for the reasons discussed above. Thus, Defendants’ only hope for burden shifting is to
             show that the stockholder vote was fully informed. For this purpose, Defendants bear the burden of proving that
             the vote was fully informed. 737
                  To show that the stockholder vote was fully informed, Defendants must establish that “stockholders were
             apprised of ‘all material information’ related to that transaction.” 738 An omitted fact is material only where
             “there is a substantial likelihood that a reasonable shareholder would consider it important in deciding how to
             vote.” 739 In other words, to be material, an omitted fact must have “significantly altered the ‘total mix’ of
             information made available.” 740 Further, “once defendants travel[] down the road of partial disclosure of the
             history leading up to the [transaction] and use[d] the vague language described, they ha[ve] an obligation to
             provide the stockholders with an accurate, full, and fair characterization of those historic events.” 741 In assessing
             materiality, courts must balance “the benefits of additional disclosures against the risk that insignificant
             information may dilute potentially valuable information.” 742
                   Plaintiff advanced many arguments for why the stockholder vote was not fully informed. 743 Two are clear
             winners. The record establishes that the Proxy failed to disclose the Compensation Committee members’ potential
             conflicts and omitted material information concerning the process. Defendants sought to prove otherwise, and
             they generally contend that the stockholder vote was fully informed because the most important facts about the
             G r a n t — the economic terms—were disclosed.744 But Defendants failed to carry their burden.




             734
                 Ams. Mining Corp. , 51 A.3d at 1239 (“When a transaction involving self-dealing by a controlling shareholder
             is challenged, the applicable standard of judicial review is entire fairness, with the defendants having the burden
             of persuasion.”).
             735
                    638 A.2d 1110 (Del. 1994).
             736
                    Ams. Mining , 51 A.3d at 1240 (citing Lynch , 638 A.2d at 1117).
             737
                 Solomon v. Armstrong , 747 A.2d 1098, 1128 (Del. Ch. Mar. 25, 1999) (“[W]hen it comes to claiming the
             sufficiency of disclosure and the concomitant legal effect of shareholder ratification after full disclosure ( e.g. , . .
             . shift of the burden of proof of entire fairness from the defendant to the plaintiff) it is the defendant who bears
             the burden.”), aff’d , 746 A.2d 277 (Del. 2000) (TABLE).
             738
                In re Volcano Corp. S’holder Litig. , 143 A.3d 727, 748 (Del. Ch. June 30, 2016) (quoting Solomon , 747
             A.2d at 1127–28).
             739
                Rosenblatt v. Getty Oil Co. , 493 A.2d 929, 944 (Del. 1985) (quoting TSC Indus., Inc. v. Northway, Inc. , 426
             U.S. 438, 449 (1976)).
             740
                Arnold v. Soc’y for Sav. Bancorp, Inc. , 650 A.2d 1270, 1277 (Del. 1994) (quoting TSC Indus. , Inc. , 426
             U.S. at 449).
             741
                    Id. at 1280 (citations omitted).
             742
                 Volcano , 143 A.3d at 749 (citations omitted); see also Solomon , 747 A.2d at 1128 (“The theory goes that
             there is a risk of information overload such that shareholders’ interests are best served by an economy of words
             rather than an overflow of adjectives and adverbs in solicitation statements.”).
             743
                    See Pl.’s Post-Trial Opening Br. at 68–81.
             744
                    Defs.’ Post-Trial Opening Br. at 95–105.


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                                1.      The Conflict Disclosures

                   A director’s conflict with a transactional counterparty is material information that should be disclosed. 745 In
             fact, a director’s potential conflict with a transactional counterparty is material information that should be
             disclosed. 746

                  The Proxy failed to disclose any of the Compensation Committee members’ actual or potential conflicts with
             respect to Musk. 747 In fact, the Proxy repeatedly described the members of the Compensation Committee as
             independent, stating: “The[] [Grant] discussions first took place among the members of the Compensation
             Committee . . . all of whom are independent directors ;” 748 and “[t]he independent members of the Board , led
             by the members of the Compensation Committee, spent more than six months designing [the Grant].” 749 The
             Proxy’s introductory letter is “[f]rom the Independent Members of Tesla’s Board of Directors ,” and the first four
             signatories are Compensation Committee members Gracias, Ehrenpreis, Denholm, and Buss. 750 Notably, Gracias
             signed as “Lead Independent Director.” 751

                  The description of the Compensation Committee members as “independent” was decidedly untrue as to
             Gracias and proved untrue as to the remaining committee members. At a minimum, Musk’s relationships with
             Ehrenpreis and Gracias gave rise to potential conflicts that should have been disclosed. 752 Ultimately, all of the
             directors acted under a controlled mindset, calling into question the disclosure as to each of them.

                 Defendants sought to prove that they disclosed the information at issue, both in the Proxy and elsewhere. 753
             The Proxy disclosed the Tesla director compensation policy, which is one potential source of conflict. 754
             Defendants also showed that they disclosed some potential sources of conflict in other public filings, such as
             Buss’s tenure at SolarCity and Ehrenpreis’s and Gracias’s investments in SpaceX. 755 But those disclosures make
             no mention of important factors affecting independence, including Gracias’s and Ehrenpreis’s personal and other
             business

             745
                 See, e.g. , In re Orchard Enters., Inc. S’holder Litig. , 88 A.3d 1, 22 (Del. Ch. 2014) (“This court has held
             that special committee members’ ‘prior . . . relationships’ with a controller ‘should have been disclosed’ because
             of the committee’s ‘role as negotiators on behalf of the minority stockholders.’” ​ ( quoting cases)); In re Emerging
             Commc’ns, Inc. S’holders Litig. , 2004 WL 1305745, at *37 (Del. Ch. May 3, 2004) (“[T]he disclosure
             documents misled minority stockholders . . . [because] there was no disclosure of [two committee members’]
             long-standing financial relationships with [the transaction counterparty] . . . . The disclosure documents
             misleadingly suggested that the Special Committee, and perhaps a majority of the entire board, were
             independent.”); Millenco L.P. v. meVC Draper Fisher Jurvetson Fund I, Inc. , 824 A.2d 11, 15–19 (Del. Ch.
             2002) (finding the disclosures misleading when they failed to disclose supposedly independent directors’
             relationships with the CEO).
             746
                 Millenco , 824 A.2d at 15 (“[W]here, as here, the omitted information goes to the independence or disinterest
             of directors who are identified as the company’s ‘independent’ or ‘not interested’ directors, the ‘relevant inquiry
             is not whether an actual conflict of interest exists, but rather whether full disclosure of potential conflicts of
             interest has been made’” ​ ( quotingWilson v. Great Am. Indus., Inc. , 855 F.2d 987, 994 (2d Cir. 1988))); see also
             Eisenberg v. Chi. Milwaukee Corp. , 537 A.2d 1051, 1061 (Del. Ch. 1987) (“The only point made here is that . . .
             the potential conflict of half of [the company’s] Board of Directors was a fact that should have been disclosed. . .
             . [S]hareholders were entitled to know that certain of their fiduciaries had a self-interest that was arguably in
             conflict with their own, and the omission of the fact was material.” ​ ( citation omitted)).
             747
                    See Pl.’s Post-Trial Opening Br. at 69−73.
             748
                    JX-878 at 10 (emphasis added) (2/8/18 Schedule 14A Proxy Statement).
             749
                    Id. at 21 (emphasis added).
             750
                    Id. at 3−4 (emphasis added).
             751
                    Id. at 4.
             752
                    See supra §§ I.C.1.a.i, iv.
             753
                    Defs.’ Post-Trial Opening Br. at 100-01; Defs.’ Post-Trial Answering Br. at 70−72.
             754
                    JX-878 at 46−47.
             755
                    JX-379 at 24−26.


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             relationships with Musk. 756 And even assuming such disclosures were comprehensive, “our law does not impose
             a duty on stockholders to rummage through a company’s prior public filings to obtain information that might be
             material to a request for stockholder action.” 757
                  Defendants also sought to prove that disclosure of the potential conflicts was unnecessary because it would
             wrongly “oblige them to characterize their conduct in such a way as to admit wrongdoing.” 758 That argument is
             strongest on the controlled- mindset point. But the Proxy could have discussed the relevant relationships while
             stating that the Board did not view them as serious impediments to independence, thereby allowing stockholders
             to make their own assessment. This is precisely what Tesla did in the other disclosure document that Defendants
             pointed to when seeking to prove that the total mix of information included information about Musk’s financial
             connections with Gracias and Ehrenpreis. 759 “What defendants were not free to do was to take the position that
             the stockholders had no right to know this information because they, the defendants, had determined it was not
             important.” 760
                 Overall, Defendants failed to prove that the information about conflicts was adequately disclosed. The Proxy
             was materially deficient on this point.

                                 2.    The Process Disclosures
                  When asked to approve a transaction, stockholders are entitled to a full and accurate description of the
             material steps in the board or committee process that resulted in the transaction. 761 The components and
             effectiveness of a board or committee’s process, including the parties’ bargaining positions, are of “obvious
             importance” to stockholders. 762
                  Consequently, “a fiduciary’s duty is best discharged through a broad rather than a restrictive approach to
             disclosure.” 763 A board or committee may not create a false narrative as to the process for how a transaction was
             completed; partial disclosures that sterilize the actual events are insufficient. 764 Although a disclosure document
             need not give a “play-by-play[,]” 765 “when fiduciaries choose to provide the history of a transaction, they have
             an


             756
                    See JX-878 (2/8/18 Schedule 14A Proxy Statement); JX-379.
             757
                Zalmanoff v. Hardy , 2018 WL 5994762, at *5 (Del. Ch. Nov. 13, 2018) (citation omitted), aff’d , 211 A.3d
             137 (Del. 2019) (TABLE).
             758
                    Loudon v. Archer-Daniels-Midland Co. , 700 A.2d 135, 143 (Del. 1997); Defs.’ Post-Trial Answering Br. at
             71.
             759
                    See JX-379 at 24−26.
             760
                    Millenco , 824 A.2d at 18−19.
             761
                 Bancorp , 650 A.2d at 1280 (“[O]nce defendants traveled down the road of partial disclosure of the history
             leading up to the [transaction] and used the vague language described, they had an obligation to provide the
             stockholders with an accurate, full, and fair characterization of those historic events.” ​ ( citations omitted)).
             762
                 Clements v. Rogers, 790 A.2d 1222, 1242 (Del. Ch. 2001); accord Morrison v. Berry , 191 A.3d 268, 283−84
             (Del. 2018) (holding that information on process is material if it helps a reasonable stockholder reach a “more
             accurate assessment of the probative value of the [transaction’s] process”); In re Trans World Airlines , Inc.
             S’holders Litig. , 1988 WL 111271, at *12 (Del. Ch. Oct. 21, 1988) (“No disclosure in a case such as this
             is presumably of greater importance to a shareholder than a disclosure that independent directors have actively
             negotiated on his behalf and have concluded, as here, that acceptance of the proposal is in his best interests.”),
             abrogated on other grounds by Lynch, 638 A.2d 1110; Weinberger , 457 A.2d at 703 (“Material information,
             necessary to acquaint those shareholders with the bargaining positions of [the parties], was withheld under
             circumstances amounting to a breach of fiduciary duty.”); see, e.g. , McMullin v. Beran , 765 A.2d 910, 925−26
             (Del. 2000) (reversing dismissal where the defendants failed to disclose information regarding the handling of
             potential offers).
             763
                    Zirn v. VLI Corp., 621 A.2d 773, 779−80 (Del. 1993).
             764
                 In re Mindbody, Inc. S’holder Litig. , 2023 WL 2518149, at *41 (Del. Ch. Mar. 15, 2023); see also FrontFour
             , 2019 WL 1313408, at *29 (holding that the proxy statement’s failure to disclose that the special committee did
             not learn of “enormous pressure” facing controllers until after the merger agreement was executed was material).
             765
                David P. Simonetti Rollover IRA v. Margolis , 2008 WL 5048692, at *12 (Del. Ch. June 27, 2008) (internal
             quotation marks and citation omitted).



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             obligation to provide shareholders with ‘an accurate, full, and fair characterization of those historic events.’” 766
             “Even if [] additional information independently would fall short of the traditional materiality standard, it must be
             disclosed if necessary to prevent other disclosed information from being misleading.” 767 Even an assertion that a
             committee “carefully considered” a transaction, when inaccurate, could be falsely “reassuring” to stockholders
             and constitute a disclosure violation. 768
                   Generally, when a plaintiff proves process defects as significant as those in this case, the defendants will find
             it difficult to prove that the stockholder vote was fully informed. 769 That is true here. The Proxy does not
             disclose the level of control that Musk exercised over the process—e.g., his control over the timing, the fact that
             he made the initial offer, the fact that his initial offer set the terms until he changed them six months later, the
             lack of negotiations, and the failure to benchmark, among other things.
                  The parties focus on one specific omission. The Proxy does not disclose the April 9 conversation between
             Musk and Ehrenpreis during which Musk established the key terms of the 2018 Grant. A discussion of this
             conversation appeared in at least four earlier drafts of the Proxy. 770 The final Proxy instead opens its discussion
             of the development of the 2018 Grant with the following passage:
                              With the 2012 Performance Award nearing completion, the Board engaged in more
                              than six months of active and ongoing discussions regarding a new compensation
                              program for Mr. Musk, ultimately concluding in its decision to grant the CEO
                              Performance Award. These discussions first took place among the members of the
                              Compensation Committee of the Board (the “Compensation Committee”), all of
                              whom are independent directors, and then with the Board’s other independent
                              directors, including its two newest independent directors, Linda Johnson Rice and
                              James Murdoch. 771
                  Plaintiff contends that, in addition to describing the Compensation Committee members and Murdoch as
             “independent,” the statement is inaccurate because the “discussion[] first took place” between Ehrenpreis and
             Musk, not among the members of the Compensation Committee. 772 Defendants claim that Plaintiff is misreading
             the sentence, which they say means only that discussions among the Compensation Committee were “first” as
             compared to subsequent discussions with the full Board, not the “first” discussions in the process as a whole. 773
                 Even accepting Defendants’ borderline reading, the April 9 conversation between Ehrenpreis and Musk was
             material and should have been disclosed. 774 Musk’s April 9 proposal to Ehrenpreis set the terms of discussion
             for

             766
                 Id. (quoting Globis P’rs, L.P. v. Plumtree Software, Inc. , 2007 WL 4292024, at *14 (Del. Ch. Nov. 30,
             2007)); In re Tele-Commc’ns, Inc. S’holders Litig ., 2005 WL 3642727, at *5−6 (Del. Ch. Dec. 21, 2005) (
             holding that language in proxy that the board gave “careful consideration” to premium to be paid to shareholders
             would be material if false); Clements , 790 A.2d at 1242-43 (“When a Proxy Statement details the functioning of
             [the committee’s] process, it must do so in a fair and balanced manner that does not create a materially
             misleading impression of how the Committee actually operated in fact.” ​ ( citation omitted)).
             767
                    Chen , 87 A.3d at 689 (citing Johnson v. Shapiro , 2002 WL 31438477, at *4 (Del. Ch. Oct. 18, 2002)).
             768
                    Gantler v. Stephens , 965 A.2d 695, 711 (Del. 2009) (internal quotation marks omitted).
             769
                Cf. In re Mindbody, Inc. S’holder Litig. , 2020 WL 5870084, at *27 (Del. Ch. Oct. 2, 2020) (making a similar
             point as to a well-pled Revlon claim).
             770
                    See JX-1597 at 9; JX-1598 at 3; JX-1599 at 14; JX-1700 at 12.
             771
                    JX-878 at 10 (2/8/18 Schedule 14A Proxy Statement).
             772
                    Pl.’s Post-Trial Opening Br. at 73, 78−79 (quoting JX-878 at 10).
             773
                    Defs.’ Post-Trial Opening Br. at 102−03 (quoting JX-878 at 10).
             774
                 Weinberger , 457 A.2d at 703 (“Material information, necessary to acquaint those shareholders with the
             bargaining positions of [the parties], was withheld under circumstances amounting to a breach of fiduciary
             duty.”); see Plumtree , 2007 WL 4292024, at *14) (“Once defendants travel down the road of partial disclosure of
             the history leading up to a merger, they have an obligation to provide the stockholders with an accurate, full, and
             fair characterization of those historic events.” ​ ( citingBancorp , 650 A.2d at 1280)).



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             the first six or so months of the Grant’s development, and many of its features persisted in the final structure. 775
             The Proxy was materially deficient on this point.

                              3.     The Key-Terms Argument
                  During post-trial argument, Defendants argued that the stockholder vote was fully informed because the most
             important details of the Grant—the economic terms—were disclosed. Implicitly, Defendants argue that
             stockholders only need to know the economics of a transaction to cast an informed vote.
                  Defendants’ position finds no support in Delaware law. No case has held that a corporation needs to disclose
             only the economic terms of a transaction when securing a stockholder vote. In fact, then-Vice Chancellor Strine
             rejected as “frivolous” the argument that “the only material facts necessary to be disclosed” regarding a stock
             incentive plan are the “exact” economic terms of the plan. 776 This holding recognizes that materiality extends
             beyond economics to information regarding process, conflicts, incentives, and more. 777 Defendants’ authorities
             do not support the new rule that they advance. 778




             775
                 See JX-445 at 3–4; JX-464 at 5–7; JX-479; JX-490 at 5−7; JX-640 at 3; JX-631 at 2; see also JX-664 (Musk
             asking to “move forward” with the 2018 Grant “in a reduced manner from before”); Trial Tr. at 676:18–677:1
             (Musk) (“Q. And the only number we’ve seen from you so far is 15 percent of total outstanding shares, so I
             assume that means something less than 15 percent of total outstanding shares. Right? A. Yes.”); JX-678 at 1−2
             (email from Maron comparing Musk’s “reduced” request with the original request). Defendants do not appear to
             deny the materiality of this information. Instead, they take the factually inaccurate contention that “Ehrenpreis
             originated the initial proposal for the 2018 Plan.” Defs.’ Post-Trial Opening Br. at 102 (citation omitted). Plaintiff
             argues that the Proxy also suffered from disclosure issues relating to the ability to meet the milestones and
             Musk’s commitments outside Tesla. Although likely material, the court defers making a factual finding on this
             purported disclosure violation having found Plaintiff already proved the transaction was not entirely fair.
             776
                Sample v. Morgan , 914 A.2d 647, 652, 663−67 (Del. Ch. Jan. 23, 2007) (rejecting the “frivolous” argument
             because stockholders would also want to know where the plan originated, the self-interested purpose of the plan
             by those who conjured it up, and information regarding the comparative size of the plan to other corporate equity
             plans).
             777
                 See, e.g. , Mindbody , 2023 WL 2518149, at *43−44 (finding a disclosure violation where a party was tipped
             off as to the timing of a sales process); Atheros Commc’ns, Inc. , 2011 WL 864928, at *11 (Del. Ch. Mar. 4,
             2011) (holding that the terms of the incoming CEO’s employment after a merger were material where the proxy
             did not fully describe the negotiating process); van der Fluit v. Yates , 2017 WL 5953514, at *8−13 (Del. Ch.
             Nov. 30, 2017) (stating that “vague language regarding the identities of the negotiators” who received
             post-transaction employment constituted a material disclosure that prevented dismissal under Corwin ); Lear
             Corp. S’holder Litig. , 926 A.2d 94, 114 (Del. Ch. 2007) (“[A] reasonable stockholder would want to know an
             important economic motivation of the negotiator singularly employed by the board to obtain the best price for the
             stockholders, when that motivation could rationally lead that negotiator to favor a deal at a less than optimal
             price[.]”); see also Maric Cap. Master Fund, Ltd. v. Plato Learning, Inc. , 11 A.3d 1175, 1179 (Del. Ch. 2010)
             (imposing an injunction because the proxy failed to disclose a future CEO’s stock options and future management
             makeup and other accompanying incentives).
             778
                 Defendants cite to Cambridge Retirement System v. Bosnjak , where the court held that the “absence of
             benchmarking information” was not a material omission “because the proxy statements disclosed all material
             terms of the precise equity awards that the stockholders were being asked to approve.” 2014 WL 2930869, at *9
             (Del. Ch. June 26, 2014). But no one claims here that the absence of disclosed benchmarking information
             rendered the stockholder vote uninformed. Defendants further cite In re 3COM Corp. for the proposition that
             Delaware courts do not require the disclosure of a projected options’ value, and thus Tesla went above and
             beyond by disclosing the approximately $55.8 billion maximum theoretical value of the Grant. 1999 WL
             1009210, at *6−8 (Del. Ch. Oct. 25, 1999); JX-878 at 24−25 (2/8/18 Schedule 14A Proxy Statement). But the
             fact that Tesla disclosed some information does not excuse the Company’s other disclosure deficiencies.



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                  Moreover, “once defendants travel[] down the road of partial disclosure of the history leading up to the
             [transaction] . . . , they ha[ve] an obligation to provide the stockholders with an accurate, full, and fair
             characterization of those historic events.” 779 Here, Defendants chose to disclose aspects of the process. Having
             done so, they had an obligation to provide accurate, full, and fair information about that process, which they
             failed to do. At a minimum, a corporation cannot disclose false information, such as describing key negotiators as
             independent. That is what happened here.

                          C.       Defendants Failed To Prove That The Grant Was Entirely Fair.
                  Because Defendants failed to show that the stockholder vote was fully informed, they bore the burden of
             proving entire fairness. “The requirement of fairness is unflinching in its demand that where one stands on both
             sides of a transaction, he has the burden of establishing its entire fairness, sufficient to pass the test of careful
             scrutiny by the courts.” 780
                 The Delaware Supreme Court provided guidance on the entire fairness review in SolarCity III . 781 Quoting
             Weinberger v. UOP, Inc. , the high court described the entire fairness review as follows:
                                  The concept of fairness has two basic aspects: fair dealing and fair price. The former
                                  embraces questions of when the transaction was timed, how it was initiated,
                                  structured, negotiated, disclosed to the directors, and how the approvals of the
                                  directors and the stockholders were obtained. The latter aspect of fairness relates to
                                  the economic and financial considerations of the proposed merger, including all
                                  relevant factors: assets, market value, earnings, future prospects, and any other
                                  elements that affect the intrinsic or inherent value of a company’s stock. However,
                                  the test for fairness is not a bifurcated one as between fair dealing and price. All
                                  aspects of the issue must be examined as a whole since the question is one of entire
                                  fairness. 782
                  Entire fairness review calls upon the court to “carefully analyze the factual circumstances, apply a
             disciplined balancing test to its findings, and articulate the bases upon which it decides the ultimate question of
             entire fairness.” 783 “Given the unitary nature of the test, findings in one area may seep into the findings of the
             other. As a result, ‘a fair process usually results in a fair price.’ The opposite is also true: ‘an unfair process can
             infect the price.’” 784
                     Here, Defendants failed to prove that the Grant was the product of fair dealing or at a fair price.

                                             a.    Fair Dealing
                  “The element of ‘fair dealing’ focuses upon the conduct of the corporate fiduciaries in effectuating the
             transaction.” 785 When discussing fair process in SolarCity III , the Delaware Supreme Court encouraged this
             court to focus on what it refers to as the “ Weinberger factors.” 786 Those factors are “how the deal was initiated
             and timed, how it was structured and negotiated, and how it was approved[.]” 787 Those factors “form the core of
             a court’s fair dealing analysis.” 788
                This decision already addressed most of the facts pertinent to the fair dealing inquiry when discussing how
             Musk controlled the process and the disclosure deficiencies. This section largely restates those findings while
             779
                    Bancorp , 650 A.2d at 1280 (citations omitted).
             780
                    SolarCity III , 298 A.3d at 700 (emphasis omitted) (quoting Weinberger , 457 A.2d at 710).
             781
                    Id. at 698−734.
             782
                    Id. at 700 (quoting Weinberger , 457 A.2d at 711).
             783
                    Id. (quoting Cinerama, Inc. v. Technicolor, Inc. , 663 A.2d 1156, 1179 (Del. 1995) [hereinafter “ Cinerama II
             ”]).
             784
                    Id. at 702 (first quoting Ams. Mining , 51 A.3d at 1244, then quoting Trados , 73 A.3d at 78).
             785
                    Id. at 701 (quoting Tremont , 694 A.2d at 430).
             786
                    Id. at 702.
             787
                    Id. (citing Weinberger , 457 A.2d at 711).
             788
                    Id.


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             mapping them onto the Weinberger factors. They fare no better in their repackaged form. Defendants have failed
             to demonstrate that the process leading to the Grant was fair.

                                                i.    Initiation And Timing

                  The first Weinberger factor “examines how the decision under challenge was initiated.” 789 “The scope of
             this factor is not limited to the controller’s formal act of making the proposal; it encompasses actions taken by
             the controller in the period leading up to the formal proposal.” 790 The goal of the analysis is to determine
             whether the controller timed the proposal opportunistically to take advantage of the minority stockholders. 791 In
             SolarCity II , for example, the court asked whether Musk timed the transaction to “exploit any inherent
             coercion[.]” 792

                  As to this factor, Defendants have a handful of facts in their favor. The timing of the first discussion was
             dictated by Ehrenpreis, not Musk. Ehrenpreis credibly testified that he initiated this discussion because Tesla had
             reached nearly all of the milestones of Musk’s prior compensation plan. There is no evidence that Musk was
             secretly behind the start of negotiations, or that a starting negotiation in April 2017 gave Musk any significant
             advantage at the expense of the minority stockholders.

                  Nor is there any evidence that Musk set the table for the negotiations by acting in a manipulative or
             duplicitous manner. To show manipulative conduct, Plaintiff points to Musk’s May 2018 public statement that he
             would not remain CEO forever. Plaintiff argues that this statement was intended to pressure the Board. That is
             not a far-fetched theory, but it is not supported by the record. The more likely explanation is that Musk was
             considering stepping down from CEO to become Chief Products Officer. Another likely explanation is that Musk
             lacks a filter, so his public statement easily could have been a momentary thought that immediately found
             expression. In all events, he clarified his intentions at the time and at trial: Musk is committed, Tesla forever.

                  Although Musk did not manipulate the initial timing of the process, he repeatedly and unilaterally
             manipulated the timeline of the process. To summarize the facts discussed above, before the Board or
             Compensation Committee had a substantive discussion concerning the Grant, Musk’s team proposed a highly
             accelerated schedule that contemplated approval of the Grant within less than two months. The committee’s
             independent advisors asked for more time and were told no. It was Musk who unilaterally extended the July
             deadline to August or September. Musk then unilaterally put the process on hold again at the end of July, causing
             work to slow and then stop entirely. Musk restarted discussions on the morning of November 9. Musk asked to
             pause the process again on November 14 and was ultimately successful in delaying work until December. Musk
             instigated another period of urgency on December 11, placing the Grant “on a fast track,” 793 and resetting the
             target date for Board approval to January. The Board eventually approved the 2018 Grant on January 21.

             789
                    Frederick Hsu , 2020 WL 2111476, at *36.
             790
                    Dole , 2015 WL 5052214, at *26.
             791
                 In re BGC P’rs, Inc. Deriv. Litig. , 2022 WL 3581641, at *18 (Del. Ch. Aug. 19, 2022) (“The . . . initiation of
             a transaction can evidence a lack of fair dealing where it favors the controller to the minority’s detriment.”), aff’d
             , 303 A.3d 337 (Del. 2023) (TABLE).
             792
                 SolarCity III , 298 A.3d at 703−04; see also Dole , 2015 WL 5052214, at *27−28 (finding unfair dealing
             where the controller planned on taking target private for eighteen months prior to the formal process, during
             which time the controller engaged in a calculated effort to depress the market price of the target’s stock); Sealy
             Mattress Co. of New Jersey, Inc. v. Sealy, Inc. , 532 A.2d 1324, 1336 (Del. Ch. 1987) (finding unfair dealing in
             light of “a calculated effort to depress the [market] price” of a stock “until the minority stockholders [are]
             eliminated by merger or some other form of acquisition”); Jedwab v. MGM Grand Hotels, Inc. , 509 A.2d 584,
             599 (Del. Ch. 1986) (observing that “[t]he prototyp[ical] instance in which the timing of a merger would itself
             likely constitute a breach of a controlling shareholder’s duty is when it could be shown both (1) that the minority
             was financially injured by the timing (i.e., from their point of view it was an especially poor time to be required
             to liquidate their investment) and (2) that the controlling shareholder gained from the timing of the transaction
             what the minority lost”); Weinberger , 457 A.2d at 711 (citing the “serious time constraints” as a negative factor
             in the discussion of process).
             793
                    JX-718.


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                  As Weinberger teaches, time constraints standing alone are “not necessarily indicative of any lack of fairness
             by a majority shareholder. It [is] what occurred, or more properly did not occur,” that matters. 794 Put differently,
             one must look to how the time constraints affected the process.

                  Here, Musk’s “red light, green light” approach negatively affected the process in two ways. First, although
             the process spanned nine months, most of the work occurred during small bursts and under Musk-imposed time
             pressure. Second, Musk made determinations at the last minute, compressing the timeline, adjusting the timeline,
             or proposing new terms prior to six out of the ten Board or Compensation Committee meetings during which the
             Grant was discussed. Musk’s habit of shaking up the timeline or changing his proposal just before a meeting
             made it tough for the directors and their advisors to meaningfully evaluate the Grant and respond. The time
             constraints and last-minute adjustments impaired the process.

                                                 ii.    Negotiations

                  The next Weinberger factor examines how the transaction was negotiated and structured. This factor proves
             pivotal, because arm’s-length negotiations can make up for other flaws. 795 But the opposite is also true. The lack
             of arm’s-length negotiations can overshadow positive aspects of a process. 796

                 Perhaps for this reason, Defendants rely heavily on the negotiations to demonstrate fair process. They
             emphasize the number of Board, Compensation Committee, and Working Group meetings. They tally months
             spent (both the total and those involving “active deliberation”) and even estimate total hours worked. 797
             Defendants also tout their advisors’ qualifications and integrity. 798

                 Although Defendants cast the negotiations as the strongest aspect of the process, they are actually the most
             dramatic failure. Defendants elevate form over substance, proffering what Plaintiff’s counsel aptly described as “a



             794
                    457 A.2d at 711.
             795
                 See, e.g., SolarCity III , 298 A.3d at 710 (agreeing with the trial court that although the process had flaws, the
             process included several “redeeming features that emulated arms-length bargaining” ​ ( citingSolarCity II , 2022
             WL 1237185, at *36)); BGC P’rs , 2022 WL 3581641, at *42 (finding that although “[t]here were certainly
             flaws,” “[t]he record demonstrates that the Special Committee undertook good faith, arm’s length negotiations . .
             . that resulted in a deal with a favorable structure and a fair price”); S. Muoio & Co. LLC v. Hallmark Ent. Invs.
             Co. , 2011 WL 863007, at *9−10 & n.73 (Del. Ch. Mar. 9, 2011) (finding process was entirely fair where, among
             other things, “the Special Committee was independent, fully informed, and . . . negotiated . . . at arm’s length”),
             aff’d , 35 A.3d 419 (Del. 2011) (TABLE); Cinerama II, 663 A.2d at 1144 (concluding that despite the process
             being “flawed,” the transaction was fair where “the board was insufficiently informed to make a judgment worthy
             of presumptive deference, nevertheless considering the whole course of events, including the process that was
             followed, the price that was achieved, and the honest motivation of the board to achieve the most financially
             beneficial transaction available[]”), aff’d , 663 A.2d 1156 (Del. 1995); Van de Walle v. Unimation, Inc. , 1991
             WL 29303, at *17 (Del. Ch. Mar. 6, 1991) (“The most persuasive evidence of the fairness of the $21 per share
             merger price is that it was the result of arm’s-length negotiations between two independent parties, where the
             seller . . . was motivated to seek the highest available price, and a diligent and extensive canvass of the market
             had confirmed that no better price was available.”); Rosenblatt , 493 A.2d at 937−38 (observing that controller
             established separate negotiating terms to recreate arm’s length bargaining, that negotiations were adversarial, and
             that the result was “more than the theoretical concept of what an independent board might do under the
             circumstances[]” and “[i]nstead . . . it [was] clear that these contending parties to the merger in fact exerted their
             bargaining power against one another at arm’s length” (citations omitted)).
             796
                See, e.g. , FrontFour , 2019 WL 1313408, at *26 (finding that because the special committee “was not truly
             independent and did not negotiate at arm’s length[]” that the defendants did not prove the proposed transactions
             were the product of fair dealing).
             797
                    Defs.’ Post-Trial Opening Br. at 58−59.
             798
                    Id.


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             false equivalency between length of the process and fairness.” 799 Defendants’ tallies of time spent are merely
             “superficial indicia”—total hours spent is meaningless if the time was not used to benefit stockholders.800
                  One important dimension of arm’s-length bargaining is the existence of an independent bargaining agent. As
             this decision has found, the Compensation Committee was compromised by conflicts. They could not negotiate at
             arm’s length against Musk.
                  Not surprisingly, there is no evidence of any adversarial negotiation with Musk concerning the size of the
             Grant. Rather, Musk made an initial proposal, and that proposal was the only one seriously considered until Musk
             unilaterally changed it six months later. Defendants are correct that, in the final stretch of the process, the Grant
             went from a 10%/10-tranche FDS structure to a 12%/12-tranche TOS structure. Defendants are correct that, all
             else equal, requiring more growth in market capitalization for the same number of shares means a better deal for
             stockholders. But there is no credible evidence that the shift from ten tranches to 12 and the associated increase
             in the difficulty of the market capitalization targets resulted from any actual negotiation with Musk. To the
             contrary, as discussed above, the Board backed into 12 tranches when translating Musk’s demand of 10% of fully
             diluted shares into a round percentage of total outstanding shares while maintaining the $50 billion/1% per
             tranche approach that Musk proposed back in April.

                  As to the other terms, the purported concessions secured by the Compensation Committee did not result from
             negotiations either. The Clawback Provision was the bare minimum necessary to comport with existing Tesla
             policy and did not address other key Board goals, such as the Board’s desire to retain Musk. The
             Leadership Requirement was less restrictive than in the prior Grant and not tailored to fit the retention goal
             either. The Five-Year Hold Period resulted from Ehrenpreis’s directive to find “creative options” for reducing the
             grant date fair value. It does not protect stockholders because Musk is not restricted from selling or pledging his
             nearly 21.9% stake. 801 The industry-standard M&A Adjustment—which merely prohibited Musk from gaming
             the Grant’s milestones through inorganic growth—were a non-issue for Musk.802 And his acknowledgement that
             Tesla would not “be making any big acquisitions” rendered that provision functionally irrelevant. 803

                  The Compensation Committee’s independent advisors cannot help the analysis because they played no role in
             any negotiations and were not tasked with challenging the committee’s thinking or presenting alternatives to the
             Grant. 804 Defendants agree that benchmarking is standard and essential. They knew benchmarking would expose
             the Grant as many multiples larger than any conceivable comparison. But the Compensation Committee did not
             ask its advisors to provide a benchmarking analysis, which would have given them some perspective on how (in
             Musk’s words) “really crazy” the Grant was. 805




             799
                    Pl.’s Post-Trial Answering Br. at 39.
             800
                Valeant Pharms. Int’l v. Jerney , 921 A.2d 732, 746 (Del. Ch. 2007); see also Loral , 2008 WL 4293781, at
             *23 (finding “troubling” that advisors “seemed intent on making the [transaction] appear more fair rather than
             providing an objective opinion to the Special Committee and helping the Special Committee use any leverage it
             had to strike a better deal”).
             801
                    JX-530 at 8.
             802
                    Trial Tr. at 255:6−13 (Maron).
             803
                JX-781 at 1−2 (Musk emailing Maron concerning the M&A provision that “I don’t think we will be making
             big acquisitions” and “[o]ur only acquisitions have been relatively small automation companies”).
             804
                 See Trial Tr. at 1481:8−14, 1466:21–1469:4 (Brown) (testifying that “[Compensia consultants] weren’t
             retained necessarily to challenge what they were doing,” but instead “to help them think really carefully about
             how to do it”).
             805
                    JX-398.


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                  The Compensation Committee relied more on conflicted management members than on its outside advisors.
             Illustrating this point, many of the documents Defendants cited as proof of a fair process were drafted, pushed
             out, or endorsed by Musk’s divorce-attorney-turned-general-counsel Maron, 806 whose admiration for Musk
             moved Maron to tears during his deposition. 807

                  Suffice it to say, the Compensation Committee operated under a “controlled mindset.” 808 Rather than
             negotiating against Musk, the committee engaged in a “cooperative [and] collaborative” process 809 antithetical to
             arm’s-length bargaining. 810 Worse, the committee seemed to actively advance Musk’s interests—doing “what
             feels fair” for Musk 811 —including by devising ways to understate the Grant’s value on the grant date and make
             the milestones easier to achieve. Those were “exercise[s] in rationalization.” 812 In the end, Musk dictated the
             Grant’s terms, and the committee effected those wishes. 813

                                                 iii.    Structure And Approval
                  The last Weinberger factor examines how the transaction was structured and approved. “Whether a
             transaction was structured to include procedural protections— such as requiring the approval of an independent
             board


             806
                See Defs.’ Post-Trial Opening Br. at 58−68 (citing JX-878 (Proxy prepared by Maron); JX-1592 (6/23/17
             Compensation Committee Presentation prepared by Maron and his team); JX-628 (9/18/17 Presentation for CEO
             compensation discussion sent out by Maron); JX-566 (7/31/17 Slide Decks for Special Compensation Committee
             meeting circulated by Maron); JX-699 (11/16/17 Board minutes drafted by Maron (secretary)); JX-729 (12/12/17
             special Board meeting minutes drafted by Maron (secretary)); JX-783 (1/17/18 emails from Maron to team);
             JX-784 (1/17/18 email from Maron to Musk); JX-678 (11/29/17 email from Maron to Musk on the steps for his
             proposal); JX-509 (7/7/17 Compensation Committee meeting minutes drafted by Maron (secretary)).
             807
                Maron Dep. Tr. at 74:10−17 (becoming “emotional” about the decision to leave Tesla); id. at 200:9−15
             (“Unfortunately I lost my cool earlier and cried because I love the company so much, and I loved my teammates
             and my colleagues and the people on the executive team.”); Trial Tr. at 275:10−24 (Maron) (confirming he
             “choked up” at his deposition about his “incredible experience[]” at Tesla and the “very emotional decision” to
             leave).
             808
                See S. Peru , 52 A.3d at 798 (“[F]rom inception, the Special Committee fell victim to a controlled mindset
             and allowed [the controller] to dictate the terms and structure of the [transaction].”).
             809
                    Trial Tr. at 243:7−244:13 (Maron).
             810
                See S. Peru , 52 A.3d at 798 (finding the special committee “accepted that only one type of transaction was
             on the table . . . [that] took off the table other options that would have generated a real market check and also
             deprived the Special Committee of negotiating leverage to extract better terms”).
             811
                 See Trial Tr. at 809:8−14 (Maron); see also Gracias Dep Tr. at 244:25−245:20 (“I did not have a positional
             negotiation with [Musk] about, hey, we want to give you one [tranche], and you want two and let’s go negotiate
             back and forth . . . . I did not have a negotiation starting lower and going higher with him about the tranches or
             the size of the award.”); id. at 255:22−256:9 (“Q. Okay. As a Tesla director and compensation committee
             member, do you think you have a duty to the company and the stockholders to try to negotiate for the smallest
             compensation package for Mr. Musk that would adequately incentivize him? A. That is not how I think about it,
             no. Q. Can you explain to me how you think about it? A. I think about compensation packages generally as what
             is fair to the executive and what is fair to the company. I don’t think about it as trying to get the very smallest
             thing possible ever. That’s just not my modus operandi with any company I deal with. I think about fairness.”).
             812
                See S. Peru , 52 A.3d at 801; see also id. (“Throughout the negotiation process, the Special Committee’s and
             Goldman’s focus was on finding a way to get the [controller’s proposed] terms to make sense[.]”); Valeant , 921
             A.2d at 746 (“[The process was], from the outset, undertaken to justify a bonus on the order of $30 million to
             Panic, rather than determine if bonuses—and in what amounts—might be appropriate.”).
             813
                See Loral , 2008 WL 4293781, at *26 (“Loral’s CEO, Targoff, was a more aggressive negotiator than the
             Special Committee itself or the Committee’s financial advisor, North Point. By that stage, Harkey, Simon, and
             North Point seemed willing to sign off on terms that were more advantageous to MHR than Targoff himself
             wanted to accept.”).



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             negotiating committee or a majority of the minority vote—is another important indicium of fairness.”814 The
             Board approved the Grant. Musk and Kimbal recused themselves. Five of the six directors who voted on the
             Grant were beholden to Musk or had compromising conflicts. 815 Tesla voluntarily subjected the Grant to a
             majority of the minority vote, but the Board secured stockholder approval through the materially deficient Proxy.
             816
                 Neither Board approval nor stockholder approval is a positive factor here for the fair dealing analysis.

                                         b.    Fair Price

                  “In the fair price analysis, the court looks at the economic and financial considerations of the transaction to
             determine if it was substantively fair.” 817 “Fair price and fair value standards call for equivalent economic
             inquiries.” 818 “The fair price aspect of the entire fairness test,” however, “is not in itself a remedial calculation.”
             819
                 “Instead of picking a single number, the court’s task is ‘to determine whether the transaction price falls within
             a range of fairness.’” 820 The fair price aspect of the entire fairness standard involves consideration of “all
             relevant factors” and may encompass “proof of value by any techniques or methods which are generally
             considered acceptable in the financial community[.]” 821




             814
                 BGC P’rs , 2022 WL 3581641, at *19 (citing Gesoff v. IIC Indus., Inc. , 902 A.2d 1130, 1145 (Del. Ch. 2006)
             (“The Supreme Court observed as early as Weinberger that the establishment of an independent special committee
             can serve as powerful evidence of fair dealing.”)); Jedwab , 509 A.2d at 599 (“As to the fact that the
             transaction was not structured to accord minority shareholders a veto, nor was an independent board committee
             established to negotiate the apportionment of merger consideration on behalf of the minority, these are pertinent
             factors in assessing whether fairness was accorded to the minority.”); Sealy , 532 A.2d at 1336 (“A second
             indicium of fair dealing, or its absence, is whether the process by which the merger terms were arrived at
             involved procedural protections that would have tended to assure a fair result.”)).
             815
                 Gesoff , 902 A.2d at 1150-51 (finding in a post-trial opinion, that the investment bank’s relationship with the
             buy-side controlling stockholder “robs [its] fairness opinion of its value as an indicator of fairness, and is itself
             an indicator that the parties did not structure the process in a way that was entirely fair”); see also In re El Paso
             Corp. S’holder Litig. , 41 A.3d 432, 444 (Del. Ch. 2012) (noting that the conflicted negotiator has a duty “to
             squeeze the last drop of the lemon out for . . . stockholders,” but that the conflict gave the negotiator “a motive
             to keep juice in the lemon that he could use to make a financial [deal] for himself”).
             816
                 Accord Weinberger , 457 A.2d at 703 (“Material information . . . was withheld under circumstances amounting
             to a breach of fiduciary duty. We therefore conclude that this merger does not meet the test of fairness . . . .”);
             Orchard , 88 A.3d at 29 (concluding that a “disclosure issue on which the plaintiffs received summary judgment
             provide[d] some evidence of unfairness”); see also Delman v. GigAcquisitions3, LLC , 288 A.3d 692, 723 (Del.
             Ch. 2023) (finding entire fairness standard applied where defendants failed “to disclose the cash per share that
             Gig3 would invest in the combined company[]” and “the value that Gig3 and its non-redeeming stockholders
             could expect to receive in exchange[]” because “[b]oth pieces of information would be essential to a stockholder
             deciding whether it was preferable to redeem her funds from the trust or to invest them in New Lightning”); In re
             MultiPlan Corp. S’holders Litig. , 268 A.3d 784, 816 (Del. 2022) (stating plaintiff stated viable claim under the
             entire fairness standard where the defendants failed to disclose information necessary for the plaintiff to
             “knowledgeably exercise their redemption rights”); Voigt , 2020 WL 614999, at *24 (finding entire fairness
             standard applied where the proxy statement failed to disclose the equity of a purchased asset “because it directly
             addressed the fairness of the [c]hallenged [t]ransaction[]” ​ ( citation omitted)).
             817
               Ravenswood Inv. Co., L.P. v. Est. of Winmill , 2018 WL 1410860, at *13 (Del. Ch. Mar. 21, 2018) (citation
             omitted).
             818
                    Id. (cleaned up).
             819
                    Id. (cleaned up).
             820
                    SolarCity II , 2022 WL 1237185, at *39 (quoting Dole , 2015 WL 5052214, at *33).
             821
                    Weinberger , 457 A.2d at 713; SolarCity II , 2022 WL 1237185, at *32.


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                  There is no absolute limit on the magnitude of a compensation grant that could be considered fair. 822 But
             “[p]rocess can infect price.” 823 And “where the pricing terms of a transaction that is the product of an unfair
             process cannot be justified by reference to reliable markets or by comparison to substantial and dependable
             precedent transactions, the burden of persuading the court of the fairness of the terms will be exceptionally
             difficult.” 824

                  Defendants’ primarily urge the court to evaluate price by comparing the terms of the exchange—what Tesla
             “gave” against what Tesla “got.” 825 This allows Defendants to argue that the Grant was “all upside” for the Tesla
             stockholders, who they say risked nothing and gave “6% for $600 billion[.]” 826 There are many alternative ways
             to analyze price fairness. 827 And there are good reasons to reject the give/get model where no market-based
             evidence supports the price. 828 But because Defendants bear the burden of proving fair price, the court starts
             with their give/ get argument.
                  Defendants’ other affirmative arguments go as follows. They argue that a unique set of circumstances
             warranted an unprecedented Grant, which was “necessary . . . at this time, for this CEO, and in this form.” 829
             They contend that the Grant was “only upside” for the additional reason that the Grant’s structure aligned Musk’s
             interests with the stockholders. They assert that the Grant’s milestones were ambitious and difficult to achieve.
             They maintain that the Grant is an exceptional deal when compared to private equity compensation plans. They
             say that the stockholder vote was an indicator of fair price. And they insist that the Grant worked by delivering to
             stockholders all that was promised.
                  Each of Defendants’ fair price arguments fail. Defendants did not prove that the Grant falls within a range of
             fairness.

                                                  i.       The Give/Get
                   A “get” in this context asks what terms advance a company’s goals. A “give” is only reasonable if it is
             calibrated to further those goals. To contextualize the “give” and the “get” discussion, therefore, the court must
             first ask: What did Tesla want?




             822
                See Brehm v. Eisner , 746 A.2d 244, 263 (Del. 2000) (“the size and structure of executive compensation are
             inherently matters of judgment” ​ ( citation omitted)).
             823
                Reis , 28 A.3d at 467 (citations omitted); Bomarko, Inc. v. Int’l Telecharge Inc. , 794 A.2d 1161, 1183 (Del.
             Ch. 1999) (“[T]he unfairness of the process also infects the fairness of the price.”), aff’d , 766 A.2d 437 (Del.
             2000).
             824
                Valeant , 921 A.2d at 748−49; see also Loral , 2008 WL 4293781, at *22 (“When the process used involves
             no market check and the resulting transaction is a highly unusual one impossible to compare with confidence to
             other arms-length transactions, the court is left with no reasoned basis to conclude that the outcome was fair.”).
             825
                Defs.’ Post-Trial Opening Br. at 69−70 (citing S. Peru , 52 A.3d at 801−02; Dieckman v. Regency GP LP ,
             2021 WL 537325, at *34−35 (Del. Ch. Feb. 15, 2021)).
             826
                    Id. at 70, 74.
             827
                See, e.g. , SolarCity II , 2022 WL 1237185, at *39−48 (structuring the price analysis to follow the parties’
             competing price arguments).
             828
                Valeant , 921 A.2d at 750 (observing that the price terms could not be “justified by reference to any reliable
             market[]” and that there was no “proof in the record of substantial comparable transactions to which the court
             might look to find support for the payment of bonuses”).
             829
                    Defs.’ Post-Trial Opening Br. at 78.


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                  As set out in the June 16 Compensation Committee meeting minutes, the goals in structuring Musk’s
             compensation plan were to “retain[]” Musk, “properly incentiviz[e]” Musk, and “[k]eep . . . Musk as the
             Company’s fully-engaged CEO” given the “multiple other successful large companies” he manages. 830 The
             lawyer-curated record of the relevant Board and Compensation Committee meetings identifies these goals, in
             general terms, as well as the directors’ desires to align Musk’s interests with stockholder value. 831 These are all
             versions of commonly

             830
                    JX-439.
             831
                 JX-407 (6/6/17 Board meeting minutes) (“Mr. Ehrenpreis then updated the Board on the status and near
             fulfillment of all performance milestones related to Mr. E. Musk’s current compensation plan, and that plans were
             underway to design the next compensation program for Mr. E. Musk. The Board acknowledged Mr. E. Musk’s
             extraordinary achievement of the stretch milestones it had set for him and for having increased the market
             capitalization of the Company by more than 10x over the last five years.”); JX-439 (6/23/17 Compensation
             Committee meeting minutes) (“Mr. Ehrenpreis then led a Committee discussion evaluating the importance of
             retaining and properly incentivizing Mr. Musk. The Committee discussed how Mr. Musk had been and would
             likely remain a key driver of the Company’s success and its prospects for growth, and that, accordingly, it would
             be in Tesla’s interest, and in the interest of its stockholders, to structure a compensation package that would keep
             Mr. Musk as the Company’s fully-engaged CEO. The Committee also discussed the fact that unlike most other
             Chief Executive Officers, Mr. Musk manages multiple successful large companies. The Committee discussed the
             importance of keeping Mr. Musk focused and deeply involved in the Company’s business, and the corresponding
             need to formulate a compensation package that would best ensure that Mr. Musk focuses his innovation, strategy
             and leadership on the Company and its mission.”); JX-509 (7/7/17 Compensation Committee meeting minutes)
             (“The Committee determined that one important theme for any compensation plan was to ensure that it created
             adequate structural incentives to focus on the long term growth and success of the Company and the creation of
             shareholder value as opposed to simply short-term increases in stock price, while at the same time properly
             balancing risks and rewards for the Company, its shareholders and Mr. Musk. With these principles in view, the
             Committee again deliberated the pros and cons of various structures, and various Committee members continued
             to express their views that the 2012 Compensation Plan had worked extremely well for the Company, its
             stockholders and in incentivizing Mr. Musk to spend the bulk of his time on the Company and create enormous
             value for the Company. In light of these factors, Committee members expressed their views that there could be
             significant benefits from creating a similarly structured program for Mr. Musk’s next compensation plan,
             including providing strong shareholder alignment, while also recognizing the changed nature and size of the
             Company since the 2012 Plan was implemented. The Committee further recognized Mr. Musk’s unique drive for
             major accomplishments and the desire and need to motivate him with significant goals and milestones. The
             Committee recognized and expressed its desire to properly balance the motivation of stretch goals for Mr. Musk
             against any de-motivating factors created by seemingly impractical, unrealistic or unachievable goals. The
             Committee then discussed with Compensia and Radford the valuation and accounting considerations for a
             potential equity grant. Questions were asked and full discussion ensued.”); JX-571 (8/1/17 Compensation
             Committee meeting minutes) (“The Committee discussed the overall size of the new program and how it should
             reflect Mr. Musk’s qualities and motivations. They also discussed the need for stretch goals and a long term
             outlook heavily focused on the creation of significant shareholder value. The Committee discussed an overall
             framework of a plan that could last 10-15 years, while also noting the pace at which Mr. Musk achieved the
             ambitious goals set forth in the 2012 Compensation Program (including leading the Company during a period in
             which the market cap of the company grew over 10x in five years). As part of this discussion, the Committee
             considered whether it was appropriate to consider new and/or alternative metrics for milestones in light of the
             Company’s increased size and focus, or whether the ultimate focus should be on the growth of the Company and
             the creation of significant shareholder value. The Committee further discussed the setting of major milestones and
             the importance of balancing the creation .of aggressive incentives for Mr. Musk while not disincentivizing him
             with seemingly impracticable or achievable goals. The Committee also discussed the appropriateness of large
             stretch goals and a structure in which Mr. Musk would receive zero compensation unless he achieved an
             incredibly significant milestone and created significant shareholder value, and how this type of structure had
             served shareholders and the Company so effectively in the 2012 Compensation Program. The Committee
             acknowledged that if Mr. Musk agreed to accept the significant risk in such a structure, the reward would have to
             be likewise significant, but yet fair to the Company and optimal for the shareholders given the milestones that
             would be achieved and the value created. The Committee discussed the milestones and various metrics that could
             be used to measure performance. The members of the Committee expressed a preference for simplicity and their
             desire to fully align the performance metrics to, ultimately, the creation of shareholder value.”);



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             cited and accepted goals of equity-based compensation plans. Here, however, the words seem like empty phrases.
             One obvious reason to question these statements is that the Board said that it wished to retain Musk as the “fully
             engaged CEO ,” yet the Leadership Requirement allowed Musk to step down to the role of “Chief Product
             Officer.”

                  There is a more fundamental issue. Professor Charles Elson submitted an amicus brief in this action
             persuasively arguing that “[e]quity compensation for corporate executives was designed to solve a specific
             problem at a specific time in American corporate history.” 832 To summarize that lesson in broad strokes, the first
             half of the 1900s witnessed a transition from “era of the ‘robber barons’” to the era of the Berle-Means
             corporation, where corporations were run by “professional managers with little skin in the game.” 833 The theory
             behind equity-linked compensation plans was that “[b]road-based equity ownership throughout the organization
             by management, directors, and employees” is “the most effective motivation for continuous vigilance throughout
             the organization.” 834 For that reason and due to changes in federal tax law, by the 1980s, “pressure built on
             companies to . . . strengthen the link between pay and performance.” 835 Corporations began “using much more
             equity-based compensation.” 836




             JX-631 (9/19/17 Board meeting minutes) (“Various topics were discussed, including the success of the previous
             2012 CEO Compensation Program and how motivating it as for Mr. Musk; Mr. Musk’s ambitions for the
             Company and its potential to be one of the most valuable companies in the world; Mr. Musk’s passion and
             dedication to the Company and its mission; the directors’ views of Mr. Musk’s incentives; and Mr. Musk’s other
             commitments and potential competing interests. The directors expressed their desire to significantly align
             Mr. Musk’s compensation with shareholder interests; to focus on long term creation of value; and to balance risk
             and reward for all stakeholders. A full discussion ensued. During this discussion, the Board recognized, among
             other things, the challenges of the CEO role and Mr. Musk’s value to the Company, its products and businesses,
             and its culture of innovation. In particular, the Board recognized Mr. Musk’s ability to execute in the face of
             significant challenges. The Board further discussed Mr. Musk’s motivations and how the CEO Compensation
             Program might best serve the Company and its shareholders, while properly incentivizing Mr. Musk’s ambitions
             for the Company.”); JX-729 (12/12/17 special Board meeting minutes) (stating that the “program was
             characterized by the . . . full alignment of CEO gains with the creation of shareholder value” and that “[t]he
             Board acknowledged this alignment as one of their primary focuses and discussed their understanding that this
             full shareholder alignment was Mr. Musk’s desire as well”); JX-791 (1/ 21/18 Board meeting minutes) (stating
             that “the Board concluded that the proposed CEO Performance Award created very close alignment with
             shareholder interests that had the potential to powerfully incentivize Mr. Musk, and created the greatest likelihood
             to propel the Company through its next stages of growth”).
             832
                    Elson Amicus Br. at 4.
             833
                 Id. at 4 (citing Amy Deen Westbrook & David A. Westbrook, Unicorns, Guardians, and the Concentration of
             the U.S. Equity Markets , 96 Neb. L. Rev. 688, 693–94 (2018)).
             834
                Id. at 7 (quoting Report Of The NACD Best Practices Council: Coping With Fraud And Other Illegal Activity
             16 (1998)).
             835
                Id. at 6 (quoting Brian R. Cheffins, Delaware and the Transformation of Corporate Governance , 40 Del. J.
             Corp. L. 1, 14 (2015)); see also John C. Coffee, Jr., What Caused Enron? A Capsule Social and Economic
             History of the 1990s , 89 Cornell L. Rev. 269, 273–75 (2004) (discussing the trend toward equity-based
             compensation).
             836
                Elson Amicus Br. at 6 (quoting Cheffins, Delaware and the Transformation of Corporate Governance , 40
             Del. J. Corp. L. at 14).



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                  Equity-based compensation continues to be a powerful way to reduce agency costs and align the interests of
             management with those of the stockholders, 837 as Delaware law recognizes. 838 But where an executive has a
             sizeable pre-existing equity stake, there is a good argument that the executive’s interests are already aligned
             with those of the stockholders. There are many examples of visionaries with large
             pre-existing equity holdings foregoing compensation entirely: Zuckerberg, Bezos, Gates, and others so familiar to
             the world that no first names are required. 839 In each instance, the CEO’s board recognized that the executive’s
             preexisting ownership stake provided sufficient incentive to grow the companies that they had built. 840

                  So why not here? Why did Tesla have to “give” anything in these circumstances? Musk owned 21.9% of
             Tesla at the time of the Grant. 841 If the goals were retention, engagement, and alignment, then Musk’s
             pre-existing equity stake provided a powerful incentive for Musk to stay and grow Tesla’s market capitalization.
             After all, he stood to benefit by over $10 billion for every $50 billion increase. His equity stake was also a
             powerful incentive to avoid allowing Tesla to fall in what Musk might consider to be incapable hands. 842
             Moreover, Musk was not going



             837
                See generally id. at 7–8; but see Coffee, What Caused Enron? A Capsule Social and Economic History of the
             1990s , 89 Cornell L. Rev. at 278–79 (cautioning that equity- based compensation can create perverse incentives
             when deployed without restrictions such as hold periods).
             838
                 See, e.g. , Chen , 87 A.3d at 670–71 (observing that owning material amounts of stock “aligns [fiduciaries’]
             interests with other stockholders by giving them a ‘motivation to seek the highest price’ and the ‘personal
             incentive as stockholders to think about the trade off between selling now and the risks of not doing so’” ​ ( quoting
             In re Dollar Thrifty S’holder Litig. , 14 A.3d 573, 600 (Del. Ch. 2010))); Orman v. Cullman , 794 A.2d 5, 27
             n.56 (Del. Ch. 2002) (“A director who is also a shareholder of his corporation is more likely to have interests that
             are aligned with the other shareholders of that corporation as it is in his best interest, as a shareholder, to
             negotiate a transaction that will result in the largest return for all shareholders.”); In re Mobile Commc’ns Corp.
             of Am., Inc. Consol. Litig. , 1991 WL 1392, at *9 (Del. Ch. Jan. 7, 1991) (observing that directors’ equity
             ownership created “powerful economic (and psychological) incentives to get the best available deal”), aff’d , 608
             A.2d 729 (Del. 1992) (TABLE).
             839
                 Elson Amicus Br. at 1–4; see also Dunn Dep. Tr at 138:17–139:10 (“There are people, you know, like Jeff
             Bezos, for example, who doesn’t take any compensation including no equity compensation. The only thing that
             shows up in his proxy is like his security expense. . . . Warren Buffett, I think his salary is $100,000. That what
             he takes in compensation, because he owns such a significant portion of the shares.”); Dunn Opening Expert
             Report at 114–15 (showing how much more Musk’s compensation for 2018 would be compared to similar
             high-profile executives for 2018 (Bezos, $1.6 million) (Pessina (Walgreens) $12.7 million) (Buffett,
             $390 thousand) (Zuckerberg, $22 million) (Musk, $2.3 billion) (numbers are approximate)). The three-year
             average compensation (from 2016–2018) paid to Musk (assuming the much lower $ 2.3 billion valuation of the
             2018 Grant) is “over 110x what was paid to the median of the group” Dunn analyzed (approximately $6.8 million
             (others) to $761.4 million (Musk)). Id.
             840
                 See generally Elson Amicus Br. at 3 (citing 10/4/06 Microsoft Schedule 14A Proxy at 14 (“Messrs. Gates and
             Ballmer do not receive equity-based pay from the Company because they already own a significant amount of
             Company stock.”); 4/29/16 Alphabet Schedule 14A Proxy at 30 (“Larry and Sergey have voluntarily elected to
             only receive nominal cash compensation. As significant stockholders, a large portion of their personal wealth is
             tied directly to Alphabet’s stock price performance, which provides direct alignment with stockholder interests.”);
             4/14/22 Amazon Schedule 14A Proxy at 92 (“Due to Mr. Bezos’s substantial stock ownership, he believes he is
             appropriately incentivized and his interests are appropriately aligned with shareholders’ interests. Accordingly,
             Mr. Bezos has never received any stock-based compensation from Amazon.”); 4/12/19 Facebook Schedule 14A
             Proxy at 28 (“Mr. Zuckerberg did not receive any additional equity awards . . . because our compensation &
             governance committee believed that his existing equity ownership position sufficiently aligns his interests with
             those of our stockholders.”)).
             841
                    PTO ¶ 64.
             842
                 Trial Tr. at 1421:9–13 (Buss) (“Q. Shifting gears, during your board tenure, the Tesla board had no formal
             documented succession plan to replace Mr. Musk; correct? A. Formally documented, no. We had various
             discussions. But correct, nothing documented.”); id. at 857:9–858:10 (Murdoch) (confirming Musk had not
             identified a successor until the months after his 2021 deposition).



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             anywhere. He stated publicly at the outset of the process and repeated throughout this litigation that he was a
             lifer who intended to stay at Tesla for the remainder of his days (or until he becomes “too crazy”), with or
             without the Grant. 843

                  The principal defect with Defendants’ give/get argument (indeed, their fair price argument as a whole) is that
             it does not address the $55.8 billion question: Given Musk’s pre-existing equity stake, was the Grant within the
             range of reasonable approaches to achieve the Board’s purported goals? Or, at a minimum, could the Board have
             accomplished its goals with less, and would Musk have taken it?

                  Defendants’ primary response is to reduce the issue to a straw man, stating that “Plaintiff’s allegations boil
             down to the position that Musk should be happy to work for free .” 844 They make a similar point elsewhere,
             stating that if Musk “fell short of achieving some or all of the [Grant’s] milestones, the stockholders retained the
             benefit of any increase in Tesla’s stock price, while Musk risked receiving nothing .” 845 For free? Receive
             nothing? Defendants’ arguments ignore the obvious: Musk stood to gain considerably from achieving the Grant’s
             market capitalization milestones (over $10 billion for each $50 billion increase in market capitalization).

                  Defendants also neglect the magnitude of the give in their give/get argument. The Grant was, by
             Compensia’s reckoning, the “larg[est] compensation opportunity to [a] CEO that [they] have seen.” 846 Even other
             “highly leveraged plan designs with very aggressive performance requirements” did not compare to the Grant. 847
             The Grant was more than 30x greater than its nearest comparable plan, and that was Musk’s 2012 Grant. 848 ISS
             noted that the Grant was 250x greater than the median peer 2017 CEO compensation. 849 The incredible size of
             the biggest compensation plan ever—an unfathomable sum—seems to have been calibrated to help Musk achieve
             what he believed would make “a good future for humanity.” 850

                  A good future for humanity is a really good thing. Some might question whether colonizing Mars is the
             logical next step. But, in all events, that “get” had no relation to Tesla’s goals with the compensation plan.
             Considering this glaring defect in Defendants’ give/get argument, it does not support a finding of fair price.

                                             ii.       The Unique Circumstances And CEO

                  Defendants next argue that the Grant was suited for “this time” and “this CEO.” 851 To support that
             argument, they advance the following factual narrative. Tesla was setting an ambitious course—to become “one
             of the most valuable companies in the world” 852 and “accomplish[] Tesla’s mission of accelerating the world’s
             transition to sustainable energy.” 853 Tesla’s ambitious goals forced it to the point of an existential crisis in 2017,
             and Musk was critical to Tesla’s future. 854 Musk was on the verge of walking away and was distracted by his
             other ventures.


             843
                    See e.g., JX-390 at 20–21.
             844
                    Dkt. 227 (“Defs.’ Pre-Trial Br.”) at 43 (emphasis added).
             845
                    Defs.’ Post-Trial Opening Br. at 70 (emphasis added).
             846
                    JX-440 at 106.
             847
                    Id. at 14.
             848
                    PDX-2 at 5.
             849
                    JX-916.
             850
                 JX-664 at 1. It is questionable as to whether the Grant would even make a dent in that goal, given that Musk
             testified that his space odyssey would cost trillions. Musk Dep. Tr. at 115:24–117 (Musk discussing his goals and
             stating that SpaceX’s goals would require the help of “other companies and governments”).
             851
                    Defs.’ Post-Trial Opening Br. at 78.
             852
                    JX-878 at 3 (2/8/18 Schedule 14A Proxy Statement).
             853
                    Id.
             854
                    Trial Tr. at 1251:4–23 (Murphy).


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             Musk required an “added incentive” to stay “at the helm,” and he is uniquely motivated by highly ambitious
             goals. 855 As Gracias explained, the Board looked to fashion milestones that would give Musk the “dopamine
             hits” he needed. 856
                  There is no doubt that “this time” was precarious at Tesla, that the Board viewed “this CEO” as critical to
             Tesla’s success, that Musk is a unique person who has been singularly instrumental to Tesla, and that Musk is
             genuinely motivated by highly ambitious goals. But there are reasons to question other aspects of Defendants’
             factual narrative. For example, if transformative growth is the goal, then why set milestones at the time of the
             Grant that were 70% likely to be achieved? Even assuming that the 70% figure was a conservative accounting
             metric, it casts some doubt on the “stretch” nature of the early milestones. Further, how can one conclude that
             Musk was on the verge of walking away from a leadership role at Tesla when Musk made it clear that he “would
             not quit Tesla,” is “heavily invested in Tesla, both financially and emotionally, and views Tesla as part of his
             family[?]” 857
                  Defendants also argue that Musk needed additional incentives to stay on at Tesla or he would spend more
             time at SpaceX, where he could fulfill his galactic ambitions to establish interplanetary travel, colonize Mars, and
             potentially earn more money in the meantime. 858 That argument begs another question: if encouraging Musk to
             prioritize Tesla over his other ventures was so important, why not place guardrails on how much time or energy
             Musk had to put into Tesla?
                  Even assuming the truth of all of Defendants’ points, they do not add up. There is simply no evidence that
             the “added incentive” provided by a Grant of this magnitude was necessary, much less fair. This unique
             circumstance and this unique CEO do not support a finding of fair price.

                                             iii.     The “Only Upside” Argument

                 Defendants “only upside” argument relies on the Grant’s structure, which they say ensured that Musk drove
             meaningful and sustained growth in four ways.
                  First , Defendants argue that pairing market capitalization milestones with operational milestones provided
             “safety in the structure.” 859 The market capitalization milestones operated as the “primary goals,” while the
             operational goals functioned as “support for those [market capitalization] goals.” 860 Brown testified: “There’s a
             high level of performance required to earn one of these. So then, if it was possible to drive that kind of growth
             on a solid operational basis and earn more than one of them in a year, that seemed like a win for . . .
             shareholders.” 861 But of the two operational metrics, the revenue milestones were not dependent on profitability.
             As Compensia acknowledged, this aspect of the Grant “ignores profitability.” 862 ISS noted that “up to eight
             tranches (three-quarters of the award, or nearly $2 billion in value) may vest based on market capitalization and
             revenue goals, even if earnings do not clear the EBITDA performance hurdles.” 863 Thus, Musk could still
             receive billions under the Grant without Tesla experiencing the fundamental growth that the Grant was intended
             to incentivize. 864
             855
                    Id. at 1251:17–22 (Murphy); id. at 730:21–731:7 (Gracias).
             856
                    Id. at 728:23–729:13 (Gracias).
             857
                 JX-831 at 13–14; see also Trial Tr. at 644:11–15 (Musk) (affirming that as of early 2018, he was heavily
             invested in Tesla both financially and emotionally and viewed Tesla as part of his family); id. at 76:7–15
             (Ehrenpreis) (confirming Musk affirmed his love for Tesla during the first discussion regarding a new grant); id.
             at 785:1–7 (Gracias) (testifying that Musk views Tesla as one of the most important things in his life).
             858
                 Defs.’ Post-Trial Opening Br. at 15–16; Murphy Opening Rep., at 50–51; Defs.’ Post-Trial Opening Suppl. Br.
             at 23 (suggesting that Musk, without the Grant, could work at SpaceX and keep his Tesla shares as a “passive
             investment”).
             859
                    Defs.’ Post-Trial Opening Br. at 75.
             860
                    Trial Tr. at 1439:7–18 (Brown).
             861
                    Id.
             862
                    JX-530 at 5 (7/17/17 Working Group discussion document).
             863
                    JX-987 at 6 (3/21/18 ISS proxy analysis & benchmark policy voting recommendations).
             864
                    Dunn Opening Expert Rep. at 56.


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                  Second , Defendants argue the Grant’s trailing average requirements for the market capitalization
             milestones— and the four-consecutive-quarter requirement for the operational milestones—are stockholder-
             friendly. 865 The Board apparently “put in both the six-month trailing average and the 30-day trailing average to
             ensure that when the market capitalization would potentially increase to one of these milestones, it would stay
             there for a requisite period of time that it actually seemed fair to award the milestone to Elon.” 866 Similarly, the
             operational milestones required sustained performance for four consecutive quarters. 867 Although those timing
             requirements do provide stockholders with protection, that protection is limited, because the Grant lacks any
             protection for lost value when the Company’s performance falls below previously met thresholds.

                   Third , Defendants argue that the M&A Adjustment—which applied to both the market capitalization and
             operational milestones—prevented Musk from “gam[ing]” any of the milestones.868 Maron explained that the
             adjustments “ensure that if Elon was going to benefit from this plan, that it was because he had led the Company
             to organic value creation, not just buying another big company and having that add significantly to the market
             capitalization of Tesla.” 869 The adjustments would be triggered not only by stock deals, but also by cash deals, a
             term that Compensia “hadn’t put in . . . other plans before.” 870 But an M&A adjustment is standard in executive
             compensation, 871 and Musk acknowledged that Tesla would not “be making any big acquisitions,” limiting the
             utility of this provision. 872

                  Fourth , Defendants argue that the Five-Year Hold Period served stockholder interests. 873 Defendants state
             that “[w]hile every other stockholder could have cashed in during the nearly 400 trading days that Tesla’s market
             capitalization was over $650 billion, 874 Musk was unable to sell a single share of the compensation he earned
             under the 2018 [Grant].” 875 This is true. 876 But it ignores that there was no limit to Musk’s ability to sell any of
             the millions of Tesla shares he already owned.

                  Certainly, the structural provisions on which Defendants rely have value. But that value is limited as to each
             provision. Given the other defects in the Grant, these provisions do not individually or in the aggregate lead to a
             finding of fair price.

                                             iv.       The Ambitious Milestones

                  Defendants argue that the Grant price was fair because its milestones were ambitious and difficult to achieve.
             The defense witnesses all testified in harmony that the milestones were “audacious” and “extraordinarily
             ambitious.” 877 Defendants concede that three operational milestones aligned with internal projections but note
             that the Company routinely missed projections. 878

             865
                    Defs.’ Post-Trial Opening Br. at 75 (citing Trial Tr. at 1274:23–1276:9 (Murphy)).
             866
                    Trial Tr. at 264:16–21 (Maron).
             867
                    JX-878 at 15 (2/8/18 Schedule 14A Proxy Statement).
             868
                    JX-784 at 1–2 (1/17/18 emails between Maron and Musk).
             869
                    Trial Tr. at 265:8–13 (Maron).
             870
                    Id. at 1465:11–19 (Brown).
             871
                    Id. at 1010:20–24 (Dunn).
             872
                    JX-784 at 2.
             873
                    Defs.’ Post-Trial Opening Br. at 76–77.
             874
                    Id. at 77 (citing JX-1510 at 1).
             875
                    Id.
             876
                Trial Tr. at 255:6–13 (Maron) (discussing holding periods and the “lock” on Musk); id. at 63:20–64:1
             (Ehrenpreis) (stating the Board “negotiated an agreement that [Musk] would hold for five years after both the
             achievement and vesting and exercise of the options”).
             877
                    Defs.’ Post-Trial Opening Br. at 85.
             878
                    Defs.’ Post-Trial Answering Br. at 67–68.


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                  It is hard to square Defendants’ coordinated trial testimony concerning Tesla’s internal projections with the
             contemporaneous evidence. 879 The Board deemed some of the milestones 70% likely to be achieved soon after
             the Grant was approved. 880 This assessment was made under a conservative accounting metric, but there are
             other indications that Tesla viewed its projections as reliable. They were developed in the ordinary course,
             approved by Musk and the Board, regularly updated, shared with investment banks and ratings agencies, and used
             by the Board to run Tesla. 881 Several Tesla executives affirmed their quality, accuracy, and reliability. 882 Plus,
             Tesla hit the first three milestones, consistent with its projections, by September 30, 2020. 883

                  Defendants bore the burden of proving fair price. Given the conflicting testimony concerning the projections,
             Defendants failed to prove the factual predicate for their argument that all the milestones were “ambitious” and
             difficult to achieve. This argument does not support a finding of fair price.

                                                 v.     The Private-Equity Analogy

                  Defendants argue that the Grant price is fair by comparing the Grant to compensation structures common in
             the portfolio companies backed by venture capital and private equity funds, where CEOs often receive
             a percentage of the equity. That argument has one obvious problem: Tesla is not a privately held portfolio
             company.

                  Defendants offer no theoretical justification for comparing the Grant to venture capital or private equity
             compensation structures when Tesla is not a venture capital or private equity backed entity. This was something
             Defendants came up with for trial. During the negotiations, neither Defendants nor their experts benchmarked the
             Grant to venture capital compensation. They never considered an analogy to a venture capital or private equity
             investment. That is because Tesla was a publicly traded corporation with a market capitalization of $53 billion,
             tens of thousands of stockholders, and a CEO who already owned 21.9% of Tesla’s equity.

                  Examined on its own terms, Defendants’ private-equity analogy relies on valuing the Grant as a percentage
             of Tesla’s fully diluted shares. Defendants peg that percentage at 6.4%, but there is no evidence that Musk, the
             Board, the Compensation Committee, or its advisors ever considered this figure during the

             process. Defendants take the 6.4% figure from the Proxy, which based the figure on “illustrat[ive]” dilution
             assumptions. 884

                   Focusing on the 6.4% figure alone, Defendants’ financial expert testified that “something like 6 to 10 percent
             [equity] for a new CEO would be totally normal” in VC- and private-equity-backed companies. 885 Gracias
             testified that an equity stake of around 6% for a CEO would be considered “on the low end.” 886 Defendants
             describe the Grant

             879
                 See, e.g. , BCIM Strategic Value Master Fund, LP v. HFF Inc., 2022 WL 304840, at *2 (Del. Ch. Feb. 2,
             2022) (“The witness testimony often conflicted with the contemporaneous record. In resolving factual disputes,
             this decision generally has given greater weight to the contemporaneous documents.”).
             880
                JX-1028 at 15 (4/27/18 Audit Committee Agenda); JX-1023 at 6 (4/27/18 Significant Accounting Matters for
             2018 Q1 Audit Committee).
             881
                See e.g., id. at 353:6–355:15 (Ahuja) (projections were “accurate and truthful”); id. at 466:14–469:24 (Ahuja)
             (noting the projections were shared with outside rating agencies).
             882
                 See e.g., id. at 391:16–23 (Maron) (“Tesla would do its . . . earnest best to . . . provide quality information” to
             the rating agencies).
             883
                    PTO ¶¶ 265–71.
             884
                JX-878 at 24 (2/8/18 Schedule 14A Proxy Statement). It represents one of many possible scenarios for what
             Musk could receive on a fully diluted basis if the Grant fully vests and all five of the assumptions listed in the
             Proxy hold. For example, for Musk to achieve a mere 6% under the Grant, “the 527,491 shares of common stock
             subject to the tenth and final tranche of the 2012 [Grant]” would need to “become fully vested, outstanding and
             held by Musk.” Id. But the tenth tranche of the 2012 Grant never vested. PTO ¶¶ 209–10.
             885
                    Trial Tr. at 1112:2–24 (Gompers).
             886
                    Id. at 735:11–736:2 (Gracias).


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             as riskier than VC compensation, because it was “100 percent risk-free” for Tesla and its stockholders, 887 but
             Musk would get “nothing if we hadn’t doubled the market cap.” 888 Referring to his portfolio companies, Gracias
             put it bluntly: “I don’t have a CEO who would sign up for that.” 889 Gracias’s testimony, however, was simply
             not credible. Based on Tesla’s April 25, 2022 market capitalization of just over $900 billion, 890 6% of Tesla
             would be worth $54 billion, just under the maximum value disclosed in the Proxy. 891 Any number of CEOs
             would sign up for that. And many VC startups offer CEOs the prospect of great riches or nothing at all.
                  Even if the comparison holds, Musk already is earning more than the 20% a hedge fund would earn as a
             typical carried interest. So, while Musk is not receiving a base salary, he is already receiving more
             (incentive-wise) than a fund who would manage Tesla’s assets. And given that Musk does not need a base salary
             to keep his pretend hedge fund afloat, it would not be necessary.
                  Regardless, there are other ways to value the Grant, such as its maximum value and its grant date fair value.
             The Board and stockholders were told that, if Musk achieved all 12 tranches of the Grant, he would receive a
             maximum value of $55.8 billion. 892 As disclosed to the Board and stockholders, the grant date fair value was
             $2,615,190,052. 893 By this measure, it was a massive award—an internal ISS email described it as “about
             250 times the peer median.” 894 Brown, Ehrenpreis, and Denholm all acknowledged that the award was
             exceptionally large, with Ehrenpreis agreeing it was “entirely without precedent.” 895 Plaintiff’s expert noted that
             the Grant was 33x larger than Musk’s 2012 Grant’s $78M grant date fair value. 896 By the most conservative
             comparison that Plaintiff’s expert could conceivably devise, the Grant’s grant date fair value was 11.7x larger
             than the median peer group. 897 Indeed, the Grant entitled Musk to billions even if Tesla significantly
             underperformed its historical results. 898 Just as they did during the negotiation process, Defendants ignored these
             figures.
                  Defendants’ portfolio-company analogy misses the mark in multiple ways. It does not support a finding of
             fair price.




             887
                    Id. at 1395:19–1398:3 (Buss).
             888
                    Id. at 736:24–737:11 (Gracias).
             889
                    Id. at 736:24–737:4 (Gracias).
             890
                    PTO ¶ 71.
             891
                    JX-878 at 18 (2/8/18 Schedule 14A Proxy Statement).
             892
                    Id. at 24.
             893
                    JX-792 at 7; JX-878 at 34.
             894
                    JX-916.
             895
                    Trial Tr. at 130:22–131:7 (Ehrenpreis); id. at 360:20–361:12 (Denholm); id. at 1480:9–14 (Brown).
             896
                Dunn Opening Expert Rep. at 103; Dkt. 291 (“Pl.’s Demonstrative 2”), at 9 (showing the magnitude of the
             comparison); Trial Tr. 994:7–13 (noting the comparison between the two grants).
             897
                 Trial Tr. at 992:2–7 (Dunn); Pl.’s Demonstrative 2 at 6, 7. Dunn’s most aggressive estimation reflected that
             the Grant was 544.8x greater than the median peer group. Pl.’s Demonstrative 2 at 6, 8.
             898
                    Gompers Dep. Tr. at 302:10–303:19.


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                                             vi.      The Stockholder Vote

                  Defendants argue that disinterested stockholder approval is “compelling evidence” that the price was fair. 899
             The stockholder vote is one component of the fair price analysis, but whether the vote represents a form of
             market evidence that can support a certain price depends on the sufficiency of the disclosure. Generally, a
             stockholder vote is only “compelling evidence” of fairness absent a disclosure violation. 900 The Delaware
             Supreme Court in Weinberger held that an uninformed stockholder vote is totally “meaningless.” 901 Under
             Weinberger , therefore, the stockholder vote is a meaningless indicator as to fair price. In SolarCity III , the high
             court took a more nuanced approach, affording a stockholder vote some weight despite a deficient proxy
             statement where the key issue was SolarCity’s value. The high court noted that there was significant public
             information available concerning that issue, “SolarCity traded in an efficient market,” and a strong independent
             fiduciary positively affected the process. 902 Defendants did not establish those facts here. 903

                     Because the stockholder vote was not fully informed, it does not support a finding of fair price.

                                             vii.     The Hindsight Defense

                  Defendants finally argue from hindsight. They claim the Grant was fair because it worked: “Tesla thrived
             because of the 2018 Plan.” 904 With this argument, Defendants ask the court to infer a direct causal relationship
             between the Grant and Tesla’s subsequent performance. But Defendants failed to prove that Musk’s less-than-full
             time efforts for Tesla were solely or directly responsible for Tesla’s recent growth, or that the Grant was solely or
             directly responsible for Musk’s efforts. This last argument is empty rhetoric, not evidence of fair price.

                     D.       Rescission Is A Reasonable And Appropriate Remedy.

                  As a remedy, Plaintiff only seeks recission. 905 Plaintiff’s lead argument is that the court must rescind the
             Grant due to the disclosure defects because the Board conditioned the Grant on stockholder approval. 906 Plaintiff
             also argues that the court has discretion to order rescission as a remedy for fiduciary breaches. 907 Plaintiff
             further argues that, “at minimum,” the court should rescind the options for the first three tranches given lack of
             disclosure regarding the probability of achievement. 908

                  Plaintiff’s first argument does not work. It would create an overly rigid rule that runs contrary to the
             Delaware Supreme Court’s holding in Weinberger . But Plaintiff’s second argument prevails, so the court need
             not reach Plaintiff’s third argument. The court orders rescission of the Grant as a remedy for Defendants’
             fiduciary breaches.

             899
                Defs.’ Post-Trial Opening Suppl. Br. at 21 (citing ACP Master, Ltd. v. Sprint Corp. , 2017 WL 3421142, at
             *29 (Del. Ch. Aug. 8, 2017)).
             900
                 ACP , 2017 WL 3421142, at *29; cf. Kahn v. Lynch Commc’ns Sys., Inc. , 669 A.2d 79, 89 (Del. 1995)
             (holding that a finding of adequate disclosure in a parent-subsidiary merger was persuasive evidence of entire
             fairness, because “although the merger was not conditioned on a majority of the minority vote . . . more than
             94 percent of the shares were tendered in response to [the] offer”); Cinerama II , 663 A.2d at 1176 (considering
             the stockholder vote as persuasive evidence of fair price where “the directors had complied with the disclosure
             duty”).
             901
                    Weinberger, 457 A.2d at 712.
             902
                    SolarCity III , 298 A.3d at 728–29.
             903
                 See also ACP , 2017 WL 3421142, at *23 (holding that, where information was not expected nor asked for by
             a committee, that information was not required to be disclosed because there was not an unfair disparity between
             the market and the decision-makers).
             904
                    Defs.’ Post-Trial Opening Br. at 52 (emphasis added).
             905
                    Plaintiff sought alternative remedies but has abandoned those requests. Pl.’s Post-Trial Opening Br. at 104–06.
             906
                The court referred to this as Plaintiff’s “kill shot” theory, which was a reference to the racquet term meaning
             an unreturnable volley that ends a match, not the Eminem song.
             907
                    Pl.’s Post-Trial Opening Br. at 105.
             908
                    Id. at 105–06.


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                          1.      The Automatic-Invalidation Argument Fails.
                  In their lead argument, Plaintiff argues that because Tesla conditioned the Grant on stockholder approval, 909
             “a single material disclosure failure invalidates” the Grant. 910 Plaintiff says that because stockholder approval
             was secured by a materially misleading Proxy, the Grant is void, and rescission must follow automatically.
                  There is appeal in the simplicity of Plaintiff’s approach, but it is not quite right. The consequence of an
             uninformed stockholder vote depends in part on whether that vote was required or voluntary. 911 The DGCL
             requires stockholder approval of certain transactions—a merger, sale of assets, or charter amendment, for
             example. 912 For transactions that require stockholder approval, there are strong arguments that a material
             disclosure deficiency “warrant[s] an injunction against, or rescission of, the transaction.” 913
                  But even when a Delaware statute requires a vote, this court does not necessarily void the transaction when
             that vote was uninformed. 914 In Weinberger , the Delaware Supreme Court made that plain by correcting a
             misunderstanding that it believed had arisen regarding the importance of its ruling in Vickers . That earlier
             decision held that rescission was the preferred remedy for a transaction tainted by disclosure violations and that
             rescissory damages—the monetary equivalent of rescission—could substitute where rescission was not feasible.
             915
                 The Weinberger decision stressed that rescissory damages were not the exclusive remedy for a disclosure
             violation. 916 By the same logic, rescission need not follow automatically either.
                  That is especially true for transactions where the DGCL does not require a stockholder vote. A corporation
             may seek stockholder approval for those transactions, and the vote is “voluntary” in this sense. 917 When
             voluntarily seeking stockholder approval, the failure to disclose material information “will eliminate any effect
             that a favorable stockholder vote otherwise might have for the validity of the transaction or for the applicable
             standard of review.” 918 For example, the failure to disclose material information will render Corwin cleansing
             and burden shifting unavailable. 919 The failure to disclose material information might also support an
             independent claim and remedies for breach of the duty of disclosure, 920 but the court has discretion when
             fashioning a remedy in that context as well. The failure to disclose material information for voluntary stockholder
             votes, however, does not automatically invalidate the transaction.


             909
                JX-791 at 4 (Board resolution approving the Grant) (stating that the Grant was effective “subject to the
             Requisite Stockholder Approval” and that if the Grant “fail[ed] to receive the affirmative vote” of a majority of
             non-Musk shares, it would be “forfeited and cancelled”).
             910
                    Pl.’s Post-Trial Opening Br. at 1–11.
             911
                    See generally In re Wayport, Inc. Litig. , 76 A.3d 296, 314 (Del. Ch. 2013).
             912
                    8 Del. C. §§ 241, 242, 271, 251(c).
             913
                    Wayport , 76 A.3d at 314–15; Gantler , 965 A.2d at 713.
             914
                 See SolarCity III , 298 A.3d at 729; Arnold v. Soc’y for Sav. Bancorp, Inc. , 678 A.2d 533, 537 (Del. 1996)
             (holding that “the argument that the disclosure violation renders the statutory merger void must fail”); see also 13
             Am. Jur. 2d Cancellation of Instruments § 4 (“Cancellation or rescission as an equitable remedy is not available
             as a matter of right. Rather, relief by way of cancellation is a matter within the court’s discretion and is granted
             or withheld according to what is reasonable and proper under the circumstances of each case.”).
             915
                    See Vickers , 429 A.2d at 501.
             916
               Weinberger , 457 A.2d at 704 (overruling Vickers “to the extent that it purports to limit a stockholder’s
             monetary relief to a specific damage formula”).
             917
                    Wayport , 76 A.3d at 314 (citing Gantler , 965 A.2d at 713).
             918
                    Id.
             919
                See, e.g. , van der Fluit , 2017 WL 5953514, at *8 n.115 (“[O]ne violation is sufficient to prevent application
             of Corwin .”).
             920
                See, e.g., Weinberger, 457 A.2d at 703; In re Mindbody, Inc., S’holder Litig ., 2023 WL 7704774, at *10–11
             (Del. Ch. Nov. 15, 2023) (awarding Weinberger damages); In re Columbia Pipeline Gp., Merger Litig. , 299 A.3d
             393, 494–500 (Del. Ch. 2023) (same).



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                  The stockholder vote on the Grant was not required by the DGCL. 921 The Proxy deficiencies defeated
             Defendants’ effort to shift the burden under the entire fairness standard to Plaintiff, but the uninformed vote does
             not automatically invalidate the Grant.
                   Plaintiff responds that although a stockholder vote was not required by the DGCL, the Board elevated the
             vote to a requirement by conditioning the Grant on a favorable vote. That does not change the outcome, because
             the court has the discretion to determine a remedy for corporate transactions where a vote is required. The same
             is true for a transaction that is conditioned on a vote.

                      2.       Rescission Is Warranted.
                  Although rescission does not automatically flow from the disclosure deficiencies, it is nevertheless an
             available and appropriate remedy.




             921
                 In this case, the stockholder vote was required by NASDAQ Rules. NASDAQ R. 5635(c) (“Shareholder
             approval is required prior to the issuance of securities when a stock option or purchase plan is to be established
             or materially amended or other equity compensation arrangement made or materially amended”). Plaintiff argues
             that the NASDAQ requirement renders the vote “legally required” and thus mandates recission for transactions
             approved by a materially deficient vote. Pl.’s Post-Trial Suppl. Answering Br. at 8. Effectively, Plaintiff urges this
             court to serve as NASDAQ enforcement agent, which would run contrary to multiple strains of Delaware law. See
             Teamsters Union 25 Health Servs. & Ins. Plan v. Baiera , 119 A.3d 44, 70 (Del. Ch. 2015) (holding that
             stockholder plaintiff had no standing to prosecute a violation of the NYSE Rules); In re Aquila Inc. S’holders
             Litig. 805 A.2d 184, 192 n.11 (Del. Ch. 2002) (noting that plaintiffs conceded they had “no standing directly to
             bring an action to enforce the NYSE rules or to seek sanctions for any alleged violation thereof”); see also Mill
             Bridge V, Inc. v. Benton , 2009 WL 4639641, *12 (E.D. Pa. Dec. 3, 2009) (“courts in [the Third Circuit] have
             ‘unanimously refused to recognize any private right of action for violation of a stock exchange rule” ​ ( quotingIn
             re Farmers Gp. Stock Options Litig ., 1989 WL 73245, at *3 (E.D. Pa. July 5, 1989))). Given the complexities of
             this issue in an otherwise complex case, the court does not reach it. And the court need not do so because,
             ultimately, Plaintiff is getting what he asks for—recission.



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                  The remedy of rescission “restore[s] the parties substantially to the position which they occupied before
             making the contract.” 922 “Rescission ‘is not given for every serious mistake and it is neither given nor withheld
             automatically, but is awarded as a matter of judgment.’” 923 The court has broad discretion to award recission
             where the facts and circumstances warrant. 924 This court has awarded rescission as a remedy for breach of
             fiduciary duty, 925 particularly in the context of self-dealing transactions. 926 Indeed, as discussed above, the
             Delaware Supreme Court referred to recission as “the preferrable remedy” in Vickers for breach of fiduciary duty
             where one party has misled another. 927

                  To be entitled to equitable rescission, a plaintiff must demonstrate that rescission is both “reasonable and
             appropriate” under the circumstances. 928 This includes showing that it is possible for “all parties to the
             transaction [to] be restored to the status quo ante, i.e. , to the position they occupied before the challenged
             transaction.” 929




             922
                 Craft v. Bariglio , 1984 WL 8207, at *12 (Del. Ch. Mar. 1, 1984) (citing Henry Campbell Black, On
             Rescission and Cancellation § 616 (2nd ed.)); accord Geronta Funding v. Brighthouse Life Ins. Co. , 284 A.3d
             47, 61 (Del. 2022) (“rescission results in abrogation or unmaking of an agreement, and attempts to return the
             parties to the status quo” (quoting Norton v. Poplos , 443 A.2d 1, 4 (Del. 1982)); id. at 61 (“‘[E]quitable
             rescission offers a platform to provide additional equitable relief, such as cancellation of a valid instrument—the
             formal annulment or setting aside of an instrument or obligation.’” ​ ( quotingRavenswood , 2018 WL 1410860, at
             *21)).
             923
                Gotham P’rs, L.P. v. Hallwood Realty P’rs, L.P. , 817 A.2d 160, 174 (Del. 2002) (quoting Gaffin v. Teledyne,
             Inc. , 1990 WL 195914, at *16 (Del. Ch. Dec. 4, 1990)).
             924
                 Id. at 164 (stating that whether to order rescission is within the discretion of the Court of Chancery); 13 Am.
             Jur. 2d Cancellation of Instruments § 4 (“Cancellation or rescission as an equitable remedy is not available as a
             matter of right. Rather, relief by way of cancellation is a matter within the court’s discretion and is granted or
             withheld according to what is reasonable and proper under the circumstances of each case. A court may shape the
             rescission of contract remedy in order to serve substantial justice.”); see also Weinberger , 457 A.2d at 714
             (“[T]he Chancellor’s powers are complete to fashion any form of equitable and monetary relief as may be
             appropriate.”); Int’l Telecharge, Inc. v. Bomarko, Inc. , 766 A.2d 437, 440 (Del. 2000) (“In determining damages,
             the powers of the Court of Chancery are very broad in fashioning equitable and monetary relief under the entire
             fairness standard as may be appropriate, including rescissory damages” ​ ( internal citations omitted)).
             925
                 See, e.g. , eBay Domestic Hldgs., Inc. v. Newmark , 16 A.3d 1, 46 (Del. Ch. 2010) (ordering rescission of a
             rights plan as a remedy for breach of fiduciary duty); Coleman v. Newborn , 948 A.2d 422, 433 (Del. Ch. 2007)
             (ordering rescission of a deed as remedy for breach of fiduciary duty); Valeant , 921 A.2d at 752 (ordering
             rescission of a compensation plan where the defendants “failed to show that the transaction was entirely fair” and
             it was “clear that he has no right to retain any of the $3 million bonus he received”); see also Zutrau v. Jansing ,
             2014 WL 3772859, at *26 (Del. Ch. July 31, 2014) (ordering partial rescission); Loral , 2008 WL 4293781, at
             *32 (same).
             926
                 Zutrau , 2014 WL 3772859, at *26 (stating “recission frequently is granted where self-dealing transactions are
             found not to be entirely fair”); see also Oberly v. Kirby, 592 A.2d 445, 466 (Del. 1991) (“An interested
             transaction is not void but is voidable, and a court will uphold such a transaction against a beneficiary challenge
             only if the trustee can show that the transaction was fair and that the beneficiaries consented to the transaction
             after receiving full disclosure of its terms.”); Firefighters’ Pension Sys. of Kans. City, Mo. Tr. v. Presidio, Inc. ,
             251 A.3d 212, 251 (Del. Ch. 2021) (“A finding that a transaction is not entirely fair thus could lead to
             transaction-based relief, such as an injunction, rescission, or an equitable modification of the transaction’s
             terms.”).
             927
                 Vickers , 429 A.2d at 501; but see ENI Hldgs., LLC v. KBR Gp. Hldgs., LLC , 2013 WL 6186326, at *24 (Del.
             Ch. Nov. 27, 2013) (denying on a motion to dismiss a request for rescission, but noting that “[r]escission is . . . a
             remedy available only where facts indicate equity so requires,” and that the plaintiff’s “burden to establish an
             entitlement to rescission, in light of the likely change in circumstances due to the passage of time, is heavy”).
             928
                    Lenois v. Lawal , 2017 WL 5289611, at *20 (Del. Ch. Nov. 7, 2017).
             929
                    Strassburger v. Earley , 752 A.2d 557, 578 (Del. Ch. 2000) (emphasis in original).


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                 Plaintiff has demonstrated that rescission is reasonable, appropriate, and practicable. This Grant is not “too
             complex to unscramble[.]” 930 Rescission is uniquely available: no third-party interests are implicated, the entire
             Grant sits unexercised and undisturbed, and exercised shares would be subject to the Five-Year Hold Period. 931
                  Defendants argue that rescission is a harsh consequence that would leave Musk uncompensated. But Musk’s
             preexisting equity stake provided him tens of billions of dollars for his efforts. And Defendants have not offered
             a viable alternative short of leaving the Grant intact.

                  On this point, Valeant is instructive. 932 There, the plaintiff claimed that the directors of Valeant
             Pharmaceuticals International breached their fiduciary duties by awarding themselves and other executives and
             employees large cash bonuses in connection with a “later-aborted corporate restructuring.” 933 All but one
             defendant settled before trial, and the court found that the remaining defendant failed to prove that the transaction
             was fair. 934 Although that defendant went all-in on the defense that the entirety of his bonus was fair and
             presented no evidence for why a portion of the bonus was more defensible than the remaining amount, 935 he
             asked that the court limit disgorgement “to the extent that the bonus was unfair.” 936 The court rejected that
             argument given the defendant’s failure of proof and ordered disgorgement of the entire amount. 937
                  As in Valeant , Defendants heralded the Grant as fair but failed to meet their burden. They also failed to
             identify any logically defensible delta between the unfair Grant and a fair one. As a result, there is nothing in the
             record to allow the court to fashion a remedy that would order recission only to the extent the Grant was unfair.
             “Once a breach of duty is established, uncertainties in awarding damages are generally resolved against the
             wrongdoer.” 938 Here, the wrongdoers are Defendants, and so the court resolves uncertainty against them.

             III.        CONCLUSION
                  For the foregoing reasons, judgment is entered in Plaintiff’s favor. The parties are to confer on a form of
             final order implementing this decision and submit a joint letter identifying all issues, including fees, 939 that need
             to be addressed to bring this matter to a conclusion at the trial level.




             930
                In re Sunbelt Beverage Corp. S’holder Litig. , 2010 WL 26539, at *14 (Del. Ch. Jan. 5, 2010); see, e.g.,
             Weinberger , 457 A.3d at 714 (finding transaction “too involved to undo[]”).
             931
                    JX-878 at 56 (2/8/18 Schedule 14A Proxy Statement).
             932
                    Valeant , 921 A.2d 732.
             933
                    921 A.2d at 735.
             934
                    See id. at 736.
             935
                    Id. at 744 (noting that the defendant “embrace[d]” the burden).
             936
                    Id. at 752.
             937
                    Id. at 752–53.
             938
                 Dole , 2015 WL 5052214, at *44 (quoting Thorpe v. CERBCO, Inc. , 1993 WL 443406, at *12 (Del. Ch. Oct.
             29, 1993)).
             939
                See Pope Invs. LLC v. Marilyn Abrams Living Tr. , 166 A.3d 912, 2017 WL 2774361, at *1 (Del. June 26,
             2017) (TABLE) (holding that “a judgment on the merits is not final until an outstanding related application for an
             award of attorneys fees has been decided” ​ ( citingLipson v. Lipson , 799 A.2d 345, 348 (Del. 2001))).



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                                                                                                                               Annex J

                                     SECTION 204 OF THE DELAWARE GENERAL CORPORATION LAW

             § 204. Ratification of defective corporate acts and stock.
                 (a) Subject to subsection (f) of this section, no defective corporate act or putative stock shall be void or
             voidable solely as a result of a failure of authorization if ratified as provided in this section or validated by the
             Court of Chancery in a proceeding brought under § 205 of this title.
                   (b) (1) In order to ratify 1 or more defective corporate acts pursuant to this section (other than the
             ratification of an election of the initial board of directors pursuant to paragraph (b)(2) of this section), the board
             of directors of the corporation shall adopt resolutions stating:
                          (A) The defective corporate act or acts to be ratified;

                          (B) The date of each defective corporate act or acts;
                        (C) If such defective corporate act or acts involved the issuance of shares of putative stock, the
                    number and type of shares of putative stock issued and the date or dates upon which such putative shares
                    were purported to have been issued;

                          (D) The nature of the failure of authorization in respect of each defective corporate act to be ratified;
                    and

                          (E) That the board of directors approves the ratification of the defective corporate act or acts.
                          Such resolutions may also provide that, at any time before the validation effective time in respect of any
                          defective corporate act set forth therein, notwithstanding the approval of the ratification of such
                          defective corporate act by stockholders, the board of directors may abandon the ratification of such
                          defective corporate act without further action of the stockholders. The quorum and voting requirements
                          applicable to the ratification by the board of directors of any defective corporate act shall be the quorum
                          and voting requirements applicable to the type of defective corporate act proposed to be ratified at the
                          time the board adopts the resolutions ratifying the defective corporate act; provided that if the certificate
                          of incorporation or bylaws of the corporation, any plan or agreement to which the corporation was a
                          party or any provision of this title, in each case as in effect as of the time of the defective corporate act,
                          would have required a larger number or portion of directors or of specified directors for a quorum to be
                          present or to approve the defective corporate act, such larger number or portion of such directors or
                          such specified directors shall be required for a quorum to be present or to adopt the resolutions to ratify
                          the defective corporate act, as applicable, except that the presence or approval of any director elected,
                          appointed or nominated by holders of any class or series of which no shares are then outstanding, or by
                          any person that is no longer a stockholder, shall not be required.
                         (2) In order to ratify a defective corporate act in respect of the election of the initial board of directors
                    of the corporation pursuant to § 108 of this title, a majority of the persons who, at the time the resolutions
                    required by this paragraph (b)(2) of this section are adopted, are exercising the powers of directors under
                    claim and color of an election or appointment as such may adopt resolutions stating:
                                (A) The name of the person or persons who first took action in the name of the corporation as the
                          initial board of directors of the corporation;
                              (B) The earlier of the date on which such persons first took such action or were purported to have
                          been elected as the initial board of directors; and
                               (C) That the ratification of the election of such person or persons as the initial board of directors
                          is approved.
                  (c) Each defective corporate act ratified pursuant to paragraph (b)(1) of this section shall be submitted to
             stockholders for approval as provided in subsection (d) of this section, unless:



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                         (1) (A) No other provision of this title, and no provision of the certificate of incorporation or bylaws
                    of the corporation, or of any plan or agreement to which the corporation is a party, would have required
                    stockholder approval of such defective corporate act to be ratified, either at the time of such defective
                    corporate act or at the time the board of directors adopts the resolutions ratifying such defective corporate
                    act pursuant to paragraph (b)(1) of this section; and (B) Such defective corporate act did not result from a
                    failure to comply with § 203 of this title; or
                         (2) As of the adoption of the resolutions of the board of directors adopted pursuant to paragraph (b)(1)
                    of this section, there are no shares of valid stock outstanding and entitled to vote thereon, regardless of
                    whether there then exist any shares of putative stock.
                  (d) (1) If the ratification of a defective corporate act is required to be submitted to stockholders for
             approval pursuant to subsection (c) of this section, due notice of the time, place, if any, and purpose of the
             meeting shall be given at least 20 days before the date of the meeting to each holder of valid stock and putative
             stock, whether voting or nonvoting, at the address of such holder as it appears or most recently appeared, as
             appropriate, on the records of the corporation.

                         (2) The notice shall also be given to the holders of record of valid stock and putative stock, whether
                    voting or nonvoting, as of the time of the defective corporate act (or, in the case of any defective corporate
                    act that involved the establishment of a record date for notice of or voting at any meeting of stockholders,
                    for action by written consent of stockholders in lieu of a meeting, or for any other purpose, the record date
                    for notice of or voting at such meeting, the record date for action by written consent, or the record date for
                    such other action, as the case may be), other than holders whose identities or addresses cannot be determined
                    from the records of the corporation.
                         (3) The notice shall contain a copy of the resolutions adopted by the board of directors pursuant to
                    paragraph (b)(1) of this section or the information required by paragraphs (b)(1)(A) through (E) of this
                    section and a statement that any claim that the defective corporate act or putative stock ratified hereunder is
                    void or voidable due to the failure of authorization, or that the Court of Chancery should declare in its
                    discretion that a ratification in accordance with this section not be effective or be effective only on certain
                    conditions must be brought within 120 days from the applicable validation effective time.
                        (4) At such meeting, the quorum and voting requirements applicable to ratification of such defective
                    corporate act shall be the quorum and voting requirements applicable to the type of defective corporate act
                    proposed to be ratified at the time of the approval of the ratification, except that:
                             a. If the certificate of incorporation or bylaws of the corporation, any plan or agreement to which
                        the corporation was a party or any provision of this title in effect as of the time of the defective
                        corporate act would have required a larger number or portion of stock or of any class or series thereof
                        or of specified stockholders for a quorum to be present or to approve the defective corporate act, the
                        presence or approval of such larger number or portion of stock or of such class or series thereof or of
                        such specified stockholders shall be required for a quorum to be present or to approve the ratification of
                        the defective corporate act, as applicable, except that the presence or approval of shares of any class or
                        series of which no shares are then outstanding, or of any person that is no longer a stockholder, shall
                        not be required;
                             b. The approval by stockholders of the ratification of the election of a director shall require the
                        affirmative vote of the majority of shares present at the meeting and entitled to vote on the election of
                        such director, except that if the certificate of incorporation or bylaws of the corporation then in effect or
                        in effect at the time of the defective election require or required a larger number or portion of stock or
                        of any class or series thereof or of specified stockholders to elect such director, the affirmative vote of
                        such larger number or portion of stock or of any class or series thereof or of such specified stockholders
                        shall be required to ratify the election of such director, except that the presence or approval of shares of
                        any class or series of which no shares are then outstanding, or of any person that is no longer a
                        stockholder, shall not be required; and
                            c. In the event of a failure of authorization resulting from failure to comply with the provisions of
                        § 203 of this title, the ratification of the defective corporate act shall require the vote set forth in
                        § 203(a)(3) of this title, regardless of whether such vote would have otherwise been required.



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                        (5) Shares of putative stock as of the adoption by the board of directors of resolutions pursuant to
                    paragraph (b)(1) of this section (and without giving effect to any ratification that becomes effective after
                    such adoption) shall neither be entitled to vote nor counted for quorum purposes in any vote to ratify any
                    defective corporate act.

                  (e) (1) If a defective corporate act ratified pursuant to this section would have required under any other
             section of this title the filing of a certificate in accordance with § 103 of this title, and either (i) such certificate
             requires any change to give effect to the defective corporate act in accordance with this section (including a
             change to the date and time of the effectiveness of such certificate) or (ii) a certificate was not previously filed
             under § 103 of this title in respect of the defective corporate act, then, in lieu of filing the certificate otherwise
             required by this title, the corporation shall file a certificate of validation with respect to such defective corporate
             act in accordance with § 103 of this title.
                         (2) A separate certificate of validation shall be required for each defective corporate act requiring the
                    filing of a certificate of validation under this section, except that (i) 2 or more defective corporate acts may
                    be included in a single certificate of validation if the corporation filed, or to comply with this title would
                    have filed, a single certificate under another provision of this title to effect such acts, and (ii) 2 or more
                    overissues of shares of any class, classes or series of stock may be included in a single certificate of
                    validation, provided that the increase in the number of authorized shares of each such class or series set forth
                    in the certificate of validation shall be effective as of the date of the first such overissue.

                        (3) The certificate of validation shall set forth:
                             a. That the corporation has ratified 1 or more defective corporate acts that would have required
                        the filing of a certificate under § 103 of this title;
                             b. That each such defective corporate act has been ratified in accordance with this section; and

                             c. The information required by 1 of the following paragraphs:
                                  1. If a certificate was previously filed under § 103 of this title in respect of the defective
                             corporate act and such certificate requires any change to give effect to the defective corporate act in
                             accordance with this section (including a change to the date and time of the effectiveness of such
                             certificate), the certificate of validation shall set forth:

                                       A. The name, title and filing date of the certificate so previously filed and of any
                                  certificate of correction thereto;

                                        B. A statement that a certificate containing all of the information required to be included
                                  under the applicable section or sections of this title to give effect to the defective corporate act
                                  is attached as an exhibit to the certificate of validation; and

                                      C. The date and time that such certificate shall be deemed to have become effective
                                  pursuant to this section; or
                                  2. If a certificate was not previously filed under § 103 of this title in respect of the defective
                             corporate act and the defective corporate act ratified pursuant to this section would have required
                             under any other section of this title the filing of a certificate in accordance with § 103 of this title,
                             the certificate of validation shall set forth:
                                        A. A statement that a certificate containing all of the information required to be included
                                  under the applicable section or sections of this title to give effect to the defective corporate act
                                  is attached as an exhibit to the certificate of validation, and
                                      B. The date and time that such certificate shall be deemed to have become effective
                                  pursuant to this section.
                         (4) A certificate attached to a certificate of validation need not be separately executed and
                    acknowledged and need not include any statement required by any other section of this title that such
                    instrument has been approved and adopted in accordance with the provisions of such other section.



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                  (f) From and after the validation effective time, unless otherwise determined in an action brought pursuant
             to § 205 of this title:
                         (1) Subject to the last sentence of subsection (d) of this section, each defective corporate act ratified in
                    accordance with this section shall no longer be deemed void or voidable as a result of the failure of
                    authorization described in the resolutions adopted pursuant to subsection (b) of this section and such effect
                    shall be retroactive to the time of the defective corporate act; and
                         (2) Subject to the last sentence of subsection (d) of this section, each share or fraction of a share of
                    putative stock issued or purportedly issued pursuant to any such defective corporate act shall no longer be
                    deemed void or voidable and shall be deemed to be an identical share or fraction of a share of outstanding
                    stock as of the time it was purportedly issued.
                  (g) In respect of each defective corporate act ratified by the board of directors pursuant to subsection (b) of
             this section, prompt notice of the ratification shall be given to all holders of valid stock and putative stock,
             whether voting or nonvoting, as of the date the board of directors adopts the resolutions approving such defective
             corporate act, or as of a date within 60 days after such date of adoption, as established by the board of directors,
             at the address of such holder as it appears or most recently appeared, as appropriate, on the records of the
             corporation. The notice shall also be given to the holders of record of valid stock and putative stock, whether
             voting or nonvoting, as of the time of the defective corporate act, other than holders whose identities or addresses
             cannot be determined from the records of the corporation. The notice shall contain a copy of the resolutions
             adopted pursuant to subsection (b) of this section or the information specified in paragraphs (b)(1)(A) through
             (E) or paragraphs (b)(2)(A) through (C) of this section, as applicable, and a statement that any claim that the
             defective corporate act or putative stock ratified hereunder is void or voidable due to the failure of authorization,
             or that the Court of Chancery should declare in its discretion that a ratification in accordance with this section not
             be effective or be effective only on certain conditions must be brought within 120 days from the later of the
             validation effective time or the time at which the notice required by this subsection is given. Notwithstanding the
             foregoing, (i) no such notice shall be required if notice of the ratification of the defective corporate act is to be
             given in accordance with subsection (d) of this section, and (ii) in the case of a corporation that has a class of
             stock listed on a national securities exchange, the notice required by this subsection and subsection (d) of this
             section may be deemed given if disclosed in a document publicly filed by the corporation with the Securities and
             Exchange Commission pursuant to § 13, § 14 or § 15(d) (15 U.S.C. § 78m, § 77n or § 78o(d)) of the Securities
             Exchange Act of 1934, as amended, and the rules and regulations promulgated thereunder, or the corresponding
             provisions of any subsequent United States federal securities laws, rules or regulations. If any defective corporate
             act has been approved by stockholders acting pursuant to § 228 of this title, the notice required by this subsection
             may be included in any notice required to be given pursuant to § 228(e) of this title and, if so given, shall be sent
             to the stockholders entitled thereto under § 228(e) and to all holders of valid and putative stock to whom notice
             would be required under this subsection if the defective corporate act had been approved at a meeting and the
             record date for determining the stockholders entitled to notice of such meeting had been the date for determining
             the stockholders entitled to notice under the first sentence of this subsection other than any stockholder who
             approved the action by consent in lieu of a meeting pursuant to § 228 of this title or any holder of putative stock
             who otherwise consented thereto in writing. Solely for purposes of subsection (d) of this section and this
             subsection, notice to holders of putative stock, and notice to holders of valid stock and putative stock as of the
             time of the defective corporate act, shall be treated as notice to holders of valid stock for purposes of §§ 222 and
             228, 229, 230, 232 and 233 of this title.
                    (h) As used in this section and in § 205 of this title only, the term:
                         (1) “Defective corporate act” means an overissue, an election or appointment of directors that is void
                    or voidable due to a failure of authorization, or any act or transaction purportedly taken by or on behalf of
                    the corporation that is, and at the time such act or transaction was purportedly taken would have been, within
                    the power of a corporation under subchapter II of this chapter (without regard to the failure of authorization
                    identified in § 204(b)(1)(D) of this title), but is void or voidable due to a failure of authorization;
                         (2) “Failure of authorization” means: (i) the failure to authorize or effect an act or transaction in
                    compliance with (A) the provisions of this title, (B) the certificate of incorporation or bylaws of the
                    corporation, or (C) any plan or agreement to which the corporation is a party or the disclosure set forth in
                    any proxy or consent solicitation statement, if and to the extent such failure would render such act or
                    transaction void or voidable; or (ii) the failure of the board of directors or any officer of the corporation to
                    authorize or approve



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                    any act or transaction taken by or on behalf of the corporation that would have required for its due
                    authorization the approval of the board of directors or such officer;
                        (3) “Overissue” means the purported issuance of:

                             a. Shares of capital stock of a class or series in excess of the number of shares of such class or
                        series the corporation has the power to issue under § 161 of this title at the time of such issuance; or
                             b. Shares of any class or series of capital stock that is not then authorized for issuance by the
                        certificate of incorporation of the corporation;
                         (4) “Putative stock” means the shares of any class or series of capital stock of the corporation
                    (including shares issued upon exercise of options, rights, warrants or other securities convertible into shares
                    of capital stock of the corporation, or interests with respect thereto that were created or issued pursuant to a
                    defective corporate act) that:
                             a. But for any failure of authorization, would constitute valid stock; or

                             b. Cannot be determined by the board of directors to be valid stock;

                        (5) “Time of the defective corporate act” means the date and time the defective corporate act was
                    purported to have been taken;
                         (6) “Validation effective time,” with respect to any defective corporate act ratified pursuant to this
                    section, means the latest of:
                             a. The time at which the defective corporate act submitted to the stockholders for approval
                        pursuant to subsection (c) of this section is approved by such stockholders or if no such vote of
                        stockholders is required to approve the ratification of the defective corporate act, immediately following
                        the time at which the board of directors adopts the resolutions required by paragraph (b)(1) or (b)(2) of
                        this section;

                             b. Where no certificate of validation is required to be filed pursuant to subsection (e) of this
                        section, the time, if any, specified by the board of directors in the resolutions adopted pursuant to
                        paragraph (b)(1) or (b)(2) of this section, which time shall not precede the time at which such
                        resolutions are adopted; and
                             c. The time at which any certificate of validation filed pursuant to subsection (e) of this section
                        shall become effective in accordance with § 103 of this title.
                        (7) “Valid stock” means the shares of any class or series of capital stock of the corporation that have
                    been duly authorized and validly issued in accordance with this title.

             In the absence of actual fraud in the transaction, the judgment of the board of directors that shares of stock are
             valid stock or putative stock shall be conclusive, unless otherwise determined by the Court of Chancery in a
             proceeding brought pursuant to § 205 of this title.

                  (i) Ratification under this section or validation under § 205 of this title shall not be deemed to be the
             exclusive means of ratifying or validating any act or transaction taken by or on behalf of the corporation,
             including any defective corporate act, or any issuance of stock, including any putative stock, or of adopting or
             endorsing any act or transaction taken by or in the name of the corporation prior to the commencement of its
             existence, and the absence or failure of ratification in accordance with either this section or validation under
             § 205 of this title shall not, of itself, affect the validity or effectiveness of any act or transaction or the issuance
             of any stock properly ratified under common law or otherwise, nor shall it create a presumption that any such act
             or transaction is or was a defective corporate act or that such stock is void or voidable.




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TESLA, INC. 1 TESLA ROAD AUSTIN, TX 78725 SCAN TO                                 VIEW MATERIALS & VOTE VOTE BY INTERNET Before The Meeting - Go to www.proxyvote.com or scan the QR Barcode above Use the Internet to transmit your voting instructions and for electronic delivery of information up until 11:59 p.m. Eastern Time the day before the meeting date. Have your proxy card in hand when you access the web site and follow the instructions to obtain your records and to create an electronic voting instruction form. During The Meeting - Go to www.virtualshareholdermeeting.com/TSLA2024 You may attend the meeting via the Internet and vote during the meeting. Have the information that is printed in the box marked by the arrow available and follow the instructions. VOTE BY PHONE - 1-800-690-6903 Use any touch-tone telephone to transmit your voting instructions up until 11:59 p.m. Eastern Time the day before the meeting date. Have your proxy card in hand when you call and then follow the instructions. VOTE BY MAIL Mark, sign and date your proxy card and return it in the postage-paid envelope we have provided or return it to Vote Processing, c/o Broadridge, 51 Mercedes Way, Edgewood, NY 11717. TO VOTE, MARK BLOCKS BELOW IN BLUE OR BLACK INK AS

FOLLOWS:V48116-P12229KEEP THIS PORTION FOR YOUR RECORDSTHIS PROXY CARD IS VALID ONLY WHEN SIGNED AND DATED.DETACH AND RETURN THIS PORTION ONLY TESLA, INC. The Board of Directors recommends you vote FOR the following proposals 1 through 5: Election of Class II Directors to serve for a three-year term expiring in 2027. Nominees: 1a. James Murdoch 1b. Kimbal Musk A Tesla proposal to approve executive compensation on a non-binding advisory basis. A Tesla proposal to approve the redomestication of Tesla from Delaware to Texas by conversion. A Tesla proposal to ratify the 100% performance-based stock option award to Elon Musk that was proposed to and approved by our stockholders in 2018. A Tesla proposal to ratify the appointment of PricewaterhouseCoopers LLP as Tesla's independent registered public accounting firm for the fiscal year ending December 31, 2024. For Against Abstain ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! The Board of Directors recommends you vote AGAINST the following proposals 6 through 12: A stockholder proposal regarding reduction of director terms to one year, if properly presented. A stockholder proposal regarding simple majority voting provisions in our governing documents, if properly presented. A stockholder

proposal regarding annual reporting on anti-harassment and discrimination efforts, if properly presented. A stockholder proposal regarding adoption of a freedom of association and collective bargaining policy, if properly presented. A stockholder proposal regarding reporting on effects and risks associated with electromagnetic radiation and wireless technologies, if properly presented. A stockholder proposal regarding adopting targets and reporting on metrics to assess the feasibility of integrating sustainability metrics into senior executive compensation plans, if properly presented. A stockholder proposal regarding committing to a moratorium on sourcing minerals from deep sea mining, if properly presented. NOTE: Such other business as may properly come before the meeting or any adjournment thereof. For Against Abstain ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! ! Please sign exactly as your name(s) appear(s) hereon. When signing as attorney, executor, administrator, or other fiduciary, please give full title as such. Joint owners should each sign personally. All holders must sign. If a corporation or partnership, please sign in full corporate or partnership name by authorized officer. Signature [PLEASE SIGN WITHIN BOX] Date Signature (Joint Owners) Date




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Important Notice Regarding the Availability of Proxy Materials for the Annual Meeting: The Combined Document is available at www.proxyvote.com. V48117-P12229 TESLA, INC. ANNUAL MEETING OF STOCKHOLDERS JUNE 13, 2024 3:30 PM CT THIS PROXY IS SOLICITED ON BEHALF OF THE BOARD OF DIRECTORS The stockholder(s) hereby appoint(s) Vaibhav Taneja and Brandon Ehrhart, or any of them, each with the power of substitution, as proxies, and hereby authorizes each of them to represent and to vote all shares of stock of Tesla, Inc. that the undersigned is entitled to vote at the Annual Meeting of Stockholders to be held virtually via the Internet at www.virtualshareholdermeeting.com/TSLA2024 and in person for a limited number of stockholders at 3:30 pm CT on June 13, 2024, or any postponement, adjournment or continuation thereof, with respect to the proposals set forth on the reverse side and in their discretion on all other matters that may be properly presented for action. Shares represented by the proxy will be voted as directed by the stockholder will be voted as directed by the stockholder. If no such directions are indicated, the proxies will have the authority vote FOR all nominees in Proposal 1, FOR Proposals 2-5 and AGAINST Proposals 6-12. In their


discretion, the proxies are authorized to vote upon such other business as may properly come before the Annual Meeting of Stockholders. Continued and to be signed on reverse sid




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